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   8
   9                            UNITED STATES DISTRICT COURT
  10               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  11
  12   KNIFE RIGHTS, INC.; ELIOT                                       Case No. 23-cv-0474-JES-DDL
  13   KAAGAN, JIM MILLER, GARRISON
       HAM, NORTH COUNTY SHOOTING                                      Hon. James E. Simmons, Jr.
  14
       CENTER, INC., and PWGG L.P.,                                    Magistrate Judge Hon. David D.
  15                                                                   Leshner
  16                         Plaintiffs,
                                                                       APPENDIX IN SUPPORT OF
  17         v.                                                        PLAINTIFFS’ MOTION FOR
  18                                                                   SUMMARY JUDGMENT
       CALIFORNIA ATTORNEY
  19   GENERAL ROB BONTA,
                                                                       Part IV: Bates No. KR1045-
  20
                               Defendants.                             KR2128
  21
  22
  23
  24
  25
  26
  27
  28



                    Appendix in Support of Plaintiffs’ Motion for Summary Judgment (Case No. 23-cv-0474-JES-DDL)
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                                   l'.\HT   1.-TJTLE       1.-T.\xEs.
                                             General Tax Act.

                         the fiscal year of eighteen hundred and nin~ty-one, two and
                        four-tenths mills, and for the fiscal year eighteen hundred
                         and ninety-two, two and one-half mills, and the Governor
                         be, and is hereby authorized and empowered, by and with
                         the assistance of the Comptroller-General, to assess and levy,
                        in addition to the foregoing general State tax, a tax of one
                         and one-third mills for the year eighteen hundred and "nine•
                         ty-one, and a ta,x of one and one-third mills for the year
                        eighteen hundred and ninety-two, on all the taxable prop-
                         erty of this State, for the purpose of raising the funds neces-
                        sary to meet the appropriations         by this General Assembly
          ;:1:u~:·,5'1- foi· educational purposes in instructing children in the ele-
          purposes.      rnentar,v branches of an English education only.
          specific          SEC. II. Be it further enaeted by t,he aut.hority aforesaid,
          taxes.         'L'bat in addition to the ad valorem tax on real and personal
                        property, as required by the Constitution, and provided for
                        in the preceding section, the following specific taxes shn,ll
                       .be levied and collected for each of thu said fiscal years,
                        eighteen hundred and ninety-one and eighteen hundred and
                        ninety-two.
                       • F'irst.-Upon      each and every male inhabitant-of the State,
         l'oll.
                        between the ages of twenty-one and sixty years, on the first
                        day of April, a poll tax of one dollar for each of the said
                        years, in 1891 and 1892, which shall be for educational pur-
                        poses 'in instructing children in the elementary branches of
                        an English education only; provided, this tax shall not be
         Exemp-
         tions.
                        demanded of blind persons, nor of crippled, maimed or dis-
                        abled Confederate soldiers, reiieved of such taxes under and
                        by authority of an Act approved July 23, 1883.
         Lawyers,          Second.-Uponevery         practitioner of law, medicine or den-
         tloctors,      tistry, presidents of each of the banks of the State, each
                presi- agent • or fl rm negotiating
         dentists
         and                                    • •     1oans an d c l1argrng
                                                                          •    th
                                                                                • ere f or, tl ie
         ii:1~i~~or- presidents       of each of the railroad compa,uies, presidents of
         porations.     each of the express, telegraph, telephone, electric light and
        u presi- gas companie!S doing business in this State, and in case the
        ~i~lsc◊,;.._., presidents of any such corn panies do not reside in this State,
        g~r~:i :~s- then in such case, upon the superir:.tendent
                   1
                                                                           or general agent
        iclen~,         of such companies who may reside in this State, ten dollars,
        ~Iumc1pal
        c_orvor_a- an
                            d no mun1c1pa
                                        • • l corporat10n
                                                        •·     or county ant h onties
                                                                                  • • s h a 11
        ti~i:fe~  0
                   [;, ]evy any additional       tax on said pos~ssions, either as license
        tax _pro-      fee or otherwise.
        fess1011s.
        Photo-
                           Th'1_rd :- upo1:1everr d agnen~ean, ambrot3~pe,_ph ot~grap h'lC
        graphic_       and smnlar artist, ten dollars 111each county 111which they
        and s1m1lar
        artists.       1nay carry 011b us1ness.
                                             .
        Aue-               Fourth.-Upon      every person carrying on business of auc-
        tioneers.      tioneer for pay or compensation, twenty-fiTe dollars for each
                       county in which they may carry on such business.


                                                                                          KR1045
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                                    I'.\ HT !.-TITLE          :2.-T.\xE,.:.

                                                General Tax Act:.

            Fifth.-Upon       everv.J_keeper of a pool• ' billiard or bagatelleb               Keepe1:sof
                                                                                               pool,  b1l-
       table kept for public use, whether 1n a saloon, arroom, 11arc1or
                                                                                                       11
       hotel or other public place, twenty-fh·e dollars for each ~;~~;~                                  "
       table.                          •             ."
            Sixth.-U pon every keeper of an,. other table, stand or Keepersoc
       place for the peforma.nce of any gan1e or play, and upon the ~f!~~rs                            ta-
       keeper of any flying horses, or any other game or play games,                                    etc•.
       (unless kept for exercise or amusement not prohibited by
       law), and not kept for gain, directly OL" indirectly, twenty-
       five dollars in each county.
         ..
            Seventh.-l'pon       ever}· .
                                            keeper
                                                ..
                                                    of a ten pin alley or alley of             TC1• rit"i
                                                                                          • anc1 o 1er·
       hke character, kept for pnblLc play, and upon every keeper ~lleys_.
       of a shooting gallery, twenty-five dollars for each place of~);~~;!;~~-
       business.
            Eighth.-Upon        every traveling Yendor of patent or pro-re,1t11ers.
       prietary medicines, spAcial nostrums, jewelry, paper, soap,
       or other articles of like character, twenty-five dollars in
       each county where they may offer such articles for saJe.
            Nintb.-Vpon        every local insurance agent or firm o~ agentR Locrtl                    ins11•
       doing business in this State, ten dollan; for each county in :~~~~s.                     0

       which they shall solicit business, and upon every agent of a
        matrimonial, na.tal or nuptial company, one, hundred dollars A;;-cn_ts                           of
       for each county in which they shall do business, and upon ~~lr~;:;;-
        every• travelino-b. or special or g·eneral ao-ent    r:,
                                                                     of life
                                                                         .   '
                                                                               fire. ' acci-simi,ar.
                                                                                           . compames.
        dent or other msurance company dorng business 111 tlus                                         .
        State,• :fifty d O 11ars, W lUC  • h Sal"d ta::s::must b e pal"d b ef ore Sal11   •,:i special
                                                                                               Trnvehn~o~•
        agent shall be authorized to act as an agent for any of theiri~~;~~-~in-
        companies.        Said tax shall be paid by Raid companies to the agents.
        Comptroller-General, and shall be in addition to the license Sueh tuxes,
        fee req nired of insurance companies b_y the Act approved howpa"1•
        October 24, 1887. 'l'he receipt of the Comptroller-General L.
        for the payment of this tax, together with his certificate, as _iccnseg.
        provided by said Act approved October 24, 1887, shall con- ~,~i~-~~- of
        st1tute the license for said agents to transact business for ~fscc:~~~~t
        their companies ' as desi bo-nated bv.J said certificates • '• provided ' or           •ull
                                                                                                    mutual
                                                                                                     SOC!•
        this tax shall not be required of agHnts of assessments, life ~tiC'~-
        insurance companies or mutual aid societies.
             'l'enth.-1Jpon     each emigrant, agent or employer or em- Em,;;-rant
        ployee of such agent doing business in this State, the sum ageuts.
        five hundred dollars for each county in which such business
        is conducted.
             Eleventb.-Upon         t-Vfll'Y traveling     vendor using boats for Peddlers                  ;11
        the purpose of selling goods on the rivers or waters within the boats.
        limits of this State, the sum of fifty dollars in each county
        w h ere th ey may se 11th en, wares, ancl sa1c          • l tax sh a ll b ea l'1en lien.Such taxa
        on the boat and its contents, wi~hout regard t,o the ownership
        thereof.


                                                                                                     KR1046
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                                      J>AHT I.-TITLE              :2.-T.\XE~.

                                                 HPneral   1·ax A<:>t.


          Lightning              Twelfth.-l.Jpon         all intinerant lightning-rod dealers or
          ~~~1 ;~.eat-     agents, the sum of fifty clollars for each and every conntv in
           agents.         ·whie h they operate.                                           •       .,
          Shows and             'l1hirtP-enth.-l;pon all S~OWS and exhibitions (except such
          ~-i~~ 1
                 ~~i-      as histrionic, musical, operatic and elocutionary), includi~g
                           side-shows accompanying circus companies, fifty dollars in
                           each and every city or town. of five thousand inhabitants,
                          forty dollars in cities or towns of four thousand and under
                          five thousand i_nha.bitants, and thirty dollars in towns of less
                          than four thousand inhabitants.                    Said tax, so collected,
                           shall be for educational purposes.
          l'ircu.,;             Fourteenth-Upon             every circus company, three hundred
          c,.>mpauiP.~. dollars each day it may exhibit                   in the State of Georgia.
                          Said ta.x slu1ll be for educational purposes.
          Liquor                Fifteenth.-Upon           all dealers in spirituous or malt liqnors,
          <!eater.;.      intoxicating bitters or brandy fruits or domestic wines,•
                          whether dealing in any or all thereof, fifty dollars for each
                          place of business in each county where the same are sold;
          1
            •rovbo.      pro'oided, this tax shall not relieve such dealers from any
                          local tax or prohibitory law in referenc~ to the retail of
                          spirituous or intoxicating liquors, nor be required of those
                          who sell by wholesale spirits rna.nufactured of apples,
                          peaches, grapes, blackberries or other fruits grown on their
                          own lands, when sold in quantities not less than five gallons;
          Dealers in provided, that nothing in this Act" shall be so construed                    as to
         ~~~~c~s~ ;. levy a tax on dealers in domestic wines manufactured from
                    1


         t•mpt.           grapes or berries purchased by or grown on lands owned,
                          leased or rented.by said dealer. Said tax shall be for edu-
                          cational purposes.
         veah!rs in             Sixteenth.-Upon           all dealers in pistols, toy pistols, shoot-
         i>i st01 s i1 H1 ino-cartridges
                      1
                                                  dirks  or  Bowie.-knives , one hundred dollars for
         other                  o               ,
         weapons.         each place of business in each county where the same are
                          sold.
         Dealers in             Seventeenth.-Upon            every individual or firm, or his or their
         .. futures,"
         etc
                          aaents
                            ..,      '
                                       engaa-ed
                                         .., r,
                                                    in  the  business of sellin()'
                                                                                ~
                                                                                   or buying through '---'
               •         regularly orga.nizecl stock and cotton exchanges or boards
                          of trade, farm products, sugar, coffee, and salt and 1neat,
                         railroad stock and bonds, and stocks and bonds of all kinds,
                         not intended for bona jiiJ,e sale and delivery, but for future
                         delivery (commonly called "futures"), one thousand dollars
                         each per annum for each county where such business is car-
         Pi·ovbo,;.      ried on; provided, that this tax shall not be demanded of any
                         cotton warehouseman, dealer in cotton, or any pro,·ision
                         broker who takes orders in the regular course of theh- trade
                         only for the actual and bona fide delivery of cotton and
                         other produce so ordered, and where, by the terms of the
                         contract~ it is not left to the option of the party so ordering,


                                                                                                 KR1047
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                                 l'.\HT   !.-TITLE           ~.-T.ui•:~.
                                              <;cneral Tax Act.


       or the party taking such order, to avoid the delivery of the
       produce or products b.r payjng the difference in the market
       price of such produce or products at the time of delivery:
       pro·oided furtlu:r, that such cotton warehouseman, dealer in
       actual cotton, or any provision broker, does not carry on the
       business of buying ''futures"             in connection with his or their
       other business, and upon every individual or firm, or his or ~1~~~~~~-'.·t
       their agents, engaged in a like business when they take
       orders on their own account and determine the loss or gain
        between them and their patrons by market reports received
       from any other source whatever, and whose business is gen-
       erally denominated "bucket shops,'' the sum of ten thousand
       dollars.
           Eighteenth.-Upon         e\·ery peddler of stoves or ranges for PPddiers or
        cooking purposes, the sum of one hundred doll:us in every :.;~~~~~r
       county in which such peddler may do business.                                       "'
            ~ineteenth.-Upon         every person or firm, for himself or 1Jea1~r~                  in
        agent for resident or 11011-reRidentowners            who holds   •'r keeps  tnlha
                                                                                             rd
                                          ~               • ,             v          table.-; and
        for hire or sale any billiard, pool or other table of like char- lt~~!~~,~~--
        acter, fifty dollars for each county in which such person or aetcr.
        firm does business.                                     .
            'l'wentieth.-'Gpon     each peddler of clocks, one hundred c:1ock
        dollars in every county of the State in which said peddler peddler.,.
        may do business.
            'l.'wenty-first.-Upon     all itinerant doctors, dentists, opti- 1tinera11t
        cians or specialists of any kind, doing business in this State, ,:octt              0
                                                                                              '.;:-
                                             .     h.   h h         d
        ten d o11ars f or eac h couuty 111w 1c t ey may o business. ctC'. '"=•.      ,  en
            'l'wenty-second.-Upon          all packing houses doing a coldl'oltlsto-
        storage business in this State, whether carried on by the ra~e.
        owners thereof, or by their agents, five hundred dollars in
        each county where said business is carried on.
            'l'went.y-third.-Upou        all brewing companies, and upon Brewing:
        eac h agent of non-res1•d out b rewing     • companies, • two h un d re d andcompau,es
                                                                                             a);c11ts
        dollars.                                      •
            Twenty-fourth.-Upon           each pawnbroker, fifty dollars for Pawn-
        each place of business.                                         •             brokers.
            Twenty-fifth.-Vpo11        all mercantile and collecting agen- comn,e,·-
          •
        cies,    con11nerc1a• 1 agencies,
                                       •      an d a 11 ot h er agencies
                                                                      • of l"k        cial and
                                                                                 1 e conectin);
        character, fifty dollars in every county where they ha,·e an ~ft1cie,,.
        established office.
            S.Ec. III. Be it further enacted by the authority aforesaid, Returns                     of
        That the taxes provided for in paragraphs 1 and 2 of section ~~J!,'if~~in
        2 of this Act shall be returned to the Tax-Receiver in the par_s.                       1 a n"
                                                                                      ·> Of Sl'l'    ·>
        county of the residence of the person liable to such tax, -                                 • -·
         and shall by the Receiver of '!.'ax Returns be entered upon
         his digest of taxable property, and that the taxes provided
        for in paragraphs 3, --!, 5: 6, 7, 8, 10, 11, 12, 13, 1--!, 15: 16,


                                                                                          KR1048
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         ..J.O                     l'AHT I.-TITLE            :l.-T.\xE,.:.
                                              (~eneral 'fax Act.

                       17, 18, HJ, 20, 21, 22," 23, 24 and 25 of section 2 of ,this Act
                       shall be returned and· pa.id to the Tax-Collectors of the
                       counties where such vocations are carriecl on.
        or t~xes          S1w. IV. Be it further enacted ry the authority aforesaid,
        ;,~·~r,~''.;':L
                     ..'fhat the taXAS provided for in paragraphs 3, 4, 5, 6, 7, 8,
        v~rai          10, 11, 1~, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24 and 2fi of
        f!~~~ ~~ section 2 of this Act shall be paid in full for the fiscal years.
        r,cert µa,·. for which they tue levied to the Tax-Collectors                   of the conn-
        To whom        ties where such Yocations are carried on at the time of com-
        am1    pai<1. mencmg
        to b"when             •      to cl o t }ie b nsmess
                                                         •       spec1•fiecl 111
                                                                              • sa1•cl paragrap }1s.
                       Before any person taxed by paragraphs 3, 4, 5, G, 7, 8, 10,.
                        11. 12, 16, 17, 18, 10, 20, 21, 22, ::!3,24 and 25 of section 2 of
                        Lhis Act shall be authorized to carry on said business, they
        Registra-
        tion of bus shall go before the Ordinary                  of the county in which they
        iness re-
        quired.        propose    to   do   business       and   register   their names, place of
                       business, and at. the same time pa.y their taxes to the Tax--
                       Collector: and it shall be the dnty of said Ordinary to im-
                       mediately notify the Comptroller-General                   and the 'l'a.x-Col-
        Failure to lector.        Any person failing to register with the Ordinary,
        rcgiS
              t eror or, ha.Ying registered,          fail   to ))ay- the tax, as herein required,.
        pay tax.                    ,    •~
                       shall be liable to indictmei1t for a misdemeanor, and on ~:on-
                       viction, shall be fined not less than double the tax, or be
                       •imprisoned as prescribed by section 4310 of tlrn Code, 01►
                       both, in the discretion of the ~onrt ; one-half of said fine·
                       shall be applied to payment of the tax and the other to fund
                       of fines and forfeitures for use of officers of court.
        Insura11C.!       Sm;, Y. Be it further enacted by the au_i1ority                 aforesaid,.
        companies      That all foreiu·n and home insurance companies doing busi-
        ~~c~:;~~- ness in this litate shall pay one per cerd1tm on all pre-
        Proviso.       miums, in money or otherwise, receiYed by them: pr01Jidecl,.
                       this shall not include rrtm·n premiums on cancelled policies;
                       and, in addition to the tax imposed by this Act upon the·
                       gross receipts of such insura.uce companies, all such compa-
        on Insur-      nies doing brokerage business in this State, such as disconnt-
        ~~~fe';; 0
                   m, ing notes, bills, drafts or exchange,               lending money or in an)~
        doingbrok- manner doino- a business pertainino· to bankiuo- or brokera 0 ·e
        Pra ·e httsl -
           0                      •      0                              b            b            ,-,
        nes~.          business, shall be taxed upon the capital so employed in the·
                       same manner and at the same rate as other moneyed .capital
                       in the hands of private individuals is taxed.
        Rt                SEC. YI. Be it further enacted by the authorit,~ aforesaid,.·
        hiii':tt;::orThat the presidents of all building and loan associations-
        1:;g  ~1,~i'l1ar
                       and other associations of like character shall be required to
        associa-
        t1orns.
                       return   to the rax-Receiver of the count,_r           .1
                                                                                 where such associ-
                       ations are located, at its true market Yalue, the stock of such
                       associations owned by the stockholders thereof (upon whinh,
                       as shown by the books of strnh associations, no advance ha&
                       been made· or money borrowed thereon by the individual


                                                                                             KR1049
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                            l',\l:T   l.-Tl.TLE   :2.--TAXE~.               .a
                                       General
                                            TaxAct.
        stockholders therein), to be taxed as other moneyed capital
        in the hands of private individua]s is taxed; pro'oided, thatrr;iYiso.
        no tax shall be required of real estate and building associ-
        ations to be paid upon any portion of thEir capital which
        has been loaned or advanced to a shareholder upon real
        estate, upon which real estate tax is payable by said share~
        holder.
           SEC. VII. Be it further e1rncted by the authority aforesaid, Relurnsfor
        That the presidentt:i of all manufacturing and other incor- ~i~,fs  0
                                                                              f:~..
        porated companies (Or their agents), other than railroad, in- erany.
        snrance, telegraph, telephone. express, sleeping and palace
        car companies, shall be required to return all their property
        wha,tever, of their respective companies, at its true market
        value to the Tax-Receiver of the county where the sanie is
        located, or where the principal business of each company is
        located, to be taxed for State and county purposes as other
        11roperty in this State is taxed ; sa,ve and except, that a,ll
        canals or slack water navigation         companies shall make Ofcanal
        through their respective executive officers or stockholders ~a~~~e~~m­
        in possession of the same returns to the 'l'ax-Receiver of panies.
        each county in which the same is located, or through which
        the same shall pass, in whole or in part, of the right of way,
       locks and clams, toll-houses, structiue and all other real'
        estate owned or used by the company, or the stockholders
       thereof; prm,ided, this Act shall not make subject to taxa- Proviso.
        tion any property of canals or navigation companies which
       is not subject to taxation by the laws of the State as now
       existing.     The president of every manufacturing      company oathof
       shall be required to answer under oat.h, in addition to those g;~:,'f;~':8
       now provided by law, the following questions : 1st, "\Vhat facturin,g
       is the value of raw material on hand April 1st'? 2d, "\Vhat compames.
       is the value of manufa,ctured goods or articles on hand April
       1st'? Bd, "\Vhat amount ot money, bonds, notes, accounts
        and choses in action of every kind did yon own on April
       1st'? 4th, "\Vhat other properLy of every kind did your
       company own on April 1st'? and such company shall be
       taxed n pon its en tire property so ascertained.
           SEC. VIII. Be it further enacted, That all persons or com-Tax onex-
       pames,•   • 1u d 1ng
                 inc    •    rai•1roa cl compames,
                                               • d 01ng
                                                      •                 µressand
                                                          an express orte1egraph
       telegraph business, and charging t.he public therefor, in this companies.
       State, shall pay two and a half per centum on their gross
       receipts, and all persons, or the superintendent      or general
       agent of each telegraph or express company, or the presi-
       dent of each railroad company doing such business in this
       State, shall make a quarterly return, under oath, as follows: Heturns.
       On the last day of :March, ,June, September and December,
       in each year, to the Comptroller-General,        showing a full
            .j.




                                                                          KR1050
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        42                       PART 1.-TfTLE            2.-T.-1.xE".
                                            General Tax Act. •

                      account of their gross receipts during the quarter ending on
                      such date; and said ta,xes herein levied upon such gross
                      receipts as shown· by said quarterly returns shall be paid by
        Payment       the respective persons or companies to the Comptroller-
        of taxc.,.    General at the same time of making such returns ; the gross
                      receipts herein named shall be construed to mean the full
                      amount of all money received from business done within
                      this State. If any person, superintendent,             agent or presi-
                      dent as the case may be, whose duty it is to make returns
        Failure to under this paragraph,            shall fail to do so within thirty days
        make re-      after the time herein required, such person, superintendent,
        turn.         agent or president, shall be liable to indictment, and upon
                      conviction shall be punished ai'; prescribed in section 4310
                      of the Code of 1882.
        Telephone         Second.--'l'hat each telephone company shall pay a tax for
        companies. each of the yea.rs 1891 and 1892, of one dollar for each tele-
                      phone station or box with instruments complete, rented or
                      used by their subscribers, and the superintendent or general
         Return~      manager of the company shall make returns under oath and
        and pay~
         ment of
                      payments      to the Comptroller-General on the dates named in
         tax.         the first paragraph of this section.
        sleeping          Third.-Each       sleeping car company doing business in
        car com-
         panies.
                      Georgia     shall  pay   a tax of two and a half per cent. on gross
                      receipts of said company rectlived in the State of Georgia
                      from sale of sleeping car tickets from a place to a place in
                       said State of Georgia, and the superintendents              or general
         Hctun1s
         and pa_v-
                       manager     shall  make    return, under   oath, to  the  Comptroller-
         mentof        General, as provided in first paragraph of this section, and
         tax.
                       pay the taxes required by such returns at the time of making
                       such quarterly statements.
         sewin"rna-
             0
                          SEC. IX. Be it further enacted, That every sewing machine
         chi~e com- company selling or dealing in sewing machines, by itself or
         pan,es and.
         dealer~.
                                •
                       its agents,   •   l • State. an d a 11wh o 1esa 1e an d reta1
                                     1n t us                                    • ·1 d ea l ers
                       in sewing machines selling ma,chines manufactured by com-
                       panies that have not paid the tax requir~d herein, shall pay
                       two hundred dollars for each fiscal year or fractional part
                       thereof, to be paid to the Comptroller~General at the time of
                       commencement of business, and said companies or dealers
         Lists uf      shall furnish the Comptroller-General a list of all agents au-
         ~fe;~i:nt~h- thorized to sell machines of their man nfacture or under their
         ~~ii'~~ tax control, and shall pay to sa_id Comptroller-General              the sum
         uomptrol-     of five dollars for each of said agents, for each fiscal year or
          !er-General fractional part thereof, for each county in which said agent
                       may do business for said company. Upon the payment of
                       said additional sum, the Comptroller-General shall issue to
                       each of said agents a certificate of authority to transact
                       business in this State, and such companies, dealers and


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                                                                                              .,
                                  l' ART I.-T ITLE :2.-TAXE:'.                            4   ,)


                                ------------               ------                ----
                                           General   'fax Act.
        ·-------

        :agents, havjng paid the taxes required herein, shall be ex- Exemption
        em~ted from _any county or ~:orpora_tion tax for se_lling said Registrv,
        sewmg machmes. Before doing bus mess under this Act, all ete. •
        sewing machine agents shall be required to register their
        names with the Ordinaries of those counties in which they
        intend to operate, and exhibit to said Ordinaries their
        license from the Comptroller-General,            and to keep such
        license pasted on their vehicles or at their places of business.
        '\Ybolesale or retail dealers in sewing-machines shall be re- ~;; 1~~; to
        quired to pay the tax provided herein for each manufacture each man-
        -of sewing machines sold by them, except the manufactures uracture.
        of such companies as have paid the tax required by this Act. lia·,hines
        All unsold sewing machines belonging to sewing machine liable to _1
        -0ompames, ·    d ea 1ers or t h e1r
                                          • agents, 1n
                                                     . possession
                                                                .     o f sa1•d se,z  ,re an
                                                                                sale for
        companies, dealers, their agents or others, shall be liable to tax.
        seizure and sale for payment of such license fees and tax. Penalty for
        Any person who shall violate the provision of this section viotatinl,
                     • bl e to m
        s I1a11 b e 1rn            1ctmen t f or mis
                                · d•               • d emeanor, an d , on con- tills sectwn
        viction, shall be fined not more than five hundred dollars
        and not less than one hundred, in the discretion of the court
        trying the same. If said fine is not paid within the time
        prescribed by the court, such person so fined shall be im-
        nrisoned
        .t-'         as prescribed iu section 4310 of the Code • None of not    1:'rnvision~
                                                                                     to ap-
        t he provisions of this section shall apply to licensed auc- f11Y to auc-
        tioneers selling second-hand sewing machines, or to officers e t~'.'.ecrs,
        of the law under legal process, or to merchants buying and
        selling machines on which a license tax has been paid as
        herein provided, and who keep the said machines and sell
        and deliver them at their places of business, such sales not
        being on commission.                                                    x 1
             SEC. X. Be it further enacted by the authority aforesaid, ~~pi~j "c;;
        That no tax shall be assessed upon the capital of banks or b:ink,.
        b:1nking associations organized under the authority of this
        State, or of the United States and located within this State, s1ia,~i'            ?~
         but the shares of the stockholders of such bank or banking !~-~\o              'ic'•
        associations, whether resident or non-resident owners, shall tax,-c1.
        be taxed in the county where such bank or banking associa-
        tions are located, and not elsewhere, at their true and full
        market value, at the same rate provided in this Act for the
        ta,xation of moneyed capital in the hands of private individ-
        uals ; provided, that nothing in t-his section contained shall Provisos.
        b1•construed to relieve such banks or banking associations
        from the tax on property owned by them, a.s provided for in
        section 7 of this Act ; provided fit-rtker, that nothing herein
        contained shall be construed to levy any tax on real or per-
        sonal property held or owned by any bank or banking asso-
        dation, the value of which is represented in the market value


                                                                                        KR1052
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     44                         P.\HT    l.-TlTLE        :2.-T.,xE:::.
                                           General Tax Act.


     J~!;i';,~'.~H-
              of its shares of stock, that each bank and banking association
     yit1et1 prof-     shall pay tax on its surplus and undivided profits.
      ~~~urnsfor          SEO.XL Be it further enacted by the aut,hority aforesaid,
      railroad_       'l'hat the presidents uf all railroad companies doing business
      colllpamPs. in this State shall make returns to the Comptroller-General,
                      as now pro,·ided by law for the taxation of the p1'operty,· of
                      the gross receipts or net incon::ie of such railroads, and shalL
      Payment         pay to the Comptroller-General                the tax to whieh snch
      or tax.         property or gross receipts        or net   income   may be subject ac-
                      cording to the provisions of this Act, and the laws now of
                      force relating to the tax on railroads; and on failure to make-
      Failure to returns or refusal to pay tax, said companies shall be liable·
      ;:',~~e
            0
              /~~--   to all the penalties now provided by law, and the Comptrol-
     tax.           • ler-General     is hereby required, upon failure of such com-
                      panies to make returns, or if made and not satisfactory to
                      said officer, to proceed ag:-dnst such railroads, as provided
                      in section 826(d) of the Code of 1882.                      •
                                XII. Be it further enacted bv the authority aforesaid,
                          S:1<:o.
     ~11:~~:-' 1~J~•· 'l'hat the presidents or principal agents of all the. incorpo-
     i:;~1~•t::r-     rated companies herein mentioned, except such as are
     taincxcep-
     t10ns, to bl•   a
                      required to make returns to the Tax-Receiver of the coun-
     matle to         ties, shall make returns to the Comptroller-General                  under·
     ~~~\'fe~~!-~1    the rules and regulations provided by law for such returns,
     General          and subject to the same nenalties and modes of procedure
     rules appli- f
     cable.             or th e •en f orcemen t of ~taxes from companies        •     or persons-
                      required by law to make returns to the Comptroller-General.
     Yessels,
                          Sm:. XIII. Be jt hut.her enacted bv.J the authorit_v·' afore-
     boats, etc. said,· That any person            or company, resident of this State,.
                      who is the owner of a Yessel, boats or water-era.ft of any
                      description, shall answer, under oath, the numlir r of vessels,.
                      boats and other water-crafts owned by them aHJ. the value
                      of each, and make a return of ·the same to the Tax-Receiver
                      of the county of the residence of such person or company,.
                      and the same shall be taxed as other property is taxed.
                          S:i-:o.XIV. Be it further enacted by the authority aforesaid ..
     1~;~.~~~~;;!~ That in returning property for taxes, all property shall be
     atitsrnim·.      returned at its value-promissory           notes, accounts, judgments~
                     mortgages, liens of all kinds and all choses in action shall
                     be given in at their value, whether solvent or partially soh·-
                     ent. Every person shall return for taxes all jewelry and
    Returns for other property            of every kind owned by his wife and minor
    Wik and
    mi_nor           children, unless the members of •his• or lier f anu•1y return
    ehtldren.              • property f or taxation.
                     th ell'                        •       I n a dd"1t1011
                                                                        •   t o th e ques t·ions
    ~i;~Wi,~    1 1
                 ;   now propounded to tax-payers by the 'rax-Receivers, ques-
    ror tax-         tions shall be framed by the Comptroller-General                   to reach
    payers.          all   property    upon  which    a  tax   is imposed     by   this Act, and
                     especially the following questions:


                                                                                            KR1053
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                                 PAHT l.-TJTLE          :2.-T.\XE:-.

                                                 TaxAct.
                                            General
           First.-The      number of horses, mules, oxen, cows, sheep,
        hogs, goats, and of all other animals upon which a tax is
       imposed by law, ancl state the value of each.
           Seconcl.-The kind and va.lue of property owned by the
        wife and minor children of the tax-payer and not returned
        for taxes by the owner thereof.
           'rhird.-,Vhether        solvent or partially solvent, give the
       value of your bonds, stocks of non-resident companies or
       -corporations, 0r of companies or corporations in this State,
       whose capital stock is not returned by the president of such
       company or corpora,tion, all notes, accounts, judgments,
        mortgages, liens aJ:!.dother choses in action of every kind,
       whether such bonds, stocks, notes, etc., are held by the tax-
        payerH in Georgia, or held by some other person for him, _
       €ither in or out of this State. There shall be no deduction ~gn~eg,,~c-
       from t,he value of property returned for taxeR on account of indehtetL-
        any ln. d eb te clness Of SUC h tax-payer.                                   ness  oftax
                                                                                     payers.
           SEC. XV. Be it further enacted by the authority aforesaid, oathstoi,,;
       That the oath        to be. administered  to all   persons rnakino-           a,lmmi•
                                                                                 re- ell        ter-
                         •         <-                '                       o.          per.sons
       turns of their ta,xable property sh:Jll be the oa,th requuecl making                      re-
       under t,he Act of October 20, 1885, to be attached to the turns.
       printed list furnished under said Act, and presented to each oathsor
       tax-paver·,
                 ..     -
                         vrovided, that non-residents, females and sick <•11rm-re,f·i- ents, c•
       persons may subscribe the oath herein required before anyn_,aiesan,L
       perSOl1 aut 11onze  • d by l aw to a d m1rns• • t er oa t} 1s, an d cause sicksons.per-

       same to be delivered to the 1'ax-Receiver.
           SEC. XVI. Be it further enacted by the authority afore- When                       re-
           •d   'Tl     th    U       t 11  G      1
       Sal , lat · e Otnp rO er- ::l"enera lS au OrIZe •     th    •  d  an d   em-  turns
                                                                                     be      sh·•ll
                                                                                         rec.ei~e,L
        powered to order the Tax-Receivers of this State to com-
       mence receiving the returns of taxable property immediately
       after the 1st day of April of the years 1891 a,ncl 1892, and ~!~i:
                                                                                            1
                                                                                              to""
       that the Comptroller-General is empowered and req uirecl to collected.
       cause the taxes to be collected and paid into the State
       'rreasury by tho 20th of December of each of said years
       1891 and 1892.
           SEC. XVII. Be it further enacted by the authority afore-
       said, That b!iu~ persons and Confeder~te soldiers relieved Relief                      of
        'by the proviso 1n paragraph 1 of section 2, from the par- blind per-                   1
       ment of the tax designated in that para.graph, shall be tC:::,sr!i1'
       Telieved also from the payment of the taxes designated in ~ri:isol-
     . paragraphs 6, 7, 8 and 11 of section 2, if carrying on and
       dependent upon the kinds of business designated therein;
       provided, that before any person shall be entitle.l to the beue- ProYiso.
       fit of any of the exemptions provided for it in this section,
       he shall go before the Ordinary of the county in which he
       purposes to carry on business, and make and file au affidavit
       :Setting forth the facts that he is entitled to such exemptions,


                                                                                         KR1054
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                         EXHIBIT 37




                                                                    KR1055
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 22                            PART !.-TITLE           2.-TAXES.

                                       Gener,, I Tax Act.




                                        TITLE                11.

                                TAX1'~S AND PUBLIU                   DEB'l'.


                                                 ACTS.
               General Tax .1ct.
               Repealing Act Creating Board of Equafo:ation.
               Providing Sinking Fund to Retire ~faturiug State Bomfa.



                                       <,E:XERAL 'l'.\X       ACT.

                                               No. 133.

              An Act to levy antl collect a tax for the support of the State·
                Government and the public iustitutions;. for educational
                purposes iu instructing children in the elementary branches..
                of an English education only; to pay the interest ou the
                public debt, and to pay maimed Confederate soldiers and
                widows of Confederates such amounts as are allowed them by
                law for each of the fiscal years eighteen hundred and ninety-
                three and eighteen hundred and ninety-four, and to prescribe
                what persons, professions and property are liable to taxa-
                tion; to prescribe the methods of receiving and collecti11g
                said taxes; to prescribe the method of ascertaiuing the prop-
                erty of this State subject to taxation; prescribe additional
                questions to be propounded to tax-payers, and to provide
                penalties and forfeitures for non-payment of taxes, and for·
                other puposes.

 General        SECTIOX   1.  Be it enacted by the General Assembly of the-
 ~,,~~;i59
       3 State of Georgia,        That the Governor be authorized and em-
 a.nd 1891•   powered, with the assistance of the Comptroller-General,      to-
              assess and levy a tax on the taxable property of this State fot·
              each of the fiscal years eighteen hundred and niuety-three and
              eighteen hundred and ninety-four of two mills and ninety-three-
              one hundredths of a mill, and the Governor be, and is, hereby




                                                                                  KR1056
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                                     PART T.-TITLE 2.-TAXE>'.
                                  --- -·- ---------------------
                                                General Tax Act.

      authorized and empowered, by and with the assistance                  . .
                                                                                              of the 0taJenferaJ
                                                                                                         x ore u-
                                                                                                                 d
      Comptroller-Geueral, to assess and levy, in add1t1on to the fore- cat10nat
          •
      gorng    genera 1 State tax, a tax of one m1"]] an d f'orty- f'our one purposes.
      hundredth:-; of a miil for each of the years eighteen hundred and
      ninety-three       aqd eighteen hundred and ninety-four 011 all
      of the taxable property of this State, for the purpose of raising
      the funds necessary to meet the appropriations of this General
      Assembly for educational purposes in instructing children in
      the elemeutary branches of an English education only.
          SEC. ~- Be it further enacted by the authority aforesaid Specinc
      That in additiou to the ad valorem tax on real est~te and pe/ taxes.
      sonal property, as required by the Constitution, and provided
      tor in the preceding section, the following specific taxes shall
      be levied aud collected for each of the said fiscal years eighteen
      hundred and ninety-three and eighteen hundred and ninety-
      fou r.
          First.-Upon        caeh and every male inhabitant of the State, Polltax.
      lletween the ages of twenty-one and sixty years, Oil the days
      fixed for return of property for taxation, a poll tax of ono dol-
      lar, which shall be for educational purposes in iustructing ehil-
      dreti iu the elementary branches of an English edueation only;
     provided, this tax shall not ·be demanded of blind persons, nor Persons
      of crippled, maimed or disabled. Confederate soldiers, relieved L'Xempt.
      of sn~h taxes under and by authority of an act approved Jul_y
      23, 1883.
          Seconcl.-Upon every practitioner of la\\·, medicine or den- Law.ye,-,;,
        .           . l en ts o t' eac h. o f' t ]1e b an k-s o f' t h B S
      tis try, pres1c                                                                                 phys1c1ans,
                                                                         .. tn.T.P., P.a<; J1 agent c1eutists,,
            •
      or firm            • . • l oans am 1 ch argrng
                 negotrntrng                              • t h ere f"or, t h e presH. lentscorpor"a-.loana~ ts
      of eaeb of the railroad companies, presidents of each of the ~;~ts,pres,.
      e2~press, telegraph, telephone, electric light and gas eompanies ~~~~~:!'.;.or
       <loing business in this State, and in case the presidents of a1iy :.:eneral
       such companies do not reside in this State, then in sueh case, agents.
       upon the superintendent            or general agent of such companies                                    .
       W h c, may res1  ·ct   • t 1·11s S ta t e, ten co
                          • e 111                          l )]ars, an d no mu111c1pa          •• 1Noadd1-
                                                                                                       tionaltax
       eor11oration or county· authorities
                                       .                shall leVj' an.}Tadditional tax.               palmunici-
                                                                                                    • by   COr•

       on said professions either as a license fee or otherwise.                                       rorations.
           Thir-cl.-U pon every daguerrean, ambrotype, photographic Photo_-
       and similar adist, ten dollar;-: in each county in which they~~~F~~~ilar
       inay carry 011 business.                                                                        artist•·
          Fourth.-Upon          every person carrving 011 tltc busi11e:3s of Auction-
     . auctioneer, for pay or compensatio~1, twenty-five dollars for cers.
       each county in which they may carry on such business.
          Fijth.-U pon every keeper of a pool, billiard or bagatelle Keepersof
       table, kept for pnblic use, whether in a saloon, barroom, hotel~;~~~~~-
       or other public place, twenty-five dollars for each table.




                                                                                                        KR1057
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    24                                  PART !.-TITLE                  2.-TAx1cs.
                                                     General 'fax ~\el.

    KeepPrs or         Sfa:th.-Upon every keeper ot any othe1· tahle, stand or place
    other ta-       .               .              •               •          •               .            •
    hies,          tor the pertorruau1.:e of any garne or play, and UlJ0H the keeper
      · ' etc.of' any flyrng
    games                        • b orses, or any ot lrnr game or p Iay ( un ]ess ]<:ept
                   for exercise or amusement uot prohibited by law and not kept
                   for gain, direetly or indirectly), twenty-five <lolla1·s in each
                   county.
    Tenpin
    andotlier Seventh.-U pon every keeper of a ten pin alley or alley of
    alleys. like charncter, kept for public play, and upon every keeper of a
    Shooting
    gal1erie.s.    shooting gallery, twenty-five·dollars                          for each place of businesR.
    Travelling Eighth.-Upon                     every travelling vendor of patent or 1woprie-
    venders of
     patent tary medi1.:ines, special nostrums, jewelry, }'a}'('r, ,;oap or other
    medicines,
    etc.           merchandise, fifty dollars in cad1 euunty where t!tey may nffe1·
                   such article,; for sale.
    Localin•           1Vinth.-Upon every 101.:ali11suranee agent 01· tirrn of agent;;
    ~~:~~;~etc.    doing business i11 this State, ten doilar,- fur e,teh couuty in
                   which they shall :,;olicit business, a11d upon every age11t of a
                   matrimonial, natal or nuptial company, one hundrnd dolla·1·s for
                   cacli county in which they shall do business, and upo11 every
    Specialor traveling or special or general agent of life, :fire, accident or
    suraneeIll· ot I 1er lllSlll'HllCC
    general                  .               1.:ompa11_y       I •
                                                              C orng
                                                                         b llSllJeSS
                                                                                •       . I• S
                                                                                        !Tl t 1JS • t,ate,
                                                                                                             fi'f'ty d O I -
    agents. Jars, which said tax must be vaid before said agents shall be
                   authorized to act as agents for any of their companieR. Said tax
    Towhom shall be paid by said companies to the Comptrolle1·-General, aud
    tu,x to be
     paidby        shall be i11 additio11 to the lieen,;e fee required of insuranc(_,
    !~~~ts. compa11ies by the act approved October 24tlt, 1887.                                                The re-
    Whatshall ceipts of the Comptroller-General                                for the payment of tl1is tax,
    con   st itu,e together
     the hcense       ....
                                 with
                                    •
                                          his certificate•
                                                                   as provided lw,.; said '-·wt a[)J)roved
    ofeuch Odober 24th, 1887, shall constitute the license for said agentii
    agents.
      ,          . to transact b us;ness   .          .
                                                     fort    }rn1r
                                                                 . eompames         .    as d• es1gnate.
                                                                                                  .        d l ),Y sa1d
                                                                                                                 L     •



    Notre,pur-
     ector                 ·n                  'J  d.
                   cert1 eates; provu.e , t 1s tax s 1a. not JC reqmrec o f agents
                                                           b"            }    JI         \          ••   l
        entsof of' assessmeut ]"f'         1 e •1nsnrance compaines              •    or rnntna ] a1'cl s0CJetieR; • •
     0
    aa~sesement

     ~fl1;,~~~~I,  provided further, that railroad ticket agents seliing ac1.:ident in-
     panies. surance tickets ,;Jut!] not be deemed insura11ce agent,; in the
     Xorofrail-sense of this scctiou, and this section shall uot apply to rail-
     roactticketroa cl tw
     agents~en-              • k et agents se ]!.rng acc1"dent •tnsura1ice tic                   • k-ets, ancJ t h at
     mgace,-
     ,tent   in,ur-nu• 1roac1 t·,lC.k et age!tts w l10 se 11         . accH   • l ent msurance
                                                                                       •                 • k ets s l 1a11
                                                                                                       tic
     ance.          not be required to pay the said tax .
    .Emigrant Tcnth.-Vpon                     each emigrant acrent or employer or employee
     agents,etc.of" sue }1 agents d omg         -       l)usmess
                                                              :·        • b t b"1s S tate, t b e sum o f fi ve
                                                                       rn
                   bull\lrecl dollars for each con11tv in which such business is con-
                   ducted.                                            .,
     Vender3
     using
                       Elevmth.-Upon              every traveling vendor using boats for the
     boats.
    Lienfor        purlJ0Se     of    selling     goods        on the rivers or waters within the
     tax.          limits of tlw State, the sum of fifty dollars in each county




                                                                                                                      KR1058
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                                 PART I.-TI'l'L.E              2.-TAXE:;.

                                            lieoeral   ¥ax   Act.


      -whcl'e they may sell tlicir wares, a.nd said tax shall be a lie11
     -on the boat and its t.:011te11ts, without regard to the ownership
       thereof.
            Twe{ftli -Upon all itineraut lightning rnd dealers or agents, I_tiner~nt
       tlic sum of fifty dollars for each and every connt_v in which )!«fcI                   11
                                                                                                J~~fer:-s
       they operate.                                                                     or agents.

            Thirteenth..-U.puu all shows and exhibitions (except such as Sho~v~ :ind
          • • •l(;, nrns1ea,• J operat1e• ancl e Iocut10nary
       IllStl'IOll                                          •      ) , 1nc
                                                                       • l uc 1·mg t l1e exh1h1-
                                                                                         tions.
       ;-;ide-sl1ows accompanying circus eompanies, fifty dollars in ea<.:h
       and oYery city or town of five thousaJJ<l inhabitauts; forty
       clollars in cities or towns of four thousand and under five tho11-
       saud i11habita11ts, and thfrty dollars in towns of less than fou1·
       tliousand inhabitants.            Said tax, so collectecl, shall he for ed11-
      •t:atio?ial purpose~.
           FrmrtU'nth.-Upon every circus <;ompany or others, givingTobef?r
      .a.11~x l 11      · b en eat lJ or ,nt· h"111 a ean vas euc Iosure a(l vcrt1sec
                   .b.1t1011                                                       . leducat1011-
                                                                                         al pur-

       in pri11t or by parade, oi· in any ma111wr whatsoever as a circus, poses.
       menageri1..•, hippodrome, spectacle or show iruplyi ng a circus, L'il'cuses,
       three hn11dred dollars each day it may exhibit in the State otetc.
      ·Georgia.          Said tax shall be for educational p11rpo:-ies.
           Fijt1!enth.-U po11 al1 dealers in spirituous 01· malt liq uon~, Liquor
       intoxieati 11g hitters or brandy fruits or domestic wines, whether 1:~~~i,e
      •dealing in ;;ny or t1;ll ther~of, one hundred dollars for eaeh {?in~qu~~                        1:_

      -place of business i11each county where t.hc saml' are sold; pro- poses •
      .(irlecl, this tax shall not relieve such dealers from any ]ocal
       tax or prohibitory law in l'eference to the retail of spirituous or
       intoxieating         lil!U(HS,   nor be required of tl-.use who sell by
       wliolesale :.;pirits nrnlll1factured oi apples, peaebes, grapes,
       blackbcl'rics OL' other. frnits grnwn on theil' own lands when
      ~ultl in q11a11titics         uot less than five gallons; pro1_:frlecl,that
       nothjug in this act shall be so construed as to levy a tax on
      -dt•rtlers rn dornest.ie wines mannfacture(l from grapet-:101· berries
      .JJtlrcbase<.lh_,. or grown on lands owned, leased or rented by
       :--aiddealer. Said tax sbitll be fol' edL1cational 1_1urposes.
           Sixtcentl,.-Upou al dealers in pistols, toy pistols shootiu Dealers           11 sto1
                                                                                                     in

    • ·l·artridg-e~, dirks, Bowie knives or metal knuck::i, one hundrec i s, etc.
     ,clollars '-for each place nf hnRines~ in eaen county where the
       ~arne are sold.
           Seventccnth.-Upou everv" individual or firrn, or his or theirnealersin        ''futures "
      .agentt:.: c11gnged in the bus!ness of selling or bnying through                              ·•
       1·egularly orgaiJized stock and cotton exeba11ges or . boards of
       trade, fal'ru proc1ncts, sugar, coffee and salt and meat, railroad
       ~t<>ck and bouds, and stoek and bonds of all kinds, not intended
      _for bona fide sale and delivery, but for future delivery (com-




                                                                                               KR1059
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                               PART I.-TJTLE               2.-'l'AxE~.
                                           Ucneral   T:-ix Aet.


                  monly called "futures"), one thousand dolla-r::; each per annum
                  for each county where such business is carried 011; provided,
    Not appli- that this tax shall not be demanded of any cotton                     warehouse-
    cable to
    those tak-    man,     dfttlet'   in   eotton,    or   any   provision   broker   who take,;
    ing orders order8 in the regnlar course of their trade only for tbc
    for actual
                                                                                            actual
    delivery,     and     bona   fide delivery   of   cotton   and  other  proJueo   so or,lered,
    etc.
                  and whore by the terms of the contract. it is Dot left to the
                  option of the party so ordering, or the party taking such order,
                  to avoid the delivery of the produce or products, by paying--
                  the diffcrenec in the market price of sucb produce or products
    Ji dmtling at the time             of delivery; provided further, that such cotton.
    in "fu-       warehouseman,           dealer in actual cottou, 01· any provision hrokei
    ture-;'' not
    also car-
    ried on.
                  does not carry on the business of buying "futures"                  in connec-
                  tion with his or their other business, and upon e,·ery individ-
                  ual or firm, ot· his orthcil' agents, engaged in a like business,
                  when they take orders ou their own account and determine
                  the loss or gain between thern and their patrons by market
    "Bucket       reports reeeived from any otlier souree whateveJ', and whose
    shops."       business is generally d:rnominated "bucket shops," the ,;um of
                  ten thousand dollars.
     l'eddlers of       Eighteenth .-Upon        every peddler of stoves 01· rn11ges for
     ~~~~:~r cooking purposes, the sum of one hnndrcd                          dollars in t·very
                  eounty in which such peddler may do business.
     SeJlers,etc.       1Vineteenth.-Upon every perso11 01· firm, for him,;elf 01· agent
     of  billiard
     andliketa-   f'• or res1•d ent or 11011-res1c  • 1ent owners, w I10 h o,J l s 01· I'"eeps' 1or
                                                                                                .c

     bles.        hire or sale any billiard, pool or other table of like eharaeter,
                  fifty dollars for ea.eh eounty in whieh ,;uch person or firm doe,;
                  business.
     Clock ped-         Twentieth.-Upo11 eaelt peddler uf eloeks one huudred dollar,;
     oilers.      in eaeh county of the State 111 whieh :mid peddler may do
                  busiuess.
     Itinerant          Twenty-first.-Upon         all itiuerant doctors, dentist::;, optician,;.
     doctors,
     dentists,    or ,;peeialists of any kind, doing business in tl11s State, ten dol-
     etc.         lars for each county 'in whieh they may do busines::;; provided,
                  the provisions of this paragraph ::;ball uot apply to persons
                  whose fixed place of business is in a county of this Stat0 and
                   have paid the tax required by paragraph 2 of section 2.
     Packin'"           Twenty-second.-Upon            all packing houses ur dealers doing a
     ~i;:t:ro~-:   ~t eold storage business in this State, .whether carried on by tho-
     age.          owners thereof or hy their agents, five huu<lred dollars iu each
                   county where said business is canied 011.
     Breweries.          Twenty-thircl.-Upon         all brewiug companies, and upon eadt
                   agent     of  non-resident     brewing     companies, two hu11<lred dollars_




                                                                                              KR1060
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                                I' ART !.-TITLE          2.-TAxE,.:.                             "1.7
                                           General Tax Act.

       Twentyjourtli.-U poo each pawn broker, fifty dollars for each P<twabro-
   p 1ace of . Jrnsrness.
                      •                                                                    kers.

       T1venty-fifth.-U pon all rnerca11tile a ud collecting agencies, conectiug
   com merCla    • l agencies,
                            •     anc1 a 11 ot }rnr agencies
                                                           • of l"k   1 ~e c}1aracter; and       com-
                                                                                           mcrciat
   fifty dollars in every county where they have an established !ftacies,
   office.
       SEc. 3. Be it forth er enacted by the authority aforesaid, That Ta,x re-
   t l1e taxes __prov1•d ed "1or 111  • paragrap
                                              •     ]1s 1 an d '9- o f" section
                                                                             •    ... o f' turns
                                                                                  9
                                                                                           payment.and

   this act shall be returned to the tax-receiver in the county
   of the residence of the persou liable to such tax, a11d shall hy
   the receiver of tax retnrus be entered upon his digest of taxable
   property, and that the taxes provided for in parng:raphs 3, 4, 5,
   6, 7, 8, 10, 11, 12 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24
   and 25 of section ~ -;f this act shall be returned and paid to
   the tax-collectors of the counties where such vocations are
   carried on.
  ~ SEC. 4. Be it fu rtber enaded by the authority aforesaid,                     That PH_vment
   t h e taxes prov1 ec or 111 paragrap s , , , , , o, 10 , ofvocation8.
                           "d 1    f'   •              . h  3  4    5    6   7  Q              taxes oio
   11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 2·~, 24 ancl 25 of
   section 2 of this act shall be paid in foll for the fiscal years
   for which they are levied, to the tax-colleetors of the counties
   where such vocations are canied 011 at the time of commencing
   to do busine,,s specified in said paragraphs.                  Before any pel'-
   son taxed by paragraphs 3, 4, 5, 6, 7, 8, 10, 11, 12, 13, 14, 15,
   16, 17, 18, 19, 20, 21, 22, ~3, 24 and 25 of section 2 of this act
   shall be authorized to carry 011 said business, they shall go be- Registra-
     .
   tore    t ]-1e ore1·rnary of t ]1e conn ty 111  . . w 1nc
                                                           . 11 t 11ey• propose to tion           of
                                                                                            bu~iness,
   <lo business and register their names, place of bnsiness, etc.
    and at the :,;ame time pay their taxes to the tax-collector;
    and it shall be the lluty of saicl ordinary to irnmediately
    notify the Oomptroller-General               and the tax-eollector.           Any Penalty ro,-
                  ·1·           •         • l   h     a.·
    person f a,1 mg to register wit 1 t e or mary, or 1avrng reg_1s-  l    •          • 1a1lureto
                                                                                            reg-i~ter.
    tered, failing to pay the tax as herein required, shall be liable
    to indictment for mi8<1emeanor, and on conviction shall be
   tined not less than double the tax, or be imprisoned as pre-
    scribed by section 4310 of the Code, or both in the discretion
    of the court; one-half of said fine shall be applied to the pay-
    ment of the tax, and the other to the fund of fines and for-
    feitures for use of officers of conrt.
       SEc. 5 . .Be it further enacted by the authority aforesaid, That Tax ou
    all foreign and home insurance companies doing business in ~~i;~rii
    this State shall pay one per centum, 011 all premiums, in money~~~%~~'1:s.
    or otherwise, received by them; provided, this shall 11ot include
    return premiums 011 cancelled policies; and, in addihon to the




                                                                                                    KR1061
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       28                            PAR'f I.-TITLE            2.-TAXE:;.

                                                 Geueral Tax-Act.


       Additional     tax imposed l.1,· thi:,; aet upon the gross 1·eeeipt,.;of sncli i11,;ur-
       tax where
       brokera~e       auee compames,    • •
                                                a I] sue 1l compames   • ' (l orng
                                                                               ·     J)ro k'Cragc J)Usrncss
                                                                                                      •
       or banking.
       business,s  111
                             ] •    S             h       1·         •              ]
                            t ns tate, sue as t 1scount1ng notes, JI s, c rats or ex-  'I\    l   f
        ,lone.         ehange, leuding money or in any manner cloing a busi11ess per-
                       taining to banking 01· brokerage busines-, shall be taxed upon
                       the capital so employed iu tbc same manner and at tlie rnrne
                       rate as other moneyed capital in the hands of private indi-
                       vidnals is taxed.
        :,axon_            S1;;c. 6. Be it further enaeted by the authoi·ity aforesaid,
        nross   ,e.
        ceipts of      'I'h at a 11 f'ore1gn
                                           •       an d h ome fid. e]1ty'    guarantee cornpa111es,  • or
         •nrnranty
        ;';ndsim\lar
                                          •    f'    •
                       ot er compames nn11s mg 011cs, or Sll11l ar associat1ons, d 0111g
                           h                            h"    b     l        •   •1           •  •       •
        comparnes. busi11esR i11 this             State, ,;hall pay one per eentum on all pre-
                       miums i11money or otherwise received by them, aud the agents,
                       generai, special or local, as the case may be, of sai1.l companies
         How re-       slrnll make retnrns tu the Comptroller-General                          on the same
        turns to be
        wade,          terms an·d .Ill t.h e same manner a>-rnstua11cc •              companies. •
        Heturns of         SEC. 7. Be it further enaeted br the authority aforesaid1
        huildin~
        ancl 10~,      'l'h at ti1e
                                  t   pres1·acuts o t' a 11I)lll ·11·      • 1 Ioan assocrntions,
                                                                   c 111ga11l                   •• •    a.nr1
        '.'.~~~~\~_Har other associations          of like character, shall lrn required to return
        ,ions..        to the tax-receiver of the county where snch associations are
                       located, at its true market value, the stock of such as;;ociations
                       owned by the stockh0lclers thereof (upon which, as showu by
                       the books of sueh associations, no advance has ]wen made
        Taxupon        or money lt01Towed thereon by the individual stockholders
        ~~~~kin.       therein), to be taxed as other moneyed ,:a.pita] i II tlie lrnn(b of
                       private individuals is taxed; prm;idrtd, • this shall not exempt
                       such associations from paying the foes require<l by the act ap-
                       proved October 19th, 1891.
        Returns,           Si,;c, 8. Be it further cnaeted by the authority aforesaid,
        ir~<;;,3J~Y.a- That the presidents '.if all rna11ufacturi11g and otherincorporated
         tions.        companies ( or their agents), other than raili·oad, insurance,
                      telegraph, telephone, express, sleeping and palace car eompa-
                       nies, shall be required to retul'Il all their property whatever,
                       of their respective companie,-,, at its tr11e market value to the
                      tax-reeeiver of tlie county where the same is located, or where
                       the principal business of\,acl, company is located, to be taxed
                      for State and cou11ty purpose; as other property iu thi~ State
        Returns of is taxed;          save and except, that all canal 0r slack.water navi-
       ;fa~t\~~-      gation eompanies ,-,hall make through their respective executive
        ternaviga-    officers or stockholders in possession of the same, returns to the
       t,on com-
       panics.        tax-receiver  •
                                         ot • eac 1I eounty 111  • w \ne  • 11 t ]1e same .1s Iocatec l or
                      through which the same shall pass, in whole or in part, of the
                      right of way, locks and clams, toll houses, strnctu res and al I other
                       real estate owned or used by the company or the Rtockholders




                                                                                                    KR1062
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                        PART I.-TlTLE        :l.-TAXE~.

                                       TaxAct.
                                  General
 thereof; prooided, th i,; act shall not make subject to taxation any
 property of ca11al or navigation companies which is not subject
 to taxatiou by the laws of the State as now existihg.                The Questions
 president of every manufacturing company shall be· requirerl~~;.~;e~ub.Y
 to answer under oath, in addition to those now provided by ~~~~~~t•
 law '. the following. questions: ,              .
                                                                           facturinF
                                                                           compamcs.
     First.-What      is the value ot raw material on hand 011 the dav
 :fixed for return of property for taxation?                             •
      Second.-V\That is the value of manufactured goods or articles
 on hand on the day fixed for the return of property for tax-
 ation'?
      Thircl.-\Vhat      amount of money, bonds, notes, accounts
 and choses in actiou of every kind did yon own 011 the day
  fixed for return of property for taxation ?
     Fow·th.-What         other property of every ki11d did you1· .c01n-
  pany own ou the day fixed for the return of property fo1· taxa-
  tion"? And sucl1 cornpa11y shall be taxed upon its entire prop-
  erty so ascertained.
      SEC. 9.   Be it further enacted by the ,wthority aforesaid, Tnxonper-
  That all persons or companies, including railroad companies ~~r:;;~;·nics
  <loi11gan express or telegraph business ancl charging the publie g~!~[        0
                                                                                 <;.x•

  therefor, in this State, shall J'Jau .r
                                          two  and   one-half  per centun1 tbele_graph
                                                                            us1~ess.
  on their grnss receipts, and all persons, or the snperir,tendent
  or general agent of each telegraph or express ·eompatJy, or the
  presideut of each railroad company doing such business in this
  State, shall make a quarterly return, umler oath, as follows: Retur11sor
  On the last day of March, June, Septernber and December, in~~~~g:•:·
  each year, to the Comptrolier-General, showing a full account of 00 mpames.
  their gross receipts during the quarter ending 011 such date;
  and said taxes herein levied upon such gross receipts as shown
  by said quaterly returns, shall be paid by the respective persons To whom
  or companies to the Comptroller-General            at the same time of~,::~;~\"en
  making such returns; the gross receipts herein named shall be paid.
  construed to mean the full amount of all money received from ~eaningof
   business done within this State. If any person, superintendent, cf;r;;;:_,rc-
  agent or president, as the case may be, whose duty it is to
   make returns under this paragraph, shall fail to do so within Pi:naltytor
      •
  t b 1rty  l
           cays                       • reqmre
                              • h erern
                a fter t h e t1me                                          failure
                                                                        • make
                                              • d , sue h person, superrn-        to
                                                                                 re-
  tendent, agent or president shall be liable to indictment, and turns.
   upon conviction shall he punished as prescribed in section 4310
   of the Code of 1882.
      Second.-That       each telephone company shall pay a tax ofTaxon
  one dollar for each telephone station or box with instruments ~~cip~~~:s.
  complete, rented or used by their subscribers, and the superin-




                                                                                 KR1063
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                                  PART I.-TITLE           2.-TAXES.
                                            General Tax Act.

       Returns
       aml pay-
                      ten dent or general manager of the company shall make returns
       ment of        under oath and payments to the Comptroller-General                  on the
       tax.
                      dates named in the first paragraph of this section.
       Sleeping
       cars.
                          Third.-'l'hat    each non-resident, person or company whose
                      sleeping ears are run in this State shall be taxed as follows:
                      Ascertain the whole number of miles of railroads over which
                      such sleepiug cars are run, and ascertain the entire value of all
                      sleeping cars of such person or company, then tax such sleeping·
                      ears at the regular tax rate imposed upon the property of this
                      State, in the same proportion to the entire value of suclt
                      sleeping cars that the length ·of the liues in this State
                      over which such cars run bears to the length of the lines
                      of all railroads over which such sleeping cars are run. Tho
        Uy and to return shall be made to the Comptroller-General                  by the presi-
       ;~~~~nt~ei,e dent, manager, general        agent     or  person  in control  of such cars
        made.         in this State. The Comptroller-General shall frame such ques-
        Questions tions as will elicit the information            sought, and answers thereto
        }~a~ed bv shall be made under oath.              If  the  officers above referred to in
        ~/-'8~~~r~i.   control of such sleeping cars shall fail or refuse to auswer under
                       oath the questions so propounded, then the Comptroller-Gen-
        Penalty for eral shall obtain the information           from such sources as he may,
        ~~!~!r    to   and he shall assess a double tax on such sleepi ug cars. If
        questions. the taxes herein provided for are not paid, the Comptro1Jer-
        cauection      General shall issue executions against the owners of such cars,
        ~!;□paid which may be levied by the sheriff of any county in this State
                       upon the slee1Jing car or cars of the owner who has failed to
                       pay these taxes.
        Sewing ma-        SEc. 10. Be it further enacted by the authority aforesaid, That
         chi~e c"m- every sewiucr machine companv selling or dealing in sewing ma-
         pames and        .         . ~     .          .    J •
        deaJns in chrnes,.by1tselfontsagents,         HI this state, and all wholesale and re-
         ~1;7~~    ma- tail dealers in sewing machines selling machines manufactured
         !'~~~~~ by companies that have not paid the tax required herein. shall
                       pay two hundred dollars for the fiscal year or fractional part
                       thereof, to be paid to the Comptroller-General            at the time of
                       commencement of business, and said            companies   or dealers shall
                       furnish the Comptroller-General a list of agents authorized to
         Tax for       sell machines of their manufacture or under their control, and
         agents.       shall pay to said Comptroller-General the sum of five dollars
                       for each of said agents, for the fiscal year or fractional part
                       thereof, for each county in which said agent may do business
         eert;flcate   for said company. Upon the payment of said additional sum,
         ~ ~ ~-        the Comptroller-General       shall issue to each of said agents a
         ;;;nts.       certificate   of authority to transact business in this State, and
                       such companies, dealers and agents, having paid the taxes re-




                                                                                         KR1064
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                              PART !.-TITLE          :Z.-TAXES. '                         31
                                              TaxAct.
                                         General
    quired herein, shall be exempted from any county or corpora- Exemption
                                                          Before doing bnsi- f~:::.;it
                                                                                    0      1
    tion tax for selling said sewing machines.                                                 -


    ness und_er this Aet, all sewing machine agents shall be re- i~~~twn
    quired to register their names with the ordinaries of those H<-gistra-
    cou_ntie~ in wh_ich_they i1~tend to o~erate, and exhibit to said ~~~;ine;c~~~
    ordmar1es thou hceuse from the Uornptroller-General,                 and to chuie
                  .            d
     k eep sue h I1cense poste 011 t
                                     b  .
                                       eir ve l .
                                               11c Ies  or at    t       l
                                                                      . pace
                                                                   h eu·       ot ,agents.
    business.     Wholesale or retail dealers in sewing machines shallTaxtobe
    he required to pay the tax provided herein for each rnanufact- ~:~~e~f
     ure of sewing machines sold by them, except the manufacture
    of such companies as have paid the tax required by this Aet.
     All unsold sewing machines belonging to sewing machine com- Lien'?n
     pames,                             • possess10n
                              • agents 1n
          • d ea ]ers or t 11e1r                      • of' sa1•d eornpames,  • machines
                                                                                   fortaxes.
     <!ealers, their agents or others, shall be liable to seizure and
    sale for payment of such lieense, fees and tax. Any person P_enal~y                       roi:
                                                                                               01
    who shall violate the provisions of this section shall be              liable  ~h~!•~~~~
    to indictment for a misdemeanor, and on convietion shall be tion.
     punished as prescribc·d in section 4310 of the Uode. None of
    the provisions of this section shall apply to licensed auction-uerta:in ex-
    ~ers selling second-hand sewing machines, or to offieers of the~::;~'~:::'-
     law under -legal process, or to merchants buying and sell~ng ~~~~ ~e•c~r
                                                                                       0

     machines on which a license tax has been paid as herein pro-tion.
    vided, and who keep the said machines and sell and deliver
    th~~ at their places of business, such sales not being on eom-
     m1ss1O11.
        SEC. 11. Be it further enacted, by the authority aforesaid,Notaxon
    That no tax shall be assessed upon the capital of banks or~t~~a~r
     ban king associations organized u ncler the authority of this banks.
     State, or, of the United States, and locat~d within this State,
     bnt the shares of the stockholders of such bank or banking
    associations whether resident or 110n-resident owners, shall be Sharesof
     taxed in the county where such bank or banking associa-:~c~b!d-
     tions are located, and not elsewhere, at their true and full market taxed.
     value, at the eame rate provided in this act for the taxation
     of moneyed capital in the hands of private iudividuals; pro-
     =1:ided,that uothing in this section contained shall be construed
     to relieve such bfrnks or banking associations from the tax on Banksnot
     property owned by them and provided for in section 7 of this f~!/.;,V
                                                                                         00

    act; and provided further, that nothing herein contained shall tax.            property
     be construed to levy any tax on the real or persoual property Propert~·
     held O".. owned by any• bank or ban kiu t:-, o- association
                                                               -                   whenta;<ed
                                                                     doing bus 1•_ not    its
     ness in this State, the \'alue of which is represented in the rvealue                "ectp:
                                                                                     s.en e 1n
                                                                                         1
     market value of the shares of its stock as returned to the tax- value         st0 or
     receiver by said bank and     banking   associations.                            ck.




                                                                                          KR1065
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                                   . PAR'f L-TITL.E                   2.-TAXJ<:S.

                                                        General Tax Act.

    Returnsror          SEC. 12. Be it further            enacted by the authority aforesaid.
    railroad
    companies.      'I'I1at t h e pres1"dent o a II. ra1·1roa d companies
                                                   f'
                                                                      •        • cl omg  •    uus111es,;
                                                                                              1.   •
                                                                                                             111
                                                                                                             •

                    this State shall rnake returns to the Comptroller-General,                               in
                    the manner provided b_y law for the taxation of tlw property
                    of the gross 1·ceeipb; 011 net ineornc of such railroads, and shall
     Payment-      pay the Comptroller-General                 the tax to which s11eh property
     oftax.        or !!TOSS reeeirJtS or net i11corne Illa}· be suu1·eet aecordino-b t,►
                   LJ                                                      •        •

                   the provision of this act a.11cl the laws now of foree relatiug to
                   the tax 011 railroads; and on failure to make returns or rcfnsal
                   to pay tax, said companies shall be liable to all penalties now
                   provided by law, and the Cornptrnller-General                           is hereby n,-
     "<:nalty ror quired, upo11 failure of suel1 eornpa.11ies to rnake retlll'lls, or if
     failure to
     make re-      mace,  l au d. not sat1s1actory
                                               • ,!         to sm• d• ofliee, to prucee<l against      •
     ~~i;?t~~-     such eornpanies as provide~! in seetio11 82ti(d) of the Code of
                    1882.
     tt.eturnsof        SEC. l~~- Be it furtlter enacted by tlte authority aforesaid,
     <.:nrpora-
    tionswhere     'I'}iat t1ie
                              l        • l
                                  pres1c   ents an d prn101pa
                                                          • • 1 agent,,; o f' a I) tne  , meorporatc
                                                                                            •                 d
    ~g\;;~tr•companies herein mentioned, except such as are r8qui.red to
     :o"~d;e:0     make ret11n1s to the tax-1·eceivers of the counties, shall make
     ceivers, to returns to the Com l)trol ler-Genernl                u nde1· the l'U Jes and t•eo-u-
    be made to                                                                                          .::,
    comptroll- latio11s provided          by        law for such returns, and snbjeet to the
    er-General.
                   same peua ties ancl t rn mo es o.f' proceclure
                               1   •           I              d           •      f'or t e en 0'1.'eeme11t
                                                                                        h     f'




     General
     1·ules for,
                   of taxes from companies or persons required by law to make
    etc.           returns to tlte Comptroller-General.
     Returnsor          SEC. 14. Be it further enacted lw the authority afore,;aid,
              or '[' l
    owners
     vessels,etc.       1at any pe1·so11or cOIIIJJa.Uy,       res1•d ent
                                                                      •• o.f' t I11s
                                                                                  • S tate,• w I10 •IS tieJ
                   owner of a vessel, boats, or water-craft of any deHcription,
                   shall a1,swer, under oath, the number of vessels, boats and
                   other water-crafts ow11cd by them and the value of each, and
                   make returns of the same to the tax-reeeiver of the eou11ty of
                   the residence of such person or company, and the same shall
                   be taxed as other property is taxed.
    t;eneral
    rules gov•
                        SEc. 15. Be i.t further enacted by the authority aforesaitl,
    crning re. That          in returning property for taxes, all property shall he-
    t,nrns of
    property.      returned      at its value; prormssory notes, accounts, judgments,
                   mortgages, liens of all kinds and all choses in action shall be
                  given in at their value, whether solvent or partially solvent.
                  Every person shall return for taxes all jewelry and other prop-
                  erty of every kind owned by his wife and minor children,
                  unless the members of his or her family return their property
   Additional for taxation.             In addition to the questions now propounded to
   quPst,ons
   tobe asked tax-payers            by t l1e tax-receivers,
                                                          •              •
                                                                  quest10ns       s h a 11b e f'rarne cl b y
   tax-payers. the Comptroller-General                  to reach all property upon w hi.ch a
                  tax is i.mposed by this Act, and especially the following ques-
                  tions:




                                                                                                          KR1066
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                         PART I.-TITL]~         :2.-TAXES.
                                 Gcnf"ral Tax Act.

       First.-'fbe   number of horses, mules, oxen, eows, sheep,
    hogs, goats, and of all other animals upon whieh a tax 1s m1-
    posed by law and state the value of each.
       Second.-'fhe    ]dud and value of property owned by the wife
    aud minor children of the tax-payer and not returned for
    taxes by the owner thereof.
       1'hird.-,Vhether    solvent or partially solvent, give the value
    ofyonr bonds, stoeks of non-resident cr>mpanies or corpo1·a-
    tions, or of eompanies or corporations in this State whose
    capital stock is not retumed by the president of such company
    or corporation, all note,;, accounts, judgments, mortgages, liens
    and other choses in action of every kind, whether such bonds,
    stocks, 11otcs,cte., arc held by the tax-payers in Georgia, 01·
    held by some other pe1·son for him, either in or out of this
    State. There shall be no deduction from the value of property
    returned for taxes 011 accouut of any indebtedness of such tax-
    payer.                   .
     • SEC. Hi. Be it fnrthe1· enacted by the authority aforesaid, oathto be
    Tbat the oath to be administered to ull persons making returns ~~~!~d;Y
    oft.heir taxable property shall be the oath required under the~~~:;~f
    act of October 20th, 1885, to be attached to the printed list
    fm;nished nuder said Act, and presented to each tax-payer ;.
    provided, that nou-residents, females and sick persons may
    subscribe the oath herein required before any person authorized
    by law to administer oaths, and cause same to be delivered to
    the tax-receiver.
       SEC. 17. Be it further enacted uy the authority aforesaid, When re-
    That the Comptrnller-General        is authol'ized and· empowered t~~-may
    to order .the tax-receivers of this State to commence receivinO'ceived.
                                                                      b
    the returns of taxable property immediately after the first day
    of April of each of the years eighteen hundred and ninety-
    three (1893) and eightee11 hundred and ninety-four (1894), and
    that the Comptroller-General       is empowered and required to When
    cause the taxes to be colleeted and paid into the State Treasury ~~u:t1:'/e
    by the 20th of December of each of the years 1893 and 1894.
       SEC. 18. Be it further enacted by the authority aforesaid, Exemp-
    That blind persons and Confederate soldiers, relieved by the ~11~~ ~r-
    proviso in paragraph 1, section 2, from the payment of the tax c~~r!c1!-
    designated in that paragraph, shall be relieved also from the ate sol-
    payment of the taxes designated in paragraphs 6, 7, 8 and 11 a,ers.
    of section 2, if carrying on and dependent upon the kinds of
    business designated therein ; provided, that before any person
    shall be entitled to the benefit of any of the exemptions pro-
    vided for in this section, he shall go before the ordinary of the
       3




                                                                        KR1067
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     34                        PART L-TITLE                2.-TAXES.

                             Repealing Aet Creating- Board of Equalization.

               county in which he purposes to carry on business, and make
               and file an affidavit setting forth the facts that he is entitled to
               such exemptions, that he is proprietor of the business he pro-
               poses to conduct, and is conducting the same for himself and
               not for others.
     Daytolle      SEC. 19. Be it further enacted, That immediately after the
     ::,x;~J~\e-first day of April of each of the years 1893 and 1894, the Gov-
     t~~~~f     ernor, Oomptroller-Ge11eral and State Treasurer shall fix a day
                between January 1st and April 1st of each of the years 1893
                and 1894 as a day for making a return of taxes instead of
                April 1st, which day shall not be fixed until afte1· April 1st of
                each of the years 1893 and 1894.
                    SEC. 20. Be it further enacted by the authority aforesaid,
                That all laws and parts of laws in conflict with this Act be,
                and they are, here?y repealed.
                   Approved December 23, 1892.




                      REPEALIXG     ACT CREATING            BOARD OF EQUALIZA'.J:ION.

                                                     No. 113.

                  An Act to repeal an ad approved August 14th, 1891, entitled
                    an act to provide a Board of Equalization of real and per-
                    sonal property subject to taxation in this State, and for other
                    purposes, and to restore the law as it existed prior to Au-
                    gust 14th, 1891.

     Act 01 Au-     SECTION1. Be it enacted by the General Assembly of the
     fsi1~ State of Georgia, That an act, approved August 14th, 1891,
         14
            •
     providing entitled an act to provide a Board of Equalization         of real and
     for Board
     ofEquali-
     7.ation, re-
                  personal    property subject to taxation in this State,  be, and the
     pealed.      same is, hereby repealed.
     Former         SEC. 2. Be it further enacted, That all laws which were, in
     1awsatrect- any· ·wav repealed or modified bv the act hereby         repealed be ,
     ed by said            .J                         .J
      Actre-      and the same are, hereby restored to full force.
     --vived.        SEC. 3. Be it further enacted, That all laws and parts of
                  laws in conflict with this Act be, and the same are, hereby
                  repealed.
                     Approved December 22, 1892.




                                                                                        KR1068
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                         EXHIBIT 38




                                                                    KR1069
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      18              PART I.-TITLE             2.-TAXES     AND   PUBLICDEBT.
      ------------------------------
                                  General Tax Act for 1895 and 1896.
                                                                                           ---




                                                TITLE              II.

                               -TAXES           AND PUBLIC DEBT.

                                                     ·ACTS.
                              General Tax Act for 1895 and 1896.
                              Creation of Sinking Fund to Retire State Bonds_.
                              M,urner of Entering on Digest Names of Colored Tax-payers.



                                (,E~ERAL        TAX ACT FOR 1895 AND 1896.

                                                    No. 151.

               An Act to levy and collect a tax for the support of the State gov-
                 ernment and the public institutions, for educational purposes in
                 iustructiDg children in the elenwntary branches of an English
                 education only; to pay the interest on the public debt, and to pay
                 maimed Confederate soldiers and widows of Confederates such
                 amounts as are allowed them by law for each of the fiscal years
                 eighteen hundred and ninety-fi,·e and eighteen hundred and
                 ninety-six; and to prescribe what persons, professions, and prop-
                 erty are liable to taxation; to prescribe the methods of receiving
                 and collecting said taxes; to prescribe the method of ascertain-
                 ing the property of this State subject to taxation;       prescribe
                 additional questions  to  be propounded  to tax-payers, and to pro-
                 vide penalties and forfeitures for non-payment of taxes, and for
                 other purposes.
                   SECTIONI. Be it enacted by the General Assembly of the State of
     ~J~;'i~~em Georgia, That the Governor be authorized and empowered, with the
     tax.       assistance ot the Comptroller-General, to assess and leyy a tax on
                the taxable property of this State for each of the fiscal years eigh-
                teen hundred and ninety-five and eighteen hundred and ninety-
                six of two mills and r3     °
                                       0 0 ths of a mill, and the Governor be, and is,
                hereby authorized and empowered, by and with the assistance of
     Ad valo•   the Comptroller-General, to assess and levy, in addition to the fore-
     !~i:'~f;~~~going general State tax, a tax of one mill and one-half of a mill
     poses. for each of the years eighteen hundred and ninety-five and eigh-


                                                                                                 KR1070
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                    PART !.-TITLE         2.-TAXES      AND   PUBLICDEBT.                19
                                 GeneralTax Actfor 1895 and 1896.
     teen hundred and ninety-six on all of the taxable property of this
     State, for the purpose of raising the funds necessary to meet the
     appropriations of this General Assembly for educational purposes
     in instructing children in the elementary branches of an English
     -educ::ition only.
         SEC. II. Be it further enacted by the authority aforesaid, That, in Specific
           . • to t l1e a d va lorem tax on rea l estate an
     a d c11t10n                                             • d persona 1 prop- taxes.
     -erty, as required by the Constitution and provided for in the pre-
     <:eding section, the following specific taxes shall be levied and col-
     lected for each of said fiscal years eighteen hundred and ninety-
     five and eighteen hundred and ninety-six.
         First.-Upon     each and every male inhabitant of the State, be- Polltax.
     tween the ages of twenty-one and sixty years, on the days fixed for
     return of property for taxation, a poll tax of <me ($1) dollar, which
     shall be for educational purposes in instructing children in the
     -elementary branches of an English education only; p1·ovided, this ~~ii~E-~m
      tax shall not be demanded of blind persons, nor of crippled, polltax.
      maimed, or disabled Confederate soldiers, relieved of such taxes
     under and by authority of an Act approved July 23, 1883.
         Second.-U pon every practitioner of law, medicine, or dentistry, Lawyers,
     presidents of each of the banks of the State, each agent or firm a~~W;f~.
              • • 1oans an d c h argrng
     uegotiatrng                      • t I1ere1or,
                                                r    t h e pres1"dents o f eac l1 ofco,pora-
                                                                                       tionpresi-
     t he rai")roa d compames,• pres1•d ents o f each of t I1e expre,,s, te }egrap I1, agents,
                                                                                       dents loan
                                                                                              etc.
     telephone, electric light, and gas companies doing business in this
     State, and in case the presidents of any such companies do not re-
     side in this State, then, in such case, upon the ;;uperintendent or
     general agent of such companies who may reside in •this State, ten
     ($10) dollars, and no municipal corporation or county authorities
     shall levy any additional tax on said professions either as a license
     fee or otherwise.                                        •
          T hfrd.-Upou      every daguerrean, ambrotype, photographic, and P~,tgic
     similar artist, ten ($10) dollars in each county in which they m:iy !,tfsts.
     -carry on business; provided, this tax shall not be required of any ex- Exemption
      Confederate soldier.
         Fourth.-U pon every person carrying on the business of auc-~e~~-tion-
      tioneer, for pay or compensation, twenty-five ($25) dollars for each
     -county in which they may carry on such busiuess.
         Fift.h.-U pon every keeper of a pool, billiard, or bagatelle table, fl;;ttf1_01
     kept for public use, whether in a bar-room, hotel, or other public ~:~~ieli~
     place, twenty-five ($25) dollars for each table. •                                tables.
         Sixth.-U pon every keeper of anv other table, stand, or place KceJ?ers                of
     for the prrformance of any game or 'play; and upon the keeper oftf~~~~etc.
     any flying-horses, or any other game or play, unless kept for exer-
     cise or amusement not prohibited by law, and not kept for gain,
     <lil'ectly or indirectly, twenty-five ($25) dollars in each county.


                                                                                       KR1071
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       20                PART !.-TITLE             2.-TAXES A:NDPUBLIC DEBT.
                                         GeneralTax Act for 189.i and 1896.

       ~~:~rl~sof Sevenlh.-Upon                 f'Very keeper of a ten-pin alley, or alley of like
       alley,,etc. character, kept for public play, and upon every keeper of a shooting-
       Shoot\ng gallery, twenty-five ($25) dollars for each place of business.
       galleries.      E" 'i_qhth.- U pon every trave 1mg    •      ven d or o f' patent or proprietary•
       Peddlers. memcrnes,1• •            • ]
                                     specia                •
                                               nostrums, Jewe    ]
                                                                   ry, paper, soap, or ot I1e1· merchan-
                   dioe, fifty ($50) dollars in each county where they may offer such
                   articles for sale.
       Localin-        Nintli.-Upon           every local insurance agent or firm of agents, or
       surance insurance broker or firm of brokers doing business in this State,
       ogents. ten ($10) dollars for each county in which they shall solicit busi-
       Agentsof ness; and upon every agent of a matrimonial, natal, or nuptial com-
       ~~~;;,      pany, one hundred ($100.00) dollars for each county in wbich they
       ~~~panies,sball do business; and upon every traveling or special or general
              . agent of life, fire, accident, or other insurance company doing busi-
       Travelhng,
       special,or ness 111          ' S tate, fifity ( $50) d o ]]ars, w I·11cI1 sa1c
                             • t ]11s                                               • l tax must l1e pa1'd
       general!11· I1eiore
       surnncc         l'
                               sa1• d agents s ha 11 h e aut I1onze( • l to act as agents f'or any o f
       agents. their companies.                Said tax shall be paid by said companies to the
                   Comptroller-General,             and shall be in addition to tbe license lee r~-
                   quired of insurance compauies by the Act approved October 24,
       Licenseof 1887. The recciilts ot the Com1ltroller-General                         for the 1x1yment
       such        of this tax, together with his certificate, as provided by said Act,
       agents. approved October 24, 1887, shall constitute the license for said
                   agents to transact bnsinees for their companies as designated by said
        Exemptioncertificates; pl'Ovided, this tax shall not be required of agents of
        trom.      assessment lifo insurance companies or mutual aid societies; pro-
                   vided further, that railroad ticket agents selling accident insurance-
                    tickets shall not be deemed illsurauce agents in tbe sense· of this
                   section, and this section shall not apply to railroad ticket agents
                   selling accident insurance tickets, and that railroad tieket agents
                    who sell accident ius11rance tickets shall not be required to pay the
                   said tax; provided further, that this ta~ shall not be required of
                   agents of ind11strial life insurance companies writing what are
                   known as industrial life insurance premiums, •On which are payable,
                    in weekly instalment,,, not exceeding $1.05 per week.
        Emigrant         Tenih.-Upon each emigrant agent or employer or employee of
        agents. such agents doing business in this State, the sum of five h undrcd
                    do-liars for each county in which such business is conducted.
                        Elei:enth.-Upon c;ery traveling vendor using boats for tbe pur-
        usingboatspose o f' se ]]'111ggoosd on tie
        Vendors                                           ] nvcrs
                                                               •                                         • o f'
                                                                                        • I • t b e 1·1m1ts
                                                                        or waters w1t1111
        Taxto be tbis State, the sum of fifty ($50.00) dollars in each county where-
        ~i~'t:~id they may sell their wares, and said tax shall be a lien on the boat
        contents. and its contents, without regard to the ownership thereof.
        Hineraat          Tweljth.-U pon all itinerant lightning-rod dealers or agents, the
        ~~~~~~1frs sum of fifty ($50.00) dollars for eacb and eYery county in which
       or agents. they operate.


                                                                                                      KR1072
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                     PART I.-TITLE            2.-TAXES      AND   PUBLIC DEBT.                   21
                                    GenernlTax:Act for 1895 and 1896.

           Thfrleenth.-UfJOn all shows and exhibition~ (excer)t          •        such as Sho~\·s_11;nd
                                                                                             exh1b1t1ons
      histrionic, musical, operatic, and eloct1tionary), including the side-
     shows accompanying circus companies, fifty ($.50.00) do1lars in each
    -.and every eity or town of five thousand inhabitauts;                   forty dollars
     in cities or towns of four thousand and under five thousand inhabi-Taxtohe
     tauts, and thirty dollars in towns of less than four thousand inhab- ~J~~!fi~n-
      itarits; said tax, s0 colle~ted, shall be for educational purpose8.                    al purposes
          Fourteenth.-Upon        every circus company, or others giving an Circus .
                 . b eneat h or wit• b'tn a canva8 enc losure, a d vertisef  . l rn. prmt• companies,
     -exlll'b' 1tion                                                                          etc.
     or by p~1rade, or in any manner whatsoever as a eircus, menagerie,
      hippodrome, spectacle, or show implying a circus, three hundred Taxto be
     {lollar:5 each day it may exhibit in the State of Georgia; said tax ~J~~I~ron-
      sball be for educational purposes.                                                      al purposes
           F-ifleenth.-U  pon  all   dealers  in spirituous   or  malt   liquors,   intoxi-   kiqf°r
     -eating bitte1·s, or brandy fruits or domestic wines,              whether     dealing     etters.
      in any or all thereof, one hundred dollars for each place of busi-
      ness in each county where the same are sold; pro·vided, that parties
      -engaged in the manufacture of spirituous or malt liquors under
      license by the gove.rnment, who are prohibited by any local law
      from selling the same iu the county where manufactured, shall not
      be subject to this tax unless they carry on the business of retailing
    • -0r wholesaling such spirituous or malt liquors in some other county
       where the sale is not prohibited; provided, this tax shall not relieve
      such dealers from any local tax or prohibitory law in reference to
       the retail of spirituous or intoxicating           liquors, nor be required of
       those who sell by wholesale spirits manufactured of apples, peaches,
      grapes, blackberries, or other fruits grown on their own lands when
      s6ld in quantities not less than five gallons,; prnvided, that nothing E;xemfr'
       in this act shall be construed as to levy a tax on dealers in domPstic ~~~~s rom
       wines manufactured from grapes or berries purchased by or grown Tax10 be
       on lands owned, leased, or reuted by said dealer,· said tax shall be uctsed                   fot_r
                                                                                               e. UCR 10n-
       for educational purposes.                                    .                          al purposes
           Sixteenth.-Upon all dealers in r-istols, toy pistols shooting car- D_ealers                  in
          'd         •
       tr1 ges, p1sto or1     'fl
                             r1   e  cartri ·ages,  a·1rI{S,  b    •
                                                                ow1e- l    •
                                                                       {lllves,   or  meta  l  pistols
                                                                                               other   and
       knucks, twenty-five          dollars for each place of busine.:;s in the weapons.
      <;ountv where the same are sold.
           Sev~nteenth.-Upou every individual or firm ' or his or their Dealers                         in
                                                                                               "futures.''
       agents, engaged in the business of selling or buying through regu-
        larly organized stock and cotton exchanges, or boards of trade,
       farm products, sugar, coffee, and salt and meat, railroad stocks and
       bonds, and stocks and bonds of all kinds, not intended for bona fide
       sale and delivery, but for future cleli,·ery (commonly called "fu-
       tures" \1 , one thousand dollars each per annum for each county where E,xemp.
       such business is carried on ; provided, that this tax shall not be de- tions fro:n
        manded of any cotton warehouseman, dealer in cotton, or any pro-



                                                                                                 KR1073
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      22             PART I.-TITLE                2.-TAXES   AND   PL'BLIC   DEBT.
                                   General Tax Act for 1895 and 1896.

                     vision broker who takes orders iu the regular course of their trade,
                     only for the actual and bona fide delivery of cotton and other pro-
                     duce so ordered, and where, by the terms of the contract, it is not
                     left to the option of the party so ordering, or the party taking such
                     order, to avoid the delivery of the produce or products by paying
                     the difference in the market price of such produce or products at
                     the time of delivery; providedfw·tlier, that such cotton warehouse-
                     man, dealer in actual cotton, or any provision broker does not carry
                     on the bnsiness of buying" futures" in connection with his or their
                     other business, and upon every individual or firm, or his 01· their
                     agents, engaged in a like bnsiness, when they take orders, on their
                     own account and determine the loss or gain between them and their
                     patrons by market reports received from any ,;ource whatever, and
                     whose business is generally denominated "bucket shops," the sum
                     of ten thousand dollars.
       Peddlers of      Eighteenth.-U pon every peddler of stoYes or ranges for cooking
       stoves or
       ranges.
                     1rnrposes,  the sum of one hundred dollars in every countvJ in which
                     such peddler may do business; and upon each traveling vendor of
       Peddlers of patent churns and patent fences, the sum of ten dollars in each
      churns and
      fences         county Ill•
                                 wh 1c
                                     • }                                c sa I e.
                                        1 t I 1ey ouer sue I1 arhc• 1es 1or
                                           f!f'


       Packing          Nineteenth.-U pon all packing-houses or dealers doing business
      houses.        in this State, whether carried 011 by the owners thereof or by their
                     agents, fifty dollars ($50) in each county where said business is car-
                     ried on.
       Keepers           Twentieth.~Upon         every person or firm, for himself or agent for
      !~fehiibil:    resident or non-resident owners, who keeps or holds for hire or sale
      I1iabrd
        a 1es,ec.
                   t any billiard, pool, .or other table of like character, fifty ($50) dol-
                     lar,, for each county in which such person or firm does business.
      clock              Twe11ty-fi1·st.-·
                                         -Upon each peddler of clocks, one hundred dollars
      peddlers.      in each county of the State in which said peddler may do business.
      Itinerant          Twenty-second.-U pon all itinerant doctors, dentists, opticians, or
      ~~~W;~, specialists of any kind doing business in this State, ten dollars for
      etc.           each C;)unty in which they may do business; provided, the provi-
      ~xemp-         sions of this paragraph shall not apply to persons whose fixed place
      t10ns from. f b
                     o       •
                           usmess   • 111
                                    Is                       s
                                       • a county o f t.b.1s tate an cl h ave pa1•d t he tax re-
                     quired by paragraph 2 of section 2.
      Brewing
       companies.
                         Twenty-thi1·d.-Upon all brewing comimnies, two hundred dollars.
                         Twenty-fourth.-Upon          ead1 pawn-broker, fifty dollars for each
      Pawn-
       brokers.      place of business.
       Commer·           Twenty-fifth.-Upon        all mercantile and collecting agencies, com-
       ~J!;_"gen- mercial agencies, and all other agencies of like character, fifty dol-
                     lars in every county where they have established an office.
       G
           0     I
                        SEC. III. Be it further enacted by the authority aforesaid, That
       ta';. ;~furns the taxes provided for in paragraphs 1 and 2 of section 2 of this Act,
                     shall be returned to the tax-receiver in the county of the resi-


                                                                                          KR1074
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                      PART I.--TITLE          2.-TAXES      AND   PUBLICDEBT.                  23
                                     GeneralTax Act for 1895 and 1896.
       dence of the persons liable to suP-h tax, and shall, by the receiver
       of tax-returns, be entered upon his digest of taxable property, and
       that the taxes provided for in paragraphs 3, 4, 5, 6, 7, 8, 10, 11,
       12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, and 25 of section
       2 of this Act shall be returned and paid to the tax-collectors of the
       counties where such vocations are carried on.
           SEC. IV. Be it further enacted by the authority aforesaid, That ~~~e:_:\                0
       the taxes
              _
                    provided
                        _
                              for in
                                  ,
                                      paragraphs 3, 4, 5, 6, 7, 8, 10,. 11, 12, 13,       whhomand
                                                                                        . w en taxes
        14, lo, 16, I 1, 18, 19, 20, 21, 22, 23, 2-!, and 25 of sect10n 2 of this tobe paid.
       Act shall be paid in foll for the fiscal years for which they are levied
       to the tax-collectors of the counties where such vocations are carried
       on at the time of commencing to do business specified in said para-
       graphs. Before any person taxed by paragraphs 3, 4, 5, 6, 7, 8, Registra-
        10, 11, 12, 1:1, 14, 15, 16, 17, 18, ] 9, 20, 21, 22, 23, 24, and 25 tio,~ of
       of section 2 of this AP-tshall be authorized to carry on said business, busmess.
       they shall go before the ordinary of. the county in which they pro-
       pose to do bnsi uess and register their names, place of business, and
       at the same time pay their taxes to the tax-collector, and it shall be
       the duty of said ordinary to immediately notify the Comptroller-
       Geuera~ and the tax-?ollectn_r. Any i~e.rsonfailing to register wi!h Failure to
       the ordrnary, or, bavmg registered, failing to pay the tax as berem register!,O
       req m•re d , sIrn11 be l"1ab 1e to 1m
                                           • l"1ctment f"or mis
                                                              • d emeanor, an d , on ness pay busi-
                                                                                              tax.
       conviction, shall be fined not le!ls than double the tax, or be im-
       prisoned as prescribed by section 4310 of the Code, or both, in the
       discretion ot the comt. One-halt" of said fine shall be applied to
       the payment of the tax, and the other to the fund of fines and for-
       feitures for use of officers of court.
            SEC. V. Be it further enacted by the authority aforesaid, That all Tax onin-
             • an d I10me rnsurance
       c1ore1gu              •                    • or msurance
                                         comparnes,      •           b ro l;;:er,,p 1acmg
                                                                                       • surauce
                                                                                          companies
        insurance on property in this State, doing business in this State, or brokers.
        shall pay one p"e1·centmn on all premiums in money or otherwise
        received by them; J)l"ovidecl,this shall not include return premiumsE
        on cancelled policies; provided fttrfher, that this shall not apply to ti~~~f;om.
        mutual, co-operative, or assessment fire companies organized for
        mutual protection against losses by fire, and receiving no premiums
        other than the assessment of its own members; and in addition to
        the tax imposed by this Act upon the gross receipts of such insur-
        ance com1mnies, all such companies doing brokerage business in this 1nsurance
        State, such as discounting notes, bills, drafts, or exchange, lendingcol_llpanies
       money, or Ill  . any manner d orng  .    a b usmess
                                                      .            . • to b an k.mg bro~erage
                                                            pertammg                      domg
       or brokerage business, shall be taxed upon the capital so employed busmess.
        in the same manner and at the same rate as other moneyed capital
        in the hands of private individuals is taxed .
          . SEC. VI. Be it further enacted by the authority aforesaid, That all :{~~;~~lee
        foreign and home fi?elity guarantee companies, or other companies ~i~panies



                                                                                           KR1075
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     24              PART I.-TITLE          2.-TAxEs       ANDPi:mLrc DEBT.
                                   General Tax Act for 1895 and 189G.

                   furnishing bonds, or similar associations doing business in this State,
                   shall pay one per centum on all premiums, in money or otherwise,
                   received by them, and the agents, general or special or local, as the
                   case may be, of said companies shall make returns to the Comp-
                   troller-General on the same terms and in the same manner as in-
                   surance companies.
      Returns of       SEC. VII. Be it further enacted by the authority aforesaid, That
      building     Lhe president of all building an<l loan associations or other associa-
      and loan
      associa-     tions of like character shall be requi reel to return to the tax-receiver
      tions, etc.
                   of the county where such associations are located, at its true market
                   value, the stock of such associations owned by the stockhol<lers
                   thereof (upon which, as shown by the books of such association,
                   110 advance has been made or money borrowed thereon by the in-
                   dividual stockholders therein), to be taxed as other moneyed capital
                .  in
      E xempt,on I 11 l
                       the hands of private individuals is taxed; pl'ovided, that no tax
      from.        s 1a     )e reqmre• cl of b m'Id'mg an d Ioan associations
                                                                          • •      to be pat'd
                    upon any portion of their capital which has been loaned or ad-
                   vanced to a shareholder upon real estate, upon which real estate
                   tax is payable by said shareholders; und provided further, that the
      Th\s t ~x to taxes required by this section shall be in lieu of all other taxes and
      b e 1n 11en
      of others.   licenses, whether State, county or municipal, against said associa-
                   tions, except a business license by the town or city in which the
                    principal office of any such association is located, and except a fee
                   required to be paid the State Treasurer by th(' Act approved Oc-
                    tober 19, 18!11.
      Returus of       SEC. VIII. Be it further enacted by the authority aforesaid, That
      c_orpora• the presidents of all manufacturing and other incorporated companies,
      tzons, other      I •              h     h     'I   ] •             ]      I    I h
      than ~•ii· or t 1e1r agents, ot er t an ra1 roac, rnsurance, te egrap 1, te ep one,
      road,  msur-
      ance, ex-                I  •          1   ]              •
                   express, s eep111ganc pa ace car compames, s rn     I JI be reqmrec] to re-
                                                                                    •
      ~~~~ai:f.;~. turn all 1heir property whatever of their respective companies at its
                   trne market valne to the tax-receiver of the county where the same
                   is located, or where the principal business of each company is lo-
                   cated, to be taxed for State and county purposes as other property
                   in this State is taxed; save and except that all canal or slack-water
      Canal or     navigation companies shall make, through their respective executive
      navigation o fficers or stoc kl 10 Id ers 111
      slack-water                               • possess1011
                                                         • o f t }1e same, returns to t h e tax-
        ompanies. receiver of each county in which the same is located, or through
                   which the same shall pass, in whole or in part, of the right of way,
                   locks and dams, toll-houses, structures, and all other real estate
                   owned or used by the company or the stockhol<lers thereof; pro-
                   vided, this Act shall not make subject to taxation any property of
              .    ·canal or navigation companies which is not subject to taxation by
             an-. t h e Iaws o f t I11s
      Questions
      tobe                           • S tate as uow ex1st10g.
                                                           • •       Th e pres1·aent of every
     ;':e~\~~:lsmanufacturing company shall be required to answer under oath, in
      f!cfu~'i'i~  addition to those now provided by law, the following questions:
     companies.



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                     PART I.-TITLE          2.-TAxEs      AND Pvnuc DEBT.                    25
                                   GeneralTax Actfor 1895 and 1896.
         Fir.st.-vVhat is the value of raw material on baud on the day
     fixed for return of property for taxation?
         Second.-What is the ya\ue of manufactured goods or articles on
     band on the day fixed for the return of property for taxation?
         Thfrcl.-,Vhat         amount of money, bonds, notes, accounts, and
     -choses in action of every kind did you own on the day fixed for
     return of property for taxation?
         Fow·th.-,Yhat other property of every kind did your company
     own on the day fixed for the return of property for taxation?
         And such company shall be taxed upon its entire property so
     ascert!lined.
         SEc;. IX. Be it further enacted bv the authority aforesaid, That Taxon .
     a 11persous or compames,       .    . l u d"rng• rat"]roa d compames,
                                         rnc                              .    d 0111g
                                                                                  .      compames
                                                                                      au doing ex-
                                      •        1    I    .      h     bl.   h
     express or te Iegrap I1 b usrness anc c rnrgrng t e pu 1c t ere1or, 111 telei,raph
                                                                                  £'   • press or
     this State, shall pay two and one-half pe1" centum on their gross busmess.
     receipts, and all persons, or the superintendent or general agent of
     each telegraph or express company, or the president of each rail-
     road company doing such business in this State, shall make a quar- Returnsof.
     terly return, nuder oath, as follows :
         On the last day of :March, June, September, and December, in
     each year, to the Comptroller-General,                showing a full account of
     their gross receipts during the quarter ending on such date; and
     said taxes herein Jeyied upon such gross receipts as shown by said
     quarterly returns shall be paid by the respective persons or com-
     1:ianiesto the Comptroller-General at the same time of making such
     returns; the gross receipts herein named shall be construed to mean
     the full amount of all money recei,·ed from all business done within
     this State. If any person, superintendent, agent, or president, as
     the case may be, whose duty it is to make returns nuder this para- Failureto
     graph, shall fail to do so within thirty days after the time herein ~tJ;n.
     required, such person, superintendent, agent, or president shall be
     liable to indi0tment, and upon conviction shall be punished as pre-
     scribed in section 4310 of the Code of 1882.
         Second.-That each telephone company shall pay a tax of oneTaxon
     d o ll ar r1or eac J1 te ]ep
                               • b one station
                                            · or b ox wit   • h rnstrnments
                                                                •             comp ]ete, telephone
                                                                                         companies.
     rented or used by their subscribers, and the superintendent or gen-
     eral manager of the company, shall make returns, under oath, and Returnsof.
     payments to the Comptroller-General                on the dates named in the
     first paragraph of this section.
         Third.-That           each non-resident person or corripany, whose steepiag-
     sleeping-cars are run in this State, shall be taxed as follows:                 As- cars.
     certain the whole number of miles of railroads over which such
     sleeping-cars are run, and ascertain the entire value of all sleeping-
     cars of such ·person or company, then tax such sleeping-cars at the
     regular tax rate imposed upon the property of this State, in the



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      26             PART I.-TlTLE           2.-TAXES       AND PL'BLIC   DEBT.

                                   General Tax Act for 189:i and 1896.

                    same proportion to the entire value of such sleeping-cars, that the
                    length of the lines in this State over which such cars run bears to
                    the length of the lines of all railroac1s o\'er which such sleeping-cars
     Returns of. are run.       The returns shall be made to the Comptroller-General by
                    the president, manager, gen_eral agent, or person in control of such
                    cars in this State. The Comptroller-General shall frame such ques-
                    tions as will elicit the information sought, and answers thereto shall
                    be made under oath. If the officers above referred to in control of
     Failure to such sleeping-cars         shall fail or refuse to answer, under oath, the
     make
     proper         questions so propounded, then the Comptroller-General shall obtain
     return.
                    the information from such sources as he may, an<l he shall assess a
     Failure to double tax on such sleeping-car.;:.            If the taxes.herein provided for
     pay tax.       are not paid, the Comptroller-General shall issue executions against
                    the owners of such cars, which may be levied by the sheriff of any
                    county in this State upon the sleeping-car or cars of the owner who
                    has failed to pay these taxes.
     Sewing-           SEC. X. Be it further enacted by the authority aforesaid, That
     machine
     companies      every    sewing-machine company selling or dealing in sewing-
     or dealers. machines, by itself or its agents in this State, and all wholesale and
                    retail dealers in sewing-machines selling machines manufactured by
                    companies that have not paid the tax required herein, shall pay two
                    hundred dollars for the fiscal year, or fractional part thereof, to be
                    paid to the Comptroller-General at the time of commencement of
                    business, and said companies or dealers shall furnish the Comptroller-
     Lists of       General a list of ageuts authorized to sell machines of their manu-
     agents.        facture, or under their control, and shall pay to said Comptroller-
     Tax on         General the sum of five dollars for each of said agents for the fical
     agents.
                    year, or fractional part thereof, for each county in which said agent
     Agent's        may do business for said company.            Upon the payment ot said ad-
     certificate ditional sum, the Comptroller-General             shall issue to each of said
                    agents a certificate of authority to transact business in this State,
                    and such companies., dt>alers, and agents, having paid the _taxes
     Exemption required herein, shall be exempted from any county or corporation
     !~~~ty or tax for Eelling said sewing-machines.               Before doing business nuder
     fi'iJ'~~~-     this act, all sewing-machine         agents shall be required to reg-
     Registra-      ister their names with the ordinaries of those counties in
     tion of
     ageu 18, eI c.
                    which they intend to 011erate and exhibit to said ordinaries
                    their license from the Comptroller-General,               and to keep such
                    license posted on their vehicles or at their places of business.
     Tax for        ,vholesale or· retail dealers in sewing-machines shall be required to
     each
     facture  of pay t h e tax prov1·d ecl 1rnrem
            manu-                                • f,or eac J1 man u f:acture o f sewmg-mac
                                                                                     •      hmes
                                                                                             •
     machines. sold by them, except the manufacture of such companies as have paid
     Lien on        the tax required by this Act. All uusold sewing-machines belonging
     ~':isiJ?nes. to sewing-machine companies, dealers, or their ~gents, iu possession




                                                                                          KR1078
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                        PA.RT !.-TITLE          2.-TAXES       AND   Pi:BLIC DEBT.                   27
                                       GeneralTux Act for 18%and 1896.
       of said companies, dealers, their agents, or others, shall be liable to
       seizure and sale for payment of such fees, lieense, and tax. Any per- P It, r
       son who shall violate the provisions of this section shall be liable vf~1:1i~nt:-
       to 1n • d'1ctment f or a misc   • l emeanor, an d on conv1Ct10n     • •     sh a 11 I.oe of this
                                                                                                section.
       punished as prescribed in section 4310 of the Code. None of the
       provisions of this section shall apply to licensed auctioneers selling ;;~~~p-
       second-hand sewing-machines, or to officers of the law under legal
       process, or to merchants buying and selling machines on which a
       license tax has been paid, as herein provided, and who keep the said
       machines and sell and deliver them at their places of business, such
       sales not being on commission.                  ,
           SEC. XI. Be it further enacted bv" the anthori t •y aforesaid, That Tax              bankonstock
       no tax shall be asses':led upon the capital of banks or of banking asso-                             •
       ciations organized under the authority of this State or of the -United
       States, and located within this State; but the 'shares of the stock-
       holders of such bank or banking associations, whether resident or
       non-resident owners,shall be taxed in the county where such bank or
       banking associations are located, and not elsewhere, at their true and
       full market value at the same rate provided in this Act for taxation
       of moneyed capital in the hands of private individuals; pl'ovided,
       that nothing in this section contained shall be constrned to relieve
       such banks or banking associations from the tax on property owned
       by them and provided for in section 8 of this A.ct.
           SEC. ~II. Be it fu~·ther enacted ~y the _authori!y afo_resai~l,That ~~\~i~! or
       the president of all railroad com pan 1es doing busrness rn this State companies.
       shall make returns to the Comptrnller-General                  in the manner pro-
       vided by law for the taxation of the property, of the gross receipt or
       net income of such rail roads, and shall pay the Comptroller-General Payment of
       t h e tax tow h 1c. I1 sue h property or gross rPce1pts  . or net rncome
                                                                            .       may b e tax
       subject according to the provisions of this Act and the laws now of
       force relating to the tax on railroads; and, on failure to make returns Failure to
       or refusal to pay tax, said companies shall be liable to all the pen- ~'~~eo~e~ay
       alties now provided by law, and the Comptroller-General is hereby tox.
       required, npon failure of such companies to make returns, or if
       made and not satisfactory to said officer, to proceed against such .
       companies as provided in secticn 826(d) of the Code of 1882.
            SEC. XIII. Be it further enacted by the authority aforesaid, That Corpora-
       t h e pres1•d ent ancl pri ncipa I agents o f a I l t lle •rncorporate cl com pa mes• t10ns
                                                                                                maketo re-
              •        •     d              I                  •   d          l
       l1ere1n ment10ne , except sue 1 as are req mre to ma ,e returns to comp.•                tnrns  to

       t he tax-rece1•vers o f t Ile conn
                                        • hes,
                                             • s ha 11 ma k e returns to t he Comp- etc         General   '
       troller-General, under the rules and regulations provided by law
       for such returns, and subject to the same penalties and the modes of
       procedure for the enforcement of taxes from companies or persons
       required by law to make returns to the Comptroller-General.




                                                                                                 KR1079
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     28               PART I.-TITLE           2.-TAXES      AND   Punuc DEBT.
      -------------------------------
                                 General Tax Act for 189,; and 1896.

     Questions
     to be an-          SEC. XIV. Be it forthet· enacted by the authority aforesaid, That
     ~~~ii!~g;      any person or company, resident of this State, who is the owner of
     vessels, etc. a vessel, boats, or water-craft of any description, shall answer under
                    oath the nurn berof vessels, boats, and other water-crafts owned by them
      Returns of and the value of each, and make returns of tbe same to the tax-
     .and tax on. receiver•    o f th e couu t yo t· th e res1.d euce o f• sue h person or company,
                    and the same shall be taxed as other property is taxed.
     ~~1~e!:\           SEC. XV. Be it further enacted by the authority·aforesaid, That
               0
     reatu_rns for in returning property for taxes, all property shall be returned at its
     H I a 1orem
     tax.           va I ue; promissory
                                    •
                                            notes, accounts, JUC   . ]
                                                                       gments, mortgages, 11ens
                                                                                              •
                                                                                                  o f"
                    all kinds, and all choses in action shall be given in at their value,
                    whether solvent or partially solvent. Every person shall return for
                    taxes all _jewelry and other property of f'very kind owned by his
                    wife and minor children, unless the members of his family or her
      Additional family return their property for taxation.                 In addition to the ques-
     •iuestions     tions now propounded to tax-1)ayers bv the tax-receivers, questions
      fnr to be       I                                             •
      f:amed by s rnll be framed by the Co111ptroller-General to reach all property
      ~~:::,i;;;-
              1     upon which a tax is imposed by this Act, and especially the fol-
                    lowing questions:
     Especially.        Ffr8t.-The      number of horses, mules, oxen, cows, sheep, hogs,
                    goats, and of all other animals upoi1 which a tax is imposed by law,
                    and state the value of each.
                        Second.-The      kind and value of property owned by the wife and
                    minor children of the tax-payer and not returned for taxes by the
                    owner thereof.
                        T!tfrd.-·Whether      solvent or partially solvent, give the value ot
                    your bonds, stock of non-resident companies or corporations, or of
                    companies or corporations in this State whose capital stock is not
                    returned by the presirl.ent of such company or corporation, all notes,
                    accounts, judgments, mortgages, liens, and other choses in action of
                    every kind, whether such bonds, stocks, notes, etc., are held by the
     xo             tax-payers in Georgia, or held by some other person for him either
     i~c1: 0c:;i~
                1
                 ~t
                 1  in or out of this State. There shall be no deduction from the
     ~11\~~e~tvalue of property returned for taxes on account of any indebtedness
     tax-payer. of such tax-payer.
     -Oath of           SEC. XVI. Be it further enacted by the authority aforesaid, That
     ~!~~~g         the oath to be administered to all persons making returns of their
     ieturn.        taxable property shall be the oath required under the Act of Octo-
                    ber 20, 1885, to be attached to the printed list furnished under saicl
                    Act and presented .to each tax-payer_; p,-ovicled, that non-residents,
                    females, and sick persons may subscribe the oath herein required
                    before any person autbori7,ed by law to administer oaths, and cause
                    same to be deli\·ered to the tax-receiver.




                                                                                                KR1080
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                     PART !.-TITLE        2.-TAXES       AXD PUBLIC   DEBT.

                                 General Tax Act for 1895 and 1896.

          SEC. XVII. Be it further enacted by the authority aforesaid, That ~ir~,s to
       the Comptroller-General is authorized and empowered to order the be received
       tax-receivers of this State to commence receiving the returns of
       taxable property immediately after the first day of April of each of
       the years eighteen hundred and ninety-five (1895) and eighteen
       hundred and ninety-si4 (1896), and that the Comptroller-General ~~;;tob~
       is empowered a11d required to cause- the taxes to be collected and paid.
       paid into the State treasury by the 20th of December of each of
       the years 1895 and 1896.
          SEC. XVIII. Be it further eiiacted by the authority aforesaid, Exemp-
       That blind persons, Con federate soldiers, and all other persons ,;o'de- t~'.~~ of
       formed by nature as to render them unfit for manual labor, relieved by ti{Jfe~;:
       the . proviso . in paragra1)h
                             .
                                     I, section 2, from. the r--
                                                             na)'ment of the tax and
                                                                                 persons
       <les1gnated rn that paragraph, shall be relieved also from the pay- deformed.
       ment of the taxes designated in paragraphs 6, 7, 8, and 11 of sec-
       tion 2, if carrying on and dependent upon the kinds of business
       designated therein; p1'ovided, that before any person shall be enti-
       tled to the benefit of any of the exemptions provided for in this
       section, he shall go before the ordinary of the county in which be
       proposes to carry on business, and make and file an affidavit setting
       torth the facts that he is entitled to such exemption, that he is pro-
       prietor of the business he proposes to conduct, and is conducting
       the same for himself, and i1ot for others.
          SEu. XIX. Be it further enacted by the authority aforeHaid, That Dav for
       immediately after the first day of March of each of the years 1895 making
       and 1896, the Governor, Comptroller-General, and State Treasurer i,'::~Ji~ed.
       shall fix a day between January the 1st and April the 1st of each
       of the years 1895 and 1896, as a day for making a return of taxes,
       mstead of April 1st, which day shall not be fixed until :March 1st
       of each of the years 1895 and 1896, as provided by Act appro\"ed
       December 20, J893.
          SEC. XX. Be it further enacted by the authority aforel:'aid, That
       all laws and parts of laws in conflict with this Act be, and the same
       are, hereby repealed.
          Approved December 18, 1894.




                                                                                KR1081
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                         EXHIBIT 39




                                                                    KR1082
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       34                            PART I.-TITLE              IL-TAxEs.
       -----------------------------------------
                                     For Support of State Government 188.1-84.




                                                   TlTLE               II.

                                                          TAXES.


                                                            ACTS.


                            FOR SUPPORT           OF STATE         GOVERNMENT            1883-84.

                            To extend time for returning wild lands and payment of taxes thereon for 1882.
                            Taxation of railroads by connties and municipal corporations on property not used
                                 in their ordinary business.
                            For taxing rollmg stock and personal property of railroads partly in this and
                                 partly in other States.
                            Amending of Act of, Septem bcr 28th, 1881, a, to record of wild land returns,
                                 notification to owner, etc.



                            FOR SUPPORT           OF STATE         GOVERNMENT            1883-84.

                                                            No. 18

                 An Act to levy and collect a tax for the support of the State
                  Government and the public institutions; to pay the interest and
                  maturing principal of the public debt and for educational and
                  other purposes herein mentioned for each of the fiscal years
                  eighteen hundred and eighty-three and eighteen hundred and
                  eighty-four.

       Tax for       SECTIOXI. Be it enacted by the Geneml As1:Jembly of the State of
       lS83-4.   Georgia,    That the Governor be authorized and empowered, with
       xo~to ex- the   assistance   of the Comptroller-General, to assess and levy a tax
       ~~~ oo/:e~ on  the  taxable   property of the State, which will not exceed two
       ~f;n~;~s   and   one-half   tenths   of one per cent. for each of the fiscal years
       cent.      eighteen hundred and eighty-three and eighteen hundred and
                  eighty-four.
       Specific      SEC. II. Be it further     enacted by the a11thority ajoresnid, That in
       taxes.     addition to the ad valorem tax on real and personal property, as
                  required by the Constitution, and provided for in the preceding
                  section, the following specific taxes shall be levied and collected
                  for each of said fiscal years of eighteen hundred and eighty-three
                  and eighteen hundred and eighty-four :



                                                                                                     KR1083
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                                PART !.-TITLE           II-TAXES.                              35
                                    For Supportof StateGovernment     1883-84.
                                --       ---------------------------
         First--Upon every practitioner of law, medicine, or dentistry, Praetition-
      ten dollars; and no municipal corportion or county authorities, :;';!a1!iJ:w.
     shall levy any additional tax on said professions, either as license, !inddent-
      fee or ot ·herw1se.
                      ·                                                                  1stry.
         Second-Upon every daguerrean, ambrotype, photographic and Daguedrre-
       • ·1ar artist,
      s1m1         . ten clo11ars.                                                       an an ar-
                                                                                         sfmilar
         Thir<l- Upon every person carrying on the business of an auction-               11sts
                                                                                             ·t·
      eer, twenty- five clo11ars for each county 111      . wh.1ch t h ey may carry on Aue
                                                                                         cers1011-
      such business.                                          . .                     . Keepersof
         Fourth-Upon         every keeper of a pool, b1lhard or bagatelle table, Boo!,bil-
      kept for public use (whether in a saloon, barroom, hotel or t!f~t:i~t
     other public place), twenty-five dollars for each table.                            tables.
         Fifth-Upon       every keeper of any other table, stand or place, or Ofanyi°th-
     any game or play, with or without a name (unless kept for !fanibo"i:
     exercise or amusement, not prohibited by law, and not kept for place for
     gain, directly or indirectly), fifty dollars in each county.                       games.
        Sixth-Upon         every keeper of a ten pin alley, or other alley ofTenpinand
     like character kept for public play, twenty-five dollars for each f:~t al-
     place of business.
        Seventh- Upon every traveling vendor of patent or proprietary Tvravdeling
           • •
     me cl1c1nes,  specia• 1 nos t rums, Jewe
                                            •     1ry, paper, soap or oth er ar t.1c1es ofenpatent
                                                                                               ors
     of like character, twenty-five dollars in each county where they :~dicines,
     may offer such articles for sale; provided, this shall not apply to •
     maimed Confederate soldiers, who are now, or may hereafter be
     licensed, by the ordinaries of the various counties to peddle without
     license, in conformity with section 534, Code of 1872.
        Eighth-Upon           every person or firm soliciting policies of Agentsof
     •
     insurance    or ot h erw1se• ac t·1ng as agen t of an insurance •         company, msurance
                                                                                         companies.
     ten dollars in each county in this State in which such firm, person
     or agent may solicit business, and upon every person or firm
    soliciting business, or acting as agent for any matrimonial, natal, or Ofm_atri-
    nuptial association or company, twenty-five dollars for each compa ~aw~~
    ny in each county in which such person, firm or agent may solicit nnJ_>ti!ll                   as-
    business.                                                                           soe,ationa.
        Ninth-Upon          each emigrant agent, employer or emeploye ofEmiiganta
    such agent doing business in this State,. the sum of five hundred M!l~                     ei!~
    dollars for each county in which such business is conducted.                        ployes.
        Tenth-Upon         traveling vendors using boats for the purpose ofTraveling
    selling goods on the rivers within the limits of this State, the sum ~~~~ors
    of fifty dollars in each county where they may sell their wares, and boats.
    said tax shall be a lien on the boat and its contents without regard
    to ownership thereof.
        Eleventh-Upon          all lightning rod dealers, the sum of twenty-five Lightning-
    dollars for each and every county in which they may operate.                        roddealers.
        Twelfth-Upon          every· person or firm who, as agent for resident !ge1nts for
    or non-resident owner, holds or keeps for hire or sale on com- o!~:~ g}
    mission any piano or pianos, or other musical instruments, the ~,~8!,~:1-
    sum of twer ty-five dollars for each county in which such person or                            •
    firm does l usiness.
        Thirteer.th-Upon         each and every male inhabitant in this State, Poll-tax.
    on the first day of April, between the ages of twenty-one and sixty


                                                                                              KR1084
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         36                      P,\RT    J.-TlTLE         IL-TAXES.
                                 For :,upport of State Government   1~81-S!.

                       years, a poll tax of one dollar for each of said yearR 1883 and 1884,
                       which tax shall be for educational purposeR.
         BhO'lys. and     Fourteenth-Upon       all shows and exhibitions (except such as
         :~~•-         histrionic, musical, dramatical, operatic and elocutionary), including
                       side-shows accompaying circus companies, twenty-five dollars in
                       each and every city or town of five thousand inhabitants;       twenty
                       dollars in city or town of four thousand and under. five thousand
                       inhabitants; and fifteen dollars in city or town with less than four
                       thousand inhabitants; said tax so collected shall be for educational
                       purposes.
         Circus           Fifteenth-Upon    every circus company, two hundred dollars each
         Companie.•. day it may exhibit       in the State of Georgia; said tax shall be for
                       educationai purposes.
         Liquor           Sixteenth-Upon     all dealers in spirituous or malt liquors and in-
        ·dealers.      toxicating bitters, whether dealing in either or all thereof, the sum
                      of twenty-five dollars for each place of business in each county
         Proviso.     where same are sold; provided, this tax shall not relieve such dealers
                      from any local tax or prohibitory law in reference to the retail of
                      spirituous and intoxicating liquors or intoxicating bitters, nor be
                      required of those who sell by wholesale spirits manufactured of
                      apples, peaches, grapes or other fruits grown on their own lands
                      when sold in quantities not less than five gallons; said tax shall
                      be for educational purposes.
         sewiu_g          Seventeenth-Upon       every person acting as the agent, other than
         ~i~t~!nd the general agent or manager of sewing machine companies, or of
         dealers,     wholesale dealers in sewing machines, or of the general agent or
                      manager of sewing machine companies, or any person selling for
                      a retail dealer, or any retail dealer who shall p-:1ddle sewing
                      machines, ten dollars in each county where said person may do
                      business as such agent of such sewing machine company, or as the
                      agent of any general agent or manager of sewing machine compa-
                      nies, or as the agent of any wholesale or retail dealer in sewing
                      machines, or such peddler for the purpose of selling single machines
                      to consumers, and not for the purpose of selling to other dealers ex-
        Proviso in elusively; provided, that this tax of ten dollars shall not apply to
        :~~ef         maimed Confederate soldiers, who are now or may hereafter be li-
        c0 uffderate censed by the ordinaries of the various counties to peddle without
        so ers.       license, in conformity with section 534, Code of 1873; provi<led,
                      further, that such maimed soldiers shall peddle said machines in
        Thiste.x to their own right, and not as agent or employes of another. This
        ~~~~e~r- tax upon such agents shall operate as a lien upon any property of
        t 1°\Prin-    the person or firm (for whom the agent is doing business) to be
         c pa·        found in the State; and before such agent or peddler, being a retail
        :;cord to dealer, shall be authorized to sell sewing machines as an agent of
        w:tthmt~~1-suchsewing machine company, or as the agent of a general agent
        nary.         or manager of sewing machine companies, or as the agent of such
                      wholesale or retail dealer in sewing machines as herein defined, he
                      shall make record of the fact of his being such an agent with the
                      ordinary of the county in which he or she proposes to do business,
        fJralty for and upon failure to do so shall be liable to indictment, and on con-
            ure.      viction shall be fined in a sum of not less than fifty dollars, nor

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                             PART 1.-TITLE        .IL-TAXES.                         37
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     more than one hundred dollars, at the discretion of the court trying
     same, and one-half of such fine shall go to any person who shall
     report the violation of this law.
        Ei_ghteenth-And       upon all dealers in pistols, revolvers, dirk or Dealersin
     Bowie knives, the sum of twenty-five dollars for each place ofweapons.
     business in each county where the same are sold, and said tax shall
     be for educational purposes. The tax provided by this paragraph
     shall be assessed against all dealers in the articles herein enum-
     erated, on and after the first day of April, 1883, and such dealer shall
     not be liable for said tax of twenty-five dollars prior to the first of
     April, 1883.
        SEc. III. Be it further enacted by the authority aforesaid, That the taxes Returns.
     provided for in paragraphs 1, 2 and 13, shall be returned to the tax ~~~~es m
     receiver in the county of the residence of the person liable for such pa.ragraphe.
     tax, and shall by the receiver of tax returns be entered upon his
     digest of taxable property; and that the taxes provided for in para· 01 counties
     graphs 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 15, 16, 17 and 18 of section ~vc~!fin:v-
     II of th is Act, shall be returned and paid to the tax collectors of are carried
     the counties where such vocations are carried on.                             on.
        SEc. IV. Be it further enacted by the authority a;foresaid, That the P           ts
     taxes provided for in paragraphs 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 15, 16, ofY:~in
     17 and 18, of section II of this Act, shall be paid in full for the taxes.
     fiscal years for which they are levied to the tax collector~ of the
     counties where such vocations are carried on at the time of coni-
     mencing to do business specified in said paragraphs.
        SEC. V. Be it fnrther enacted by the authority aforesaicl, That all for- Insura.nre
     eign and home insurance companies doing business in this State companes.
     shall pay one per cent. on all premiums in money or otherwise re-
     ceived by them, and in addition to the tax imposed by this Act on
     the gross receipts of such insurance companies; all such companies 1vhenbro-.
     doing a brokerage business in this State, such as discounting notes, b~~f~!ss,_is
     bills, drafts or exchange, lending money, or in any manner doing a done.
     business pertaining to banking or brokerage business, shall be
     taxed upon the capital so employed in the same manner and at the
     same rate as other moneyed capital in the hands of private indi- xar~ ro-
     viduals is taxed; and every individual or firm engaged in the 1ittre i~-
     business of selling or buying farm products for future delivery livery.
     (commonly called ''futures") shall pay a tax of two hundred dol-
     lars each per annum; provided, that this tax shall not be de- ProYiso.
     mantled of any cotton warehouseman, dealer in actual cotton, or
     any provision broker who takes orders in the regular course of
     their trade.
        SEc VI. Be i:tfurther enactecl by the authority aforesaid, That the Building
     president of all building and loan associations, or associations of~~cl~~n
     like character, shall be required to return to the tax receiver of the tions.
     county where such associations are located, at its true market value,
     the stock of such associations owned by the stockholders thereof,
     upon which, as shown by the books of suet. associations, no advance
     has been made on money borrowed thereon by the individual stock-
     holders therein, to be taxed as other money capital in the hands of
     private individuals is taxed; provided, that no tax shall be re- Proviso.


                                                                                   KR1086
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       38                       PART !.-TITLE             Il.-TAXE=-'.

                                 For Support of State GoYernment 188:l-81.

                     quired of real estatr- and building associations to be paid upon any
                     portion of its capital which has been loaned or advanced to a
                     shareholder upon real estate, upon which real estate tax is payable
                     by said shareholder.
       itetums to        SEC. VII. Be it .fnrther enacted by the anthority afore;;aid, That the
       ie ~~de ~•Ypresident of all manufacturing         and other incorporated eompanirs
       ofe;;,a;~.' (or thPir agents), other than railroad, insurance, tf'legraph, tele-
       ~i:-,cJu~fter phone, express, sleeping and palace car companies shall be re-
       c_orpora-      quired to return all of their property whatever of their respective
       tions.         companies, at it;.; true market value, to the tax receiver of the coun-
                      ty where same is located (or where the principal business of each
                     company is located), to be taxed for State and county purposes, as
                     other property in this State is taxed.
       Taxes and         SEc VIII. Be it further enacted by the authority aforesaid, That all
       returns for express, telegrap!l, telephone and sleeping and palace car companies
       ~~;;";j,1i,doing business in this State shall pay a tax of one per cent. on their
       ~!~tfi;c,      gross receipts, and the superintendent or general agent of each ex-
       and palace press, telegraph, telephone, sleeping and palace car company doing
       :~,i~~m-       business in this State shall make a quarterly return, under oath, as
                     follows: on the last day of March, June, September and December of
                     each year to the Comptroller-General, showing an account of their
                     gross receipts during the quarter ending on that day, and said taxes
                     herein levied upon such gross receipts, as shown by said quarterly
                      returns, shall be paid by the respective companies to the Comp-
                      troller-General at the time of making said return.
       se~ing ma-        SEc. IX Be it further enacted, That each sewing machine company,
       ~~~~:S c~:a home or foreign, selling or dealing in sewing machines, of home or
       wholesale     foreign manufacture, by itself or its agents, in this State, and all
       dealers.       wholesale dealers in sewing machines selling sewing machines of
                     home or foreign manufacture to other wholesale or retail dealers
                     shall pay the sum of two hundred dollars for each fiscal year or I rac-
                     tional part thereof to the Comptroller-General at the time of com-
                     mencement of business for each fo,cal year or fractional part thereof,
                     and all sewing machines belonging to such companies, dealers or their
                     agents, in possession of such companies, dealers, their agents or
                     others, shall be liable to seizure and sale for the payment of such tax.
       ~ot liable This tax shall be for the whole State, and such companies, their
       for  local
       taxes.        general agents and wholesalc dcalears, shall not be liable for an.v
                     county tax or license fees by the counties for selling sewing machines
       Tax: ir be therein.       In cases where wholesale dealers sell sewing machines
       ~~i ~om- manufactured by different companies, such dealers shall pay the tax
              0

       pany.         above provided fur separately for each company whose manufacture
                     of machines may be sold by such <lealers. Any person who, after
                     the first day of April, 1883, shall violate the provisions of this sec-
                     tion shall be liable to indictment, and on conviction shall be fined
                     in a sum of not more than two hundred and fifty dollars and not
                     less than fifty dollars, in the discretion of the court trying the same,
                     and one-half of such fine shall be paid to any person who may report
                     the violation of the provisions of this section.
                         SEC. X. Be it further enacted by the antho,·ity riforesaid, That each
                     iron safe company selling or dealing in new iron ;safeE,by itself or

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                           PART I.-TITLE         IL-TAXES.                     39
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     agent, and all dealers in iron safes selling or dealing in new iron Ironsaf~
     safes, and any individual or company making a regular business in ~~d'ct~~l:~s
     dealing in or selling second hand iron safes in this State, shall pay in iron
     to the Comptroller-General two hundred dollars at the time of com- safes.
     men cement of business for each fiscal year or fractional part thereof,
     .a,nd all safes belonging to such companies, dealers or their agents, in
      possession of such companies, dealers, their agents or others, shall be
     liable to seizure and 1:alefor payment of such tax.
         SEC. XI. Be it further enacted by the authority aforesaid, That no tax Ban~and
     shall be assessed upon the capital of banks or banking associations t~o~i~~
     -0rganized under the authority of this State, or of the United States, tions.
     .and located in this State, but the shares of the stockholders of such
     banks or banking associations, whether resident or non-resident
     owners, shall be taxed in the county where such banks or banking
      associations, whether resident or non-resident owners, shall be taxed
      in the county where such banks or banking associations are located,
      and not elsewhere, at the same rate provided in this Act for the tax-
     .ation of moneyed capital in the hands of private individuals; pro- Proviso.
     vided, that nothing in this section contained shall be construed to
      relieve such banks or banking associations from the tax on property
     -0wned by them as provided in section 7 of thisAct.
         SEC. XII. Be it further enacted by the authority aforesaid, That the Returns
      presidents of all railroad companies doing business in this State ~.!lil~
     :shall make return to the Comptroller-General as now urovided by on railr<?!!1
                            ·   f h                          .      ~    .      compam-.
      l aw fior t h e taxat10n o t e property or gross receipts or net income
     -0f railroads, and shall pay to the Comptroller-General the tax to
      which such property or gross receipts or net income may be subject,
     :according to the provisions of this Act and the laws now in force Penaltyfor
      relating to tax on railroads; and on failure to make returns or refusal failure10 d
      to pay tax, said companies shall be liable to all the penalties now ~~;r~;:n
      provided by law.
         SEC. XIII. Be it further enacted by the authority aforesaid, That the Returnsfor
      president or principal agents of all incorporated companies herein t~J's0 fo-be
      mentioned, exc6pt such as are required to make return to the tax giade/ 0 1
      Teceivers of the counties, shall make returns to the Comptroller-1e~n:fe~~r:
      General, under the rules and regulations provided by law for such !~c'iix:p!e
      returns, and subject to the same penalties and modes of procedure to be made
      for the enforcement of taxes from companies or persons required by ~~it"trs~e-
      law to make returns to the Comptroller-General.
         SEc. XIV. Be it further enacted by the authority aforesaid, That the oath ~obe
     ,oath to be administered to all persons making returns of their taxa-:!~fn': re-
      ble property shall be in the following words : " You do solemnly turns.
      swear that you will true answers make to all lawful questions which
      I may put to you touching the return you are about to make; and
      that you will make a true return of all your cash or moneyed capi-
      tal, and every other species of property at its true and full market
      value, on the first day of April, preceding, to the best of your know-
      ledge and belief, so help you God;" and it shall be the duty of the Dutr of
     ,officers receiving such returns to inquire of each and every person offi~ers.  to
      taking such oath, touching all his taxable property and the market ::i.;.     rn-
      value of same, and to propound such questions as may be published

                                                                              KR1088
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      40                        PART l.-TITLE          ll.-TAxEs.

      - ------ ToExtend-the Time
                       -    -
                                for ReturningWildLandsand Paymentof Taxesthereonfor 1882.
                              ------------------------
              by the Comptroller-General under the law for the purpose of elicit-
               ing full and true returns of the taxable property of this State.
     Powerof     SEc. XV. Be it further enacted by the authority aforesaid, That the
     fe~~~i~;~
             1Comptroller-General    is authorized and empowered to order the tax
     astotim_ereceivers of this State to commence receiving the returns of taxa-
     !~~9:;iable property immediately after the first day of April of the years
     payment. 1883 and 1884, and the Comptroller-General is empowered and re-
              quired to cause the taxes to be collected and paid into the State
              Treasury by the twentieth day of December of each of said years
               1883 and 1884.
                 SEc. XVI. Be it fiirther enactPd by the authority aforesaid, That all
              laws and parts of laws in conflict with this Act be, and the same
              are hereby repealed.
                 Approved December 9, 1882.



               TO EXTEND THE TIME FOR RETURNING                        WILD LANDS ANO
                       PAYMENT OF TAXES THEREON                        FOR 1882.

                                                   No 38.

               An Act to extend the time for returning wild lands for taxation
                in this State, and for the payment of taxes due on such lands for-
                the year 1882, and for other purposes herein mentioned.

     Act 01 Sep. WHEREAS,the General Assembly of the SLate of Georgia passed
     ;;;iiA1:i'
              ;~:an Act, approved Sepember 28, 1881, providing for the return of
     turnsmadewild lands to the receiver of tax returns and the tax thereon to
     ~~fd%""es    be paid to the tax collectors of the counties where such lands
     cohnties .1d are located; and whereas, the said law going into effect before the
     hn~~e11~'.   provisions of the same were generally known to the owners of such
                  lands, thereby causing a large number of such owners to be late
                  in making their returns of such lands to the proper receiver for
                  taxation, as required by the Act above mentioned; and whereas, in a
                  number of counties in this State delays have occurred in the
                 levying of the tax for county purposes, whereby owners or their
                  agents of such lands in such counties have been unable to ascertain
                  the amount of tax clue for the present year and to pay the same
                  to the tax collector in the time prescribed by la.w: therefore,
     Timeex•         SECTIOXI. Be it enacted by the General Assembly of Georgia, That
     ~f:r~~n!orthe time for returning wild lands in this State for the year 1882 be
     wildlands.extended until the first day of February, 1883, and the receivers of
     T~ re- the ;-;everal counties are hereby empowered and required to receive
            to sue h returns as ma v be ma d e of sue h 1an d s as provH• l ed b y sa1·ctA ct
     ce,ver,re-
     recei\·e
          1°r0 of Septe:nber 28, i881, and to enter same upon wild land digest
     tu_r.1s
     fu~1ss~~n<l  retained in their county showing returns of such lands for the year
     i~Pc~;;,';'f-e
                  1882, and when such returns as may be made under provision of this
     roller-<;en- Act are received by them, they shall forward a copv of same to the
     era!.       Comptroller-General so that he may enter the sam-e on the digest


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                         EXHIBIT 40




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       290           PART   Li                             LICENSEH.                           [TITLE   7;

                            § 491. Licrnse8 i11.rned     by pl'obute j11d11e:,·,mtents; l'ight8 limited;
                       feejiir iss11i11y.-Upon the payment of such amount to the probate
                        judge, he shall issue the license, which shall set forth the name of
                        the person, firm, company, or corporation, the business which it.
                        is proposed to carry on, and the location where it is to be estab-
                        lished; or, if a peddler, whether he proposes to travel on foot, on
                        horse, or in a wagon ; and such license shall not be transferable,
                        nor shall it entitle the holder thereof to carry on or exercise any
                        other business or profession than the one therein named, nor at
                        any other location than the one therein specified; and the probate
                        judge shall be paid for making out such license a fee of not more
                        than fifty cents by the person receiving the same. (1)
                                                        ura11te,l, aurl amount qf faxes rm:i i:ed thel'l!-
                             § 492. J,i,sf q/ li'.n·11ses
                       jin· furnished snlicifol' for ymnd Jury.-The             probate judge in each
                        county, on the first day of each circuit court, must furrush to the
                         acting solicitor, to be by him laid before the grand jury, a state-
                         ment in writing showing the licenses granted and the taxes
                         rnceived thereon within the last twelve months preceding such
                         court, to whom and for what such license was granted.
                             § 493. Q11orte'l'lylist, 11•itlimoney received, cel'fffied to midiful': jl('/'
                         1·e1d.allowed 11robate,i111h/l'.-ln the second week in March, aml
                         every three months thereafter, the judge of probate shall forward
                         to the auditor of the state a certified list of all licenses issued by
                         the probate judge, together with the money ·received by him on
                         such licenses, and shall receive the same per cent. for such ser-
                         vices as is allowed by law for receiving and paying out money
                         for the counties.
                             ~ 494. Lir-e11sPji1r   111w ycur: e.rpires De1·emlwr,'JJ : (l.jler ,Julyjirst
                         /m// pri1·e.~o/ li,·n,ses, u11d,ti,r ll'hot l'n/1,ired.-All      licenses shall
                         expire on the thirty-first day of December in each year, and
                         shall be for one year, unless the business licensed shall commence
                         after the first of July, in which case the price of the license shall
                         be one-half the amount of a year's license.                    The prices of
                         licenses shall be as follows, to-wit :
                             I. a For each public race track, at or within five miles of any city
        11, A• amended. or town containing less than five thousand               inhabitants one hun-
        Feb. 0, 1877, p. d d d 11
        16                  re    o ars; at or mt. h'm five mil es o f any city               '     . .
                                                                                 • or t own conta1mng
                          more than five thousand inhabitants, two hundred dollars.
                             2. For retailers of spirituous, vinous or malt liquors, on any
                          steamboat or water craft, one hundred dollars; in any city, town
                          or village of less than one thousand inhabitants, or any other
                         place, fifty dollars; and in any city, town or village of more than
                          one thousand, and less than five thousand inhabitants, one hun-
                          dred dollars ; in any city of over five thousand inhabitants, one
                         hundred and twenty-five dollars .
                             .AI1yperson who ~sells or rlisposes of spirituous, vinous or malt
                         liquoi·s, or intoxicating bitters, in any quantity less than one quart
                          shall be deemed a retail dealer ; but each retailer of spirituous,
                         vinous or malt liquor,;, out,;ide the following described boundaries
                          in the citv of Mobile, to-wit:
                             Hight l~ank of Mobile river on the east, Church street on the
                         ;;outh, ,Joachim street on the west, St. Michael street on the north,
                          including those settled on the north side of St. Michael street, on
                          the west side of Joachim, and on the south side of Church street,
                          sha,ll be charged a state license, of seventy-five dollars ; but dealers
                          in lager beer exclusively shall be charged one-fourth the rateR
                        (1 l lu absence of licensed priudpal,   derk may legall~· carry ou l,usiness uuder
                      the license, - 17 Ala. 1,51.


                                                                                                        KR1091
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        CHAP. 2.]                            LICENSES.                                           291
         charged for license for selling ardent spirits; and any person wno
         takes out and pays for, a retail license, shall not be re9auired to
         take out a license as a wholesale dealer ; and when a retail license
         is taken out after the first of January, the price of the license
         shall be the same as for a license for twelve months.
            3. For wholesale dealers in spirituous, vinous or malt liquors,
         in any place of less than one thousand inhabitants, thirty dollars ;
         in anv place of over one thousand .and under three thousand
         inhabltants, fifty dollars; in any city of over three thousand
         inhabitants, seventy-five dollars ; but wholesale dealers living out-
          side of the limits prescribed in preceding section in the city of
          Mobile, shall be charged fifty dollars.
             Any person dealing in said articles who shall sell, barter or
          exchange, or in any way dispose of or permit to be taken, spiritu-
          ous, vinous or malt liquors m any quantity less than one quart, or
          who shall permit the same to be drunk by the glass or single drink
          in or about his place of business, shall be deemed a retail dealer ;
          and any dealer so disposing of spirituous, vinous or malt liquors,
          only in quantity of one quart or more, shall be deemed a whole-
          sale dealer; but any person having taken out a license as a retail
          dealer, is authorized to sell at wholesale without additional
         license.
            4. For compounders and rectifiers of spirituous or vinous
         liquors, one hundred dollars. Any person who rectifies, purifies,
         or refines distilled spirits or wines, by any process, or who mixes
         distilled spirits or wines with any chemicals, or compounds liquors
         for sale under any name, shall be deemed a compounder and rec-
         tifier; but a wholesale dealer, who pays under the preceding para-
         graph an equal or larger license tax, shall be exempt from this
         tax.
            5. For distillers of spirituous liquors, fifty dollars ; but this
         shall not apply to the distilling of fruits.
            6. For brewers, fifteen dollars.
            7. For pawn brokers, fifty dollars.
            8. For peddlers in a wagon, forty dollars ; for peddlers on a
         horse, twenty dollars ; for peddlers on foot, ten dollars. A ped-
         dler's license shall entitle him to peddle only in the county where
         it is taken out; but this shall not apply to any articles produced
         or manufactured in this state, except as otherwise provided. And
         it is hereby made the duty of justices of the peace and notaries
        public in this state to demand of peddlers in their several pre-
         cincts their licenses ; and unless they exhibit the same, or show
        that they have a right under the law to peddle the articles canied
        by them without a license, such justices and notaries public must
        issue warrants for the arrest of such peddlers, returnable to any
        court in said county having criminal jurisdiction, which wanants
        may be executed by the sheriff or any constable of the county. (1)
        a But it shall be lawful for any citizen of this state having but one a March s, 1876,
        arm or one leg, or who labors· under any other physical disability p.101.
        of making a livelihood by labor, to peddle in any county in this
        >itateby taking out a license in any one county, the payment of
        such license tax to be evidenced by the receipt of any judge of
        probate. Before such person shall engage in peddling he shall
        obtain a certificate from two regularly practicing physicians, set-
        ting forth the character of the disability under which he labors,
        and that the same is sufficient to bring him within this provision ;
                           -   ---   ---   ----   ---                          .   ---
         (l) Making it misdemeanor to peddle without license constitntional.--Gl      Ala. 32.




                                                                                                  KR1092
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                                                        LICENSES.                            [TITLE   7,
                         and the certificate shall be a condition precedent to this exemp-
                        tion.*
                           10. For bowling alleys, for the use of which money or other
                         compensation is charged, twenty-five dollars for each alley.
                           11. For billiard tables, for the use of which money or any com-
                        pensation is charged, twenty-five dollars for each table; and this
                         amount for every billiard table on the premises where a bar or·
                        drinking saloon is kept, whether its use is charged for or not. (2)
                            12. For any table on which the game of pool is played, ·one.
                         hundred dollars.
                           13. For bagatelle or jenny lind tables, fifty dollars ; and the,
                         same amount for any other table or device of any kind from which
                         any kind of profit is derived to the keeper.
       b Amendment,         14. b For theatres in towns or cities containing more than two
       Jan. 22, 1817, thousand inhabitants,        $50 00; in towns or cities containing less
       p. 12.
                         than two thousand inhabitants, $25 00; but the owners or man-
                         agers of theatres holding such licenses must issue tickets of
                         admission to all persons whom they admit to their exhibitions,
                        and must thereon assign a particular seat to each such visitor in
                        such part of th~ theatre as the convenience of the owners or man-
                        agers ma;y requue.
                           15. For dealers in pistols, bowie:-knive and dirk-knives,
                        whether the rincipal stock in trade or not fift)'. dollars.
                           16. For peddlers of medicines or other articles of like char-
                        acter, twenty-five dollars for each county in which they peddle.
                           17. •For each sewing machine company, selling sewing machines
                        by themselves or their agents, one hundred dollars as a state tax.
                        The payment of this tax to the state, evidenced by the receipt of
                        any probate judge, shall exempt the company from payment of
                        this state tax in any other county; but each county in which the
                        company may have an agent, a license of twenty dollars shall be
                         paid for county purposes.
       c Amendment,        18. c For each.exhibition of a circus in towns or cities having
       Feb. 9, 1877, p.
       18.               more than five thousand inhabitants, one hundred dollars ; in all
                         other places, fifty dollars.
                           19. For each exhibition of a menagerie or museum, twenty
                        dollars.
                           20. For each exhibition of a side-show accompanying a circus,
                        menagerie or museum, ten dollars.
                           21. For each exhibition of feats of legerdemain or slight-of-
                        hand, or other exhibition, or entertainments, ten dollars.
                           22. For concerts, musical entertainments and public lectures,
                        where charges are made for admission and not given for charitable
                        purposes, each entertainment five dollars.
                           23. For each shooting gallery, twenty-five dollars.
                           24. For each chicken or cock pit, twenty-five dollars.
                           § 495. Fi/ht pa ce11f. may be culded by county ; co11w1i.ssiom;   1{
                        11rolinteJudy~.~The    courts of county commissioners are hereby
                        authorized to add to the price of licenses, for county purposes,
                        such sums as they may designate, not to exceed fifty per cent. on
                        the state licenses, except as herein otherwise provided, and the
                        judge of probate is allowed ~wo and a half per cent. £or the col-
                        lection and payment of the license money to the officer to whom
                        it i~ to be paid, to be deducted from his said collections.
                       s      496. Retailing ,m steamhoats ; licenses posted up, and f01feiled
                   ------------
                      • Subdi,.ision 9. reqniriug drummers, comme1·cial traveler.; or agents, who sell by
                   fiamples, t.o pa,v license tax, repealed December 14, 1876, p. 11.
                      (2) 49 Ala. 37.


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                         EXHIBIT 41




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        No. 3.]                   AN ACT.                [H.B.    940.
                  To fix the rate of taxation in this State.
          SECTION 1. Be it enacted by the General Assembly ef Wh         00 11
        Alabama, That on all propertj· liable to taxation in this ted~re     ec-
        State, there shall be assessf\d and collected a tax of five
        and one-half tenths of one per centum for the fiscal
        year ending September 30th, 1888, and five-tenths of
        one per centum for each year thereafter.
          Approved February 28th, 1887.


        No. 4.J                    AN ACT                 [H.B.   211.
        To amend sections 4 and 11, and sub-division 8 of
          section 2, sub-divisions 2, 5 and 6 of section 6, and
          sub-divisions 2, 3, 4, 5, 6, 9, 10, 17, 18, 20, 29, 31, 32,
          33 and 34 of s0ction 14, and to re~>eal sub-<1ivision 8
          of section 6, of an act eutitled "Au Act to hwy taxeH
          for the use of the State and the counties thereof,"
          approved December 12, 1884, and for other pur-
          poses.
          SECTIO.N 1. Be it enacte l by the G,neral Assembly qf
        Alabama, That sections 4 and 11, and sub-division 8 of
        section 2, and sub-divisions 2, 5 and 6 of section 6, and
        sub-divisions 2, 3, 4, 5, 6, 9, 10, 17, 18, 20, 29, 31, 32, 33  s~ctione
        and 34 of section 14 of an act to levy taxes for the use amei;ueil.
        of the State and the connties the1:eof, approved De-
        cember 12, 1884, be and they arP hereby amended so as
        to read as follows: That sub-division 8 of section 2
        be amended so as to read as follows : 8. The follow-
        ing property to be selected by the head of each family,
        viz: household and kitchen furniture, not to exceed in Property ex-
        value one hundred and fifty dollars; one yoke of oxen, empt.
        one cart or wagon, two cows and calves, tw,tnty head
        of stock hogs, ten head of sheep, all poultry, all agri-
        cultura_l products of the preceding year which are on
        band, m the hands of the producer on the first of
        January thereafter, provisions and supplies on hand
        for the current year for the use of the family and the
        making of the crop, all wearing apparel, all looms and




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                  spinning wheels, kept for use of the family, farming
                  tools to the value of twenty-five dollars, tools and im-
                  plements of mechanics to the value of twenty-five dol-
                 lars, one sewing m:ichine in each family when the
     Proviso.
                 taxable   property does not exceed two hu.ndred and
                 fifty Jollars; Provided, that no property or subject of
                 taxation shall be exempt from taxation, nor shall any
                 credit, abatement, or deduction be allowed therefrom,
                 unless such property or subject of taxation is entered
                 by the tax-payer upon bis assessment list and returned
                 by him under oath to the tax assessor.
                    SEC. 2. That section 4. be amended so as to read
                 as follows : All taxes, unless otherwise herein directed,
                 shall become due and payable on the first day of Oc-
     When taxes tober in each year and shall become delinquent if not
   are due.      paid on or before the thirty-first day of December in
                 each year, e~cept in cases where parties are about to
                 remove from the county, and except also poll taxes,
                 which shall become delinquent if not paid on or before
                 the first day of December in each year, after which
                 last date as to poll taxes, the tax cqllector may proceed
                 to enforce payment by garnishment, or the seizure and
                 sale of personal property, as herein provided for the
                 collection of other delinquent taxes.
                    SEC. 3. That sub-divisions 2, 5 and 6 of section 6, be
                 amended so as to read as follows :
                    2. On gross amount of premiums (after deducting
                 therefrom the expenditures, losses paid aild return
                 premiums) received from their business in this State
       Insurance during each tax year by any life, fire or marine insur-
   companies.    ance company not chartered by this State, and doing
                 business herein by agents or otherwise, at the rate of
                 one per cent., each agent in this State of any insurance
                 company organized under the laws of any other State
                 or country and doing business in this State, shall an-
     Agent must nually, in the month of January, return to the assessor
   me.kt. state- of the county in which such agency is located, a sworn
   men •J        statement of the gross receipts of· such agency_for the
                 year ending on the first day of the month, including all
                 notes, accounts and other things received or agreed
                 upon as a compensation for insurance at such agency,
                 with a statement of expenditures, losses paid and re-
                 turn premiums, and the company shall be charged
                 with taxes at the place of such agency on the amount




                                                                             KR1096
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       so returned, and the agent shall also be personally re-
       sponsible for such taxes, and may retain in-his hand a ·A~bent fre-
              ·
       su fficient  amount o f the company ,s as'lets to pay t h e spons1
                                                                   taxes.
                                                                           1e or

       same unless the same shall be paid by the company,
       but no corporation not incorporated under the laws of
       the State, nor any foreign society, firm or partners Lip Foreign com-
       shall do business in this State except through an agent rauies must
       duly authorized, and accrdited for the purposes of have an agent.
       said business and for all purposes connected with li-
       censes and taxation and service of process, said agent
       to be appointed by authentic act, and a certified copy
       of the act to be deposited in the office of the Auditor
       of this State. Any person or firm who shall fill up or             Who are
       sign a policy or certificate of insurance, on open ma- agents.
       rine or fire insurance policy, or otherwise issue by a
       corporation or association, or persons not located or
       represented in this State by a legally authorized agent,
        shall be considered an agent of such corporation, or
        association, and shall be liable for all licenses, taxes
        and penalties enforced by the provisions of this act,
        upon such person, corporation and association, as if
        1·epresented by a legally appointed agent; any agent or Pen:ilty.
        company refusing or failing to make returns within
        the time prescribed by law or refusing to pay the
        amount assessed as tax shall forever be debarred from
        doing business in this State.
           5. On the gross receipts during such tax year of all
        cotton pickeries, cotton seed oil mills, and from the
        storage of cotton or merchandise or produce, and on Oil and gas
        the gross amount of income, of all gas works, electric works.
        light companies, water works, ferries, toll bridged,
        public mills and gins used in ginning for tolls, cotton
        compresses, after deducting the expense of carrying on
        such business at the rate of one per cent.
           6. On the gross amount of the receipts by any and              Telegraph
        every telegraph, telephone, and express company, de- and e_xpress
        rived from the business done by it in this State, at the compames.
        rate of two dollars on the hundred dollars.
           SEc. 4. That section 11 be amended so as to read as
        follows : Section 11. On the last secular day in March i~teg!i{ef~~
         and every three months thereafter, the judge of probate turn to audi-
         shall forward to the auditor of the State a certified list tor.
         of all licenses issued by him, and at the same time pay
         to the State treasurer the money received by him for
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                       such licenses belonging to the State, ancl to tlie county
                       treasurer tLe portion belonging to the county, and shall
                       receive two and a half per cent. for the collection and
                       payment of the license money to the officer, State or
                       county, to whom it is to be paid, to he deducted from
                       his said collection. If any probate judge fails to com-
                       ply with the provisions of this section within ten days
         Penalty on after the date at which he is required to make a report
     probate    jurl"- o f 1·
     es ror ra,1ur;,                  •
                            icenses issue   d an d money• receive • db y b"11n, t 11e an d -
                       itor shall forthwith report the facts to the Governor,
                       who shall cite said jndge to show why he has not made
                       returns of such certified lists of licenses as required by
                       law, and if such judge fails to show sufficient cause
                       for such failure, the Governor shall direct the attorney
                       general to institute impeachment proceedings against
                       such delinquent probate judge before the Supreme
                       Court of the State.
                          SEC. 5. That su odi visions 2, 3, 4, 5, 6, 9, 10, 17, 18,
                       29, 31, 32 and 34 of section 14 be amended so as to
                       read as follows : Section 14, subdivision-
      andsteamboa.t
            ra1lrua<1     2• F1 or th e re t a1·1 o f sp1ntuon-1,
                                                        ••          •
                                                                   v1nou-1 or ma lt 1·iq-
      license.         uors on any steamboat or watei' craft or on any sleep-
                       ing, dining or buffet car, two hundred arnl fifty dollars,
                       for the collection of which the State shall have a pre-
                       ferred lien on all such steamboats or other water crafts
                       and 0ars named for the amount requirecl by law to be
                       p,tid for such licenses to retail vinous, spirituous or,malt
                       liquors on such steamboat or water craft and cars, to
     H ow en force d • b
                         e en f orce d w h erever sue h 1·1quors are reta1·1ed b y any
                       person on any such boat or water craft or cars, with
                       the knowledge or consent of the captain or conductor
                       without having first procured a license, as provided by
                       law, and the tax collector of any county, where such
                       vessels may ply or cars run, is required to enforce this
                       lien, in the same manner, and by the same proceedings
                       as are authorized for the collection of taxes on steam-
                       boats and on railroad cars.
                          3. For retailers of spirituous, vinous, or malt liq-
                       uors, except as hereinafter provided in any city, town,
     Retail .          village, or any other place of less than one thousand
             license. inhabita.nts, one hundred and twenty-five dollars, and
                       in any city, town or village of more than one thousand
                       inhabitants and less than three thousand inhabitants,
                       one hundred and seventy-five dollars, and any city con-




                                                                                               KR1098
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                                                35                                       1886----87.
               taining three thou.sand inhabitants or more, and less
               than ten thousand inhabitants, two hundred and fifty
               dollars, in any city of more than ten thousand inhabit- Lager beer,
               ants, three hundred clolla;rs. P1·ovided, further, that
               dealers in lager beer exclusively, shall be charged one-
               fourth of the rates charged for retailers of spirituous,
                vinous or malt liquors, as graded above, and any per-
               son who takes out and pays for a retail license shall
                not be required to take out a license as a wholesale
                dealer, and when a retail license is taken out after the
                first day of January and before the first clay of July,
                the price of the license shall be the same as for a
                license for twelve months.
                    4. For wholesale dealers in spirituous, vinous or
                malt liquors in any place, two hundred dollars. Anv
                               • 1n
                person d ea 11ng    • sa1'd ar t'IC1es, wl10 s h a 11 se 11, b ar t er• dealers.
                                                                                            Wholesale
                or exchange, or in any way dispose of, or permit to be
                taken, spirituous, vinous or malt liquors in any quan-
                tity less than one quart, or who shall permit the same
                to be drunk by the glass, or single drink, in or about
                 his place of business, shall be deemed a retail dealer,
                and any dealer so disposing of spirituous, vinous or
                 malt liquors, only in the quantity of one quart or more,
                 shall be deemed a wholesale dealer, but any person .
                 having taken out a license as a retail dealer, is author-
                 ized to sell at wholesale without additional license.
                    5. For com pounders and rectifiers of spirituous, Rectifiers.
                 or vinous liquors, two hundred dollars; any person                           .
                 who rectifies, purifies or refines distilled spirits or
                 wines by any process, or who mixes distilled spirits or
                 wines with any chemicals, or compounds liquors for
                 sale under any name, shall be deemed a compounder
                 and rectifier.
                     6. For distillers of spirituous liquors, two hundred
                 dollars; but this shall not apply to the distilling of Distillers.
                 fruits.
                     9. For peddlers in a wagon drawn by one horse or
                  other animal, forty dollars; if drawn by two horses or
                  other animals, fifty-five dollars; for peddlers on a horse Peddlers.
                  or other animal, twenty-five dollars; for peddlers on
                  foot, fifteen dollars; for peddlers accompanied by sing-
                  ers or performers on any musical instrument, one hun-
                 dred dollars ; provided, that peddlers of tin ware only,
                  who shall pay all lawful fees and one-third of the




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               license fees herein provided, shall be entitled to such
               license; Provided further, that peddlers of wooden and
               stone or clay hollow-ware only, shall not be required
               to procure a license. A peddler's license shall entitle
               him to peddle only in the cou.nty where it is taken out;.
               and it is hereby made the duty of county court judges,
              justices of the peace, notaries public, maJ ors, record-
               ers and intendants of cities or towns, sheriffs, deputy
               sheriffs, constables, city or town marshals, policemen,.
               and all other officers authorized by law to make ar-
              rests, to demand of peddlers, itinerant dealers and
              travelling agen•s their licenses, and unless they exhibit
              same, or show that they have the right to peddle the
              goods carried by them, or to carry on the business they
              are engaged in, without a license, such county court,
              judges, justices, notaries, with powers of a justice,
               mayors, recorders, intendants, must issue warrants for
               the arrest of such peddlers, itinerant dealers or travel-
               ling agents, returnable to any court in the county hav-
               ing criminal jurisdiction, which warrants may be exe-
               cuted by the sheriff, deputy sheriff, any constable of
               the county, any city or town marshal, policeman or
               any other officer having authority to make arrests; but.
               it shall be lawful for any person having but one arm.
               or but one leg, or who labors under any other physical
               disability, of making a livelihood by labor, to peddle·
               in any county in the State free of license on the filing '
               of the certificates of two regularly licensed physicians~
               in the office of probate of the county of his permanent
               residence, to the effect that such cripple is permanently
               disabled, and that he cannot by labor make a liveli-
               hood for himself and family. This shall not be so con-
               strued as to require a license on peddlers of fish, oys-
               ters, game, fresh meats, poultry, fruit and all farm pro-
               ducts raised by the seller.
                   10. Upon transient or itinerant auctioneers or deal-
       .        ers in goods, wares or merchandise, other than licensed
  Auctioneers. peddlers and traveling agents of wholesale dealers in
                said articles, making sale thereof by sample, fifty dol-
         .      lars; itinerant dealers in fruit trees, vines, shrubs or·
    Frmt tree plants of any kind, fifty dollars.
iealers.           17. For dea• l ers m
                                      • p1sto
                                           • 1s or p1sto
                                                      • 1 cartri 'd ges, or
Pistole, &e. bowie knives, or dirk knives, whether principal stock
                in trade or not, three hundred dollars.




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                 18. For peddlers of medicines or other articles of
              like character, spectacles or eye-glasses, one hundred
              -dollars for each county in which they peddle. For Medicines.
              peddlers of medicines, with vocal or instrumental
              music, or both, two hundred and fifty dollars for each
              county in which they peddle.
                 20. For each sewing machine, stove, range or clock
              company selling sewing machines, stoves, ranges or               .
               clocks, either themselves or by their agents, or through chi~::1n.l\~!;
              consignees, and all persons who engage in the business and cl~cks.
              of selling sewing machines, stoves, ranges or clocks,
              shall pay to the State twenty-five dollars for each
              county in which they may so sell, but when merchants
              engaged in a general business keep sewing machines,
              stoves, ranges or clocks as a part of their stock in
              trade, they shall not be required to pay the tax herein
              provided, in the county in which they are engaged in
              such gene1·al business.
                 29. For each company of traders, or fortune tell- Fortune tell-
              ers, usually known as gypsies, ten dollars for each ers •
              .county.
                 31. For fortune tellers, twenty-five dollars.
                  32. The owner or master of any steamboat or other
              water craft plying in any rivers of the State, who en-
              gage in the business of buying, selling or bartering any
              goods, wares, merchandise·, produce or commodity Steamboats.
              whatever on or from said boat, must pay a license of
              two hundred and fifty dollars, and the party so licensed
              shall thereby be entitled to carry on such business on
              the boat therein named, in any county in which said
              boat is navigated, provided cities and towns in which
              such rierson engages in such business, may impose
              such license as is exacted of like business in said city
              or town. The owner, conductor, or person in charge
              of every supply car, or car from which any goods, Selling goods
              wares or merchandise are sold, whether to the servants on cars.
              of the railroad company or others, must pay a license
              of one hundred dollars, and the person so licensed
              shall thereby be entitled to carry on such business in
              the car therein named in any county in which said car
              is run or drawn, but each of said counties may charge
              .a license therefor of ten dollars.
                  33. For travelling agents of wholesale dealers in
              goods, wares and merchandise a tax of ten dollars, to




                                                                              KR1101
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                   be taken out in only one county, and should any such
                   agent fail to take out such license all contracts made
      Drummers. by him shall be void, and in any proceedings to enforce
                    any such contract, the burden of proof shall be upon
                    the party selling such goods, wares and merchandise,
                    to show that such license has been taken out at the
                    time such contract was made.
          .             34. Each dealer in playing cards, five dollars. Any
     Playmg card s· person who engages in the business of buying or sell-
        Dealing in ing futures for speculation or on commission, shall
     futures.       pay a license tax of three hundred dollars, provided
                    this shall .not be held to legalize any contract which
                    would otherwise be invalid.
                        SEC. 15. Be it fitrther enacted, That sub-division
                    eight of section six is hereby repealed.
                        SEC. Hi. Be it further enacted, That the one-fourth
                     of one per cent. levied and assessed in the county of
        Lee county. Lee for the tax year beginning January 1st, 1886, to
                     reimburse the State for the investment of certain
                     revenues in the compromise and settlement of the
                     railroad bonded indebtedness of said county, shall be
                     collected by the tax commissioner of said county as
                     he collects the State and county tax, and shall be paid
                     into the State Treasury, and the postponement of said
                     tax of one-fourth of one per cent. shall not be con-
                     strued to be for any other year than the tax years 1887
                     and 1888.
                        Approved December 11, 1886.


                 No. 5.7                AN ACT                   [H.B.   245.
                 To make appropriations for the ordinary expenses of
                   the Executive, Legislative and Judicial Departments
                   of the State, for interest on the public debt, and £or
                   public schools.
                   SECTION1. Be it enacted by the General Assembly qf
                 Alaballla, That the following sums of money, or so
                 much of each sum as may be necessary, be and they
                 are hereby appropriated for the purposes hereinafter
                 specified, to be paid out of any moneys in the Treasury
                 not otherwise appropriated, for the fiscal years end-




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                         EXHIBIT 42




                                                                    KR1103
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          CHAP.     110.]                    TAXATION.                         [ART. 15.     1185

                                         ARTICLE 15.
          LICENSE    TAXES ; FROM   WHOM     AND FOR     WHAT    BUSINESSES   REQUIRED   ;
                                    PRICES   ; COUNTY    LEVY.

            4122 (629). Persons required to take out licenses, and prices
          to be paid therefor.-Licenses are required of all persons engaging
          in, or carrying on any business, or doing any act in this section
         specified, for which shall be paid, for the use of the state, the fol-
         lowing taxes, to wit:
             1. For each public race-track, at or within five miles of any city
         ·or town containing less than five thousand inhabitants, one hundred
         dollars; at or within five miles of any city or town containing
          more than five thousand inhabitants, two hundred dollars.
             2. For the retail of spirituous, vinous, or malt liquors, on any
          steamboat or other water-craft, or on any sleeping, dining, or buf-
          fet car, two hundred and fifty dollars, for which the state shall have
          a preferred lien on such steamboat or other water-craft, and cars
          named; and such lien may be enforced whenever any such liquors are
          retailed by any person on such steamboat or other water-craft, or
          cars, with the knowledge or consent of the captain, or conductor,
          without having first procured a license therefor, as provided by law;
          and the tax-collector of any county in which such steamboat or other
          water-craft     may ply, or cars run, is required to enforce such
          lien in the same manner, and by the same proceedings, as are au-
          thorized for the collection of taxes on steamboats and on railroad-
          cars.
              3. For retailers of spirituous, vinous or malt liquors except as here- 1~~~6.18•
          inafter provided, in any city, town, village, or any other place of less P- 1192,\\ 48•
          than one thousand inhabitants, one hundred and fifty dollars; in any
          city, town, or village of more than one thousand inhabitants and less
           than three thousand inhabitants, two hundred dollars; in any city
          containing three thousand inhabitants or more, and less than ten
          thousand inhabitants, two hundred and seventy-five dollars; and in
          any city of more than ten thousand inhabitants, three hundred and
           twenty-five dollars.    But 'dealers in lager-beer exclusively shall be
          charged one-fourth of the above rates. Any person who pays for and
           takes out a license as a retailer, shall not be required to pay for and
           take out a license as a wholesale dealer in such liquors; and when a
           retail license is taken out after the first day of January, and before
           the first day of July, the price of the license shall be the same as for
           a license for twelve months.       Any person who sells or disposes of
           spirituous, vinous, or malt liquors, or intoxicating bitters, in any
           quantity less than a quart, shall be deemed a retail dealer; Provided,
           nothing in this paragraph shall be so construed as to alter, repeal or
           modify any license now authorized and required to be paid to any
           district, city or municipality for municipal purposes.
             Allred v. State, 89 Ala. 112; State v. Fleming, 112 Ala. 179.
            4. For wholesale dealers in spirituous, vinous, or malt liquors in
          any place, two hundred dollars.     Any person dealing in said arti-


                                                                                             KR1104
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      1136      CH.AP.     110.] •                    TAXATION.                     [ART. 15.

                 cles, who shall sell, barter, or exchange, or in any way dispose of, or
                 permit to be taken, spirituous, vinous, or malt liquors, in any quan-
                 tity less than one quart, or who shall permit the same to be drunk by
                 the glass, or single drink, in or about his place of business, shall be
                 deemed a retail dealer; and any dealer so disposing of spirituous,
                 vinous, or malt liquors, only in the quantity of one quart or more,
                 shall be deemed a wholesale dealer; but any person having taken
                 out a license as retail dealer is authorized to sell at wholesale with-
                 out additional license.
                    5. For compounders and rectifiers of lilpirituous or vinous liquors,
                 two hundred dollars. Any person who rectifies, purifies or refines
                 distilled spirits or wines, by any process, or who mixes distilled spir-
                 its or wines with any chemicals, or compounds liquors for sale under
                  any name, shall be deemed a compounder and rectifier.
      ~ii2;~. 71. 6. For distillers of spirituous liquors, twenty-five dollars; but this
                  shall not apply to the distilling of fruits.
                       Grant v. State, 73 Ala. 13; Johnson v. State, 44 Ala. 414.
      ~i~
        5.1s,       7. For brewers, one hundred dollars. Every agency of a brewery
      p.1192,~45. of another state doing business in this state, shall pay the same
                license.
                   8. For bowling-alleys, for the use of which money or other com-
                pensation is charged, twenty-five dollars for each alley; and for each
                bowling-alley kept in connection with a drinking-saloon, whether
                compensation is charged or not, twenty-five dollars.
                   9. For each billiard-table, for the use of which money or other
                compensation is charged, and which is not kept in connection with
                the business of a barroom or drinking-saloon, twenty-five dollars.
                    10. For each billiard-table kept in connection with the business of
                a barroom or drinking-saloon, whether its use be charged for or not,
                fifty dollars.
                   11. For each table upon which the game of pin-pool is played, one
                hundred dollars.
                   12. For each table upon which a game of pool is played with
                fifteen balls, more or less, and not pin-pool, for the use of which
                money or other thing of value is charged, or when kept in connection
                with a barroom or drinking-saloon, whether its use be charged for or
                not, fifty dollars.
                   13. For each bagatelle or Jenny-Lind table, or any other table or
                device of any kind from which any kind of profit is derived by the
                keeper, fifty dollars.
                   14. For each table or device, or set of domino-bones, kept in con-
                nection with a barroom or drinking-saloon for use in playing the
                game commonly known as dominoes, twenty-five dollars; and for
                each dice-box and dice kept in a barroom or drinking-saloon, twenty-
                five dollars.
                   15. For each theatre in towns or cities containing more than eight
                thousand inhabitants, one hundred dollars; but this price shall not
                be charged for licenses for open-air or summer theatres, such as at
                Mobile on the bay-shore, and known as Frascati, but for each


                                                                                                KR1105
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         CHAP.    110.J                   TAXATION.                         [ART. 15.           1137
         such open-air or· summer theatre, twenty-five dollars; in towns or
         cities containing less than eight thousand and more than two thou-
         sand inhabitants, fifty dollars; and in towns or cities containing
         less than two thousand inhabitants, twenty-five dollars; but the
         owner or manager of any theatre holding any such license must issue
         tickets of admission to all persons whom they admit to their exhibi-
         tions, and must thereon assign a particular seat to each_such person,
         in such part of the theatre as the convenience of such owner or manager
         may require. This license shall only extend to dramatic and oper-
         atic exhibitions; and if any doubt arises as to the character of an
         entertainment proposed to'be exhibited in any theatre, the judge of
         probate of the county in which the theatre is situated shall determine
         whether or not it is covered by the theatrical license.
            16. For each public hall let for hire, twenty-five dollars.
            17. For· each concert, musical entertainment,      public lecture, or
         other public exhibition or enter_tainment, where charges are made
         for admission, or for the use of any instrument or device, or the
         participation in any exercise or entertainment, not given for charita-
         ble, school, or religious purposes, and not ot,herwise provided for,
         five dollars; but the provisions of this subdivision shall not apply to
         exhibitions or entertainments given in theatres, where the owner or
         manager thereof has taken out license as owner or manager.
           Mosby v. State, 98 Ala. 50.
            18. For each day's exhibition of a circus in towns or cities having
         more than five thousand inhabitants, or within two miles thereof,
         one hundred and fifty dollars; in all other places, one hundred dol-
         lars.
             19. For eacli exhibition of a menagerie or museum, twenty dollars.
            20. For each exhibition of a side-show acc.ompanying a circus,
         menagerie, or museum, ten dollars.
           '21. For each exhibition of feats of legerdemain or sleight of hand,
         or other exhibition or entertainment of like kind, ten dollars.
            22. For each fortune-teller, twenty-five dollars.
            23. For each company of traders or fortune-tellers, usually known
         as gypsies, ten dollars for each county.
            24. For each sho9ting-gallery, twenty-five dollars.
            25. For each skating-rink, twenty-five dollars.
            26. For dealers in playing-cards, five dollars.
            27. For dealers in pistols, or pistol cartridges, or bowie-knives, or Dec.  rn,
                                                                                   18()2, p.183.
         dirk-knives, whether principal stock in trade or not, three hundred
         dollars. Any cartridges, whether called rifle or pistol cartrid,15es, or
         by any other name, that can be used in a pistol, shall be deemed pistol •
         cartridges within the meaning of this subdivision. Any person or firm
         who orders for another, or delivers any cartridges within this state,
         shall be deemed a dealer under this provision.*
           Porter v. State, 58 Ala. 66.
           28. For dealers in cigarettes, whether principal stock in trade or ~i~/8 •
                                                                                        p. 110-2,
           *As amended by reve~ue committee.                                            \\14•
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                         EXHIBIT 43




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       164                               REVENUE   LAW           [Gen. Laws,



                                    REVENUE LAWS.


                  No. 903)                AN ACT                  (H. 935

                  To amend the Revenue Laws of the State of Ala-
                                  • bama.

                        Section 1. Be it enacted by the General Assembly
                    of Alabama, That section 3911 of the Code be
                    amended so as to make sub-division four of said
      Goods, wares section read as follows: 4. "All stocks of goods,
        or merchan- wares and merchandise, the assessment to be on
        dise        the average amount on hand during the preceding
                    year, but the amount so assessed shall in no case
                    be less than the capital actually employed in the
                    business of the originally invojced price of said
                    goods, wares and merchandise, to be taken and fur-
                    nished to the tax assessor as hereinafter provided,
                    and this shall include all goods, wares and merchan-
                    dise kept on plantations or elsewhere, or by railroad
                    companies or manufacturing         companies, or other
                    associations, corporations or persons, for sale aor
                    to be dealt 01Utto laborers or employees for profit,
                    or on account oif their wages; and shall include all
                    goods, wares and merchandise offered for sale by
                    any person commencing business subsequently to
                    the first day of October of the current year, but in
                    such case the tax shall be apportioned according to
                    the date at which the business shall be commenced,
                    so that if commenced after the first day of January,
                    the tax shall be three-fourths of the tax for the
                    whole year; if commenced after the first day of
                    April, the tax shall be one-half of the tax for the
                    whole year: Provided, that the assessment herein
                    pro,ided for shall not include the products raised
                    on the farms, in the hands of the original pro-
                    ducer.
      Gross incomes     Sec. 2. Be it further enacted, That section 3912
                    of the Code be amended so as to make sub-division
                    three of said sl:'ction read as follows: 3. On the
                    ~ross incomes of all toll-bridges and ferries, and
                    n lso n 11canals, ditches, channels, passes, tram-roads




                                                                               KR1108
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               and poll-roads, used for transporting       timber or
               other ,aluable commodities of commerce, at the
               n{te that property is taxed.                   f
                  Sec. 3. Be it further enacted, That sec~10n 3915 Sieeping car
               of the Code be amended so as to r~ad        asj ~ollow~: companies
               That eaoh sleeping car company domg busmess m
               this State, for one or more passengers, other than
               interstate, taken up at one point in this State, and
               delivered at another point in this State, and trans-
               ported wholly within this State, sha.ll J)ay in ad-
               vance on the first day of January of each year, to
               the State treasurer, a privilege tax of twelve hun-
               dred and fifty dolla.rs, and no sleeping car company
               which has paid the privilege tax hereby required
               shall be liable to pay any o:tber privilege tax in this
               State. but its real estate, fixtures and other local
               property, shall be subject to taxation as other prop-
               erty in this State.
                  Sec. 4. Be it further enacted, That section 3916 Building an~
               of the Code be amended so as to read ,as follows:         loan associ-
                                              .  .          .   d   d
               Each building and loan assocrnt10n orgamze un er at1ons
               the laws of this State or any other State or county,
               doing business in this State, shall pay in advance,
               on the first day of each year, to the State treasurer,
               a privilege tax of one dollar for each one thousand
               dollars of the first one hundred thousand dollars
               paid in on its capital stock, and fifty cents for each
               one thousan_d dollars paid in on its ca.pita! stock
               over one hundred thousand dollars, but shall not
               be required to pay taxes upon its mortgages or real
               est.ate. And every such association, foreign or do-
               mestic, shall also be assessed for taxation, and
               shall pay taxc~s upon its office furniture and real
               estate in this State.
                  Sec. 5. Be it further enacted, That section 3985 County taxes
               of the Code be amended so as to read as follows.
               It shall be the duty of the Court of County Commis-
               sioners at the term commencing on the first day of
               the June term to levy the amount of taxes required
               for the expenses of the countv for the current vear
               not to exceed one-half of one "per cent. on the ;alu~
               of the taxable property, and the amount of other
                subjects of taxation in the county, as assessed for
               revenue to the State. as shown by the book of as-
                sessments after it has been corrected.




                                                                               KR1109
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     lGG                              REVENUE   LAW.           [Gen. Laws,

     Duty of          Sec. 6. Be it further enacted, That section 4030
           collector of the Code be amended so· as to read as follows;
                  It is the duty of the collector, when engaged in the
                   collection of taxes, for any year, if he discovers that
                   any person or property within his county has not
                   been assessed by the assessor with the tax or taxes
                   lawfully chargeable to such person or property for
                  that year, or any preceding year, not more than five
                  years before that time, forthwith to assess and col-
                  lect the taxes due on the same, and in writing notify
                   the assess6r of the fact· so disc orvered in order that
                                                       1


                  pro-per assessment of unassessed taxes may be
                  made; and the collector has the same authority to
                  administer oaths and propound questions as the as-
                  sessor has, and any party failing or refusing to
                  answer such questions or to give in his property
                  shall be liable to the same penalties as provided in
                  cases where parties fail or refuse to give in their
                  property to the assessor, or answer the questions
                  required to be propounded by the assessor: Pro-
                  vided, that in such assessments of escaped taxes·
                  the taxpayer on giving notice to the ta.x collector,
                  shall have the right to have his assessment passed
                  on by the Court of County Commissioners, and such
                  assessment modified, allowed or rejected, as the
                  evidence adduced to said Court shall require.
     Redemption      Sec. 7. Be it further enacted, That section 4097
         of lands of the Code be amended so as to read as follows:
                  ,vhen lands which have been bid in by the State
                  are redeemed, the judge of probate must, during the
                  month in which such redemption is made, remit the
                  State treasurer, at the expense of the State, tuC>
                  proportion of the eedemption money belonging to
                  the State, and pay into the county treasury the
                  proportion of such. money belonging to the county
                  and to the proper authorities           the proportion
                  belonging      to    the    school    fund,    if   any;
                  and upon all such money so paid over during
                  the month of collection,           he is entitled     to
                  oommissions at the rate of two and one-half per
                  cent., which he may deduct therefrom; but he .;hall
                  not be allowed any commissions on any money not
                  so paid over; and on the last business da'" in
                  March, and every three months thereaft0r,•· the
                  judge of probate shall certify to the auditor and




                                                                             KR1110
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               to the county treasurer, upon blanks to be ~ur-
               nished by the auditor, a full and correct statenu·nt
               of all real estate bid in by the State and redeemed,
               showiu" separately the amount of State, county
               and school taxes, and penalties and costs, received
               by him on such redemption.
                    Sec. 8. Be it further enacted, That section 413~ License
               of the Code be amended, so as to read as follows.            money
               "During the month in which any license money is
               1·eceived by the judge of probate, he must remit
               to the State treasurer, at the expense of the State,
               all money received by him for licenses belonging
               to the State, and pay to the county treasurer all
               money received by him fo:r licenses belonging fr>
               the county; and upon all such money so remitted
                or paid during the week of collection, he is tnti-
               tled to two and one-half per cent., which he ma_y
                deduct therefrom; but he shall not be allowed an_y
                <:ommissiou on any money not so remitted or paid;
                and on the last business day in March, and ~verJ
                tln·ee months thereafter, the judge of probate shall
                forward to the auditor a certified list of all liceni'lCS
                issued by him, stating therein for what businesB
                issued, the amount collected for each license, from
                whom collected, and the date thereof. If any judge Impeachment
                of probate fails to comply with the provisions of
                this section, within ten days after the date at
                which he is required to make a report of licenses
                issued and money received by him, the auditor
                i,,hall forthwith report the facts to the go,ernor,
                who shall cite such judge to show why he has not
                ma.de returns of such certified list of licenses, as
                required by law; and if such judge fails to show
                sufficient cause for such failure, the governor shall
                direct the attorney general to institute impeach-
                ment proceedings against him before the Supr<\me
                 Court.
                    Sec. 9. Be it further enacted, That every person Commissions
                holding an office under the authority of this State, issued to_of-
                 shall be required to take out a commission for the 0fifers; pnces
                 same, to be issued by the secretary of State,
                 and the following fees shall b~ paid to said secr-e-
                 tary of state fo,r the commissions so issued by him,
                 to be paid by the secretary of state into the Stai:e
                 ti-ea.sury, to-wit: Commissioners of deeds in other-




                                                                             KR1111
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       168                              REVE:-!UE   LAW,         [Gen. Law8,

                      States, five dollars; members of the General A.s-
                     sembly, county superintendents      of education, jus-
                     tices of the peace, constables, notaries public avd
                      county tax commissioners, one dollar.        And the
                      judges o.f the several Courts, the chancellors, the
                     attorney general, the solicitors, the secretary of
                     state, the auditor, the State treasurer, the super-
                     intendent of euucation, the commissioner of agri-
                      culture, the railroad commissioners, the clerk of
                     the Supreme Court, the clerks of the City Courts, the
                     clerks of the Circuit Courts, registers in chancer,y,
                     the convict inspectors, the State tax commissioner,
                     examiners of public accounts, the sheriffs, the tax
                     assessors, tax collectors, county treasurers, county
                     commissioners, or members of the board of reve-
                     nue. two dollars and fifty cents.    That any officers,
                     who by virtue of such office, shall receive either
                     fees or salary as compensation for services as such
                     officer not hereinbefore mentioned, whether exist-
                     ing now or hereafter created, shall be commis-
                     sioned as aforesaid, and shall pay for such com-
                     mission, one dollar; and any such officer exercising
                     the duties of his office without having first secured
                     a commission, shall be guilty of a misdemeanor .
                   . This section shall apply only to officers hereafter
                     elected or appointed.
      Oaths             Rec. 10. Be it further enacted, That annually,
                     before commencing to perform the duties for the
                     correction of errors in the assessments, on the
                     second Monday in July of each year, each member
                     of the board of revenue, or Court of County Com-
                     mission0,rs, shall take and subscribe the oath set
                     out hereinafter.    And it shall be the duty of the
      Duty of        auditor to forward annually, in June of each year,
            Auditor to the chairman of such boards of Courts, printed
                    forms for such oaths, together with a circular let-
                    ter, setting out in full section 3982 of the
                    Code, with the penalties           provided   by law
                    for failure to comply with the same;               and
                    directing that said oath shall be taken and
                    entered upon the minutes of the board or Court,
                    said oath shall be in form and substance, as fol-
                    lows: State of Alabama.-Before          me {to be ad-
                    ministered by any judge, register, justice of the




                                                                               KR1112
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                   peace or notary public), personally appeared---
                   -------,          members of the board oif revenue,
                   or Court of County Commissioners, of ----~
                   county, who on oath declare, and say that while
                   engaged in the duty of correcting errors in as-
                   sessments or passing on the assessment of escaped
                  taxes, they will fix a value on all property assessed
                  for taxes at its fair cash market value; and that
                  they will in no case, where the facts are brought
                  to their knowledge, reduce the value of any prop-
                  erty for taxation, below the fair market value of
                  the property, o·r what the property w:0111ld  sell for
                  cash, and that they will make diligent effort and
                  inquiry to ascertain the value of all property to
                  be passed on by them. Sworn to and subscribed
                  before me, this----        day of July, 18-.
                     Sec. 11. Be it further enacted, That section 3!)18 Telegraph
                 of the Code shall be amended, so as to read as fol·       companies
                 lows: 3!)13. Ea<;h telegraph company doing hu8i-
                 ness between points wholly within this State, and
                •without refer·ence to its interstate commerce Qr
                 governmental business, shall pay, in advance, on
                 the first day of January of each year, to the State
                 treasurer, a privilege tax, based on the mileage of
                 the telegraph line operated by it in this State, as
                 follows: Each telegraph company, whose lines
                 within the State do not exceed one hundrell and
                 fifty miles, shall pay at the rate of one dollar 1wr
                 mile; each company whose lines within the State
                exceed one hnndred and fifty miles, shall pay five
                 hundred dollars, together with one dollar for each
                mile of such lines; and each long-distance telephone
                company, whose lines within the State do not
                exceed one hundred and fifty miles shall pay at a
                rate of fifty cents per mile; and each long-distance
                telephone company who,se lines within the State
                exceed one hundred miles, shall pay two hundred
                and fifty dollars; and no telegraph company which
                has paid the privilege tax herein required shall
                be liable to pay any additional privilege tax or
                other tax in this State, except licenses required by
                cities and towns; and except upon its real estate,
                fixtures and other local property, which shall be
                subject to taxation as other property in the State.
                The payment of such privilege tax to the ti-easurer




                                                                              KR1113
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       170                              REVENUE   LAW,          [Gen. Laws,

                    shall be accompanied by a sworn report to rhe aud-
                    itor, showing the number of miles of telegraph
                    line operated by such company within tltis 8tate;
                    and in default of the pa.yment of such tax or tlie
                    making of such report for sixty days after the first
                    day of January, a penalty of double the amount
                    of such tax shall be imposed upon and collected of
                    such defaulting company.
       Telephone         ~ec. 12. Be it further enacted, That section :m4:3
          companies of the Code shall be amended, so as to read as fol-
                    lows: 3943. The president, secretary or manage1·
                    of every telephone company, except lon~-distance
                    telephone companies, owning or opera.ting- lin<'s,
                    must annually, on or before the first rla,r of Feb-
                     ruary, make, under oath, to the asse::;sor of the
                     county in which such instruments are located, ot
                     such lines are operated, a return of the number ,)f
                    miles of telephone wire in the county belonging
                     to such company, and the value .thereof, the num-
                     ber of poles, batteries, instruments and a1·ti<:Je:,;of
                     like kind in the county, connected with its business,'
                     and the value thereof, and the a.mount of the gross
                     receipts of such company from its business done in
                     the county during the preceding tax year; and in
                     case such return is not made by any company
                     within the required time, the assessor must af:cer-
                     ta.in, from the best information he can obtain, the
                     amount and value of such property, and the amount
                      of such l'eceipts; and on the propert~, and reeeipts
                      so returned or ascertained, the assessor shall assess
                      the taxes against such company; and when there
                      has been a failure on the part of the company to
                      make a return of such property and 1·eceipts within
                      the required time, the assessor shall add to the
                     assessment against such company a pen.1lty of
                      fifty per cent. on the amount thereof. Such assess-
                      ment, as well as the assessment of other taxable
                      property of such company in the county, must be
                      entered by the assessor in the book of assessments.
                         Sec. 13. Be it further enacted, That section :3!J74
                       of the Code shall he amended, so as to read as fol-
       Long distance lows:     "3974. The president, secretary, auditor or
         telephone    managing agent, in this State, of every telegn1ph
                       or long-distance telephone company. whose line, or
                       an,v part thereof, in within the fltate, must an-




                                                                               KR1114
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                nuallY, on or before the first day of February of
                each \.ear, make under oath, to the auditor, a re-
                turn of the number of miles of telegrnph wire in
                the State belonging to such company, and the num-
                ber of poles, batteries, instruments and artieles of
                all kinds, in the State connected with its business,
                specifying the several counties in which such prop·
                ertY is situated, and the items of property situated
                in ~ach of sucl; counties; and if any of such com-
                panies, its officers, or agents, fail to make such
                return within the time specified, the auditor must
                ascertain such items of property and ,alnes from
                the best information he can obtain."
                    P.ec. 14. Be it further enacted, That section 3975 Report of au-
                of the Code shall be amended, so as to read as fol· ~itorJoState
                lows: "3fJ75. Report of auditor to State board,          oar
                assessment and proceedings thereon. The auditor
                must lay before the State board of assessment, at
                its next meeting thereafter,        such returns; and
                when not made by any company, he must repol't
                to the board the items of pr.01perty and valnes ot
                the company failing to make returns, as asr.d'·
                tained by him; and thereupon the board must pr<)-
                ceed to examine such returns and repods, deter-
                mine the value of such property, and assess the same
                for taxation, as in the case of assessments of the
                property of rail road companies; and it may add to
                the assessment against any telegraph or long-dis
                tance telephone company, failing to make returns
                within the required time, a penalty of not exceeding
                fifty per cent. thereon. Upon the completion of the
                assessment against any telegraph or long-distance
                telephone company by the board, the auditor shall
                give to the tax assessor of the several counties in
                which such property is situated, and the superin·
                tendent or managing agent of such company in
                this State, the same notification touching such as-
                 sessment as is required of him in case of assess-
                ments against railroad companies; and thereupon
                such assessors must act in reference to such as-
                 sessment, and to the assessment of any other prop·
                erty of such company taxable in their counties, as
                they are directed to act in case of assessments
                against railroad companies by the State board of
                assessment."




                                                                              KR1115
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      172                              REVEYUE   LAW.          (Gen. Laws,

      Exemption      Sec. 15. Be it further enacted, That para.graph
                  2 of section 3907 of the Code be amended, so as to
                  read as follows:      "2. All bonds of the United
                  States and of this State, all property, real and per-
                  sonal, of the State, and of the counties and munic-
                  ipal corporations in the State; all cemeteries, aud
                  all lots in incorporated cities or towns, 0r within
                  one of any city or town, to the extent of une atre,
                  and all lots one· mile or more distant fr.om snch
                  cities or towns, to the extent of five acres, with
                  the buildings thereon, when the same are nsed ex-
                  clusively for religious worship, for schools or for
                  purposes purely charitable;      all school furniture
                  and personal property used exclusively for iwlwol
                  purposes; and all property, real or personal, to an
                  extent not exceeding twenty-five thousand dollar!\
                  in value, that may be used exclusively fo,r agric1!l
                  tnral or horticultural associations of a public el.J.::n·•
                  acter."
      Licenses       Sec. 16. Be it further enacted, That section 4122
                  of the Code be amended, so as to read as follow!'!:
                  ''Licenses are required of all persons engaged in
                  or carrying on any business or doing any act in
                  this section specified, for which shall be paid for
                  the use of the State, the folloiwing taxes, to-wit.:

                                        LICENSES.

                                     ABSTR:...i\..CTS.

                    1st. Abstract companies and persons pursuing
                  the business of furnishing abstracts of titl1\ in
                  towns or cities of twenty thousand inhabitauts or
                  more, thirty dollar,s. In towns and cities from tPn
                  to twenty thousand inhabitants,    twenty dollars.
                  In towns and cities of less than ten thousand iu-
                  habitants, ten dollars.

                                    AUCTIONEERS.

                     2d. For each auctioneer, in any city or town of
                  twenty thousand inhabitants or over, a. lic?.nse iax
                  of fifty dollars per annum; in cities or towns of
                  eight thousand inhabitants, and less than t weut)'
                  thousand, thirty do.liars per annum; in cities and




                                                                               KR1116
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                 towns of five thousand inhabitants, and less than
                 eight thousand, twenty dollars per annum; in cities
                 or towns of mo,re than one thousand and less than
                 five thousand, five dollars per annum. The term
               'auctioneer,    within the meaning of the foregoing
                 provisions, shall be deemed to apply to any person
                 selling goods, wares, merchandise, live stock, or
                  other things of value, at public outcry except as
                 otherwise heeein provided, whether a charge is
                 made for the same or not. In the following cases,
                 sales at public outcry may be made for a compensa-
                 tion, without license: First. The estate of a decedent
                 by the personal representative      or his agent, ac-
                 cording to law, or by the provisions of the will.
                 Second. Peoperty conveyed by deed of trust, mort-
                 gage or decree or order. Third. Any person may
                 sell the agricultural pro:ducts arising from his own
                 or other labor under his control, or his real or per-
                 sonal estate, not purchased or sold on speculation.
                 Fourth. All sales under legal process. For tran-
                 sient oe itinerant auctioneers or dealers in goods,
                 wares and merchandise, other than licensed ped-
                 dlers, and other than traveling agents or wholesale
                 dealers in said articles, making sale thereof by sam-
                 ple, fifty dollars.


                    BAGATELLE          OR JENNY        LIND TABLES.

                  3d. For each bagatelle or Jenny Lind table, or
                any other table or device of any kind from which
                any kind of profit is derived by the keeper, fifty
                dollars.


                                     BASE BALL PARK.

                  4th. For each base ball or foot ball park, where
                admission fees are charged, fifty dollars.

                                         BOTTLERS.

                  5th. For each bottler or bottling association,
                other than bottlers of mineral water, twent,v-five
                dollars.




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                                BILLIARD TABLES.

                    6th. For each billiard table, for the use of which
                  money or other compensation is charged, and ,
                  which is not kept in conection with the business
                  of a barroom or drinking         saloon, twenty-Jive
                  dollars.
                    7th. For each billiard table kept in connection
                  with the business of a barroom or drinking galoon,
                  whether its use be charged for or not, fifty dollars.


                                BOWLING ALLEYS.

                    8th. For bowling or ten-pin alleys, for the use
                  of which money or other compensation is charged,
                  twenty-five dollars, for each alley; and for each
                  bowling or ten pin alley, kept in connection with
                  a drinking    saloon, whether      compensation iE!
                  charged or not, twenty-five dollars.

                                   BILL POSTERS.

                     9th. For each bill poster or person pursuing the
                  business of posting bills, in cities and towns, of
                  twenty thousand inhabitants or more, tweny-1lve
                  dollars; in towns and cities from ten to twenty
                  thousand inhabitants, fifteen dollars. In towns
                  and cities of less than ten thousand inhabitants,
                  five dollars.


                    BROKERS OR COMMISSION MERCHANTS.

                     10th. For each broker or commission merchant or
                  dealer in merchandise for a commission, in towns
                  and cities of less than five thousand inha bi tan t~,
                  ten dollars. In towns and cities of five thousand
                  and less than ten thousand inhabitants, fiftt~en dol-
                  Ia.rs. In towns and cities of ten thousand and 1'-'ss
                  than twenty-five thousand inhabitants, twenty-fi,e
                  dollars. In towns and cities of twenty-five thou-
                  sand inhabitants or more, fifty doHars.




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                                        BICYCLES.

                   11th. Each person owning and using a bicycle
                upon any of the streets of any town or cit~-, or upon
                any of the public roads of any county within this
                State, shall pay a privilege tax, in lieu of all other
                taxes, of twenty-five cents for each bicycle, to be
                levied fo1• the State only; said license to be taken
                out as other licenses are required to be taken out,
                and the payment of such license tax, to be evi-
                denced by the certi1kate of the probate judge, for
                which he may charge a fee of not more than ten
                cents.
                  12th. Each person or firm keeping bicycles for
                rent or hire, ten d_ollars.

                                     BOOK AGENTS.

                    13th. Any person other than a merchant paying
                 an advalorem tax on bis stock of goods, who shall
                 receive subscriptions for or shall in any manner
                 furnish books, maps, prints, pamphlets, or period-
               , icals, shall pay a privilege tax of ten dollars in each
                 county of this State in which he shall do business.
                 Provided, That this shall not apply to persons dis-
                 tributing or selling by subscription any religious
                 books, pamphlets or periodicals. Provided, further,
                 That no license shall be required of any person who
                 was a Federal or Confederate soldier during the
                 civil war, or to any indigent or disabled person who
                 only sells or furnish books, maps, prints, pam-
                 phlets or periodicals to persons residing in the
                 county where such indigent or disabled person re-
                 sides.


                                      BREVVERS.

                  14th. For breweries, one hundred dollars. Every
               agency of a brewery of another State doing busi-
               ness in this State shall pay the same license; and
               any person, whether retail dealer or not, selling
               the goods or product of any brewery, shall be
               deemed and held an agent, unless such brewery
               shall have an established agency in this State.




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                              CIGARETTE         DEALERS.

                    15th. For each dealer in cigarettes, whether prin•
                  cipal stock in trade or not, in any place outside
                 of the incorporated towns and villages, five dollars.
                 In incorporated towns and cities of five thousand
                 or less, ten dollars.    In towns and cities of more
                 than five thousand, and not exceeding ten thousand
                 inhabitants, twenty dollars. In towns and cities of
                 more than ten thousand and not exceeding twenty
                 thousand inhabitants, twenty-five dollars. In all
                 other places thirty-five dollars.


                        CIGAR AND TOBACCO STANDS.

                    16th. For each cigar dealer, whose principal
                 stock in trade is cigars and tobacco, in fowns and
                 cities of twenty thousand or more inhabitants, ten
                 dollars. In towns and cities of less than twent_y
                 thousand inhabitants, five dollars.


                                          CIRCUSES.

                    17th. For each day's exhibition of a circus, in
                 towns or cities having more than five thousand in-
                 habitants, or within two, miles thereof, one hun-
                 dred and fifty dollars; in all other places, one hun-
                 dred dollars. Every building, space, tent or art~a,
                 where feats of horsemanship, or acrobatic spo1·ts
                 are exhibited, shall be regarded as a circus. For
                 each exhibition of a pony or dog show, exhibiting
                 in towns and cities having more than ten thonsaud
                 inhabitants, thirty-five dollars. In all other places,
                 twenty-five dollars. Fo,r each exhibition of a side
                 show accompanying a circus, menagerie, or mu-
                 seum, ten dollars.


                                  COLD STORAGE.

                    18th. Any person doing a cold sto,rage business,
                 ten dollars.




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                COMMERCIAL           OR MERCANTILE       AGENCIES.

                   1!lth. Each and every person, partnership, or cor-
                poration, who engage in the business of inquiring
                into and reporting upon the credit and standing of
                persons engaged in business in this State, shall
                pay a license tax of three hundred dollars; and the
                payment of this tax to the State, evidenced by the
                receipt of any jndge of probate, shall exempt such
                person. partnership, o,r corporation, from the pay-
                ment of such tax in any other county; and payment
                of sueh tax shall not, when it has been paid by
                such person, partnership,    or corporation, be re-
                quited of any of their agents or correspondents in
                the State.

                           CONCERTS OR EXHIBITIONS.

                   20th. For each concert, musical entertainment,
                public lecture, or other public exhibition or enter-
                tainment, where charges are made for admi:,;sion,
                or for the use of any instrument or device, or the
                participation in any exercise or entertainment, nc,t
                ~iven for charitable, school, or religious pnrpo.-es,
                and not otherwise provided for, five dollars; hut
                the provisions of this subdivision shall not apply
                to exhibitions or entertainments  given in theatres,
                where, the owner or manager thereof has taken out
                a license as owner or manager.

                              COLLECTING     AGENCIES.

                  21st. Each collecting agency in towns and cities
               of twenty thousand inhabitants or more, twnlt:y·
               five dollars; in towns and cities of less than tw,~nty
               thousand inhabitants, ten dollars. This tax shall
               be paid whether such agency has paid the tax :is
               required of commercial, mercantile\ mutual benetit,
               or protective agent or not.

                          CONSTRuCTION        COMPANIES.
                  22d. For each construction company doing bnsi-
               iness in this State, twenty-five dollars.
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                       COMPOUKDERS        A.ND RECTIFIERS.

                     28d. For compounders and rectifiers of spirit-
                 uous or vinous liquors, two hundred dollars. Any
                 person who rectifies, purifies or refines distilled
                 spirits or wines by any process, or who mixes dis-
                 tilled spirits or wines with any chemicals, or com-
                 pounds liquors for sale under any name, shall be
                 deemed a compounder and rtcctifier.

                                COTTON BUYERS.

                    24th. Each person engaged in the business of buy-
                 ing cotton, other than merchants buying from their
                 customers who are indebted to them, and officers of
                 cotton factories in this State buying cotton for
                 their own factories, ten dollars.

                                 CORPORATIOKS.

                   25th. All co.rporations doing business in this
                State, whether organized in this State or an-
                other State or county, not otherwise specifically
                required to pay a license tax, shall pay annually
                the following privilege taxes: Corporations whose
                paid up capital stock is under $10,000, ten dollars.
                Corporations whose paid up capital stock exceeds
                $10,000, and does not exceed fifty thousand dollars,
                twenty-five dollars; when the paid up capital stock
                exceeds $50,000 and not over one hundred thousand
                dollars, forty dollars; where the paid up ca]_)ital
                stock exceeds one hundred thousand dollars and
                does not exceed two hundred thousand, seYenty-fiYe
                dollars; where the paid up capital stock exceeds,
                two hundred thousand        dollars, and does not
                exceed three      hundred   thousand    dollars, one
                hundred    and twenty-five     dollars;  where the
                paid up ca.pita! stock exceeds three hundred thou•
                sand dollars and does not exceed four hundred
                thousand dollars, one hundred and seventy dollars;
                where the paid np capital stock exceeds fom· hun-
                dred thousand dollai·s and does not exceed fhe hun-
                dred thousand dollars. two hundred dollars; where
                the paid up capital Rtork exceeds fiye hundred
                thonRand dollars and does not exceed one million




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                dollars, three hundred dollars; where the paid up
                capital stock exceeds one million dollars, five lrnn·
                dred dollars. vVhen application is made for the
                license herein provided, it shall be accompanied by
                the affidavit of the president or other chief rifficer
                of the corporation showing the amount of the cap-
                ital stock of such corporation, but the payment of
                this tax in one county in the State, as evider1c,~d
                by the license or official certificate of the judge of
                probate shall be sufficient: Provided, That the pro      0




                visions of this subdivisioµ shall not apply to banks
                and banking institutions     regularly organized as
                sncb.

                    COAL OR COKE AGENTS OR DEALERS.

                   26th. Each person, firm or corporation, or their
                agents,. who deal in coal or coke, in towns or cities
                of twenty thousand or moce inhabitants, twenty
                dollars; in towns and cities over five thousand in-
                habitants and less than twenty thousand inh,;1,bi-
                tants, ten dollars. In towns and cities of five thou-
                sand inhabitants or less, five dollars. Provided,
                This shall not apply to persons or companies who
                sell in quantities of five bushels, or less, or persons
                who mine their own coia.i and sell the same in ,.va-
                gon load lots.

                                 CARDS, DEALERS        IN.

                  27th. For      each dealt:>r in playing    cards,   five
                dollars.
                                     CANE RACKS.

                  28th. (See devices).

                                     DISTILLERS.

                    29th. For distillers of spirituous liquors, twenty-
                five dollars; but this shall noit apply to the dis•
                tilling of fruits.

                                     DOG SHO"\VR.

                  30th. (Elee circuses).




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                            DETECTIVE         AGENCIES.

                  31st. For each detective agency, compan~, or eor-
                poration doing business in this State, fifty dollars.

                                     DEVICES.

                   :{2d. For each deYice used by persons as a souree
                of profit to themselves, such as throwing at wo,)den
                figures, or any object of like character, cane racks,
                knife racks, striking an object to test the strength,
                blowing to test the lnngs, or o,ther device of like
                character, for each county in which it is operated,
                twenty-five dollars. But this subdivision shall not
                be so construed as to legalize tbe operation of any
                device which is now prohibited by law.
                    DUMMY AND ELECTRIC             RAILWAYS'.
                   33d. For each dummy railroad or electric rail-
                road or railway, being operated in this State, the
                following license taxes: In counties of forty thou-
                sand inhabitants or over, fifty dollars; in counties
                of thfrty thousand inhabitants and less than fort~·
                thousand, forty dollars; in counties of less than
                thirty thousaud inhabitants, ten dollars.
                  DICE AND DICE BOXES AND DOMINOES.
                  34th. For each table or device, or set of domino
                bones, kept in connection with a barroom or drink-
                ing saloon for use in playing the game commonly
                known as dominoes, twenty-five dollars; and for
                each dice-box and dice kept in a barroom or drink-
                ing saloon, twenty-five dollars.
                 ELECTRIC LIGHT, GAS A__
                                      ND ,VATER \TOHK::-4.
                   35th. For each water works company or corpo1·a-
                tion. electric light and power company or corpora-
                tion, gas company or corporation operated by a. per-
                son or company or corporation for public nsPR,
                other than a municipa.lity, shall pay to the State the
                following license taxes:    In cities or towns over
                twenty thousand inhabitants, one hundred dollar8~
                in cities or towns of ten thousand inhabitants, a11d
                less than twenty thousand, fifty dollars; in dties




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               anrl towns of five thousand inhabitants and less
               than ten thousand, twenty-five dollars; in cities or
               towns of less than five thousand inhabitant~, fif.
               teen dollars.

                                     EYE GLASSES.

                 36th. (See peddlers).

                               EXPRESS      COMP A.NIES.

                 37th. (Express companies, see Sec. 24).

                             FEATHER       RENOVATORS.

                 38th. For each person, firm or agent, soliciting
               or engaged in cleaning and renovating feathers, in
               each county, ten dollars.

                       FEES.        (See also Stocks and Bonds.)

                 39th. For dealers in securities, such as notes, ac-
               counts, judgments, witness tickets, in counties of
              fifty thousand inhabitants 01r over, thirty dollani;
              in counties of thirty to fifty thousand inhabitants,
              fifteen dollars; in counties of fifteen to thirty thou-
              sand inhabitants, ten dollars; in counties of less
              than fifteen thousand inha.bitants,       five dollars.
              This tax shall apply to the showing of any evidence
              of indebt~dness; but no broker who has paid a priv-
              lege tax as such, shall be required to pay this tax.

                         FERRIES AND TOLL BRIDGES.

                 40th. For each toll-bridge. or bridges where thor-
              oughfare tolls are charged for animals or vehicles
              crossing the same, or ferry, when noit within two
               miles of the corpont.h· limits of a town or city of
              two thousand inhabitants,      where the income is
              more than three hundred dollars, and less than six
              hundred dollars per annum, five dollars; for 1:iame,
              where income is over six hundred dollars per an-
              num. ten dollars; for same, in or within two miles
              of the corponte limits of any town or city of two
              thousand inhabitants, and less than five thousand,




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                  fifty dollars; for same, in or within two miles of
                  the corporate limits of a town or city of five thou-
                  sand inhabitants or more, seventy-fiye dollat·s.


                                  FLYING JENNIES.

                     41st. The operator of set of flying jennies,
                  called also 'hobby horses,' and 'merry-go-rounds,'
                  shall pay to the State the following license tax: In
                  cities and towns of twenty thousand inhabitants or
                  over, or within one mile of such, for each week, five
                  dollars; or for each month, ten dollars; or for each
                  year, thil;ty dollars; in cities or towns of less than
                  twenty thousand inhabitants, or within one mile of
                  such, for each week, two dollars and fifty cents;
                  for each month, five dollars; for each year, twenty
                  dollars. In any locality in the State, other than is
                  provided above, for each week, one dollar; . or each
                  month, two dollars and fifty cents; or for each
                  year, ten dollars.


                              FUTURES,       DEALERS       IN.
                     42d. For each person or firm engaged in the busi-
                  ness of buying or selling futures for speculation,
                  (}r on a commission, one hundred dollars; but this
                  shall not be held to legalize any contract which
                  would otherwise be invalid.

                                FORTUNE         TELLERS.
                    43d. For each fortune teller, five dollars.

                                     FRUIT STANDS.

                    44th. For each fruit stand, in cities and towns
                  over ten thousand inhabitants,      five dollars. Jn
                  other places, two ·dollars and fifty cents.

                             GYPSIES     AND TRADERS.

                    45th. For each company of traders, usually
                  known as gypsies, ten dollars for each county.



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                                     HORSE DEALERS.


                  4(ith. For each person or firm, bringing into any
               county of this State, fo1r sale, any horses, mules,
               jacks, or jennets, by the car load, ten dollars on
               each car: to be paid in the county in which such
               stock is offered for sale.


                             INSUR-ANGE CO~IPANIES.

                  47th. For each insurance company filing copy of
               charter, or deed of settlement, and financial state-
               ment, one hundred doll a rs; to be paid to the insur-
               ance commissioner, as prescribed in section 2601
               of the Code of 1896. And all taxes and fees shall
               be paid as is in said section provided. And this
               act -does not amend or repeal in any way the law
               now existing as to insurance companies.
                  48th. For each insurance company doing a bank·
               ing business, in addition to other special tax, fifty
               dollars.

                                     ICE FACTORIES.

                  49th. For each ice factory, with a capacity of ten
               ~ons per day, twenty-five dollars; for each ice fnc-
               tory with a greater capacity than ten tons per daJ,
               fifty dollars.

               ITINERANT         TRADERS, AUC'l'IONEERS,                 A.ND
                                    DEALERS.      •

                 50th. For transient, or itinerant auctioneers, or
              traders, or dealers in goods. wares and merchan-
              dise. other than licensed peddlers, and other -than
              traveling agents of wholesale dealers in said arti-
              cles, making sale thereof by sample, fifty dollars;
              and this ta..~ shall apply to all dealers who are
              migratoiry and do not pay an ad valorem tax.

                          KNIFE       AND CA.NE RACKS.

                51st. Knife and cane racks.             (See devices).




                                                                                KR1127
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                                      LAUNDRIES.
                     52d. Each laundry, other than those run by
                  hand power, ten dollars; this shall apply to laun-
                  dries run by hotels for profit, and shall not apply
                  to lau11dries in iowns and villages of less than one
                  thousand inhabitants.

                             LIGHTNING        ROD AGENTS.
                     53d. Each company or person who sells, or de-
                  livers or erects lightning rods in this State,
                  shall pay to the State a license tax of fifty dollars.
                  The payment of this tax to the State, evidenced by
                  the receipt of any judge of probate, shall exempt
                  such company, or person, from the payment od' such
                  tax in any other county; but in each county in
                  which such company, or person, carries on such
                  business, a lice11se tax of ten dollars shall be paid
                  for COiunty purposes.

                     LEGERDEMAIN         OR SLEIGHT-OF-HAND.
                    54th. For each exhibition of feats of legerdemain,
                  or sleight-of-hand, or· other exhibition or entertain•
                  ment of like kind, ten dollars.

                              LIQUORS, DEALERS          IN.
                     55th. For the retail of spirituous, vinous or malt
                  liquors, on any steamboat, or other water craft, or
                 any sleeping, dining, or buffet car, two hundred and
                 fifty dollars, for which the State shall have a pre-
                 ferred lien on such steamboat, or o,ther water craft,
                 and cars named; and such lien may be enforced
                 whenever -any such liquors are retailed by any per-
                 son on such steamboat, or other water craft, er
                 ,:ars. with the knowledge or consent of the Gap·
                 tain. or conductor, without having first procured
                 a license therefor, as provided by law; and the tax
                 collector of any county in which such steamboat, or
                 other water craft, may ply, or cars run, is required
                 to enforce such lien, in the same manner, and hy
                 the same proceedings, as are authorized for the
                 collection of taxes on steamboats and on railroad
                 carR.




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                   For retailers   of spirituous,   vinous, o,r malt
                liquors, except as hereinafter provided, in any city,
                town, village, or any other place of less than one
                thousand inhabitants,    one hundred and seventy-
                five dollars; in any city, town or village of more
                than one thousand inhabitants, and less than thl'ee
               thousand inhabitants,     two, hundred and twenty-
                five dollars; in any city containing three thousand
               inhabitants    or more, and less than ten thousand
               inhabitants, three hundred dollars; and in any city
               of more than ten thousand inhabitants, three hun-
               dred and fifty dollars. But dealers in lager beer
               exclusively shall be charged one-fourth o;f the above
               rates. Any person who pays for and takes out a
               license as a retailer, shall not be required to pay
               fm·, and take out a license as a wholesale dealer
               in such liquors; and when a retail license is taken
               out, after the first day of January, and beforre lhe
               first day of July, the price of the license shall be
               the same as for a license for twelve months. Any
               person who sells, or disposes, of spirituous, vinouEi,
               or malt liquors, or intoxicating       httters, in any
               quantity less than a quart, shall be deemed a retail
               dea.ler: Provided, Nothing in this paragraph shall
               he so construed as to alter, repeal. or modify any
               license now authorized and required to be paid
               to any district, city or municipality, or for munici-
               pal purposes.
                  For wholesale dealers in spirituous, vinous, or
              malt liquors in any place, three hundred and fifty
              dollars. Any person dealing in said articles, who
               shall sell, barter, or exchange, or in any way dis-
              pose of, or permit to be taken, spirituous, vinous
              cir malt liquors, in any quantity less than one quart,
              or who shall permit the same to be drunk by the
              glass, or single drink, in or about his place of
              business, shall be deemed a retail dealer; and any
              dealer so disposing of spirituous, vinous, or malt
              liquors, only in the quantity of one quart or more,
              shall be deemed a wholesale dealer; but any person
              having taken out a license as retail dealer is an•
              thorized to sell at wholesale without additional
              license.




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       lSli                            J,ICESSE~.                [Gen. Laws,

                    :\.ny person engaged in the business of selling
                 cider at retail, or in quantities of less than one
                 gallon, where he is not the nl'anufacturer thereot,
                 whether it be his principal stock in trade or not,
                 shall pa_v a license tax of ten dollars: Provided,
                 That this shall not apply to retail liquor dealers.
                    (See also componnders and rectifie1·s, distillers,
                 brewers.)


                          ?IIENAGERillS         AND MUSEUMS.

                   5(ith. :F'or eaf'h exhibition of menagerie or mus-
                 emn, twenty-five dollars.      (See also circuses, con-
                 certs and exhibitions).


                                  MACHINE           S·LOTS.

                    57th. For each machine such as nickle-in-the-slot
                 or other deYice of like character. whether the same
                 is eharg-ed for or not, two dollars. 'rl1is shall
                 apply to phonographs, weighing machines, music
                 boxes, ete., having the niclde, or penny in the slot
                 df'viee.

                             MERCANTILE AGENCIES.

                    !'\8th. Mercantile agencies.     (See commercial agen-
                 cies).

                                  MONEY LENDERS.

                    5Hth. Each eompany, corporation or association
                 doing business in this ~tate. whose sole or prin-
                 cipal business is the loaning of money, whether or-
                 ganized in this State, or in another State or coun-
                 try, and which is not elsewhere subjected to a
                 privilege tax in this section shall pa_v to the State
                 as other license taxes are paid, one hundred dollars.
                 Provided, the provisions of this sub-division 1-1hall
                 not apply to banks, or banking institutions, regu-
                 larly organized as such.




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                                   NEWS COMPANIES.

                60th. Each news company doing business in this
              State, three hundred dollars.

                                        OILS.

                 61st. Each agency, person, firm or corporation,
              selling illuminating or lubl'icating oils at whole-
              sale, that is to say, in quantities of twenty-five gal-
              lons or more, shall pay a privilege or licensl:! tax
              to the State, of one-half of one per centum on their
              gross sales; and the State tax comissioner, or his
             deputy, is authorized and directed to collect and
              pay such privilege tax into the State treasury, re-
              taining out of the amount collected ten percentum
              thereof f.or the compensation and fees of himself
              and deputies for doing said work; and said State
             tax commissioner or said deputies, with the :tp-
              proval of the State board of compromise, may col-
              lect and receive a gross sum as said privilege or
              license tax from any corporation, firm, person or
             agency, selling oils in this State, and said gross sum
             may be so received and collected in place of and
             in full settlement of said license tax, so that oils
              upon which said gross sum has so been paid in full
             settlement, shall not be subject to the license tax
             imposed by this section. And_ this license shall run
             as other licenses in the State from Januar.v to ,Jan-
             uary: Provided, That for the year 1899 three-
             fourths only of the annual license shall be charged
             and collected; and the State tax commissioner o·r
             his deputies may require sworn statements to he
             made by said agencies, persons, firms, or corpoi-a.-
             tions, of their gross amounts of sales, for the pre-
             viious calendar _vPar which may be accepted with
             the approval of the State board of compromise for
             fixing the amount of said license for the current
             year. Any agency, person, firm, or corporati,Jn,
             failing to make said sworn statement when so re-
             quired, forfeits to the State three times the amount
             of said license.

                                   PAWNBROKERS.
                62d. For each pawnbroker,           fifty dollars.




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                                   PATENT      RIGHTS.

                      6:-:id.Each person who shall sell or offer to sell
                   the right to manufacture, or use, any machinery or
                   other thing patented under the laws of the United
                   States for each county in which he shall sell or
                   offer to sell such patented machinery or other
                   thing, five dollars.

                                       PEDDLERS.

                      fi4th. For each peddler of medicines or other arti-
                   cles of like character, one hundred dollars for each
                   county in which they peddle; and for each peddler
                   of spectacles or eye glasses, five dollars for each
                   county in which they peddle; for peddlers of medi-
                   cines with vocal or instrumental music, or both,
                   two hundred and fifty dollars for each county in
                   which they peddle; for peddlers in wagon drawn by
                   one horse, or other animal, forty dollars; in a wagon
                  drawn by two horses, or more, or other animals,
                   fifty-five dollars; on a horse, or other animal, twen-
                   ty-1iYe dollar:-i; on foo,t, fifteen dollars; when ae-
                  companied by singers or performers on any musical
                  instruments, one hundred dollars; but peddlers of
                   tinware only, and peddlers of wooden and stone-
                  or clay hollowware only, and tanners who manu-
                  facture leather goods and peddle these only, shall
                  not be required to procure license. A peddlers'
                  license shall entitle him to peddle only in the county
                  where it is taken out. Any person may demand
                  of peddlers, itinerant dealers and traveling agents
                  their license, and unless they exhibit the same, or
                  show that they have a right under the law to peddle
                  the articles carried by them, or to carry on the busi-
                  ness they are engaged in without a license, 3uch
                  person may and is hereby authorized to arrest such
                  peddlers, itinerant dealer or traveling agent, and
                  carry him before the nearest county court judge,
                  justice of the peaee. mayor, reeorder, intendant of
                  any town, or notary public exercising the power of
                  a justice of the peace, and such officer as such
                  peddler, itinerant dealer or traveling agent is car-




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                 ried before must, if he finds such person to be
                 dealing without a license, forthwith issue a war-
                 rnnt for his arrest, returna.ble to any Court of -::he
                 county having criminal jurisdiction, which warrant
                 may be executed by the sheriff, or by any constable
                of the county, any city or town marshal, police-
                man, or any officer having authority to make ar-
                 rests. It shall, however, he lawful for any person
                having but one a.rm or leg, or whose sight ha.s ·ucen
                impaired as a result of exposure, injury or disease
                during his service in the Confederate army, or any
                other disabled Confederate soldier who is perma-
                nently disabled from any cause, or any person
                who has lost his eye sight in any way so that he:
                is incompetent to perforl,ll manual labor (if he <;hall
                 se1·11rethe cettifi('ate of a physician and the certi-
                ficate of the judge of probate of such facts), to
                peddle in any county of the State free of licen;;e;
                nor shall this act be so construed as to require a
                license of peddlets of fish, oystets, game, fresh
                meats, poulti·y, fruit and all form products raised
                by the seller, nor any dealer in books or other lit-
                erature.    For each peddler of clocks doing business
                in this State, a State license tax of five hundred
                dollars, and a county license tax of 11:wohundred
               and fifty dollars for each county in which such
                business is carried on. That all the citizens of this
                State, who have resided here for five years next
                before the passage of this act, who were soldiers
               of the Confederate States of America, or enga~ed
               in the naval service thereof, and do not own prop-
               erty exceeding in value one thousand dollars, be
               nllowed to peddle any produce or merahandise, in
               any and all of the counties of this State, except in
               any incorporated v:illage, town or city, without
               the payment of the license required of such ped-
               dlers. That any such soldiers or sailors desiring
               such license to peddle, must apply to the judge
               of probate of any county in this State, and make
               anrl submit his proof of having been such soldier, or
               sailor and if it is sufficient to satisfy said judge, he
               will issue the license without payment of money
               th~refor and such license shall be authority to ped-
               dle _such commodities in any of the counties of this




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                 State: Provided, That unde1· this act there shall
                 be no peddling of patent medicines.

                                PHOTOGRAPHERS.

                   H5th. ],""'or each ttaveling photograph    gallery
                going from county to county in railroad car, twenty-
                five dollars.
                   For each traveling photographer, traveling in any
                other way, ten dollars .

                       • PISTOL, BOWIE OR DIRK KNIVES.

                  G6th. For dealers in pistol, bowie or dirk knives,
                whether principal stock in trade or not, one hun-
                dred dollars.

                       PISTOL OR RIFLE CARTRIDGES.

                   67th. For wholesale dealers in pistol or rifle car-
                tridges, in towns or cities of twenty thousand or
                more inhabitants, ten dollars. In all other places,
                five dollars: Provided, That the wholesale dealers
                license shall entitle them to sell at retail.

                                 PUBLIC HALLS.

                  68th. For each public hall, let to hfre, twent_y-five
                dollars.
                                 POOL TABLES.
                   69th. For each pool table upon which the game
                of pin pool is played, one hundred dollars.
                  For each table upon which a game of pool h,
                played with fifteen balls, .more or less, and not pin
                pool, for the use of which money or other thing of
                value is charged 01· when kept in connection with a
                bar-room or drinking saloon, whether its use is
                charged for or not, fifty dollars.

                         PLUMBERS      OR GAS-FITTERS.
                   70th. For each person or firm doing the business
                of a plumber and gas fitter, or either, in towns or
                cities of twenty thousand or more inhabitants, ten
                dollars.
                   In all other places, five dollars.




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             record, book, paper, contraet, return, or otl1er document, or of
             the official statement of any acco11nt between him and the state,
             in the office of the auditor or treasurer, certified by the auditor,
             if the original is in his office, or by the treasurer, i'f in his office,
             under the great seal of the state, shall be received as evidencl'
             in any case in which the original would be competent, unles,-
             the defendant shall deny under oath that he made or executed
             snch original.
               627. Assessor and collector may contract for stationery, Ib.,ec. 132 •
             printing, etc.-The tax-collector and tax-assessor are. author-
             ized to purchase necessary books and stationery, and to contract
             for the necessary printing in their respective offices, with tht-
             approval of the court of county commissioners.
               628. Penalty against officer failing to pay over money 1b. sec. 41.
             collected.-Upon a verdict being returned in favor of the state, i11
              any suit brought by the state against any officer _charge~ wit],
              the collection of any revenue for the state, and his sureties, 01·
              either, for the recovery of any such revenue collected by him, a
             judgment must be rendered for the amount of such verdict, and
             twenty per cent. thereon. *



                                             CHAP'l'ER                9.
                                                     LICENSES.

             ART1cu     1.-Business and callings for which licenses are required; prices of l'-
                               censes.
                        2.-Issue and expiration of licenses, and other general provisions.

                                                 ARTICLE         I.
             Bt"SIN ESS AND CALLINGS   FOR   WHICH    LICENSES   ARE REQUIRED j PRICES   O~' LICENSES.

               629. Persons required to take out licenses, and prices to Dec. 12, 1884,
             be paid therefor.-Licenses are required of all persons engaging P· 3• sec. t 4 •
             in, or carrying on any business, or doing an_,.act in this sectio11
                  ''' On Feb. 18, 1887, "An act to amend section 499 of the Code of Alabama,'"
             was approved (Pamph. Acts 1886-7, p. 143); and the section, as amended, is as
             follOIVS:
                  "Section 499. Cities and towns may adopt provisions of this ohapter.-Any in-
             corporated city or to1Vnin this state may, by an ordinance, adopt the provisions of
             this chapter, regulating the assessment and collection of taxes by such city officers o··
             agents, so far as the same may be applicable, and shall have the same right to sell
             property and make titles to property sold for taxes, as is provided for collectinJ.!
             state and county taxes; but any such city or town must first, by ordinance, adopt.
             such parts of this chapter for said purposes as they desire to put in force ; but nu
             city (except Mobile, Montgomery, ::\Iarion, Brewton, Cullman and Selma}, or town,
             or county shall assess, levy or collect any license tax on any business or occupation.
             upon which the state doPs not assess, levy, or collect such license tax. Nothin_c:
             herein contained shall affect the provisions of the act for the reduction and fundin~
             of the debt of the city of Mobile, approved J'iiarch 9th, 1875. The city council of
             Opelika may assess, levy and collect a license tax on banks or bankers, the keeper~
             of livery stables, of meat markets, and those enga_ged in the business of running
             drays and hacks for hire." The provisions of the chapter referred to (chapter 2 ot'
             title VI1. of part 1 of Code of 1876) were superseded by subsequent legislation
             embodied in this Code, in which no provision of like import to that embraced in
             section 499 of Code of 1876 was contained; and hence, it was omitted by the com-
             missioner~ from this Code. The chapter referred to corresponds, in subject-matter,
             with this title of this Code.




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           specified, for which shall be paid, for the use of the state, the
           following taxes, to-wit:
Subd. I.       1. For each public race-track, at or withiu five miles of any
            city or town containing less than five thousand inhabitants, one
            hundred dollars; at or within five miles of any city or town
           containing more than five thousand inhabitants, two hundred
            dollars.
Subd. 2.       2. For the retail of spirituous, vinous, or malt liquors, on any
            steamboat or other water-craft, or on any sleeping, dining, or
            bu:ffet-car, two hundred aud fifty dollars, for which the state
           shall have fL preferred lien on such steamboat or other water-
            craft, and cars named; and such lien may be enforced whenever
            any such liquors are retailed by any person on such steamboat
            or other water-craft, or cars, with the knowledge or consent of
           the captain, or conductor, without haviug first procured a li-
           cense therefor, as provided by law; and the tax-collector of any
           county in which such steamboat or other water-craft may ply,
           or cars run, is required to enforce such lien in the same manner,
           and by the same proceedings, as are authorized for the collec-
           tion of taxes on personal property.
Subd. 3.       3. For retailers of spirituous, vinous, or malt liquors in any
           city, town, village, or any other place, of less than one thou-
           sand inhabitants, one hundred and twenty-five dollars; in any
           city, town, or village of more than one thousand, and less than
           three thousand inhabitants, one hundred and seventy-five dol-
           lars; and in any city or town containing three thousand or more,
           and less than ten thousand inhabitants, two hundred and fifty
           dollars; and in any city of more thau ten thousand inhabitants,
           three hundred dollars. But dealers in lager beer exclusively
           shall be charged one-fourth of the above rates. Any person
           who pays for and takes out a license as a retailer, shall not be
           required to pay for, and take out a license as a wholesale dealer
           in such liquors; and when a retail license is taken out after the
           first day of January, and before the first day of July, the price
           of the license shall be the same as for a license for twelve months.
           Any person who sells or disposes of spirituous, vinous, or malt
           liquors, or intoxicating bitters, in any quantity less than a quart,
           shall be deemed a retail dealer.
8ubd. 4.       4. For wholesale dealers in spirituous, vinous, or malt liquors
           in any place, two hundred dollars. Any person dealing in said
           articles, who shall sell, barter, or exchange, or in any way dis-
           pose of, or permit to be taken, spiritous, vinous, or malt liquors,
           in any quantity less than one quart, or who shall permit the
           same to be drunk by the glass, or single drink, in or about his
           place of business, shall be deemed a retail dealer; and any dealer
           so disposing of spirituous, vinous, or malt liquors, only in the
           quantity of one quart or more, shall be deemed a wholesale
           dealer.
.,
 ubd. 5.       5. For compounders and rectifiers of spirituous or Yinous
           liquors, two hundred dollars. Any person who rectifies, puri-
           fies, or refines distilled spirits or wines, by any process, or who
           mixes distilled spirits or wines with any chemicals, or com-
           pounds liquors for sale under any name, shall be deemed a com-
           pounder and rectifier.



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                    owner thereof; and upon a failure to comply with the
                    conditions of such delivery bond, the proceedings
                    thereon shall be as at present prescribed by law in
                    case of forfeited delivery bonds.
                       SEc. 5. Be it further enacted, That this Act shall
                    not apply to fiducinries, 01· defaulters, or tax sales; and
                    that it take effect from and after its pass11ge.
                                                       ED\VIN A. KEEBLE,
                                                   Speaker of the Houae of Reprr!eT1lativc3,
                                             EDWARD S. CHEATHAM,
                                                                      Sprak,:r of the Serial,.
                      Passed, February 5, 1862.




                                             CHAPTER 22.
                                     AN ACT 10 dismlos suits in certain case,.

                      SEcr10N   1. Be it enactedby the General Assembly of
                   the State of Tennessee,'rhat al I suits now pending against
                   citizens of this State, for a violutien of Section 4747
                   of the Code of Tennessee, shall be dismissed by the
                   Court before whom the same are pending: Provided1
                   the defenda11t pay or secure the cost.
                                                       EDWIN A. KEEBLE,
                                                    Speaker of the Ilouu of Rrpreacn/ativ~a.
                                             EDWARD S. CHEATHAM,
                                                                      Speaker of the Sc1111tr,
                      Passed, February 4, 1862.




                                              CHAPTER 23.
                       AN AOT to amend tho law respecting Dowlo Knives and otbor 'lleapons,

                      Be it enacted by the General Assembly of the Stale of
                    Tennessee,That all Jaws forbidding the importation,
                   manufacture, selling, or giving away of Bowie knives




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       or other weapons, and all laws prohibiting the can·,ying
       of pistols, Bowie knives, or other weapons, openly
       and unconcealed, be suspended during the existing
       war.
                                       EDWIN A. KEEBLE,
                                    Speaker of t!te Hou,se of Representatives.
                              EDWARD S. CHEATHA1f,
                                                       SJJeukcr of the Swale,
         Passe.J, October 30, 1861.



                              CHAPTBR 24.
               AN ACT lo 11mc111ltho Feo Dill and for other purpos&e.

         SECTION   1. Be it enacted b,11the GeneralAssembl,11 of
       the State of 'l'ennessec,That the Clerk:; of the County
       Courts of this State be entitleJ to receive and tlwy are
       hereby allowed fifty cents for tuking the Bond required
       to be executed by the fourth Section of au Act passc<l
       by the General Assembly of the State of Tennessee, on
       the 15th day of March, 1860, entitled an Act to prevent
       the adulteration of spirituous liquors in this State.
          SEO, 2. Be it further enacted,That said fee shall he
       paid by the person executing the Bond, un<l tlmt this
       Act take effoct from and after its passage.
          SEC. 3. Be it further enacted,That when uny of the
       Clerks of the Circuit Courts in this State arc in tho
       army of the State or of tho Confederate States of
       America, or have been for any part of the fiscal year
       en<ling the first day of September last, and their
       deputies failed to make a mvorn statement to the
        Comptroller of the treasury of the taxes and revenue
        belonging to the public treasury, and receivecl by them
        on or before the first day of October last, or when they
        foiled to pay over to the Treasurer of the State the
        taxes uncl revenue received by them, and belonging
        to the public treasury, on or before the first day of
                        8




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                                  CHAPTER         XCV.
              AN ACT to change the day in which the Criminal Docket shall be
                        taken up for lllarshall County, Tennessee.

                 SECTION 1. Be it enacted by the General Assembly of the
              State of Tennessee, That an Act passed March 22nd, 1877,
              entitled, ".An Act to repeal the .Act establi8hing a Crim-
              inal Court in the counties of Williamson, Maury, Giles
              and Marshall," be so amended that Section 5 of said Act
              shall hereafter read, that the Criminal Docket shall be
              taken up on the second :Monday of the term of court, in-
              stead of the first Thursday of the term, as heretofore fixed
              by said Act, and that the second :Monday of the term shall
              be the day on which the criminal part of said term of
              court shall commence for said Marshall County hereafter.
                 SEC. 2. Be it further enacted, That this Act take ef-
              fect from and after its passage, the public welfare re-
              quiring it.
                 Passed March 14, 1879.
                                               H. P. FOWLKES,
                              Speaker of the House of Representatives.
                                                      J. R. NE.AL,
                                                Speaker of the Senate.
                 Approved March 17, 1879 .
                                            .ALBERT S. MARKS,
                                                              Governor.




                                 CHAPTER        XCVI.
                          AN ACT to Prevent the Sale of Pistols.

                SECTION    1. Be it enacted by the General AssP-mblyof
              the State of Tenne.ssee, That it shall be a misdemeanor for
              any person to sell, or offer to sell, or to bring into the




                                                                               KR1142
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               State for the purpose of selling, giving away, or other-
               wise disposing of belt or pocket pistols, or revolvers, or any
               other kind of pistols, except army or navy pistol; Pro-
    S"!9af
         plsto1avided  that this A.ct shall not be enforced against any per-
  fodlidllen. sons now having license to sell such articles until the
               expiration of such present license.
                  SEC. 2. Be it further enacted, That any person guilty
               of a violation of this Act, shall be subject to presentment
                or indictment, and on conviction, shall pay a fine of not
  Peaali¥, less than twenty-five nor more than one hundred dollars,
                and be imprisoned at the discretion of the court.
                   SEC. 3. Be it further enacted, That it shall be the duty
                of the Criminal and Circuit Judges, and other Judges
    Jttdges to whose courts have criminal jurisdiction, to give this A.ct
  ellage.       specially in charge to the grand jury at each term of the
                court.
                   SEC. 4. Be it further enacted, That it shall be the duty
                of the grand juries to send for witnesses, in all cases where
     ,          they have good reason to believe, that the provisions of
   pe'!~ Ju r Y this A.ct have been violated.    And upon satisfactory evi-
                dence of its violation, they shall make presentments of the
                same without a prosecutor.
                   SEC. 5. Be it further enacted, That all laws and parts
                of laws in conflict with this Act be, and the same are
                hereby repealed.
                   SEC. 6. Be it further enacted, That this A.ct shall take
                effect from and after its passage, the public welfare re-
                quiring it.
                   Passed March 14, 1879.
                                                    H.P. FOWLKES,
                                 Speaker of the House of Representatives.
                                                          J. R. NEAL,
                                                    Speaker of the Senate.
                   App~oved March 17, 1879.
                                                ALBERT S. MARKS,
                                                                  Governor.




                                 CHAPTER        XCV II.
                         AN ACT to amend the Law Taxing Wagons.

                SECTION 1. Be it enacted by the General Assembly of
              the State· of Tennessee, That sub-Section 38 of Section 553a




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                         EXHIBIT 47




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          buildings and grounds shall hereafter be used excltii,ively for
          State purposes, the title to the same being in the State.
             SEc. 2. That this act take effect and be in force thirty days
          -after its passage, allowing that time for said county to vacate
          :said rooms, &c.
             Approved, April 1st, 1881.




                                             No.      XCVI.
                      • AN ACT To Preserve      the Public Peace and Prevent    Crime.
          'bECTION

               I Carrying of certain weapons constituted      a misdemeanor;    proviso, excepting
                    officers, and persons journeying.
               2 Carrying such weapons otherwise than in the hand, a misdemeanor.
               3 Selling or disposing of such weapons, a misdemeanor.
               4 Violation of act punish~ble by fine from $,50to $200.
               5 Justices of the Peace knowing of violations of provisions of act and refusing
                    to proceed, to be· fined and re>noved.
               6 Same penalty denounced any other officer knowing of Stieb offense.
              ·7 Violators of act how proceeded against.
               8 Conflicting laws repealed; act in force 90 days alter passage.

          Eeit enacted by the General Assernbly of the State of Arkansas:
              SECTION1. That any person who shall wear or carry, in
           any manner whatever, as a weapon, any dirk or bowie knife,
          ·or a sword, or a spear in a cane, brass or metal knucks,
           razor, or any pistol of any kind whatever, except such pistols
           as ai:e used in the army or navy of .the United States, shall be
          guilty of a misdemeanor ; Provided, That officers, whose duties
           req.uire them to make arrests, or to keep and guard prisoners,
          ·together with the persons summoned by such officers, to aid
          them in the discharge of such duties, while actually engaged
           in such duties, are exempted from the provisions of this act.
           P1·ovided, further, That nothing in this act be so construed as
           to prohibit any person from carrying any weapon when upon s.
          journey, or upon his own premises.




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                SEC. 2. Any person, excepting such officers, or persons on
            a journey, and on his premises, as are mentioned in section one
            of this act, who shall wear or carry :my such pistol as in [is]
            us.ed in the army or navy of the United States, in any manner-
            except uncovered, and in his hand, shall be deemed guilty of a
            misdemeanor.
                SEC. 3. Any person who shaJ.l sell, barter or exchange, or-
            otherwise dispose of, or in any manner furnish to any person
            any person any dirk or bowie knife, or a sword or a spear in a
            cane, brass or metal knucks, or any pistol, of any kind whatever,
            except such as are used in the army or navy of the· United
          . States, and known as the navy pistol, or any kind of cartridge,
            for any pistol, or any person who shall keep any such arms or
            cartridges for sale, shall be guilty of a misdemeanor .
              . SEC. 4. Any person convicted of a violation ot any of the
            provisions of this act, shall be punished by a fine of not less
            than fifty nor more than two hundred dollars.
                SEC. 5. Any justice of the peace in this State, who, from
            his own know]c·dge, or from legal information, knows, or has
            reasonable grounds to believe, any person guilty of the viola-
            tion of the pr~visions of this act, and shall fail or refuse to
            proceed against such person, shall be deemed guilty of a non-
            feasance in office, and upon conviction thereof, shall be pun-
            ished by the same fines and penalties as provided in section
            four of this act, and shall be removed from office.
                SEC. 6. Any officer in this State, whose duty it is to make
            arrests, who _may have personal knowledge of any person car-
            rying arms contrary to the provisions of this act, and shall fail
            or refuse to arrest such person and bring him to trial, shall be
            punished, as provided in section four of this act.
                SEc. 7. All persons violating any of the provisions o{ this
            act may be prosecuted in any of the courts of this State, hav-
            ing jurisdiction to try the same.
                SEC. 8. All laws or parts of laws, in conflict with the pro-
            visions of this act are hereby repealed, and this act to take
            effect and be in force ninety days after its passage.
                Approved, April 1st, 1881.




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                  PLAINTIFFS' EXHIBIT Z
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   9   official capacity as Attorney General of the
       State of California
  10
                            IN THE UNITED STATES DISTRICT COURT
  11
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  12
  13
  14
  15   KNIFE RIGHTS, INC., ELIOT                       3:23-cv-00474-JES-DDL
       KAAGAN, JIM MILLER,
  16   GARRISON HAM, NORTH
       COUNTY SHOOTING CENTER,
  17   INC., and PWGG L.P.,                           EXPERT REPORT AND
                                                      DECLARATION OF ROBERT
  18                                      Plaintiffs, SPITZER
  19                v.                                 Dept:         4B
                                                       Judge:        The Honorable James E.
  20                                                                 Simmons, Jr.
       CALIFORNIA ATTORNEY
  21   GENERAL ROB BONTA,
  22                                     Defendant.
  23
  24
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  26
  27
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                         Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1        EXPERT REPORT AND DECLARATION OF ROBERT SPITZER
   2         I, Robert Spitzer, declare under penalty of perjury that the following is true
   3   and correct:
   4        The California Department of Justice has asked me to provide an expert
   5   opinion in the above-captioned matter. My declaration and report below provides
   6   that opinion in detail. This report and declaration is based on my own personal
   7   knowledge and experience, and if I am called to testify as a witness, I could and
   8   would testify competently to the truth of the matters discussed in this report and
   9   declaration.
  10              PROFESSIONAL BACKGROUND AND QUALIFICATIONS
  11         1.       I am a Distinguished Service Professor of Political Science Emeritus at
  12   the State University of New York at Cortland. I was also a visiting professor at
  13   Cornell University for thirty years. I am currently an adjunct professor at the
  14   College of William and Mary School of Law. I earned my Ph.D. in Government
  15   from Cornell University. I reside in Williamsburg, Virginia.
  16         2.       I am the author of 16 books on subjects relating to American politics,
  17   and I have been studying and writing about gun policy for nearly forty years. My
  18   first publication on the subject appeared in 1985. Since then, I have published six
  19   books and over one hundred articles, papers, and essays on gun policy. My
  20   expertise includes the history of gun laws, gun policy in American politics, and
  21   related historical, legal, political, and criminological issues. My book, The Politics
  22   of Gun Control, has been in print since its initial publication in 1995. It examines
  23   firearms policy in the United States through the lenses of history, law, politics, and
  24   criminology. The ninth edition of the book was published in August 2023 by
  25   Routledge Publishers. My two most recent books on gun policy, Guns Across
  26   America (Oxford University Press in 2015, 2017) and The Gun Dilemma (Oxford
  27   University Press, 2023), both deal extensively with the study of historical gun laws.
  28   I am frequently interviewed and quoted in the national and international media on
                                                     1
                        Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   gun-related matters. For over twenty years, I have been a member of the National
   2   Rifle Association and of Brady (formerly, the Brady Campaign to Prevent Gun
   3   Violence).
   4         3.     I have provided written testimony as an expert witness in the following
   5   cases: Worman v. Healey, No. 1:17-10107-WGY (D. Mass.); Hanson v. District of
   6   Columbia, No. 1:22-cv-02256 (D.D.C.); Brumback v. Ferguson, No. 22-cv-3093
   7   (E.D. Wash.); Sullivan v. Ferguson, No. 3:22-cv-05403 (W.D. Wash.); Miller v.
   8   Bonta, No. 3:19-cv-1537 (S.D. Cal.); Duncan v. Bonta, No. 17-cv-1017 (S.D. Cal.);
   9   Fouts v. Bonta, 19-cv-1662 (S.D. Cal.); Rupp v. Bonta, 17-cv-00746 (C.D. Cal.);
  10   Gates et al. v. Polis, No. 1:22-cv-01866 (D. Colo.); Oakland Tactical Supply LLC
  11   v. Howell Township, Case No. 18-cv-13443 (E.D. Mich.); State v. Misch, No. 173-
  12   2-19 Bncr (Vt. Super. Ct. Bennington County); National Association for Gun
  13   Rights, Inc. v. City of Highland Park, 22-cv-4774 (N.D. Ill.); National Association
  14   for Gun Rights & Capen v. Campbell, No. 22-cv-11431 (D. Mass.); Abbott et al. v.
  15   Connor, No. 20-00360 (D. Haw.); National Association for Gun Rights v. Shikada,
  16   No. 1:22-cv-00404 (D. Haw.); Santucci v. Honolulu, No. 1:22-cv-00142 (D. Haw.);
  17   Yukutake v. Shikada, No. 1:22-cv-00323 (D. Haw.); Nat’l Ass’n for Gun Rights v.
  18   Lopez, No. 1:22-CV-00404 (D. Haw.); Abbot v. Lopez, No. 20-00360 (D. Haw.);
  19   Santucci v. City & County of Honolulu, No. 1:22-cv-00142 (D. Haw.); Yukutake v.
  20   Lopez, No. 1:22-cv-00323 (D. Haw.); Baird v. Bonta, 19-cv-00617 (E.D. Cal.);
  21   Nichols v. Newsom, No. 11-cv-9916 (C.D. Cal.); Delaware State Sportsmen’s
  22   Association, Inc. v. Delaware Department Of Safety And Homeland Security, No.
  23   1:22-cv-00951 (D. Del.); Mark Fitz, Grayguns, Inc. v. Rosenblum, No. 22-cv-01859
  24   (D. Ore.); Harrel v. Raoul, No. 23-141 (S.D. Ill.); Mitchell, et al. v. Atkins, et al.;
  25   No. 19-cv-5106 (W.D. Wash.); Keneally et al., v. Raoul, et al., No. 23-cv-50039
  26   (N.D. Ill.); McGregor v. County of Suffolk, No. 2:23-cv-01130 (E.D.N.Y.); Lane v.
  27   James, No. 22-cv-10989 (S.D.N.Y.); Rocky Mountain Gun Owners, et. al. v. The
  28   Town of Superior, No. 22-cv-02680 (D. Colo.); Wiese v. Bonta, No. 17-cv-00903
                                                   2
                      Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   (E.D. Cal.); Harrel v. Raoul, No. 23-cv-141-SPM (S.D. Ill.); Langley v. Kelly, No.
   2   23-cv-192-NJR (S.D. Ill.); Barnett v. Raoul, No. 23-cv-209-RJD (S.D. Ill.); Federal
   3   Firearms Licensees of Illinois v. Pritzker, No. 23-cv-215-NJR (S.D. Ill.); Herrera v.
   4   Raoul, No. 23-cv-532 (N.D. Ill.); Association Of New Jersey Rifle & Pistol Clubs,
   5   Inc. et al. v. Platkin et al., No. 3:18-cv-10507 (D. N.J.); Cheeseman et al. v. Platkin
   6   et al., No. 1:22-cv-04360 (D. N.J.); Ellman et al. v. Platkin et al., No. 3:22-cv-
   7   04397 (D. N.J.); Banta v. Ferguson, No. 23-cv-00112 (E.D. Wash.); Hartford v.
   8   Ferguson, No. 23-cv-05364 (W.D. Wash.); Koppel v. Bonta, No. 8:23-cv-00813
   9   (C.D. Cal.); Calce v. City of New York, No. 1:21-cv-08208 (S.D.N.Y); and Doe v.
  10   Bonta, No. 8:23-cv-01324 (C.D. Cal.).
  11         4.     I have co-authored amicus briefs in numerous cases, including
  12   Nordyke v. King, U.S. Court of Appeals for the Ninth Circuit, 319 F.3d 1185
  13   (2003), Republic of Iraq et al. v. Beaty et al., U.S. Supreme Court, 556 U.S. 848
  14   (2009); McDonald v. Chicago, U.S. Supreme Court, 561 U.S. 724 (2010); Ezell v.
  15   Chicago, U.S. Court of Appeals for the Seventh Circuit, 651 F.3d 684 (2011); and
  16   People of the State of Illinois v. Aguilar, Illinois Supreme Court, No. 08 CR 12069
  17   (2012).
  18         5.     I have also presented written testimony to the U.S. Congress on “The
  19   Second Amendment: A Source of Individual Rights?,” submitted to the Judiciary
  20   Committee, Subcommittee on the Constitution, Federalism, and Property Rights,
  21   U.S. Senate, Washington, D.C., September 23, 1998; “Perspectives on the ‘Stand
  22   Your Ground’ Movement,” submitted to the Judiciary Committee, Subcommittee
  23   on the Constitution, Civil Rights and Human Rights, U.S. Senate, Washington,
  24   D.C., October 29, 2013; and “The Hearing Protection Act to Deregulate Gun
  25   Silencers,” submitted to Committee on Natural Resources, Subcommittee on
  26   Federal Lands, U.S. House of Representatives, Hearings on the Sportsmen’s
  27   Heritage and Recreational Enhancement Act (SHARE Act), Washington, D.C.,
  28   September 12, 2017.
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                      Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1         6.     A true and correct copy of my current curriculum vitae is attached as
   2   Exhibit A to this declaration.
   3                        RETENTION AND COMPENSATION
   4         7.     I have been retained by the California Department of Justice to render
   5   expert opinions in this case. I am being compensated at a rate of $500 per hour. My
   6   compensation is not contingent on the results of my expert analysis or the substance
   7   of my opinions or testimony in this matter.
   8               BASIS FOR OPINION AND MATERIALS CONSIDERED
   9         8.     Counsel for Defendant provided me with the operative Complaint in
  10   this matter, copies of the relevant statutes being challenged, and other case-related
  11   documents pertinent to this matter. Apart from these documents, my report is based
  12   on my independent research.
  13         9.     In my report, I cite a variety of scholarly articles, laws, cases, popular
  14   and learned commentaries, and various other related materials on which I based my
  15   opinions.
  16                                         OPINIONS
  17   I.   INTRODUCTION
  18         10.    In this report, I examine the history of switchblade regulation in the
  19   U.S., and then compare it with the regulatory history of other non-firearms
  20   weapons, including “fighting knives” (the most famous of which was the Bowie
  21   knife) and various types of clubs.
  22         11.    Knives are an ancient technology, and have been widely present in
  23   America throughout its history, including in the history of the Indigenous people
  24   who occupied the lands long before the arrival of Europeans. As this document
  25   demonstrates, however, the regulation of knives in America was not only common,
  26   but ubiquitous, extending back through U.S. history. The regulation of various types
  27   of clubs (another type of non-firearm weapon) was similarly omnipresent in the
  28
                                                   4
                      Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   U.S., extending to every state in the country, and spanning numerous types of
   2   named clubs and similar striking implements.
   3          12.    All of these weapons were subject to the same regulatory sequence:
   4   when various weapons or weapons technologies were developed, began circulating
   5   in civil society, and came to be associated with criminality or threats to public order
   6   and safety, a variety of governmental regulations and restrictions were subsequently
   7   enacted. 1 Restrictions on switchblades are but a more recent example of a
   8   longstanding weapons regulatory tradition in America extending from the Nation’s
   9   earliest days up to the present. As this Declaration shows, the Complainant’s
  10   assertion in this case that the California switchblade law 2 “has no historical
  11   pedigree nor justification in the Nation’s history and tradition of arms regulation”3
  12   is entirely incorrect.
  13   II.   THE STORY OF SWITCHBLADES
  14          13.    The dictionary definition of a switchblade knife is “a pocketknife
  15   having the blade spring-operated so that pressure on a release catch causes it to fly
  16   open.”4 Federal law defines a switchblade as: “any knife having a blade which
  17   opens automatically: (1) by hand pressure applied to a button or other device in the
  18   handle of the knife, or (2) by operation of inertia, gravity, or both.”5 Similarly,
  19   California law defines a switchblade as “a knife having the appearance of a
  20   pocketknife and includes a spring-blade knife, snap-blade knife, gravity knife, or
  21   1
         Robert J. Spitzer, “Understanding Gun Law History After Bruen: Moving
  22   Forward by Looking Back,” Fordham Urban Law Journal 51(2023): 60, 70-71.
       2
         Cal. Penal Code, §§17235, 21510, 21590.
  23   3
         Complaint For Declaratory and Injunctive Relief, Case 3:23-cv-00474-JES-DDL,
       Filed  03/15/23, 7, ¶ 27.
  24   4
         Merriam-Webster Dictionary, https://www.merriam-
       webster.com/dictionary/switchblade. Spring-loaded knives are also referred to as
  25   “automatic knives.” https://www.schrade.com/the_schrade_story/
       5
         15 U.S.C. §1241 (b), https://www.govinfo.gov/content/pkg/USCODE-2011-
  26   title15/html/USCODE-2011-title15-chap29.htm. A useful primer on different types
       of knives is Dave Gilson, “Is That a Switchblade in Your Pocket?” Mother Jones,
  27   December 10, 2012, https://www.motherjones.com/politics/2012/12/knife-types-
       switchblade/
  28
                                                    5
                       Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   any other similar type knife…which can be released automatically by a flick of a
   2   button, pressure on the handle, flip of the wrist or other mechanical device, or is
   3   released by the weight of the blade or by any mechanism whatsoever”; however,
   4   California’s definition of “switchblade” differs from the dictionary definition and
   5   the federal definition, in that it only includes knives with blades that “are two or
   6   more inches in length.”6
   7        A.     The History of Switchblades
   8         14.     Spring-loaded knives of the sort now known as switchblades, where
   9   the blade of the knife is released from a knife handle through the force of a coiled
  10   spring or similar mechanism, date to experimental prototypes in the eighteenth
  11   century. At the end of the nineteenth century, inventor George Schrade “designed,
  12   developed and patented the first ever push button automatic knife.”7 Yet
  13   switchblades did not circulate appreciably or come to be associated with illegal
  14   behavior in the U.S. until well into the twentieth century. More specifically, greater
  15   knife circulation (including among young people and returning members of the
  16   military at the end of World War II, some of whom brought switchblade-type knives
  17   home with them),8 its association with criminality, and depictions in news and
  18   popular culture, led to greater public attention and awareness in the 1950s,9 which
  19   helped prompt a wave of anti-switchblade legislation, culminating in the enactment
  20   of a federal anti-switchblade law in 1958.10 By one account, all but ten states
  21   6
         Cal. Penal Code, §17235.
       7
         Schrade’s initial patent was 1892. https://www.schrade.com/the_schrade_story/
  22   8
         “A Brief History of Switchblade Knives and the Federal Switchblade Act,”
       https://kniferights.org/wp-content/uploads/A-Brief-History-of-Switchblade-Knives-
  23   and-the-Federal-Switchblade-Act-05252023.pdf The military has only issued
       switchblades   to parachutists.
  24   9
         Paul A. Clark, “Criminal Use of Switchblades: Will the Recent Trend Towards
       Legalization Lead to Bloodshed?” Connecticut Public Interest Law Journal
  25   13(2014): 219, 236; David B. Kopel, Clayton E. Cramer, and Joseph E. Olson,
       “Knives and the Second Amendment,” University of Michigan Journal of Law
  26   Reform   47(2013): 176.
       10
          Anti-Switchblade Act of 1958, 15 U.S.C. § 1243 (1958). The law restricts the
  27   importation and interstate transport of switchblades, but exempts the military, law
       enforcement, and people with one arm. In 2009 Congress amended the law to
  28
                                                    6
                       Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   enacted anti-switchblade laws in the 1950s, and even states without switchblade
   2   laws had pre-existing legislative restrictions against concealed weapons carrying,
   3   including knives. 11
   4         15.    As a result of the sparse literature on the history of, and motivations
   5   for the enactment of, anti-switchblade laws, some people belittle or dismiss the
   6   motivations for enactment of such laws as the product of “Hollywood’s
   7   sensationalism,”12 and little more than “a widespread perception that switchblade
   8   knives were the tool of thugs and juvenile delinquents.”13 For example, Paul A.
   9   Clark, a critic of switchblade knife restrictions, argued that Congress’s enactment of
  10   the 1958 federal law was based on “little hard data” and little more than an
  11   “assortment of anecdotes.”14 Yet these explanations are inadequate and, to some
  12   degree, inaccurate.
  13         16.    In order to better understand the provenance of switchblade policy, I
  14   conducted a search of newspapers.com15 to chronicle references to switchblades,
  15   beginning in 1870 and continuing up to 1959. Several trends emerged. First, I
  16   uncovered virtually no references to switchblade-type pocket knives, aside from
  17   some pertaining to machine parts (not hand-held knives) used in manufacturing that
  18   utilized what were also termed switchblades, until the early twentieth century. The
  19   first multiple newspaper accounts of switchblades appeared in the mid-1920s,
  20   increasing in the 1930s and persisting through the years of World War II (1941-45).
  21   During this period, relatively few switchblade crimes were reported, but those
  22
       exempt from restriction pocket knives that could be opened with one hand. 123
  23   Stat. 2183 (2009).
       11
          Clark, “Criminal Use of Switchblades,” 219; Robert J. Spitzer, “Gun Law
  24   History in the United States and Second Amendment Rights,” Law and
       Contemporary   Problems 80(2017): 63-67.
  25   12
          Kopel, Cramer, and Olson, “Knives and the Second Amendment,” 176.
       13
          Clark, “Criminal Use of Switchblades,” 219.
  26   14
       15
          Clark, “Criminal Use of Switchblades,” 240.
          Newspapers.com says it is the largest online newspaper archive, incorporating
  27   over 24,000 newspapers and over 916 million pages. Searches of “automatic knife”
       yielded mostly references to industrial or manufacturing cutting devices, along with
  28   scattered advertisements for switchblade-type pocket knives.
                                                   7
                      Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   crimes that did receive coverage were often reprinted in many newspapers. After
   2   World War II, however, from the late 1940s through the mid-1950s, news reports
   3   and stories of switchblade crimes exploded in numbers (as set forth in more detail
   4   below).
   5         17.    Second, instances of reported criminality involving switchblades
   6   during the pre-World War II period occurred almost entirely in Southern states.
   7         18.    Third, the reported crimes nearly always involved African Americans,
   8   who were nearly always the perpetrators and victims, as the news accounts were
   9   generally careful to identify the race of the assailants and victims when they were
  10   Blacks.16
  11         19.    Fourth, an appreciable number of the perpetrators were women—a
  12   notable fact since violent crime, especially in prior decades, was and is typically
  13   committed by men.
  14         20.    Reasons for the absence of remedial legislation to restrict switchblades
  15   through the 1930s appears to be two-fold. First, the number of incidents of
  16   switchblade crimes, based on the relatively few instances of such reports confined
  17   to one part of the country, was relatively low up through the 1930s, compared with
  18   overall violent crime. Second, switchblade criminality seemed confined to African
  19   American communities in Southern states. Given a racist society where dominant
  20   whites in white-controlled Southern segregationist states were relatively
  21   unconcerned about crime that occurred within the confines of the African American
  22   community (as long as the criminality did not affect whites in appreciable
  23   numbers), it is not surprising that white leaders would take little interest in moving
  24   to address crime problems that did not affect the white community.
  25         21.    Moreover, my survey of switchblade news stories in newspapers.com
  26   reflects a rising tide of switchblade crime stories during this time period
  27
       16
         When crimes were committed by whites, news accounts never mentioned their
  28   race.
                                                   8
                      Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   (particularly switchblade crimes committed by juveniles, as detailed below). While
   2   this aggregate summary of news stories, summarized below, is a blunt measurement
   3   of switchblade criminality, it is nevertheless revealing.
   4         22.    From 1921 to 1939, a search of the term “switchblade” in
   5   newspapers.com yielded a total of 424 stories; from 1940 to 1945, 17 the search
   6   found 612 stories; from 1946 to 1950, it produced 824 stories; from 1951 to 1955,
   7   9,713 stories; and from 1956 to 1959, 19,929 stories. These numbers likely
   8   underestimate the number of newspaper stories about “switchblades” because, as
   9   noted below in Paragraph 26, many news stories simply reported “knife stabbings,”
  10   without specifying that the knife involved was a switchblade.
  11         23.    In addition, I also searched the New York Times newspaper archives 18
  12   using the same “switchblade” term. The earliest story reported an instance of a
  13   crime committed with a switchblade in New York City in 1944,19 suggesting that
  14   switchblade crime continued to be confined mostly to Southern states until after
  15   World War II.
  16         24.    It is important to note that the aggregate numbers of stories spanning
  17   many thousands of newspapers in America are inflated by the fact that single
  18   criminal incidents were reprinted in dozens or more newspapers thanks to the
  19   sharing of wire service news. That is, the total number of stories vastly exceeds the
  20
       17
          The U.S. entered World War II at the end of 1941, but the country was
  21   transitioning to a war footing before the Pearl Harbor attack on December 7, 1941.
       The entrance of millions of young men into military service, and the country’s total
  22   mobilization  for war, helped suppress domestic crime.
       18
          The “Times Machine” is “a browser-based digital replica of all issues of The
  23   New York Times from 1851-2002.” https://help.nytimes.com/hc/en-
       us/articles/115014772767-New-York-Times-Archived-Articles-and-
  24   TimesMachine-;    see also https://timesmachine.nytimes.com.
       19
          “Marine Charged in Girl’s Murder,” New York Times, October 8, 1944,
  25   https://timesmachine.nytimes.com/timesmachine/1944/10/08/84003274.html?page
       Number=45. The account involved a Marine accused of murdering a woman with a
  26   switchblade. The next switchblade story appeared in 1949, describing the arrest of a
       16-year-old in possession of a switchblade. “Recommending Lawyer Puts Him in
  27   Need of One,” New York Times, February 19, 1949,
       https://timesmachine.nytimes.com/timesmachine/1949/02/19/86767576.html?page
  28   Number=30. The Times archive dates back to the mid-1800s.
                                                    9
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   1   number of discrete instances of switchblade crime because most of them are single
   2   instances that were reported in many newspapers. But given that this was true
   3   throughout (though not limited to) this entire time period, it allows for meaningful
   4   comparison of aggregate news stories totals over time. Without question, the data
   5   buttress the conclusions that switchblade crimes increased after World War II,
   6   spread to areas of the country outside of the South, and that public debate over how
   7   to address the problem also escalated.
   8         25.     The massive increase in news coverage in the 1950s cannot be
   9   dismissed as simply hype or irrational fear, as these contemporaneous news
  10   accounts of switchblade crime demonstrate. Similarly, the wave of anti-switchblade
  11   laws during this time cannot be dismissed as the product of Hollywood-induced
  12   hysteria or media frenzy, as these news stories were reporting on actual switchblade
  13   crimes, and also on the spreading national debate concerning how best to address
  14   the related switchblade crime and juvenile delinquency problems.
  15        B.     Switchblades, Juveniles, and Crime
  16         26.     In addition to the commission of switchblade crime, another related,
  17   rising societal concern was easy switchblade accessibility and acquisition by
  18   children and teenagers (and instances where juvenile switchblade acquisition and
  19   criminality overlapped). For example, these concerns came together in a widely
  20   circulated magazine article published in 1950 in the then-popular national
  21   magazine, Woman’s Home Companion, titled, “The Toy That Kills.”20 In it, the
  22   author chronicled the spread, easy access, and availability of switchblades,
  23   especially among young people. Unlike traditional pocket knives, switchblades’
  24   ease of opening and thin, sharp, pointed blade lent them to be used impulsively and
  25   lethally as stabbing and slashing instruments. Article author Jack Harrison Pollack
  26   was forceful in expressing dismay over the knives’ baneful consequences, but he
  27   20
         Jack Harrison Pollack, “The Toy That Kills,” Woman’s Home Companion,
       November 1950, https://kniferights.org/wp-
  28   content/uploads/2017/07/TheToyThatKills.pdf
                                                   10
                       Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   was also careful not to exaggerate the problem, saying that up to that time,
   2   switchblades were responsible for “a few dozen children killed, somewhat more
   3   wounded. But the point is, all these unnecessary tragedies are increasing.” Pollack
   4   explained the weapon’s operation this way: “To open it, you merely press a button
   5   and instantly the blade darts out like a snake’s tongue and locks firmly in that
   6   position. Any child can operate it easily with one hand. An ordinary penknife takes
   7   two hands and doesn’t have a dagger-tip point.”
   8            27.   Pollack’s nationwide investigation included interviews with police and
   9   prosecutors, eyewitness accounts of switchblade sales to children as young as
  10   twelve, examination of police crime records, and detailed accounts of several
  11   switchblade stabbings, one of which he witnessed. He investigated among other
  12   things the ease with which children and teens could purchase the knives in six of
  13   the country’s largest cities. Pollack wrote, “I was stunned to find how many crimes
  14   of violence revolve around a switchblade. Most newspapers merely report a ‘knife
  15   stabbing,’ neglecting to tell you a switchblade was the culprit.” Among Pollack’s
  16   interviewees was a homicide police captain in Cleveland who reported: “Last year
  17   we had one hundred and sixty-nine stabbings, one hundred and forty of them with
  18   switchblade knives. During the same period switchblades were responsible for one
  19   fourth of our homicides. Half of the killers were under twenty-three.” Pollock’s
  20   conclusion: “Every expert with whom I talked—including the nation’s leading
  21   sportsmen—agreed that switchblade knives have no legitimate use in civilian life.”
  22   He concluded with five recommendations, mostly exhorting parents to keep
  23   switchblades away from their children, to cooperate with police, and to “[w]ork for
  24   passage of a state law which bans switchblades and controls other dangerous
  25   knives.”21
  26            28.   A sidebar attached to the story included approving quotes from John
  27   M. Gleason, then national President of the International Association of Chiefs of
  28   21
            All preceding quotes from Pollack, “The Toy That Kills.”
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                        Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   Police, whose comments included: “teen-agers are being killed needlessly by a
   2   gadget [i.e., switchblades] which should be brought under greater control. The
   3   WOMAN’S HOME COMPANION deserves thanks for publicizing such a
   4   problem.” Pollack’s article was widely reprinted and reported in newspapers around
   5   the country.
   6         29.      The Pollack article certainly brought more attention to the switchblade
   7   problem, but increasing news stories of actual switchblade crimes from around the
   8   country also continued to chronicle the growing problem. For example, the police
   9   chief of Paterson, New Jersey commented in 1952, the year that the state adopted
  10   an anti-switchblade law, that “in the majority of knife assaults investigated by
  11   police, the weapon used was a switchblade knife.”22 New York Governor Thomas
  12   E. Dewey (R) reportedly said that, of 4420 felonious assaults and 99 homicides in
  13   New York City committed in 1953, over a third of those crimes were committed
  14   with switchblades.23 Beyond these data, police, prosecutors, judges, editorial
  15   writers, and good government groups all supported restrictions on switchblades.
  16   Many of the news stories in the 1950s also covered calls and efforts to press for
  17   anti-switchblade measures, in addition to continued reporting of switchblade crime.
  18        C.     Calls for Anti-Switchblade Regulation
  19         30.      By the time Congress enacted the Anti-Switchblade Act of 1958, at
  20   least twenty states had enacted similar laws. One critic of switchblade knife
  21   restrictions dismissed Congress’s action as based on “surprisingly little hard data on
  22   the use of switchblades” and a simple collection of “anecdotes”24 by congressional
  23   investigators. Another charged that this and other laws were simply the product of
  24   irrational “moral panic.”25
  25   22
          “Switchblade Law Hailed by Walker; To Curb Slashings,” The News (Paterson,
       NJ), June 19, 1952, https://www.newspapers.com/image/526740433
  26   23
          “Switchblade Knife Law Is Signed by Governor,” Binghamton (N.Y.) Press and
       Sun-Bulletin,  March 28, 1954, https://www.newspapers.com/image/254405992
  27   24
          Clark, “Criminal Use of Switchblades,” 240.
       25
          Rick Fuller, “The Man Who Created Moral Panic,” Medium, July 13, 2021,
  28   https://authorrickf.medium.com/the-man-who-created-moral-panic-7ccd2a439c47
                                                    12
                        Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1         31.    Yet Congress’s information gathering preceding the enactment of the
   2   1958 law revealed much more extensive and systematic efforts to gauge problems
   3   connected with switchblades than critics suggest. The U.S. Senate investigation was
   4   led by Sen. Estes Kefauver (D-TN), who was chief sponsor of the switchblade bill.
   5   Kefauver first won national attention in 1950 when he chaired a special Senate
   6   committee to investigate organized crime. Testifying before the Senate Commerce
   7   Committee in 1958, Kefauver reported results from the Senate Subcommittee on
   8   Juvenile Delinquency’s investigation of the extent to which the knives contributed
   9   to criminality and were falling into the hands of juveniles. It found that about 1.2
  10   million switchblades were sold in the country annually, including 200,000 imported
  11   knives, and that 5 million had been sold in the previous five years, “principally to
  12   juveniles.”26 Kefauver also reported that in 1956 hundreds of switchblades had been
  13   confiscated from soldiers stationed at three American military bases. 27 The
  14   committee surveyed local police departments, marshals, and sheriffs around the
  15   country. Testimony from the subcommittee counsel indicated that police chiefs
  16   throughout the country reported almost without exception that switchblades posed a
  17   significant criminal threat, that the knives were often used by juvenile criminals in
  18   particular, and that they supported new federal legislation. 28 Among the comments
  19   solicited by the subcommittee in the previous year’s investigation, the San
  20   Francisco Chief of Police reported “that a substantial amount of our juvenile crimes
  21   of violence involve the use of this type of knife.”29 Correspondence from the Des
  22   26
          “Switchblade Knives,” Hearing Before the Committee on Interstate and Foreign
       Commerce, U.S. Senate, July 23, 1958, 1, 5,
  23   https://www.google.com/books/edition/Switchblade_Knives/bSoTAAAAIAAJ?hl=
       en&gbpv=1&dq=%E2%80%9CSwitchblade+Knives,%E2%80%9D+Hearing+Befo
  24   re+the+Committee+on+Interstate+and+Foreign+Commerce,+U.S.+Senate,+July+2
       3,+1958,&pg=PA20&printsec=frontcover
  25   27
          “Switchblade Knives,” 3. Switchblades were not military issue, except to
       parachutists.
  26   28
       29
          “Switchblade Knives,” 5.
          Congressional Record, U.S. Senate, July 16, 1957, 11795,
  27   https://www.govinfo.gov/content/pkg/GPO-CRECB-1957-pt9/pdf/GPO-CRECB-
       1957-pt9-5.pdf
  28
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   1   Moines, Iowa Police Department dated July 8, 1957, reported from a local store
   2   owner who said that the typical purchasers of switchblades were “from 14 to 18
   3   years” of age.30 A police chief from Longview, Texas said that “teen-agers are the
   4   ones who are buying most of these knives.”31
   5         32.     Bearing in mind that record-keeping in the 1950s pertaining to
   6   criminal offenses, types of weapons used, and sales data was far more primitive,
   7   limited, decentralized, and incomplete than what exists today, the subcommittee
   8   made a strenuous effort to gather the best information available at the time. Beyond
   9   that, opinions from criminal justice and child welfare interests uniformly supported
  10   anti-switchblade legislation.
  11   III. HISTORICAL REGULATION ON THE BOWIE KNIFE AND SIMILAR LONG-
            BLADED KNIVES
  12
             33.     In addition to the switchblade-specific regulations discussed above,
  13
       knives have been subject to regulation throughout U.S. history.
  14
            A.     Historical Knife Regulations
  15
             34.     The Bowie knife is generally credited with having been invented by
  16
       the brother of adventurer Jim Bowie, Rezin Bowie. The knife was named after Jim
  17
       Bowie, who reputedly killed one man and wounded another using the “big knife”
  18
       given to him by his brother in the alternately notorious or celebrated “Sandbar
  19
       Duel” in 1827.32
  20
  21
       30
          Congressional Record, 11795.
  22   31
          Congressional Record, 11795.
       32
         “Bowie Knife,” Encyclopedia of Arkansas, n.d.,
  23   https://encyclopediaofarkansas.net/
       entries/bowie-knife-2738/; William C. Davis, Three Roads to the Alamo (NY:
  24   HarperCollins, 1998), 207-8. Davis persuasively dismisses the claim of a
       blacksmith, James Black, that he invented or styled the distinctive knife for Rezin
  25   Bowie (676–77). David Kopel says, erroneously, that “Jim Bowie used a traditional
       knife at a famous ‘sandbar fight’ on the lower Mississippi River in 1827.” Rezin
  26   Bowie had just developed the distinctive knife his brother used in the fight, so it
       could not have been “traditional.” David Kopel, “Bowie knife statutes 1837-1899,”
  27   The Volokh Conspiracy, November 20, 2022,
       https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/
  28
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   1         35.    The “Bowie knife” rapidly became known beginning in the 1830s for
   2   the distinctive type of long-bladed and usually single-edged knife with a hand guard
   3   identified with Bowie, the man after whom the knife was named. While Bowie
   4   knives initially “came in a variety of forms—with or without guards, with
   5   differently shaped blades”—they eventually became more standardized as “a large
   6   knife with a cross guard and a blade with a clipped point.” 33 The distinctive
   7   features of the Bowie knife are revealed in Robert Abels’ book, Bowie Knives,
   8   which includes pictures of nearly one hundred such knives made between 1835 and
   9   1890.34 The Bowie legend, the explosive growth and spread of Bowie-related
  10   mythology (only magnified by his death at the Alamo in 1836), and the knife’s
  11   distinctive features, encouraged its proliferation, 35 referred to by one historian as
  12   “the craze for the knives.”36
  13         36.    As was true of other knives with long, thin blades, 37 Bowie knives
  14   were widely used in fights and duels, especially at a time when single-shot pistols
  15   were often unreliable and inaccurate.38 Indeed, such knives were known as
  16   “fighting knives”39 that were “intended for [interpersonal] combat.” 40 In the early
  17   nineteenth century, “guns and knives accounted for a growing share of the known
  18
  19   33
          “Bowie Knife,” Encyclopedia of Arkansas, n.d.,
       https://encyclopediaofarkansas.net/
  20   entries/bowie-knife-2738/.
       34
          Robert Abels, Bowie Knives (NY: Abels, 1979).
  21   35
          Virgil E. Baugh, Rendezvous at the Alamo (Lincoln, NE: University of Nebraska
       Press, 1985), 39–63.
  22   36
          Davis, Three Roads to the Alamo, 583.
       37
          Other such long-bladed, thin knives of varying configurations typically named in
  23   laws barring their carrying included the Arkansas toothpick, the Spanish stiletto,
       dirks, daggers, and the like.
  24   38
          Davis, Three Roads to the Alamo, 164, 208; Baugh, Rendezvous at the Alamo, 42;
       Karen Harris, “Bowie Knives: The Old West’s Most Famous Blade,” Oldwest, n.d.,
  25   https://www.oldwest.org/bowie-knife-history/; Norm Flayderman, The Bowie Knife
       (Lincoln, RI: Andrew Mowbray, 2004), 485; Paul Kirchner, Bowie Knife Fights,
  26   Fighters,  and Fighting Techniques (Boulder, CO: Paladin Press, 2010), 35-44.
       39
          Randall Roth, American Homicide (Cambridge, MA: Harvard University Press,
  27   2009),  218.
       40
          Flayderman, The Bowie Knife, 59.
  28
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   1   weapons that whites used to kill other whites.”41 In 1834, for example, a grand jury
   2   in Jasper County, Georgia deplored “the practice which is common amongst us
   3   with the young the middle aged and the aged to arm themselves with Pistols, dirks
   4   knives sticks & spears under the specious pretence of protecting themselves against
   5   insult, when in fact being so armed they frequently insult others with impunity, or if
   6   resistance is made the pistol dirk or club is immediately resorted to, hence we so
   7   often hear of the stabbing shooting & murdering so many of our citizens.”42
   8          37.    Homicide rates increased in the South in the early nineteenth century,
   9   as did laws restricting the carry of concealed weapons (including, but not limited to,
  10   knives). Dueling also persisted during this time, even as the practice was widely
  11   deplored by religious and other groups, in newspapers, by anti-dueling societies and
  12   political leaders.43
  13          38.    Bowie knife writer Norm Flayderman provides abundant and prolific
  14   evidence of the spread and early criminal use of Bowie knives in the 1830s, quoting
  15   from dozens of contemporaneous newspaper and other accounts, and providing
  16   references to literally hundreds of additional articles and accounts attesting to the
  17   widespread use of Bowie knives in fights, duels, brawls and other criminal
  18   activities.44 Flayderman concludes that, as early as 1836, “most of the American
  19   public was well aware of the Bowie knife.” 45 All this contributed to widespread
  20   enactment of laws prohibiting dueling in the states.46 In 1839, Congress passed a
  21   41
          Roth, American Homicide, 218.
       42
          Quoted in Roth, American Homicide, 218–19.
  22   43
          Baugh, Rendezvous at the Alamo, 51.
       44
          Flayderman, The Bowie Knife, 25–64; 495–502.
  23          45
                Flayderman, The Bowie Knife, 43. Very much like the allure of
       contemporary assault weapons to some (see Ryan Busse, Gunfight (NY: Public
  24   Affairs, 2021), 12–15, 65; David Altheide, “The cycle of fear that drives assault
       weapon sales,” The Guardian, March 2, 2013,
  25   https://www.theguardian.com/commentisfree/2013/mar/02/cycle-fear-assault-
       weapon-sales; Rukmani Bhatia, “Guns, Lies, and Fear,” American Progress, April
  26   24, 2019, https://www.americanprogress.org/article/guns-lies-fear/), the Bowie
       knife’s notorious reputation also, if perversely, fanned its sale and acquisition (see
  27   Flayderman,   The Bowie Knife, 46).
       46
          A search for the word “duel” in the Duke Center for Firearms Law database of
  28
                                                   16
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   1   measure barring dueling in the District of Columbia. 47 Both pistols and knives
   2   were prominently used in such affairs.48
   3          39.       At least three state court cases dealt in some manner with fighting
   4   knives like the Bowie knife. In the 1840 case of Aymette v. State,49 the Supreme
   5   Court of Tennessee upheld the conviction of William Aymette for wearing a Bowie
   6   knife concealed under his clothes under a state law of 1837–1838, ch. 137, sec. 2,
   7   providing “that, if any person shall wear any bowie-knife, or Arkansas toothpick, or
   8   other knife or weapon that shall in form, shape, or size resemble a bowie-knife or
   9   Arkansas toothpick, under his clothes, or keep the same concealed about his person
  10   such person shall be guilty of a misdemeanor, and, upon conviction thereof, shall be
  11   fined in a sum not less than two hundred dollars, and shall be imprisoned in the
  12   county jail not less than three months and not more than six months.” 50 In its
  13   decision, the court concluded that the prohibition against wearing the named
  14   weapons was well justified in that they “are usually employed in private broils, and
  15   which are efficient only in the hands of the robber and the assassin.” 51 The court
  16   continued, “The Legislature, therefore, have a right to prohibit the wearing or
  17   keeping weapons dangerous to the peace and safety of the citizens. . . .”52 Further,
  18   the court added that the state law existed “to preserve the public peace, and protect
  19   our citizens from the terror which a wanton and unusual exhibition of arms might
  20   produce, or their lives from being endangered by desperadoes with concealed
  21   arms. . . .”53
  22
  23   old gun laws yields 42 results. See https://firearmslaw.duke.edu/repository/search-
       the-repository/.
  24   47
          H.R. 8, Joint Resolution Prohibiting Dueling, introduced March 5, 1838,
       https://history.house.gov/Records-and-Research/Listing/lfp_032/.
  25   48
          Roth, American Homicide, 180–83, 210–17.
       49
          Cited in District of Columbia v. Heller, 554 U.S. 570 (2008).
  26   50
          Aymette v. State, 21 Tenn. 152, 153 (Tenn. 1840).
       51
          Aymette v. State, 156.
  27   52
          Aymette v. State, 157.
       53
          Aymette v. State, 157.
  28
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   1         40.    Four years later, the Tennessee Supreme Court again dealt with a
   2   Bowie knife law violation and challenge. In the case of Haynes v. Tennessee
   3   (1844),54 Stephen Haynes was indicted for carrying a concealed Bowie knife. He
   4   was convicted of wearing a knife that resembled a Bowie knife but appealed his
   5   conviction on the grounds that he was actually carrying a “Mexican pirate knife,”
   6   which reputedly had a shorter, narrower blade. (At the trial, witnesses disagreed as
   7   to the proper name for the knife in question.) He also argued that the state law, in
   8   listing various types of knives including those “similar” to Bowie knives, was “too
   9   indefinite” and could therefore lead to “absurd consequences” that “must follow its
  10   enforcement. . . .”55 On appeal, the court upheld his conviction and commended the
  11   Tennessee state legislature’s enactment: “The design of the statute was to prohibit
  12   the wearing of bowie knives and others of a similar description, which the
  13   experience of the country had proven to be extremely dangerous and destructive to
  14   human life; the carrying of which by truculent and evil disposed persons but too
  15   often ended in assassination.”56 The court continued: “The design, meaning, and
  16   intent was to guard against the destruction of human life, by prohibiting the wearing
  17   [of] heavy, dangerous, destructive knives, the only use of which is to kill. . . .” 57 The
  18   court noted that the state law “wisely provides against bowie knives, Arkansas
  19   tooth picks, or any other weapon in form, shape or size, resembling them.” 58 Noting
  20   the similarity among knives and the possibility of an unjust outcome where, say, a
  21   person might be convicted of carrying a mere pocket knife, the court posed this
  22   question: “what is to protect against conviction, when the words of the statute cover
  23   the charge, and its true spirit and meaning does not?” Their answer: “the judge and
  24   jury who try the case.”59 As the author of a book on Bowie knives noted, “the fact
  25   54
          Haynes v. Tennessee, 24 Tenn. 120 (1844).
       55
          Haynes v. Tennessee, 122.
  26   56
          Haynes v. Tennessee, 122.
       57
          Haynes v. Tennessee, 123.
  27   58
          Haynes v. Tennessee, 122.
       59
         Haynes v. Tennessee, 123.
  28
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   1   that the term ‘bowie knife’ had never been precisely defined did not help his
   2   [Haynes’s] case.”60
   3         41.    A third state court case relevant to the legal status of Bowie knives is
   4   Cockrum v. State of Texas, 1859.61 The Cockrum case involved John Cockrum, who
   5   was charged with the murder of his brother-in-law, William Self, with a Bowie
   6   knife.62 Under Texas law, “a homicide, which would otherwise be a case of
   7   manslaughter, if committed with a bowie-knife or dagger, shall be deemed murder
   8   and punished as such. . . .”63 The court upheld the added penalty provision of the
   9   law relating to use of a Bowie knife, despite the court’s very expansive
  10   interpretation of the right to bear arms, but reversed and remanded the man’s
  11   conviction because of an error related to statutory changes and jury instructions. It
  12   described the Bowie knife as “an exceeding destructive weapon,” an “instrument of
  13   almost certain death,” and “the most deadly of all weapons in common use.” 64
  14   60
          Kirchner, Bowie Knife Fights, Fighters, and Fighting Techniques, 43.
       61
          Cockrum v. State, 24 Tex. 394 (1859), https://constitution.org/1-
  15   Constitution/2ll/2ndcourt/state/177st.htm. David Kopel says that a fourth case,
       Nunn v. State, 1 Ga. 243 (1846), is a “major state supreme court case[s] involving
  16   Bowie knives.” “The legal history of bans on firearms and Bowie knives before
       1900,” The Volokh Conspiracy, November 20, 2022,
  17   https://reason.com/volokh/2022/11/20/the-legal-history-of-bans-on-firearms-and-
       bowie-knives-before-1900/. But Nunn involved a man who was prosecuted for
  18   carrying a pistol (openly, not concealed), not a knife. A state law criminalized
       concealed carry of various named weapons, including pistols and Bowie knives,
  19   whereas a different provision allowed for open carrying of named weapons,
       including Bowie knives, but failed to include pistols on that list. Noting the “great
  20   vagueness” in the statute’s wording, the court reversed the man’s conviction and
       wrote that there was a constitutional right to open carry “for the important end to be
  21   attained: the rearing up and qualifying a well-regulated militia, so vitally necessary
       to the security of a free State.” By contrast, the court upheld the constitutionality of
  22   the concealed carry restrictions and noted that those restrictions were enacted “to
       guard and protect the citizens of the State against the unwarrantable and too
  23   prevalent
       62
                   use of deadly weapons.” 246; italics in original.
          https://www.genealogy.com/ftm/p/i/l/Karen-Pilgrim-TX/WEBSITE-0001/UHP-
  24   0254.html
       63
          Cockrum v. State, 394.
  25   64
          Cockrum v. State, 403–04. Kopel says, incorrectly, that “Bowie knives. . . were
       regulated the same as a butcher’s knife.” According to the Duke Center for
  26   Firearms Law Repository of Historical Gun Laws
       (https://firearmslaw.duke.edu/repository/search-the-repository/) six states had laws
  27   that restricted butcher knives by name, whereas 42 states restricted Bowie knives by
       name. See Exhibits B and D. Kopel, “Bowie knife statutes 1837-1899.”
  28
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   1   Further, the court said: “He who carries such a weapon . . . makes himself more
   2   dangerous to the rights of others, considering the frailties of human nature, than if
   3   he carried a less dangerous weapon.” 65
   4         42.    All of these cases underscore historical courts’ recognition of the
   5   dangerous nature and nefarious use of Bowie knives, not only by the courts’
   6   characterizations of them, but by the fact that they are treated in the same restrictive
   7   and prohibitory manner in law as other dangerous, deadly weapons, including
   8   pistols and various named clubs. 66
   9         43.    The ubiquity of the concern about the criminological consequences of
  10   carrying Bowie knives and other, similar long-bladed knives is seen in the
  11   widespread adoption of laws barring or restricting these weapons. 67 In the 1830s, at
  12   least six states enacted laws barring the carrying of Bowie knives by name. 68 From
  13   then to the start of the twentieth century, every state plus the District of Columbia
  14   (with the sole exception of New Hampshire) restricted Bowie knives: a total of at
  15   least 42 states (including the District of Columbia) barred or restricted Bowie
  16
       65
          Cockrum v. State, 403.
  17   66
          Among the notorious incidents attached to the Bowie knife was its use by two of
       the conspirators in the Lincoln assassination in 1865. The plan was to assassinate
  18   President Lincoln, Vice President Andrew Johnson, and Secretary of State William
       Seward. The man assigned to attack Seward, Lewis Powell, entered the Seward
  19   home armed with a pistol and a Bowie knife. When one of Seward’s sons tried to
       stop him, Powell tried to shoot him, but his gun misfired, so he used it as a club
  20   against the son. When he encountered another son, Powell slashed him with his
       Bowie knife, the weapon he then used to attack Seward who, thanks to a neck
  21   collar, survived. David Morgan, “Lincoln assassination: The other murder attempt,”
       CBS News, May 10, 2015, https://www.cbsnews.com/news/lincoln-assassination-
  22   the-other-murder-attempt/; https://www.history.com/topics/american-civil-
       war/william-seward. John Wilkes Booth also carried what was later identified as a
  23   Bowie knife, which he used to slash the man who accompanied Lincoln to the
       theater and who tried to stop Booth after he shot the president. Booth slashed the
  24   man in the arm with his knife to make his escape.
       https://lincolnconspirators.com/2018/12/31/cloak-and-daggers-cutting-through-the-
  25   confusion-of-the-assassination-knives/
       67
          The near-immediate effort in the states to restrict Bowie knives was noted, for
  26   example, in Davis, Three Roads to the Alamo, 582, and in Flayderman, The Bowie
       Knife,  53–54.
  27   68
          A seventh state, Massachusetts, criminalized the carrying of fighting knives
       using labels that would have included the Bowie knife in an 1836 law.
  28
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   1   knives by name; and another 8 states enacted laws restricting the category or type
   2   of knife embodied by the Bowie knife but without mentioning them by name (see
   3   Exhibits B and D) totaling 49 states plus the District of Columbia. 69
   4         44.    For example, 15 states banned all carrying of Bowie knives (by
   5   banning both concealed carry and open carry), while others imposed taxes on
   6   individuals’ acquisition or possession of them. Georgia sought to stamp out Bowie
   7   knife circulation (as well as that of other named weapons) in an 1837 law: “it shall
   8   not be lawful for any merchant, or vender of wares or merchandize in this State, or
   9   any other person or persons whatsoever, to sell, or offer to sell, or to keep, or to
  10   have about their person or elsewhere, any of the hereinafter described weapons . . .
  11   Bowie, or any other kinds of knives, manufactured and sold for the purpose of
  12   wearing, or carrying the same as arms of offence or defense, pistols, dirks, sword
  13   canes, spears, &c.”70 The desirability and utility of concealed-carry restrictions was
  14   precisely that they pushed dangerous weapons out of public spaces and places,
  15   improving public safety through the deterrent and punishment effects of such laws,
  16   and also discouraging the settlement of private grievances and disputes in public
  17   through weapons-fueled violence.
  18         45.    States were imaginative and persistent in their effort to suppress
  19   fighting knives and other weapons. For example, an 1881 Arkansas law combined
  20   no-carry provisions (whether concealed or openly) applying to “any dirk or bowie
  21   knife, or a sword, or a spear in a cane, brass or metal knuck[le]s, razor, or any pistol
  22   of any kind whatever” with another provision in the same law that made it a
  23   misdemeanor to “sell, barter or exchange, or otherwise dispose of, or in any manner
  24   furnish to any person” the aforementioned weapons, including “any kind of
  25
       69
          Bowie law enactment by decade: 1830s: 6 states; 1840s: 4 states; 1850s: 11
  26   states; 1860s: 13 states; 1870s: 19 states; 1880s: 20 states; 1890s: 21 states; 1900s:
       13  states. See Exhibit B.
  27   70
          1837 Ga. Acts 90, An Act to Guard and Protect the Citizens of this State, Against
       the Unwarrantable and too Prevalent use of Deadly Weapons, § 1.
  28
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   1   cartridge.”71 Even though the law allowed persons to have the weapons on their
   2   own premises, it begs the question of how, exactly, a person could legally obtain
   3   such weapons in the first place if they weren’t already owned within a family
   4   before the 1881 law was enacted.
   5         46.     States relied on a variety of regulatory techniques to suppress Bowie
   6   knife carrying: 29 states enacted laws to bar their concealed carry; 15 states barred
   7   their carry whether concealed or openly; 7 states enacted enhanced criminal
   8   penalties for those who used the knives to commit a crime; 4 states enacted
   9   regulatory taxes attached to their commercial sale; 3 states imposed a tax for those
  10   who owned the knives; 10 states barred their sale to specified groups of people; and
  11   4 states enacted penalties for brandishing the knives (see Exhibits B and D). In
  12   addition, these laws would often expressly exempt from restriction common pocket
  13   knives.72
  14        B.     The Difficulties of Prohibiting Knife Possession
  15         47.     The extensive and ubiquitous nature of these Bowie knife prohibitions
  16   raises a further question: given the universal agreement that these knives were
  17   dangerous, why not simply ban their possession outright? The answer is two-fold.
  18   First, America was a developing nation-state in the nineteenth century. The federal
  19   and state governments did not yet possess the maturity, powers, tools, or resources
  20   to implement any measure as sweeping as a knife ban, especially since knives are
  21   71
          1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime,
       chap. XCVI (96), § §1-3. The law also made exceptions for military weapons, for
  22   officers, and legal transport for people on a journey, a common exception in such
       laws.
  23   72
          E.g., 1896-99 Alaska Sess. Laws 1270, An Act To Define And Punish Crimes In
       The District Of Alaska And To Provide A Code Of Criminal Procedure For Said
  24   District, chap. 6, § 117; 1893 Ariz. Sess. Laws 3, An Act To Regulate And Prohibit
       The Carrying Of Deadly Weapons Concealed, § 1; 1881 Del. Laws 987, An Act
  25   Providing for the Punishment of Persons Carrying Concealed Deadly Weapons, ch.
       548, § 1; John P. Duval, Compilation of the Public Acts of the Legislative Council
  26   of the Territory of Florida, Passed Prior to 1840 Page 423, Image 425 (1839)
       available at The Making of Modern Law: Primary Sources, 1835; 1821 Tenn. Pub.
  27   Acts 15-16, An Act to Prevent the Wearing of Dangerous and Unlawful Weapons,
       ch. 13.
  28
                                                   22
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   1   technologically very simple to produce, and metal-working was a common and
   2   ordinary part of everyday life. After all, the front-line administrative entity on
   3   which we today relay for law enforcement, the police, barely existed in the way we
   4   think of policing today in most places in most of nineteenth century (up to this time
   5   policing fell to a haphazard mix of the watch system, constables, militias, and
   6   vigilantes). Modern police forces only came in to being in a handful of large cities
   7   before the Civil War, and did not reach maturity until the early twentieth century.73
   8         48.    Second, the chief (though not only) remedy enacted by the states to
   9   address the problem of knife fighting was both more focused and feasible: to bar
  10   the carrying of knives, along with the other two categories of weapons that also
  11   threatened public safety, clubs and pistols. The fact that all three types of
  12   weapons—knives, clubs, and pistols—were consistently treated together is
  13   conclusive evidence that all were considered so dangerous and inimical to public
  14   safety that they were subject to anti-carry and other restrictive laws and bundled
  15   together in legislative enactments.
  16   IV. HISTORICAL RESTRICTIONS ON CLUBS AND OTHER BLUNT WEAPONS
  17         49.    Finally, the aforementioned history of regulating knives is consistent
  18   with the U.S.’s history of regulating another category of dangerous, non-firearm
  19   weapon: clubs.
  20         50.    Like knives, clubs date to ancient times, and are even simpler to
  21   produce technologically. Yet their simplicity and commonality did not impede
  22   efforts to regulate them when the need arose.
  23
       73
          Chris McNab, Deadly Force (Oxford, Great Britain: Osprey Publishing, 2009),
  24   13-24; William R. Kelly and Daniel P. Mears, The Reinvention of Policing
       (Lanham, MD: Rowman & Littlefield, 2023), 54-58. Boston created a police force
  25   in 1838, New York City created a standing police force in 1845, followed by
       Chicago in 1851, Philadelphia in 1854, and Baltimore in 1857 (23). Jill Lepore,
  26   “The Invention of the Police,” The New Yorker, July 13, 2020,
       https://www.newyorker.com/magazine/2020/07/20/the-invention-of-the-police.
  27   Both McNab and Lepore emphasize the role of slavery and slave suppression as key
       to the development of policing.
  28
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   1          51.   Among the most widely and ubiquitously regulated harmful
   2   implements in U.S. history were various types of clubs and other blunt weapons.74
   3   Most were anti-carry laws, which also generally encompassed pistols and specific
   4   types of knives, although some of the laws extended prohibitions to these weapons’
   5   manufacture, possession, sale, or use in crime. 75 As the table in Exhibit C shows,
   6   at least five distinct types of clubs and blunt objects were regulated in the United
   7   States. Notably, every state in the nation had laws restricting one or more types of
   8   clubs. According to a detailed reference book on the subject of these blunt
   9   instruments by Robert Escobar, they were considered “objectionable objects, once
  10   feared but now forgotten.” 76 Escobar provides what he calls “a family history” of
  11   these blunt weapons, but adding that “[i]t’s a disreputable family to say the least,
  12   black sheep even within the study of weaponry.” 77 They have been described as
  13   “wicked, cowardly, ‘Soaked in blood and cured in whiskey.’”78 Those who carried
  14   them (excluding police) “were called vicious, devils and lurking highwaymen.” 79
  15   These club-type blunt objects compose a family of objects used for striking others,
  16   and while they vary in name and construction, the categories are “somewhat
  17   fluid.”80
  18          52.   Among the types of clubs regulated in U.S. laws, 15 states barred
  19   bludgeon carrying. A bludgeon is a short stick with a thickened or weighted end
  20   used as a weapon.81 The earliest state anti-bludgeon law was in 1799; 12 such state
  21   laws were enacted in the 1700s and 1800s, and 4 in the early 1900s (as with each of
  22
  23
       74
          See Exhibits C and D.
  24   75
          E.g. see 1917 Cal. Sess. Laws 221-225; 1923 Cal. Stat. 695.
       76
          Robert Escobar, Saps, Blackjacks and Slungshots: A History of Forgotten
  25   Weapons (Columbus, OH: Gatekeeper Press, 2018), 1.
       77
          Escobar, Saps, Blackjacks and Slungshots, 2.
  26   78
          Escobar, Saps, Blackjacks and Slungshots, 2.
       79
          Escobar, Saps, Blackjacks and Slungshots, 2.
  27   80
          Escobar, Saps, Blackjacks and Slungshots, 1.
       81
          https://www.merriam-webster.com/dictionary/bludgeon.
  28
                                                  24
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   1   these chronological categories, the state law total exceeds the total number of states
   2   because some states enacted the same or similar laws in multiple centuries).
   3          53.     A billy82 club is a heavy, hand-held rigid club,83 usually made of wood,
   4   plastic, or metal, 84 that is traditionally carried by police, often called a nightstick or
   5   baton.85 Escobar cites an early reference to the billy club in an 1854 New Orleans
   6   newspaper article in the Daily True Delta that referred to “police armed with
   7   batons,”86 a synonym for a billy club. As this reference suggests, police have long
   8   adopted the billy club, or similar striking implements, as part of their on-duty
   9   weaponry. At least 16 states had anti-billy club laws, totaling 46 laws; the earliest
  10   law appears to have been enacted in Kansas in 1862, 87 followed by a New York law
  11   in 1866.88 Fourteen states enacted such laws in the 1800s; 11 states did so in the
  12   early 1900s.
  13          54.     At least 14 states barred the carrying of “clubs” more generically,
  14   without specifying the type. The oldest anti-club law was 1664; 7 states enacted
  15   these laws in the 1600s-1700s, 7 states in the 1800s, and 2 in the early 1900s.
  16   82
          Sometimes spelled billie club.
       83
          Some versions were made to have some flexibility to increase their striking
  17   power.   See Escobar, Saps, Blackjacks and Slungshots, 118-19.
       84
          https://www.merriam-webster.com/dictionary/billy%20club. Escobar discusses a
  18   Civil War veteran and later police officer, Edward D. Bean, who experimented with
       various types of billy clubs to improve their striking power and durability by
  19   utilizing leather, often adhered to wood, to reduce the likelihood that the club would
       break on use. Saps, Blackjacks and Slungshots, 118. One of the earliest references
  20   to a “billy” was an 1857 newspaper article describing “an indiscriminate attack with
       slung-shot, billies, clubs, &c.” “Local Intelligence,” Delaware Republican, June
  21   15,  1857, https://bit.ly/3V9nVO7.
       85
          Escobar,  Saps, Blackjacks and Slungshots, 2, 69-70, 105, 113-30.
  22   86
          Escobar,  Saps, Blackjacks and Slungshots, 105.
       87
          C. B. Pierce, Charter and Ordinances of the City of Leavenworth, with an
  23   Appendix Page 45, Image 45 (1863) available at The Making of Modern Law:
       Primary   Sources, 1862.
  24   88
          Montgomery Hunt Throop, The Revised Statutes of the State of New York; As
       Altered by Subsequent Legislation; Together with the Other Statutory Provisions of
  25   a General and Permanent Nature Now in Force, Passed from the Year 1778 to the
       Close of the Session of the Legislature of 1881, Arranged in Connection with the
  26   Same or kindred Subjects in the Revised Statutes; To Which are Added References
       to Judicial Decisions upon the Provisions Contained in the Text, Explanatory
  27   Notes, and a Full and Complete Index Page 2512, Image 677 (Vol. 3, 1882)
       available at The Making of Modern Law: Primary Sources, 1866.
  28
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   1         55.    Anti-slungshot laws were enacted by 43 states, with 71 laws enacted in
   2   the 1800s and 12 in the 1900s. A slungshot (or slung shot), also referred to as “a
   3   type of blackjack,”89 is a hand-held weapon for striking that has a piece of metal or
   4   stone at one end attached to a flexible strap or handle that was developed roughly in
   5   the 1840s (the first “known use” of slungshot was 184290). By one account,
   6   “[s]lungshots were widely used by criminals and street gang members in the 19th
   7   Century. They had the advantage of being easy to make, silent, and very effective,
   8   particularly against an unsuspecting opponent. This gave them a dubious
   9   reputation, similar to that carried by switchblade knives in the 1950s, and they were
  10   outlawed in many jurisdictions. Their use as a criminal weapon continued at least
  11   up until the early 1920s.”91 Escobar concurs that slungshots and blackjacks “were a
  12   regular part of criminal weaponry. . .and gangsters could be merciless in their
  13   use.”92
  14         56.    In a criminal case considered the most famous of those involving
  15   lawyer Abraham Lincoln, the future president defended a man charged with
  16   murdering another using a slung shot. In the 1858 trial of William “Duff”
  17   Armstrong, Lincoln succeeded in winning Armstrong’s acquittal. 93
  18         57.    These weapons were viewed as especially dangerous or harmful when
  19   they emerged in society, given the ubiquity of state laws against carrying them
  20   enacted after their invention and their spreading use by criminals and as fighting
  21   implements. These devices were invented and appeared in society during an
  22   identifiable period of time in the mid-nineteenth century, sparking subsequent wide-
  23   89
          Escobar, Saps, Blackjacks and Slungshots, 228.
       90
          See https://www.merriam-webster.com/dictionary/slungshot. Escobar agrees with
  24   this rough date. See Saps, Blackjacks and Slungshots, 67.
       91
          “Slungshot,” https://military-history.fandom.com/wiki/Slungshot.
  25   92
          Escobar, Saps, Blackjacks and Slungshots, 86.
       93
          Lincoln was able to discredit the testimony of a witness who claimed to see
  26   Armstrong strike the victim with a slung shot at night because of the full moon.
       Lincoln used as evidence an Almanac to prove that on the night in question, there
  27   was no full moon. Judson Hale, “When Lincoln Famously Used the Almanac,”
       Almanac, May 4, 2022, https://www.almanac.com/abraham-lincoln-almanac-and-
  28   murder-trial.
                                                  26
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   1   ranging prohibitions. The earliest anti-slungshot law was enacted in 1850; 43 states
   2   legislated against them in the 1800s (including the District of Columbia), and 11
   3   states in the early 1900s (note this incorporates multiple laws enacted in more than
   4   one century by a few states).
   5         58.    Sandbags, also known as sand clubs, were also a specific focus in anti-
   6   carry laws as well. Consisting of nothing more than sand poured into a bag, sack,
   7   sock, or similar tube-shaped fabric (although the weight could also be something
   8   dense and heavy, like a lock in the end of a sock), 94 their particular appeal was that
   9   they could be dispensed with by simply pouring the sand out, leaving nothing more
  10   than an empty cloth bag. (Alternately, they could be made heavier by adding water
  11   to the sand.) The first anti-sandbag law was 1866, with 10 states enacting such
  12   laws—7 in the 1800s and 7 in the early 1900s.
  13         59.    Only 4 states did not have any prohibitions in any of these five
  14   categories (bludgeons, billy clubs, clubs, slung shots, and sand bags), but 3 of those
  15   4 (Montana, Ohio, and Washington State) had blanket legislative provisions against
  16   the carrying of any concealed/dangerous/deadly weapons. One state, New
  17   Hampshire, may not have enacted such a law during this time but did later.95
  18                                     CONCLUSIONS
  19         60.    The regulation of switchblades in America follows almost precisely the
  20   regulatory pattern identified with other weapons throughout American history (see
  21   below). After a new weapon or weapons technology is invented or developed, is
  22   94
          https://www.ferrislawnv.com/criminal-defense/weapons-offenses/dangerous-
       weapons/; Escobar, Saps, Blackjacks and Slungshots, 20-22. Escobar dates the
  23   earliest reference to sandbags as weapons to the 1600s (22).
       95
          Up to 2010, New Hampshire had this law on the books: “159:16 Carrying or
  24   Selling Weapons. Whoever, except as provided by the laws of this state, sells, has
       in his possession with intent to sell, or carries on his person any stiletto, switch
  25   knife, blackjack, dagger, dirk-knife, slung shot, or metallic knuckles shall be guilty
       of a misdemeanor; and such weapon or articles so carried by him shall be
  26   confiscated to the use of the state.” In 2010, the law was amended when HB 1665
       was enacted to exclude stilettos, switch knives, daggers, and dirk-knives. Compare
  27   N.H. Rev. Stat. § 159:16 with 2010 New Hampshire Laws Ch. 67 (H.B. 1665). In
       1923, New Hampshire enacted an extensive licensing system for handgun carrying:
  28   1923 N.H. Laws 138.
                                                  27
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   1   replicated, begins to spread into civil society, and then becomes identified with
   2   criminality, violence, or a threat to public safety and good order, calls to regulate or
   3   restrict the weapon, through various policy tools or means, escalate, often leading to
   4   new laws. In the case of switchblades, racist white society took little interest when
   5   switchblades were a part of interpersonal violence among African American
   6   communities in the South before World War II. But after the war, as switchblades
   7   increased in circulation around the country and were identified as a threat to
   8   adolescents and other criminality, calls for regulation escalated, leading to anti-
   9   switchblade laws in at least 40 states and a federal law in 1958. As this report
  10   illustrates, and as summarized below, this was precisely the pattern for certain types
  11   of knives and clubs in the nineteenth century.
  12         61.    Not only is there an extensive historical pedigree of anti-switchblade
  13   laws, but there also exists a well-established historical tradition of regulating non-
  14   firearm weapons generally, including “fighting knives” and various types of clubs,
  15   under which every state in the Nation enacted such a restriction from the late 1700s
  16   through the early 1900s.
  17         62.    In fact, the extensive restrictions imposed against Bowie knives in
  18   particular are as close to a historical twin to modern switchblade laws as one might
  19   contemplate. As discussed above, legislation simply banning weapons like the
  20   Bowie knife or various types of clubs outright was less common than other methods
  21   of regulation. This approach is attributable to the fact that a ban could not have
  22   been feasibly implemented at a time when the U.S. was an emerging and
  23   developing nation-state lacking the capability to enforce it. As the nineteenth
  24   century wore on, however, many states became more imaginative in utilizing other
  25   policy tools to restrict such weapons, including regulatory taxes and restrictions
  26   imposed on weapons transfers or commercial sale.
  27         63.    In addition, switchblades, Bowie knives, and fighting clubs like the
  28   slungshot share not only a close connection with criminality, but also the same
                                                  28
                      Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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   1   nefarious, “bad boy” reputation that had the perverse consequence of fanning their
   2   sale and acquisition. As noted earlier, commentary on the slungshot identified this
   3   very parallel, in that “[s]lungshots were widely used by criminals and street gang
   4   members in the 19th Century. . . . This gave them a dubious reputation, similar to
   5   that carried by switchblade knives in the 1950s . . . .”96
   6         64.    More generally, sweeping claims like those of David Kopel and his
   7   colleagues that “Prohibitions on carrying knives in general, or of particular knives,
   8   are unconstitutional” 97 is not only ahistorical, but wrong. As this declaration
   9   demonstrates, nothing in American history and law supports the sweeping
  10   proposition that anti-knife carry laws are unconstitutional, illegal, or improper. The
  11   truth is literally the opposite: that multitudinous and varied restrictions on fighting
  12   knives and clubs were not only the norm, but the policy default in America when
  13   such weapons became available, entered society, and came to be identified as a
  14   threat to public safety and good order. The enactment of anti-switchblade laws in at
  15   least 40 states in the 1950s follows nearly identically past restrictions on similar
  16   weapons examined here.
  17         65.    The first purpose of any government is to protect the lives, health, and
  18   safety of its people. 98 The many laws examined in this report arise from this central
  19   fact of governance. Public safety was no less a prime concern of American
  20   government early in its history than it was and is today.
  21
  22
  23
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  26   96
          “Slungshot,” https://military-history.fandom.com/wiki/Slungshot.
       97
          Kopel, Cramer, and Olson, “Knives and the Second Amendment,” 167.
  27   98
         “The primary purpose of government is to maintain order and stability so that
       people can live safely, productively, and happily.” “Government,” Annenberg
  28   Classroom, https://www.annenbergclassroom.org/glossary_term/government/
                                                  29
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   1   I declare under penalty of perjury under the laws of the United States of America
   2   that the foregoing is true and correct.
   3        Executed on December 18
                                 __, 2023, at Williamsburg, VA.
   4
   5                                              _______________________________
                                                                     Dr. Robert Spitzer
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                      Expert Report and Declaration of Dr. Robert Spitzer (3:23-cv-00474-JES-DDL)
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                                 EXHIBIT A




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                                         EXHIBIT A
                                                                               November 2023
                                     Curriculum Vitae

                                      Robert J. Spitzer

                       Distinguished Service Professor, Emeritus
                                   SUNY Cortland
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                https://sites.google.com/site/robertspitzercortland/


  Education:    A.B. (Political Science), summa cum laude, SUNY College at Fredonia, 1975.
                M.A. Cornell University, 1978.
                Ph.D. Cornell University, 1980.


  Positions Held:

         Adjunct Professor, College of William and Mary School of Law, Spring 2023-present.
         Affiliated Scholar, Government Department, College of William and Mary, 2023-present.
         Department Chair, SUNY Cortland, 2008-2020.
         Interim Department Chair, SUNY Cortland, 2004-2005.
         Distinguished Service Professor, SUNY Cortland, 1997-2021.
         Visiting Professor, Cornell University, Spring, 2009, Spring 1993; Summers 1980, 1988-
                 1990, 1992-2017.
         Professor, SUNY Cortland, 1989 to 1997.
         Continuing Appointment, SUNY Cortland, 1986.
         Associate Professor, SUNY Cortland, 1984 to 1989.
         Department Chair, SUNY Cortland, 1983 to 1989.
         Visiting Professor, SUNY College of Technology, Utica-Rome, Graduate Division, 1985,
                 1986, 1988.
         Copy Editor, Administrative Science Quarterly, 1982 to 1983.
         Adjunct Professor, Tompkins-Cortland Community College, 1982-83.
         Assistant Professor, SUNY Cortland, 1979 to 1984.
         Instructor, Cornell University, 1979.
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        Instructor, Eisenhower College, 1978-1979.
        Research Assistant, Theodore J. Lowi and Benjamin Ginsberg, 1976-1978.
        Reporter (Stringer), Buffalo Courier-Express; Dunkirk Evening Observer, 1974-75.


  Honors:

        Fellow, the Royal Society for Arts, Manufactures and Commerce (RSA), London,
        England, 2020.
        Founding member, Regional Gun Violence Research Consortium, coordinated with the
        Rockefeller Institute of Government. Consortium of gun policy experts from eight states
        to advance research on gun policy, 2018-present.
        Member, SUNY Research Council, an advisory council to the SUNY Board of Trustees,
        SUNY System Administration, campus leadership teams, and the leadership team of the
        Research Foundation (RF) for SUNY, 2018-2021.
        Member, Scholars Strategy Network, 2015-present. Created to improve public policy and
        strengthen democracy by connecting scholars and their research to policymakers, citizens
        associations, and the media.
        Winner, Pi Sigma Alpha (the national political science honors society) Chapter Advisor
        of the Year Award for 2013.
        Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2010.
        Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2005.
        Winner, State University of New York’s Chancellor’s Excellence in Scholarship and
                Creative Activities Award, 2003.
        SUNY Cortland Nominee, National Scholar Competition of the Honor Society of Phi
                Kappa Phi, 1994-95.
        Winner, New York State/United University Professions Excellence Award, 1991, for
                "outstanding professional performance and superior service."
        Member, New York State Commission on the Bicentennial of the U.S. Constitution,
                1986-1990.
        Member, New York State Ratification Celebration Committee for U.S. Constitution
        Bicentennial, 1987-88.
        Member, National Bicentennial Competition on the Constitution and the Bill of Rights,
                1987-1991.
        Who's Who in the World, 1996.
        Dictionary of International Biography, 1995.
        Who's Who in the East, 1995-96; 1997-98
        Ex officio member, Cortland County Bicentennial Committee, 1987-89.
        Chair, SUNY Cortland Bicentennial Committee, 1987-89.
        Phi Eta Sigma, SUNY Cortland, 1994.
        Phi Kappa Phi, SUNY Cortland, 1990.
        Men of Achievement (1986)
        Contemporary Authors, vol. 112 (1985) and subsequent updates.
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         International Authors and Writers Who's Who, 1985-present.
         International Who's Who in Education, Winter 1985-86.
         Herbert H. Lehman Graduate Fellowship, 1975-79.
         Who's Who Among Students in American Universities and Colleges, 1974-75.
         Phi Beta Kappa Club, SUNY College at Fredonia, 1975.
         Phi Alpha Theta (History), SUNY College at Fredonia, 1974.
         Phi Mu Alpha Sinfonia, (Music), SUNY College at Fredonia, 1973.


  Research Fellowships and Projects:

         Individual Development Awards, SUNY Cortland, 2001, 2003, 2005, 2006, 2007, 2008,
         2009, 2014, 2017, 2020.
         Title “F” Leave with pay, Spring 1994.
         Professional Development and Quality of Working Life Award, 1989, 1993, 1998, 1999.
         National Endowment for the Humanities (NEH) Research Grant for Study of the
         Constitution, 1986. Project Proposal: “The Presidential Veto: Constitutional Antecedents
         and Modern Applications.”
         SUNY Cortland Faculty Research Program Grant, “The Presidential Veto, 1986.
         Consultant for Reporting Research Corporation, “Quality of Earnings Report,” Thornton
         L. O’Glove, author; research on presidential veto use, 1984-1987.
         SUNY University Awards Program Research Fellowship, “The Right to Life Party and
         New York State Politics, 1983.
         SUNY Cortland Faculty Research Program Fellowship, “New York State Parties and
         Politics,” 1980.


  Publications and Papers:

         BOOKS:

         The Presidency and Public Policy: The Four Arenas of Presidential Power (University,
         AL: The University of Alabama Press, 1983). A study of the President's relations with
         Congress in the making of domestic policy. Revised version of doctoral dissertation.

         The Right to Life Movement and Third Party Politics (Westport, CT: Greenwood Press,
         1987). A study of the New York multi-party system, single-issue third parties, and the
         state-based Right to Life Party.

         The Presidential Veto: Touchstone of the American Presidency (Albany, NY: SUNY
         Press, 1988), with a foreword by Louis Fisher. A study of the constitutional antecedents
         and modern applications of the veto power. Published as part of SUNY Press Series on
         Leadership, edited by Barbara Kellerman.
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       Editor, The Bicentennial of the U.S. Constitution: Commemoration and Renewal
       (Cortland, NY: SUNY Cortland, 1990). A compendium of articles based on presentations
       given at SUNY Cortland pertaining to the Constitution's Bicentennial. Contributors
       include Senator Daniel Patrick Moynihan, Theodore J. Lowi, Judith A. Best, and Robert
       Spitzer.

       President and Congress: Executive Hegemony at the Crossroads of American
       Government (New York: McGraw-Hill; and Temple University Press, 1993). Published
       simultaneously by co-publishing agreement in paper by McGraw-Hill, and hardcover by
       Temple. An analytic survey and critique of presidential-congressional relations. Received
       Honorable Mention for the Richard Neustadt Award for Best Book on the Presidency for
       1993.

       Editor, Media and Public Policy (New York: Praeger, 1993). Published in Praeger's
       Political Communications Series, edited by Robert E. Denton, Jr. A collection of original
       essays dealing with various aspects of media's impact on public policy. Contributors
       include Doris Graber, Julio Borquez, Wenmouth Williams, Marion Just, Ann Crigler,
       Michael Hawthorne, Dean Alger, Jerry Medler, Michael Medler, Montague Kern, Robert
       Sahr, Holli Semetko, Edie Goldenberg, Patrick O'Heffernan, and Robert Spitzer.

       The Politics of Gun Control (New York: Chatham House, 1995; 2nd edition, 1998; 3rd
       edition, CQ Press, 2004; 4th ed. 2008; 5th ed., Paradigm/Routledge Publishers 2012; 6th
       ed., Routledge, 2015, 7th ed., 2018; 8th ed. 2021; 9th ed. 2024). A comprehensive political
       and policy analysis of the gun issue that applies policy theory to the key elements of the
       gun debate, including analysis of the Second Amendment, cultural-historical factors,
       interest group behavior, criminological consequences, legislative and executive politics.

       Editor, Politics and Constitutionalism: The Louis Fisher Connection, (Albany, NY:
       SUNY Press, 2000). A collection of original essays inspired by the works of Louis
       Fisher. Contributors include Neal Devins, Nancy Kassop, Dean Alfange, David Adler,
       Loch Johnson, Michael Glennon, Louis Fisher, and Robert Spitzer. Published as part of
       the SUNY Press Book Series on American Constitutionalism. Nominated by SUNY Press
       for the 2001 Silver Gavel Award of the American Bar Association.

       The Right to Bear Arms: Rights and Liberties Under the Law (Santa Barbara, CA: ABC-
       CLIO, 2001). An extensive analysis of the Second Amendment “right to bear arms” from
       legal, historical, and political perspectives. Published as part of the “America’s
       Freedoms” Series edited by Donald Grier Stephenson.

       Essentials of American Politics, co-authored with Benjamin Ginsberg, Johns Hopkins;
       Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 2002; 2nd edition,
       2006). A synthetic, analytic look at American government and politics.
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       The Presidency and the Constitution: Cases and Controversies, co-authored with Michael
       A. Genovese (NY: Palgrave/Macmillan, 2005). A combination of analysis and cases
       examining the courts’ view of presidential power.

       Saving the Constitution from Lawyers: How Legal Training and Law Reviews Distort
       Constitutional Meaning (New York: Cambridge University Press, 2008). A sweeping
       indictment of the legal community when it enters into the realm of constitutional
       interpretation.

       We the People: Essentials Edition, co-authored with Benjamin Ginsberg, Theodore Lowi,
       Margaret Weir, Caroline Tolbert, Andrea Campbell (W.W. Norton, 7th ed. 2009; 8th ed.
       2011; 9th ed., 2013; 10th ed. 2015; 11th ed. 2017; 12th ed. 2019; 13th ed. 2021; 14th ed.
       2023).

       Gun Control: A Documentary and Reference Guide (Westport, CT: Greenwood
       Publishing Group, 2009). A combination of analysis, commentary, and original historical
       and contemporary documents pertaining to the gun issue published in Greenwood’s
       Documentary and Reference Series.

       The Gun Debate: An Encyclopedia of Gun Rights and Gun Control, co-authored with
       Glenn Utter (Grey House Publishers, 2011; third edition 2016). An A-Z compendium of
       gun issues.

       Guns across America: Reconciling Gun Rules and Rights (New York: Oxford University
       Press, 2015; revised paperback ed. 2017); revised paperback edition published 2017.
       Argues that our understanding of the gun issue as it has evolved in the U.S. is upside
       down, looking at gun law history, the Second Amendment, stand your ground laws, and
       New York State gun laws.

       The Gun Dilemma: How History Is Against Expanded Gun Rights (New York: Oxford
       University Press, 2023). Argues that the courts are ushering in a new era of expanded gun
       rights, despite the fact that such a movement is contrary to our gun history by examining
       assault weapons, ammunition magazines, silencers, gun brandishing, and the Second
       Amendment sanctuary movement.

       Book Series Editor, Series on American Constitutionalism, SUNY Press, 1996-present.
       Books include:
              Daniel Hoffman, Our Elusive Constitution, (1997)
              Martin Sheffer, God and Caesar: Belief, Worship, and Proselytizing Under the
              First Amendment, (1999)
              Daniel Levin, Representing Popular Sovereignty: The Constitution in American
              Political Culture, (1999)
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             Robert Spitzer, ed., Politics and Constitutionalism, (2000)
             Laura Langer, Judicial Review in State Supreme Courts (2002)
             Ian Brodie, Friends of the Court (2002)
             Samuel Leiter and William Leiter, Affirmative Action in Antidiscrimination
                     Law and Policy (2002)
             Artemus Ward, Deciding to Leave: The Politics of Retirement from the United
             States Supreme Court (2003)
             James T. McHugh, Ex Uno Plura: State Constitutions and Their Political Cultures
             (2003)
             Stephen Newman, ed., Constitutional Politics in Canada and the United States
             (2004).
             Stephen Kershnar, Justice for the Past (2004).
             Timothy R. Johnson, Oral Arguments and Decision Making on the U.S. Supreme
             Court (2004).
             Christopher P. Banks, David B. Cohen, and John C. Green, eds., The Final
             Arbiter: The Consequences of Bush v. Gore for Law and Politics (2005)
             Kenneth D. Ward and Cecilia R. Castillo, eds., The Judiciary and American
             Democracy: Alexander Bickel, the Countermajoritarian Difficulty, and
             Contemporary Constitutional Theory (2005).
             G. Alan Tarr and Robert F. Williams, eds., State Constitutions for the Twenty-
             first Century: The Politics of State Constitutional Reform (2006).
             Frank P. Grad and Robert F. Williams, State Constitutions for the Twenty-first
             Century: Drafting State Constitutions, Revisions, and Amendments (2006).
             G. Alan Tarr and Robert F. Williams, eds., State Constitutions for the Twenty-
             first Century: The Agenda of State Constitutional Reform, 3 vols. (2006).
             Cary Federman, The Body and the State: Habeas Corpus and American
             Jurisprudence (2006).
             Christopher S. Kelley, ed., Executing the Constitution: Putting the President Back
             into the Constitution (2006).
             David Fagelson, Justice as Integrity: Tolerance and the Moral Momentum of Law
             (2006).
             Christopher Shortell, Rights, Remedies, and the Impact of State Sovereign
             Immunity (2008).
             Robert Blomquist, The Quotable Judge Posner (2010).
             Kirk A. Randazzo, Defenders of Liberty or Champions of Security? (2010).
             Pamela Corley, Concurring Opinion Writing on the U.S. Supreme Court (2010).
             Samuel Leiter and William Leiter, Affirmative Action in Antidiscrimination Law
             and Policy (2nd ed. 2010).
             Julia R. Azari, et al., eds., The Presidential Leadership Dilemma (2013).
             Stephen A. Simon, Universal Rights and the Constitution (2014).
             Kirk A. Randazzo and Richard W. Waterman, Checking the Courts (2014).
             Anthony Maniscalco, Public Spaces, Marketplaces, and the Constitution (2015).
             Goirgi Areshidze et al., eds., Constitutionalism, Executive Power, and the Spirit
                                                 7




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              of Moderation (2016).
              Peter J. Galie, et al., eds., New York’s Broken Constitution (2016).
              Robert J. Hume, Ethics and Accountability on the U.S. Supreme Court (2017).
              Michael A. Dichio, The U.S. Supreme Court and the Centralization of Federal
              Authority (2018).
              Clyde H. Ray, John Marshall’s Constitutionalism (2019).
              Daniel P. Franklin, et al., The Politics of Presidential Impeachment (2020).
              Robert M. Howard, et al., Power, Constraint, and Policy Change: Courts and
              Education Finance Reform (2021).
              Mark C. Dillon, The First Chief Justice (2022).

       Book Series Editor, Presidential Briefing Books, Routledge, 2015-present.
             Mary Stuckey, Political Rhetoric (2015)
             Michael A. Genovese, Presidential Leadership in an Age of Change (2015)
             Christopher Fettweis, Making Foreign Policy Decisions (2016)
             Nancy Maveety, Picking Judges (2016)
             Richard S. Conley, Presidential Relations with Congress (2017)
             Andrew L. Stigler, Governing the Military (2019)
             Graham G. Dodds, The Unitary Presidency (2020)


       Member, Board of Editors for the Encyclopedia of Guns in American Society, 2 vols.
       (Santa Barbara, CA: ABC-CLIO, 2003; second ed. 2011). Winner of the Booklist
       Editors’ Choice Award for 2003, American Library Association.

       Member, Board of Editors, Issues: Understanding Controversy and Society, ABC-CLIO,
       2011-2016.


       BOOK CHAPTERS:

       "Third Parties in New York," in Governing New York State (formerly New York State
       Today), ed. by Robert Pecorella and Jeffrey Stonecash (Albany, N.Y.: SUNY Press,
       1984, 1989, 1994, 2001, 2006). Chapter revised for second, third, fourth, and fifth
       editions.

       "Gun Control: Constitutional Mandate or Myth," in Social Regulatory Policy: Recent
       Moral Controversies in American Politics, ed. by Raymond Tatalovich and Byron
       Daynes (Boulder, CO: Westview Press, 1988), 111-141.

       "The President's Veto Power," in Inventing the American Presidency: Early Decisions
       and Critical Precedents, ed. by Thomas Cronin (Lawrence, KA: University Press of
       Kansas, 1989), 154-179.
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       "President and Congress," in The CQ Guide to the Presidency, ed. by Michael Nelson
       (Washington, D.C.: Congressional Quarterly, Inc., 1989; revised for 2nd ed., 1996 and 3rd
       ed. 2002; 4th ed. 2007; 5th ed. 2012).

       Nineteen entries in Encyclopedia of American Political Parties and Elections, ed. by L.
       Sandy Maisel (New York: Garland Pub., 1991): American Labor Party, Benjamin Bubar,
       closed primary, Conservative Party, cross-endorsement rule, Free Soil Party, Greenback
       Party, Liberal Party, Liberty Party, John V. Lindsay, Allard K. Lowenstein, open
       primary, Right to Life Committee, Right to Life Party, Prohibition Party, Alex Rose, split
       ticket voting, telethons, Mary Jane Tobin.

       Author of "Thought Boxes" for Theodore J. Lowi and Benjamin Ginsberg, American
       Government: Freedom and Power (NY: W.W. Norton, 1990, 1992, 1994, 1996, 1998); 50
       for 1st ed.; 30 additional for 2nd ed., 45 additional for 3rd ed.; 29 for 4th ed., 26 for 5th.

       "Executive Vetoes," in Encyclopedia of the American Legislative System, ed. by Joel
       Silbey (NY: Charles Scribner's Sons, 1993).

       "The Conflict Between Congress and the President Over War," in The Presidency and the
       Persian Gulf War, ed. by Marcia Whicker, Raymond Moore, and James Pfiffner (New
       York: Praeger, 1993).

       "Is the Separation of Powers Obsolete?" in The Presidency Reconsidered, ed. by Richard
       W. Waterman (Itasca, IL: F.E. Peacock, 1993); also in Understanding the Presidency, ed.
       by James Pfiffner and Roger Davidson (NY: Longman, 1997; 2nd ed. 2000; 3rd ed. 2002;
       4th ed. 2006).

       Seven entries in the Encyclopedia of the American Presidency, ed. by Leonard W. Levy
       and Louis Fisher (NY: Simon and Schuster, 1994), including “Council on Environmental
       Quality,” “Office of Intergovernmental Relations,” “Presentation Clause,” “Signing
       Statements,” “Item Veto,” “Pocket Veto,” “Regular Veto”.

       Two entries in the Encyclopedia of the United States Congress, ed. by Donald C. Bacon,
       Roger H. Davidson, and Morton Keller (NY: Simon and Schuster, 1994), including
       “Separation of Powers” and “Presidential Veto”.

       "The President, Congress, and the Fulcrum of Foreign Policy," in The Constitution and
       the Conduct of American Foreign Policy, ed. by David Gray Adler, with an introduction
       by Arthur Schlesinger, Jr. (Lawrence, KS: University Press of Kansas, 1996), 85-113.

       "Resources Development in the EOP," in The Executive Office of the President, ed. by
       Harold Relyea (Westport, CT: Greenwood Press, 1997).
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       "Council on Environmental Quality," in the Oxford Historical Guide to American
       Government (NY: Oxford University Press, 1997).

       "From Presidential Shield to 'Go Ahead, Make My Day': The Presidential Veto and the
       Constitutional Balance of Power," in Liberty Under Law, ed. by Kenneth Grasso and
       Cecilia R. Castillo (Lanham, MD: University Press of America, 1997; 2nd ed. 1998).

       "Multi-Party Politics in New York," in Multi-Party Politics and American Democracy,
       ed. by Paul Herrnson and John Green (Rowman & Littlefield, 1997; revised for second
       edition, 2002).

       Author of “Cultures” and “Debates” boxes for Benjamin Ginsberg, Theodore Lowi, and
       Margaret Weir, We the People (NY: W.W. Norton, 1997, 1999). 19 for 1st ed.; 17 for
       2nd ed.

       “Gun Control: Constitutional Mandate or Myth?” in Moral Controversies in American
       Politics, ed. by Raymond Tatalovich and Byron Daynes (NY: M.E. Sharpe, 1998; 2005;
       2010), 164-195. Revised for new editions.

       “The Right to Life Party” and related entries in The Encyclopedia of American Third
       Parties, ed. by Immanuel Ness and James Ciment (NY: M.E. Sharpe, 2000).

       “New York, New York: Start Spreadin’ the News,” in Prayers in the Precincts, ed. by
       John Green, Mark Rozell, and Clyde Wilcox (Washington, DC: Georgetown University
       Press, 2000).

       “The Clinton Crisis and Its Consequences for the Presidency,” in The Clinton Scandal
       and the Future of American Politics, ed. by Mark Rozell and Clyde Wilcox (Washington,
       DC: Georgetown University Press, 2000), 1-17.

       “Saving the Constitution from Lawyers,” in Politics and Constitutionalism, ed. by Spitzer
       (Albany, NY: SUNY Press, 2000).

       “Gun Control and Policy” and “Veto Power” for the Encyclopedia of American Political
       History, ed. by Paul Finkelman (Washington, D.C.: Congressional Quarterly, 2000).

       "Article I, Section 7," in The Constitution and Its Amendments, ed. by Roger Newman
       (NY: Macmillan, 2001).

       “Lost and Found: Researching the Second Amendment,” in The Second Amendment in
       Law and History, ed. by Carl Bogus (NY: The New Press, 2001), 16-47.

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       “Veto Power” in The Oxford Companion To United States History ed. by Paul Boyer
       (NY: Oxford University Press, 2001).

       “The Independent Counsel and the Post-Clinton Presidency” in The Presidency and the
       Law: The Clinton Legacy, ed. by David Adler and Michael Genovese (Lawrence, KS:
       University Press of Kansas, 2002), 89-107.

       “The Veto King: The ‘Dr. No’ Presidency of George Bush,” in Honor and Loyalty: Inside
       the Politics of the Bush White House, ed. by Leslie Feldman and Rosanna Perotti
       (Westport, CT: Greenwood Press, 2002), 233-53.

       Fifty-two entries in the Encyclopedia of Guns in American Society, ed. by Gregg Lee
       Carter (Santa Barbara, CA: ABC-CLIO, 2003; 2nd ed. 2011; 3rd ed. 2023): including
       AWARE, assault weapons, Assault Weapons ban of 1994, automatic weapons laws,
       background checks, Brady Law, Harlon Carter, Eddie Eagle, Federation for NRA,
       Firearms Owners Protection Act of 1986, NRA-ILA, LSAS, Licensing, MMM, MAVIA,
       National Board for the Promotion of Rifle Practice, National Guard, NRA, NRA PVF,
       Presser v. Illinois, Quilici v. Morton Grove, Safety Courses, SAS, semiautomatic
       weapons, speedloaders, Turner Diaries, Waiting Periods.

       Nine entries for the Encyclopedia of the American Presidency, ed. by Michael Genovese
       (NY: Facts on File, 2004): Edward Corwin, Council on Environmental Quality, Gramm-
       Rudman-Hollings, Persian Gulf War, legislative veto, presentation clause, item veto,
       pocket veto, veto.

       “Third Parties,” “Presidents,” and “The Right to Life Party” for The Encyclopedia of
       New York State, ed. by Peter Eisenstadt (Syracuse: Syracuse University Press, 2004).

       “Gun Rights for Terrorists? Gun Control and the Bush Presidency,” Transformed By
       Crisis: The Presidency of George W. Bush and American Politics, ed. by Jon Kraus,
       Kevin McMahon, and David Rankin (NY: Palgrave Macmillan, 2004), 141-165.

       “The Presidential Veto Is An Effective Tool for Governing,” in Debating the Presidency,
       Robert P. Watson and David Freeman, eds. (Dubuque, IA: Kendall/Hunt, 2005).

       “Veto: The Power to Say ‘No,’” in Thinking About the Presidency, ed. by Gary L. Gregg
       (Lanham, MD: Rowman & Littlefield, 2005).

       “The ‘Protective Return’ Pocket Veto: Presidential Aggrandizement of Constitutional
       Power,” Executing the Constitution, ed. By Chris Kelley (Albany: SUNY Press, 2006),
       109-126.

       “Gun Violence and Gun Control,” in Social Issues in America: An Encyclopedia, 8 vols.,
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       ed. By James Ciment (NY: M.E. Sharpe, 2006).

       “The Commander-in-Chief Power and Constitutional Invention in the Bush
       Administration,” The Presidency and the Challenge of Democracy, ed. By Michael
       Genovese and Lori Cox Han (New York: Palgrave Macmillan, 2006), 93-117.

       “Right to Bear Arms,” Encyclopedia of American Civil Liberties, 4 vols., ed. By Paul
       Finkelman (NY: Routledge, 2006).

       “Gun Violence is a Serious Problem,” Gun Violence: Opposing Viewpoints, Margaret
       Haerens, ed. (New York: Thomson Gale, 2006).

       “The Commander-in-Chief Power in the George W. Bush Administration,” Presidential
       Power in America, ed. By Lawrence R. Velvel (Andover, MA: Doukathsan Press, 2007).

       “Presidential Veto” and “Gun Control,” Encyclopedia of American Government and
       Civics ed. Michael Genovese and Lori Cox Han (New York: Facts-on-File, 2008).

       “Gerald R. Ford,” Encyclopedia of Political Communication ed. By Lynda Lee Kaid and
       Christina Holtz-Bacha (Thousand Oaks, CA: Sage Pubs., 2008).

       “Leading Elite Opinion: Law Reviews and the Distortion of Scholarship,” in Leadership
       at the Crossroads, Vol 2, “Leadership and Politics,” ed. By Michael Genovese and Lori
       Cox Han (Westport, CT: Praeger, 2008).

       “Gun Control Policy,” in Encyclopedia of Issues in U.S. Public Policy, ed. By Mark
       Rushefsky (Farmington Hills, MI: Gale Publishing, 2009).

       “‘Hot’ and ‘Not-So-Hot’ Buttons in the 2008 Presidential Election,” in Winning the
       Presidency 2008, William Crotty, ed. (Boulder, CO: Paradigm Publishers, 2009).

       “Resolved, that the President Should Not be Given a Line Item Veto,” in Debating
       Reform: Conflicting Perspectives on How to Fix the American Political System, Richard
       Ellis and Michael Nelson, eds. (Washington, D.C.: CQ Press, 2010; revised for 2nd ed.
       2013).

       “Looking Through the Other End of the Telescope: Playing in Lowi’s Arenas,” in
       Political Science as Public Philosophy: Essays in Honor of Theodore J. Lowi, Benjamin
       Ginsberg and Gwendolyn Mink, eds. (New York: W.W. Norton, 2010).

       “Why Do Americans Love Guns So Much, and Does Everyone Own One?” You Asked:
       20 Questions About America, U.S. Department of State, 2010.

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       “Liberals and the Presidency,” Contending Approaches to the American Presidency,
       Michael Genovese, ed. (Washington, DC: CQ Press, 2011).

       “Is the Constitutional Presidency Obsolete?” The American Presidency in the 21st
       Century, Charles Dunn, ed. (Lexington: University Press of Kentucky, 2011).

       “Gun Control,” in Governing America, ed. By Paul Quirk and William Cunion (New
       York: Facts on File, 2011).

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       “Sandy Hook-Remington gun marketing settlement shows how to fight gun companies,”
       NBC THINK, February 19, 2022.

       “The Sandy Hook-Remington Settlement: Consequences for Gun Policy,” Regional Gun
       Violence Research Consortium, Rockefeller Institute of Government, March 21, 2022.

       “Study of US Government Requires Examination of Conflict,” Virginia Daily
       Press/Virginian-Pilot, May 1, 2022.

       “How the NRA evolved from backing a 1934 ban on machine guns to blocking nearly all
       firearm restrictions today,” The Conversation, May 25, 2022.

       “The NRA wasn’t always opposed to gun restrictions,” Chicago Sun-Times, May 27,
       2022.

       “Originalism, History, and Religiosity are the Faults of Alito's Reasoning in Dobbs,”
       History News Network, May 29, 2022.

       “US tragedies from guns have often – but not always – spurred political responses,” The
       Conversation, June 8, 2022.

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       “How the Supreme Court rewrote history to justify its flawed gun decision,” NBC
       THINK, June 23, 2022.

       “The Road Ahead for Gun Laws in New York State,” New York Daily News, June 28,
       2022.

       “Understanding the New Gun Policy Collision,” Regional Gun Violence Research
       Consortium, Rockefeller Institute of Government, July 12, 2022.

       “Guns at voting sites have long sparked fears of intimidation and violence – yet few
       states ban their presence,” The Conversation, November 2, 2022.

       “Guns at voting sites have long sparked fears of intimidation, violence,” Syracuse Post-
       Standard, November 4, 2022.

       “What our past tells us about young people and guns,” The Hill, March 28, 2023.

       “Stand-Your-Ground, the Castle Doctrine, and Public Safety,” Regional Gun Violence
       Research Consortium, Rockefeller Institute of Government, May 3, 2023.

       “For Most of U.S. History We've Had Both Gun Rights and Gun Regulations,”
       TIME.com, June 6, 2023.

       “Is domestic abuse really protected by the Second Amendment?” The Hill, July 14, 2023.

       “America’s Original Gun Control,” The Atlantic Monthly, August 12, 2023. 163

       “The Unusual Thing About Hunter Biden’s Indictment,” CNN.com, September 15, 2023.


       TESTIMONY, BRIEFS, AND REPORTS:

       "Report of a Survey of Contributors to the Democratic Telethon," A Report to the
       Democratic National Committee, Washington, D.C., January 1974.

       "Election Laws, Registration and Voting: Some Recommendations," Testimony
       presented before the New York State Assembly Committee on Election Law, Albany,
       N.Y., May 15, 1980.

       "New York's Multi-Party System," a presentation given before members of the Mexican
       and Canadian Parliaments at the Rockefeller Institute for Governmental Studies, Albany,
       N.Y., October 29, 1982.

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       "Comments and Recommendations on `The New York State Assembly: The Need for
       Improved Legislative Management,'" co-authored with Henry Steck, prepared for the
       New York State Assembly Republican Study Group, September, 1985.

       "Registration, Voting, and the New York Election Law," Testimony presented before the
       Governor's Task Force to Encourage Electoral Participation, World Trade Center, New
       York City, December 21, 1987.

       "The Pocket Veto and Sine Die Adjournments," Testimony presented to the Rules
       Committee, Subcommittee on the Legislative Process, House of Representatives,
       Washington D.C., July 26, 1989.

       "Issues Pertaining to the Pocket Veto," Testimony presented to the Judiciary Committee,
       Subcommittee on Economic and Commercial Law, House of Representatives,
       Washington, D.C., May 9, 1990.

       "The Stealth Veto: Does the President Already Possess Item Veto Powers?" Testimony
       presented to the Judiciary Committee, Subcommittee on the Constitution, U.S. Senate,
       Washington, D.C., June 15, 1994.

       “The Hidden History of the Second Amendment,” The National Press Club, Washington,
       D.C., May 12, 1998.

       “The Second Amendment: A Source of Individual Rights?” Testimony presented to the
       Judiciary Committee, Subcommittee on the Constitution, Federalism, and Property
       Rights, U.S. Senate, Washington, D.C., September 23, 1998.

       “The Gun Industry: The NRA’s Silent Partner,” National Press Briefing, Atlanta, GA,
       February 2, 1999.

       “Program Review: SUNY Oswego Political Science Department,” prepared as part of the
       department’s review and assessment process, March 2001.

       Meeting on Executive Order 13233, pertaining to presidential records access, hosted by
       Alberto Gonzales, Office of Legal Counsel, the White House, Washington, D.C.,
       December 7, 2001.

       Article (“Lost and Found: Researching the Second Amendment,” Chicago-Kent Law
       Review, 2000) cited as controlling authority by the U.S. Court of Appeals, Ninth Circuit,
       in the case of Silveira v. Lockyer (312 F.3d 1052; 9th Cir. 2002); 2002 U.S. App. LEXIS
       24612.

       Coauthor, amicus curiae brief in the case of Nordyke v. King, U.S. Court of Appeals,
                                               29




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       Ninth Circuit, 319 F.3d 1185 (2003).

       White House meeting on changing standards regarding FOIA requests, access to
       Executive Branch documents, and presidential library design, hosted by White House
       Counsel Alberto Gonzales and White House Staff Secretary Brett Kavanaugh,
       Washington, D.C., July 17, 2003.

       Invited participant and panelist, “National Research Collaborative Meeting on Firearms
       Violence,” hosted by the Firearm and Injury Center at the University of Pennsylvania,
       and the Joyce Foundation, Philadelphia, PA, June 15-17, 2005.

       Program Review Report, SUNY Geneseo Political Science Department, March, 2009.

       Coauthor with Louis Fisher, amicus curiae brief in the case of Republic of Iraq et al. v.
       Beaty et. al., U.S. Supreme Court, filed March 25, 2009; case decided June 8, 2009 (556
       U.S. 848; 2009).

       Testimony on bills to enact early voting and other state voting reform measures before
       the New York State Senate Standing Committee on Elections, Syracuse, NY, May 14,
       2009.

       Co-author, amicus brief in the cases of NRA v. City of Chicago and McDonald v.
       Chicago, U.S. Supreme Court, argued March 2, 2010, decided June 28, 2010, 561 U.S.
       742 (2010).

       Consultant for plaintiffs in Conservative Party of New York and Working Families Party
       v. NYS Board of Elections (10 Civ. 6923 (JSR)), 2010, U.S. District Court for the
       Southern District of New York.

       Co-author, amicus brief in the case of Ezell v. Chicago, U.S. Court of Appeals for the
       Seventh Circuit, 651 F.3d 684 (2011).

       Co-author, amicus brief in the case of People of the State of Illinois v. Aguilar, Illinois
       Supreme Court, No. 08 CR 12069, 2012.

       Invited panelist and contributor to conference and report, Institute of Medicine and the
       National Research Council of the National Academies, “Committee on Priorities for a
       Public Health Research Agenda to Reduce the threat of Firearm-Related Violence,”
       National Academies Keck Center, 500 Fifth St., NW, Washington, DC, April 23, 2013.

       “Perspectives on the ‘Stand Your Ground’ Movement,” Testimony submitted to the U.S.
       Senate Committee on the Judiciary, Subcommittee on the Constitution, Civil Rights and
       Human Rights, Hearing on “‘Stand Your Ground’ Laws: Civil Rights and Public Safety
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       Implications of the Expanded Use of Deadly Force,” Washington, D.C., October 29,
       2013.

       Testimony on the Hearing Protection Act to deregulate gun silencers submitted to the
       U.S. House of Representatives Committee on Natural Resources, Subcommittee on
       Federal Lands, for Hearings on the Sportsmen’s Heritage and Recreational Enhancement
       Act (SHARE Act), Washington, D.C., September 12, 2017.

       Expert testimony submitted for the State of Massachusetts, Office of Attorney General, in
       the case of Worman v. Baker, No. 1:17-cv-10107-WGY, United States District Court for
       the District of Massachusetts, submitted September 15, 2017, challenging Massachusetts
       state assault weapons restrictions. In 2019 the U.S. Court of Appeals for the First Circuit
       upheld the Massachusetts law (922 F.3d 26).

       Member, Regional Gun Violence Research Consortium Organizing Committee, a Task
       Force organized by NY Governor Andrew Cuomo and the State Department of Education
       to research and investigate the causes of gun violence in a multi-state effort. February
       2018.

       Program Review Report, SUNY New Paltz Political Science and International Relations
       Departments, April 2019.

       Consultant on Facebook policies and actions regarding gun issues, Quonundrums Market
       Research for Facebook, August 17, 2021.

       Several of my publications cited in the case ruling of Duncan v. Bonta, U.S. Court of
       Appeals for the Ninth Circuit, November 30, 2021.


  PAPERS AND PRESENTATIONS (NOT INCLUDING THOSE GIVEN ON THE
  CORTLAND CAMPUS):

       "The President as Policy-Maker: The Arenas of Presidential Power from 1954 to 1974,"
       American Political Science Association, Washington, D.C., August 28-31, 1980.

       "The Right-to-Life Movement as a Third Party: The Policy Environment and Movement
       Politics," American Political Science Association, New York City, September 3-6, 1981.
       Reprinted by Rockefeller Institute for Governmental Studies Working Papers, Vol. I, No.
       4, September, 1982.

       "Viable Democracy or the French Fourth Republic: Multi-Party Politics in New York,"
       New York State Political Science Association, Albany, April 6, 1984.

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       "The Right-to-Life Movement as Partisan Activity," American Political Science Associa-
       tion, Washington, D.C., August 30 - September 2, 1984.

       "Biting the Bullet: Gun Control and Social Regulation," American Political Science
       Association, New Orleans, La., August 29 - September 1, 1985.

       "The Presidential Veto," Northeastern Political Science Association, Boston, MA,
       November 13-15, 1986.

       "Perspectives on the Presidential Veto Power: Antecedents and Evolution," Bicentennial
       Conference on the Presidency, co-sponsored by the Center for the Study of the
       Presidency, the Chautauqua Institution and Gannon University, Erie, PA, April 24-26,
       1987.

       "The Transformation of a Kingly Power: The Presidential Veto, Past and Present,"
       American Political Science Association, Chicago, IL, September 3-6, 1987.

       "The Pocket Veto: Expanding Presidential Prerogatives Through the Back Door,"
       American Political Science Association, Washington, D.C., September 1-4, 1988.

       "Liberalism and Juridical Democracy; or What's Interesting About Interest Group
       Liberalism," Western Political Science Association, Newport Beach, CA., March 22-24,
       1990.

       "Separation of Powers and the War Power," presentation sponsored by the Federalist
       Society, Cornell University School of Law, April 20, 1990.

       "Is the Separation of Powers Obsolete? An Inquiry into Critiques of the Congressional-
       Presidential Balance of Power," American Political Science Association, Washington,
       D.C., August 29-September 1, 1991.

       "Hate Speech and the College Campus," conference on Two Hundred Years of Free
       Expression, SUNY Oneonta, October 2-3, 1992.

       "From Presidential Shield to `Go Ahead, Make My Day': The Presidential Veto and the
       Constitutional Balance of Power," featured paper presenter for Fall 1992 Symposium on
       American Constitutionalism, Southwest Texas State University, San Marcos, TX,
       October 30, 1992.

       "The Reagan Presidency and the Veto Power: Symbols and Actions of the `Make-My-
       Day' President," Southern Political Science Association, Savannah, GA, November 3-6,
       1993.

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       "Tenure, Speech, and the Jeffries Case: A Functional Analysis," conference on academic
       Freedom and Tenure, sponsored by New York City Bar Association and Pace University
       Law School, New York City, March 8, 1994.

       "`It's My Constitution, and I'll Cry If I Want To': Constitutional Dialogue, Interpretation,
       and Whim in the Inherent Item Veto Dispute, " American Political Science Association,
       Chicago, August 31-September 3, 1995. Winner, 1996 Presidency Research Group
       Founders’ Award for Best Paper on the Presidency presented at the 1995 APSA. Paper
       received mention in the Washington Post, September 24, 1995.

       "Guns and Violence," presentation before Bryn Mawr Presbyterian Church Task Force on
       Violence, Bryn Mawr, PA, October 8, 1995.

       "Guns, Militias, and the Constitution," Distinguished Lecture Series, Utica College, Utica
       NY, March 26, 1996.

       "The Right to Bear Arms: A Constitutional and Criminological Analysis of Gun
       Control," the Cornell University School of Law, October 8, 1996.

       "The Veto King: The `Dr. No' Presidency of George Bush," Conference on the
       Presidency of George Bush, Hofstra University, Hempstead, NY, April 17-19, 1997.

       "Saving the Constitution from Lawyers," American Political Science Association,
       Washington, D.C., August 28-31, 1997.

       “Revolution, the Second Amendment, and Charlton Heston,” Gettysburg College,
       Gettysburg, PA, October 30, 1997.

       “Recent Developments in The Politics of Gun Control,” Gettysburg College, Gettysburg,
       PA, November 10, 1998.

       “The Second Amendment, Disarmament, and Arms Control,” Communitarian Summit,
       the Washington National Airport Hilton, Arlington, VA, February 27-28, 1999.

       “The Argument Against Clinton’s Impeachment,” Hyde Park Session, American Political
       Science Association, Atlanta, September 2-5, 1999.

       “Gun Politics After Littleton,” Gettysburg College, Gettysburg, PA, November 9, 1999.

       “Lost and Found: Researching the Second Amendment,” Symposium on “The Second
       Amendment: Fresh Looks,” Chicago-Kent Law School and the Joyce Foundation,
       Chicago, April 28, 2000.

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       “The Independent Counsel and the Presidency After Clinton,” American Political Science
       Association, Washington, D.C., August 31-September 3, 2000.

       “From Columbine to Santee: Gun Control in the 21st Century,” Idaho State University,
       Pocatello, Idaho, April 19, 2001.

       “Gun Control in the New Millennium,” Gettysburg College, Gettysburg, PA, November
       13, 2001.

       “Gun Rights for Terrorists? Gun Control and the Bush Presidency,” A Presidency
       Transformed By Crises: The George W. Bush Presidency, SUNY Fredonia, NY, October
       17-18, 2002.

       “Gun Control and the Bush Presidency,” Gettysburg College, Gettysburg, PA, November
       21, 2002.

       “The Ashcroft Justice Department and the Second Amendment,” American Bar
       Association Annual Meeting, San Francisco, August 8-11, 2003.

       “The Bush Presidency and 9/11,” Keynote Address, Conference on 9/11, Cazenovia
       College, NY, September 11, 2003.

       “Report of the National Task Force on Presidential Communication to Congress,” co-
       author, Tenth Annual Texas A&M Conference on Presidential Rhetoric, George Bush
       Presidential Library and Conference Center, College Station, TX, March 4-7, 2004.

       “Don’t Know Much About History, Politics, or Law: Comment,” Conference on The
       Second Amendment and the Future of Gun Regulation, co-sponsored by the Fordham
       School of Law, the Second Amendment Research Center, and the John Glenn Institute
       for Public Service and Public Policy of the Ohio State University, April 13, 2004, New
       York City.

       “Bush vs. Kerry: Election of the Century?” Colgate University, Hamilton, NY, October
       20, 2004.

       “The Commander-in-Chief Power and Constitutional Invention in the Bush
       Administration,” a paper presented at a Conference on “Is the Presidency Dangerous to
       Democracy?”, Loyola Marymount University, Los Angeles, CA, February 7, 2005.

       Participant, “The Wheler Family Address on International Relations,” Academic
       Conference on World Affairs, Cazenovia College, Cazenovia, NY, September 9, 2005.

       “What Ever Happened to Gun Control?”, Gettysburg College, Gettysburg, PA, November
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       1, 2005.

       “Clinton and Gun Control: Boon or Bane?” a paper presented at the 11th Presidential
       Conference on William Jefferson Clinton, Hofstra University, Hempstead, NY,
       November 10-12, 2005.

       “George W. Bush and the Unitary Executive,” Keynote Address for “Quest,” SUNY
       Oswego Scholars Day, April 19, 2006.

       “Resolving Conflict with Intractable Foes: The Lessons of International Relations
       Theory Applied to the Modern Gun Control Debate,” Bryant University, Smithfield, RI,
       April 24, 2006.

       “The Unitary Executive and the Commander-in-Chief Power,” Conference on
       Presidential Power in America: The Constitution, the Defense of a Nation and the
       National Ethos, Massachusetts School of Law Conference Series, Andover, MA, October
       14-15, 2006.

       “The 2006 Elections,” LeMoyne College, Syracuse, NY, November 29, 2006.

       “In Wartime, Who Has the Power?” Symposium on Presidential Power and the Challenge
       to Democracy, Idaho State University, Pocatello, ID, April 26, 2007.

       “Saul Cornell’s Second Amendment: Why History Matters,” Conference on Firearms, the
       Militia and Safe Cities: Merging History, Constitutional Law, and Public Policy, Albany
       Law School, Albany, NY, October 18-19, 2007.

       “Gun Control and the 2008 Elections,” Third Annual Harry F. Guggenheim Symposium
       on Crime in America, John Jay College, New York City, December 3-4, 2007.

       “The Post-Cold War Vice Presidency,” Cornell Adult University, Cornell University,
       Ithaca, NY, July 31, 2008.

       “Is the Presidency Constitutional?” Roundtable panel on Restoring the Constitutional
       Presidency, APSA, Boston, August 28-31, 2008.

       “The Future of the American Presidency,” Board of the Bristol Statehouse, Bristol, RI,
       November 30, 2008.

       “Is the Constitutional Presidency Obsolete? The Future of the American Presidency,”
       Symposium on The Future of the American Presidency, Regent University, Virginia
       Beach, VA, February 6, 2009.

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       “The Failure of the Pro-Gun Control Movement,” SUNY Oneonta, March 19, 2009.

       “The Post-Bush Presidency and the Constitutional Order,” American Political Science
       Association, Toronto, Canada, September 3-6, 2009.

       “Inventing Gun Rights: The Supreme Court, the Second Amendment, and Incorporation,”
       SUNY Geneseo, March 24, 2010.

       “Intelligence Don’t Matter,” Keynote Address to Phi Kappa Phi Induction Ceremony,
       SUNY Cortland, April 17, 2010.

       “The Law and Politics of Gun Control after Tucson,” 6th Annual Harry Frank
       Guggenheim Symposium on Crime in America, conference on “Law and Disorder:
       Facing the Legal and Economic Challenges to American Criminal Justice,” John Jay
       College of Criminal Justice, CUNY, New York City, January 31-February 1, 2011.

       “Looking Ahead to the 2012 Elections,” Tompkins County Democratic Committee,
       Ithaca, NY, August 7, 2011.

       “Growing Executive Power: The Strange Case of the ‘Protective Return’ Pocket Veto,”
       American Political Science Association, Seattle, WA, September 1-4, 2011.

       “Gun Control and the Second Amendment,” OASIS Conference, Syracuse, NY, October
       3, 2011

       “Comparing the Constitutional Presidencies of George W. Bush and Barack Obama: War
       Powers, Signing Statements, Vetoes,” conference on “Change in the White House?
       Comparing the Presidencies of George W. Bush and Barack Obama,” Hofstra University,
       Hempstead, NY, April 19, 2012.

       “Watergate After 40 Years: Dick Cheney’s Revenge,” American Political Science
       Association, New Orleans, LA, August 30-September 2, 2012.

       “The Media, American Elections, and Democracy,” OASIS, Syracuse, NY, October 22,
       2012.

       “Hot Button Issues in the 2012 Presidential Campaign,” Hiram College Conference on
       the 2012 Elections, Hiram, Ohio, November 15-17, 2012.

       “Gun Legislation and Obstacles to Effective Gun Control,” Metropolitan Black Bar
       Association, New York City Bar Association, November 29, 2012.

       “Guns and America,” Syracuse University, Syracuse, NY, February 19, 2013.
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       “The Constitution Between Opponents,” conference on “The State of the Presidency,”
       Andrus Center for Public Policy, Boise State University, Boise, ID, February 28, 2013.

       “Gun Policy at a Crossroads,” Thursday Morning Roundtable, Syracuse, NY, March 7,
       2013.

       “Gun Policy Cycles and History,” Pediatric Grand Rounds at the Upstate Golisano
       Children’s Hospital, Syracuse, NY, March 13, 2013.

       “Gun Law and the Constitution,” Monroe County Bar Association, Rochester, NY,
       March 21, 2013.

       “The Architecture of the Gun Control Debate,” Goldfarb Center for Public Affairs, Colby
       College, Waterville, ME, April 2, 2013.

       “The Campbell Debates: This Assembly Supports the NY SAFE Act,” Syracuse
       University, April 5, 2013.

       “What has Sandy Hook Changed? The Evolving Gun Debate,” Reisman Lecture Series,
       Cazenovia College, Cazenovia, NY, April 17, 2013.

       “Gun Policy Change: Infringing Rights, or Following History?” Jefferson Community
       College, Watertown, NY, April 18, 2013.

       “Under the Gun,” Conference on “Gun Violence, Gun Laws, and the Media,” Center on
       Media, Crime and Justice, John Jay College of Criminal Justice, New York, May 14-15,
       2013.

       “Five Myths of the Gun Debate,” Lawman of the Year, Cortland County Lawman
       Committee, Cortland, NY, May 20, 2013.

       “Gun Law History,” Sterling Historical Society, Sterling, NY, June 27, 2013.

       “Analyzing the New York SAFE Act,” League of Women Voters Forum, Cortland, NY,
       September 12, 2013.

       “Constitution Day, the Second Amendment, and Guns,” OASIS, Syracuse, NY,
       September 16, 2013.

       “The Second Amendment and Guns in America,” Values, Arts, and Ideas Series
       Constitution Day Speaker, Manchester University, North Manchester, Indiana, September
       17, 2013.
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       “Live By History, Die By History: The Second Amendment, Heller, and Gun Policy,”
       Georgetown University, Washington, DC, October 18, 2013.

       “American Gun Policy,” “Gun Violence: A Comparative Perspective,” and “American
       History and Foreign Policy, 1960-1990,” King’s College, London, England; Southbank
       Centre, “Superpower Weekend,” November 8-11, 2013.

       “Gun Politics and the Electoral Process,” Oneida County Women’s Democratic Club and
       County Committee, Utica, NY, November 17, 2013.

       “The Second Amendment and the Hidden History of Gun Laws,” Institute for Legislative
       Studies, University of North Carolina, Greensboro, NC, November 20-21, 2013.

       “The Future of Gun Regulation After Newtown,” Fordham University, New York, NY,
       January 21, 2014.

       “The 2014 Elections: The End of the Obama Era?” 22nd Annual Chautauqua, Homer, NY,
       August 3, 2014.

       “New York State and the NY SAFE Act: A Case Study in Strict Gun Laws,” conference
       on “A Loaded Debate: The Right to Keep and Bear Arms in the 21st Century,” Albany
       Law School, Albany, NY, October 9, 2014.

       “Is Gun Control Un-American or at Least Unconstitutional?” Temple Concord, Syracuse,
       NY, October 14, 2014.

       “The American Gun Debate is Under Water,” TEDxCortland Talk, Hathaway House,
       Solon, NY, October 25, 2014.

       “The Unitary Executive and the Bush Presidency,” Conference on the Presidency of
       George W. Bush,” Hofstra University, Hempstead, NY, March 24-26, 2015.

       “Assessing the Obama Presidency,” Western Political Science Association, Las Vegas,
       NV, April 1-3, 2015.

       “Gun Laws, Gun Policies, and the Second Amendment,” Central New York Council of
       the Social Studies Professional Development Day Conference, Carnegie Conference
       Center, Syracuse, NY, October 20, 2015.

       “The 2016 Elections,” The Cornell Club of Cortland County, November 17, 2015,
       Cortland, NY.

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       “Gun Law History in the U.S. and Second Amendment Rights,” Conference on The
       Second Amendment: Legal and Policy Issues, New York University Law School and the
       Brennan Center for Justice, New York City, April 8, 2016.

       “The Presidential Elections,” The Century Club, June 7, 2016, Syracuse, NY.

       “The 2016 Elections,” Chautauqua, August 3, 2016, Homer, NY.

       “The 2016 Elections” Cortland Rotary, Cortland, N.Y. September 20, 2016.

       “The 2016 Elections,” Cortland Community Roundtable, October 6, 2016.

       “TrumPocalypse 2016,” Finger Lakes Forum, Geneva, N.Y., October 16, 2016.

       “The 2016 Elections,” Homer Congregational Church, Homer, N.Y., October 30, 2016.

       “Had Enough? Only Five More Days,” OASIS, November 3, 2016, Syracuse, N.Y.

       “Guns for Everyone?” OASIS, November 14, 2016, Syracuse, N.Y.

       “College and Life: Really the Same,” SUNY Cortland Commencement Address, May 14,
       2017.

       “Sizing Up the Trump Presidency,” Cortland County Democratic Party, June 1, 2017.

       “Understanding Impeachment,” Ladies Literary Society, Lafayette, NY, June 7, 2017.

       “Guns Across America,” Ithaca College, Ithaca, NY, September 21, 2017.

       Guest panelist, “Gun Studies Symposium,” University of Arizona, Tucson, AZ, October
       20, 2017.

       “Gun Policy and Schools After Parkland,” SUNY Student Assembly Annual Conference,
       Syracuse, NY, April 7, 2018.

       “Gun Laws, History, and the Second Amendment: What Does the Constitution Allow?”
       Clemson University, SC, April 17, 2018.

       “Gun Violence and the History of Gun Laws,” League of Women Voters of Tompkins
       County, Ithaca, NY, May 23, 2018.

       “The Unknown History of Gun Laws in America,” Madison-Chenango Call to Action,
       Hamilton, NY, June 20, 2018.
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       “It’s All Academic: The Meaning of the Second Amendment Versus Heller,” Conference
       on “The Second Amendment: Its Meaning and Implications in Modern America,”
       Lincoln Memorial University School of Law, Knoxville, TN, January 18, 2019.

       “Mulling Over the Mueller Report,” Indivisible Cortland County, Homer, NY, June 15,
       2019.

       “Gun Accessories and the Second Amendment: Assault Weapons, Magazines, and
       Silencers,” Symposium on Gun Rights and Regulation Outside the Home, Duke
       University, Durham, NC, September 27, 2019.

       “Gun Policy 101: What Policymakers and the Public Need to Know,” Rockefeller
       Institute of Government, Albany, NY, October 1, 2019.

       Guest expert, Federalist Society Teleforum on New York State Rifle and Pistol
       Association v. NYC, November 22, 2019.

       “To Brandish or Not to Brandish: The Consequences of Gun Display,” Duke University
       Law School Conference on Historical Gun Laws, June 19, 2020 (virtual).

       “The 2020 Elections,” Cortland Country Club, October 14, 2020.

       Panelist, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
       Chicago, April 14-17, 2021 (virtual).

       “Gun Violence,” Beaches Watch, Florida, August 4, 2021 (virtual).

       “Challenging Conversations: Gun Control,” Lockdown University (virtual), April 5,
       2022.

       “Scholars’ Circle: Gun Control,” June 30, 2022 (virtual).

       “Gun Rules and Regulations,” Clubhouse AverPoint, July 2, 2022 (virtual).

       “A Nation in Crisis: Are Guns the Problem?” Center for Ethics and Human Values’ Civil
       Discourse Forum, The Ohio State University, Columbus, OH, September 23, 2022.

       “Explaining the 2022 Midterm Elections,” OSHER Lifelong Learning Institute at the
       College of William and Mary, Williamsburg, Va., October 13, 2022.

       “The Gun Rights 2.0 Movement: Public Policy Consequences,” 2022 National Research
       Conference on Firearm Injury Prevention, Omni Shoreham Hotel, Washington, D.C.,
                                             40




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       November 29-December 1, 2022.

       “Gun Law History in America,” OSHER Lifelong Learning Institute at the College of
       William and Mary, Williamsburg, Va., February 16, 2023.

       “The Obama Presidency and Gun Policy,” Paper Presented for Hofstra University’s 13th
       Presidential Conference on The Barack Obama Presidency, Hempstead, NY, April 19-21,
       2023.

       “Gun Law History and Virginia,” League of Women Voters, Williamsburg, Va., June 22,
       2023.

       “Gun Policy in the U.S.: Past, Present, Future,” College of William and Mary,
       Williamsburg, Va., September 21, 2023.

       “Historical Gun Laws Pertaining to Minors,” 2023 Cooper-Walsh Colloquium,
       Conference on Public Health, History, and the Future of Gun Regulation After Bruen,
       Fordham University School of Law, New York City, NY, October 12-13, 2023.

       “Presidential Impeachment: What It Is, How It Works, Why It Matters,” OSHER
       Lifelong Learning Institute at the College of William and Mary, Williamsburg, Va.,
       October 19, 2023.



       PANEL PARTICIPATION:

       Discussant, "Historical Transformations of Political Institutions in the U.S.," Social
       Science History Association, Rochester, N.Y., November 7-9, 1980.

       Chair, "The Political Economy of Single Issue Movements," 1981 American Political
       Science Association, New York City, September 3-6.

       Discussant, "New York Republicans: An Emerging Majority Party?", New York State
       Political Science Association, Albany, N.Y., April 2-3, 1982.

       Round table panel member, "Perspectives on the Reagan Administration," New York
       State Political Science Association, New York, N.Y., April 8-9, 1983.

       Discussant, "Toward a Theory of the Chief Executive," 1983 American Political Science
       Association, Chicago, Ill., September 1-4, 1983.

       Chair and Discussant, "Political Parties and Party Organization," 1984 American Political
                                                41




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       Science Association, Washington, D.C., August 30 - September 2, 1984.

       Discussant, "Reforming the Presidential Selection Process,” New York State Political
       Science Association, New York, N.Y., April 25-26, 1985.

       Chair, "Theoretical Approaches to Policy Concerns," American Political Science
       Association, New Orleans, La., August 29 - September 1, 1985.

       Discussant, "Perspectives on Presidential Influence," American Political Science
       Association, New Orleans, La., August 29 - September 1, 1985.

       Discussant, "The Item Veto," American Political Science Association, New Orleans, La.,
       August 29 - September 1, 1985.

       Chair, "Mobilizing Interests on National Policies," American Political Science
       Association, Washington, D.C., August 28-31, 1986.

       Discussant, "The News Media and American Politics," American Political Science
       Association, Washington, D.C., August 28-31, 1986.

       Chair, "Perspectives on the Bicentennial of the U.S. Constitution," New York State
       Political Science Association, New York City, April 3-4, 1987.

       Discussant, "The Presidency in Comparative Perspective," and "Media and Models of
       Public Policy-Making," American Political Science Association, Atlanta, Aug. 31 - Sept.
       3, 1989.

       Discussant, "Presidents and Economic Interests," American Political Science
       Association, Washington, D.C., August 29 - September 1, 1991.

       Panel Chair, "The Presidential Role in Policy Making," American Political Science
       Association, Chicago, September 3-6, 1992.

       Discussant, "Presidential Influence on Congress," American Political Science
       Association, Washington, D.C., September 2-5, 1993.

       Discussant, "Bureaucratic Politics," Southern Political Science Association, November 3-
       6, 1993.

       Discussant, "The President's Extra-Constitutional Power," American Political Science
       Association, New York City, September 1-4, 1994.

       Discussant, "Roundtable on the President and Congress in a Republican Age," Western
                                             42




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       Political Science Association, San Francisco, March 14-16, 1996.

       Chair, "Militias, the Second Amendment, and the State: Constitutional, Social, and
       Historical Implications," American Political Science Association, San Francisco, August
       29-September 1, 1996.

       Chair, "Roundtable on Teaching the Presidency," American Political Science
       Association, August 29-September 1, 1996.

       Chair, "The Constitutionalism and Presidentialism of Louis Fisher," American Political
       Science Association, Washington, D.C., August 28-31, 1997.

       Chair, “The President as Legislative Leader,” American Political Science Association,
       Boston, September 3-6, 1998.

       Chair, Roundtable on “Memo to the President,” American Political Science Association,
       Atlanta, September 2-5, 1999.

       Discussant, “Firearms in the U.S.,” Midwest Political Science Association, Chicago,
       April 27-30, 2000.

       Chair and discussant, Roundtable on “Is the Presidency Changed?” APSA, San
       Francisco, August 30-September 2, 2001.

       Chair and discussant, “Presidential Use of Strategic Tools,” APSA, Boston, August 29 -
       Sept. 1, 2002.

       Discussant, “Executing the Constitution,” APSA, Boston, August 29 - Sept. 1, 2002.

       Chair, “Marketing the President,” APSA, Philadelphia, August 28-31, 2003.

       Discussant, “Media Coverage of the Presidency,” APSA, Philadelphia, August 28-31,
       2003.

       Chair and discussant, “Does Presidential Leadership in Foreign Policy Matter?” APSA,
       Chicago, September 2-5, 2004.

       Roundtable member, “The Ins and Outs of Obtaining a Book Contract,” APSA, Chicago,
       September 2-5, 2004.

       Discussant, “Presidential Power: Lessons From the Past,” APSA, Washington, D.C.,
       September 1-4, 2005.

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       Chair and Discussant, “The Unitary Executive in a Separated System,” APSA,
       Philadelphia, August 31-September 3, 2006.

       Panel chair, “The Culpability of Congress,” Conference on Presidential Power in
       America: The Constitution, the Defense of a Nation and the National Ethos,
       Massachusetts School of Law Conference Series, Andover, MA, October 14-15, 2006.

       Panel chair, “Keeping the Modern Presidency in Check and Balance,” APSA, Chicago,
       August 30-September 2, 2007.

       Discussant, “Presidential Endings: George W. Bush and the Final Two Years,” APSA,
       Chicago, August 30-September 2, 2007.

       Discussant, “Staffing and Decisionmaking in the White House,” APSA, Boston, August
       28-31, 2008.

       Panel Chair, “Early Assessments of the Obama Presidency,” APSA, Washington, D.C.,
       September 2-5, 2010.

       Discussant, “Historical Perspectives on the Presidency,” APSA, Chicago, August 29-
       Sept. 1, 2013.

       Discussant, “Politics and Presidential Travel,” APSA, Washington, D.C., August 27-31,
       2014.

       Discussant, “The Obama Presidency and Constitutional Law,” APSA, San Francisco,
       Sept. 3-6, 2015.

       Discussant, “Presidents, the Courts and the Law,” APSA, Philadelphia, Sept. 1-4, 2016.

       Discussant, “Executive Power and Democratic Functioning in the Trump Era,” APSA,
       Boston, MA, August 30-September 2, 2018.

       Panel chair, “Assessing the Presidency of Donald Trump,” APSA, Washington, DC,
       August 29-September 1, 2019.

       Roundtable, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
       April 17, 2021 (virtual).

       Roundtable, “Guns and the Political Moment: Political Violence, Self-Defense, and
       Reckoning with Race,” Midwest Political Science Association, Chicago, April 7, 2022.


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       BOOK REVIEWS:

       The American Presidency, by Richard M. Pious, reviewed in The Journal of Politics,
       November, 1979.

       The Politics of Mistrust, by Aaron Wildavsky and Ellen Tenenbaum, reviewed in
       Administrative Science Quarterly, December, 1981.

       Review essay, The President as Policymaker, by Laurence E. Lynn and David DeF.
       Whitman, review essay in Administrative Science Quarterly, March, 1982.

       PL94-142: An Act of Congress, by Erwin L. Levine and Elizabeth M. Wexler, reviewed
       in the American Political Science Review, June, 1982.

       Pure Politics and Impure Science, by Arthur M. Silverstein, reviewed in Administrative
       Science Quarterly, June, 1984.

       Review essay, The President's Agenda, by Paul Light, reviewed in Administrative
       Science Quarterly, September, 1984.

       The Evolution of American Electoral Systems, by Paul Kleppner, et al., reviewed in the
       American Political Science Review, December, 1983.

       A Case of Third Party Activism, by James Canfield, reviewed in Perspective, July-
       August, 1984.

       Winners and Losers: Campaigns, Candidates and Congressional Elections, by Stuart
       Rothenberg, reviewed in the American Political Science Review, December, 1984.

       The Political Presidency, by Barbara Kellerman, reviewed in Perspective, January-
       February, 1985.

       Presidents and Promises, by Jeff Fishel, reviewed in the American Political Science
       Review, December, 1985.

       The Elections of 1984, ed. by Michael Nelson, reviewed in Perspective, May/June, 1985.

       Economic Conditions and Electoral Outcomes, by Heinz Eulau and Michael S. Lewis-
       Beck, reviewed in Perspective, May/June, 1986.

       Presidential Transitions: Eisenhower Through Reagan, by Carl M. Brauer, in
       Perspective, January/February, 1987.

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       Religion and Politics in the United States, by Kenneth D. Wald, in Journal for the
       Scientific Study of Religion, September, 1988.

       Abortion and Divorce in Western Law, by Mary Ann Glendon, in The Annals of the
       American Academy of Political and Social Science, September, 1988.

       The American Political Economy, by Douglas Hibbs, in Perspective, Spring, 1988.

       God in the White House, by Richard G. Hutcheson, Jr., in Perspective, Fall, 1988.

       The Reagan Legacy, Charles O. Jones, ed., in Social Science Quarterly, June, 1989.

       Dilemmas of Presidential Leadership From Washington Through Lincoln by Richard
       Ellis and Aaron Wildavsky, in Perspective, September, 1989.

       Taming the Prince by Harvey Mansfield, Jr., in Governance, April, 1990.

       Public Policy and Transit System Management, ed. by George M. Guess, in Perspective,
       Spring, 1991.

       The Myth of Scientific Public Policy, by Robert Formaini, in Perspective, Winter, 1992.

       The Bush Presidency: First Appraisals, ed. by Colin Campbell and Bert Rockman in
       Public Administration Review, May/June, 1992.

       The Illusion of a Conservative Reagan Revolution, by Larry Schwab, in Policy Currents,
       May, 1992.

       The Vital South: How Presidents Are Elected, by Earl Black and Merle Black, in
       Perspective, Fall, 1993.

       The Presidential Pulse of Congressional Elections, by James E. Campbell, in The Journal
       of American History, March, 1995.

       Out of Order, by Thomas Patterson, in Presidential Studies Quarterly, Summer, 1994.

       Congress, the President, and Policymaking, by Jean Schroedel, in the American Political
       Science Review, December, 1994.

       The President and the Parties, by Sidney Milkis, in Governance, January 1995.

       The Myth of the Modern Presidency, by David K. Nichols, PRG Report, Spring, 1995.

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       The End of the Republican Era, by Theodore Lowi, The Journal of American History,
       December, 1995.

       Strategic Disagreement: Stalemate in American Politics by John B. Gilmour, in
       Governance (9), 1996.

       Rivals For Power: Presidential-Congressional Relations, by James Thurber, in American
       Political Science Review, March, 1997.

       American Presidential Elections, ed. by Harvey Schantz, in Perspectives, Spring 1997.

       The Power of Separation by Jessica Korn, in Congress & the Presidency, Spring 1997.

       Strong Presidents by Philip Abbott, in Perspective, Fall 1997.

       Other People’s Money: Policy Change, Congress, and Bank Regulation, by Jeffrey
       Worsham, in Perspectives, Spring 1998.

       A Third Choice, in Journal of American History, December 1998.

       Politics, Power and Policy Making: The Case of Health Care Reform in the 1990s, by
       Mark Rushefsky and Kant Patel in Perspectives, Winter 1999.

       The Paradoxes of the American Presidency, by Thomas Cronin and Michael Genovese,
       for the American Political Science Review, March 1999.

       Republic of Denial, by Michael Janeway, for Perspectives, Spring 2000.

       The Art of Political Warfare, by John Pitney, Rhetoric and Public Affairs, Summer 2001.

       Arming America, by Michael Bellesiles, Congress Monthly, January/February 2002.

       Gun Violence in America by Alexander DeConde, Law and Politics Book Review,
       August 2001; also in Historynewsnetwork.org, 8/01.

       Presidents as Candidates, by Kathryn D. Tenpas, in Rhetoric and Public Affairs, Spring
       2002.

       The Trouble With Government, by Derek Bok, Perspectives, Spring 2002.

       King of the Mountain, by Arnold M. Ludwig, Rhetoric and Public Affairs, Winter 2002.

       Power, the Presidency, and the Preamble, by Robert M. Saunders, Presidential Studies
                                             47




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       Quarterly, December 2002.

       Presidents, Parliaments, and Policy, ed. by Stephen Haggard and Mathew McCubbins,
       Perspectives, Winter 2003.

       The Modern American Presidency, by Lewis L. Gould, Rhetoric and Public Affairs.

       Watergate: The Presidential Scandal that Shook America, by Keith W. Olson,
       Perspectives, Summer 2003.

       The Militia and the Right to Arms, or, How the Second Amendment Fell Silent, by H.
       Richard Uviller and William G. Merkel, Journal of American History, March 2004.

       Power Without Persuasion: The Politics of Direct Presidential Action, by William G.
       Howell, Perspectives on Politics, June 2004.

       The George W. Bush Presidency: An Early Assessment, ed. By Fred Greenstein,
       Perspectives, Spring 2004.

       The Invention of the United States Senate, by Daniel Wirls and Stephen Wirls,
       Perspectives, Summer 2004.

       The Mythic Meanings of the Second Amendment, by David C. Williams, Law and
       Politics Book Review, April 2004.

       Empowering the White House, by Karen M. Hult and Charles E. Walcott, Rhetoric and
       Public Affairs, Fall 2005.

       Defining Americans: The Presidency and National Identity, by Mary E. Stuckey,
       Perspectives, Spring 2005.

       Presidential Leadership: Rating the Best and Worst in the White House, ed. By James
       Taranto and Leonard Leo, Rhetoric and Public Affairs, Summer 2006.

       A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
       America, by Saul Cornell, American Journal of Legal History, October 2006.

       The Founders’ Second Amendment: Origins of the Right to Bear Arms, by Stephen
       Halbrook, Law and Politics Book Review 18(October 2008).

       Out of the Shadow: George H.W. Bush and the End of the Cold War, by Christopher
       Maynard, Journal of American History (September 2009).

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       Guns, Democracy, and the Insurrectionist Idea, by Joshua Horwitz, Law and Politics
       Book Review 19(June 2009).

       Talking Together, by Lawrence Jacobs, Fay Lomax Cook, and Michael Delli Carpini,
       dailykos.com, posted June 20, 2009, with Glenn Altschuler.

       Accidental Presidents, by Philip Abbott, Presidential Studies Quarterly, June 2010.

       The Co-Presidency of Bush and Cheney, by Shirley Anne Warshaw, Congress and the
       Presidency, 2010.

       Crisis and Command: The History of Executive Power from George Washington to
       George W. Bush, by John Yoo, Presidential Studies Quarterly (December 2010).

       Declaring War: Congress, the President, and What the Constitution Does Not Say, by
       Brien Hallett, Law and Politics Book Review 22(November 2012).

       Congress vs. the Bureaucracy: Muzzling Agency Public Relations, by Mordecai Lee, The
       Journal of American History (December 2012).

       Arming and Disarming, by R. Blake Brown, Law and History Review (November 2013).

       Reclaiming Accountability: Transparency, Executive Power, and the U.S. Constitution,
       by Heidi Kitrosser, Congress and the Presidency 42(2015).

       The Six-Shooter State: Public and Private Violence in American Politics by Jonathan
       Obert and The Lives of Guns ed. by Jonathan Obert, Andrew Poe and Austin Sarat,
       Perspectives on Politics 17(September 2019).

       The Toughest Gun Law in the Nation by James B. Jacobs and Zoe Fuhr, Criminal Law
       and Criminal Justice Books, March 2020.

       Warped Narratives: Distortion in the Framing of Gun Policy by Melissa K. Merry,
       Perspectives on Politics 18(September 2020).

       The Uses and Misuses of Politics: Karl Rove and the Bush Presidency by William G.
       Mayer, Presidential Studies Quarterly (December 2022).


  SELECTED MEDIA APPEARANCES/QUOTATIONS:

       NBC’s “Today Show”; ABC’s “Good Morning America” and “Network Nightly News”;
       PBS’s “News Hour”; CNN’s “Lou Dobbs,” “NewsStand,” “CNN & Co.” CNN’s HLN,
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       and “Insight”; CNBC’s “Upfront Tonight”; MSNBC’s “Countdown with Keith
       Olbermann,” “All In With Chris Hayes,” “Ali Velshi”; “Fresh Air With Terry Gross,”
       “The Diane Rehm Show,” 1A with Joshua Johnson, NPR; NHK Television (Japan);
       CGTN (China), documentary films “Guns and Mothers” (PBS, 2003), “Under the Gun”
       (Katie Couric Film Company, Epix, 2016), “The Price of Freedom” (Flatbush
       Pictures/Tribeca Films, 2021). Quoted in or by the New York Times, the Washington
       Post, Time Magazine, Newsweek, Der Spiegel (Germany), USA Today, the Los Angeles
       Times, the Wall Street Journal, the Christian Science Monitor, the Boston Globe, the
       Chicago Tribune, the Philadelphia Inquirer, the Miami Herald, Houston Chronicle, the St.
       Louis Post-Dispatch, San Francisco Chronicle, the Dallas Morning News, the Baltimore
       Sun, the Detroit Free Press, the Seattle Post-Intelligencer, Newsday, the Denver Post,
       Kansas City Star, Dallas News, Pittsburgh Post-Gazette, New Orleans Times Picayune,
       Orlando Sentinel, Columbus Dispatch, Buffalo News, San Jose Mercury News, Albany
       Times-Union, St. Petersburg Times, Arkansas Democrat-Gazette, Newark Star-Ledger,
       Bergen Record, Congress Daily, The Hill, CQ Report, Rolling Stone, The Nation, Ladies
       Home Journal, the National Journal, The Spectator, Legal Times, Financial Times,
       Toronto Globe, al Jazeera, Reuters, Bloomberg News, Knight Ridder, AP, Gannett,
       Newhouse, Scripps Howard, McClatchy, Hearst, the BBC (Britain), CBC (Canada), the
       Voice of America, Radio Free Europe, ABC News Online, Fox News Online, National
       Public Radio, CBS Radio, media outlets in South Korea, India, Brazil, Denmark, Spain,
       France, Norway, Germany.

       Regular panelist on “The Ivory Tower,” a weekly public affairs program broadcast on
       WCNY-TV, Syracuse, NY, from 2002-2021. A half hour discussion of the week’s events
       conducted by five academics from area colleges.


  PROFESSIONAL ASSOCIATIONS:

       Scholars Strategy Network.
       American Political Science Association.
       Center for the Study of the Presidency.
       Presidents and Executive Politics Section (formerly the Presidency Research Group),
              APSA; served on Governing Board of PRG, 1991 to 2003.
       New York Political Science Association.
       Pi Sigma Alpha.
       Phi Kappa Phi.


  TEACHING AREAS:

       American Government: courses taught include Law and Politics, Introduction to
             American Government, The Legislative Process, Political Parties and Social
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                Movements, The American Presidency, Media and Politics, Gun Control Politics
                and Policy, State and Local Government, Abortion Politics, Elections and
                American Politics, Media and War, internships in Washington, D.C., Albany, and
                Cortland County, Seminars on the Decline of Parties and Third Parties, American
                Institutions, Current Developments in American Politics, and Introduction to
                College Life.

                Public Policy: courses taught include Politics and Policy, Introduction to Public
                Policy, Gun Policy. Areas of interest include policy theory, policy formation and
                decisionmaking, and policy implementation.


  TEACHING-RELATED AWARDS:

         Three-time recipient of the SUNY Cortland Student Government Association
         Outstanding Faculty Award (the "DiGiusto Award"), 1987, 1991, and 2003, for
         "Outstanding Service to Students." (The only faculty member ever to win this award
         more than once.)


  OTHER PROFESSIONAL ACTIVITIES

  External Reviewer, University of Michigan-Dearborn, Project to Expand Promotion and Tenure
  Guidelines (PTIE) to Inclusively Recognize Innovation and Entrepreneurial Impact, 2021.

  Member, Howard Penniman Graduate Scholarship Selection Committee, Pi Sigma Alpha, 2018.

  Member, Advisory Board of Pi Sigma Alpha Undergraduate Journal of Politics, 2014-2016.

  Executive Council, Pi Sigma Alpha National Board, 2014-18.

  Fund and organizing leader for American Political Science Association’s new Distinguished
  Teaching Award, 2011-12.

  Chair, Presidency Research Group Task Force on Membership and Recruitment, 2007-08.

  Chair, Richard E. Neustadt Award Committee for Best Book on the Presidency published in
         2005, Presidency Research Group, 2006.

  President, Presidency Research Group, American Political Science Association, 2001-2003;
         Vice-President 1999-2001.

  Chair, Best Paper Award Committee, Presidency Research Group, American Political Science
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         Association, for 1991 and 1992 conferences.

  Member, Governing Board of the Presidency Research Group of the American Political Science
       Association, 1991-2003.

  Editor, PRG Report, 1993-1997.

  Board of Editors, State University of New York Press, 1993-1996; 1997-2000. Board Chair,
         1998-2000.

  Member, Leonard D. White Award Committee for Best Dissertation in Public Administration,
       American Political Science Association, 1995.

  Conference Organizing Committee, "Presidential Power: Forging the Presidency for the 21st
         Century," Columbia University, November 15-16, 1996.

  Chair, E.E. Schattschneider Award Committee, best doctoral dissertation in American Politics,
         American Political Science Association, 1997.

  Secretary/Treasurer, Presidency Research Group, 1997-99.

  Book and article reviews for Houghton Mifflin, Cengage Learning, Random House, McGraw-
  Hill, St. Martins, W.W. Norton, Oxford University Press, Cambridge University Press,
  University of Chicago Press, University of California Press, Princeton University Press, Cornell
  University Press, UNC Press, Pearson Longman, Allyn & Bacon, Palgrave/Macmillan,
  University of New Mexico Press, Texas A&M University Press, Chatham House, CQ Press,
  HarperCollins, SUNY Press, Thompson Wadsworth, University of Michigan Press, University of
  Missouri Press, Westview Press, Brooking Institution, Rowman and Littlefield, Routledge,
  University of Alabama Press, American Political Science Review, PS, Comparative Politics,
  American Journal of Political Science, Policy Studies Journal, Policy Studies Review, Political
  Science Quarterly, the Journal of Politics, Western Political Quarterly, Polity, Social Science
  Quarterly, Political Behavior, American Politics Quarterly, Political Communication, Legislative
  Studies Quarterly, Government and Policy, Congress and the Presidency, Social Science Journal,
  Journal of Policy History, Political Research Quarterly, Presidential Studies Quarterly, Politics
  and Policy, and the National Science Foundation.


  SELECTED COMMUNITY SERVICE

  Administrative Law Judge/Hearing Officer for Cortland County Board of Health, 1994-present;
  for Tompkins County, 1997-present; for Chenango County, 1997-present; for Madison County,
  2006-2021.

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  Member, City of Cortland Planning Commission, 2009-2012.

  Chair, SUNY Press Board of Editors, 1998-2000 (board member 1993-96, 1997-2000).
  Board President, Cortland County Arts Council, 1989-1990 (board member, 1987-1990).

  Chair, Homer Zoning Board of Appeals, 1995-1997; board member 1988-1997.

  Board member, Cortland County Landmark Society, 1989-1995.

  Chair, Planning Committee on Codes and Safety for the village of Homer's (N.Y.) Odyssey 2010
  Project, 1996.




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                                EXHIBIT B




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                                   EXHIBIT B: BOWIE KNIFE LAWS BY TYPE#
STATE            No Concealed No Carry      Greater    Tax/Punish Tax        No Sale to No
                 Carry                      Criminal   for Sale   Owner-     Barred     brandish
                                            Penalty               ship       Groups*
Alabama          1839,1841                  1837       1837,1897 1837,1867   1876
                 1876,1879
Alaska
Arizona          1893,1901      1889
Arkansas         1875           1881        1871       1881
California       1896                                                        1896       1855,1858
Colorado         1862,1877      1881
Connecticut
Delaware
District of      1871
Columbia
Florida                                                1838a
Georgia          1837***,1873                          1837***               1860
Hawaii                          1852,1913
Idaho            1909           1879
Illinois         1876,1881                                                   1881
                 1883
Indiana                         1859
Iowa             1882,1887
                 1900
Kansas           1862,1863                                                   1883
                 1887
Kentucky                                                                     1859
Louisiana        1855           1870
Maine
Maryland         1872,1884
                 1886,1890
Massachusetts


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Michigan         1891
Minnesota        1884
Mississippi      1878,1896^               1837,1838           1841**                1840
Missouri         1871,1883    1917,1923
                 1890,1897
Montana          1864                     1879
Nebraska         1890,1899    1872
Nevada                                    1873
New
Hampshire
New Jersey
New Mexico       1859,1887
New York                      1885
North            1879                                         1856,1858 1846b
Carolina
North Dakota
Ohio             1859,1880
Oklahoma         1890,1903    1890,1891
Oregon
Pennsylvania     1897
Rhode Island     1893,1896
                 1908
South                                                                   1923
Carolina
South Dakota
Tennessee        1838,1863    1869,1881 1838,1856 1838,1867             1856,1867
                 1867         1893
Texas                         1871      1856                            1897
Utah                          1877
Vermont
Virginia         1838,1867,               1838
                 1887
Washington                                                                          1854,1859
                                                                                    1869
West Virginia    1870         1882,1891


                                                                                                  KR1234
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                                  1925
 Wisconsin         1883
 Wyoming                                                                                         1884
Source: https://firearmslaw.duke.edu/repository/search-the-repository/ unless otherwise noted.

*Barred groups included Native Americans/Indians, African Americans/Enslaved, minors.

#Table excludes laws that punish carry/use of “knives” or “sharp or dangerous weapons” but do not mention Bowie knives by name.

** 1841 Miss. Chap. 1, p. 52. See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/

^ 1896 Miss. L. chap. 104, pp. 109-10. See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/

***https://dlg.galileo.usg.edu/georgiabooks/pdfs/gb0439.pdf, pp. 210-211.

a 1838 Fla. Laws ch. 24, p. 36 (Feb. 10, 1838). See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/

b 1846 N.C. L. chap. 42. See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/




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                                EXHIBIT C




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                                                             EXHIBIT C

                                       DANGEROUS WEAPONS RESTRICTIONS
                                            (YEARS OF ENACTMENT)
       STATE1        BOWIE       Bludgeon     Billy/Billie      Clubs    Slung Shot    Sand Bag      Pistols        Any
                     KNIVES                      Clubs                                 Sand Club                 Concealed
                                                                                                                /Deadly/Dan
                                                                                                                   gerous
                                                                                                                  Weapon
    Alabama         1837,1839,                                1805       1873                      1839, 1841
                    1841,1867,
                    1876,1877,
                    1879,1892
    Alaska          1896†                                                1896-99                   1896         1896
    Arizona         1867,1889,                                           1873, 1889                1889         1867
                    1901                                                 1893, 1901
    Arkansas        1871,1875,                                1835       1871                      1820, 1837
                    1881
    California      1855, 1896   1849,        1917, 1923                 1864, 1923   1917, 1923   1850, 1864   1849
                                 1853, 1876
    Colorado        1862,1867,   1876                                    1886                      1862         1862
                    1877, 1881
    Connecticut     1890†                                                1890                      1890, 1923
    Delaware        1881†                                     1797                                 1852
    District of     1858,1871,                                           1871                      1857, 1871
    Columbia        1892
    Florida         1835,†1838                1888                       1868, 1888                1887
                    ,1847,1868
                    ,1893†


1
    In addition to state laws, this chart provides the year of enactment of local ordinances adopted within the states.
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Georgia           1837,1860,   1816                                     1860                        1837
                  1873
Hawaii            1852, 1913                                            1852, 1913                  1913
Idaho             1864†1875,   1875                                     1879                        1909          1864
                  1879, 1909
Illinois          1876, 1881   1845                                     1881, 1893                  1881
Indiana           1859                                    1804, 1855,   1875, 1905                  1820          1831
                                                          1881, 1905
Iowa              1882,1887,                1882                        1882          1887, 1900    1882, 1887,
                  1900                                                                              1897, 1929
Kansas            1862,1863                 1862, 1887                  1883, 1887,                 1901
                  1868,1883,                                            1899
                  1887
Kentucky          1859                                    1798          1859                        1812, 1813
Louisiana         1870                                                                              1813          1813, 1842,
                                                                                                                  1870
Maine             1840,1841,                              1786                                      1840          1841
                  1884†
Maryland          1872,1886,   1809,        1872, 1874                  1886          1890          1872
                  1888, 1890   1874,        1884, 1886
                               1886         1890, 1927
Massachusetts     1836†                                   1750          1850, 1927                  1751
Michigan          1891         1927, 1929   1887, 1891,   1913          1887, 1891,   1887, 1891,   1887
                                            1927, 1929                  1929          1927, 1929
Minnesota         1882                                                  1882, 1888    1888          1881          1882
Mississippi       1837,1838,                              1799, 1804    1878                        1838,1878
                  1878
Missouri          1871,1897,                1871, 1897,   1818,1923     1883, 1888,                 1873
                  1917, 1923                1923                        1897, 1917
Montana           1864,1879,   1887                                                                 1864, 1865    1888
                  1885
Nebraska          1877,1890,   1858         1872, 1890,                 1890                        1881
                  1899                      1899

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Nevada           1873         1872                              1881                        1881, 1925
New
Hampshire
New Jersey       1871,1905†   1799,        1871, 1927           1871, 1873,   1871, 1927    1686
                              1877, 1927                        1927
New Mexico       1852†1853,   1887                              1853, 1859,                 1852, 1853
                 1859,1864                                      1869, 1887
                 1887
New York         1866,1885,   1911,        1866, 1881,   1664   1866          1866, 1881,   1891
                 1911†        1913, 1931   1884, 1885,                        1900, 1911,
                                           1900, 1911,                        1913, 1931
                                           1913, 1931
North Carolina   1840,1856,                                     1879                        1792, 1840
                 1858,1860,
                 1879
North Dakota     1895,1915†   1915         1915                 1895          1915          1895
Ohio             1859,1880,                                                                 1859         1788, 1859,
                 1890                                                                                    1880
Oklahoma         1890,1891,                1890, 1891           1890, 1891,   1890          1890
                 1903                                           1903
Oregon           1885†                     1898, 1917           1885, 1917    1917          1853
Pennsylvania     1897                      1897                 1851                        1851
Rhode Island     1893,1896,                1893, 1908           1893, 1896                  1893
                 1908
South Carolina   1880, 1923                                     1880                        1880
South Dakota     1903†                                          1877, 1903                  1877
Tennessee        1838,1856,                                     1879, 1882,                 1821
                 1863,1867,                                     1893
                 1871,1881,
                 1893
Texas            1856,1871,                              1899   1871, 1879,                 1870
                 1879,1897                                      1889, 1897,
                                                                1899

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    Utah              1877                                                                                  1877, 1888
    Vermont           1892,1895†                                              1895                          1895, 1897
    Virginia          1838,1887                                1792           1887                          1794
    Washington        1854, 1859                                                                            1881         1854, 1859,
                      1869                                                                                               1869, 1881,
                                                                                                                         1883, 1892,
                                                                                                                         1896, 1897
    West Virginia     1870,1882,                1870, 1882,                   1891                          1870
                      1891, 1925                1891, 1925
    Wisconsin         1883, 1896                                              1883, 1888                    1858         1883
    Wyoming           1884,1890    1876, 1893                                 1884, 1890,                   1876
                      1899,1925                                               1899
    Total Laws        136          25           44             17             79             21             66           24

SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/
†
    States that prosecuted/regulated/barred knives more generally without specifically mentioning Bowie knives.




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                                                                                                                          KR1240
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                                EXHIBIT D




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                                      EXHIBIT D

                         DANGEROUS WEAPONS LAWS

  ALABAMA

  Harry Toulmin, A Digest of the Laws of the State of Alabama : Containing the
  Statutes and Resolutions in Force at the End of the General Assembly in January,
  1823. To which is Added an Appendix; Containing the Declaration of
  Independence; the Constitution of the United States; the Act authorizing the People
  of Alabama to form a Constitution and State Government; and the Constitution of
  the State of Alabama Page 627, Image 655 (1823) available at The Making of
  Modern Law: Primary Sources. 1805
  Negroes and Mulattoes, Bond and Free – 1805, Chapter I, An Act respecting
  Slaves. – Passed March 6, 1805: Sec. 4. And be it further enacted, that no slave
  shall keep or carry any gun, powder, shot, club, or other weapon whatsoever,
  offensive or defensive, except the tools given him to work with, or that he is
  ordered by his master, mistress, or overseer, to carry the said articles from one
  place to another, but all and every gun , weapon, or ammunition, found in the
  possession or custody of any slave, may be seized by any person, and upon due
  proof made thereof, before any justice of the peace of the county or corporation
  where such seizure shall be made, shall, by his order, be forfeited to the seizer, for
  his own use; and moreover, every such offender shall have and receive, by order of
  such justice, any number of lashes, not exceeding thirty-nine, on his bare back for
  every such offense : Provided nevertheless, That any justice of the peace may
  grant, in his proper county, permission in writing to any slave, on application of his
  master or overseer, to carry and use a gun and ammunition within the limits of his
  said master’s or owner’s plantation, for a term not exceeding one year, and
  revocable at any time within such term, at the discretion of the said justice, and to
  prevent the inconveniences arising from the meeting of slaves.

  1837 Ala. Acts 7, An Act to Suppress the Use of Bowie Knives, §§ 1, 2.
  Be it enacted by the Senate and House of Representatives of the State of Alabama
  in General Assembly convened, That if any person carrying any knife or weapon,
  known as Bowie Knives or Arkansaw [sic] Tooth-picks, or either or any knife or
  weapon that shall in form, shape or size, resemble a Bowie-Knife or Arkansaw
  [sic] Tooth-pick, on a sudden rencounter, shall cut or stab another with such knife,


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  by reason of which he dies, it shall be adjudged murder, and the offender shall
  suffer the same as if the killing had been by malice aforethought.
  And be it further enacted, [t]hat for every such weapon, sold or given, or otherwise
  disposed of in this State, the person selling, giving or disposing of the same, shall
  pay a tax of one hundred dollars, to be paid into the county Treasury; and if any
  person so selling, giving or disposing of such weapon, shall fail to give in the same
  to his list of taxable property, he shall be subject to the pains and penalties of
  perjury.

  1839 Ala. Acts 67, An Act to Suppress the Evil Practice of Carrying Weapons
  Secretly, § 1
  That if any person shall carry concealed about his person any species of fire arms,
  or any bowie knife, Arkansas tooth-pick, or any other knife of the like kind, dirk,
  or any other deadly weapon, the person so offending shall, on conviction thereof,
  before any court having competent jurisdiction, pay a fine not less than fifty, nor
  more than five hundred dollars, to be assessed by the jury trying the case; and be
  imprisoned for a term not exceeding three months, at the discretion of the Judge of
  said court.

  1841 Ala. Acts 148–49, Of Miscellaneous Offences, ch. 7, § 4.
  Everyone who shall hereafter carry concealed about his person, a bowie knife, or
  knife or instrument of the like kind or description, by whatever name called, dirk
  or any other deadly weapon, pistol or any species of firearms, or air gun, unless
  such person shall be threatened with, or have good cause to apprehend an attack, or
  be travelling, or setting out on a journey, shall on conviction, be fined not less than
  fifty nor more than three hundred dollars: It shall devolve on the person setting up
  the excuse here allowed for carrying concealed weapons, to make it out by proof,
  to the satisfaction of the jury; but no excuse shall be sufficient to authorize the
  carrying of an air gun, bowie knife, or knife of the like kind or description.

  The Revised Code of Alabama Page 169, Image 185 (1867) available at The
  Making of Modern Law: Primary Sources.
  Taxation, § 10. On All pistols or revolvers in the possession of private persons not
  regular dealers holding them for sale, a tax of two dollars each; and on all bowie
  knives, or knives of the like description, held by persons not regular dealers, as
  aforesaid, a tax of three dollars each; and such tax must be collected by the
  assessor when assessing the same, on which a special receipt shall be given to the
  tax payer therefor, showing that such tax has been paid for the year, and in default
  of such payment when demanded by the assessor, such pistols, revolvers, bowie
  knives, or knives of like description, must be seized by him, and unless redeemed
                                             3

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  by payment in ten days thereafter, with such tax, with an additional penalty of fifty
  per cent., the same must be sold at public outcry before the court house door, after
  five days notice; and the overplus remaining, if any, after deducting the tax and
  penalty aforesaid, must be paid over to the person from whom the said pistol,
  revolver, bowie knife, or knife of like description, was taken, and the net amount
  collected by him must be paid over to the collector every month, from which, for
  each such assessment and collection, the assessor shall be entitled to fifty cents,
  and when the additional penalty is collected, he shall receive fifty per cent.
  additional thereto.

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
  the General and Permanent Acts of the Session of 1876-7 have been Incorporated
  Page 882, Image 898 (1877) available at The Making of Modern Law: Primary
  Sources.
  Offenses Against Public Peace, § 4109. Carrying Concealed Weapons – Any
  person who, not being threatened with, or having good reason to apprehend, an
  attack, or traveling, or setting out on a journey, carries concealed about his person
  a bowie knife, or any other knife or instrument of like kind or description, or a
  pistol, or fire arms of any other kind or description, or an air gun, must be fined, on
  conviction, not less than fifty, nor more than three hundred dollars; and may also
  be imprisoned in the county jail, or sentenced to hard labor for the county, for not
  more than six months. (Footnote – Not unconstitutional. – 1 Ala. 612 Co-extensive
  only with necessity – 49 Ala. 355. . .)

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
  the General and Permanent Acts of the Session of 1876-7 have been Incorporated
  Page 989, Image 1005 (1877) available at The Making of Modern Law: Primary
  Sources.
  Proceedings In Circuit and City Courts, § 4809. Carrying Concealed Weapons. – In
  an indictment for carrying concealed weapons, it is sufficient to charge that the
  defendant “carried concealed about his person a pistol, or other description of fire-
  arms,” or “a bowie-knife, or other knife or instrument of the like kind or
  description,” without averring the want of a legal excuse on his part; and the
  excuse, if any, must be proved by the defendant, on the trial, to the satisfaction of
  the jury.

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
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  the General and Permanent Acts of the Session of 1876-7 have been Incorporated
  Page 901, Image 917 (1877) available at The Making of Modern Law: Primary
  Sources.
  Offenses Against Public Health, etc. § 4230 (3751). Selling, giving, or lending,
  pistol or bowie knife, or like knife, to boy under eighteen. – Any person who sells,
  gives, or lends, to any boy under eighteen years of age, any pistol, or bowie knife,
  or other knife of like kind or description, must on conviction, be fined not less than
  fifty, nor more than five hundred dollars.

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
  the General and Permenent Acts of the Session of 1876-7 have been Incorporated
  Page 883, Image 899 (1877) available at The Making of Modern Law: Primary
  Sources.

  Carrying Weapons, Dangerous or Unusual Weapons | Alabama | 1873
  Offenses Against Public Justice, &c. § 4110. Carrying, concealed, brass knuckles
  and slung-shots. – Any person who carries, concealed about his person, brass
  knuckles, slung-shot, or other weapon of like kind or description, shall, on
  conviction thereof, be fined not less than twenty, nor more than two hundred
  dollars, and may also, at the discretion of the court trying the case, be imprisoned
  in the county jail, or sentenced to hard labor for the county, for a term not
  exceeding six months. § 4111. Carrying rifle or shot-gun walking canes. – Any
  person who shall carry a rifle or shot-gun walking cane, shall, upon conviction, be
  fined not less than five hundred dollars, nor more than one thousand dollars, and be
  imprisoned in the penitentiary not less than two years.

  J. M. Falkner, The Code of Ordinances of the City Council of Montgomery
  [Alabama], with the Charter Page 148-49, Image 148-49 (1879) available at The
  Making of Modern Law: Primary Sources.
  § 428. Any person who, not being threatened with or having good reason to
  apprehend an attack, or travelling or setting out on a journey, carries concealed
  about his person a bowie-knife or any other knife of like kind or description, or a
  pistol or fire-arms of any other kind or description, air gun, slung-shot, brass-
  knuckles, or other deadly or dangerous weapon, must, on conviction, be fined not
  less than one nor more than one hundred dollars.

  William Logan Martin, Commissioner, The Code of Alabama, Adopted by Act of
  the General Assembly of the State of Alabama, Approved February 16, 1897,
  Entitled “An Act to Adopt a Code of Laws for the State Alabama ” with Such
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  Statutes Passed at the Session of 1896-97, as are Required to be Incorporated
  Therein by Act Approved February 17, 1897; and with Citations to the Decisions
  of the Supreme Court of the State Construing or Mentioning the Statutes Page
  1137, Image 1154 (Vol. 1, 1897) available at The Making of Modern Law:
  Primary Sources.
  [License Taxes; From Whom and For What Business Required; Prices; County
  Levy,] Taxation, § 27. For dealers in pistols, or pistol cartridges, or bowie-knives,
  or dirk-knives, whether principal stock in trade or not, three hundred dollars. Any
  cartridges, whether called rifle or pistol cartridges, or by any other name, that can
  be used in a pistol, shall be deemed pistol cartridges within the meaning of this
  subdivision. Any person or firm who orders for another, or delivers any cartridges
  within this state, shall be deemed a dealer under this provision.

  ALASKA

  Fred F. Barker, Compilation of the Acts of Congress and Treaties Relating to
  Alaska: From March 30, 1867, to March 3, 1905 139 1906.
  That it shall be unlawful for any person to carry concealed about his person, in any
  manner whatever, any revolver, pistol, or other firearm, or knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.

  1896-99 Alaska Sess. Laws 1270, An Act To Define And Punish Crimes In The
  District Of Alaska And To Provide A Code Of Criminal Procedure For Said
  District, chap. 6, § 117.
  That it shall be unlawful for any person to carry concealed about his person in any
  manner whatever, any revolver, pistol, or other firearm, or knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.

  ARIZONA

  Coles Bashford, The Compiled Laws of the Territory of Arizona, Including the
  Howell Code and the Session Laws From 1864 to 1871, Inclusive: To Which is
  Prefixed the Constitution of the United States, the Mining Law of the United
  States, and the Organic Acts of the Territory of Arizona and New Mexico Page 96,
  Image 102 (1871) available at The Making of Modern Law: Primary Sources,
  1867.
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  An Act to prevent the improper use of deadly weapons, and the indiscriminate use
  of fire arms in the towns and villages of the territory. § 1. That any person in this
  Territory, having, carrying or procuring from another person, any dirk, dirk knife,
  bowie knife, pistol, gun or other deadly weapon, who shall, in the presence of two
  or more persons, draw or exhibit any of said deadly weapons in a rude, angry or
  threatening manner, not in necessary self defense, or who shall, in any manner,
  unlawfully use the same in any fight or quarrel, the person or persons so offending,
  upon conviction thereof in any criminal court in any county of this Territory, shall
  be fined in any sum not less than one hundred nor more than five hundred dollars,
  or imprisonment in the county jail not less than one nor more than six months, in
  the discretion of the court, or both such fine and imprisonment, together with the
  cost of prosecution.

  1889 Ariz. Sess. Laws 16, An Act Defining And Punishing Certain Offenses
  Against The Public Peace, § 1.
  If any person within any settlement, town, village or city within this territory shall
  carry on or about his person, saddle, or in his saddlebags, any pistol, dirk, dagger,
  slung shot, sword cane, spear, brass knuckles, bowie knife, or any other kind of
  knife manufactured or sold for purposes of offense or defense, he shall be punished
  by a fine of not less than twenty-five nor more than one hundred dollars; and in
  addition thereto, shall forfeit to the County in which his is convicted, the weapon
  or weapons so carried.

  1893 Ariz. Sess. Laws 3, An Act To Regulate And Prohibit The Carrying Of
  Deadly Weapons Concealed, § 1.
  It shall be unlawful for any person to have or carry concealed on or about his
  person any pistol or other firearm, dirk, dagger, slung-shot, sword cane, spear,
  brass knuckles, or other knuckles of metal, bowie knife or any kind of knife of
  weapon except a pocket-knife not manufactured and used for the purpose of
  offense and defense.

  1901 Arizona 1251-53, Crimes Against the Public Peace, §§ 381, 385, 390.
  § 381. It shall be unlawful for any person (except a peace officer in actual service
  and discharge of his duty) , to have or carry concealed on or about his person, any
  pistol or other firearm, dirk, dagger, slung shot, sword cane, spear, brass knuckles
  or other knuckles of metal, bowie-knife or any kind of knife or weapon, except a
  pocket knife, not manufactured and used for the purpose of offense and defense.
  § 385. If any person within any settlement, town, village or city within this
  territory shall carry on or about his person, saddle, or in saddlebags, any pistol,
  dagger, slung-shot, sword-cane, spear, brass knuckles, bowie- knife or any other
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  kind of knife manufactured or sold for purposes of offense or defense, he shall be
  punished by a fine of not less than twenty-five nor more than one hundred dollars;
  and in addition shall forfeit to the county in which he is convicted the weapon or
  weapons so carried.
  § 390. Persons travelling may be permitted to carry arms within settlements or
  towns of the territory, for one half hour after arriving in such settlements or towns,
  and while going out of such towns or settlements; and sheriffs and constables of
  the various counties of this territory and their lawfully appointed deputies may
  carry weapons in the legal discharge of the duties . . .

  1901 Ariz. Acts 1252, Crimes and Punishments, §§ 387, 391.
  § 387. If any person shall go into church or religious assembly, any school room,
  or other place where persons are assembled for amusement or for educational or
  scientific purposes, or into any circus, show or public exhibition of any kind or into
  a ball room, social party or social gathering, to any election precinct, on the day or
  days of any election, where any portion of the people of this territory are collected
  to vote at any election, or to any other place where people may be assembled to
  minister, or to perform any other public duty, or to any other public assembly, and
  shall have or carry about his person a pistol or other firearm, dirk, dagger, slung-
  shot, sword-cane, spear, brass knuckles, bowie knife or any other kind of knife
  manufactured and sold for the purposes of offense or defense, he shall be punished
  by a fine not less than fifty or more than five hundred dollars, and shall forfeit to
  the county the weapon or weapons so found on his person.
  § 391. It shall be the duty of the keeper of each and every hotel, boarding house
  and drinking saloon, to keep posted in a conspicuous place in his bar room, or
  reception room . . . a plain notice to travelers to divest themselves of their weapons
  in accordance with section 382 . . .

  ARKANSAS

  Slaves, in Laws of the Arkansas Territory 521 (J. Steele & J. M’Campbell, Eds.,
  1835).
  Race and Slavery Based | Arkansas | 1835
  § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder, shot, club
  or other weapon whatsoever, offensive or defensive; but all and every gun weapon
  and ammunition found in the possession or custody of any negro or mulatto, may
  be seized by any person and upon due proof made before any justice of the peace
  of the district [county] where such seizure shall be, shall by his order be forfeited
  to the seizor, for his own use, and moreover, every such offender shall have and


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  receive by order of such justice any number of lashes not exceeding thirty nine on
  his or her bare back well laid on for every such offense.

  Josiah Gould A Digest of the Statutes of Arkansas All Laws of a General and
  Permanent Character in Force the Close of the Session of the General Assembly of
  380 381–82. 1837.
  Every person who shall wear any pistol, dirk, butcher or large knife, or a sword in
  a cane, concealed as a weapon, unless upon a journey, shall be adjudged guilty of a
  misdemeanor.

  George Eugene Dodge, A Digest of the Laws and Ordinances of the City of Little
  Rock, with the Constitution of State of Arkansas, General Incorporation Laws, and
  All Acts of the General Assembly Relating to the City Page 230-231, Image 230-
  231 (1871) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Arkansas | 1871
  City Ordinances, § 287. Whenever there shall be found upon the person of any one,
  who has been found guilty of a breach of the peace, or for conduct calculated to
  provoke a breach of the peace, any pistol, revolver, bowie-knife, dirk, rifle, shot
  gun, slung-shot, colt, or knuckles of lead, brass or other metal; or when, upon trial,
  evidence shall be adduced proving that such weapons were in the possession or on
  the person of any one while in the act or commission of the act aforesaid, such
  person shall be fined not less than twenty-five nor more than five hundred dollars,
  in addition to the penalty for the breach of the peace aforesaid.

  Act of Feb. 16, 1875,1874-75 Ark. Acts 156.
  § 1. That any person who shall wear or carry any pistol of any kind whatever, or
  any dirk, butcher or bowie knife, or a sword or a spear in a cane, brass or metal
  knucks, or razor, as a weapon, shall be adjudged guilty of a misdemeanor, and
  upon conviction thereof, in the county in which said offense shall have been
  committed, shall be fined in any sum not less than twenty-five nor more than one
  hundred dollars, to be recovered by presentment or indictment in the Circuit Court,
  or before any Justice of the Peace of the county wherein such offense shall have
  been committed; Provided, That nothing herein contained shall be so construed as
  to prohibit any person wearing or carrying any weapon aforesaid on his own
  premises, or to prohibit persons traveling through the country, carrying such
  weapons while on a journey with their baggage, or to prohibit any officer of the
  law wearing or carrying such weapons when engaged in the discharge of his
  official duties, or any person summoned by any such officer to assist in the
  execution of any legal process, or any private person legally authorized to execute
  any legal process to him directed.
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  1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime, chap.
  XCVI (96), § §1-3.
  § 1. That any person who shall wear or carry, in any manner whatever, as a
  weapon, any dirk or bowie knife, or a sword, or a spear in a cane, brass or metal
  knucks, razor, or any pistol of any kind whatever, except such pistols as are used in
  the army or navy of the United States, shall be guilty of a misdemeanor. Provided,
  that officers whose duties require them to make arrests or to keep and guard
  prisoners, together with the persons summoned by such officers to aid them in the
  discharge of such duties, while actually engaged in such duties, are exempted from
  the provisions of this act. Provided, further, that nothing in this act be so construed
  as to prohibit any person from carrying any weapon when upon a journey or upon
  his own premises.
  § 2. Any person, excepting such officers, or persons on a journey, and on his
  premises, as are mentioned in section one of this act, who shall wear or carry any
  such pistol as is used in the army or navy of the United States, in any manner
  except uncovered and in his hand, shall be deemed guilty of a misdemeanor.
  § 3. Any person who shall sell, barter or exchange, or otherwise dispose of, or in
  any manner furnish to any person any person any dirk or bowie knife, or a sword
  or a spear in a cane, brass or metal knucks, or any pistol, of any kind whatever,
  except such as are used in the army or navy of the United States, and known as the
  navy pistol, or any kind of cartridge, for any pistol, or any person who shall keep
  any such arms or cartridges for sale, shall be guilty of a misdemeanor.
  https://cite.case.law/ark/83/26/

  1923 Ark. Acts 379, An Act to Regulate the Ownership of Pistols and Revolvers,
  No. 430.
  Be It Enacted by the People of the State or Arkansas:
  From and after the passage of this Act, it shall be unlawful for any person to own
  or have in his custody or possession any pistol or revolver, except as herein
  provided:
  Section 1. Any person having in his possession or custody any pistol or revolver,
  shall within 60 days from the approval of this Act, present such firearm to the
  county clerk of the county, where he resides, and it shall be the duty of the said
  county clerk to enter upon a separate record provided for that purpose, the name,
  age, place of residence, and color of the party, together with the make, calibre and
  number of said pistol or revolver.


  CALIFORNIA


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  1849 Cal. Stat. 245, An Act to Incorporate the City of San Francisco, § 127.
  [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
  offensive weapon, with intent to assault any person, every such person, on
  conviction, shall be fined not more than one hundred dollars or imprisoned in the
  county jail not more than three months.

  S. Garfielde, Compiled Laws of the State of California: Containing All the Acts of
  the Legislature of a Public and General Nature, Now in Force, Passed at the
  Sessions of 1850-51-52-53. To Which are Prefixed the Declaration of
  Independence, the Constitutions of the United States and of California, the Treaty
  of Queretaro, and the Naturalization Laws of the United States Page 663-664,
  Image 682-683 (1853) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | California | 1853
  Compiled Laws of California, § 127.
  If any person shall be found having upon him or her any picklock, crow, key, bitt,
  or other instrument or tool, with intent feloniously to break and enter into any
  dwelling house, store, shop, warehouse, or other building containing valuable
  property, or shall be found in any of the aforesaid buildings with intent to steal any
  money, goods, and chattels, every person so offending shall, on conviction thereof,
  be imprisoned in the county jail not more than two years; and if any person shall
  have upon him any pistol, gun, knife, dirk, bludgeon, or other offensive weapon,
  with intent to assault any person, every such person, on conviction, shall be fined
  not more than one hundred dollars or imprisoned in the county jail not more than
  three months.




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  William H. R. Wood, Digest of the Laws of California: Containing All Laws of a
  General Character Which were in Force on the First Day of January, 1858; Also,
  the Declaration of Independence, Constitution of the United States, Articles of
  Confederation, Kentucky and Virginia Resolutions of 1798-99, Acts of Congress
  Relative to Public Lands and Pre-Emptions. Together with Judicial Decisions,
  Both of the Supreme Court of the United States and of California, to Which are
  Also Appended Numerous Forms for Obtaining Pre-Emption and Bounty Lands,
  Etc., Etc. Page 334, Image 340 (1861) available at The Making of Modern Law:
  Primary Sources.
  Crimes and Punishments, Art. 1904. That any person in this state having, carrying
  or procuring from another person any dirk, dirk-knife, bowie-knife, sword, sword-
  cane, pistol, gun or other deadly weapon, who shall, in the presence of two or more
  persons, draw or exhibit any of said deadly weapons in a rude, angry and
  threatening manner, not in necessary self-defense, or who shall, in any manner,
  unlawfully use the same, in any fight or quarrel, the person or persons so
  offending, upon conviction thereof in any criminal court in any county of this state,
  shall be fined in any sum not less than one hundred, nor more than five hundred
  dollars, or imprisonment in the county jail not less than one nor more than six
  months, at the discretion of the court, or both such fine and imprisonment, together
  with the costs of prosecution; which said costs shall, in all cases be computed and
  collected in the same manner as costs in civil cases. . . provided, nevertheless, that
  no sheriff, deputy sheriff, marshal, constable or other peace officer, shall be held to
  answer under the provisions of this act, for drawing or exhibiting any of the
  weapons herein-before mentioned, while in the lawful discharge of his or their
  duties. . .

  Theodore Henry Hittell, The General Laws of the State of California, from 1850 to
  1864, Inclusive: Being a Compilation of All Acts of a General Nature Now in
  Force, with Full References to Repealed Acts, Special and Local Legislation, and
  Statutory Constructions of the Supreme Court. To Which are Prefixed the
  Declaration of Independence, Constitution of the United States, Treaty of
  Guadalupe Hidalgo, Proclamations to the People of California, Constitution of the
  State of California, Act of Admission, and United States Naturalization Laws, with
  Notes of California Decisions Thereon Page 261, Image 272 (1868) available at
  The Making of Modern Law: Primary Sources.
  Carrying Weapons | California | 1864
  An Act to Prohibit the Carrying of Concealed Weapons, § 1.
  Every person not being peace-officer, provost-marshal, enrolling-officer, or officer
  acting under the laws of the United States in the department of the provost-marshal
  of this State, State and Federal assessors, collectors of taxes and licenses while in
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  the performance of official duties, or traveler, who shall carry or wear any dirk,
  pistol, sword in cane, slungshot, or other dangerous or deadly weapon concealed,
  shall, upon conviction thereof before any court of competent jurisdiction, be
  deemed guilty of a misdemeanor, and shall be imprisoned in the county jail for not
  less than thirty nor more than ninety days, or fined in any sum not less than twenty
  nor more than two hundred dollars. § 2. Such persons, and no others, shall be
  deemed travelers within the meaning of this act, as may be actually engaged in
  making a journey at the time.

  William. M. Caswell, Revised Charter and Compiled Ordinances and Resolutions
  of the City of Los Angeles Page 85, Image 83 (1878) available at The Making of
  Modern Law: Primary Sources. 1878
  Ordinances of the City of Los Angeles, § 36. In future, no persons, except peace
  officers, and persons actually traveling, and immediately passing through Los
  Angeles city, shall wear or carry any dirk, pistol, sword in a cane, slung-shot, or
  other dangerous or deadly weapon, concealed or otherwise, within the corporate
  limits of said city, under a penalty of not more than one hundred dollars fine, and
  imprisonment at the discretion of the Mayor, not to exceed ten days. It is hereby
  made the duty of each police officer of this city, when any stranger shall come
  within said corporate limits wearing or carrying weapons, to, as soon as possible,
  give them information and warning of this ordinance; and in case they refuse or
  decline to obey such warning by depositing their weapons in a place of safety, to
  complain of them immediately.

  L. W. Moultrie, City Attorney, Charter and Ordinances of the City of Fresno, 1896
  Page 37, Image 35 (1896) available at The Making of Modern Law: Primary
  Sources. Misdemeanors. § 53.
  No junk-shop keeper or pawnbroker shall hire, loan or deliver to any minor under
  the age of 18 years any gun, pistol or other firearm, dirk, bowie-knife, powder,
  shot, bullets or any weapon, or any combustible or dangerous material, without the
  written consent of the parent or guardian of such minor.

  L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28
  (1896) available at The Making of Modern Law: Primary Sources.
  Ordinances of the City of Fresno, § 8.
  Any person excepting peace officers and travelers, who shall carry concealed upon
  his person any pistol or firearm, slungshot, dirk or bowie-knife, or other deadly
  weapon, without a written permission (revocable at any time) from the president of
  the board of trustees, is guilty of a misdemeanor.


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  1917 Cal. Sess. Laws 221-225, An act relating to and regulating the carrying,
  possession, sale or other disposition of firearms capable of being concealed upon
  the person; prohibiting the possession, carrying, manufacturing and sale of certain
  other dangerous weapons and the giving, transferring and disposition thereof to
  other persons within this state; providing for the registering of the sales of
  firearms; prohibiting the carrying or possession of concealed weapons in municipal
  corporations; providing for the destruction of certain dangerous weapons as
  nuisances and making it a felony to use or attempt to use certain dangerous
  weapons against another, § 5.
  Carrying Weapons | California | 1917
  § 5. Any person who attempts to use, or who with intent to use the same
  unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
  razor, stiletto, or any loaded pistol, revolver, or other firearm, or any instrument or
  weapon commonly known as a blackjack, slungshot, billy, sandclub, sandbag,
  metal knuckles, bomb, or bombshell or any other dangerous or deadly instrument
  or weapon, is guilty of a felony. The carrying or possession of any of the weapons
  specified in this section by any person while committing, or attempting or
  threatening to commit a felony, or breach of the peace, or any act of violence
  against the person or property of another, shall be presumptive evidence of
  carrying or possessing such weapon with intent to use the same in violation of this
  section.

  1923 Cal. Stat. 695 An Act to Control and Regulate the Possession, Sale and Use
  of Pistols, Revolvers, and Other Firearms Capable of Being Concealed Upon the
  Person
  Dangerous or Unusual Weapons, Felons, Foreigners and Others Deemed
  Dangerous By the State | California | 1923
  § 1. On and after the date upon which this act takes effect, every person who
  within the State of California manufactures or causes to be manufactured, or who
  imports into the state, or who keeps for sale, or offers or exposes for sale, or who
  gives, lends, or possesses any instrument or weapon of the kind commonly known
  as a blackjack, slungshot, billy, sandclub, sandbag, or metal knuckles, or who
  carries concealed upon his person any explosive substance, other than fixed
  ammunition, or who carries concealed upon his person any dirk or dagger, shall be
  guilty of a felony and upon a conviction thereof shall be punishable by
  imprisonment in a state prison for not less than one year nor for more than five
  years.
  § 2. On and after the date upon which this act takes effect, no unnaturalized foreign
  born person and no person who has been convicted of a felony against the person
  or property of another or against the government of the United States or of the
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  State of California or of any political subdivision thereof shall own or have in his
  possession or under his custody or control any pistol, revolver or other firearm
  capable of being concealed upon the person.

  COLORADO

  1862 Colo. Sess. Laws 56, An Act To Prevent The Carrying Of Concealed Deadly
  Weapons In The Cities And Towns Of This Territory, § 1.
  If any person or persons shall, within any city, town, or village in this Territory,
  whether the same is incorporated or not, carry concealed upon his or her person
  any pistol, bowie knife, dagger, or other deadly weapon, shall, on conviction
  thereof before any justice of the peace of the proper county, be fined in a sum not
  less than five, nor more than thirty-five dollars.

  1867 Colo. Sess. Laws 229, Criminal Code, § 149.
  Carrying Weapons | Colorado | 1867
  If any person or persons shall, within any city, town or village in this territory,
  whether the same is incorporated or not, carry concealed upon his or her person,
  any pistol, bowie-knife, dagger or other deadly weapon, such person shall, on
  conviction thereof before any justice of the peace of the proper county, be fined in
  any sum not less than five nor more than thirty-five dollars. The provision of this
  section shall not be construed to apply to sheriffs, constables and police officers,
  when in the execution of their official duties.

  1876 Colo. Const. 30, art. II, § 13.
  Post-Civil War State Constitutions | Colorado | 1876
  That the right of no person to keep and bear arms in defense of his home, person
  and property, or in aid of the civil power when hereto legally summoned, shall be
  called in question; but nothing herein contained shall be construed to justify the
  practice of carrying concealed weapons.

  1876 Colo. Sess. Laws 304, General Laws, § 154:
  [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
  offensive weapon, with intent to assault any person, such person, on conviction
  shall be fined in any sum not exceeding five hundred dollars, or imprisoned in the
  county jail no exceeding six months.

  Edward O. Wolcott, The Ordinances of Georgetown [Colorado] Passed June 7th,
  A.D. 1877, Together with the Charter of Georgetown, and the Amendments
  Thereto: A Copy of the Patent Heretofore Issued to Georgetown by the
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  Government of the United States, and the Rules and Order of Business Page 100,
  Image 101 (1877) available at The Making of Modern Law: Primary Sources.
  Offenses Affecting Streets and Public Property, § 9.
  If any person or persons, within the corporate limits of Georgetown, shall be found
  carrying concealed, upon his or her person, any pistol, bowie knife, dagger, or
  other deadly weapon, such person shall, on conviction thereof, be fined in a sum
  not less than five dollars, nor more than fifty dollars.

  Colo. Rev. Stat 1774, Carrying Concealed Weapons—Penalty—Search Without
  Warrant—Jurisdiction of Justice, § 248. (1881)
  No person, unless authorized so to do by the chief of police of a city, mayor of a
  town or the sheriff of a county, shall use or carry concealed upon his person any
  firearms, as defined by law, nor any pistol, revolver, bowie knife, dagger, sling
  shot, brass knuckles or other deadly weapon . . . .

  Isham White, The Laws and Ordinances of the City of Denver, Colorado Page 369,
  Image 370 (1886) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Colorado | 1886
  City of Denver, Slung Shot – Brass Knuckles, § 10.
  Whenever there shall be found upon the person of anyone who is guilty of a breach
  of the peace, or of conduct calculated to provoke a breach of the peace, any slung
  shot, colt, or knuckles of lead, brass or other metal, or, when upon trial, evidence
  shall be adduced proving that such weapons were in the possession or on the
  person of anyone while in the act of commission of the acts aforesaid, such person
  shall upon conviction be fined not less than twenty-five dollars nor more than three
  hundred dollars.

  CONNECTICUT

  Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven,
  Together with Legislative Acts Affecting Said City Page 164, Image 167 (1890)
  available at The Making of Modern Law: Primary Sources.
  Good Order and Decency § 192.
  Every person who shall carry in said City, any steel or brass knuckles, pistol, or
  any slung shot, stiletto or weapon of similar character, or shall carry any weapon
  concealed on his person without permission of the Mayor or Superintendent of
  Police in writing, shall, on conviction, pay a penalty of not less than five, nor more
  than fifty dollars for every such offense.



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  DELAWARE

  1797 Del. Laws 104, An Act For the Trial Of Negroes, ch. 43, § 6.
  Race and Slavery Based | Delaware | 1797
  And be it further enacted by the authority aforesaid, That if any Negro or Mulatto
  slave shall presume to carry any guns, swords, pistols, fowling pieces, clubs, or
  other arms and weapons whatsoever, without his master’s special license for the
  same, and be convicted thereof before a magistrate, he shall be whipped with
  twenty-one lashes, upon his bare back.

  1881 Del. Laws 987, An Act Providing for the Punishment of Persons Carrying
  Concealed Deadly Weapons, ch. 548, § 1.
  That if any person shall carry concealed a deadly weapon upon or about his person
  other than an ordinary pocket knife, or shall knowingly sell a deadly weapon to a
  minor other than an ordinary pocket knife, such person shall, upon conviction
  thereof, be fined not less than twenty-five nor more than two hundred dollars or
  imprisoned in the county jail for not less than ten nor more than thirty days, or both
  at the discretion of the court: Provided, that the provisions of this section shall not
  apply to the carrying of the usual weapons by policemen and peace officers.

  Revised Statutes of the State of Delaware, of Eight Hundred and Fifty-Two. As
  They Have Since Been Amended, Together with the Additional Laws of a Public
  and General Nature, Which Have Been Enacted Since the Publication of the
  Revised Code of Eighteen Fifty-Two. To the Year of Our Lord One Thousand
  Eight Hundred and Ninety-Three; to Which are Added the Constitutions of the
  United States and of this State, the Declaration of Independence, and Appendix
  Page 987, Image 1048 (1893) available at The Making of Modern Law: Primary
  Sources.
  An Act Providing for the Punishment of Persons Carrying Concealed Deadly
  Weapons, § 1.
  § 1. That if any person shall carry concealed a deadly weapon upon or about his
  person other than an ordinary pocket knife, or shall knowingly sell a deadly
  weapon to a minor other than an ordinary pocket knife, such person shall, upon
  conviction thereof, be fined not less than twenty-five nor more than one hundred
  dollars or imprisoned in the county jail for not less than ten nor more than thirty
  days, or both at the discretion of the court: Provided, that the provisions of this
  section shall not apply to the carrying of the usual weapons by policemen and other
  peace officers.
  § 2. That if any person shall, except in lawful self-defense discharge any firearm in
  any public road in this State, shall be deemed guilty of a misdemeanor and upon
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  conviction thereof shall be punished by fine not exceeding fifty dollars or by
  imprisonment not exceeding one month, or both at the discretion of the court.

  DISTRICT OF COLUMBIA

  1 William B. Webb The Laws of the Corporation of the of Washington Digested
  and Arranged under Appropriate in Accordance with a Joint Resolution of the City
  418 (1868), Act of Nov. 18, 1858.
  It shall not be lawful for any person or persons to carry or have concealed about
  their persons any deadly or dangerous weapons, such as dagger, pistol, bowie
  knife, dirk knife, or dirk, colt, slungshot, or brass or other metal knuckles within
  the City of Washington; and any person or persons who shall be duly convicted of
  so carrying or having concealed about their persons any such weapon shall forfeit
  and pay upon such conviction not less than twenty dollars nor more than fifty
  dollars; which fines shall be prosecuted and recovered in the same manner as other
  penalties and forfeitures accruing to the city are sued for and recovered: Provided,
  That the Police officers when on duty shall be exempt from such penalties and
  forfeitures.

  An Act to Prevent the Carrying of Concealed Weapons, Aug. 10, 1871, reprinted in
  Laws of the District of Columbia: 1871-1872, Part II, 33 (1872).
  Carrying Weapons | | 1871
  Ch. XXV. Be in enacted by the Legislative Assembly of the District of Columbia,
  That it shall not be lawful for any person or persons to carry or have concealed
  about their persons any deadly or dangerous weapons, such as daggers, air-guns,
  pistols, bowie-knives, dirk-knives, or dirks, razors, razor-blades, sword-canes,
  slung-shots, or brass or other metal knuckles, within the District of Columbia; and
  any person or persons who shall be duly convicted of so carrying or having
  concealed about their persons any such weapons shall forfeit and pay, upon such a
  conviction, not less than twenty dollars nor more than fifty dollars, which fine shall
  be prosecuted and recovered in the same manner as other penalties and forfeitures
  are sued for and recovered: Provided, That the officers, non-commissioned
  officers, and privates of the United States army, navy, and marine corps, police
  officers, and members of any regularly organized militia company or regiment,
  when on duty, shall be exempt from such penalties and forfeitures.

  Washington D.C. 27 Stat. 116 (1892)
  CHAP. 159.–An Act to punish the carrying or selling of deadly or dangerous
  weapons within the District of Columbia, and for other purposes.


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  Be it enacted by the Senate and House of Representatives of the United States of
  America in Congress assembled, That it shall not be lawful for any person or
  persons within the District of Columbia, to have concealed about their person any
  deadly or dangerous weapons, such as daggers, air-guns, pistols, bowie-knives,
  dirk knives or dirks, blackjacks, razors, razor blades, sword canes, slung shot, brass
  or other metal knuckles.
  SEC. 2. That it shall not be lawful for any person or persons within the District of
  Columbia to carry openly any such weapons as hereinbefore described with intent
  to unlawfully use the same, and any person or persons violating either of these
  sections shall be deemed guilty of a misdemeanor, and upon conviction thereof
  shall, for the first offense, forfeit and pay a fine or penalty of not less than fifty
  dollars nor more than five hundred dollars, of which one half shall be paid to any
  one giving information leading to such conviction, or be imprisoned in the jail of
  the District of Columbia not exceeding six months, or both such fine and
  imprisonment, in the discretion of the court: Provided, That the officers, non-
  commissioned officers, and privates of the United States Army, Navy, or Marine
  Corps, or of any regularly organized Militia Company, police officers, officers
  guarding prisoners, officials of the United States or the District of Columbia
  engaged in the execution of the laws for the protection of persons or property,
  when any of such persons are on duty, shall not be liable for carrying necessary
  arms for use in performance of their duty: Provided, further, that nothing contained
  in the first or second sections of this act shall be so construed as to prevent any
  person from keeping or carrying about his place of business, dwelling house, or
  premises any such dangerous or deadly weapons, or from carrying the same from
  place of purchase to his dwelling house or place of business or from his dwelling
  house or place of business to any place where repairing is done, to have the same
  repaired, and back again: Provided further, That nothing contained in the first or-
  second sections of this act shall be so construed as to apply. to any person who
  shall have been granted a written permit to carry such weapon or weapons by any
  judge of the police court of the District of Columbia, and authority is hereby given
  to any such judge to grant such permit for a period of not more than one month at
  any one time, upon satisfactory proof to him of the necessity for the granting
  thereof; and further, upon the filing with such judge of a bond, with sureties to be
  approved by said judge, by the applicant for such permit, conditioned to the United
  States in such penal sum as said judge shall require for the keeping of the peace,
  save in the case of necessary self defense by such applicant during the continuance
  of said permit, which bond shall be put in suit by the United States for its benefit
  upon any breach of such condition.
  SEC. 3. That for the second violation of the provisions of either of the preceding
  sections the person or persons offending shall be proceeded against by indictment
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  in the supreme court of the District of Columbia, and upon conviction thereof shall
  be imprisoned in the penitentiary for not more than three years.
  SEC. 4. That all such weapons as hereinbefore described which may be taken from
  any person offending against any of the provisions shall, upon conviction of such
  person, be disposed of as may be ordered by the judge trying the case, and the
  record shall show any and all such orders relating thereto as a part of the judgment
  in the case.
  SEC. 5. That any person or persons who shall, within the District of Columbia,
  sell, barter, hire, lend or give to any minor under the age of twenty-one years any
  such weapon as hereinbefore described shall be deemed guilty of a misdemeanor,
  and shall, upon conviction thereof, pay a fine or penalty of not less than twenty
  dollars nor more than one hundred dollars, or be imprisoned in the jail of the
  District of Columbia not more than three months. No person shall engage in or
  conduct the business of selling, bartering, hiring, lending, or giving any weapon or
  weapons of the kind hereinbefore named without having previously obtained from
  the Commissioners of the District of Columbia a special license authorizing the
  conduct of such business by such person, and the said Commissioners are hereby
  authorized to grant such license, without fee therefor, upon the filing with them by
  the applicant therefor of a bond with sureties, to be by them approved, conditioned
  in such penal sum as they shall fix to the United States for the compliance by said
  applicant with all the provisions of this section; and upon any breach or breaches
  of said condition said bond shall be put in suit by said United States for its benefit,
  and said Commissioners may revoke said license. Any person engaging in said
  business without having previously obtained said special license shall be guilty of
  a misdemeanor and upon conviction thereof shall be sentenced to pay a fine of not
  less than one hundred dollars nor more than five hundred dollars, of which one half
  shall be paid to the informer, if any, whose information shall lead to the conviction
  of the person paying said fine. All persons whose business it is to sell barter, hire,
  lend or give any such weapon or weapons shall be and they hereby, are, required to
  keep a written register of the name and residence of every purchaser, barterer,
  hirer, borrower, or donee of any such weapon or weapons, which register shall be
  subject to the inspection of the major and superintendent of Metropolitan Police of
  the District of Columbia, and further to make a weekly report, under oath to said
  major and superintendent of all such sales, barterings, hirings, lendings or gifts.
  And one half of every fine imposed under this section shall be paid to the informer,
  if any, whose information shall have led to the conviction of the person paying said
  fine. Any police officer failing to arrest any person guilty in his sight or presence
  and knowledge, of any violation of any section of this act shall be fined not less
  than fifty nor more than five hundred dollars.


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  SEC 6. That all acts or parts of acts inconsistent with the provisions of this act be,
  and the same hereby are, repealed.

  FLORIDA

  John P. Duval, Compilation of the Public Acts of the Legislative Council of the
  Territory of Florida, Passed Prior to 1840 Page 423, Image 425 (1839) available at
  The Making of Modern Law: Primary Sources, 1835.
  An Act to Prevent any Person in this Territory from Carrying Arms Secretly. Be it
  Enacted by the Governor and Legislative Council of the Territory of Florida, That
  from and after the passage of this act, it shall not be lawful for any person in this
  Territory to carry arms of any kind whatsoever secretly, on or about their persons;
  and if any dirk, pistol, or other arm, or weapon, except a common pocket-knife,
  shall be seen, or known to be secreted upon the person of any one in this Territory,
  such person so offending shall, on conviction, be fined not exceeding five hundred
  dollars, and not less than fifty dollars, or imprisoned not more than six months, and
  not less than one month, at the discretion of the jury: Provided, however, that this
  law shall not be so construed as to prevent any person from carrying arms openly,
  outside of all their clothes; and it shall be the duty of judges of the superior courts
  in this Territory, to give the matter contained in this act in special charge to the
  grand juries in the several counties in this Territory, at every session of the courts.

  1838 Fla. Laws ch. 24, p. 36 (Feb. 10, 1838).
  No. 24. An Act in addition to An Act, (approved January 30 th, 1835) entitled An
  Act to prevent any person in this Territory from carrying arms secretly.
  Section 1. Be it enacted by the Governor and Legislative Council of the Territory
  of Florida, That from and after the passage of this act, it shall not be lawful for any
  person or persons in this Territory to vend dirks, pocket pistols, sword canes, or
  bowie knives, until he or they shall have first paid to the treasurer of the county in
  which he or they intend to vend weapons, a tax of two hundred dollars per annum,
  and all persons carrying said weapons openly shall pay to the officer aforesaid a
  tax of ten dollars per annum; and it shall be the duty of said officer to give the
  parties so paying a written certificate, stating that they have complied with the
  provisions of this act. Four fifths of all monies so collected to be applied by the
  county courts to county purposes, the other fifth to be paid to the prosecuting
  attorney.
  Sec. 2. Be it further enacted, That if any person shall be known to violate this act,
  he or they so offending, shall be subject to an indictment, and on conviction, to a
  fine of not less than two hundred nor exceeding five hundred dollars, at the
  discretion of the court.
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  Sec. 3. Be it further enacted, That it shall be the duty of the several Judges of the
  Superior Courts of this Territory, to give this act in charge to the grand juriors [sic]
  of their respective districts at each term of the court.
  Passed 5th February 1838.—Approved 10th Feb. 1838.
  https://www.google.com/books/edition/Acts_of_the_Legislative_Council_of_the_
  T/-
  LIwAQAAMAAJ?hl=en&gbpv=1&dq=%22vend+dirks,+pocket+pistols,+sword+
  canes,+or+bowie+knives%22&pg=PA36&printsec=frontcover

  Fla. Act of Aug. 8, 1868, as codified in Fla. Rev. Stat., tit. 2, pt. 5 (1892) 2425.
  Manufacturing or selling slung shot: Whoever manufactures, or causes to be
  manufactured, or sells or exposes for sale any instrument or weapon of the kind
  usually known as slung-shot, or metallic knuckles, shall be punished by
  imprisonment not exceeding six months, or by fine not exceeding one hundred
  dollars.

  1868 Fla. Laws 2538, Persons Engaged in Criminal Offence, Having Weapons,
  chap. 7, § 10.
  Sentence Enhancement for Use of Weapon | Florida | 1868
  Whoever, when lawfully arrested while committing a criminal offense or a breach
  or disturbance of the public peace, is armed with or has on his person slung shot,
  metallic knuckles, billies, firearms or other dangerous weapon, shall be punished
  by imprisonment not exceeding three months, or by fine not exceeding one
  hundred dollars.

  James F McClellan, A Digest of the Laws of the State of Florida: From the Year
  One Thousand Eight Hundred and Twenty-Two, to the Eleventh Day of March,
  One Thousand Eight Hundred and Eighty-One, Inclusive, Page 403, Image 419
  (1881) available at The Making of Modern Law: Primary Sources. [1868]
  Offences Against Public Peace, § 13.
  Whoever shall carry arms of any kind whatever, secretly, on or about their person,
  or whoever shall have about or on their person any dirk, pistol or other arm or
  weapon, except a common pocket knife, upon conviction thereof shall be fined in a
  sum not exceeding one hundred dollars, or imprisoned in the county jail not
  exceeding six months.

  Florida Act of Aug. 6, 1888, chap. 1637, subchap. 7, § 10, as codified in Fla. Rev.
  State., tit. 2, pt. 5 (1892) 2423.
  Persons Engaged in criminal offense having weapons. – Whoever, when lawfully
  arrested while committing a criminal offense or a breach or disturbance of the
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  public peace is armed or has on his person slung-shot, metallic knuckles, billies,
  firearms or other dangerous weapon, shall be punished by imprisonment not
  exceeding one year and by fine not exceeding fifty dollars.

  GEORGIA

  Lucius Q.C. Lamar, A Compilation of the Laws of the State of Georgia, Passed by
  the Legislature since the Year 1810 to the Year 1819, Inclusive. Comprising all the
  Laws Passed within those Periods, Arranged under Appropriate Heads, with Notes
  of Reference to those Laws, or Parts of Laws, which are Amended or Repealed to
  which are Added such Concurred and Approved Resolutions, as are Either of
  General, Local, or Private Moment. Concluding with a Copious Index to the Laws,
  a Separate one to the Resolutions Page 599, Image 605 (1821) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Georgia | 1816
  Offences Against the Public Peace, (1816) § 19.
  If any person shall be apprehended, having upon him or her any picklock, key,
  crow, jack, bit or other implement, with intent feloniously to break and enter into
  any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house, or
  shall have upon him any pistol, hanger, cutlass, bludgeon, or other offensive
  weapon, with intent feloniously to assault any person, or shall be found in or upon
  any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house,
  with intent to steal any goods or chattels; every such person shall be deemed a
  rogue and vagabond, and on conviction, shall be sentenced to undergo an
  imprisonment in the common jail of the county, or in the penitentiary, at hard
  labour, for such period of time as the jury shall recommend to the court.

  1837 Ga. Acts 90, An Act to Guard and Protect the Citizens of this State, Against
  the Unwarrantable and too Prevalent use of Deadly Weapons, §§ 1–4.
  § 1 . . . it shall not be lawful for any merchant, or vender of wares or merchandize
  in this State, or any other person or persons whatsoever, to sell, or offer to sell, or
  to keep, or to have about their person or elsewhere, any of the hereinafter described
  weapons, to wit: Bowie, or any other kinds of knives, manufactured and sold for
  the purpose of wearing, or carrying the same as arms of offence or defense, pistols,
  dirks, sword canes, spears, &c., shall also be contemplated in this act, save such
  pistols as are known and used as horseman’s pistols, &c.
  § 2. And be it further enacted by the authority aforesaid, That any person or
  persons within the limits of this State, violating the provisions of this act, except as
  hereafter excepted, shall, for each and every such offence, be deemed guilty of a
  high misdemeanor, and upon trial and conviction thereof, shall be fined, in a sum
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  not exceeding five hundred dollars for the first offence, nor less than one hundred
  dollars at the direction of the Court; and upon a second conviction, and every after
  conviction of a like offence, in a sum not to exceed one thousand dollars, nor less
  than five hundred dollars, at the discretion of the Court.
  § 3. And be it further enacted by the authority aforesaid, That it shall be the duty of
  all civil officers, to be vigilant in carrying the provisions of this act into full effect,
  as well also as Grand Jurors, to make presentments of each and every offence
  under this act, which shall come under their knowledge.
  §4. And be it further enacted by the authority aforesaid, That all fines and
  forfeitures arising under this act, shall be paid into the county Treasury, to be
  appropriated to county purposes: Provided, nevertheless, that the provisions of this
  act shall not extend to Sheriffs, Deputy Sheriffs, Marshals, Constables, Overseers
  or Patrols, in actual discharge of their respective duties, but not otherwise:
  Provided, also, that no person or persons, shall be found guilty of violating the
  before recited act, who shall openly wear, externally, Bowie Knives, Dirks, Tooth
  Picks, Spears, and which shall be exposed plainly to view: And provided,
  nevertheless, that the provisions of this act shall not extend to prevent venders, or
  any other persons who now own and have for sale, any of the aforesaid weapons,
  before the first day of March next.

  1860 Ga. Laws 56, An Act to add an additional Section to the 13th Division of the
  Penal Code, making it penal to sell to or furnish slaves or free persons of color,
  with weapons of offence and defence; and for other purposes therein mentioned,
  § 1.
  [A]ny person other than the owner, who shall sell or furnish to any slave or free
  person of color, any gun, pistol, bowie knife, slung shot, sword cane, or other
  weapon used for the purpose of offence or defense, shall, on indictment and
  conviction, be fined by the Court in a sum not exceeding five hundred dollars, and
  imprisoned in the common Jail of the county not exceeding six months . . .

  R. H. Clark, The Code of the State of Georgia (1873) § 4528 – Deadly weapons
  not to be carried in public places
  No person in this State is permitted or allowed to carry about his or her person, any
  dirk, bowie knife, pistol or revolver, or any kind of deadly weapon, to any Court of
  justice, or any election ground, or precinct, or any place of public worship, or any
  other public gathering in this State, except militia muster grounds; and if any
  person or persons shall violate any portion of this section, he, she or they shall be
  guilty of a misdemeanor, and upon conviction, shall be punished by a fine of not
  less than twenty nor more than fifty dollars for each and every such offense, or


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  imprisonment in the common jail of the county not less than ten nor more than
  twenty days, or both, at the discretion of the Court.

  HAWAII

  1852 Haw. Sess. Laws 19, Act to Prevent the Carrying of Deadly Weapons
  Dangerous or Unusual Weapons | Hawaii | 1852
  § 1. Any person not authorized by law, who shall carry, or be found armed with,
  any bowie-knife, sword-cane, pistol, air-gun, slung-shot or other deadly weapon,
  shall be liable to a fine of no more than Thirty, and no less than Ten Dollars, or in
  default of payment of such fine, to imprisonment at hard labor, for a term not
  exceeding two months and no less than fifteen days, upon conviction of such
  offense before any District Magistrate, unless good cause be shown for having
  such dangerous weapons: and any such person may be immediately arrested
  without warrant by the Marshal or any Sheriff, Constable or other officer or person
  and be lodged in prison until he can be taken before such Magistrate.

  1913 Haw. Rev. Laws ch. 209, § 3089, Carrying Deadly Weapons
  Dangerous or Unusual Weapons | Hawaii | 1913
  § 3089. Persons not authorized; punishment. Any person not authorized by law,
  who shall carry, or be found armed with any bowie-knife, sword-cane, pistol, air-
  gun, slung-shot, or other deadly weapon, shall be liable to a fine of not more than
  Two Hundred and Fifty Dollars and not less than Ten Dollars, or in default of
  payment of such fine, to imprisonment of a term not exceeding one year, nor less
  than three months, upon conviction for such offense, unless good cause be shown
  for having such dangerous weapon; and any such person may be immediately
  arrested without warrant by the high sheriff, or any sheriff, policeman, or other
  officer or person.

  IDAHO

  Crimes and Punishments, in Compiled and Revised Laws of the Territory of Idaho
  354 (M. Kelly, Territorial Printer 1875).
  Carrying Weapons | Idaho | 1875
  § 133. If any person shall have found upon him or her any pick-lock, crow-key, bit
  or other instrument or tool, with intent feloniously to crack and enter into any
  dwelling-house, store, shop, warehouse, or other building containing valuable
  property, or shall be found in the aforesaid buildings with intent to steal any
  money, goods and chattels, every person so offending shall, on conviction thereof,
  be imprisoned in the Territorial prison for a term not less than one year nor more
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  than five years; and if any person shall have upon him or her any pistol, gun, knife,
  dirk, bludgeon, or other offensive weapon, with intent to assault any person, every
  such person, on conviction, shall be fined not more than one hundred dollars, or
  imprisoned in the county jail not more than three months.

  Charter and Revised Ordinances of Boise City, Idaho. In Effect April 12, 1894
  Page 118-119, Image 119-120 (1894) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Idaho | 1879
  Carrying Concealed Weapons, § 36.
  Every person not being a sheriff, deputy sheriff, constable or other police officer,
  who shall carry or wear within the incorporated limits of Boise City, Idaho, any
  bowie knife, dirk knife, pistol or sword in cane, slung-shot, metallic knuckles, or
  other dangerous or deadly weapons, concealed, unless such persons be traveling or
  setting out on a journey, shall, upon conviction thereof before the city magistrate of
  said Boise City, be fined in any sum not exceeding twenty-five dollars for each
  offense, or imprisoned in the city jail for not more than twenty days, or by both
  such fine and imprisonment.

  1909 Id. Sess. Laws 6, An Act To Regulate the Use and Carrying of Concealed
  Deadly Weapons and to Regulate the Sale or Delivery of Deadly Weapons to
  Minors Under the Age of Sixteen Years to Provide a Penalty for the Violation of
  the Provisions of this Act, and to Exempt Certain Persons, § 1.
  Carrying Weapons | Idaho | 1909
  If any person, (excepting officials of a county, officials of the State of Idaho,
  officials of the United States, peace officers, guards of any jail, any officer of any
  express company on duty), shall carry concealed upon or about his person any dirk,
  dirk knife, bowie knife, dagger, slung shot, pistol, revolver, gun or any other
  deadly or dangerous weapon within the limits or confines of any city, town or
  village, or in any public assembly, or in any mining, lumbering , logging, railroad,
  or other construction camp within the State of Idaho . . . .

  ILLINOIS

  Mason Brayman, Revised Statutes of the State of Illinois: Adopted by the General
  Assembly of Said State, at Its Regular Session, Held in the Years A. D. 1844-’5:
  Together with an Appendix Containing Acts Passed at the Same and Previous
  Sessions, Not Incorporated in the Revised Statutes, but Which Remain in Force
  Page 176, Image 188 (1845) available at The Making of Modern Law: Primary
  Sources.
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  Sentence Enhancement for Use of Weapon | Illinois | 1845
  Criminal Jurisprudence, § 139. If any person shall be found,, having upon him or
  her, any pick-lock, crow, key, bit, or other instrument or tool, with intent
  feloniously to break and enter into any dwelling house, store, warehouse, shop or
  other building containing valuable property, or shall be found in any of the
  aforesaid buildings with intent to steal any goods and chattels, every such person
  so offending, shall, on conviction, be deemed a vagrant, and punished by
  confinement in the penitentiary, for any term not exceeding two years. And if any
  person shall have upon him any pistol, gun, knife, dirk, bludgeon or other offensive
  weapon, with intent to assault any person, every such person, on conviction, shall
  be fined, in a sum not exceeding one hundred dollars, or imprisoned, not exceeding
  three months.

  Harvey Bostwick Hurd, The Revised Statutes of the State of Illinois. A. D. 1874.
  Comprising the Revised Acts of 1871-2 and 1873-4, Together with All Other
  General Statutes of the State, in Force on the First Day of July, 1874 Page 360,
  Image 368 (1874) available at The Making of Modern Law: Primary Sources.
  Disorderly Conduct: Disturbing the Peace, § 56.
  Whoever, at a late and unusual hour of the night time, willfully and maliciously
  disturbs the peace and quiet of any neighborhood or family, by loud or unusual
  noises, or by tumultuous or offensive carriage, threatening, traducing, quarreling,
  challenging to fight or fighting, or whoever shall carry concealed weapons, or in a
  threatening manner display any pistol, knife, slungshot, brass, steel or iron
  knuckles, or other deadly weapon, day or night, shall be fined not exceeding $100.

  Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park
  [Illinois] Together with Its Charter and General Laws Affecting Municipal
  Corporations; Special Ordinances and Charters under Which Corporations Have
  Vested Rights in the Village. Also, Summary of Decisions of the Supreme Court
  Relating to Municipal Corporations, Taxation and Assessments Page 64, Image 64
  (1876) available at The Making of Modern Law: Primary Sources.
  Misdemeanors, § 39.
  No person, except peace officers, shall carry or wear under their clothes, or
  concealed about their person, any pistol, revolver, slung-shot, knuckles, bowie-
  knife, dirk-knife, dirk, dagger, or any other dangerous or deadly weapon, except by
  written permission of the Captain of Police.




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  Harvey Bostwick Hurd, Late Commissioner, The Revised Statutes of the State of
  Illinois. 1882. Comprising the “Revised Statutes of 1874,” and All Amendments
  Thereto, Together with the General Acts of 1875, 1877, 1879, 1881 and 1882,
  Being All the General Statutes of the State, in Force on the First Day of December,
  1882 Page 375, Image 392 (1882) available at The Making of Modern Law:
  Primary Sources. [1881]
  Deadly Weapons: Selling or Giving to Minor. § 54b.
  Whoever, not being the father, guardian, or employer or the minor herein named,
  by himself or agent, shall sell, give, loan, hire or barter, or shall offer to sell, give,
  loan, hire or barter to any minor within this state, any pistol, revolver, derringer,
  bowie knife, dirk or other deadly weapon of like character, capable of being
  secreted upon the person, shall be guilty of a misdemeanor, and shall be fined in
  any sum not less than twenty-five dollars ($25), nor more than two hundred ($200).

  Revised Ordinances of the City of Danville [Illinois] Page 66, Image 133 (1883)
  available at The Making of Modern Law: Primary Sources.
  Ordinances of the City of Danville. Concealed Weapons. § 22.
  Whoever shall carry concealed upon or about his person any pistol, revolver,
  derringer, bowie-knife, dirk, slung-shot, metallic knuckles, or a razor, as a weapon,
  or any other deadly weapon of like character, capable or being concealed upon the
  person, or whoever shall in a threatening or boisterous manner, flourish or display
  the same, shall be fined not less than one dollar, nor more than one hundred
  dollars; and in addition to the said penalty shall, upon the order of the magistrate
  before whom such conviction is had, forfeits the weapon so carried to the city.

  Illinois Act of Apr. 16, 1881, as codified in Ill. Stat. Ann., Crim. Code, chap. 38
  (1885) 88. Possession or sale forbidden, § 1.
  Be it enacted by the people of the state of Illinois represented in the General
  Assembly. That whoever shall have in his possession, or sell, or give or loan, hire
  or barter, or whoever shall offer to sell, give loan, have or barter, to any person
  within this state, any slung shot or metallic knuckles, or other deadline weapon of
  like character, or any person in whose possession such weapons shall be found,
  shall be guilty of a misdemeanor . . .

  INDIANA

  1804 Ind. Acts 108, A Law Entitled a Law Respecting Slaves, § 4.
  And be it further enacted, That no slave or mulatto whatsoever shall keep or carry
  any gun, powder, shot, club or other weapon whatsoever, offensive or defensive,
  but all and every gun weapon and ammunition found in the possession or custody
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  of any negro or mulatto, may be seized by any person and upon due proof thereof
  made before any justice of the peace of the district where such seizure shall be,
  shall by his order be forfeited to the seizor, for his use and moreover every such
  offender shall have and receive by order of such justice any number of loashes not
  exceeding thirty nine on his or her bare back, well laid for every such offense.

  1855 Ind. Acts 153, An Act To Provide For The Punishment Of Persons Interfering
  With Trains or Railroads, chap. 79, § 1.
  That any person who shall shoot a gun, pistol, or other weapon, or throw a stone,
  stick, clubs, or any other substance whatever at or against any locomotive, or car,
  or train of cars containing persons on any railroad in this State, shall be deemed
  guilty of a misdemeanor . . .

  1859 Ind. Acts 129, An Act to Prevent Carrying Concealed or Dangerous
  Weapons, and to Provide Punishment Therefor.
  § 1. Be it enacted by the General Assembly of the State of Indiana, That every
  person not being a traveler, who shall wear or carry any dirk, pistol, bowie-knife,
  dagger, sword in cane, or any other dangerous or deadly weapon concealed, or who
  shall carry or wear any such weapon openly, with the intent or avowed purpose of
  injuring his fellow man, shall, upon conviction thereof, be fined in any sum not
  exceeding five hundred dollars.

  1875 Ind. Acts 62, An Act Defining Certain Misdemeanors, And Prescribing
  Penalties Therefore, § 1.
  That if any person shall draw or threaten to use any pistol, dirk, knife, slung shot,
  or any other deadly or dangerous weapon upon any other person he shall be
  deemed guilty of a misdemeanor, and upon conviction therefor, shall be fined in
  any sum not less than one nor more than five hundred dollars, to which may be
  added imprisonment in the county jail not to exceed six months; That the
  provisions of this act shall not apply to persons drawing or threatening to use such
  dangerous or deadly weapons in defense of his person or property, or in defense of
  those entitled to his protection by law.

  The Revised Statutes of Indiana: Containing, Also, the United States and Indiana
  Constitutions and an Appendix of Historical Documents. Vol. 1 Page 366, Image
  388 (1881) available at The Making of Modern Law: Primary Sources.
  Sensitive Places and Times | Indiana | 1881
  Crimes. § 1957. Attacking Public Conveyance. 56. Whoever maliciously or
  mischievously shoots a gun, rifle, pistol, or other missile or weapon, or throws a
  stone, stick, club, or other substance whatever, at or against any stage-coach,
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  locomotive, railroad-car, or train of cars, or street-car on any railroad in this State,
  or at or against any wharf-boat, steamboat, or other water-craft, shall be
  imprisoned in the county jail not more than one year nor less than thirty days, and
  fined not more than one hundred dollars nor less than ten dollars.

  1905 Ind. Acts 677, Public Conveyance—Attacking, § 410.
  Sensitive Places and Times | Indiana | 1905
  Whoever maliciously or mischievously shoots a gun, rifle, pistol or other weapon,
  or throws a stone, stick, club or any other substance whatever, at or against any
  stage coach, or any locomotive, railroad car, or train of cars, street car, or
  interurban car on any railroad in this state, or at or against any wharf-boat,
  steamboat, or other watercraft, shall be imprisoned in the county jail not less than
  thirty days nor more than one year, and fined not less than ten dollars nor more
  than one hundred dollars.

  IOWA

  S. J. Quincy, Revised Ordinances of the City of Sioux City. Sioux City, Iowa Page
  62, Image 62 (1882) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Iowa | 1882
  Ordinances of the City of Sioux City, Iowa, § 4.
  No person shall, within the limits of the city, wear under his clothes, or concealed
  about his person, any pistol, revolver, slung-shot, cross-knuckles, knuckles of lead,
  brass or other metal, or any bowie-knife, razor, billy, dirk, dirk-knife or bowie-
  knife, or other dangerous weapon. Provided, that this section shall not be so
  construed as to prevent any United States, State, county, or city officer or officers,
  or member of the city government, from carrying any such weapon as may be
  necessary in the proper discharge of his official duties.

  Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and
  Containing the Statutes Applicable to Cities of the First-Class, Organized under the
  Laws of Iowa Page 206-207, Image 209-210 (1887) available at The Making of
  Modern Law: Primary Sources.
  Carrying Weapons | Iowa | 1887
  Carrying Concealed Weapons Prohibited, § 105.
  It shall be unlawful for any person to carry under his clothes or concealed about his
  person, or found in his possession, any pistol or firearms, slungshot, brass
  knuckles, or knuckles of lead, brass or other metal or material , or any sand bag, air
  guns of any description, dagger, bowie knife, or instrument for cutting, stabbing or
  striking, or other dangerous or deadly weapon, instrument or device; provided that
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  this section shall not be construed to prohibit any officer of the United States, or of
  any State, or any peace officer, from wearing and carrying such weapons as may
  be convenient, necessary and proper for the discharge of his official duties.

  William H. Baily, The Revised Ordinances of Nineteen Hundred of the City of Des
  Moines, Iowa Page 89-90, Image 89-90 (1900) available at The Making of Modern
  Law: Primary Sources.
  Carrying Weapons | Iowa | 1900
  Ordinances City of Des Moines, Weapons, Concealed, § 209.
  It shall be unlawful for any person to carry under his clothes or concealed about his
  person, or found in his possession, any pistol or other firearms, slungshot, brass
  knuckles, or knuckles of lead, brass or other metal or material, or any sand bag, air
  guns of any description, dagger, bowie knife, dirk knife, or other knife or
  instrument for cutting, stabbing or striking, or other dangerous or deadly weapon,
  instrument or device. Provided, that this section shall not be construed to prohibit
  any officer of the United States or of any State, or any peace officer from wearing
  or carrying such weapons as may be convenient, necessary and proper for the
  discharge of his official duties.

  1913 Iowa Acts 307, ch. 297, § 2
  § 1. It shall be unlawful for any person, except as hereinafter provided, to go armed
  with and have concealed upon his person a dirk, dagger, sword, pistol, revolver,
  stiletto, metallic knuckles, picket billy, sand bag, skull cracker, slung-shot, or other
  offensive and dangerous weapons or instruments concealed upon his person.


  KANSAS

  C. B. Pierce, Charter and Ordinances of the City of Leavenworth, with an
  Appendix Page 45, Image 45 (1863) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Kansas | 1862
  An Ordinance Relating to Misdemeanors, § 23.
  For carrying or having on his or her person in a concealed manner, any pistol, dirk,
  bowie knife, revolver, slung shot, billy, brass, lead or iron knuckles, or any other
  deadly weapon within this city, a fine not less than three nor more than one
  hundred dollars.




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  Samuel Kimball, Charter, Other Powers, and Ordinances of the City of Lawrence
  Page 149, Image 157 (1866) available at The Making of Modern Law: Primary
  Sources, 1863.
  Nuisances, § 10. Any person who shall in this city have or carry concealed or
  partially concealed, upon his person, any pistol, bowie knife or other deadly
  weapon, shall, on conviction, be fined not less than one nor more than ten dollars;
  Provided, This section shall not apply to peace officers of the city or state. The
  carrying of a weapon in a holster, exposed to full view, shall not be deemed a
  concealed or partially concealed weapon under this section.

  The General Statutes of the State of Kansas, to Which the Constitutions of the
  United State of Kansas, Together with the Organic Act of the Territory of Kansas,
  the Treaty Ceding the Territory of Louisiana to the United States, and the Act
  Admitting Kansas into the Union are Prefixed Page 378, Image 387 (1868)
  available at The Making of Modern Law: Primary Sources, 1868.
  Crimes and Punishments, § 282. Any person who is not engaged in any legitimate
  business, any person under the influence of intoxicating drink, and any person who
  has ever borne arms against the government of the United States, who shall be
  found within the limits of this state, carrying on his person a pistol, bowie-knife,
  dirk or other deadly weapon, shall be subject to arrest upon the charge of
  misdemeanor, and upon conviction shall be fined in a sum not exceeding one
  hundred dollars, or by imprisonment in the county jail not exceeding three months,
  or both, at the discretion of the court.

  Revised Ordinances of the City of Salina, Together with the Act Governing Cities
  of the Second Class: Also a Complete List of the Officers of Salina During its
  Organization as a Town and City of the Second and Third Class Page 99, Image
  100 (1879) available at The Making of Modern Law: Primary Sources. 1879
  Ordinances of the City of Salina, An Ordinance Relating to the Carrying of Deadly
  Weapons, § 1. That it shall be unlawful for any person to carry on or about his
  person any pistol, bowie knife, dirk, or other deadly or dangerous weapon,
  anywhere within the limits of the city of Salina, save and except as hereinafter
  provided. § 2. This ordinance shall not apply to cases when any person carrying
  any weapon above mentioned is engaged in the pursuit of any lawful business,
  calling or employment and the circumstances in which such person is placed at the
  time aforesaid, are such as to justify a prudent man in carrying such weapon, for
  the defense of his person, property or family, nor to cases where any person shall
  carry such weapon openly in his hands, for the purpose of sale, barter, or for
  repairing the same, or for use in any lawful occupation requiring the use of the
  same. § 3. Any person violating any of the provisions of this ordinance shall, upon
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  conviction thereof before the police court, be fined in any sum not less that twenty-
  five nor more than one hundred dollars.

  1881 Kan. Sess. Laws 92, c. 37, § 24.
  The Council shall prohibit and punish the carrying of firearms, or other dangerous
  or deadly weapons, concealed or otherwise, and cause to be arrested and
  imprisoned, fined or set to work, all vagrants, tramps, confidence men and persons
  found in said city without visible means of support or some legitimate business.

  1883 Kan. Sess. Laws 159, An Act To Prevent Selling, Trading Or Giving Deadly
  Weapons Or Toy Pistols To Minors, And To Provide Punishment Therefor, §§ 1-2.
  § 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol,
  revolver, or toy pistol, by which cartridges or caps may be exploded, or any dirk,
  bowie knife, brass knuckles, slung shot, or other dangerous weapons to any minor,
  or to any person of notoriously unsound mind, shall be deemed guilty of a
  misdemeanor, and shall upon conviction before any court of competent
  jurisdiction, be fined not less than five nor more than one hundred dollars.
  § 2. Any minor who shall have in his possession any pistol, revolver or toy pistol,
  by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles,
  slung shot or other dangerous weapon, shall be deemed guilty of a misdemeanor,
  and upon conviction before any court of competent jurisdiction shall be fined not
  less than one nore more than ten dollars.

  O. P. Ergenbright, Revised Ordinances of the City of Independence, Kansas:
  Together with the Amended Laws Governing Cities of the Second Class and
  Standing Rules of the City Council Page 162, Image 157 (1887) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Kansas | 1887
  Weapons, § 27. Any person who in this city shall draw any pistol or other weapon
  in a hostile manner, or shall make any demonstration or threat of using such
  weapon on or against any person; or any person who shall carry or have on his or
  her person, in a concealed manner, any pistol, dirk, bowie-knife, revolver, slung-
  shot, billy, brass, lead, or iron knuckles, or any deadly weapon, within this city,
  shall be fined not less than five dollars, nor more than one hundred dollars:
  Provided, that this ordinance shall not be so construed as to prohibit officers of the
  law while on duty from being armed.

  Bruce L. Keenan, Book of Ordinances of the City of Wichita Published by
  Authority of a Resolution Adopted by the City Council April 24, 1899, under the
  Direction of Judiciary Committee and City Attorney, and Formally Authorized by
                                            33

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  Ordinance No. 1680 Page 46, Image 70 (1900) available at The Making of Modern
  Law: Primary Sources. 1899
  Ordinances of the City of Wichita, Carrying Unconcealed Deadly Weapons, § 2.
  Any person who shall in the city of Wichita carry unconcealed, any fire-arms,
  slungshot, sheath or dirk knife, or any other weapon, which when used is likely to
  produce death or great bodily harm, shall upon conviction, be fined not less than
  one dollar nor more than twenty-five dollars. Using or Carrying Bean Snapper, § 3.
  Any person who shall, in the city of Wichita, use or carry concealed or
  unconcealed, any bean snapper or like articles shall upon conviction be fined in
  any sum not less than one dollar nor more than twenty-five dollars. Carrying
  Concealed Deadly Weapons, § 4. Any person who shall in the city of Wichita,
  carry concealed about his person any fire-arm, slung shot, sheath or dirk knife,
  brass knuckles, or any weapon, which when used is likely to produce death or great
  bodily harm, shall upon conviction, be fined in any sum not exceeding one hundred
  dollars.

  KENTUCKY

  1798 Ky. Acts 106. No negro, mulatto, or Indian whatsoever shall keep or carry
  any gun, powder, shot, club, or other weapon whatsoever, offensive or defensive
  but all and every gun, weapon and ammunition found in the possession or custody
  of any negro, mulatto or Indian may be seized by any person and upon due proof
  thereof made before any justice of the peace of the county where such seizure shall
  be shall by his order, be forfeited to the seizor for his own use, and moreover every
  such offender shall have and receive by order of such justice any number of lashes
  not exceeding thirty nine on his or her back, well laid for every such offense.

  1859 Ky. Acts 245, An Act to Amend An Act Entitled “An Act to Reduce to One
  the Several Acts in Relation to the Town of Harrodsburg, § 23.
  If any person, other than the parent or guardian, shall sell, give or loan, any pistol,
  dirk, bowie knife, brass knucks, slung-shot, colt, cane-gun, or other deadly
  weapon, which is carried concealed, to any minor, or slave, or free negro, he shall
  be fined fifty dollars.

  LOUISIANA

  1813 La. Acts 172, An Act Against Carrying Concealed Weapons, and Going
  Armed in Public Places in an Unneccessary Manner, § 1.
  Carrying Weapons | Louisiana | 1813


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  Be it enacted by the senate and house of representatives of the state of Louisiana,
  in general assembly convened, That from and after the passage of this act, any
  person who shall be found with any concealed weapon, such as a dirk, dagger,
  knife, pistol, or any other deadly weapon concealed in his bosom, coat, or in any
  other place about him that do not appear in full open view, any person so
  offending, shall on conviction thereof before any justice of the peace, be subject to
  pay a fine . . . .

  Henry A. Bullard & Thomas Curry, 1 A New Digest of the Statute Laws of the
  State of Louisiana, from the Change of Government to the Year 1841 at 252 (E.
  Johns & Co., New Orleans, 1842).
  Carrying Weapons | Louisiana | 1842
  [A]ny person who shall be found with any concealed weapon, such as a dirk,
  dagger, knife, pistol, or any other deadly weapon concealed in his bosom, coat, or
  in any other place about him, that do not appear in full open view, any person so
  offending, shall, on conviction thereof, before an justice of the peace, be subject to
  pay a fine not to exceed fifty dollars, nor less than twenty dollars . . . .

  Louisiana 1855 law 1855 La. L. Chap. 120, Sec. 115, p. 148
  Sec. 115, Be it further enacted, &c., That whoever shall carry a weapon or
  weapons concealed on or about his person, such as pistols, bowie knife, dirk, or
  any other dangerous weapon, shall be liable to prosecution by indictment or
  presentnient, and on conviction for the first offence shall be fined not less than two
  hundred and fifty dollars nor more than five hundred dollars, or imprisonment for
  one month; and for the second offence not less than five hundred dollars nor more
  than one thousand dollars, or imprisonment in the parish prison at the discretion of
  the court, not to exceed three months, and that it shall be the duty of the Judges of
  the District Courts in this State to charge the Grand Jury, specially as to this
  section.
  https://babel.hathitrust.org/cgi/pt?id=osu.32437123281277&view=1up&seq=300&
  q1=Bowie

  1870 La. Acts 159–60, An Act to Regulate the Conduct and to Maintain the
  Freedom of Party Election . . . , § 73.
  Subject(s): Sensitive Places and Times
  [I]t shall be unlawful for any person to carry any gun, pistol, bowie knife or other
  dangerous weapon, concealed or unconcealed, on any day of election during the
  hours the polls are open, or on any day of registration or revision of registration,
  within a distance of one-half mile of any place of registration or revision of
  registration; any person violating the provisions of this section shall be deemed
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  guilty of a misdemeanor; and on conviction shall be punished by a fine of not less
  than one hundred dollars, and imprisonment in the parish jail not less than one
  month . . . .

  La. Const. of 1879, art. III.
  Post-Civil War State Constitutions | Louisiana | 1879
  A well regulated militia being necessary to the security of a free State, the right of
  the people to keep and bear arms shall not be abridged. This shall not prevent the
  passage of laws to punish those who carry weapons concealed.

  MAINE

  An Act to Prevent Routs, Riots, and Tumultuous assemblies, and the Evil
  Consequences Thereof, reprinted in CUMBERLAND GAZETTE (Portland, MA.),
  Nov. 17, 1786, at 1. On October 26, 1786 the following was passed into law by the
  Massachusetts Assembly: That from & after the publication of this act, if any
  persons, to the number of twelve, or more, being armed with clubs or other
  weapons; or if any number of persons, consisting of thirty, or more, shall be
  unlawfully, routously, rioutously or tumultuously assembled, any Justice of the
  Peace, Sheriff, or Deputy ... or Constable ... shall openly make [a] proclamation
  [asking them to disperse, and if they do not disperse within one hour, the officer is]
  ... empowered, to require the aid of a sufficient number of persons in arms ... and if
  any such person or persons [assembled illegally] shall be killed or wounded, by
  reason of his or their resisting the persons endeavoring to disperse or seize them,
  the said Justice, Sheriff, Deputy-Sheriff, Constable and their assistants, shall be
  indemnified, and held guiltless.

  1821 Me. Laws 285, ch. 76, § 1.
  Be it enacted by the Senate, and House of Representatives, in Legislature
  assembled, That it shall be within the power, and be the duty of every Justice of the
  Peace within this county, to punish by fine not exceeding five dollars, all assaults
  and batteries that are not of a high and aggravated nature, and to examine into all
  homicides, murders, treasons, and felonies done and committed in this county, and
  commit to prison all persons guilty, or suspected to be guilty of manslaughter,
  murder, treason or other capital offence; and to cause to be staid and arrested, all
  affrayers, rioters, disturbers or breakers of the peace, and such as shall ride or go
  armed offensively, to the fear or terror of the good citizens of this State, or such
  others as may utter any menaces or threatening speeches; and upon view of such
  Justice, confession of the delinquent or other legal conviction of any such offence,
  shall require of the offender to fund sureties to appear and answer for his offence,
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  at the Supreme Judicial Court, or Circuit Court of Common Pleas, next to be held
  within or for the same county at the discretion of the Justice, and as the nature or
  circumstances of the case may require;

  The Revised Statutes of the State of Maine, Passed October 22, 1840; To Which
  are Prefixed the Constitutions of the United States and of the State of Maine, and
  to Which Are Subjoined the Other Public Laws of 1840 and 1841, with an
  Appendix Page 709, Image 725 (1847) available at The Making of Modern Law:
  Primary Sources.
  Justices of the Peace, § 16.
  Any person, going armed with any dirk, dagger, sword, pistol, or other offensive
  and dangerous weapon, without a reasonable cause to fear an assault on himself, or
  any of his family or property, may, on the complaint of any person having cause to
  fear an injury or breach of the peace, be required to find sureties for keeping the
  peace for a term, not exceeding one year, with the right of appeal as before
  provided.

  1841 Me. Laws 709, ch. 169, § 16.
  If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
  and dangerous weapon, without reasonable cause to fear an assault or other injury
  or violence to his person, or to his family or property, he may, on complaint of any
  person having resonable cause to fear an injury or breach of the peace, be required
  to find sureties for keeping the peace, for a term not exceeding six months, with the
  right of appealing as before provided.

  The Revised Statutes of the State of Maine, Passed August 29, 1883, and Taking
  Effect January 1, 1884 Page 928, Image 955 (1884) available at The Making of
  Modern Law: Primary Sources.
  Prevention of Crimes, § 10.
  Whoever goes armed with any dirk, pistol, or other offensive and dangerous
  weapon, without just cause to fear an assault on himself, family, or property, may,
  on complaint of any person having cause to fear an injury or breach of the peace,
  be required to find sureties to keep the peace for a term not exceeding one year,
  and in case of refusal, may be committed as provided in the preceding sections.

  MARYLAND

  The Laws Of Maryland, With The Charter, The Bill Of Rights, The Constitution
  Of The State, And Its Alterations, The Declaration Of Independence, And The


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  Constitution Of The United States, And Its Amendments Page 465, Image 466
  (1811) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Maryland | 1809 If any person shall be
  apprehended, having upon him or her any picklock, key, crow, jack, bit or other
  implement, with an intent feloniously to break and enter into any dwelling-house,
  ware-house, stable or out-house, or shall have upon him or her any pistol, hanger,
  cutlass, bludgeon, or other offensive weapon, with intent feloniously to assault any
  person, or shall be found in or upon any dwelling-house, warehouse, stable or out-
  house, or in any enclosed yard or garden, or area belonging to any house, with an
  intent to steal any goods or chattels, every such person shall be deemed a rouge
  and vagabond, and, on being duly convicted thereof, shall be sentenced to undergo
  a confinement in the said penitentiary for a period of time not less than three
  months nor more than two years, to be treated as law prescribes.

  1872 Md. Laws 57, An Act To Add An Additional Section To Article Two Of The
  Code Of Public Local Laws, Entitled “Anne Arundel County,” Sub-title
  “Annapolis,” To Prevent The Carrying Of concealed Weapons In Said City, § 246.
  Carrying Weapons | Maryland | 1872
  It shall not be lawful for any person to carry concealed, in Annapolis, whether a
  resident thereof or not, any pistol, dirk-knife, bowie-knife, sling-shot, billy, razor,
  brass, iron or other metal knuckles, or any other deadly weapon, under a penalty of
  a fine of not less than three, nor more than ten dollars in each case, in the discretion
  of the Justice of the Peace, before whom the same may be tried, to be collected. . .

  John Prentiss Poe, The Maryland Code : Public Local Laws, Adopted by the
  General Assembly of Maryland March 14, 1888. Including also the Public Local
  Acts of the Session of 1888 incorporated therein Page 1457, Image 382 (Vol. 2,
  1888) available at The Making of Modern Law: Primary Sources.
  Sensitive Places and Times | Maryland | 1874
  Election Districts–Fences. § 99.
  It shall not be lawful for any person in Kent county to carry, on the days of
  election, secretly or otherwise, any gun, pistol, dirk, dirk-knife, razor, billy or
  bludgeon; and any person violating the provisions of this section shall be deemed
  guilty of a misdemeanor, and on conviction thereof before any justice of the peace
  of said county, shall be fined not less than five nor more than twenty dollars, and
  on refusal to pay said fine shall be committed by such justice of the peace to the
  jail of the county until the same shall be paid.

  John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
  General Assembly of Maryland March 14, 1888. Including also the Public Local
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  Acts of the Session of 1888 Incorporated Therein Page 522-523, Image 531-532
  (Vol. 1, 1888) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Maryland | 1884
  City of Baltimore, § 742.
  Whenever any person shall be arrested in the city of Baltimore, charged with any
  crime or misdemeanor, or for being drunk or disorderly, or for any breach of the
  peace, and shall be taken before any of the police justices of the peace of the said
  city, and any such person shall be found to have concealed about his person any
  pistol, dirk knife, bowie-knife, sling-shot, billy, brass, iron or any other metal
  knuckles, razor, or any other deadly weapon whatsoever, such person shall be
  subject to a fine of not less than five dollars nor more than twenty-five dollars in
  the discretion of the police justice of the peace before whom such person may be
  taken, and the confiscation of the weapon so found, which said fine shall be
  collected as other fines are now collected; provided, however, that the provisions
  of this section shall not apply to those persons who, as conservators of the peace
  are entitled or required to carry a pistol or other weapon as a part of their official
  equipment.

  1886 Md. Laws 315, An Act to Prevent the Carrying of Guns, Pistols, Dirk-knives,
  Razors, Billies or Bludgeons by any Person in Calvert County, on the Days of
  Election in said County, Within One Mile of the Polls § 1:
  That from and after the passage of this act, it shall not be lawful for any person in
  Calvert County to carry, on the days of election and primary election within three
  hundred yards of the polls, secretly, or otherwise, any gun, pistol, dirk, dirk-knife,
  razor, billy or bludgeon, and any person violating the provisions of this act, shall
  be deemed guilty of a misdemeanor and on conviction thereof by the Circuit Court
  of Calvert County . . . shall be fined not less than ten nor more than fifty dollars for
  each such offense. . .

  John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
  General Assembly of Maryland March 14, 1888. Including also the Acts of the
  Session of 1888 Incorporated Therein, and Prefaced with the Constitution of the
  State Page 468-469, Image 568-569 (Vol. 1, 1888) available at The Making of
  Modern Law: Primary Sources.
  Carrying Weapons | Maryland | 1886
  Concealed Weapons, § 30.
  Every person, not being a conservator of the peace entitled or required to carry
  such weapon as a part of his official equipment, who shall wear or carry any pistol,
  dirk-knife, bowie- knife, slung-shot, billy, sand-club, metal knuckles, razor, or any
  other dangerous or deadly weapon of any kind whatsoever, (penknives excepted,)
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  concealed upon or about his person; and every person who shall carry or wear any
  such weapon openly, with the intent or purpose of injuring any person, shall, upon
  conviction thereof, be fined not more than five hundred dollars, or be imprisoned
  not more than six months in jail or in the house of correction.

  John Prentiss Poe, The Baltimore City Code, Containing the Public Local Laws of
  Maryland Relating to the City of Baltimore, and the Ordinances of the Mayor and
  City Council, in Force on the First Day of November, 1891, with a Supplement,
  Containing the Public Local Laws Relating to the City of Baltimore, Passed at the
  Session of 1892 of the General Assembly, and also the Ordinances of the Mayor
  and City Council, Passed at the Session of 1891-1892, and of 1892-1893, up to the
  Summer Recess of 1893 Page 297-298, Image 306-307 (1893) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Maryland | 1890
  Ordinances of Baltimore, § 742A.
  Every person in said city of Baltimore not being a conservator of the peace,
  entitled or required to carry such weapons as a part of his official equipment, who
  shall wear or carry any pistol, dirk-knife, bowie-knife, sling-shot, billy, sand-club,
  metal knuckles, razor or any other dangerous or deadly weapon of any kind
  whatsoever, (pen knives excepted.) concealed upon or about his person; and every
  person who shall carry or wear such weapons openly, with the intent or purpose of
  injuring any person, shall, upon a conviction thereof, be fined not more than five
  hundred dollars, and be imprisoned not more than six months in jail or in the house
  of correction; that this act shall not release or discharge any person or persons
  already offending against the general law in such cases made and provided, but any
  such person or persons may be proceeded against, prosecuted and punished under
  the general law of this State as if this act had not been passed.

  MASSACHUSETTS

  1 Records of the Governor and Company of the Massachusetts Bay in New
  England 211-12 (Nathanial B. Shurtleff ed., 1853). 1637.
  Whereas the opinions & revelations of Mr. Wheeleright & Mrs. Hutchinson have
  seduced & led into dangerous errors many of the people heare in Newe England,
  insomuch as there is just cause of suspition that they, as others in Germany, in
  former times, may, upon some revelation, make some suddaine irruption vpon
  those that differ from them in judgment, for prevention whereof it is ordered, that
  all those whose names are vnderwritten shall (vpon warning given or left at their
  dwelling houses) before the 30th day of this month of November, deliver in at Mr.
  Canes house, at Boston, all such guns, pistols, swords, powder, shot, & match as
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  they shalbee owners of, or have in their custody, vpon paine of ten pound for ev'y
  default to bee made therof ; which armes are to bee kept by Mr. Cane till this Court
  shall take further order therein. Also, it is ordered, vpon like penulty of x', that no
  man who is to render his armes by this order shall buy or borrow any guns, swords,
  pistols, powder, shot, or match, vntill this Court shall take further order therein. . . .
  The like order is taken for other townes, changing the names of those who shall
  deliver their armes, & keepe them. . . . It was ordered, that if any that are to bee
  disarmed acknowledg their siun in subscribing the seditions -libell, or do not




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  justify it, but acknowledg it evill to two magistrates, they shalbee thereby freed
  from delivering in their armes according to the former order./
  file:///C:/Users/Bob/Downloads/ocm3522063_vol1.pdf

  1749-51 Mass. Acts 339, An Act for Preventing and Suppressing of Riots, Routs
  and Unlawful Assemblies, ch. 12. 1751
  “Whereas the Provision already made by Law has been found insufficient to
  prevent Routs, Riots, and tumultuous Assemblies, and the evil Consequences
  thereof : Wherefore,
  Be it enacted by the Lieutenant Governour Council and House of Representatives,
  That from and after the Publication of this Act, if any Persons to the Number of
  Twelve or more, being Arm’d with Clubs or other Weapons, or if any Number of
  Persons consisting of Fifty or upwards, whether armed or not, shall be unlawfully
  riotously or tumultuously assembled; any Justice of the Peace, Field-Officer or
  Captain of the Militia, Sheriff of the County or Under-Sheriff, or any Constable of
  the Town, shall among the Rioters, or as near to them as he can safely come,
  command Silence while Proclamation is making, and shall openly make
  Proclamation in these or the like Words,
  Our Sovereign Lord the KING, chargeth and commandeth all Persons, being
  assembled, immediately to disperse themselves, and peaceably to depart to their
  Habitations, or to their lawful Business, upon the Pains contained in the Act of this
  Province made in the twenty-fourth Year of His Majesty King GEORGE the
  Second, for preventing and suppressing of Riots, Routs, and unlawful Assemblies.
  GOD save the King.
  And if such Persons so unlawfully assembled, shall after Proclamation made, not
  disperse themselves within one Hour, it shall be lawful for every such Officer or
  Officers and for such other Persons as he or they shall command to be assisting, to
  seize such Persons, and carry them before a Justice of Peace: And if such Person
  shall be killed or hurt by Reason of their resisting the Persons so dispersing or
  seizing them, the said Officer or Officers and their Assistants shall be indemnified
  and held guiltless…”
  The following links to a version of this law that is contemporaneous with the
  original session law, but seems to have been published separately as a notice: An
  Act for Preventing and Suppressing of Riots, Routs and Unlawful Assemblies,
  1750. https://firearmslaw.duke.edu/wp-content/uploads/2020/03/1749-51-Mass.-
  Acts-339.pdf

  1814 Mass. Acts 464, An Act In Addition To An Act, Entitled “An Act To Provide
  For The Proof Of Fire Arms, Manufactured Within This Commonwealth,” ch. 192,
  § 1, 2.
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  All musket barrels and pistol barrels, manufactured within this Commonwealth,
  shall, before the same shall be sold, and before the same shall be stocked, be
  proved by the person appointed according to the provisions of an act . . . ; § 2 That
  if any person of persons, from and after the passing of this act, shall manufacture,
  within this Commonwealth, any musket or pistol, or shall sell and deliver, or shall
  knowingly purchase any musket or pistol, without having the barrels first proved
  according to the provisions of the first section of this act, marked and stamped
  according the provisions of the first section of the act.

  Theron Metcalf, The Revised Statutes of the Commonwealth of Massachusetts,
  Passed November 4, 1835; to Which are Subjoined, an Act in Amendment
  Thereof, and an Act Expressly to Repeal the Acts Which are Consolidated Therein,
  Both Passed in February 1836; and to Which are Prefixed, the Constitutions of the
  United States and of the Commonwealth of Massachusetts Page 750, Image 764
  (1836) available at The Making of Modern Law: Primary Sources.
  Of Proceedings to Prevent the Commission of Crimes, § 16.
  If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
  and dangerous weapon, without reasonable cause to fear an assault or other injury,
  or violence to his person, or to his family or property, he may, on complaint of any
  person having reasonable cause to fear an injury, or breach of the peace, be
  required to find sureties for keeping the peace, for a term not exceeding six
  months, with the right of appealing as before provided.

  1850 Mass. Gen. Law, chap. 194, §§ 1, 2, as codified in Mass. Gen. Stat., chap.
  164 (1873) § 10.
  Whoever when arrested upon a warrant of a magistrate issued against him for an
  alleged offense against the laws of this state, and whoever when arrested by a
  sheriff, deputy sheriff , constable, police officer, or watchman, while committing a
  criminal offense against the laws of this state, or a breach or disturbance of the
  public peace, is armed with, or has on his person, slung shot, metallic knuckles,
  bills, or other dangerous weapon, shall be punished by fine . . .

  1850 Mass. Gen. Law, chap. 194, §§ 1, 2 as codified in Mass. Gen. Stat., chap. 164
  (1873) § 11.
  Whoever manufactures, or causes to be manufactured, or sells, or exposes for sale,
  any instrument or weapon of the kind usually known as slung shot, or metallic
  knuckles, shall be punished by fine not less than fifty dollars, or by imprisonment
  in the jail not exceeding six months.



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  Third Annual Report of the Park Commissioners of the City of Lynn for the year
  ending December 20, 1891, at 23, Ordinances. 1891
  The Board of Park Commissioners of the City of Lynn, by virtue of its authority to
  make rules for the use and government of the Public Parks of said City, and for
  breaches of such rules to affix penalties, hereby ordains that within the limits of
  Lynn Woods, Meadow Park and Oceanside, except with the prior consent of the
  Board, it is forbidden: . . .
  3. To throw stones or other missiles; to discharge or carry firearms, except by
  members of the police force in the discharge of their duties; to discharge or carry
  fire – crackers, torpedoes or fireworks; to make fires; to have any intoxicating
  beverages; to sell, to offer or expose for sale any goods or wares; to post or display
  signs, placards, flags or advertising devices; to solicit subscriptions or
  contributions; to play games of chance, or have possession of instruments of
  gambling; to utter profane, threatening, abusive or indecent language, or to do any
  obscene or indecent act; to bathe or fish; to solicit the acquaintance of, or follow,
  or otherwise annoy other visitors.

  Rules and Regulations Governing the Public Parks within the City of Lowell, at 58
  (1903)
  The Board of Park Commissioners of the City of Lowell, by virtue of its authority
  to make rules and regulations for the use and government of the Public Parks and
  Commons of said City, and to fix penalties for breaches of rules and regulations,
  hereby ordains that, within such Public Parks and Commons, except by and with
  the consent of the Board: . . .
  3. It is forbidden to throw stones, balls or other missiles; to discharge or carry
  firearms, fire crackers, torpedoes or fire-works; to make fires; to have any
  intoxicating beverages; to sell, offer or expose for sale any goods or wares; to post
  or display signs, placards, flags or advertising devices; to solicit subscriptions or
  contributions, to play games of chance, or to have possession of instruments of
  gambling; to utter profane, threatening, abusive or indecent language, or to commit
  any obscene or indecent act; to solicit the acquaintance of, or to follow, or in any
  way annoy visitors to said Parks and Commons.

  1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, ch.
  326, § 5 (amending §10)
  Carrying Weapons | Massachusetts | 1927
  Whoever, except as provided by law, carries on his person, or carries on his person
  or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
  possesses a machine gun as defined in section one hundred and twenty-one of
  chapter one hundred and forty… or whoever so carries any stiletto, dagger, dirk
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  knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
  arrested upon a warrant for an alleged crime or when arrested while committing a
  crime or a breach or disturbance of the public peace, is armed with, or has on his
  person, or has on his person or under his control in a vehicle, a billy or dangerous
  weapon other than those herein mentioned, shall be punished by imprisonment for
  not less than six months nor more than two and a half years in a jail . . .

  MICHIGAN

  1887 Mich. Pub. Acts 144, An Act to Prevent The Carrying Of Concealed
  Weapons, And To Provide Punishment Therefore, § 1.
  It shall be unlawful for any person, except officers of the peace and night-watches
  legitimately employed as such, to go armed with a dirk, dagger, sword, pistol, air
  gun, stiletto, metallic knuckles, pocket-billy, sand bag, skull cracker, slung shot,
  razor or other offensive and dangerous weapon or instrument concealed upon his
  person.

  1891 Mich. Pub. Acts 409, Police Department, pt 15:. . . . And all persons who
  shall carry concealed on or about their persons, any pistol, revolver, bowie knife,
  dirk, slung shot, billie, sand bag, false knuckles, or other dangerous weapon, or
  who shall lay in wait , lurk or be concealed, with intent to do injury to any person
  or property, who shall threaten to beat or kill another or injure him in his person or
  property . . . shall be deemed a disorderly person, and upon conviction thereof may
  be punished by a fine not exceeding one hundred dollars and the costs of
  prosecution, and in imposition of any such fine and costs the court may make a
  further sentence that in default of payment, such offender be imprisoned in the city
  prison. . .

  1913 Mich. Pub. Acts 452, An Act Defining the Crime of Felonious Assault and
  Prescribing Punishment Therefor, § 1.
  Whoever shall assault another with a gun, revolver, pistol, knife, iron bar, club,
  brass knuckles or other dangerous weapon, but without intending to commit the
  crime of murder, and without intending to inflict great bodily harm less than the
  crime of murder, shall be deemed guilty of a felonious assault, and upon conviction
  shall be punished by imprisonment in the State Prison for a term not exceeding
  three years or by imprisonment in the county jail for a term not exceeding one
  year, in the discretion of the court.

  1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
  Purchasing, Possessing and Carrying of Certain Firearms, § 3.
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  Dangerous or Unusual Weapons | Michigan | 1927
  It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
  any machine gun or firearm which can be fired more than sixteen times without
  reloading, or any muffler, silencer or device for deadening or muffling the sound of
  a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
  billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
  violation of this section shall be guilty of a felony and shall be punished by a fine
  not exceeding one thousand dollars or imprisonment in the state prison not more
  than five years, or by both such fine and imprisonment in the discretion of the
  court. . . .

  1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
  Purchasing, Possessing and Carrying of Certain Firearms, § 3.
  Dangerous or Unusual Weapons | Michigan | 1929
  It shall be unlawful within this state to manufacture, sell, offer for sale or possess
  any machine gun or firearm which can be fired more than sixteen times without
  reloading or any muffler, silencer, or device for deadening or muffling the sound of
  a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
  metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
  weapon, cartridge, container, or contrivance designed or equipped for or capable of
  ejecting any gas which will either temporarily or permanently disable, incapacitate,
  injure or harm any person with whom it comes in contact.

  MINNESOTA

  W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the
  State of Minnesota Relating to the City of Saint Paul, and the Ordinances of the
  Common Council; Revised to December 1, 1884 Page 289, Image 295 (1884)
  available at The Making of Modern Law: Primary Sources.
  Concealed Weapons – License, § 1.
  It shall be unlawful for any person, within the limits of the city of St. Paul, to carry
  or wear under his clothes, or concealed about his person, any pistol or pistols, dirk,
  dagger, sword, slungshot, cross-knuckles, or knuckles of lead, brass or other metal,
  bowie-knife, dirk-knife or razor, or any other dangerous or deadly weapon. § 2.
  Any such weapons or weapons, duly adjudged by the municipal court of said city
  to have been worn or carried by any person, in violation of the first section of this
  ordinance, shall be forfeited or confiscated to the said city of St. Paul, and shall be
  so adjudged. § 3. Any policeman of the city of St. Paul, may, within the limits of
  said city, without a warrant, arrest any person or persons, whom such policeman
  may find in the act of carrying or wearing under their clothes, or concealed about
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  their person, any pistol or pistols, dirk, dagger, sword, slungshot, cross-knuckles,
  or knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any
  other dangerous or deadly weapon, and detain him, her or them in the city jail,
  until a warrant can be procured, or complaint made for the trial of such person or
  persons, as provided by the charter of the city of St. Paul, for other offenses under
  said charter, and for the trial of such person or persons, and for the seizure and
  confiscation of such of the weapons above referred to, as such person or persons
  may be found in the act of carrying or wearing under their clothes, or concealed
  about their persons.

  George Brooks Young. General Statutes of the State of Minnesota in Force January
  1, 1889 Page 1006, Image 1010 (Vol. 2, 1888) available at The Making of Modern
  Law: Primary Sources.
  Dangerous or Unusual Weapons | Minnesota | 1888
  Making, Selling, etc., Dangerous Weapons, §§ 333-334.
  § 333. A person who manufactures, or causes to be manufactured, or sells, or keeps
  for sale, or offers or gives or disposes of any instrument or weapon of the kind
  usually known as slung-shot, sand-club, or metal knuckles, or who, in any city of
  this state, without the written consent of a magistrate, sells or gives any pistol or
  fire-arm to any person under the age of eighteen years, is guilty of a misdemeanor.
  Carrying, using, etc., certain Weapons . . . .
  § 334. A person who attempts to use against another, or who, with intent so to use,
  carries, conceals, or possesses any instrument or weapon of the kind commonly
  known as a slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol
  or other fire-arm, or any dangerous weapon, is guilty of a misdemeanor.

  MISSISSIPPI

  1799 Miss. Laws 113, A Law For The Regulation Of Slaves. No Negro or mulatto
  shall keep or carry any gun, powder, shot, club or other weapon whatsoever,
  offensive or defensive; but all and every gun, weapon and ammunition found in the
  possession or custody of any negro or mulatto may be seized by any person . . .
  every such offender shall have and receive by order of such justice, any number of
  lashes not exceeding thirty-nine, on his or her bare back, well laid on, for every
  such offense.

  1804 Miss. Laws 90, An Act Respecting Slaves, § 4. No Slave shall keep or carry
  any gun, powder, shot, club or other weapon whatsoever offensive or defensive,
  except tools given him to work with . . .


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  1837 Miss. Law 289-90, An Act To Prevent The Evil Practice Of Dueling In This
  State And For Other Purposes, § 5.
  That if any person or persons shall be guilty of fighting in any corporate city or
  town, or any other town or public place, in this state, and shall in such fight use
  any rifle, shot gun, sword, sword cane, pistol, dirk, bowie knife, dirk knife, or any
  other deadly weapon; or if any person shall be second or aid in such fight, the
  persons so offending shall be fined not less than three hundred dollars, and shall be
  imprisoned not less than three months; and if any person shall be killed in such
  fight, the person so killing the other may also be prosecuted and convicted as in
  other cases of murder.

  Laws of the State of Mississippi ; embracing all Acts of a Public Nature from
  January Session, 1824, to January Session 1838, Inclusive Page 736, Image 738
  (Jackson, 1838) available at The Making of Modern Law: Primary Sources, 1838.
  An Act to Prevent the Evil Practice of Dueling in this State, and for other Purposes,
  § 5. Be it further enacted, That if any person or persons shall be guilty of fighting
  in any corporate city or town, or any other town, or public place, in this state, and
  shall in such fight use any rifle, shot gun, sword, sword cane, pistol, dirk, bowie
  knife, dirk knife, or any other deadly weapon; or if any persons shall be second or
  aid in such fight, the persons so offending shall be fined not less than three
  hundred dollars, and shall be imprisoned not less than three months; and if any
  person shall be killed in such fight, the person so killing the other may also be
  prosecuted and convicted as in other cases of murder.

  Volney Erskine Howard, The Statutes of the State of Mississippi of a Public and
  General Nature, with the Constitutions of the United States and of this State: And
  an Appendix Containing Acts of Congress Affecting Land Titles, Naturalization,
  &c, and a Manual for Clerks, Sheriffs and Justices of the Peace Page 676, Image
  688 (1840) available at The Making of Modern Law: Primary Sources. 1840
  Crimes, Misdemeanors and Criminal Prosecution, § 55. If any person having or
  carrying any dirk, dirk knife, Bowie knife, sword, sword cane, or other deadly
  weapon, shall, in the presence of three or more persons, exhibit the same in a rude,
  angry and threatening manner, not in necessary self-defense, or shall in any
  manner unlawfully use the same in any fight or quarrel, the person or persons so
  offending, upon conviction thereof in the circuit or criminal court of the proper
  county, shall be fined in a sum not exceeding five hundred dollars, and be
  imprisoned not exceeding three months.

  1878 Miss. Laws 175, An Act To Prevent The Carrying Of Concealed Weapons
  And For Other Purposes, § 1.
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  That any person not being threatened with or having good and sufficient reason to
  apprehend an attack, or traveling (not being a tramp) or setting out on a long
  journey, or peace officers, or deputies in discharge of their duties, who carries
  concealed in whole or in part, any bowie knife, pistol, brass knuckles, slung shot or
  other deadly weapon of like kind or description shall be deemed guilty of a
  misdemeanor, and on conviction, shall be punished for the first offense by a fine of
  not less than five dollars nor more than one hundred dollars . . .

  MISSOURI

  Organic Laws:-Laws of Missouri Territory, (Alphabetically Arranged):-Spanish
  Regulations for the Allotment of Lands:- Laws of the United States, for Adjusting
  Titles to Lands, &c. to Which are Added, a Variety of Forms, Useful to
  Magistrates Page 374, Image 386 (1818) available at The Making of Modern Law:
  Primary Sources. 1818.
  Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder,
  shot, club or other weapon whatsoever, offensive or defensive; but all and every
  gun weapon and ammunition found in the possession or custody of any negro or
  mulatto, may be seized by any person and upon due proof made before any justice
  of the peace of the district [county] where such seizure shall be, shall by his order
  be forfeited to the seizor, for his own use, and moreover, every such offender shall
  have and receive by order of such justice any number of lashes not exceeding thirty
  nine on his or her bare back well laid on for every such offence. § 4. Every free
  negro or mulatto, being a housekeeper may be permitted to keep one gun, powder
  and shot; and all negroes or mulattoes bond or free, living at any frontier
  plantation, may be permitted to keep and use guns, powder shot and weapons,
  offensive and defensive, by license from a justice of the peace of the district
  [county] wherein such plantation lies, to be obtained upon the application of free
  negroes or mulattoes or of the owners of such as are slaves.

  Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together
  with the Constitution of the United States, and of the State of Missouri; the Charter
  of the City; and a Digest of the Acts of the General Assembly, Relating to the City
  Page 491-492, Image 499-500 (1871) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Missouri | 1871
  Ordinances of the City of St. Louis, Misdemeanors, §§ 9-10.
  § 9. Hereafter it shall not be lawful for any person to wear under his clothes, or
  concealed about his person, any pistol, or revolver, colt, billy, slung shot, cross
  knuckles, or knuckles of lead, brass or other metal, bowie knife, razor, dirk knife,
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  dirk, dagger, or any knife resembling a bowie knife, or any other dangerous or
  deadly weapon, within the City of St. Louis, without written permission from the
  Mayor; and any person who shall violate this section shall be deemed guilty of a
  misdemeanor, and, upon conviction thereof, be fined not less than ten nor more
  than five hundred dollars for each and every offence.
  § 10. Nothing in the preceding section shall be so construed as to prevent any
  United States, State, county or city officer, or any member of the city government,
  from carrying or wearing such weapons as may be necessary in the proper
  discharge of his duties.

  1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of The
  Revised Statutes Of Missouri, Entitled “Of Crimes And Criminal Procedure”
  § 1274.
  If any person shall carry concealed, upon or about his person, any deadly or
  dangerous weapon, or shall go into any church or place where people have
  assembled for religious worship, or into any school room or place where people are
  assembled for educational, literary or social purposes, or to any election precinct
  on any election day, or into any court room during the siting of court, or into any
  other public assemblage of persons met for any lawful purpose other than for
  militia drill or meetings called under the militia law having upon or about his
  person any kind of fire arms, bowie knife, dirk, dagger, slung-shot, or other deadly
  weapon, or shall in the presence of one or more persons shall exhibit and such
  weapon in a rude, angry or threatening manner, or shall have or carry any such
  weapon upon or about his person when intoxicated or under the influence of
  intoxicating drinks, or shall directly or indirectly sell or deliver, loan or barter to
  any minor any such weapon, without the consent of the parent or guardian of such
  minor, he shall, upon conviction be punished by a fine of not less than twenty-five
  nor more than two hundred dollars, or by imprisonment in the county jail not
  exceeding six months, or by both such fine and imprisonment.

  William K. Amick, The General Ordinances of the City of Saint Joseph (A City of
  the Second Class) Embracing all Ordinances of General Interest in Force July 15,
  1897, together with the Laws of the State of Missouri of a General Nature
  Applicable to the City of St. Joseph. Compiled and Arranged Page 508, Image 515
  (1897) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Missouri | 1897
  Concealed Weapons – Carrying of, § 7.
  Any person who shall in this city wear under his clothes or carry concealed upon or
  about his person, or be found having upon or about his person concealed, any
  pistol or revolver, colt, billy, slung shot, cross knuckles or knuckles of lead, brass
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  or other metal, dirk, dagger, razor, bowie knife, or any knife resembling a bowie
  knife, or any other dangerous or deadly weapon, shall be deemed guilty of a
  misdemeanor.

  Joplin Code of 1917, Art. 67, § 1201. Missouri. Weapons; Deadly.
  If any person shall carry concealed upon or about his person a dangerous or deadly
  weapon of any kind or description, or shall go into any church or place where
  people have assembled for religious worship, or into any school room or place
  where people are assembled for educational, political, literary or social purposes,
  or to any election precinct on any election day, or into any court room during the
  sitting of court, or into any other public assemblage of persons met for any lawful
  purpose other than for militia drill, or meetings called under militia law of this
  state, having upon or about his person, concealed or exposed, any kind of firearms,
  bowie knife, spring-back knife, razor, knuckles, bill, sword cane, dirk, dagger,
  slung shot, or other similar deadly weapons, or shall, in the presence of one or
  more persons, exhibit any such weapon in a rude, angry or threatening manner, or
  shall have any such weapons in his possession when intoxicated, or directly or
  indirectly shall sell or deliver, loan or barter, to any minor any such weapon,
  without the consent of the parent or guardian of such minor, he shall be deemed
  guilty of a misdemeanor. Provided, that nothing contained in this section shall
  apply to legally qualified sheriffs, police officers, and other persons whose bona
  fide duty is to execute process, civil or criminal, make arrests, or aid in conserving
  the public peace, nor to persons traveling in a continuous journey peaceably
  through this state.

  1923 Mo. Laws 241-42, An Act to Provide the Exercise of the Police Powers of the
  State by and through Prohibiting the Manufacture, Possession, Transportation, Sale
  and Disposition of Intoxicating Liquors. . .§ 17.
  Sensitive Places and Times | Missouri | 1923
  Any person, while in charge of, or a passenger thereon, who shall carry on his
  person, or in, on, or about, any wagon, buggy, automobile, boat, aeroplane, or
  other conveyance or vehicle whatsoever, in, or upon which any intoxicating liquor,
  including wine or beer, is carried, conveyed or transported in violation of any
  provision of the laws of this state, any revolver, gun or other firearm, or explosive,
  any bowie knife, or other knife having a blade of more than two and one-half
  inches in length, any sling shot, brass knucks [sic], billy, club or other dangerous
  weapon, article or thing which could, or might, be used in inflicting bodily injury
  or death upon another, shall be deemed guilty of a felony, and, upon conviction
  thereof, shall be punished by the imprisonment in the state penitentiary for a term
  of not less than two years. Provided, that this section shall not apply to any person
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  or persons transporting intoxicating liquor for personal use and not for sale in
  violation of law. Provided, that this section shall not apply to any person or
  passenger who did not know that such vehicle or conveyance was being used for
  unlawful purposes.

  MONTANA

  1864 Mont. Laws 355, An Act to Prevent the Carrying of Concealed Deadly
  Weapons in the Cities and Towns of This Territory, § 1.
  If any person shall within any city, town, or village in this territory, whether the
  same is incorporated or not, carry concealed upon his or her person any pistol,
  bowie-knife, dagger, or other deadly weapon, shall, on conviction thereof before
  any justice of the peace of the proper county, be fined in any sum not less than
  twenty five dollars, nor more than one hundred dollars.

  1879 Mont. Laws 359, Offences against the Lives and Persons of Individuals, ch.
  4, § 23.
  If any person shall, by previous appointment or agreement, fight a duel with a rifle,
  shot-gun, pistol, bowie-knife, dirk, small-sword, back-sword, or other dangerous
  weapon, and in so doing shall kill his antagonist, or any person or persons, or shall
  inflict such wound as that the party or parties injured shall die thereof within one
  year thereafter, every such offender shall be deemed guilty of murder in the first
  degree, and, upon conviction thereof, shall be punished accordingly [death by
  hanging].

  1885 Mont. Laws 74, Deadly Weapons, An Act to Amend § 62 of Chapter IV of
  the Fourth Division of the Revised Statutes, § 62-63.
  Every person in this territory having, carrying, or procuring from another person,
  any dirk, dirk-knife, sword, sword-cane, pistol, gun, or other deadly weapon, who
  shall in the presence of one or more persons, draw or exhibit any of said deadly
  weapons in a rude or angry or threatening manner, not in necessary self defense, or
  who shall in any manner unlawfully use the same in any fight or quarrel, the
  person or persons so offending, upon conviction thereof in any criminal court in
  any county in this territory shall be fined in any sum not less than ten dollars nor
  more than one hundred dollars, or imprisoned in the county jail not less than one
  month nor more than three months, at the discretion of the court, or by both such
  fine and imprisonment, together with the costs of prosecution, which said costs
  shall in all cases be computed and collected in the same manner as costs in civil
  cases; and all fines and forfeitures arising under the provisions of this act shall be
  paid into the county treasury for school purposes: Provided, that no sheriff, deputy
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  sheriff, constable, marshal, or other peace officer, shall be held to answer, under
  the provisions of this act, for drawing or exhibiting any of the weapons
  hereinbefore mentioned while in the lawful discharge of his or their duties.

  1887 Mont. Laws 549, Criminal Laws, § 174.
  If any person shall have upon him or her any pistol, gun, knife, dirk-knife,
  bludgeon, or other offensive weapon, with intent to assault any person, every such
  person, on conviction, shall be fined not more than one hundred dollars, or
  imprisoned in the county jail not more than three months.

  NEBRASKA

  1858 Neb. Laws 69, An Act To Adopt And Establish A Criminal code For The
  Territory Of Nebraska, § 135.
  And if any person shall have upon him any pistol, gun, knife, dirk, bludgeon or
  other offensive weapon with intent to assault any person, every such person, on
  conviction, shall be fined in a sum not exceeding one hundred dollars. . .

  Gilbert B. Colfield, Laws, Ordinances and Rules of Nebraska City, Otoe County,
  Nebraska Page 36, Image 36 (1872) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Nebraska | 1872
  Ordinance No. 7, An Ordinance Prohibiting the Carrying of Fire Arms and
  Concealed Weapons, § 1.
  Be it ordained by the Mayor and Councilmen of the City of Nebraska City, That it
  shall be, and it is hereby declared to be unlawful for any person to carry, openly or
  concealed, any musket, rifle, shot gun, pistol, sabre, sword, bowie knife, dirk,
  sword cane, billy slung shot, brass or other metallic knuckles, or any other
  dangerous or deadly weapons, within the corporate limits of Nebraska City, Neb;
  Provided, that nothing herein contained shall prevent the carrying of such weapon
  by a civil or military officer, or by a soldier in the discharge of his duty, nor by any
  other person for mere purposes of transportation from one place to another.

  W. J. Connell, The Revised Ordinances of the City of Omaha, Nebraska,
  Embracing All Ordinances of a General Nature in Force April 1, 1890, Together
  with the Charter for Metropolitan Cities, the Constitution of the United States and
  the Constitution of the State of Nebraska Page 344, Image 356 (1890) available at
  The Making of Modern Law: Primary Sources.
  Carrying Weapons | Nebraska | 1890
  Ordinances of Omaha, Concealed Weapons, § 10.
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  It shall be unlawful for any person to wear under his clothes, or concealed about
  his person, any pistol or revolver, colt, billy, slung-shot, brass knuckles or knuckles
  of lead, dirk, dagger, or any knife resembling a bowie knife, or any other
  dangerous or deadly weapon within the corporate limits of the city of Omaha. Any
  person guilty of a violation of this section shall, on conviction, be fined not
  exceeding one hundred ($100) dollars for each and every offense; nothing in this
  section, however, shall be so construed as to prevent the United States Marshals
  and their deputies, sheriffs and their deputies, regular or special police officers of
  the city, from carrying or wearing such weapons as may be deemed necessary in
  the proper discharge of their duties. Provided, however, If it shall be proved from
  the testimony on the trial of any such case, that the accused was, at the time of
  carrying any weapon as aforesaid, engaged in the pursuit of lawful business,
  calling or employment and the circumstances in which he was placed at the time
  aforesaid were such as to justify a prudent man in carrying the weapon or weapons
  aforesaid, for the defense of his person, property or family, the accused shall be
  acquitted.

  Compiled Ordinances of the City of Fairfield, Clay County, Nebraska Page 34,
  Image 34 (1899) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Nebraska | 1899
  Ordinance No. 20, An Ordinance to Prohibit the Carrying of Concealed Weapons
  and Fixing a Penalty for the violations of the same. Be it ordained by the Mayor
  and Council of the City of Fairfield, Nebraska: § 1.
  It shall be unlawful for any person to carry upon his person any concealed pistol,
  revolver, dirk, bowie knife, billy, sling shot, metal knuckles, or other dangerous or
  deadly weapons of any kind, excepting only officers of the law in the discharge or
  their duties; and any person so offending shall be deemed guilty of a misdemeanor,
  and on conviction thereof, shall be subject to the penalty hereinafter provided. § 2.
  Any such weapon or weapons, duly adjudged by the Police Judge of said city to
  have been worn or carried by any person in violation of the first section of this
  ordinance, shall be forfeited or confiscated to the City of Fairfield and shall be so
  adjudged.

  NEVADA

  Bonnifield, The Compiled Laws of the State of Nevada. Embracing Statutes of
  1861 to 1873, Inclusive Page 563, Image 705 (Vol. 1, 1873) available at The
  Making of Modern Law: Primary Sources.
  Of Crimes and Punishments, §§ 35-36.


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  § 35. If any person shall by previous appointment or agreement, fight a duel with a
  rifle, shotgun, pistol, bowie knife, dirk, smallsword, backsword, or other dangerous
  weapon, and in doing shall kill his antagonist, or any person or persons, or shall
  inflict such wound as that the party or parties injured shall die thereof within one
  year thereafter, every such offender shall be deemed guiltily of murder in the first
  degree and upon conviction thereof shall be punished accordingly.
  § 36. Any person who shall engage in a duel with any deadly weapon although no
  homicide ensue or shall challenge another to fight such duel, or shall send or
  deliver any verbal or written message reporting or intending to be such challenge,
  although no duel ensue, shall be punished by imprisonment in the State prison not
  less than two nor more than ten years, and shall be incapable of voting or holding
  any office of trust or profit under the laws of this State.

  David E. Baily, The General Statutes of the State of Nevada. In Force. From 1861
  to 1885, Inclusive. With Citations of the Decisions of the Supreme Court Relating
  Thereto Page 1077, Image 1085 (1885) available at The Making of Modern Law:
  Primary Sources.
  Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
  Nevada | 1881
  An Act to prohibit the carrying of concealed weapons by minors. § 1.
  Every person under the age of twenty-one (21) years who shall wear or carry any
  dirk, pistol, sword in case, slung shot, or other dangerous or deadly weapon
  concealed upon his person, shall be deemed guilty of a misdemeanor, and shall,
  upon conviction thereof, be fined not less than twenty nor more than two hundred
  ($200) dollars, or by imprisonment in the county jail not less than thirty days nor
  more than six months or by both such fine and imprisonment.

  NEW HAMPSHIRE

  New Hampshire - Acts and Laws June 1701:
  That every justice of the peace within this province, may cause to be stayed and
  arrested all affrayers, rioters, disturbers or breakers of the peace, or any other that
  shall go armed offensively, to put his Majesty’s subjects in fear by threatening
  speeches; and upon view of such justice, confession of the Party, or legal proof of
  any such offence, the justice may commit him to prison, until he the offender find
  such sureties as is required for his good behavior, and cause his arms or weapons
  to be taken away, and apprized and answered to his Majesty, as forfeited: And may
  further punish the breach of the peace, in any person that shall smite or strike
  another by fine to the King, not exceeding twenty shillings, or require bond for
  their good behavior, and to pay all just costs; as also may make out hue and cry
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  after run-away-servants, thieves, and other criminals. https://heinonline-
  org.proxy.wm.edu/HOL/Page?handle=hein.ssl/ssnh0240&id=1&collection=ssl&in
  dex=ssl/ssnh

  New Hampshire Public Carry Prohibition (1708)*
  And every justice of the peace within this province, may cause to be stayed and
  arrested, all affrayers, rioters, disturbers or breakers of the peace, or any other who
  shall go armed offensively, or put his Majesty’s subjects in fear, by menaces or
  threatening speeches : And upon view of such justice, confession of the offender,
  or legal proof of any such offence, the justice may commit the offender to prison,
  until he or she find such sureties for the peace and good behaviour, as is required,
  according to the aggravations of the offence ; and cause the arms or weapons so
  used by the offender, to be taken away, which shall be forfeited and sold for his
  Majesty’s use. And may also punish the breach of the peace in any person, who
  shall smite, or strike another, by fine to the King, not exceeding twenty shillings;
  and require bond with sureties for the peace, till the next court of general sessions
  of the peace, or may bind the offender over to answer for said offence at said court,
  as the nature and circumstances of the offence may require.
  *The original law is dated this way: “PASS'D 11 TH OF WM. 3” King William III
  ruled from 1689-1702, so the 11th year of his reign would be 1699. See:
  https://heinonline-
  org.proxy.wm.edu/HOL/Page?collection=ssl&handle=hein.ssl/ssnh0244&id=68&
  men_tab=srchresults

  New Hampshire - Acts and Laws, 1743, 9-10:*
  That if twelve persons or more, being armed with clubs, or other weapons; or that
  if fifty persons or more, whether armed or not, shall be unlawfully, riotously,
  tumultuously or routerously assembled, any of the officers aforesaid, shall make a
  proclamation, in manner and form aforesaid; and if such persons so unlawfully
  assembled, shall not thereupon immediately disperse themselves, according to said
  proclamation, each of them, and every one who shall wilfully hinder any such
  officer (who shall be known, or shall openly declare himself to be such) making
  the said proclamation, shall forfeit and pay a fine not exceeding the sum of five
  hundred pounds, at the discretion of the said superior court, (which only shall have
  cognizance of the offense,) considering the aggravations attending the same, and
  shall be whipt thirty stripes on the naked back at the publick whipping-post, and
  suffer twelve months imprisonment, and once every three months, during said
  twelve months, receive the same number of stripes aforesaid.
  https://heinonline-
  org.proxy.wm.edu/HOL/Print?collection=ssl&handle=hein.ssl/ssnh0244&id=10
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  file:///C:/Users/Bob/Downloads/i-1.pdf
  *This law was “made and passed in the Seventeenth Year of His present Majesty’s
  Reign,” which would calculate in the reign of King George II (1727-1760) as the
  year 1743.

  1923 N.H. Laws 138
  SECTION 1. Pistol or revolver, as used in this act shall be construed as meaning
  any firearm with a barrel less than twelve inches in length.
  SECT. 2. If any person shall commit or attempt to commit a crime when armed
  with a pistol or revolver, and having no permit to carry the same, he shall in
  addition to the punishment provided for the crime, be punished by imprisonment
  for not more than five years.
  SECT. 3. No unnaturalized foreign-born person and no person who has been
  convicted of a felony against the person or property of another shall own or have in
  his possession or under his control a pistol or revolver, except as hereinafter
  provided. Violations of this section shall be punished by imprisonment for not
  more than two years and upon conviction the pistol or revolver shall be confiscated
  and destroyed.
  SECT. 4. No person shall carry a pistol or revolver concealed in any vehicle or
  upon his person, except in his dwelling house or place of business, without a
  license therefor as hereinafter provided. Violations of this section shall be punished
  by a fine of not more than one hundred dollars or by imprisonment not exceeding
  one year or by both fine and imprisonment.
  SECT. 5. The provisions of the preceding sections shall not apply to marshals,
  sheriffs, policemen, or other duly appointed peace and other law enforcement
  officers, nor to the regular and ordinary transportation of pistols or revolvers as
  merchandise, nor to members of the army, navy, or marine corps of the United
  States, nor to the national guard when on duty, nor to organizations by law
  authorized to purchase or receive such weapons, nor to duly authorized military or
  civil organizations when parading, or the members thereof when at or going to or
  from their customary places of assembly.
  SECT. 6. The selectmen of towns or the mayor or chief of police of cities may,
  upon application of any person issue a license to such person to carry a loaded
  pistol or revolver in this state, for not more than one year from date of issue, if it
  appears that the applicant has good reason to fear an injury’ to his person or
  property or for any other proper purpose, and that he is a suitable person to be
  licensed. The license shall be in duplicate and shall bear the name, address,
  description, and signature of the licensee. The original thereof shall be delivered to
  the licensee, the duplicate shall be preserved by the selectmen of towns and the
  chief of police of the cities wherein issued for a period of one year.
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  SECT. 7. Any person or persons who shall sell, barter, hire, lend or give to any
  minor under the age of twenty-one years any pistol or revolver shall be deemed
  guilty of a misdemeanor and shall upon conviction thereof be fined not more than
  one hundred dollars or be imprisoned not more than three months, or both. This
  section shall not apply to fathers, mothers, guardians, administrators, or executors
  who give to their children, wards, or heirs to an estate, a revolver.
  SECT. 8. No person shall sell, deliver, or otherwise transfer a pistol or revolver to
  a person who is an unnaturalized foreign-born person or has been convicted of a
  felony against the person property of another, except upon delivery of a written
  permit to purchase, signed by the selectmen of the town or the mayor or chief of
  police of the city. Before a delivery be made the purchaser shall sign in duplicate
  and deliver to the seller a statement containing his full name, address, and
  nationality, the date of sale, the caliber, make, model, and manufacturer’s number
  of the weapon. The seller shall, within seven days, sign and forward to the chief of
  police of the city or selectmen of the town one copy thereof and shall retain the
  other copy for one year. This section shall not apply to sales at wholesale. Where
  neither party to the transaction holds a dealer’s license, no person shall sell or
  otherwise transfer a pistol or revolver to any person not personally known to him.
  Violations of this section shall be punished by a fine of not more than one hundred
  dollars or by imprisonment for not more than one year, or by both such fine and
  imprisonment.
  SECT. 9. Whoever, without being licensed as hereinafter provided, sells,
  advertises, or exposes for sale, or has in his possession with intent to sell, pistols or
  revolvers, shall be punished by imprisonment for not more than two years.
  SECT. 10. The selectmen of towns and the chief of police of cities may grant
  licenses, the form of which shall be prescribed by the secretary of state, effective
  for not more than one year from date of issue, permitting the licensee to sell at
  retail pistols and revolvers subject to the following conditions, for breach of any of
  which the license shall be subject to forfeiture:
  1. The business shall be carried on only in the building designated in the license.
  2. The license or a copy thereof, certified by the issuing authority, shall be
  displayed on the premises where it can easily be read.
  3. No pistol or revolver shall be delivered (a) to a purchaser not personally known
  to the seller or who does not present clear evidence of his identity; nor (b) to an
  unnaturalized foreign-born person or a person who has been convicted of a felony
  and has no permit as required by section 8 of this act.
  A true record, in duplicate, shall be made of every pistol or revolver sold, said
  record to be made in a book kept for the purpose, the form of which shall be
  prescribed by the secretary of state and shall be signed by the purchaser and by the
  person effecting the sale, and shall include the date of sale, the caliber, make,
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  model, and manufacturer’s number of the weapon, the name, address, and
  nationality of the purchaser. One copy of said record shall, within seven days, be
  forwarded to the selectmen of the town or the chief of police of the city and the
  other copy retained for one year.
  SECT. 11. If any person in purchasing or. otherwise securing delivery of a pistol or
  revolver shall give false information or offer false evidence of his identity he shall
  be punished by imprisonment punished, for not more than two years.
  SECT. 12. No person shall change, alter, remove, or obliterate the name of the
  maker, model, manufacturer’s number, or other mark of identification on any pistol
  or revolver. Possession of any such firearms upon which the same shall have been
  changed, altered, removed, or obliterated, shall be presumptive evidence that such
  possessor has changed, altered, removed or obliterated the same. Violations of this
  section shall be punished by a fine of not more than two hundred dollars or by
  imprisonment for not more
  than one year, or both.
  SECT. 13. All licenses heretofore issued within the state permitting the carrying of
  pistols or revolvers upon the person shall expire at midnight of July 31, 1923.
  SECT. 14. This act shall not apply to antique pistols or revolvers incapable of use
  as such.
  SECT. 15. All acts and parts of acts inconsistent herewith are hereby repealed, and
  this act shall take effect upon its passage.

  NEW JERSEY

  The Grants, Concessions, And Original Constitutions Of The Province Of New
  Jersey Page 289-290 (1881) (1686)
  An Act Against Wearing Swords, Etc. Whereas there hath been great complaint by
  the inhabitants of this Province, that several persons wearing swords, daggers,
  pistols, dirks, stilettoes, skeines, or any other unusual or unlawful weapons, by
  reason of which several persons in this Province, receive great abuses, and put in
  great fear and quarrels, and challenges made, to the great abuse of the inhabitants
  of this Province. . . And be it further enacted by the authority aforesaid, that no
  person or persons after publication hereof, shall presume privately to wear any
  pocket pistol, skeines, stilettoes, daggers or dirks, or other unusual or unlawful
  weapons within this Province, upon penalty for the first offence five pounds, and to
  be committed by any justice of the peace, his warrant before whom proof thereof
  shall be made, who is hereby authorized to enquire of and proceed in the same, and
  keep in custody till he hath paid the said five pounds, one half to the public
  treasury for the use of this Province, and the other half to the informer: And if such
  person shall again offend against this law, he shall be in like manner committed
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  upon proof thereof before any justice of the peace to the common jail, there to
  remain till the next sessions, and upon conviction thereof by verdict of twelve men,
  shall receive judgment to be in prison six month, and pay ten pounds for the use
  aforesaid. And be it further enacted by the authority aforesaid, that no planter shall
  ride or go armed with sword, pistol or dagger, upon the penalty of five pounds, to
  be levied as aforesaid, excepting all officers, civil and military, and soldiers while
  in actual service, as also all strangers, travelling upon their lawful occasions
  through this Province, behaving themselves peaceably.

  Charles Nettleton, Laws of the State of New-Jersey Page 474, Image 501 (1821)
  available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | New Jersey | 1799
  [An Act to Describe, Apprehend and Punish Disorderly Persons (1799)], § 2.
  And whereas diverse ill disposed persons are frequently apprehended, having upon
  them implements for house-breaking, or offensive weapons, or are found in or
  upon houses, warehouses, stables, barns or out-houses, areas of houses, coach-
  houses, smoke-houses, enclosed yards, or gardens belonging to houses, with intent
  to commit theft, misdemeanors or other offences; and although their evil purposes
  are thereby manifested, the power of the justices of the peace to demand of them
  sureties for their good behavior hath not been of sufficient effect to prevent them
  from carrying their evil purpose into execution; Be it further enacted, That if any
  person shall be apprehended, having upon him or her any picklock, key, crow,
  jack, bit or other implement, with an intent to break and enter into any dwelling-
  house or out-house; or shall have upon him or her any pistol, hanger, cutlass,
  bludgeon, or other offensive weapon, with intent to assault any person; or shall be
  found in or upon any dwelling-house, ware-house, stable, barn, coach-house,
  smoke-house or out-house, or in any enclosed yard or garden, or area belonging to
  any house, with an intent to steal any goods or chattels, then he or she shall be
  deemed and adjudged to be a disorderly person.

  Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
  under the Act Entitled “An Act to Re-organize the Local Government of Jersey
  City,” Passed March 31, 1871, and the Supplements Thereto Page 41, Image 41
  (1874) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | New Jersey | 1871
  An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
  the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
  follows: § 1. That it shall not be lawful for any person or persons (excepting
  policemen and private watchmen when on duty), within the corporate limits of
  Jersey City, to carry, have, or keep concealed on his or her person any instrument
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  or weapon commonly known as a slung-shot, billy, sand-club or metal knuckles,
  and any dirk or dagger (not contained as a blade of a pocket-knife), and loaded
  pistol or other dangerous weapon, under the penalty of not exceeding twenty
  dollars for each offense. § 2. That it shall not be lawful for any person or persons
  (excepting policemen and private watchmen when on duty), within the corporate
  limits of Jersey City, to carry or wear any sword in a cane, or air-gun, under the
  penalty of not exceeding twenty dollars for each offense. § 3. Any forfeiture on
  penalty arising under this ordinance may be recovered in the manner specified by
  the City Charter, and all persons violating any of the provisions aforesaid shall,
  upon conviction, stand committed until the same be paid.




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  Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
  under the Act Entitled “An Act to Re-organize the Local Government of Jersey
  City,” Passed March 31, 1871, and the Supplements Thereto Page 86- 87, Image
  86-87 (1874) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons, Registration and Taxation | New Jersey | 1873
  An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and
  Aldermen of Jersey City do ordain as follows: § 1. That with the exceptions made
  in the second section of this ordinance, no person shall, within the limits of Jersey
  City, carry, have or keep on his or her person concealed, any slung-shot, sand-club,
  metal knuckles, dirk or dagger not contained as a blade of a pocket knife, loaded
  pistol or other dangerous weapon. § 2. That policemen of Jersey City, when
  engaged in the performance of police duty, the sheriff and constables of the County
  of Hudson, and persons having permits, as hereinafter provided for, shall be and
  are excepted from the prohibitions of the first section of this ordinance. § 3. The
  Municipal Court of Jersey City may grant permits to carry any of the weapons
  named in the first section to such persons as should, from the nature of their
  profession, business or occupation, or from peculiar circumstances, be allowed so
  to do; and may, in granting such permits, impose such conditions and restrictions
  in each case as to the court shall seem proper. All applications for permits shall be
  made in open court, by the applicant in person, and in all cases the court shall
  require a written endorsement of the propriety of granting a permit from at least
  three reputable freeholders; nor shall any such permit be granted to any person
  until the court is satisfied that such person is temperate, of adult age, and capable
  of exercising self-control . Permits shall not be granted for a period longer than one
  year, and shall be sealed by the seal of the court. The possession of a permit shall
  not operate as an excuse unless the terms of the same are strictly complied with. In
  cases of emergency, permits may be granted by a single Justice of the Municipal
  Court, or by the Chief of Police, to be in force not longer than thirty days, but such
  permit shall not be renewable. §4. That no person shall, within the limits of Jersey
  City, carry any air gun or any sword cane. § 5. The penalty for a violation of this
  ordinance shall be a fine not exceeding fifty dollars, or imprisonment in the city
  prison not exceeding ten days, or both fine and imprisonment not exceeding the
  aforesaid amount and time, in the discretion of the court.




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  Mercer Beasley, Revision of the Statutes of New Jersey: Published under the
  Authority of the Legislature; by Virtue of an Act Approved April 4, 1871 Page
  304, Image 350 (1877) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | New Jersey | 1877
  An Act Concerning Disorderly Persons, § 2.
  And whereas, diverse ill-disposed persons are frequently apprehended, having
  upon them implements for house-breaking, or offensive weapons, or are found in
  or upon houses, warehouses, stables, barns or out-houses, areas of houses, coach-
  houses, smoke-houses, enclosed yards, or gardens belonging to houses (as well as
  places of public resort or assemblage), with intent to commit theft, misdemeanors
  or other offences; and although their evil purposes are thereby manifested, the
  power of the justices of the peace to demand of them sureties for their good
  behavior hath not been of sufficient effect to prevent them from carrying their evil
  purposes into execution; if any person shall be apprehended, having upon him or
  her any picklock, key, crow, jack, bit or other implement with an intent to break
  and enter into any building: or shall have upon him or her any pistol, hanger,
  cutlass, bludgeon, or other offensive weapon, with intent to assault any person; or
  shall be found in or near any dwelling house, warehouse, stable, barn, coach-house,
  smoke-house, or out-house, or in any enclosed yard or garden, or area belonging to
  any house, or in any place of public resort or assemblage for business, worship,
  amusement, or other lawful purposes with intent to steal any goods or chattels, then
  he or she shall be deemed and adjudged a disorderly person.

  An Ordinance Concerning Firearms and Other Deadly Weapons, PLAINFIELD,
  N.J., GEN. ORDINANCES §§ 1-2 (1902 Daily Press) (approved April 9, 1895).
  An Ordinance Concerning Firearms and Other Deadly Weapons
  The Inhabitants of the City of Plainfield, by their Common Council, do enact as
  follows:
     Section 1. That no person shall fire or discharge any gun, fowling piece or
  firearms within the limits of the City of Plainfield, under a penalty of a fine not
  exceeding twenty dollars for every such offence; PROVIDED, however, that this
  section shall not apply to the use of such weapons at any military exercise or
  review, or target practice duly authorized by the military authority of this State, or
  by the Common Council, or the Mayor, or in the lawful defence of the person,
  family or property of any citizen; and PROVIDED further that this section shall
  not apply to the discharge of blank cartridges or charges of powder on the fourth
  day of July.
     Sec 2. That no person shall carry within the limits of the City of Plainfield
  concealed upon or about his person, any pistol, dirk, butcher or bowie knife,
  stilletto, dagger, sword, or spear in a cane, brass or metal knuckles, razor, slug
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  shot, or other deadly weapon, under a penalty of a fine not exceeding twenty
  dollars for each and every offence; PROVIDED that this section shall not apply to
  officers of the law or persons who are threatened with bodily harm.”
  An Ordinance Concerning Firearms and Other Deadly Weapons, PLAINFIELD,
  N.J., GEN. ORDINANCES §§ 1-2 (1902 Daily Press) (approved April 9, 1895).
  The Charter and General Ordinances of the City of Plainfield, New Jersey: In
  Force May 9th, 1902 (Plainfield, NJ: The Daily Press Print, 1902), 125-126. An
  Ordinance Concerning Firearms and Other Deadly Weapons, §§ 1-2. Approved
  April 9, 1895.
  1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the
  Punishment of Crimes,” ch. 172, § 1.
  Any person who shall carry any revolver, pistol or other deadly, offensive or
  dangerous weapon or firearm or any stiletto, dagger or razor or any knife with a
  blade of five inches in length or over concealed in or about his clothes or person,
  shall be guilty of a misdemeanor, and upon conviction thereof shall be punishable
  by a fine not exceeding two hundred dollars or imprisonment at hard labor, not
  exceeding two years, or both;. . . .


  NEW MEXICO

  1852 N.M. Laws 67, An Act Prohibiting the Carrying a Certain Class of Arms,
  within the Settlements and in Balls, § 1.
  That each and every person is prohibited from carrying short arms such as pistols,
  daggers, knives, and other deadly weapons, about their persons concealed, within
  the settlements, and any person who violates the provisions of this act shall be
  fined in a sum not exceeding ten dollars, nor less than two dollars, or shall be
  imprisoned for a term not exceeding fifteen days nor less than five days.

  1853 N.M. Laws 406, An Act Prohibiting The Carrying Of Weapons Concealed Or
  Otherwise, § 25.
  That from and after the passage of this act, it shall be unlawful for any person to
  carry concealed weapons on their persons, or any class of pistols whatever, bowie
  knife, cuchillo de cinto (belt buckle knife), Arkansas toothpick, Spanish dagger,
  slung shot, or any other deadly weapon, of whatever class or description that may
  be, no matter by what name they may be known or called under the penalties and
  punishment which shall hereinafter be described.

  1859 N.M. Laws 94, § 1-2.


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  § 1. That from and after the passage of this act, it shall be unlawful for any person
  to carry concealed weapons on their persons, of any class of pistols whatever,
  bowie knife (cuchillo de cinto), Arkansas toothpick, Spanish dagger, slung-shot, or
  any other deadly weapon, of whatever class or description they may be, no matter
  by what name they may be known or called, under the penalities and punishment
  which shall hereinafter be described. § 2. Be it further enacted: That if any person
  shall carry about his person, either concealed or otherwise, any deadly weapon of
  the class and description mentioned in the preceeding section, the person or
  persons who shall so offend, on conviction, which shall be by indictment in the
  district court, shall be fined in any sum not less than fifty dollars, nor more than
  one hundred dollars, at the discretion of the court trying the cause, on the first
  conviction under this act; and for the second conviction, the party convicted shall
  be imprisoned in the county jail for a term of not less than three months, nor more
  than one year, also at the discretion of the court trying the cause.


  1864-1865 N.M. Laws 406-08, An Act Prohibiting the Carrying of Weapons
  Concealed or Otherwise, ch. 61, § 25, 1864.
  That from and after the passage of this act, it shall be unlawful for any person to
  carry concealed weapons on their persons, or any class of pistols whatever, bowie
  knife (cuchillo de cinto), Arkansas toothpick, Spanish dagger, slungshot, or any
  other deadly weapon, of whatever class or description that may be, no matter by
  what name they may be known or called, under the penalties and punishment
  which shall hereinafter be described.

  An Act to Prohibit the Unlawful Carrying and Use of Deadly Weapons, Feb. 18,
  1887, reprinted in Acts of the Legislative Assembly of the Territory of New
  Mexico, Twenty-Seventh Session 55, 58 (1887).
  Brandishing, Carrying Weapons, Dangerous or Unusual Weapons, Firing
  Weapons, Transportation | New Mexico | 1887
  § 8. Deadly weapons, within the meaning of this act, shall be construed to mean all
  kinds and classes of pistols, whether the same be a revolved, repeater, derringer, or
  any kind or class of pistol or gun; any and all kinds of daggers, bowie knives,
  poniards, butcher knives, dirk knives, and all such weapons with which dangerous
  cuts can be given, or with which dangerous thrusts can be inflicted, including
  sword canes, and any kind of sharp pointed canes; as also slung shots, bludgeons
  or any other deadly weapons with which dangerous wounds can be inflicted. . . .

  NEW YORK


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  The Colonial Laws Of New York From The Year 1664 To The Revolution,
  Including The Charters To The Duke Of York, The Commissions And Instructions
  To Colonial Governors, The Dukes Laws, The Laws Of The Dongan And Leisler
  Assemblies, The Charters Of Albany And New York And The Acts Of The
  Colonial Legislatures From 1691 To 1775 Inclusive Page 687, Image 689 (1894)
  available at The Making of Modern Law: Primary Sources.
  Race and Slavery Based | New York | 1664
  Laws of the Colony of New York. And be it further enacted by the authority
  aforesaid that it shall not be lawful for any slave or slave to have or use any gun,
  pistol, sword, club or any other kind of weapon whatsoever, but in the presence or
  by the direction of his her or their Master or Mistress, and in their own ground on
  Penalty of being whipped for the same at the discretion of the Justice of the Peace
  before whom such complaint shall come or upon the view of the said justice not
  exceeding twenty lashes on the bare back for every such offense.

  Montgomery Hunt Throop, The Revised Statutes of the State of New York; As
  Altered by Subsequent Legislation; Together with the Other Statutory Provisions
  of a General and Permanent Nature Now in Force, Passed from the Year 1778 to
  the Close of the Session of the Legislature of 1881, Arranged in Connection with
  the Same or kindred Subjects in the Revised Statutes; To Which are Added
  References to Judicial Decisions upon the Provisions Contained in the Text,
  Explanatory Notes, and a Full and Complete Index Page 2512, Image 677 (Vol. 3,
  1882) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | New York | 1866
  An Act to Prevent the Furtive Possession and use of slung-shot and other
  dangerous weapons. Ch. 716, § 1.
  Every person who shall within this state use, or attempt to use or with intent to use
  against any other person shall knowingly and secretly conceal on his person, or
  with like intent shall willfully and furtively possess any possess any instrument or
  weapon of the kind commonly known as slung-shot, billy, sand club or metal
  knuckles, and any dirk or dagger (not contained as a blade of a pocket knife), or
  sword-cane or air-gun shall be deemed guilty of felony, and on conviction thereof
  be punished by imprisonment in the state prison, or penitentiary or county jail, for
  a term not more than one year, or by a fine not exceeding five hundred dollars, or
  by both such fine and imprisonment. § 2. The having possession of any of the
  weapons mentioned in the first section of this act by any other than a public
  officer, willfully and secretly concealed on the person or knowingly and furtively
  carried thereon, shall be presumptive evidence of so concealing and possessing or
  carrying the same with the intent to use the same in violation of the provisions of
  this act.
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                                     1085




  George S. Diossy, The Statute Law of the State of New York: Comprising the
  Revised Statutes and All Other Laws of General Interest, in Force January 1, 1881,
  Arranged Alphabetically According to Subjects Page 321, Image 324 (Vol. 1,
  1881) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | New York | 1881
  Offenses Against Public Decency; Malicious Mischief, and Other Crimes not
  Before Enumerated, Concealed Weapons, § 9.
  Every person who shall within this state use, or attempt to use, or with intent to use
  against any other person, shall knowingly and secretly conceal on his person, or
  with like intent shall willfully and furtively possess any instrument or weapon of
  the kind commonly known as a slung-shot, billy, sand club or metal knuckles, and
  any dirk shall be deemed guilty of felony, and on conviction thereof may be
  punished by imprisonment in the state prison, or penitentiary or county jail, for a
  term not more than one year, or by a fine not exceeding five hundred dollars, or by
  both such fine and imprisonment.

  George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the
  State of New York as Amended 1882-5 Page 172, Image 699 (1885) available at
  The Making of Modern Law: Primary Sources.
  Carrying, Using, Etc., Certain Weapons, § 410.
  A person who attempts to use against another, or who, with intent so to use,
  carries, conceals or possesses any instrument or weapon of the kind commonly
  known as the slung-shot, billy, sand –club or metal knuckles, or a dagger, dirk or
  dangerous knife, is guilty of a felony. Any person under the age of eighteen years
  who shall have, carry or have in his possession in any public street, highway or
  place in any city of this state, without a written license from a police magistrate of
  such city, any pistol or other fire-arm of any kind, shall be guilty of a
  misdemeanor. This section shall not apply to the regular and ordinary
  transportation of fire-arms as merchandise, or for use without the city limits. § 411.
  Possession, Presumptive Evidence. The possession, by any person other than a
  public officer, of any of the weapons specified in the last section, concealed or
  furtively carried on the person, is presumptive evidence of carrying, or concealing,
  or possessing, with intent to use the same in violation of that section.

  Charter and Ordinances of the City of Syracuse: Together with the Rules of the
  Common Council, the Rules and Regulations of the Police and Fire Departments,
  and the Civil Service Regulations Page 215, Image 216 (1885) available at The
  Making of Modern Law: Primary Sources.
  [Offenses Against the Public Peace and Quiet,] § 7.
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  Any person who shall carry about his or her person any dirk, bowie knife, sword or
  spear cane, pistol, revolver, slung shot, jimmy, brass knuckles, or other deadly or
  unlawful weapon, or shall use any deadly or unlawful weapon, with intent to do
  bodily harm to any person, shall be subject to a fine of not less than twenty-five
  nor more than one hundred dollars, or to imprisonment in the penitentiary of the
  county for not less than thirty days nor longer than three months, or to both such
  fine and imprisonment.

  1900 N.Y. Laws 459, An Act to Amend Section Four Hundred and Nine of the
  Penal Code, Relative to Dangerous Weapons, ch. 222, § 1.
  Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
  New York | 1900
  Making, et cetera, dangerous weapons. – A person who manufactures, or causes to
  be manufactured, or sells or keeps for sale, or offers, or gives, or disposes of any
  instrument or weapon of the kind usually known as slunghsot, billy, sand-club or
  metal knuckes, or who, in any city or incorporated village in this state, without the
  written consent of the police magistrate, sells or gives any pisol or other firearm, to
  any person under the age of eighteen years or without a like consent sells or gives
  away any air-gun, or spring-gun, or other instrument or weapon in which the
  propelling force is a spring or air to any person under ht age of twelve years, or
  who sells or gives away any instrument or weapon commonly known as a toy
  pistol, in or upon which any loaded or blank cartridges are used or may be used, to
  any person under the age of sixteen years, is guilty of a misdemeanor.

  1911 N.Y. Laws 442, An Act to Amend the Penal Law, in Relation to the Sale and
  Carrying of Dangerous Weapons. ch. 195, § 1.
  Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
  New York | 1911
  Section[] eighteen hundred and ninety-six . . . [is] hereby amended . . . § 1896.
  Making and disposing of dangerous weapons. A person who manufactures, or
  causes to be manufactured, or sells or keeps for sale, or offers, or gives, or disposes
  of any instrument or weapon of the kind usually known as a blackjack, slungshot,
  billy, sandclub, sandbag, bludgeon, or metal knuckles, to any person; or a person
  who offers, sells, loans, leases or gives any gun, revolver, pistol or other firearm or
  any airgun, spring-gun or other instrument or weapon in which the propelling force
  is a spring or air or any instrument or weapon commonly known as a toy pistol or
  in or upon which any loaded or blank cartridges are used, or may be used, or any
  loaded or blank cartridges or ammunition therefor, to any person under the age of
  sixteen years, is guilty of a misdemeanor.


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  1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale
  and Carrying of Dangerous Weapons. ch. 195, § 1.
  Section . . . eighteen hundred and ninety-seven . . . [is] hereby amended to read as
  follows: § 1897. Carrying and use of dangerous weapons. A person who attempts
  to use against another, or who carries, or possesses any instrument or weapon of
  the kind commonly known as a blackjack, slunghsot, billy, sandclub, sandbag,
  metal knuckles or bludgeon, or who with intent to use the same unlawfully against
  another, carries or possesses a dagger, dirk, dangerous knife, razor, stiletto, or any
  other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
  under the age of sixteen years, who shall have, carry, or have in his possession, any
  of the articles named or described in the last section, which is forbidden therein to
  offer, sell, loan, lease or give to him, shall be guilty of a misdemeanor. . . . Any
  person over the age of sixteen years, who shall have or carry concealed upon his
  person in any city, village, or town of this state, any pistol, revolver, or other
  firearm without a written license therefor, theretofore issued to him by a police
  magistrate of such city or village, or by a justice of the peace of such town, or in
  such manner as may be prescribed by ordinance of such city, village or town, shall
  be guilty of a felony.

  1913 N.Y. Laws 1627-30, vol. III, ch. 608, § 1, Carrying and Use of Dangerous
  Weapons
  Carrying Weapons, Dangerous or Unusual Weapons | New York | 1913
  § 1. A person who attempts to use against another, or who carries or possesses, any
  instrument or weapon of the kind commonly known as a blackjack, slungshot,
  billy, sandclub, sandbag, metal knuckles, bludgeon, bomb or bombshell, or who,
  with intent to use the same unlawfully against another, carries or possesses a
  dagger, dirk, dangerous knife, razor, stiletto, or any other dangerous or deadly
  instruments or weapon, is guilty of a felony.

  1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
  and Use of Glass Pistols, ch. 435, § 1.
  Dangerous or Unusual Weapons | New York | 1931
  A person who attempts to use against another an imitation pistol, or who carries or
  possesses any instrument or weapon of the kind commonly known as a black-jack,
  slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
  to use the same unlawfully against another, carries or possesses a dagger, dirk,
  dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
  or any other dangerous or deadly instrument, or weapon is guilty of a
  misdemeanor, and if he has been previously convicted of any crime he is guilty of
  a felony.
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  NORTH CAROLINA

  Francois Xavier Martin, A Collection of Statutes of the Parliament of England in
  Force in the State of North Carolina, 60-61 (Newbern 1792)
  Item, it is enacted, that no man great nor small, of what condition soever he be,
  except the King’s servants in his presence, and his Ministers in executing of the
  King’s precepts, of their office, and such as be in their company assisting them,
  and also upon a cry made for arms to keep the peace, and the same in such places
  where such acts happen, be so hardy to come before the King’s justices, or other of
  the King’s Ministers doing their office with force and arms, nor bring no force in
  affray of peace, nor to go nor ride armed by night nor by day, in fairs, markets nor
  in the presence of the King’s Justices, or other ministers, nor it [sic, likely “in”] no
  part elsewhere, upon pain to forfeit their armour to the King, and their bodies to
  prison at the King’s pleasure. And that the King’s Justices in their presence,
  Sheriffs and other ministers in their bailiwicks, Lords of Franchises, and their
  bailiffs in the same, and Mayors and Bailiffs of cities and boroughs, within the
  same cities and boroughs, and boroughholders, constables and wardens of the
  peace within their wards shall have power to execute this etc. [in original] And that
  the Justices assigned, at thier coming down into the country , shall have power to
  enquire how such officers and lords have exercised their offices in this case, and to
  punish them whom they find that have not done that which pertain to their office.

  James Iredell, A Digested Manual of the Acts of the General Assembly of North
  Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
  a Private and Local Nature, and Such as were Temporary and Whose Operation
  Has Ceased to Exist Page 73, Image 73 (1847) available at The Making of Modern
  Law: Primary Sources, 1840.
  Crimes and Punishments, 1840 – 1. – Ch. 30, If any free negro, mulatto, or free
  person of color shall wear, or carry about his or her person, or keep in his or her
  house, any shot gun, musket, rifle, pistol, sword, dagger, or bowie knife, unless he
  or she shall have obtained a license therefor from the Court of Pleas and Quarter
  Sessions of his or her county, within one year preceding the wearing, keeping or
  carrying thereof, he or she shall be guilty of a misdemeanor and may be indicted
  therefor.

  James Iredell, A Digested Manual of the Acts of the General Assembly of North
  Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
  a Private and Local Nature, and Such as were Temporary and Whose Operation


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  Has Ceased to Exist Page 75, Image 75 (1847) available at The Making of Modern
  Law: Primary Sources, 1846.
  Crimes and Punishments, 1846 – 7- Ch. 42. It shall not be lawful for any person or
  persons to sell or barter and deliver, to any slave, or slaves, any gun cotton, fire
  arms, swords, dirks or other side arms, unless those articles be for the owner or
  employer, and by the written order of the owner or employer of such slave or
  slaves, under the penalty of one hundred dollars for each offence, to be recovered,
  by warrant, before any Justice of the Peace, and applied, one half to the use of the
  party suing for the same, and the other half to the wardens of the poor of the
  county; and, moreover, may be indicted in the County or Superior Courts of Law;
  and the defendant, on conviction, shall be fined or imprisoned at the discretion of
  the Court; the fine, however, not to exceed fifty dollars, or the imprisonment three
  months.

  1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
  § 27, pt. 15.
  The following subjects shall be annually listed, and be taxed the amounts specified:
  . . . Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
  worn about the person of any one at any time during the year, one dollar and
  twenty-five cents. Arms used for mustering shall be exempt from taxation.

  1856-1857 N.C. Sess. Laws 34, Pub. Laws, An Act Entitled “Revenue,” ch. 34, §
  23, pt. 4, 1856.
  On every pistol, except such as are used exclusively for mustering, and on every
  bowie-knife, one dollar and twenty five cents; on dirks and swordcanes, sixty five
  cents: Provided, however, That of said arms, only such shall be taxable, as at some
  time within the year have been used, worn or carried about the person of the
  owner, or of some other, by his consent.

  1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
  § 27, pt. 15, 1858.
  The following subjects shall be annually listed, and be taxed the amounts specified:
  . . . Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
  worn about the person of any one at any time during the year, one dollar and
  twenty-five cents. Arms used for mustering shall be exempt from taxation.

  1860-1861 N.C. Sess. Laws 68, Pub. Laws, An Act to Amend Chapter 107,
  Section 66, of the Revised Code, Relating to Free Negroes Having Arms, ch. 34, §
  1, 1860.


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  That chapter 107, section 66, of the Revised Code be amended to read as follows:
  If any free negro shall wear or carry about his person or keep in his house any shot
  gun, musket, rifle, pistol, sword, sword cane, dagger, bowie knife, powder or shot,
  he shall be guilty of a misdemeanor, and upon conviction fined not less than fifty
  dollars.

  North Carolina: N.C. Sess. Laws (1879) chap. 127, as codified in North Carolina
  Code, Crim. Code, chap. 25 (1883) § 1005, Concealed weapons, the carrying or
  unlawfully, a misdemeanor.
  If any one, except when on his own premises, shall carry concealed about his
  person any pistol, bowie knife, dirk, dagger, slungshot, loaded case, brass, iron or
  metallic knuckes or razor or other deadly weapon or like kind, he shall be guilty of
  a misdemeanor, and be fined or imprisoned at the discretion of the court. And if
  anyone not being on his own lands, shall have about his person any such deadly
  weapon, such possession shall be prima facie evidence of the concealment thereof.
  ..

  NORTH DAKOTA

  1895 N.D. Rev. Codes 1293, Penal Code, Crimes Against the Public Health and
  Safety, ch. 40, §§ 7312-13.
  § 7312. Carrying or using slung shot. Every person who carries upon his person,
  whether concealed or not, or uses or attempts to use against another, any
  instrument or weapon of the kind usually known as slung shot, or of any similar
  kind, is guilty of a felony.
  § 7313. Carrying concealed weapons. Every person who carries concealed about
  his person any description of firearms, being loaded or partly loaded, or any sharp
  or dangerous weapon, such as is usually employed in attack or defense of the
  person, is guilty of a misdemeanor.

  1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying
  Concealed Any Dangerous Weapons or Explosives, or Who Has the Same in His
  Possession, Custody or Control, unless Such Weapon or Explosive Is Carried in
  the Prosecution of a Legitimate and Lawful Purpose, ch. 83, §§ 1-3, 5.
  § 1. Any person other than a public officer, who carries concealed in his clothes
  any instrument or weapon of the kind usually known as a black-jack, slung-shot,
  billy, sand club, sand bag, bludgeon, metal knuckles, or any sharp or dangerous
  weapon usually employed in attack or defense of the person, or any gun, revolver,
  pistol or other dangerous fire arm loaded or unloaded, or any person who carries


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  concealed nitro-glycerin, dynamite, or any other dangerous or violent explosive, or
  has the same in his custody, possession or control, shall be guilty of a felony. . . .

  OHIO

  1788-1801 Ohio Laws 20, A Law Respecting Crimes and Punishments . . . , ch. 6.
  Sentence Enhancement for Use of Weapon | Ohio | 1788
  Burglary . . . If the person or persons so breaking and entering any dwelling house,
  shop, store or vessel as aforesaid, shall commit, or attempt to commit any personal
  abuse, force, or violence, or shall be so armed with any dangerous weapon or
  weapons as clearly to indicate a violent intention, he, she or they so offending,
  upon conviction thereof, shall moreover, forfeit all his, her or their estate, real and
  personal, to this territory, out of which the party injured shall be recompensed as
  aforesaid, and the offender shall also be committed to any gaol [jail] in the territory
  for a term not exceeding forty years.

  1859 Ohio Laws 56, An Act to Prohibit the Carrying or Wearing of Concealed
  Weapons, § 1.
  Carrying Weapons | Ohio | 1859
  [W]hoever shall carry a weapon or weapons, concealed on or about his person,
  such as a pistol, bowie knife, dirk, or any other dangerous weapon, shall be
  deemed guilty of a misdemeanor, and on conviction of the first offense shall be
  fined not exceeding two hundred dollars, or imprisoned in the county jail not more
  than thirty days; and for the second offense, not exceeding five hundred dollars, or
  imprisoned in the county jail not more than three months, or both, at the discretion
  of the court.

  Joseph Rockwell Swan, The Revised Statutes of the State of Ohio, of a General
  Nature, in Force August 1, 1860. With Notes of the Decisions of the Supreme
  Court Page 452, Image 464 (1860) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Ohio | 1859
  An Act to Prohibit the Carrying or Wearing of Concealed Weapons, §§ 1-2.
  § 1. Be it enacted by the General Assembly of the State of Ohio, that whoever shall
  carry a weapon or weapons, concealed on or about his person, such as a pistol,
  bowie knife, dirk, or any other dangerous weapon, shall be deemed guilty of a
  misdemeanor, and on conviction of the first offense shall be fined not exceeding
  two hundred dollars, or imprisoned in the county jail not more than thirty days; and
  for the second offense, not exceeding five hundred dollars, or imprisoned in the
  county jail not more than three months, or both, at the discretion of the court. Sec.
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  § 2. If it shall be proved to the jury, from the testimony on the trial of any case
  presented under the [section of this act banning the carrying of concealed
  weapons], that the accused was, at the time of carrying any of the weapon or
  weapons aforesaid, engaged in the pursuit of any lawful business, calling, or
  employment, and that the circumstances in which he was placed at the time
  aforesaid were such as to justify a prudent man in carrying the weapon or weapons
  aforesaid for the defense of his person, property or family, the jury shall acquit the
  accused.

  Michael Augustus Daugherty, The Revised Statutes and Other Acts of a General
  Nature of the State of Ohio: In Force January 1, 1880 Page 1633, Image 431 (Vol.
  2, 1879) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Ohio | 1880
  Offences Against Public Peace, § 6892.
  Whoever carries any pistol, bowie-knife, dirk, or other dangerous weapon,
  concealed on or about his person, shall be fined not more than two hundred dollars,
  or imprisoned not more than five hundred dollars, or imprisoned not more than
  three months, or both.

  OKLAHOMA

  1890 Okla. Laws 495, art. 47
  Brandishing, Carrying Weapons, Hunting, Possession by, Use of, and Sales to
  Minors and Others Deemed Irresponsible | Oklahoma | 1890
  § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
  concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
  bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
  other kind of knife or instrument manufactured or sold for the purpose of defense
  except as in this article provided.
  § 2. It shall be unlawful for any person in the Territory of Oklahoma, to carry upon
  or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
  metal knuckles, or any other offensive or defensive weapon, except as in this
  article provided.
  § 3. It shall be unlawful for any person within this Territory, to sell or give to any
  minor any of the arms or weapons designated in sections one and two of this
  article.
  § 4. Public officers while in the discharge of their duties or while going from their
  homes to their place of duty, or returning therefrom, shall be permitted to carry
  arms, but at no other time and under to other circumstances: Provided, however,
  That if any public officer be found carrying such arms while under the influence of
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  intoxicating drinks, he shall be deemed guilty of a violation of this article as
  though he were a private person.
  § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
  hunting, having them repaired, or for killing animals, or for the purpose of using
  the same in public muster or military drills, or while traveling or removing from
  one place to another, and not otherwise.
  § 7. It shall be unlawful for any person, except a peace officer, to carry into any
  church or religious assembly, any school room or other place where persons are
  assembled for public worship, for amusement, or for educational or scientific
  purposes, or into any circus, show or public exhibition of any kind, or into any ball
  room, or to any social party or social gathering, or to any election, or to any place
  where intoxicating liquors are sold, or to any political convention, or to any other
  public assembly, any of the weapons designated in sections one and two of this
  article.
  § 8. It shall be unlawful for any person in this Territory to carry or wear any deadly
  weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
  for the avowed purpose of injuring his fellow man.
  § 9. It shall be unlawful for any person to point any pistol or any other deadly
  weapon whether loaded or not, at any other person or persons either in anger or
  otherwise.

  1890 Okla. Sess. Laws 475, Crimes Against The Public Health And Safety,
  §§ 18-19.
  § 18. Every person who manufactures or causes to be manufactured, or sells or
  offers or keeps for sale, or gives or disposes of any instrument or weapon of the
  kind usually known as slung shot, or of any similar kind is guilty of a
  misdemeanor.
  § 19. Every person who carries upon his person, whether concealed or not or uses
  or attempts to use against another, any instrument or weapon of the kind usually
  known as slung shot, or of any similar kind, is guilty of a felony.

  General Laws Relating to Incorporated Towns of Indian Territory Page 37, Image
  33 (1890) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Oklahoma | 1890
  Revised Ordinances of the Town of Checotah, Ordinance No. 11, § 3.
  To wear or carry any pistol of any kind whatever, or any dirk, butcher knife or
  bowie knife, or a sword, or a spear in a cane, brass or metal knuckles or a razor,
  slung shot, sand bag, or a knife with a blade over three inches long, with a spring
  handle, as a weapon.


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  Leander G. Pitman, The Statutes of Oklahoma, 1890. (From the Laws Passed by
  the First Legislative Assembly of the Territory) Page 495-496, Image 511-512
  (1891) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Oklahoma | 1891
  Concealed Weapons, §§ 1, 2, 4-10.
  § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
  concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
  bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
  other kind of knife or instrument manufactured or sold for the purpose of defense
  except as in this article provided.
  § 2. It shall be unlawful for any person in this territory of Oklahoma, to carry upon
  or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
  metal knuckles, or any other offensive or defensive weapon, except as in this
  article provided.
  § 4. Public officers while in the discharge of their duties or while going from their
  homes to their place of duty, or returning therefrom, shall be permitted to carry
  arms, but at no other time and under no other circumstances: Provided, however
  That if any public officer be found carrying such arms while under the influence of
  intoxicating drinks, he shall be deemed guilty of a violation of this article as
  though he were a private person.
  § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
  hunting, having them repaired, or for killing animals, or for the purpose of using
  the same in public muster or military drills, or while travelling or removing from
  one place to another, and not otherwise.
  § 6. Any person violating the provisions of any one of the forgoing sections, shall
  on the first conviction be adjudged guilty of a misdemeanor and be punished by a
  fine of not less than twenty-five dollars nor more than fifty dollars, or by
  imprisonment in the county jail not to exceed thirty days or both at the discretion
  of the court. On the second and every subsequent conviction, the party offending
  shall on conviction be fined not less than fifty dollars nor more than two hundred
  and fifty dollars or be imprisoned in the county jail not less than thirty days nor
  more than three months or both, at the discretion of the court.
  § 7. It shall be unlawful for any person, except a peace officer, to carry into any
  church or religious assembly, any school room or other place where persons are
  assembled for public worship, for amusement, or for educational or scientific
  purposes, or into any circus, show or public exhibition of any kind, or into any ball
  room, or to any social party or social gathering, or to any election, or to any place
  where intoxicating liquors are sold, or to any political convention, or to any other
  public assembly, any of the weapons designated in sections one and two of this
  article.
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  § 8. It shall be unlawful for any person in this territory to carry or wear any deadly
  weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
  for the avowed purpose of injuring his fellow man.
  § 9. It shall be unlawful for any person to point any pistol or any other deadly
  weapon whether loaded or not, at any other person or persons either in anger or
  otherwise.
  § 10. Any person violating the provisions of section seven, eight, or nine of this
  article; shall on conviction, be punished by a fine of not less than fifty dollars, nor
  more than five hundred and shall be imprisoned in the county jail for not less than
  three nor more than twelve months.

  Wilson's Rev. & Ann. St. Okla.(1903) § 583, c. 25.
  It shall be unlawful for any person in the territory of Oklahoma to carry concealed
  on or about his person, saddle, or saddle bags, any pistol, revolver, bowie knife,
  dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any other kind of
  knife or instrument manufactured or sold for the purpose of defense except as in
  this article provided.

  OREGON

  1885 Or. Laws 33, An Act to Prevent Persons from Carrying Concealed Weapons
  and to Provide for the Punishment of the Same, §§ 1-2.
  § 1. It shall be unlawful for any person to carry concealed about his person in any
  manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.
  § 2. Any person violating any of the provisions of section one of this act shall be
  deemed guilty of a misdemeanor, and, upon conviction thereof, shall be punished
  by a fine of not less than ten dollars nor more than two hundred dollars, or by
  imprisonment in the county jail not less than five days nor more than one hundred
  days, or by both fine and imprisonment, in the discretion of the court.

  Laws of Oregon (1885), An Act to Prevent Persons from Carrying Concealed
  Weapons, § 1-4, p. 33, as codified in Ore. Code, chap. 8 (1892) § 1969.
  It shall be unlawful for any person to carry concealed about his person in any
  manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.
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  The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of
  Order Page 259, Image 261 (1898) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Oregon | 1898
  An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers
  and Owners of Disorderly Houses, § 2.
  It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any
  concealed deadly weapon or to discharge any firearms, air gun, sparrow gun,
  flipper or bean shooter within the corporate limits of the city, unless in self-
  defense, in protection of property or an officer in the discharge of his duty;
  provided, however, permission may be granted by the mayor to any person to carry
  a pistol or revolver when upon proper representation it appears to him necessary or
  prudent to grant such permission.

  1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale,
  possession, carrying, or use of any blackjack, slungshot, billy, sandclub, sandbag,
  metal knuckles, dirk, dagger or stiletto, and regulating the carrying and sale of
  certain firearms, and defining the duties of certain executive officers, and
  providing penalties for violation of the provisions of this Act, §§ 7-8.
  Carrying Weapons | Oregon | 1917
  § 7. Any person who attempts to use, or who with intent to use the same
  unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
  razor, stiletto, or any loaded pistol, revolver or other firearm, or any instrument or
  weapon of the kind commonly known as a blackjack, slung-shot, billy, sandclub,
  sandbag, metal knuckles, bomb or bomb-shell, or any other dangerous or deadly
  weapon or instrument, is guilty of a felony. The carrying or possession of any of
  the weapons specified in this section by any person while committing, or
  attempting or threatening to commit a felony, or a breach of the peace, or any act
  of violence against the person or property of another, shall be presumptive
  evidence of carrying or possessing such weapon with intent to use the same in
  violation of this section.
  Any person who violates the provisions of this section shall be deemed guilty of a
  felony, and upon conviction thereof shall be punished by a fine of not less than
  $50.00 nor more than $500.00, or by imprisonment in the county jail for not less
  than one month nor more than six months, or by imprisonment in the penitentiary
  for not exceeding five years.
  § 8. Whenever any person shall be arrested and it shall be discovered that such
  person possesses or carries or has possessed or carried upon his person any loaded
  pistol, revolver or other firearm, or any weapon named or enumerated in Section 7
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  of this Act, in violation of any of the sections of this Act, it shall be the duty of the
  person making the arrest to forthwith lay an information for a violation of said
  section or sections against the person arrested before the nearest or most accessible
  magistrate having jurisdiction of the offense, and such magistrate must entertain
  and examine such information and act thereon in the manner prescribed by law.
  Section 11. Any person not a citizen of the United States of America, who shall be
  convicted of carrying a deadly weapon, as described in Sections 1, 2 and 7 of this
  Act, shall be guilty of a felony and on conviction thereof shall be punished by
  imprisonment in the State prison for a period not exceeding five years.

  PENNSYLVANIA

  1851 Pa. Laws 382, An Act Authorizing Francis Patrick Kenrick, Bishop Of
  Philadelphia, To Convey Certain Real Estate In The Borough Of York, And A
  supplement To The Charter Of Said Borough, § 4.
  That any person who shall willfully and maliciously carry any pistol, gun, dirk
  knife, slung shot, or deadly weapon in said borough of York ,shall be deemed
  guilty of a felon, and being thereof convicted shall be sentenced to undergo an
  imprisonment at hard labor for a term not less than 6 months nor more than one
  year and shall give security for future good behavior for such sum and for such
  time as the court before whom such conviction shall take place may fix . . . .

  Laws of the City of Johnstown, Pa., Embracing City Charter, Act of Assembly of
  May 23, 1889, for the Government of Cities of the Third Class, General and
  Special Ordinances, Rules of Select and Common Councils and Joint Sessions
  Page 86, Image 86 (1897) available at The Making of Modern Law: Primary
  Sources.
  Carrying Weapons | Pennsylvania | 1897
  An Ordinance for the Security of Persons and Property of the Inhabitants of the
  City of Johnstown; The preservation of the Public Peace and Good Order of the
  City, and Prescribing Penalties for Offenses Against the Same, § 12.
  No person shall willfully carry concealed upon his or her person any pistol, razor,
  dirk or bowie-knife, black jack, or handy billy, or other deadly weapon, and any
  person convicted of such offense shall pay a fine of not less than five dollars or
  more than fifty dollars with costs.

  RHODE ISLAND

  1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
  Weapons, chap. 1180, § 1.
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  No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
  dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
  pistol or fire arms of any description, or other weapons of like kind and description
  concealed upon his persons . . . [additional fine provided if intoxicated while
  concealed carrying].

  1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
  Weapons, chap. 1180, §§1-3.
  Carrying Weapons, Sentence Enhancement for Use of Weapon | Rhode Island |
  1893
  § 1. No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
  dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
  pistol or fire arms of any description, or other weapons of like kind and description
  concealed upon his person: Provided, that officers or watchmen whose duties
  require them to make arrests or to keep and guard prisoners or property, together
  with the persons summoned by such officers to aid them in the discharge of such
  duties, while actually engaged in such duties, are exempted from the provisions of
  this act.
  § 2. Any person convicted of a violation of the provisions of section 1 shall be
  fined not less than twenty dollars nor more than two hundred dollars, or be
  imprisoned not less than six months nor more than one year.
  § 3. Whenever any person shall be arrested charged with any crime or
  misdemeanor, or for being drunk or disorderly, or for any breach of the peace, and
  shall have concealed upon his person any of the weapons mentioned in section 1,
  such person, upon complaint and conviction , in addition to the penalties provided
  in section 2, shall be subject to a fine of not less than five dollars nor more than
  twenty five dollars, and the confiscation of the weapon so found.

  General Laws of the State of Rhode Island and Providence Plantations to Which
  are Prefixed the Constitutions of the United States and of the State Page 1010-
  1011, Image 1026-1027 (1896) available at The Making of Modern Law: Primary
  Sources.
  Carrying Weapons | Rhode Island | 1896
  Offences Against Public Policy, §§ 23, 24, 26.
  § 23. No person shall wear or carry in this state any dirk, bowie-knife, butcher
  knife, dagger, razor, sword-in-cane, air-gun, billy, brass or metal knuckles, slung-
  shot, pistol or fire-arms of any description, or other weapons of like kind and
  description concealed upon his person: provided, that officers or watchmen whose
  duties require them to make arrests or to keep and guard prisoners or property,
  together with the persons summoned by such officers to aid them in the discharge
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  of such duties, while actually engaged in such duties, are exempted from the
  provisions of this and the two following sections.
  § 24. Any person convicted of a violation of the provisions of the preceding section
  shall be fined not less than ten nor more than twenty dollars, or be imprisoned not
  exceeding three months, and the weapon so found concealed shall be confiscated
  ....
  § 26. No negative allegations of any kind need be averred or proved in any
  complaint under the preceding three sections, and the wearing or carrying of such
  concealed weapons or weapons shall be evidence that the wearing or carrying of
  the same is unlawful; but the respondent in any such case my show any fact that
  would render the carrying of the same lawful under said sections.

  1908 (January Session) R.I. Pub. Laws 145, An Act in Amendment of section 23
  of chapter 283 of the General Laws
  Carrying Weapons | Rhode Island | 1908
  § 23. No person shall wear or carry in this state any dirk, dagger, razor, sword-in-
  cane, bowie knife, butcher knife, or knife of any description having a blade of
  more than three inches in length, measuring from the end of the handle, where the
  blade is attached to the end of said blade, any air gun, billy, brass or metal
  knuckles, slung-shot, pistol or firearms of any description, or other weapons of like
  kind and description, concealed upon his person: Provided, that officers or
  watchmen whose duties require them to arrest or to keep and guard prisoners or
  property, together with the persons summoned by such officers to aid them in the
  discharge of such duties, while actually engaged in such duties, are exempted from
  the provision of this and the two other following sections.

  SOUTH CAROLINA

  1880 S.C. Acts 448, § 1, as codified in S.C. Rev. Stat. (1894). § 129 (2472.)
  § 1. Be it enacted by the Senate and House of Representatives of the State of South
  Carolina, not met and sitting in General Assembly, and by the authority of the
  same, That any person carrying a pistol , dirk, dagger, slung shot, metal knuckles,
  razor, or other deadly weapon usually used for the infliction of personal injury,
  concealed about his person shall be guilty of a misdemeanor and upon conviction
  thereof, before a Court of competent jurisdiction shall forfeit to the County the
  weapon so carried concealed and be fined in a sum not more than two hundred
  dollars, or imprisoned for not more than twelve months, or both, in the discretion
  of the Court.



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  § 2. It shall be the duty of every Trial Justice, Sheriff, Constable, or other peace
  officer, to cause all persons violating this Act to be prosecuted therefor whenever
  they shall discover a violation hereof.

  Act of Feb. 20, 1901, ch. 435, §1, 1901 S.C. Acts 748
  Sec. 1. Be it enacted by the General Assembly of the State of South Carolina: That
  from and after the first day of July 1902 it shall be unlawful for any one to carry
  about the person whether concealed or not any pistol less than 20 inches long and 3
  pounds in weight. And it shall be unlawful for any person, firm or corporation to
  manufacture, sell or offer for sale, or transport for sale or use into this State, any
  pistol of less length and weight. Any violation of this Section shall be punished by
  a fine of not more than one hundred dollars, or imprisonment for not more than
  thirty days and in case of a violation by a firm or corporation it shall forfeit the
  sum of one hundred dollars to and for the use of the school fund of the County
  wherein the violation takes place to be recovered as other fines and forfeitures:
  Provided, this Act shall not apply to peace officers in the actual discharge of their
  duties, or to persons while on their own premises.

  1923 S.C. Acts 221
  If any person shall knowingly sell, offer for sale, give, or in any way dispose of to
  a minor any pistol or pistol cartridge, brass knucks, bowie knife, dirk, loaded cane
  or sling shot, he shall be guilty of a misdemeanor. Any person being the parent or
  guardian, of or attending in loco parentis to any child under the age of twelve years
  who shall knowingly permit such child to have the possession or custody of, or use
  in any manner whatever any gun, pistol, or other dangerous firearm, whether such
  firearm be loaded or unloaded, or any person who shall knowingly furnish such
  child any firearm, shall be guilty of a misdemeanor, and, upon conviction, shall be
  fined not exceeding Fifty Dollars or imprisoned not exceeding thirty days.

  SOUTH DAKOTA

  S.D. Terr. Pen. Code (1877), § 457 as codified in S.D. Rev. Code, Penal Code
  (1903), §§ 470-471.
  § 470. Every person who carries upon his person, whether concealed or not, or uses
  or attempt to use against another, any instrument or weapon of the kind usually
  known as slung shot, or of any similar kind, is guilty of a felony.
  § 471. Every person who carries concealed about his person any description of
  firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
  as is usually employed in attack or defense of the person, is guilty of a
  misdemeanor.
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  S.D. Rev. Code, Penal Code 1150 (1903) §§ 470, 471
  § 470. Every person who carries upon his person, whether concealed or not, or uses
  or attempt to use against another, any instrument or weapon of the kind usually
  known as slung shot, or of any similar kind, is guilty of a felony.
  § 471. Every person who carries concealed about his person any description of
  firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
  as is usually employed in attack or defense of the person, is guilty of a
  misdemeanor.




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  TENNESSEE

  Judge Edward Scott, Laws of the State of Tennessee: Including Those of North
  Carolina Now in Force in this State: From the Year 1715 to the Year 1820,
  Inclusive Page 710, Image 714 (Vol. 1, 1821) The Making of Modern Law:
  Primary Sources. 1801
  An Act for the Restraint of Idle and Disorderly Persons § 6. Be it enacted, That if
  any person or persons shall publicly ride or go armed to the terror of the people, or
  privately carry any dirk, large knife, pistol or any other dangerous weapon, to the
  fear or terror of any person, it shall be the duty of any judge or justice, on his own
  view, or upon the information of any other person on oath, to bind such person or
  persons to their good behavior, and if he or they fail to find securities, commit him
  or them to jail, and if such person or persons shall continue so to offend, he or they
  shall not only forfeit their recognizance, but be liable to an indictment, and be
  punished as for a breach of the peace, or riot at common law.

  1821 Tenn. Pub. Acts 15-16, An Act to Prevent the Wearing of Dangerous and
  Unlawful Weapons, ch. 13.
  Robert Looney Caruthers, A Compilation of the Statutes of Tennessee, of a
  General and Permanent Nature, from the Commencement of the Government to the
  Present time: With References to Judicial Decisions, in Notes, to Which is
  Appended a New Collection of Forms Page 100, Image 105 (1836) available at
  The Making of Modern Law: Primary Sources. 1821
  An Act of 1821, § 1. Every person so degrading himself by carrying a dirk, sword
  cane, Spanish stiletto, belt or pocket pistols, either public or private, shall pay a
  fine of five dollars for every such offence, which may be recovered by warrant
  before any justice of the peace, in the name of the county for its use, in which the
  offence may have been committed; and it shall be the duty of a justice to issue a
  warrant on the application, on oath, of any person applying; and it shall be the duty
  of every judge, justice of the peace, sheriff, coroner, and constable within this
  state, to see that this act shall have its full effect: Provided, that nothing herein
  contained shall affect any person that may be on a journey to any place out of his
  county or state.

  1837-38 Tenn. Pub. Acts 200-01, An Act to Suppress the Sale and Use of Bowie
  Knives and Arkansas Tooth Picks in this State, ch 137, § 2.




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  That if any person shall wear any Bowie knife, Arkansas tooth pick, or other knife
  or weapon that shall in form, shape or size resemble a Bowie knife or Arkansas
  toothpick under his clothes, or keep the same concealed about his person, such
  person shall be guilty of a misdemeanor, and upon conviction thereof shall be fined
  in a sum not less than two hundred dollars, nor more than five hundred dollars, and
  shall be imprisoned in the county jail not less than three months and not more than
  six months.

  1837-1838 Tenn. Pub. Acts 200, An Act to Suppress the Sale and Use of Bowie
  Knives and Arkansas Tooth Picks in this State, ch. 137, § 1.
  That if any merchant, . . . shall sell, or offer to sell . . . any Bowie knife or knives,
  or Arkansas tooth picks . . . such merchant shall be guilty of a misdemeanor, and
  upon conviction thereof upon indictment or presentment, shall be fined in a sum
  not less than one hundred dollars, nor more than five hundred dollars, and shall be
  imprisoned in the county jail for a period not less than one month nor more than
  six months.

  1837-1838 Tenn. Pub. Acts 201, An Act to Suppress the Sale and Use of Bowie
  Knives and Arkansas Tooth Picks in the State, ch. 137, § 4.
  That if any person carrying any knife or weapon known as a Bowie knife,
  Arkansas tooth pick, or any knife or weapon that shall in form, shape or size
  resemble a Bowie knife, on a sudden rencounter [sic], shall cut or stab another
  person with such knife or weapon, whether death ensues or not, such person so
  stabbing or cutting shall be guilty of a felony, and upon conviction thereof shall be
  confined in the jail and penitentiary house of this state, for a period of time not less
  than three years, nor more than fifteen years.

  Seymour Dwight Thompson, A Compilation of the Statute Laws of the State of
  Tennessee, of a General and Permanent Nature, Compiled on the Basis of the Code
  of Tennessee, With Notes and References, Including Acts of Session of 1870-1871
  Page 125, Image 794 (Vol. 2, 1873) available at The Making of Modern Law:
  Primary Sources. [1856]
  Offences Against Public Policy and Economy. § 4864.
  Any person who sells, loans, or gives, to any minor a pistol, bowie-knife, dirk,
  Arkansas tooth-pick, hunter’s knife, or like dangerous weapon, except a gun for
  hunting or weapon for defense in traveling, is guilty of a misdemeanor, and shall
  be fined not less than twenty-five dollars, and be imprisoned in the county jail at
  the discretion of the court.



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  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, Together with the Acts of the Legislature Relating to the City, with an
  Appendix Page 190, Image 191 (1863) available at The Making of Modern Law:
  Primary Sources.
  Offences Affecting Public Safety: Carrying Concealed Weapons, § 3.
  It shall not be lawful for any person or persons to carry concealed about his or their
  persons any pistol, Bowie-knife, dirk, or any other deadly weapon; and any person
  so offending, shall upon conviction thereof before the Recorder, be fined not less
  than ten nor more than fifty dollars for each and every offence.

  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
  Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
  Making of Modern Law: Primary Sources.
  Police Regulations Of The State, Offences Against Public Peace, §§ 4746, 4747,
  4753, 4757.
  § 4746. Any person who carries under his clothes or concealed about his person, a
  bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
  or size, is guilty of a misdemeanor.
  § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the State for the
  purpose of selling, giving away or otherwise disposing of any knife or weapon
  mentioned in the preceding section.
  § 4753. No person shall ride or go armed to the terror of the people, or privately
  carry any dirk, large knife, pistol or any dangerous weapon, to the fear or terror of
  any person.
  § 4757. No person shall either publicly or privately carry a dirk, sword-cane,
  Spanish stiletto, belt or pocket pistol, except a knife, conspicuously on the strap of
  a shot-pouch, or on a journey to a place out of his county or State.

  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
  Relating to the City, with an Appendix Page 50, Image 50 (1867) available at The
  Making of Modern Law: Primary Sources.
  Police Regulations of the State. Selling Liquors or Weapons to Minors. § 4864.
  Any person who sells, loans or gives to any minor a pistol, bowie-knife, dirk,
  Arkansas toothpick, hunter’s knife, or like dangerous weapon, except a gun for
  hunting or weapon for defense in traveling, is guilty of a misdemeanor and shall be
  fined not less than twenty-five dollars, and imprisoned in the county jail at the
  discretion of the court.


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  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
  Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
  Making of Modern Law: Primary Sources.
  Police Regulations Of the State. Offences Against Public Peace. Concealed
  Weapons. §§ 4746-4747.
  § 4746. Any person who carries under his clothes or concealed about his person, a
  bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
  or size, is guilty of a misdemeanor. Selling such weapons misdemeanor.
  § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the state for the
  purpose of selling, giving away or otherwise disposing of any knife or weapon
  mentioned in the preceding Section.

  James H. Shankland Public Statutes of the State of Tennessee, since the Year 1858.
  Being in the Nature of a Supplement to the Code Page 108, Image 203 (Nashville,
  1871) available at The Making of Modern Law: Primary Sources. 1869
  Elections.
  § 2. That it shall not be lawful for any qualified voter or other person attending any
  election in this State, or for any person attending any fair, race course, or other
  public assembly of the people, to carry about his person, concealed or otherwise,
  any pistol, dirk, Bowie-knife, Arkansas toothpick, or weapon in form, shape, or
  size resembling a Bowie knife or Arkansas tooth-pick, or other deadly or
  dangerous weapon.
  § 3. That all persons convicted under the second section of this act shall be
  punished by fine of not less than fifty dollars, and by imprisonment, or both, at the
  discretion of the court.

  Tenn. Pub. Acts (1879), chap. 186, as codified in Tenn. Code (1884). 5533: It shall
  not be lawful for any person to carry, publicly or privately, any dirk, razor
  concealed about his person, sword cane, loaded cane, slung-shot or brass knucks,
  Spanish stiletto, belt or pocket pistol, revolver, or any kind of pistol, except the
  army or navy pistol used in warfare, which shall be carried openly in hand.




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  William King McAlister Jr., Ordinances of the City of Nashville, to Which are
  Prefixed the State Laws Chartering and Relating to the City, with an Appendix
  Page 340-341, Image 345-346 (1881) available at The Making of Modern Law:
  Primary Sources.
  Ordinances of the City of Nashville, Carrying Pistols, Bowie-Knives, Etc., § 1.
  That every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot,
  brass knucks or other deadly weapon, shall be deemed guilty of a misdemeanor,
  and, upon conviction of such first offense, shall be fined form ten to fifty dollars, at
  the discretion of the court, but upon conviction of every such subsequent offense,
  shall be fined fifty dollars; Provided, however, that no ordinary pocket knife and
  common walking-canes shall be construed to be deadly weapons.

  Claude Waller, Digest of the Ordinances of the City of Nashville, to Which are
  Prefixed the State Laws Incorporating, and Relating to, the City, with an Appendix
  Containing Various Grants and Franchises Page 364-365, Image 372-373 (1893)
  available at The Making of Modern Law: Primary Sources.
  Ordinances of the City of Nashville, § 738.
  Every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot, brass
  knucks, or other deadly weapon, shall be deemed guilty of a misdemeanor, and,
  upon conviction of such first offense, shall be fined from ten to fifty dollars, at the
  discretion of the court; but, upon conviction of every subsequent offense, shall be
  fined fifty dollars; Provided, however, That no ordinary pocket-knife and common
  walking canes shall be construed to be deadly weapons. . .

  TEXAS

  A Digest of the General Statute Laws of the State of Texas: to Which Are
  Subjoined the Repealed Laws of the Republic and State of Texas (Austin, Texas:
  Williamson S. Oldham & George W. White, comp., 1859)
  Texas, Chapter 3, Act of August 28, 1856
  Art. 493. If any person shall assault another with intent to murder, he shall be
  punished by confinement in the Penitentiary, not less than two years, nor more than
  seven years. If the assault be made with a bowie-knife, or dagger, the punishment
  shall be doubled. Page 520
  https://babel.hathitrust.org/cgi/pt?id=mdp.39015073228879&view=1up&seq=538
  &q1=bowie%20knife
  Art. 610. If any person be killed with a bowie knife or dagger, under circumstances
  which would otherwise render the homicide a case of manslaughter, the killing
  shall nevertheless be deemed murder, and punished accordingly. [emphasis in
  original] Page 534
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  https://babel.hathitrust.org/cgi/pt?id=mdp.39015073228879&view=1up&seq=552
  &q1=bowie%20knife

  1871 Tex. Laws 25, An Act to Regulate the Keeping and Bearing of Deadly
  Weapons.
  § 1. Be it enacted by the Legislature of the State of Texas, That any person
  carrying on or about his person, saddle, or in his saddle bags, any pistol, dirk,
  dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
  kind of knife manufactured or sold for the purposes of offense or defense, unless
  he had reasonable grounds for fearing an unlawful attack on his person, and that
  such ground of attack shall be immediate and pressing; or unless having or
  carrying the same on or about his person for the lawful defense of the State, as a
  militiaman in actual service, or as a peace officer or policeman, shall be guilty of a
  misdemeanor, and on conviction thereof shall, for the first offense, be punished by
  fine of not less then than twenty-five nor more than one hundred dollars, and shall
  forfeit to the county the weapon or weapons so found on or about his person; and
  for every subsequent offense may, in addition to such fine and forfeiture, be
  imprisoned in the county jail for a term not exceeding sixty days; and in every case
  of fine under this section the fined imposed and collected shall go into the treasury
  of the county in which they may have been imposed; provided, that this section
  shall not be so contrued as to prohibit any person from keeping or bearing arms on
  his or her own premises, or at his or her own place of business, nor to prohibit
  sheriffs or other revenue officers, and other civil officers, from keeping or bearing
  arms while engaged in the discharge of their official duties, nor to prohibit persons
  traveling in the State from keeping or carrying arms with their baggage; provided
  further, that members of the Legislature shall not be included under the term “civil
  officers” as used in this act.
  § 2. Any person charged under the first section of this act, who may offer to prove,
  by way of defense, that he was in danger of an attack on his person, or unlawful
  interference with his property, shall be required to show that such danger was
  immediate and pressing, and was of such a nature as to alarm a person of ordinary
  courage; and that the weapon so carried was borne openly and not concealed
  beneath the clothing; and if it shall appear that this danger had its origin in a
  difficulty first commenced by the accused, it shall not be considered as a legal
  defense.

  Tex. Act of Apr. 12, 1871, as codified in Tex. Penal Code (1879).
  Art. 163.
  If any person other than a peace officer, shall carry any gun, pistol, bowie knife, or
  other dangerous weapon, concealed or unconcealed, on any day of election , during
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  the hours the polls are open, within the distance of one-half mile of any poll or
  voting place, he shall be punished as prescribed in article 161 of the code.

  1879 Tex. Crim. Stat. tit. IX, Ch. 4 (Penal Code)
  Art. 318. If any person in this state shall carry on or about his person, saddle, or in
  his saddle-bags, any pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-
  knuckles, bowie-knife, or any other kind of knife manufactured or sold for the
  purposes of offense or defense, he shall be punished by fine of not less than
  twenty-five nor more than one hundred dollars; and, in addition thereto, shall
  forfeit to the county in which he is convicted, the weapon or weapons so carried.
  Art. 319. The preceding article shall not apply to a person in actual service as a
  militiaman, nor to a peace officer or policeman, or person summoned to his aid, not
  to a revenue or other civil officer engaged in the discharge of official duty, not to
  the carrying of arms on one’s own premises or place of business, nor to persons
  traveling, nor to one who has reasonable ground for fearing an unlawful attack
  upon his person, and the danger is so imminent and threatening as not to admit of
  the arrest of the party about to make such attack, upon legal process.
  Art. 320. If any person shall go into any church or religious assembly, any school
  room, or other place where persons are assembled for amusement or for
  educational or scientific purposes, or into any circus, show, or public exhibition of
  any kind, or into a ball-room, social party, or social gathering, or to any election
  precinct on the day or days of any election, where any portion of the people of this
  state are collected to vote at any election, or to any other place where people may
  be assembled to muster, or to perform any other public duty, or to any other public
  assembly, and shall have or carry about his person a pistol or other fire-arm, dirk,
  dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
  kind of a knife manufactured and sold for the purposes of offense and defense, he
  shall be punished by fine not less than fifty nor more than five hundred dollars, and
  shall forfeit to the county the weapon or weapons so found on his person.
  Art. 321. The preceding article shall not apply to peace officers, or other persons
  authorized or permitted by law to carry arms at the places therein designated.
  Art. 322. Any person violating any of the provisions of articles 318 and 320, may
  be arrested without warrant by any peace officer, and carried before the nearest
  justice of the peace for trial; and any peace officer who shall fail to refuse to arrest
  such person on his own knowledge, or upon information from some credible
  person, shall be punished by fine not exceeding five hundred dollars.
  Art. 323. The provisions of this chapter shall not apply to or be enforced in any
  county which the governor may designate, by proclamation, as a frontier county
  and liable to incursions by hostile Indians.


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  1897 Tex. Gen. Laws 221, An Act To Prevent The Barter, Sale And Gift Of Any
  Pistol, Dirk, Dagger, Slung Shot, Sword Cane, Spear, Or Knuckles Made Of Any
  Metal Or Hard Substance To Any Minor Without The Written Consent Of The
  Parent Or Guardian Of Such Minor. . ., chap. 155.
  That if any person in this State shall knowingly sell, give or barter, or cause to be
  sold, given or bartered to any minor, any pistol, dirk, dagger, slung shot, sword-
  cane, spear or knuckles made of any metal or hard substance, bowie knife or any
  other knife manufactured or sold for the purpose of offense or defense, without the
  written consent of the parent or guardian of such minor, or of someone standing in
  lieu thereof, he shall be punished by fine of not less then twenty-five nor more than
  two hundred dollars, or by imprisonment in the county jail not less than ten nor
  more than thirty days, or by both such fine and imprisonment and during the time
  of such imprisonment such offender may be put to work upon any public work in
  the county in which such offense is submitted.

  Theodore Harris, Charter and Ordinances of the City of San Antonio. Comprising
  All Ordinances of a General Character in Force August 7th, Page 220, Image 225
  (1899) available at The Making of Modern Law: Primary Sources.
  Brandishing | Texas | 1899
  Ordinances of the City of San Antonio, Ordinances, ch. 22, § 4.
  If any person shall, within the city limits, draw any pistol, gun, knife, sword-cane,
  club or any other instrument or weapon whereby death may be caused, in a
  threatening manner, or for the purpose of intimidating others, such person shall be
  deemed guilty of an offense.

  UTAH

  Dangerous and Concealed Weapon, Feb. 14, 1888, reprinted in The Revised
  Ordinances Of Salt Lake City, Utah 283 (1893) (Salt Lake City, Utah). § 14.
  Any person who shall carry any slingshot, or any concealed deadly weapon,
  without the permission of the mayor first had and obtained, shall, upon conviction,
  be liable to a fine not exceeding fifty dollars.

  Chapter 5: Offenses Against the Person, undated, reprinted in The Revised
  Ordinances Of Provo City, Containing All The Ordinances In Force 105, 106-7
  (1877) (Provo, Utah).
  § 182: Every person who shall wear, or carry upon his person any pistol, or other
  firearm, slungshot, false knuckles, bowie knife, dagger or any other dangerous or
  deadly weapon, is guilty of an offense, and liable to a fine in any sum not
  exceeding twenty-five dollars; Provided, that nothing in this section, shall be
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  construed to apply to any peace officer, of the United States, the Territory of Utah,
  or of this city.1

  VERMONT

  Laws of Vermont, Public Acts, No. 85.—An Act Against Carrying Concealed
  Weapons, Ch. 85, p. 95. 1892.
  Section 1. A person who shall carry a dangerous or deadly weapon, openly or
  concealed, with the intent or avowed purpose of injuring a fellow man, shall, upon
  conviction thereof, be punished by a fine not exceeding two hundred dollars, or by
  imprisonment not exceeding two years, or both, in the discretion of the court.
  Sec. 2. A person who shall carry or have in his possession while a member of and
  in attendance upon any school, any firearms, dirk knife, bowie knife, dagger or
  other dangerous or deadly weapon shall, upon conviction thereof, be fined not
  exceeding twenty dollars.
  Approved November 19, 1892.
  https://www.google.com/books/edition/Acts_and_Laws_Passed_by_the_Legislatur
  e/DXFOAQAAIAAJ?hl=en&gbpv=1&dq=Vermont+%22while+a+member+of+an
  d+in+attendance+upon+any+school,%22++%22any+firearms,+dirk+knife,+bowie
  +knife,+dagger+or+other+dangerous+or+deadly+weapon%22%C2%A0&pg=PA9
  5&printsec=frontcover

  Ordinances of the City of Barre, Vermont
  Carrying Weapons, Firing Weapons | Vermont | 1895
  CHAPTER 16, § 18.
  No person, except on his own premises, or by the consent and permission of the
  owner or occupant of the premises, and except in the performance of some duty
  required by law, shall discharge any gun, pistol, or other fire arm loaded with ball
  or shot, or with powder only, or firecrackers, serpent, or other preparation whereof
  gunpowder or other explosive substance is an ingredient, or which consists wholly
  of the same, nor shall make any bonfire in or upon any street, lane, common or
  public place within the city, except by authority of the city council.
  CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass
  knuckles, pistol, slung shot, stilletto, or weapon of similar character, nor carry any




  1
   See http://www.supremecourt.gov/DocketPDF/18/18-
  280/99640/20190514123503867_Charles%20Appendix.pdf.

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  weapon concealed on his person without permission of the mayor or chief of police
  in writing.2




  2
   See http://www.supremecourt.gov/DocketPDF/18/18-
  280/99640/20190514123503867_Charles%20Appendix.pdf.

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  VIRGINIA

  1786 Va. Laws 33, ch. 21, An Act forbidding and punishing Affrays.
  Be it enacted by the General Assembly, that no man, great nor small, of what
  condition soever he be, except the Ministers of Justice in executing the precepts of
  the Courts of Justice, or in executing of their office, and such as be in their
  company assisting them, be so hardy to come before the Justices of any Court, or
  other of their Ministers of Justice, doing their office, with force and arms, on pain,
  to forfeit their armour to the Commonwealth, and their bodies to prison, at the
  pleasure of a Court; nor go nor ride armed by night nor by day, in fair or markets,
  or in other places, in terror of the Country, upon pain of being arrested and
  committed to prison by any Justice on his own view, or proof of others, there to
  abide for so long a time as a Jury, to be sworn for that purpose by the said Justice
  shall direct, and in like manner to forfeit his armour to the commonwealth; but no
  person shall be imprisoned for such offence by a longer space of time than one
  month.

  Collection of All Such Acts of the General Assembly of Virginia, of a Public and
  Permanent Nature, as Are Now in Force; with a New and Complete Index. To
  Which are Prefixed the Declaration of Rights, and Constitution, or Form of
  Government Page 187, Image 195 (1803) available at The Making of Modern Law:
  Primary Sources.
  Race and Slavery Based | Virginia | 1792
  [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes,
  and Mulattoes (1792),] §§ 8-9.
  §8. No negro or mulatto whatsoever shall keep or carry any gun, powder, shot,
  club, or other weapon whatsoever, offensive or defensive, but all and every gun,
  weapon, and ammunition found in the possession or custody of any negro or
  mulatto, may be seized by any person, and upon due proof thereof made before any
  Justice of the Peace of the County or Corporation where such seizure shall be, shall
  by his order be forfeited to the seizor for his own use ; and moreover, every such
  offender shall have and receive by order of such Justice, any number of lashes not
  exceeding thirty-nine, on his or her bare back, well laid on, for every such offense.
  § 9. Provided, nevertheless, That every free negro or mulatto, being a house-
  keeper, may be permitted to keep one gun, powder and shot; and all negroes and
  mulattoes, bond or free, living at any frontier plantation, may be permitted to keep
  and use guns, powder, shot, and weapons offensive or defensive, by license from a
  Justice of Peace of the County wherein such plantation lies, to be obtained upon
  the application of free negroes or mulattoes, or of the owners of such as are slaves.


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  Acts of the General Assembly of Virginia, Passed at the Session of 1838, chap.
  101, at 76; 1838.
  Be it enacted by the general assembly, That if any person shall hereafter habitually
  or generally keep or carry about his person any pistol, dirk, bowie knife, or any
  other weapon of the like kind, from this use of which the death of any person might
  probabily ensue, and the same be hidden or concealed from common observation,
  and he be thereof convicted, he shall for every such offense forfeit and pay the sum
  of not less than fifty dollars nor more than five hundred dollars, or be imprisoned
  in the common jail for a term not less than one month nor more than six months,
  and in each instance at the discretion of the jury; and a moiety of the penalty
  recovered in any prosecution under this act, shall be given to any person who may
  voluntarily institute the same.

  1847 Va. Laws 127, c. 14, § 16.
  If any person shall go armed with any offensive or dangerous weapon without
  reasonable cause to fear an assault or other injury, or violence to his person, or to
  his family or property, he may be required to find sureties for keeping the peace for
  a term not exceeding twelve months, with the right of appealing as before
  provided.

  Staunton, The Charter and General Ordinances of the Town of Lexington, Virginia
  Page 87, Image 107 (1892) available at The Making of Modern Law: Primary
  Sources, 1867.
  Ordinances of The Town of Lexington, VA, Of Concealed Weapons and
  Cigarettes, § 1. If any person carrying about his person, hid from common
  observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any weapon of the
  like kind, he shall be fined not less than twenty dollars nor more than one hundred
  dollars; and any of such weapons mentioned shall be forfeited to the town. Nothing
  in this section shall apply to any officer of the town, county or state while in the
  discharge of his duty.

  The Code of Virginia: With the Declaration of Independence and the Constitution
  of the United States; and the Constitution of Virginia Page 897, Image 913 (1887)
  available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Virginia | 1887
  Offences Against the Peace, § 3780. Carrying Concealed Weapons, How Punished.
  Forfeiture and Sale of Weapons. If any person carry about his person, hid from
  common observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any
  weapon of the like kind, he shall be fined not less than twenty nor more than one
  hundred dollars, and such pistol, dirk, bowie-knife, razor, slung-shot, or any
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  weapon of the like kind, shall be forfeited to the commonwealth and may be seized
  by an officer as forfeited; and upon the conviction of the offender the same shall be
  sold and the proceeds accounted for and paid over as provided in section twenty-
  one hundred and ninety: Provided, that this section shall not apply to any police
  officer, town or city sergeant, constable, sheriff, conservator of the peace, or
  collecting officer, while in the discharge of his official duty.

  WASHINGTON

  1854 Wash. Sess. Law 80, An Act Relative to Crimes and Punishments, and
  Proceedings in Criminal Cases, ch. 2, § 30.
  Brandishing | Washington | 1854
  Every person who shall, in a rude, angry, or threatening manner, in a crowd of two
  or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
  on conviction thereof, be imprisoned in the county jail not exceeding one year, and
  be fined in any sum not exceeding five hundred dollars.

  1859 Wash. Sess. Laws 109, An Act Relative to Crimes and Punishments, and
  Proceedings in Criminal Cases, ch. 2, § 30.
  Brandishing | Washington | 1859
  Every person who shall, in a rude, angry or threatening manner, in a crowd of two
  or more persons, exhibit any pistol, bowie knife or other dangerous weapon, shall,
  on conviction thereof, be imprisoned in the county jail not exceeding one year, and
  be fined in any sum not exceeding five hundred dollars.

  1869 Wash. Sess. Laws 203-04, An Act Relative to Crimes and Punishments, and
  Proceedings in Criminal Cases, ch. 2, § 32.
  Brandishing | Washington | 1869
  Every person who shall, in a rude, angry or threatening manner, in a crowd of two
  or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
  on conviction thereof, be imprisoned in the county jail not exceeding one year and
  be fined in any sum not exceeding five hundred dollars.

  1881 Wash. Code 181, Criminal Procedure, Offenses Against Public Policy,
  ch. 73, § 929.
  Carrying Weapons | Washington | 1881
  If any person carry upon his person any concealed weapon, he shall be deemed
  guilty of a misdemeanor, and, upon conviction, shall be fined not more than one
  hundred dollars, or imprisoned in the county jail not more than thirty days[.]


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  1881 Wash. Sess. Laws 76, An Act to Confer a City Govt. on New Tacoma, ch. 6,
  § 34, pt. 15.
  Carrying Weapons | Washington | 1881
  [T]o regulate the transportation, storage and sale of gunpowder, giant powder,
  dynamite, nitro-glycerine, or other combustibles, and to provide or license
  magazines for the same, and to prevent by all possible and proper means, danger or
  risk of injury or damages by fire arising from carelessness, negligence or otherwise
  . . . to regulate and prohibit the carrying of deadly weapons in a concealed manner;
  to regulate and prohibit the use of guns, pistols and firearms, firecrackers, and
  detonation works of all descriptions[.]

  William Lair Hill, Ballinger’s Annotated Codes and Statutes of Washington,
  Showing All Statutes in Force, Including the Session Laws of 1897 Page 1956,
  Image 731 (Vol. 2, 1897) available at The Making of Modern Law: Primary
  Sources.
  Brandishing | Washington | 1881
  Flourishing Dangerous Weapon, etc. Every person who shall in a manner likely to
  cause terror to the people passing, exhibit or flourish, in the streets of an
  incorporated city or unincorporated town, any dangerous weapon, shall be deemed
  guilty of a misdemeanor, and on conviction thereof shall be punished by a fine in
  any sum not exceeding twenty-five dollars. Justices of the peace shall have
  exclusive original jurisdiction of all offenses arising under the last two preceding
  sections.

  1883 Wash. Sess. Laws 302, An Act to Incorporate the City of Snohomish, ch. 6,
  § 29, pt. 15.
  Carrying Weapons | Washington | 1883
  [The city has power] to regulate and prohibit the carrying of deadly weapons in a
  concealed manner; to regulate and prohibit the use of guns, pistols, and fire-arms,
  fire crackers, bombs and detonating works of all descriptions . . . .

  Albert R. Heilig, Ordinances of the City of Tacoma, Washington Page 333-334,
  Image 334-335 (1892) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Washington | 1892
  Ordinances of the City of Tacoma, An Ordinance Defining Disorderly Persons and
  Prescribing the Punishment for Disorderly Conduct Within the City of Tacoma. All
  persons (except police officers and other persons whose duty it is to execute
  process or warrants or make arrests) who shall carry upon his person any concealed
  weapon consisting of a revolver, pistol or other fire arms or any knife (other than
  an ordinary pocket knife) or any dirk or dagger, sling shot or metal knuckles, or
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  any instrument by the use of which injury could be inflicted upon the person or
  property of any other person.

  Rose M. Denny, The Municipal Code of the City of Spokane, Washington.
  Comprising the Ordinances of the City (Excepting Ordinances Establishing Street
  Grades) Revised to October 22, 1896 Page 309-310, Image 315-316 (1896)
  available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Washington | 1896
  Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed
  Weapons within the City of Spokane, § 1.
  If any person within the City of Spokane shall carry upon his person any concealed
  weapon, consisting of either a revolver, pistol or other fire-arms, or any knife
  (other than an ordinary pocket knife) or any dirk or dagger, sling-shot or metal
  knuckles, or any instrument by the use of which injury could be inflicted upon the
  person or property of any other person, shall be deemed guilty of a misdemeanor,
  and upon conviction thereof shall be fined not less than twenty dollars, nor more
  than one hundred dollars and costs of prosecution, and be imprisoned until such
  fine and costs are paid; provided, that this section shall not apply to police officers
  and other persons whose duty is to execute process or warrants or make arrests, or
  persons having a special written permit from the Superior Court to carry weapons

  Richard Achilles Ballinger, Ballinger’s Annotated Codes and Statutes of
  Washington: Showing All Statutes in Force, Including the Session Laws of 1897
  Page 1956-1957, Image 731-732 (Vol. 2, 1897) available at The Making of
  Modern Law: Primary Sources.
  Carrying Weapons | Washington | 1897
  Carrying Concealed Weapons, § 7084.
  If any person shall carry upon his person any concealed weapon, consisting of
  either a revolver, pistol, or other fire-arms, or any knife, (other than an ordinary
  pocket knife), or any dirk or dagger, sling-shot, or metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person, shall be deemed guilty of a misdemeanor, and upon
  conviction thereof shall be fined not less than twenty dollars nor more than one
  hundred dollars, or imprisonment in the county jail not more than thirty days, or by
  both fine and imprisonment, in the discretion of the court: Provided, That this
  section shall not apply to police officers and other persons whose duty it is to
  execute process or warrants or make arrests.




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  WEST VIRGINIA

  1870 W. Va. Code 692, Of Offenses against the Peace, ch. 148, § 7.
  If any person, habitually, carry about his person, hid from common observation,
  any pistol, dirk, bowie knife, or weapon of the like kind, he shall be fined fifty
  dollars. The informers shall have one half of such fine.

  1870 W. Va. Code 703, For Preventing the Commission of Crimes, ch. 153, § 8.
  If any person go armed with a deadly or dangerous weapon, without reasonable
  cause to fear violence to his person, family, or property, he may be required to give
  a recognizance, with the right of appeal, as before provided, and like proceedings
  shall be had on such appeal.

  1882 W. Va. Acts 421–22
  Carrying Weapons | West Virginia | 1882
  If a person carry about his person any revolver or other pistol, dirk, bowie knife,
  razor, slung shot, billy, metalic or other false knuckles, or any other dangerous or
  deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
  fined not less that twenty-five nor more than two hundred dollars, and may, at the
  discretion of the court, be confined in jail not less than one, nor more than twelve
  months; and if any person shall sell or furnish any such weapon as is hereinbefore
  mentioned to a person whom he knows, or has reason, from his appearance or
  otherwise, to believe to be under the age of twenty-one years, he shall be punished
  as hereinbefore provided; but nothing herein contained shall be so construed as to
  prevent any person from keeping or carrying about his dwelling house or premises
  any such revolver or other pistol, or from carrying the same from the place of
  purchase to his dwelling house, or from his dwelling house to any place where
  repairing is done, to have it repaired, and back again. And if upon the trial of an
  indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
  shall prove to the satisfaction of the jury that he is a quiet and peacable citizen, of
  good character and standing in the community in which he lives, and at the time he
  was found with such pistol, dirk, razor or bowie knife, as charged in the
  indictment, he had good cause to believe and did believe that he was in danger of
  death or great bodily harm at the hands of another person, and that he was, in good
  faith, carrying such weapon for self-defense and for no other purpose, the jury shall
  find him not guilty. But nothing in this section contained shall be construed as to
  prevent any officer charged with the execution of the laws of the state from
  carrying a revolver or other pistol, dirk or bowie knife.

  1891 W. Va. Code 915, Of Offences Against the Peace, ch. 148, § 7.
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  Carrying Weapons | West Virginia | 1891
  If a person carry about his person any revolver or other pistol, dirk, bowie knife,
  razor, slung shot, billy, metallic or other false knuckles, or any other dangerous or
  deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
  fined not less than twenty-five nor more than two hundred dollars, and may, at the
  discretion of the court, be confined in jail not less than one nor more than twelve
  months; and if any person shall sell or furnish any such weapon as is hereinbefore
  mentioned to a person whom he knows, or has reason, from his appearance or
  otherwise, to believe to be under the age of twenty-one years, he shall be punished
  as hereinbefore provided; but nothing herein contained shall be so construed as to
  prevent any person from keeping or carrying about his dwelling house or premises,
  any such revolver or other pistol, or from carrying the same from the place of
  purchase to his dwelling house, or from his dwelling house to any place where
  repairing is done, to have it repaired and back again. And if upon the trial of an
  indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
  shall prove to the satisfaction of the jury that he is a quiet and peaceable citizen, of
  good character and standing in the community in which he lives, and at the time he
  was found with such pistol, dirk, razor or bowie knife, as charged in the indictment
  he had good cause to believe and did believe that he was in danger of death or
  great bodily harm at the hands of another person, and that he was in good faith,
  carrying such weapon for self-defense and for no other purpose, the jury shall find
  him not guilty. But nothing in this section contained shall be so construed as to
  prevent any officer charged with the execution of the laws of the State, from
  carrying a revolver or other pistol, dirk or bowie knife.

  1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact
  Section Seven . . . Relating to Offenses Against the Peace; Providing for the
  Granting and Revoking of Licenses and Permits Respecting the Use,
  Transportation and Possession of Weapons and Fire Arms. . . , ch. 3, § 7, pt. a.
  Carrying Weapons, Possession by, Use of, and Sales to Minors and Others Deemed
  Irresponsible, Registration and Taxation | West Virginia | 1925
  § 7 (a). If any person, without a state license therefor, carry about his person any
  revolver or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other
  false knuckles, or any other dangerous or deadly weapon of like kind or character,
  he shall be guilty of a misdemeanor and upon conviction thereof be confined in the
  county jail for a period of not less than six nor more than twelve months for the
  first offense; but upon conviction of the same person for the second offense in this
  state, he shall be guilty of a felony and be confined in the penitentiary not less than
  one or more than five years, and in either case fined not less than fifty nor more
  than two hundred dollars, in the discretion of the court. . . .
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  WISCONSIN

  1858 Wis. Rev. Stat. 985, Of Proceedings to Prevent the Commission of Crime, ch.
  175, § 18.
  If any person shall go armed with a dirk, dagger, sword, pistol or pistols, or other
  offensive and dangerous weapon, without reasonable cause to fear an assault or
  other injury or violence to his person, or to his family or property, he may, on
  complaint of any other person having reasonable cause to fear an injury or breach
  of the peace, be required to find sureties for keeping the peace, for a term not
  exceeding six months, with the right of appealing as before provided.

  1872 Wis. Sess. Laws 17, ch. 7, § 1, An Act to prohibit and prevent the carrying of
  concealed weapons.
  SECTION 1. If any person shall go armed with a concealed dirk, dagger, sword,
  pistol, or pistols, revolver, slung-shot, brass knuckles, or other offensive and
  dangerous weapon, he shall, on conviction thereof, be adjudged guilty of a
  misdemeanor, and shall be punished by imprisonment in the state prison for a term
  of not more than two years, or by imprisonment in the county jail of the proper
  county not more than twelve months, or by fine not exceeding five hundred dollars,
  together with the costs of prosecution, or by both said fine and costs and either of
  said imprisonments; and he may also be required to find sureties for keeping the
  peace and against the further violation of this act for a term not exceeding two
  years: provided, that so going armed shall not be deemed a violation of this act
  whenever it shall be made to appear that such person had reasonable cause to fear
  an assault or other injury or violence to his person, or to his family or property, or
  to any person under his immediate care or custody, or entitled to his protection or
  assistance, or if it be made to appear that his possession of such weapon was for a
  temporary purpose, and with harmless intent.

  1883 Wis. Sess. Laws 713, An Act to Revise, consolidate And Amend The Charter
  Of The City Of Oshkosh, The Act Incorporating The City, And The Several Acts
  Amendatory Thereof, chap. 6, § 3, pt. 56.
  To regulate or prohibit the carrying or wearing by any person under his clothes or
  concealed about his person any pistol or colt, or slung shot, or cross knuckles or
  knuckles of lead, brass or other metal or bowie knife, dirk knife, or dirk or dagger,
  or any other dangerous or deadly weapon and to provide for the confiscation or
  sale of such weapon.



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  Charter and Ordinances of the City of Superior; Also Harbor Act, Municipal Court
  Act, Rules of the Common Council and Board of Education Page 390, Image 481
  (1896) available at The Making of Modern Law: Primary Sources. 1896
  Ordinances of the City of Superior, Carrying Concealed Weapons, § 18. It shall be
  unlawful for any person, other than a policeman or other officer authorized to
  maintain the peace or to serve process, to carry or wear any pistol, sling-shot,
  knuckles, bowie knife, dirk, dagger or any other dangerous weapon within the
  limits of the City of Superior, and any person convicted of a violation of this
  section shall be punished by a fine of not less than ten (10) dollars nor more than
  one hundred (100) dollars.

  WYOMING

  1884 Wyo. Sess. Laws, chap. 67, § 1, as codified in Wyo. Rev. Stat., Crimes
  (1887): Exhibiting deadly weapon in angry manner. § 983.
  Whoever shall, in the presence of one or more persons, exhibit any kind of fire-
  arms, Bowie Knife, dirk, dagger, slung-shot or other deadly weapon, in a rude,
  angry or threatening manner not necessary to the defense of his person, family or
  property, shall be deemed guilty of misdemeanor, and on conviction thereof, shall
  be punished by a fine not less than ten dollars, nor more than one hundred dollars,
  or by imprisonment in the county jail not exceeding six months . . . .

  Wyo. Comp. Laws (1876) chap. 35 § 127, as codified in Wyo. Rev. Stat., Crimes
  (1887) Having possession of offensive weapons. § 1027.
  If any person or persons have upon him any pistol, gun, knife, dirk, bludgeon or
  other offensive weapon, with intent to assault any person, every such person, on
  conviction, shall be fined in any sum not exceeding five hundred dollars, or
  imprisoned in the county jail not exceeding six months.

  A. McMicken, City Attorney, The Revised Ordinances of the City of Rawlins,
  Carbon County, Wyoming Page 131-132; Image 132-133 (1893) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Wyoming | 1893
  Revised Ordinances of the City of Rawlins, Article VII, Carrying Firearms and
  Lethal Weapons, § 1.
  It shall be unlawful for any person in said city to keep or bear upon the person any
  pistol, revolver, knife, slungshot, bludgeon or other lethal weapon, except the
  officers of the United States, of the State of Wyoming, of Carbon County and of
  the City of Rawlins. § 2. Any person convicted of a violation of the preceding
  section shall be fined not exceeding one hundred dollars, or imprisoned in the city
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  jail not exceeding thirty days. § 3. Persons not residing in said city shall be notified
  of this Ordinance by the police or any citizen, and after thirty minutes from the
  time of notification, shall be held liable to the penalties of this article, in case of its
  violation. § 4. The city marshal and policemen of the city shall arrest, without
  warrant, all persons found violating the provisions of this article, and are hereby
  authorized to take any such weapon from the person of the offender and to
  imprison the offender for trial, as in case of violations of other Ordinances of said
  city.

  SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/




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                 PLAINTIFFS' EXHIBIT AA
                                                                     KR1344
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       State of California
   9
                         IN THE UNITED STATES DISTRICT COURT
  10
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  11
  12
  13
  14   KNIFE RIGHTS, INC., ELIOT                    3:23-cv-00474-JES-DDL
       KAAGAN, JIM MILLER,
  15   GARRISON HAM, NORTH
       COUNTY SHOOTING CENTER,
  16   INC., and PWGG L.P.,                        EXPERT REPORT AND
                                                   DECLARATION OF ROBERT
  17                                   Plaintiffs, ESCOBAR
  18                v.                              Dept:         4B
                                                    Judge:        The Honorable James E.
  19                                                              Simmons, Jr.
       CALIFORNIA ATTORNEY
  20   GENERAL ROB BONTA,
  21                                  Defendant.
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                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1        EXPERT REPORT AND DECLARATION OF ROBERT ESCOBAR
   2        I, Robert Escobar, declare under penalty of perjury that the following is true
   3   and correct:
   4        The California Department of Justice has asked me to provide an expert
   5   opinion in the above-captioned matter. My declaration and report below provides
   6   that opinion in detail. This report and declaration is based on my own personal
   7   knowledge and experience, and if I am called to testify as a witness, I could and
   8   would testify competently to the truth of the matters discussed in this report and
   9   declaration.
  10                          BACKGROUND AND QUALIFICATIONS
  11         1.       I received a Bachelor’s degree in history from the University of Dallas
  12   in 1995. This institution requires a thesis and defense for completion of an
  13   undergraduate degree. My thesis was on the Boxer Rebellion in China (1899-1901),
  14   an event that has a strong connection to the martial arts history of Asia. Since
  15   graduating college, my primary occupation has been in business as a project
  16   manager and analyst, but I have maintained a deep interest in martial arts and the
  17   history of weapons.
  18         2.       In martial arts, I have attained a 2nd degree black belt in Goju-Ryu
  19   karate and a 1st degree black belt Kobudo (Okinawan-Japanese weapons). I am a
  20   black belt member of Budo-Kai International, a martial arts organization which
  21   conducts regular seminars, and several of the head instructors leading these
  22   seminars have experience in law enforcement or the military or in providing
  23   training to one or both. Additionally, I have trained in various martial arts for over
  24   25 years. Besides the martial arts mentioned above, I have been trained in Krav
  25   Maga (Israeli military martial art); Brazilian Ju-Jitsu; hybrid wrestling (mixed
  26   martial arts); boxing; and HEMA (Historical European Martial Arts).
  27         3.       I am a certified Six Sigma© Black Belt, a project management
  28   certification, and am currently employed as a Project Manager at FORVIS, a
                                                   1
                          Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   national public accounting firm. In addition to my primary occupation, I am
   2   engaged on a variety of writing and research projects, including researching
   3   historical weapons.
   4         4.      I am the author of Saps, Blackjacks and Slungshots: A History of
   5   Forgotten Weapons (Gatekeeper Press 2018). This work identified and addressed a
   6   large gap in the history of impact weaponry and martial arts and was used as a
   7   source by the California Attorney General’s Office in Fouts, et al. v. Becerra, in
   8   addition to my testimony in that case. I am also the author of Deadly Ingenuity: A
   9   History of Unusual Weapons from around the World and across time (Gatekeeper
  10   Press 2023). This work sheds light on some historical weapons and fighting
  11   techniques that have not been surveyed before. The book offers a wide-ranging
  12   discussion, covering weaponry and martial arts history from different centuries and
  13   continents.
  14         5.      My research on historical weapons has been praised by a range of
  15   scholars and authorities on weapons and self-defense, including Massad Ayoob, a
  16   noted firearms and self-defense instructor; Thomas Jodziewicz, Ph.D., Professor
  17   Emeritus, former Chair of the Department of History (University of Dallas) and
  18   president of the Texas Catholic History Society; Ashley Sharpe, Ph.D.,
  19   Anthropologist- Smithsonian Tropical Research Institute; and Sir Christopher
  20   Ricks, FBA (Fellowship of the British Academy, a distinction granted by the
  21   United Kingdom to leading academics), former professor at Oxford University,
  22   currently the William M. and Sara B. Warren Professor of the Humanities at Boston
  23   University.
  24         6.      I have completed an extensive level of research on the following
  25   weapons: (1) “saps” (“soft,” and hard stunning bludgeons, see below); (2)
  26   “blackjacks” (very small, dense clubs that flex during use, see below; (3)
  27   “slungshots” (essentially pocket flails, quite popular for the majority of American
  28   history), which are still made and sold today, usually called monkey fists; (4)
                                                  2
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   “nunchaku” (commonly known as nunchucks); and (5) “billies” (short clubs of
   2   various sorts); and (6) small edged weapons (both professionally made and
   3   improvised such as ice picks and prison shanks/shivs) I have also conducted
   4   extensive research into the straight razor, another weaponry niche which I will
   5   address in an upcoming book. Through this research and my years of research
   6   regarding historical weapons in general and street weapons in particular, I have
   7   gained expertise in the origins and uses of a similar close combat weapon, the
   8   switchblade. My research has included studying a range of source material—from
   9   court cases to medical evidence and hands on experiments—in order to apprise the
  10   effectiveness of these weapons in the hands of both the law and lawless, the trained
  11   and untrained.
  12         7.     In my research over the years, I have read and collected a wide variety
  13   of sources and antique specimens on the subject of the street weapons of the
  14   western world. By necessity this has included a plentitude of police and criminal
  15   history from court records and newspaper articles in the U.S. and U.K., memoirs by
  16   law enforcers and breakers, as well as current and past training manuals made by
  17   law enforcement and martial artists. Additionally, I have interviewed people with
  18   practical experience with these tools.
  19         8.     Moreover, my ongoing martial artist training, including earning a
  20   black belt in certain weapons (including kobudo), supplements my scholarly
  21   research with some level of physical experience.
  22         9.     My conclusions are based on as clinical and fair an assessment of
  23   objective facts as I could produce. I was trained in historical methodology, although
  24   not at a graduate school level. My statements and conclusions in this document are
  25   not based on my personal opinion regarding whether or not weapons should be
  26   legally allowed for civilians.
  27         10.    I have provided expert witness testimony in Fouts, et al. v. Becerra,
  28   No. 3:19-cv-1662 (S.D. Cal.).
                                                  3
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1         11.     A true and correct copy of my current curriculum vitae is attached as
   2   Exhibit A to this declaration.
   3                         RETENTION AND COMPENSATION
   4         12.     I have been retained by the California Department of Justice to render
   5   expert opinions in this case. I am being compensated at a rate of $150 per hour. My
   6   compensation is not contingent on the results of my expert analysis or the substance
   7   of my opinions or any testimony in this matter.
   8               BASIS FOR OPINION AND MATERIALS CONSIDERED
   9         13.     Counsel for Defendant provided me with the operative Complaint in
  10   this matter, copies of the relevant statutes being challenged, and other case-related
  11   documents pertinent to this matter. Other than these documents, my report is based
  12   on my own independent research.
  13                                        OPINIONS
  14   I.   THE APPEAL OF THE SWITCHBLADE TO CRIMINALS
  15         14.     My research of the history of bladed weapons for this report shows a
  16   clear preference by criminals for edged-weapons that are culturally understood to
  17   be inherently frightening, including switchblades and their historical precursors.
  18         A.      Early Spanish-Version of the Modern Switchblade: The Navaja
  19         15.     While a common word in Spanish today for knife, in historical
  20   weaponry, the term “Navaja” specifically refers to the signature Spanish fighting
  21   knife of antiquity. These large folding knives were the Spanish version of the
  22   Italian stiletto in a cultural context. They were strongly linked to criminal users,
  23   specifically the infamous Barateros in the 18th and 19th centuries. These were
  24   gangsters who controlled neighborhoods and extorted or robbed citizens in various
  25   ways, most famously with an extortion racket in gambling dens.1 Rather than
  26   opening noiselessly or with a slight click as is the norm with any unfolding knife
  27
             1
                 Henry George O’Shea, O’Shea’s Guide to Spain and Portugal (1889).
  28
                                                  4
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   that locks into place once fully deployed, Navajas had a ratchet mechanism that
   2   purposefully clicked loudly and progressively as the blade was being unfolded. 2
   3   This loud, multi-click sound advertised the weapon’s preparation for use in the
   4   same intimidating way that a shotgun being cocked does. To quote Blade
   5   Magazine, “In fact, it became the knife of choice among muggers who would rob
   6   people in alleyways and other dark urban areas. Victims knew they were about to
   7   be robbed when they heard the unmistakable popping sound the Navaja made when
   8   a mugger opened it.”3
   9         B.     Australian Gang Usage of the Straight Razor
  10         16.    Criminal gangs in Australia (to name just one country) embraced the
  11   straight razor, even though it is a poor choice as a weapon despite its namesake.
  12   Note the name “straight razor” actually refers to the obsolete folding shaving aid
  13   that was ubiquitous before the advent of the safety razor. Straight razors (also
  14   known as cut-throat razors) are delicate compared to knives both in blade and
  15   overall body; they were not designed or built to withstand stress.
  16         17.    Self-defense instructor Ray Floro, creator of Floro Fighting Systems, is
  17   an edged weapon expert and instructor who “has instructed the US Special Forces,
  18   Korean Special Forces, various SWAT teams, New Zealand Police…” 4 In a video
  19   dedicated to switchblades, he describes their blades “as brittle as glass.” Similarly,
  20   in conducting research for this report, I dropped a straight razor onto a hardwood
  21   floor from roughly elbow height. The handle broke, making the entire knife
  22   inoperable. Another weakness is that a straight razor is a folding blade with no
  23   locking mechanism of any kind. The risk of self-injury is thus extremely high
  24   compared to any other edged weapon. And yet, many gangs used this instrument as
  25         2
                For an audible demonstration of the knife being unfolded, see the YouTube
       Video “Spanish Navaja .. (Navaja Arabe 101t..JJ Martinez)”,
  26   https://youtu.be/UMLjtPvx2QI?si=ggtNj2BAO3tUdyLL.
              3
                Mike Ableson, The Navaja: A Spanish Gem, Blade (Nov. 16, 2022),
  27   https://blademag.com/buyers-guides/the-navaja-a-spanish-gem.
              4
                Raymond Floro, About Page, Raymond Floro (Dec. 18, 2023),
  28   https://rayfloro.net/about/.
                                                  5
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   a proud symbol of their gang and the violence they were capable of. Returning to
   2   Australia, the razor gangs from that country’s past (1920s and 1930s) are legendary.
   3   Entire books have focused on them, such as Daughter of the Razor: An Australian
   4   True Crime Story (2016), Razor: Tilly Devine, Kate Leigh and the Razor Gangs
   5   (2001), The Law of the Razor (2008).
   6          18.   It is well-documented that the razor was the proud symbol of these
   7   gangs and that it was used to leverage the fear the public felt towards it. A common
   8   tactic was to slice the face of a living victim with one and leave them to be a
   9   walking advertisement of the gang’s menacing presence.5 Mr. Floro and martial arts
  10   instructor Bradley Steiner, the author of the only book on the razor as a weapon
  11   (Close Shaves, 1980), both attest to the tremendous intimidation factor the sight of
  12   a straight razor produces when brandished. 6
  13          19.   In these two historical precedents (the Navaja and straight razor),
  14   violent criminals can be seen embracing knives that are readily concealable and
  15   seen by others as particularly frightening. Switchblades fall comfortably into this
  16   category of weapons that are particularly well-suited for criminal purposes.
  17   II.   DANGERS IN USING AN AUTOMATIC KNIFE FOR SELF-DEFENSE
  18          20.   An automatic knife is by its nature the most complicated type of knife
  19   on the market. Comparing it to a fixed blade knife (the simplest) is in my opinion
  20   like comparing an AR-15 to a revolver, a revolver generally being considered the
  21   apex of reliability and simplicity in firearms. To better understand the dangers and
  22   impracticality of using an automatic knife for self-defense, it is helpful to first
  23   understand the three major knife categories. All knives can be classified into three
  24   categories: (1) fixed blade, (2) folding, and (3) out to the front (“OTF”).
  25
  26
              5
                “The 1920s: the Razor Wars”, Sidney Crime Museum (Dec. 18, 2023),
  27   https://www.sydneycrimemuseum.com/crime-stories/1920s-the-razor-wars/.
              6
                Bradley J. Steiner, Close Shaves: The Complete Book of Razor Fighting
  28   (1989), https://azinelibrary.org/approved/32973698-Close-Shaves-Steiner.pdf.
                                                   6
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1         21.    A fixed blade knife is, for all intents and purposes, one solid object
   2   featuring no moving parts. As such, it requires no preparatory actions to be taken
   3   once in-hand in order be ready for combat. Both folding and OTF knives contain
   4   their blades inside of the handle. Consequently, both require preparatory actions
   5   once in hand to release the blade before it can be used for defense. Automatic
   6   versions of those two types require multiple mechanical parts to enable this, as
   7   detailed below under Mechanical Failure. Their complex nature may be why Men’s
   8   Gear magazine selected 15 knives as the best options for self-defense in 2023
   9   without even one being an automatic knife. 7
  10         22.    Similarly, the Contemporary Fighting Arts website explicitly warns
  11   readers against using automatic knives for self-defense: “Avoid using spring blades
  12   (i.e. switchblades, stilettos or other novelty knives) when engaged in knife combat.
  13   Spring blades are inherently dangerous when knife fighting for some of the
  14   following reasons: The internal spring can malfunction in a time of need. The
  15   structural integrity of the knife is usually poor and will not hold up in knife combat.
  16   The hand grips are usually too thin and often slippery for real world combat
  17   situations. They look menacing and have a criminal stigma attached to them.” 8
  18         A.     Mechanical Failure: Failing to Open or Lock
  19         23.    Any automatic mechanism that handles the unfolding or OTF opening
  20   requires small moving parts to work in unison. A switch (often a button) and safety
  21   (if present and set to the lock position) and blade locking mechanism (a different
  22   part from the safety lock, which is what ensures the knife will not fold back in on
  23   the owner during use) must each work successfully for the knife to be usable in
  24   combat. As with any machine or tool, mechanical failure is possible. Moving parts
  25   designed to work in unison can fail for a variety of reasons including wear,
  26         7
                “15 Best Self-Defense Knives: Keep Yourself Safe With These Top Picks”,
       MensGear.net,   https://mensgear.net/self-defense-knives/.
  27          8
                “Knife Fighting”, ContemporaryFightingArts.com,
       https://contemporaryfightingarts.com/knife-fighting/.
  28
                                                  7
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   misalignment, rust, breakage or shoddy construction. 9 A switchblade is no
   2   exception and involves a higher chance of mechanical failure than other weapons
   3   that are more commonly used for self-defense.
   4         B.     User Error
   5         24.    The difficulties presented by using a switchblade properly also make
   6   switchblades a suboptimal self-defense weapon for the average person. Deployment
   7   of a switchblade in a self-defense emergency would require reaching into a pocket,
   8   removing the unseen item in the correct orientation (so the button is where the
   9   appropriate digit can engage it), gripping it an unnatural way (detailed below),
  10   pressing the button/flipping the switch and then changing grips into a natural,
  11   effective one for combative purposes. And all of that is assuming the safety is
  12   already off, which presents another hurdle to proper deployment.
  13         25.    Any unfolding switchblade requires the user to hold the knife handle in
  14   a precarious and unnatural manner in order to let the blade unfold. The back of the
  15   handle would rest in the palm. Meanwhile, the fingers and thumb would pinch the
  16   sides of the handle. The cutting edge in this way is on the side opposite the palm
  17   and does not come into contact with any part of the person’s hand. In short, the
  18         9
                A YouTube search for, “Switchblade fail” brings up a variety of videos on
       common switchblade operational issues and how to fix them. A sampling of these is
  19   provided: “Switchblade Knife: Broken Spring Repair in Pictures”, YouTube (Dec.
       18, 2023), https://youtu.be/IGkhQsiYQvI?si=-CB1RemUFZhtPKVd; “How to fix
  20   your automatic knife - Switchblade with button hard to press”, YouTube (Dec. 18,
       2023), https://youtu.be/SLSrgXvrsFQ?si=Na20xUX3W525k99-; “How to fix your
  21   automatic knife - Switchblade with slow or partial opening”, YouTube (Dec. 18,
       2023), https://youtu.be/5EeBbfAa0PM?si=v9uw_51A8Ok3kdtl; “How to fix on
  22   OTF automatic knife misfire”, YouTube (Dec. 18, 2023),
       https://youtube.com/shorts/EaKTvPdVvn0?si=PPfNbDygtVaaA3Xd; “Most
  23   Common Problem With OTF Automatic Knives...Simple Fix :)”, YouTube (Dec.
       18, 2023), https://youtu.be/5EeBbfAa0PM?si=R02RmAzQ1gkOFETe;
  24   “SWITCHBLADE OTF KNIFE MECHANISM MALFUNCTION PART 1”,
       YouTube (Dec. 18, 2023),
  25   https://youtu.be/mYXJJ4fnAWo?si=EOeIDln9Kj3IiWWY;
       “Switchblade Test Fail on Deployment l”, YouTube (Dec. 18, 2023),
  26   https://youtube.com/shorts/uxcUK6LP5vw?si=sxvucSnW3U5LVwn4; “What to Do
       When Your OTF Knife Comes Off Track”, YouTube (Dec. 18, 2023),
  27   https://youtu.be/Mzn5F8INPR4?si=aiMcJrZR89Cv7Rnw”.
  28
                                                 8
                        Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   object is not fully grasped. Not even one of the five fingers encircles the object, so
   2   that one entire side (lengthwise) is exposed.
   3         26.    Therefore, any unfolding, automatic knife must be held only partially
   4   so the opening action can take place, otherwise the back of the unfurling blade will
   5   be blocked by the user’s fingers. The natural, intuitive way to hold a knife handle or
   6   anything of similar size and shape is with the fingers and thumb fully encircling the
   7   handle/object. In fact, knife fighting martial arts call this the “natural grip” (see
   8   grips overview below in this sub-section). This means automatic knives cannot be
   9   used for self-defense until a significant grip adjustment is made, a transition from A
  10   to B and back to A with A being the natural grip and B being the open ready
  11   position.
  12         27.    This is a multi-step fine motor skill operation that requires repeated
  13   practice and training in a realistic, adrenalized simulation if it is to be relied upon in
  14   a self-defense scenario.
  15         28.    If a user operates the opening switch while holding the handle in the
  16   most natural position, various undesired outcomes will result. For a single-edged
  17   blade, the back of the blade would open into the user’s fingers and be unable to
  18   unfold for use. A double-edged blade would propel a cutting edge into the user’s
  19   own hand (inside of the fingers). In either of those two scenarios, there is the
  20   additional problem that the interrupted opening of the blade means the entire
  21   process must be reset. The operation must be restarted by reinserting the blade
  22   inside the handle, effectively reloading the spring. Once that is done, the button
  23   must be pressed again.
  24         C.     Additional Dangers Presented by Switchblades
  25         29.    There are three additional dangers presented by both kinds of
  26   automatic knives.
  27         30.    The first danger is failure to lock. A manually operated knife is locked
  28   into place when opened by the user. The person thereby has tactile confirmation
                                                   9
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   that the blade has been securely locked and the knife is now safe to use. Anyone
   2   who opens a folding knife one or two handed will easily feel the locking action.
   3   This is because their hand is in direct contact with the blade itself as it is locked into
   4   place. That is not the case with an automatic knife. No part of either hand is
   5   touching the blade, so the user must trust that the blade locking action completed
   6   normally. Locking may fail to take place for the same reasons any machine action
   7   can fail (see mechanical failure causes above). In the midst of a sudden self-defense
   8   situation, the user is unlikely to realize that this failure occurred due to the touchless
   9   operation just described. They would therefore be unaware that they are wielding a
  10   blade that can close back down on their fingers with its cutting edge. And it will do
  11   so if pressure is brought to bear on the back of the blade or even point depending on
  12   the exact angle with the latter. Either way, this can easily occur in the unpredictable
  13   tussle of battle where any number of body parts or foreign objects (wall, door, side
  14   of a car, etc.) can provide the needed resistance to the blade to encourage it to close.
  15   This realistic danger is precisely why folding combat knives have locks in the first
  16   place.
  17            31.   The second danger is from failure to disengage the safety lock. The
  18   safety that many automatic knives feature is perfectly analogous to a firearm’s
  19   safety. This sensible precaution ensures the knife is not accidentally triggered. And
  20   if engaged, then it must be flipped before the knife can be used in self-defense. This
  21   adds an additional step involving a small button or switch and fine motor skills to
  22   those already listed earlier to the muscle-memory/training requirements for the user.
  23   The overall dynamic is similar to firearms: there is a safety that should be engaged
  24   when walking around. Thus, it must be disengaged and then the “trigger” must be
  25   operated for defense use. Without a substantial amount of training, it is highly
  26   unlikely that an individual would be able to quickly and safely disengage a
  27   switchblade’s safety lock—and then safely deploy the switchblade, as described
  28   above—in a self-defense situation.
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                          Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1         32.    Finally, switchblades present the substantial danger of accidentally
   2   opening. If a user fails to use the safety lock when stowing the automatic knife,
   3   accidental pressure on the button could trigger the switchblade to open. The owner
   4   may be unaware of this as the knife rests in a pocket, handbag, or other location.
   5   Should the need arise to quickly extract the knife from clothing or a bag, the user
   6   will be surprised to find the knife in the opposite position they expected. They
   7   could also cut themselves on the exposed blade.
   8         33.    The many pitfalls to automatic knives detailed in this section may be
   9   why the famous knives of the U.S. military and militaries around the world are all
  10   fixed blade. The fact that militaries the world over clearly prefer fixed blade knives
  11   to switchblades underscores the fact that switchblades are not well-suited for self-
  12   defense.
  13
       III. IN COMPARISON TO OTHER TYPES OF WEAPONS, SWITCHBLADES ARE
  14   PARTICULARLY ILL-SUITED FOR SELF-DEFENSE
  15         34.    For several reasons, switchblades are particularly ill-suited to be used
  16   as weapons for self-defense. First, unlike weapons such as handguns, pepper spray,
  17   or tasers that can end or impede a threat from a distance, switchblades are strictly
  18   close-quarters weapons that require hand-to-hand combat skills in order to use
  19   safely and effectively against a threat.
  20         35.    Second, multiple knife and self-defense writers have observed that
  21   using a knife combatively is an action that lies beyond a mental threshold many are
  22   incapable of crossing. For example, Gershon Ben Keren is a 5th Degree Black Belt
  23   in Krav Maga, the martial art used by the Israeli military. He works in the security
  24   industry and holds Master Degrees in Criminology and Criminal Psychology, as
  25   well as Psychology. He states that, when compared to chemical sprays and batons,
  26   “Knives are used differently, they are not used just to cause pain but to cut and
  27   destroy tissue, and cause blood loss regardless of the part of the body which is
  28   targeted—they are also generally used at close range, rather than at distance. This
                                                  11
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   makes it hard to argue that they are by nature a defensive tool, in the same way that
   2   a spray, stick or flashlight could be represented as. This is not to say that a knife
   3   couldn’t be used in a defensive capacity or manner just that inherently it would be
   4   difficult to argue that it is anything but an offensive weapon.” 10
   5          36.    Former police officer and current martial arts instructor Mike Pesesko
   6   warns watchers of his video on self-defense in the case of a home invader that he
   7   does not believe the average person will be psychologically capable of using a knife
   8   on an intruder. 11
   9          37.    Marc ‘Animal’ MacYoung is a former streetfighter, bodyguard,
  10   bouncer, correctional institute Director and security guard. He mentions the
  11   significant mental barrier there is to using a knife effectively on an attacker in
  12   conjunction with the concept of, “resistance to kill,” which in short is that most
  13   people feel said resistance and that this resistance increases the closer you get to the
  14   opponent.12
  15          38.    Combatives instructor Hock Hochheim is, “a former military police
  16   patrolman and investigator, a former Texas patrol officer and detective, and former
  17   private investigator.” Although there are many instructors who teach the use of the
  18   knife, including Mr. Hochheim, he corroborates that there is a considerable anti-
  19   knife movement/belief in martial arts and self-defense communities. Regarding the
  20   anti-knife stance, he states, “I get the message from several Krav Maga, self-
  21   defense and combatives schools around the world…”13
  22          10
                 Gershon Ben Keren, “Defensive Knife Carry”, BostonKravMaga.com
       (Dec. 18, 2023), https://www.bostonkravmaga.com/blog/krav-maga/krav-maga-
  23   weapons/defensive-knife-carry.html.
              11
                 “Choosing the Best Home Defense Weapon (Besides Guns), YouTube
  24   (Dec. 18,  2023), https://youtu.be/y-PnGz65W-I?si=_CjO1Lb-uzzSF6dV.
              12
                 Marc “Animal” MacYoung & Dianna Gordon MacYoung, “The Cost of
  25   Using a Knife”, No Nonsense Self-Defense (Dec. 18, 2023)
       http://www.nononsenseselfdefense.com/costknife.htm.
  26          13
                 “Should You Even Dare Use A Knife To Defend Yourself?” Force
       Necessary: Hock’s Hand, Stick, Knife and Gun Combatives (Dec. 18, 2023),
  27   https://www.forcenecessary.com/should-you-even-dare-use-a-knife-to-defend-
       yourself/.
  28
                                                     12
                            Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1         39.    As observed by Master Sergeant Ron Engelnam, combat veteran and
   2   head coach for Krav Maga Israel, “Very often the people who carried knives ended
   3   up getting stabbed with their own knives… This makes sense to me… If you pull
   4   out a knife and are not prepared to kill the person in front of you with it, chances
   5   are it's going to be used against you.” 14
   6                                      CONCLUSIONS
   7         40.    Knives—including switchblades—are offensive and deadly weapons
   8   by the nature of their design. Without proper training they can be turned against
   9   their own user. They have also been dropped in the ultra-intense, adrenalized
  10   situation of a self-defense encounter. And the overall danger of self-harm is higher
  11   than commonly understood. Additionally, multiple experts feel people will fail to
  12   use one when it matters most because it is a vicious, up-close implement.
  13         41.    Automatic knives, including switchblades, present a multitude of
  14   pitfalls in addition to those shared by all knives. They utilize a combination of
  15   small, moving parts. These parts have to work in unison as designed for the knife to
  16   be usable for self-defense. Like any contraption with moving parts, they are
  17   susceptible to mechanical failure for a variety of reasons. A fixed blade knife does
  18   not possess this weakness.
  19         42.    The chance for user error, present with all knives as seen in multiple
  20   news stories, is increased greatly with automatic knives. This is because a
  21   combination of fine motor skill movements and hand position changes including
  22   one so counterintuitive that it cannot be found in any taught knife hold must be
  23   used in rapid succession to successfully draw out and open an automatic knife in an
  24   emergency. A panicked response or overly enthusiastic grip can cause a user to
  25   accidentally trigger the opening mechanism before desired. For both types of
  26
  27
             14
                “Why Carrying a Knife for Self Defense in Stupid”, YouTube,
  28   https://youtu.be/R-uwsfgUDOc?si=iC9kWdjBxE_5bNUM.
                                                    13
                         Expert Report and Declaration of Robert Escobar (3:23-cv-00474-JES-DDL)
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   1   automatic knives, OTF and unfolding, this can make the knife unusable until further
   2   action is taken—action that an attacker is unlikely to afford the knife owner.
   3         43.    In sum, switchblades are widely regarded as poor weapons of choice
   4   for self-defense.
   5
   6   I declare under penalty of perjury under the laws of the United States of America
   7   that the foregoing is true and correct.
   8        Executed on December 20            Dallas
                                 __, 2023, at _____________, TX
                                                             ____.
   9
  10                                                    Robert Escobar
                                                    _______________________________
  11                                                                            Robert Escobar
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                  EXHIBIT A

                                                                     KR1360
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                                       1085
                                          ROBERT ESCOBAR
317 Stoneledge                                                                              robert_escobar@sbcglobal.net
Irving, TX 75063                                                                                           469.371.3224

                                                    SUMMARY

A Six Sigma Black Belt, Robert has extensive experience at leading projects as well as launching and managing
company level initiatives within finance, accounting and real estate organizations. More than once in his career,
Robert has led a project his employer considered the largest in its history. Strengths include strategic analysis,
process improvement, facilitation, communication and risk management.

                                        PROFESSIONAL EXPERIENCE



BKD-FORVIS, Dallas, TX                                                               2015 – PRESENT

Project Manager
  1     First Project Manager in the company’s new project management office.
  2     Led the adoption, implementation, training and support of Smartsheet©. These duties included acting as the
        internal consultant and one-man support team for the entire company in addition to leading various
        projects.
  3     Led what was described as the largest project the company had ever undertaken, a 4 year initiative to create
        a SharePoint-based intranet, file retention and sharing system with automated record retention. This was
        while supporting Smartsheet as mentioned above.
  3     Implemented the Human Resource department’s implementation of a new onboarding and offboarding
        software.
  4     Led multiple merger projects when BKD and DHG merged into FORVIS, creating a top ten national public
        accounting firm.


CELERITY, McLean, VA                                                                 2010 – 2015

Consultant
  1 Project Manager at Fannie Mae’s national REO (Real Estate Owned) center. Worked on a transformational
       project that client was taking on to deal with the unprecedented downturn in the housing market.
  2 Supported various lines of business during a highly challenging time and in a variety of capacities.


JP MORGAN CHASE, Irving, TX                                                          2007 – 2010

Manager- Risk Audit Management & Quality (August 2007 – January 2009)
  1 Critical leader in the launch of an organization wide risk management and process improvement program.
      This included personally interviewing and auditing 13 operational teams, designing and overseeing the
      testing of 221 individual processes and working with management to identify and address critical risks.
  2 Recommended and created the company’s 1st ever centralized repository of policies & procedures. This
      assisted in passing critical bank audits as well as improving efficiency through the use of automated
      updates and workflows.
  3 Selected to serve on all offshore outsourcing initiative project teams. In this capacity, identified and
      addressed a critical gap wherein these projects were not being properly vetted for compliance with legal
      and regulatory requirements, including the Gramm-Leach-Bliley and Bank Secrecy Acts.


TOWN NORTH BANK, Dallas, TX                                                         2006 – 2007

Bank Officer- Business Systems Analyst (April 2006 – August 2007)
                                                                                                      KR1361
    Case 3:23-cv-00474-JES-DDL Document 34-5 Filed 03/06/24 PageID.2254 Page 319 of
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     1   Successfully led vendor selection, contract negotiation and implementation of a new payment processing
         partnership, realizing $20,000/month in savings and negotiating the out of court settlement of a potentially
         expensive corporate dispute.
     2   Selected to act as "Internal Consultant" for the Mortgage Warehouse line of business, whose continued
         growth was highlighted as a Critical Success Factor for the bank. This included observing and interviewing
         employees and management, documenting processes, identifying operational risk and identifying efficiency
         solutions. Was then asked to participate in the development of the department’s 5 Year Strategic Plan and
         lead exercises designed to improve the strategic planning capabilities of team management.
     3   Audited all company departments on the security and efficiency of their paper based systems, creating a
         detailed deployment plan on how and where to best implement imaging. This included creating a
         standardized imaging audit procedure and tool set.
     4   Chosen as Project Manager for the deployment of SharePoint 2007 throughout the organization.
         SharePoint was a new tool for the company subsequently utilized for managing and documenting audits,
         projects, policies and procedures.

WASHINGTON MUTUAL BANK, Irving, TX                                                   2004 – 2006

Project Manager- Risk Implementation Specialist (Aug 2004 – April 2006)
   1 Completed a ‘Top Ten’ Commercial Group project (e.g. Lockbox Conversion) which touched the entire
        customer base. In addition, led 3 of the Commercial Group's top 20 projects and 2 of the top 16 in 2005.
   2 Designed a Risk Rating tool and methodology used to categorize and prioritize all identified process
        breakages and risks. Also, created the communication vehicle for the program that captured these.
   3 One of the primary drivers of the company’s first structured project prioritization effort. This involved
        creating and launching a local project governance board and acting as Council Chair.
   4 Led initiative to review all MFL title policies. This put the company concurrent with policy review work
        for the first time since process inception. Also, identified a solution that eliminated the need to review
        most Title Policies going forward, thus greatly reducing cycle time and workload. Implementation
        involved successfully negotiating with the Chief Legal Officers from the nation’s largest title companies.

TRANSAMERICA REAL ESTATE TAX SERVICE, Dallas, TX                                             1998 – 2004

Manager- Property Strategy (July 2003 – July 2004)
  1 Set the company strategy for the purchase of tax assessor data nationwide (average yearly expenditure of
      $1.9 million), reducing costs by $120,000 in 2004.
  2 Responsible for maintaining the quality of the company’s largest database while reducing manpower by
      60%.
  3 Acting as Project Manager for a new product initiative with 9 separate staffs.
  4 Coached, mentored and motivated a staff of business analysts and IT programmers in exceeding
      departmental goals in a time of significant change.
  5 During corporate merger, managed three operational teams as well as one of eight ‘Transition’ projects.

Team Lead (Mar. 2002 – July 2003)
   1 Participated as the only associate on all three company Six Sigma Black Belt implementation teams,
      contributing to each and acting as the central liaison.
   2 Led department associates in increasing the company’s database quality by 600%, realizing $10 million in
      savings over a two-year period.
   3 Managed a large, cross-functional project that affected over 80 associates and redesigned a core company
      process (credited with $1 million annual savings).

                                                   EDUCATION

University of Dallas, Irving, TX
Bachelor of Arts in History – May 1995

                                          PROFESSIONAL TRAINING

1    Proficient with Project Management Institute (PMI) methodology, 2006-2007
                                                                                                    KR1362
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                                         1085
2    Systemation © Practical Facilitation & Thriving on Conflict 2005
3    All Washington Mutual Bronze Certification training classes, 2004-2005
4    Six Sigma Black Belt Training and Certification, 2002 – 2003
5    Breakthrough Leadership Training I & II, 2003
6    7 Habits of Highly Effective People, 2002
7    Toastmasters International, 2003-2005

                                        HONORS & ACHIEVEMENTS

    Promoted to Bank Officer within 1st year of company service, 2007
    Lightning Strikes Award ($2,000) received in first six months of company service, 2006
    Washington Mutual Silver Award, 2004
    Nominated by Sr. Vice President to be the only ‘Transaction’ Project Manager not from management, 2003
    Chosen by executive team to be the only Six Sigma Green Belt promoted to Black Belt, 2002
    Best Presentation, Team Lead Conference, 2002
    Best Supporting Team, 1998
    Perfect Attendance, Year, 1997

                                             COMPUTER SKILLS

Net G Certifications: MS Word; Excel; PowerPoint; Access; FrontPage; HTML/Web Publishing
Recognized as the first Transamerica associate to achieve Mastery Level Certification in any Net G subject
Proficient with MS SharePoint; Mainframe; AS/400; QMF for Windows; RPG; SQL




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                  PLAINTIFFS' EXHIBIT AB
                                                                     KR1364
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                                 Deposition of
                   Professor Robert J. Spitzer
                             February 07, 2024
                                    Volume I




                              Knife Rights Inc.
                                        vs.
                      Rob Bonta Attorney General




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        Professor Robert J. Spitzer                          Rob Bonta Attorney General

   ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

   ·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

   ·3

   ·4· ·KNIFE RIGHTS, INC., et al.,

   ·5· · · · · · · · Plaintiffs,

   ·6· · · · · vs.· · · · · · · · · · · · ·No. 23-cv-474-JES-DDL

   ·7· ·CALIFORNIA ATTORNEY GENERAL
   · · ·ROB BONTA, et al.,
   ·8
   · · · · · · · · · Defendants.
   ·9· ·______________________________/

   10

   11· · · · · · · · · · ·REMOTE DEPOSITION OF

   12· · · · · · · · · PROFESSOR ROBERT J. SPITZER

   13· · · · · · · · · · · · · ·VOLUME I

   14· · · · · · ·Appearing from Williamsburg, Virginia

   15· · · · · · · · · Wednesday, February 7, 2024

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   · · ·Reported by:
   23· ·KATHLEEN BACA
   · · ·CSR No. 10267
   24

   25· ·JOB No. 10134987


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        Professor Robert J. Spitzer                          Rob Bonta Attorney General

   ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

   ·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

   ·3

   ·4· ·KNIFE RIGHTS, INC., et al.,

   ·5· · · · · · · · Plaintiffs,

   ·6· · · · · vs.· · · · · · · · · · · · ·No. 23-cv-474-JES-DDL

   ·7· ·CALIFORNIA ATTORNEY GENERAL
   · · ·ROB BONTA, et al.,
   ·8
   · · · · · · · · · Defendants.
   ·9· ·______________________________/

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   11
   · · · · · · · ·Remote deposition via Zoom
   12
   · · · · · · · ·videoconference of PROFESSOR ROBERT J.
   13
   · · · · · · · ·SPITZER, Volume I, taken on behalf of
   14
   · · · · · · · ·Defendants, appearing from Williamsburg,
   15
   · · · · · · · ·Virginia, beginning at 10:04 a.m. and
   16
   · · · · · · · ·ending at 1:05 p.m. on Wednesday,
   17
   · · · · · · · ·February 7, 2024, before KATHLEEN BACA,
   18
   · · · · · · · ·Certified Shorthand Reporter No. 10267.
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        Professor Robert J. Spitzer                          Rob Bonta Attorney General

   ·1· ·APPEARANCES:

   ·2· ·(All parties appeared via videoconference.)

   ·3· ·For Plaintiffs:

   ·4· · · · · DILLON LAW GROUP APC

   ·5· · · · · BY:· JOHN W. DILLON, ESQ.

   ·6· · · · · 2647 Gateway Road

   ·7· · · · · Suite 105, No. 255

   ·8· · · · · Carlsbad, California 92009

   ·9· · · · · 760.642.7150

   10· · · · · jdillon@dillonlawgp.com

   11
   · · ·For Defendants:
   12
   · · · · · · OFFICE OF THE ATTORNEY GENERAL
   13
   · · · · · · BY:· S. CLINTON WOODS, ESQ.
   14
   · · · · · · · · ·KATRINA UYEHARA, ESQ.
   15
   · · · · · · 1300 I Street
   16
   · · · · · · 17th Floor
   17
   · · · · · · Sacramento, California 95814
   18
   · · · · · · Clint.Woods@doj.ca.gov
   19
   · · · · · · Katrina.Uyehara@doj.ca.gov
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        Professor Robert J. Spitzer                          Rob Bonta Attorney General

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   ·3· ·EXAMINATION BY MR. DILLON· · · · · · · · · · · · · ·5
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   11· ·NUMBER· · · · · · · DESCRIPTION· · · · · · · · · ·PAGE
   12· ·Exhibit 1· Notice of Deposition of Professor· · · ·12
   13· · · · · · · Robert Spitzer and Request to Produce
   14· · · · · · · Documents - 4 pages
   15· ·Exhibit 2· Complaint for Declaratory and· · · · · ·13
   16· · · · · · · Injunctive Relief - 16 pages
   17· ·Exhibit 3· Expert Report and Declaration of· · · · 15
   18· · · · · · · Robert Spitzer - 196 pages
   19· ·Exhibit 4· Supreme Court case, District of· · · · ·74
   20· · · · · · · Columbia v Heller - 66 pages
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        Professor Robert J. Spitzer                          Rob Bonta Attorney General

   ·1· · ·Williamsburg, Virginia - Wednesday, February 7, 2024
   ·2· · · · · · · · · · · · · 10:04 a.m.
   ·3
   ·4· · · · · · · · ·PROFESSOR ROBERT J. SPITZER,
   ·5· · · · having been administered an oath remotely, was
   ·6· · · · · · · examined and testified as follows:
   ·7
   ·8· · · · · · · · · ·EXAMINATION BY MR. DILLON
   ·9· · · · · · ·MR. DILLON:· All right.· Good morning,
   10· ·everyone.· My name is John Dillon.· I'll be taking the--
   11· ·Professor Spitzer's deposition today.· I'm counsel for
   12· ·the plaintiff in the matter of Knife Rights v Rob Bonta,
   13· ·Attorney General of California.· That's Case No.
   14· ·23-cv-474-JES-DDL.
   15· · · ·Q.· · Good morning, Professor Spitzer.· Is that how
   16· ·I should refer to you today is Professor Spitzer is your
   17· ·preferred --
   18· · · ·A.· · It's perfectly fine.
   19· · · · · · ·And let me just add, I want to thank all of
   20· ·you for allowing me to do this remotely.· It's very
   21· ·helpful.
   22· · · ·Q.· · I don't think anyone is going to complain
   23· ·about the remote depositions these days.· I found people
   24· ·tend to enjoy doing them from their offices rather than
   25· ·traveling all over the place.


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   ·1· · · ·A.· · Exactly.
   ·2· · · ·Q.· · All right.· So I'll be asking you various
   ·3· ·questions today about this case and the expert report
   ·4· ·that was exchanged between parties that you submitted on
   ·5· ·behalf of defendants in this case.
   ·6· · · · · · ·So can you please state your full name for the
   ·7· ·record?
   ·8· · · ·A.· · Robert James Spitzer.
   ·9· · · ·Q.· · Okay.· And, Mr. Spitzer, have you been
   10· ·retained by the defendants in this case?
   11· · · ·A.· · Yes, I have.
   12· · · ·Q.· · And can you describe what the scope of your
   13· ·retention is?
   14· · · ·A.· · I was asked to research information about
   15· ·switchblades and related weapons' history pertaining to
   16· ·comparative -- comparing with modern switchblades, which
   17· ·of course, are a modern invention.
   18· · · ·Q.· · Okay.· So before we really get into all this
   19· ·stuff there is a number of admonitions I would like to
   20· ·go over with you.
   21· · · · · · ·First, have you ever been deposed before?
   22· · · ·A.· · Yes, I have.
   23· · · ·Q.· · Okay.· And I imagine it was a fair number of
   24· ·times.· Correct?
   25· · · ·A.· · Actually, only a couple times.


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       Professor Robert J. Spitzer                           Rob Bonta Attorney General

   ·1· · · ·Q.· · Okay.· And what case were you deposed before?
   ·2· · · ·A.· · One case was Massachusetts in 2017.· It was a
   ·3· ·First Circuit Court of Appeals.· I believe it was Worman
   ·4· ·vs Healey, although the name might have changed.
   ·5· · · · · · ·And I was also deposed more recently for a
   ·6· ·case in Oregon in early last year.
   ·7· · · ·Q.· · Okay.· And did you have the same role in those
   ·8· ·cases as you do now?
   ·9· · · ·A.· · The issues at stake were different, but, yes,
   10· ·as a -- as someone who would research the historical
   11· ·questions pertaining to old weapons' laws particular to
   12· ·the circumstances of those challenges -- yeah -- or
   13· ·those cases.
   14· · · ·Q.· · Okay.· And are all the matters in which you've
   15· ·been deposed listed in your CV?
   16· · · ·A.· · They are listed in the materials I submitted,
   17· ·perhaps, at the beginning of my submission and also on
   18· ·my CV.
   19· · · ·Q.· · Okay.· So I just want to remind you you're
   20· ·under oath and you have sworn to tell the truth and the
   21· ·effect of that oath is the same as if you were
   22· ·testifying in court.
   23· · · · · · ·Do you understand that?
   24· · · ·A.· · Yes, I do did.
   25· · · ·Q.· · And although the deposition be is being


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   ·1· ·conducted remotely, it doesn't change the fact that
   ·2· ·we're going to conduct it as if we're all in the same
   ·3· ·room and your oath still applies.
   ·4· · · · · · ·Do you understand that?
   ·5· · · ·A.· · Yes, I do.
   ·6· · · ·Q.· · And I'll note that no notes are going to be
   ·7· ·allowed during the deposition and you may not read from
   ·8· ·anything other than the exhibits that's presented by me
   ·9· ·or your counsel.
   10· · · · · · ·Do you understand that?
   11· · · ·A.· · Yeah.· I have a pad in front of me with
   12· ·some -- you know, I like to have a pad in front of me.
   13· · · · · · ·Is that okay?
   14· · · ·Q.· · So you're saying you write down stuff as we're
   15· ·going to be talking?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · Okay.· Yeah, that's fine.· I'm referring to
   18· ·prewritten notes.· You can't be referencing those or
   19· ·looking on another screen or looking at text messages or
   20· ·e-mails or anything like that while we're conducting the
   21· ·deposition.
   22· · · · · · ·Do you understand that?
   23· · · ·A.· · Okay.· Yes.
   24· · · ·Q.· · Okay.· So I'll also note that during the
   25· ·deposition you're not permitted to communicate with


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   ·1· ·anyone or even your attorney while a question is
   ·2· ·pending.· That is to say, again, no text messages,
   ·3· ·e-mail, Chat or electronic communications of any kind
   ·4· ·are permitted during questioning.
   ·5· · · · · · ·Do you understand that?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Okay.· And also be aware that no one else is
   ·8· ·permitted to be in the room with you during your
   ·9· ·deposition.
   10· · · · · · ·Do you understand that?
   11· · · ·A.· · I told my wife not to come in.
   12· · · ·Q.· · Okay.· You know, luckily I don't have a
   13· ·problem.· I have kids; I've had them bust in.· If your
   14· ·wife mistakenly does that, we'll forgive you.
   15· · · ·A.· · Thank you.
   16· · · ·Q.· · All right.· So please answer audibly and only
   17· ·after I've finished asking the full question.· And
   18· ·that's -- also helps, you know, so we don't talk over
   19· ·and it also helps the court reporter be able to write
   20· ·down each person's words effectively.· So just make sure
   21· ·that only one person is speaking at a time.
   22· · · · · · ·Do you understand that?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · I'd also ask that you don't guess when
   25· ·providing responses.· But if appropriate I'll ask you to


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   ·1· ·provide an estimate based off your best recollection and
   ·2· ·experience or expertise.
   ·3· · · · · · ·Do you understand that?
   ·4· · · ·A.· · Yes.
   ·5· · · ·Q.· · Along those same lines, please don't try to
   ·6· ·use any hand gestures when answering any of my
   ·7· ·questions.· So if I ask you, you know, how many times
   ·8· ·did this happen?· Don't hold up one or two.· Please
   ·9· ·answer audibly there.· And someone that speaks with my
   10· ·hands I understand the problem.
   11· · · · · · ·Do you understand that?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · Okay.· You're also entitled to request a break
   14· ·at any time to use the restroom.· You know, have a break
   15· ·for any other reason.· If you need a break, please let
   16· ·me know and I'll accommodate that request.
   17· · · · · · ·The only I'm thing I'm going to ask is that if
   18· ·there is a question pending I ask that you answer before
   19· ·we take the break.
   20· · · · · · ·Do you understand?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · All right.· And your attorney may make
   23· ·objections to, you know, questions that I ask.· They are
   24· ·objections for the judge to consider later.· So you're
   25· ·required to answer unless you're told specifically by


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   ·1· ·your counsel not to answer a question.
   ·2· · · · · · ·Do you understand that?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · Okay.· And note that the court reporter is
   ·5· ·recording all the questions, answers and objections and
   ·6· ·will reduce that information to transcript form.· After
   ·7· ·which the deposition ends you'll be able to have the
   ·8· ·opportunity to read that transcript and correct any
   ·9· ·inaccuracies.
   10· · · · · · ·Do you understand that?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · Okay.· And if you make any changes in your
   13· ·testimony that are inconsistent with the answers given
   14· ·during the deposition, I will be entitled to comment on
   15· ·those discrepancies at trial to question your veracity.
   16· · · · · · ·Do you understand that?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · Finally, any reason today why you can't give
   19· ·your best testimony?
   20· · · ·A.· · No.
   21· · · ·Q.· · Are you suffering from any medical condition
   22· ·that would prevent you from giving your best testimony?
   23· · · ·A.· · No.
   24· · · ·Q.· · Are you currently on any medication that would
   25· ·prevent you from giving your best testimony today?


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   ·1· · · ·A.· · No.
   ·2· · · ·Q.· · Do you have any questions about the procedures
   ·3· ·which I just described?
   ·4· · · ·A.· · No, sir.
   ·5· · · · · · ·MR. DILLON:· Okay.· All right.· So the first
   ·6· ·thing I'm going to do is I'm just going to -- let's see.
   ·7· ·I'm going to screen share here.
   ·8· · · ·Q.· · Okay.· Do you see the document on the screen
   ·9· ·before you?
   10· · · ·A.· · Yes, I do.
   11· · · · · · ·MR. DILLON:· Okay.· I'm going to be
   12· ·introducing this as Plaintiff's Exhibit 1, which I
   13· ·e-mailed your counsel a copy of and it's posted on the
   14· ·screen.
   15· · · · · · · · (Exhibit 1 was premarked and identified
   16· · · · · · · · ·during the proceeding.)
   17· · · · · · · · (Mr. Dillon screen shares Exhibit 1.)
   18· · · · · · ·MR. DILLON:· Q.· So can you read the title of
   19· ·that document?
   20· · · ·A.· · Notice of Deposition of Professor Robert
   21· ·Spitzer and Request to Produce Documents.
   22· · · ·Q.· · Okay.· Have you seen this document before?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Have you reviewed it in full?
   25· · · ·A.· · Yes.


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   ·1· · · ·Q.· · And are you prepared to testify regarding the
   ·2· ·subject matter identified in this notice of deposition?
   ·3· · · ·A.· · Yes.
   ·4· · · · · · ·MR. DILLON:· Okay.· Now I'm going to be
   ·5· ·introducing a new exhibit, Plaintiff's Exhibit 2.
   ·6· · · · · · · · (Exhibit 2 was premarked and identified
   ·7· · · · · · · · ·during the proceeding.)
   ·8· · · · · · · · (Mr. Dillon screen shares Exhibit 2.)
   ·9· · · · · · ·MR. DILLON:· Let's go to that.
   10· · · ·Q.· · Do you see the document on the screen before
   11· ·you?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · And can you read the title of that document?
   14· · · ·A.· · Complaint for Declaratory and Injunctive
   15· ·Relief.
   16· · · ·Q.· · Okay.· Have you seen this document before?
   17· · · ·A.· · I believe I have.
   18· · · ·Q.· · Okay.
   19· · · ·A.· · If this is the document that I cited once or
   20· ·twice in my submission, then the answer is yes.
   21· · · ·Q.· · Okay.· I can scroll through if you want to
   22· ·refresh your memory here.
   23· · · · · · ·Does this document look familiar?
   24· · · ·A.· · I believe it does.· Yes.· How many pages is
   25· ·it?· You don't have to go to the end.


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   ·1· · · ·Q.· · Let's see.
   ·2· · · ·A.· · Does it say?
   ·3· · · ·Q.· · 15.
   ·4· · · ·A.· · Okay.· Thank you.
   ·5· · · ·Q.· · All right.· And have you read this document in
   ·6· ·full?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · And you're prepared to testify regarding the
   ·9· ·subject matter identified in this document?
   10· · · ·A.· · In general terms, yes.· I have not read it in
   11· ·awhile though.
   12· · · ·Q.· · Okay.· Let's do this here.· So are you aware
   13· ·that plaintiffs are challenging California Penal Code
   14· ·Sections 17235, 21510, and 21590 in this case?
   15· · · ·A.· · If that pertains to the California switchblade
   16· ·law, then yes.
   17· · · ·Q.· · Okay.· And are you familiar with California
   18· ·Penal Code Section 17235?
   19· · · ·A.· · Pertinent to switchblades I have read it, yes.
   20· · · ·Q.· · So you're familiar with the definition of
   21· ·switchblades under California law?
   22· · · ·A.· · I couldn't recite it for you verbatim right
   23· ·now, but in general terms, yes.
   24· · · ·Q.· · And, again, you're generally familiar with
   25· ·California Penal Code Section 21510?


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   ·1· · · · · · ·MR. WOODS:· I'm just going to interpose an
   ·2· ·objection to the extent familiarity implies that he's a
   ·3· ·lawyer or providing a legal opinion.· It's beyond the
   ·4· ·scope.
   ·5· · · · · · ·But you can answer.
   ·6· · · · · · ·MR. DILLON:· I'm just asking if you read these
   ·7· ·Penal Code Sections and you are generally familiar with
   ·8· ·this subject?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · Okay.· And, again, you're generally familiar
   11· ·with California Penal Code Section 21590 as it relates
   12· ·to this case?
   13· · · ·A.· · Yes.
   14· · · · · · ·MR. DILLON:· Okay.· I'm going to share screen
   15· ·here.· I'm going to turn to what I'm marking as
   16· ·Plaintiff's Exhibit 3, which I believe your counsel has
   17· ·e-mailed to you and it's also posted on the screen in
   18· ·front of you.
   19· · · · · · · · (Exhibit 3 was premarked and identified
   20· · · · · · · · ·during the proceeding.)
   21· · · · · · · · (Mr. Dillon screen shares Exhibit 3.)
   22· · · · · · ·MR. DILLON:· Q.· Can you see that document?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Can you read the title of that document?
   25· · · ·A.· · Expert Report and Declaration of Robert


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   ·1· ·Spitzer.
   ·2· · · ·Q.· · And you've seen this document before?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · And are you the author of this report?
   ·5· · · ·A.· · Yes.
   ·6· · · ·Q.· · And did anyone else assist in authoring the
   ·7· ·report?
   ·8· · · ·A.· · No.
   ·9· · · ·Q.· · Are the facts and information in this report
   10· ·true and correct?
   11· · · ·A.· · To the best of my knowledge, yes.
   12· · · ·Q.· · And are you prepared to testify regarding the
   13· ·subject matter identified in this expert report?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · Just for future reference, you know, I'm going
   16· ·to refer to this report a number of times and I'll
   17· ·likely just say your report.· So I just wanted the
   18· ·acknowledgment you know I'm talking about this expert
   19· ·report that you submitted in this case.
   20· · · · · · ·Is that correct?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · Do you understand that?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Okay.· So what steps have you taken to prepare
   25· ·for the deposition today?


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   ·1· · · ·A.· · To prepare for the deposition I went back and
   ·2· ·reread this document, the report and declaration I
   ·3· ·prepared.· I looked at some of the sources that I drew
   ·4· ·on.· Let's see.· And I read through the initial
   ·5· ·complaint that gave rise to the challenge.
   ·6· · · ·Q.· · And when you say that you referenced some of
   ·7· ·the original sources, what sources were those?
   ·8· · · ·A.· · I don't have the list.· I went back and looked
   ·9· ·at some -- something I had written at -- sort of general
   10· ·information about the switchblade controversy and about
   11· ·the historical cases that I cited in my declaration.
   12· · · ·Q.· · Okay.· Since learning about your deposition in
   13· ·this case, other than your counsel, did you talk, text
   14· ·or e-mail or communicate with anyone regarding your
   15· ·deposition?
   16· · · ·A.· · No.
   17· · · ·Q.· · And going back to your report here.· I'm going
   18· ·to scroll down, if I can.
   19· · · · · · ·So listed under your report under what's
   20· ·entitled Exhibit A, is this your curriculum vitae?
   21· · · ·A.· · Yes, it is.
   22· · · ·Q.· · Okay.· So going up here -- sorry about that.
   23· · · · · · ·Okay.· So as part of your report today you
   24· ·conducted a search of Newspapers.com.
   25· · · · · · ·Is that correct?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · And in that search you specifically searched
   ·3· ·for references to the term "switchblades"?
   ·4· · · ·A.· · Yes, I did.
   ·5· · · ·Q.· · And the time period for this search you
   ·6· ·started in 1870 and went through 1959.
   ·7· · · · · · ·Is that correct?
   ·8· · · ·A.· · I believe that's right, yes.
   ·9· · · ·Q.· · Did you conduct any other searches not
   10· ·mentioned in the report?
   11· · · ·A.· · No.· I did also conduct a search of the
   12· ·New York Times but I did mention that in the report too.
   13· · · ·Q.· · Okay.· Thank you.
   14· · · · · · ·Did you conduct a search for the term, you
   15· ·know, quoting -- I quote "auto knife" or "auto knives"?
   16· · · ·A.· · I may have.
   17· · · ·Q.· · So you did conduct other searches?
   18· · · ·A.· · Yeah.· Back when I originally was doing this
   19· ·work, yeah.
   20· · · ·Q.· · Okay.· Did you conduct a search for the term
   21· ·"automatic knife"?
   22· · · ·A.· · No.· No.
   23· · · ·Q.· · Did you conduct a search for the term
   24· ·"automatic knives"?
   25· · · ·A.· · No.


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   ·1· · · ·Q.· · Did you conduct a search for the term
   ·2· ·"automatic pocket knife"?
   ·3· · · ·A.· · No.
   ·4· · · ·Q.· · Did you conduct a search for the term
   ·5· ·"automatic pocket knives"?
   ·6· · · ·A.· · No.
   ·7· · · ·Q.· · Did you conduct a search for the term
   ·8· ·"Jack-O-Matic knife"?
   ·9· · · ·A.· · No.
   10· · · ·Q.· · Did you conduct a search for the term
   11· ·"push-button knife"?
   12· · · ·A.· · I do not believe so, no.
   13· · · ·Q.· · Did you conduct a search for the term
   14· ·"push-button knives"?
   15· · · ·A.· · No.
   16· · · ·Q.· · Are you aware that all of the terms I just
   17· ·referenced are various terms that describe and identify
   18· ·switchblades or automatically opening knives?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · Let's share this here.· So I'm going to direct
   21· ·you to Page 7, Paragraph 16 of your report, beginning on
   22· ·Line 15 with the word "First."
   23· · · · · · ·Can you read that first sentence, please?
   24· · · ·A.· · "First, I uncovered virtually no reference to
   25· ·switchblade-type pocket knives, aside from some


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   ·1· ·pertaining to the machine parts (not hand-held knives)
   ·2· ·using in manufacturing that utilized what were also
   ·3· ·termed switchblades, until the early twentieth century."
   ·4· · · ·Q.· · All right.· So can you elaborate on what you
   ·5· ·mean by that statement "switchblade-type pocket knives"?
   ·6· · · ·A.· · Well, it is a generic reference to what we
   ·7· ·today think of and understand to be a switchblade.· That
   ·8· ·is a knife that -- where the blade is in -- is stored in
   ·9· ·the handle and it is opened through depressing a button
   10· ·or trigger or something similar.· And through spring
   11· ·loading when you depress the trigger the knife comes out
   12· ·of the handle and is deployed.
   13· · · ·Q.· · So when you say you uncovered no references to
   14· ·a switchblade-type pocket knife you found, you're saying
   15· ·you found virtually no reference to any automatically
   16· ·opening knife?
   17· · · ·A.· · Well, I wouldn't say that exactly.· It seems
   18· ·to me that there were references to knives that we think
   19· ·of as switchblades on, perhaps, a few random instances
   20· ·in these early newspapers.
   21· · · · · · ·So I would not say there were zero, but it was
   22· ·extremely few in the search that I conducted.
   23· · · ·Q.· · All right.· So is it virtually no references
   24· ·or a few references?
   25· · · ·A.· · Well, as it says, virtually no references,


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   ·1· ·which doesn't mean zero; it's more than zero, but it's a
   ·2· ·very, very small number.
   ·3· · · ·Q.· · And what would your estimate be on that?
   ·4· · · ·A.· · I don't know that I could peg a number to it.
   ·5· ·I did this in November or so of last year.· And I didn't
   ·6· ·keep a copy because there really -- it wasn't the key
   ·7· ·feature I was interested in because no automatic-type
   ·8· ·knives, switchblade-type knives existed in the 19th
   ·9· ·century.· That wasn't the key question.
   10· · · ·Q.· · Okay.· And did you conduct a search for the
   11· ·term switchblade-type pocket knives in the
   12· ·Newspapers.com?
   13· · · ·A.· · No.· I do not believe I did.
   14· · · ·Q.· · Okay.· So would you agree that automatically
   15· ·opening knives are pocket knives?
   16· · · ·A.· · To the extent that you could fit one in your
   17· ·pocket, yes.
   18· · · ·Q.· · Okay.· And then further down again in
   19· ·Paragraph 16, starting on Line 18, you state, "The first
   20· ·multiple newspaper accounts of switchblades appeared in
   21· ·the mid-1920s, increasing in the 1930s and persisting
   22· ·through the years of World War II (1941 through 1945.)"
   23· · · · · · ·Is that correct?
   24· · · ·A.· · Yes.
   25· · · ·Q.· · Okay.· And what were these stories about


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   ·1· ·during this period?
   ·2· · · ·A.· · They were references primarily to
   ·3· ·switchblade-related crimes.
   ·4· · · ·Q.· · So was each story a specific reference to a
   ·5· ·crime committed with a switchblade?
   ·6· · · ·A.· · Well, I didn't log and count each individual
   ·7· ·story.· So I cannot say with certainty that each and
   ·8· ·every story was a switchblade crime.
   ·9· · · · · · ·The chief observation was that there were
   10· ·scattering of these stories during the World War II
   11· ·years.· Remembering also that during World War II,
   12· ·millions of young men who are those most likely to
   13· ·commit crimes were in uniform and were abroad under
   14· ·arms.· And that during wartime crime levels -- at least
   15· ·violent crime levels -- tend to be lower than during
   16· ·peace time.
   17· · · ·Q.· · Okay.· And how many stories were there that
   18· ·you referenced from the mid 1920s to the 1930s?
   19· · · ·A.· · I provided an account.· I think it's on the
   20· ·next page.· I don't recall what the exact numbers are.
   21· · · ·Q.· · Okay.· We'll get to those specific counts.
   22· · · · · · ·So what you're referring to here you specify
   23· ·later on in your report with the specific story numbers?
   24· · · ·A.· · Yes.
   25· · · ·Q.· · Okay.· And, again, we'll get into the key


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   ·1· ·details of this a little bit later.
   ·2· · · · · · ·But were there any duplicates to the stories
   ·3· ·that you found in the search?
   ·4· · · ·A.· · Yes, there were.
   ·5· · · ·Q.· · And how many stories that -- you know, the
   ·6· ·results that you found were duplicates?
   ·7· · · ·A.· · I did not do an account of the duplicate
   ·8· ·stories.· There is much more analysis that could be done
   ·9· ·with this massive amount of information but I didn't
   10· ·have the time or the resources.· And I'm not sure
   11· ·California has the treasury to pay me to do that degree
   12· ·of research, especially in this time frame.
   13· · · ·Q.· · Okay.· Do you have an estimate of how many
   14· ·stories were duplicates that you reviewed?
   15· · · ·A.· · I do not.· But it was clear immediately
   16· ·that -- because just like today, wire service stories --
   17· ·news stories are reprinted and transmitted around the
   18· ·country on wire services of various kinds.· In these
   19· ·days it was mostly AP, UP, that sort of thing.· And it
   20· ·was common and customary for other newspapers to pick up
   21· ·stories that originated in some other location.
   22· · · ·Q.· · Okay.· All right.· So, again, in Paragraph 16,
   23· ·the last line, it states "During this period, relatively
   24· ·few switchblade crimes were reported, but those" -- and
   25· ·going on to Page 8 -- "those crimes that did receive


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   ·1· ·coverage were often reprinted in many newspapers"
   ·2· · · · · · ·Is that correct?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · And the years that you're referencing with
   ·5· ·this statement, is that from 1941 to 1945 or is that a
   ·6· ·bigger range of years?
   ·7· · · ·A.· · It looks -- yeah, that sentence would
   ·8· ·reference not only the World War II years, but the
   ·9· ·previous decade as well.
   10· · · ·Q.· · Does that include -- so it's starting from the
   11· ·mid 1920s through 1945?
   12· · · ·A.· · Yes.· I believe that was my intention in that
   13· ·sentence.
   14· · · ·Q.· · Okay.· And when you say that relatively few
   15· ·switchblade crimes were reported, are you referring to
   16· ·police reports or news reports?
   17· · · ·A.· · News reports.· Sometimes the news reports
   18· ·included police information.· But other times it was
   19· ·simply a report of discussing what the reporter
   20· ·uncovered.
   21· · · ·Q.· · Okay.· So your search from mid 1920 to 1945
   22· ·resulted in, you know, relatively few switchblade
   23· ·crimes.
   24· · · · · · ·Is that correct?
   25· · · ·A.· · Compared to later, yes.


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   ·1· · · ·Q.· · Okay.· And what do you mean by "relatively few
   ·2· ·and compared to later"?· How many crimes were reported
   ·3· ·in that period?
   ·4· · · ·A.· · Well, again, I'm counting number of newspaper
   ·5· ·stories, not number of crimes.· And understanding that
   ·6· ·the constant throughout this entire period is the
   ·7· ·reputation of news stories and multiple newspapers
   ·8· ·throughout this entire period.
   ·9· · · · · · ·So given that as a constant, I'm making that
   10· ·statement in comparison to the numbers to come in the --
   11· ·at the end of the 1940s and up to 1959.
   12· · · ·Q.· · Okay.· So -- but you don't have any idea of
   13· ·the actual number of crimes committed, do you?
   14· · · ·A.· · No.· I did not do that analysis.· It's number
   15· ·of stories, not number of crimes.
   16· · · ·Q.· · Okay.· And, again, on the top of Page 8 here,
   17· ·kind of starting on the Page 7 to the top of Page 8, you
   18· ·state that "Few crimes" -- "A few crimes that were
   19· ·reported were often reprinted in many newspapers."
   20· · · · · · ·Is that correct?
   21· · · ·A.· · Yeah.
   22· · · ·Q.· · Okay.· So if a single crime that happened it
   23· ·could have been reported five, 10 times by different
   24· ·newspapers.
   25· · · · · · ·Is that correct?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · And in your search on Newspapers.com that
   ·3· ·would result in 10 different results in your search?
   ·4· · · ·A.· · Yes.
   ·5· · · ·Q.· · Okay.· And then on Page 8 in Paragraph 16.· So
   ·6· ·the top of Page 8 here.· You also state "From 1940s
   ·7· ·through the mid 1950s, news reports and stories of
   ·8· ·switchblade crimes exploded in numbers."
   ·9· · · · · · ·Is that correct?
   10· · · ·A.· · Yes.
   11· · · ·Q.· · What do you mean by "exploded in numbers"?
   12· · · ·A.· · The numbers rose very, very dramatically.
   13· · · ·Q.· · Okay.· And how many unique or separate crimes
   14· ·did you find news reports for during that time?
   15· · · ·A.· · Again, I didn't count the number of crimes.
   16· ·My unit of analysis was the story -- the number of
   17· ·stories not the number of crimes.
   18· · · ·Q.· · Okay.· And, again, were there duplicate
   19· ·stories during this period?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · And did you review any actual police reports?
   22· · · ·A.· · Raw police reports, no.
   23· · · ·Q.· · And did you confirm the accuracy of the facts
   24· ·reported in these articles?
   25· · · ·A.· · No.


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   ·1· · · ·Q.· · Okay.· Did you review any original source
   ·2· ·documents aside from the Newspapers.com articles?
   ·3· · · ·A.· · It depends on what you mean by original
   ·4· ·source.
   ·5· · · ·Q.· · Police reports, firsthand accounts of any
   ·6· ·crime, anything like that?
   ·7· · · ·A.· · Not police reports.· I don't know that they
   ·8· ·would even be accessible or available through the
   ·9· ·Internet.· In terms of first -- in terms of firsthand
   10· ·accounts, some of these stories reported firsthand
   11· ·accounts as in interviews with police officials or
   12· ·interviews with victims, that sort of thing.
   13· · · ·Q.· · Okay.· So, again, I'll direct you to Page 8
   14· ·and this is in Paragraph 17.· You state, "Second,
   15· ·instances of reported criminality involving switchblades
   16· ·during the pre-World War II period occurred almost
   17· ·entirely in the Southern states."
   18· · · · · · ·Is that correct?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And what do you mean by "Instances of reported
   21· ·criminality involving switchblades"?
   22· · · ·A.· · Well, when you -- when I read news stories
   23· ·about switchblade crimes, you would want to know what
   24· ·the date line is.· Where is the story from.· And so you
   25· ·might read a story in a Northern newspaper, but it's


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   ·1· ·reporting a crime in a Southern state.
   ·2· · · · · · ·So that is relevant in terms of where these
   ·3· ·instances occurred.· And taking that into account, that
   ·4· ·yielded the comment that -- the sentence you just read.
   ·5· · · ·Q.· · Okay.· So you reference -- you reviewed each
   ·6· ·of these newspaper results and identified each instance
   ·7· ·where there was a crime reported in a Southern state?
   ·8· · · ·A.· · Well, as I was looking through the newspapers
   ·9· ·I'm looking to see where did this time occur.· And I was
   10· ·struck immediately by the fact that virtually every
   11· ·story was reporting a switchblade crime in a Southern
   12· ·state.· It was kind -- it kind of jumped out at me after
   13· ·reading a few stories.· Again, this is in the pre-World
   14· ·War II era.
   15· · · ·Q.· · Okay.· But you didn't review every single
   16· ·story or incident.
   17· · · · · · ·Is that correct?
   18· · · ·A.· · Yes.· That's correct.· I did not.
   19· · · ·Q.· · Okay.· About how many reports or articles did
   20· ·you review?
   21· · · ·A.· · Well, I did not keep a count of each and every
   22· ·story I looked at.· I certainly did not look at every
   23· ·story that accounts for the tabulations that come a
   24· ·little later on in my document.
   25· · · ·Q.· · Okay.· Would you say you reviewed half of the


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   ·1· ·stories you tabulated in your report?
   ·2· · · ·A.· · Oh, fewer than half.
   ·3· · · ·Q.· · How about a fourth?
   ·4· · · ·A.· · I'm -- I cannot assign a number to it because
   ·5· ·I didn't keep track.· I looked at a great many.· But it
   ·6· ·was a small percentage of the grand total of stories
   ·7· ·that I report in my document.
   ·8· · · ·Q.· · Okay.· What would you estimate that percentage
   ·9· ·to be?
   10· · · ·A.· · I couldn't peg a number to it.· I would add
   11· ·that when you look at the total number of stories when
   12· ·you get to the 1950s, it's clear that the percentage of
   13· ·stories I would have looked at would have been very much
   14· ·smaller than the percentage of stories that I looked at
   15· ·from the 1920s or 1930s, for example.· Because there
   16· ·were far fewer stories early on.
   17· · · ·Q.· · Okay.· So would I be correct in saying you
   18· ·reviewed less than 10 percent of the total stories?
   19· · · ·A.· · I -- I -- the percentage would be higher for
   20· ·the earlier time periods because there were fewer
   21· ·stories.· I couldn't -- honestly, I could not put a
   22· ·percentage number on that with any certainty.
   23· · · ·Q.· · Okay.· But it was relatively few when you're
   24· ·considering the total amount of stories.
   25· · · · · · ·Is that correct?


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   ·1· · · ·A.· · That is right.
   ·2· · · ·Q.· · So, again, we'll go to Page 8, Paragraph 20
   ·3· ·here.· You state that there -- and I'm paraphrasing
   ·4· ·here.· There are two reasons for the absence of remedial
   ·5· ·legislation to restrict switchblades during the 1930s."
   ·6· · · · · · ·Is that correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · And you list the first reason -- first the
   ·9· ·number of incidents of switchblade crimes was relatively
   10· ·low up to the 1930s.
   11· · · · · · ·Is that correct?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · And the second switchblade criminality seemed
   14· ·confined to African American communities in the Southern
   15· ·states.
   16· · · · · · ·Is that correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · And you go on to state that "White leaders
   19· ·would take little interest in moving to address crime
   20· ·problems that did not affect the White community."
   21· · · · · · ·Is that correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · What is the basis of claim?
   24· · · ·A.· · America in the 1930s was a segregated racist
   25· ·society.· And in pretty much any and every type of


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   ·1· ·policy you could think of separate but equal was still
   ·2· ·the law of the land, as you know.· Housing policies,
   ·3· ·employment policies, government assistance programs,
   ·4· ·which there were many during the depression of the
   ·5· ·1930s, but normally and in most instances African
   ·6· ·Americans did not benefit from those programs, at least
   ·7· ·not in the way that White people did.· Especially in the
   ·8· ·South, where most African Americans lived at the time.
   ·9· · · · · · ·I mean, I didn't include a footnote here, but
   10· ·it would be easy enough to do that.· But it was a racist
   11· ·society and the notion that Whites -- that White
   12· ·rulers -- Whites governed Southern states uniformly --
   13· ·local governments, county governments, state
   14· ·governments.· I think it's reasonable to conclude that
   15· ·they would have taken little interest in enacting public
   16· ·policies to protect African Americans from crime visited
   17· ·upon other African Americans.
   18· · · ·Q.· · Okay.· And could it be that the actual
   19· ·incidents in the African American community were also
   20· ·relatively low?
   21· · · ·A.· · Well, low compared to what?
   22· · · ·Q.· · Well, reviewing the -- you state earlier
   23· ·that -- go back to "The number of incidents of
   24· ·switchblade crimes was relatively low up to through the
   25· ·1930s."· Right?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · Okay.· And, you know, while there seems to be
   ·3· ·crimes committed in the Southern states, could that also
   ·4· ·be a relatively low amount of crime?
   ·5· · · ·A.· · Compared to what?· Compared to overall crime?
   ·6· · · ·Q.· · Sure.
   ·7· · · ·A.· · Well, I guess I would say it this way.· Crimes
   ·8· ·were routinely reported, in general, in the American
   ·9· ·media.· And that goes back hundreds of years.· Crime
   10· ·news is always news, like it is today.· And in terms of
   11· ·switchblade crime, my attentive conclusion was that --
   12· ·this subcategory, switchblade crime, tended to be
   13· ·confined to the African American communities of the
   14· ·South.
   15· · · ·Q.· · And what do you base that off of?· Just the
   16· ·Newspapers.com articles?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · Okay.
   19· · · ·A.· · And I would just add it's because the news
   20· ·reports were careful to identify when these crimes were
   21· ·committed by African Americans.· Typically, they would
   22· ·use the term Negro and they were often -- they were
   23· ·typically identified as such when they were the
   24· ·perpetrators or the victims or both.
   25· · · ·Q.· · Okay.· So I'm going to direct you to Page 9,


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   ·1· ·Paragraph 21.· It's going to be the top of the page
   ·2· ·here.
   ·3· · · · · · ·You state "While this aggregate summary of
   ·4· ·news stories, summarized below, is a blunt measurement
   ·5· ·of switchblade criminality, it is nevertheless
   ·6· ·revealing.
   ·7· · · · · · ·Is that correct?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · Now, is this a blunt measurement because
   10· ·you're relying on news stories that are anywhere from 65
   11· ·to 154 years old?
   12· · · ·A.· · No.
   13· · · ·Q.· · That's not why it's a blunt measurement?
   14· · · ·A.· · No.
   15· · · ·Q.· · Why is it a blunt measurement?
   16· · · ·A.· · Well, because of the reasons I described in
   17· ·the report.· There is a high degree of the story
   18· ·redundancy, as we have been talking about.
   19· · · · · · ·One incident being reported in many, many,
   20· ·newspapers.· And I did not engage in the kind of
   21· ·filtering that would have identified the number of
   22· ·instances as opposed to the number of news reports.· And
   23· ·you're using a source of information that is newspapers,
   24· ·which aren't an imperfect source.· Because we can safely
   25· ·assume that not all crime was reported.· Not all


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   ·1· ·reported crime made it to the newspapers to be reported
   ·2· ·as a story.
   ·3· · · · · · ·However, as a proxy for what's going on in
   ·4· ·society, it's a reasonable, if blunt measurement of
   ·5· ·switchblade criminality.
   ·6· · · ·Q.· · Okay.· Is it fair to say it's also blunt
   ·7· ·measurement because there is no way to verify the
   ·8· ·information in these stories?
   ·9· · · ·A.· · Well, there might be ways to verify the
   10· ·information.· Again, the basic news stories were --
   11· ·maybe the legal equivalent would be a finding of fact,
   12· ·that is, certain events occurred.· They had to be
   13· ·reported to the authorities in some manner.
   14· · · · · · ·And in -- and then there would be -- there
   15· ·would be news reports forthcoming because a standard
   16· ·reporter's beat would be the police station -- would be,
   17· ·you know, following the police to a crime scene to
   18· ·report the occurrences at the crime scene, things like
   19· ·that.
   20· · · · · · ·So in terms of accuracy, reporters by this
   21· ·time are professionalized; they are following
   22· ·journalistic standards.· And there is good reason to
   23· ·believe that the accounts that are provided may not be a
   24· ·completely accurate representation of all pertinent
   25· ·facts, but are -- provide general, reliable and useful


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   ·1· ·information about what's going on the ground in general
   ·2· ·terms in the U.S.
   ·3· · · ·Q.· · Okay.· And that's because you did verify the
   ·4· ·information in these articles.
   ·5· · · · · · ·Is that correct?
   ·6· · · ·A.· · I did not -- I did not track back specific
   ·7· ·instances to obtain more information about them beyond
   ·8· ·what appeared in these news stories; that is correct.
   ·9· · · ·Q.· · And as these are news stories at best, these
   10· ·are secondhand accounts of events that were recorded to
   11· ·them.
   12· · · · · · ·Is that correct?
   13· · · ·A.· · Well, I guess secondhand -- well, secondhand
   14· ·account?· If a crime occurs and the reporter talks to
   15· ·the victim or a police officer, let's say, does that
   16· ·constitute a secondhand account?
   17· · · ·Q.· · As a secondhand account.· So for purposes of
   18· ·this question --
   19· · · ·A.· · Okay.
   20· · · ·Q.· · -- were they be secondhand accounts?
   21· · · ·A.· · By your definition, certainly, yes.
   22· · · ·Q.· · Okay.· All right.· So directing you to
   23· ·Paragraph 22 here.· This is where it seems like you got
   24· ·the more specific information with the amount of results
   25· ·that you got in your switch -- or your search of


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   ·1· ·Newspapers.com.
   ·2· · · · · · ·Is that correct.
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · Okay.· So in Newspapers.com you searched the
   ·5· ·term "switchblades" in the period of 1921 to 1939.
   ·6· · · · · · ·Is that correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · And that resulted in 424 stories with the word
   ·9· ·"switchblade" mentioned?
   10· · · ·A.· · Yes.
   11· · · ·Q.· · And you searched the term "switchblade" in the
   12· ·period between 1940 to 1945.
   13· · · · · · ·Is that correct?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · And that resulted in 612 stories with the word
   16· ·"switchblade" mentioned?
   17· · · ·A.· · Yeah.
   18· · · ·Q.· · And you searched the term "switchblade" in the
   19· ·period between 1946 to 1950.
   20· · · · · · ·Is that correct?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · And that resulted in 824 stories with the word
   23· ·"switchblade" mentioned?
   24· · · ·A.· · Yes.
   25· · · ·Q.· · And you searched term "switchblade" for the


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   ·1· ·period of 1951 to 1955.· Correct?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · And that resulted in 9,713 stories with the
   ·4· ·word "switchblade" mentioned?
   ·5· · · ·A.· · Yes.
   ·6· · · ·Q.· · And you searched the term "switchblade" for
   ·7· ·the period of 1956 to 1959.
   ·8· · · · · · ·Is that correct?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · And that resulted in 19,929 stories with the
   11· ·word "switchblade" mentioned?
   12· · · ·A.· · Yes, it did.
   13· · · ·Q.· · Okay.· So, again, in Paragraph 22 you state
   14· ·that "These numbers likely underestimate the number of
   15· ·newspaper stories about 'switchblades' because, as noted
   16· ·below in Paragraph 26, many news stories simply reported
   17· ·'knife stabbings' without specifying that the knife
   18· ·involved was a switchblade."
   19· · · · · · ·Is that correct?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · Okay.· Did you conduct a separate search for
   22· ·the term or the terms "knife stabbing"?
   23· · · ·A.· · No.
   24· · · ·Q.· · Okay.· How do you know that "Many news stories
   25· ·simply reported 'knife stabbings' when a switchblade was


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   ·1· ·involved?"
   ·2· · · ·A.· · That is in Paragraph 26, I believe.
   ·3· · · ·Q.· · Scroll down to Paragraph 26.· So can you take
   ·4· ·a look at Paragraph 26, which is on the screen now, and
   ·5· ·can you direct me to how you know that many of these
   ·6· ·stories that reported knife stabbings involved
   ·7· ·switchblades?
   ·8· · · ·A.· · I believe it's because this -- this story that
   ·9· ·appeared in this magazine called Woman's Home Companion
   10· ·about switchblades, the author of the research or the
   11· ·author of the article -- Pollack was his last name --
   12· ·was because he reported that knife crimes didn't
   13· ·necessarily specify that the knife used in the crime was
   14· ·a switchblade.
   15· · · · · · ·So that's from a contemporaneous observation
   16· ·from this story.
   17· · · ·Q.· · Okay.· So you're basing that statement in
   18· ·Paragraph 22 off of Mr. Pollack's statement that's
   19· ·quoted in Paragraph 26?
   20· · · ·A.· · Yeah.· Yes.
   21· · · ·Q.· · So you have no personal knowledge that in the
   22· ·number of these stories that describe knife stabbings,
   23· ·they involved a switchblade, do you?
   24· · · ·A.· · Say again.· That the number --
   25· · · ·Q.· · You have no personal knowledge that many of


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   ·1· ·the news stories that simply reported knife stabbings
   ·2· ·involved switchblades?
   ·3· · · ·A.· · No, it's not personal.· I'm citing a secondary
   ·4· ·source.
   ·5· · · ·Q.· · So did you find a number of stories that
   ·6· ·reference a knife stabbing in which the actual criminal
   ·7· ·incident involved a switchblade?
   ·8· · · ·A.· · Well, if it involved a switchblade and it said
   ·9· ·"switchblade," then it would be included in the account.
   10· · · · · · ·If it was a crime that involved a stabbing,
   11· ·simply referencing a knife without mentioning
   12· ·switchblades, it would not have made it into my
   13· ·tabulations.
   14· · · ·Q.· · Okay.· So the sole basis for your claim that
   15· ·many didn't specify that a switchblade was used was this
   16· ·Pollack comment in Paragraph 26?
   17· · · ·A.· · Well, I think there is other information, such
   18· ·as the Congressional Hearings from the 1957, '58 made a
   19· ·similar point; that is to say, in the tabulation of
   20· ·crimes and crimes statistics the information gathered
   21· ·did not necessarily indicate the type of knife used.
   22· · · · · · ·In other words, it was not a standard piece of
   23· ·information that police authorities would have reported.
   24· ·And so --
   25· · · ·Q.· · So if none of these reports that you reference


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   ·1· ·in, you know, all acts of articles or the Senate Report
   ·2· ·identified what type of knife was used, how can you come
   ·3· ·to the determination that a switchblade was used?
   ·4· · · ·A.· · Well, the point is we don't know.
   ·5· · · ·Q.· · So you have no idea?
   ·6· · · ·A.· · Well, the counterquestion is, is every knife
   ·7· ·crime during this time period a switchblade knife crime?
   ·8· ·Surely the answer is no.· It's not reasonable to assume
   ·9· ·that every knife crime that is committed with a
   10· ·switchblade.
   11· · · · · · ·So there has to be a difference between the
   12· ·number of switchblade knife crimes on the one hand
   13· ·versus the number of knife crimes on the other.· And the
   14· ·statistics --
   15· · · ·Q.· · Excuse me.
   16· · · · · · ·So you have no idea in these stories that just
   17· ·describe a knife stabbing, you have no idea whether or
   18· ·not a switchblade was used.
   19· · · · · · ·Is that correct?
   20· · · · · · ·MR. WOODS:· Objection.· Argumentative.
   21· · · · · · ·I'd also say that counsel let the witness
   22· ·finish his statement.
   23· · · · · · ·MR. DILLON:· Okay.· So I'll ask the question
   24· ·again and I just need a yes or no here.
   25· · · ·Q.· · So when you state that many news stories


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   ·1· ·simply reported knife stabbings, you have no idea
   ·2· ·whether those incidents involved a switchblade.
   ·3· · · · · · ·Is that correct?
   ·4· · · ·A.· · I think the answer is yes.
   ·5· · · ·Q.· · Okay.
   ·6· · · ·A.· · That is, if the stories only mentioned a
   ·7· ·knife, didn't mention switchblade, I would not know if a
   ·8· ·switchblade was involved.· And, indeed, police
   ·9· ·authorities and others may well not have known as well
   10· ·from the time, precisely because they did not keep
   11· ·systematic track of the type of knife used in every
   12· ·knife crime.
   13· · · ·Q.· · Okay.· And, again, just to clarify.· Earlier
   14· ·you state that many of the switchblade stories that you
   15· ·reviewed were often reprinted by many newspapers.
   16· · · · · · ·Is that correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · Okay.· And would this result in an
   19· ·overreporting of stories involving switchblades?
   20· · · ·A.· · No.
   21· · · ·Q.· · Okay.· Can you explain that?
   22· · · ·A.· · Sure.
   23· · · · · · ·Newspapers reprint stories all the time, every
   24· ·day, and that have done so for hundreds of years.· So it
   25· ·isn't just switchblade stories or crime stories.· It's


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   ·1· ·stories of every variety that, even today, if you pick
   ·2· ·up an actual newspaper and read the stories, you'll see
   ·3· ·many of them come from other news organizations or wire
   ·4· ·services like AP and UPI, et cetera.
   ·5· · · · · · ·So it's simply ubiquitous reporting practice
   ·6· ·that publications reprint stories from other parts of
   ·7· ·the country and from other services that make available
   ·8· ·for reprinting news stories.· So it happens with
   ·9· ·switchblades, but it happens with crimes, it happens
   10· ·with politics, it happens with every subject matter you
   11· ·can think of that's reported in the news.
   12· · · ·Q.· · Okay.· So let's go down -- let's go back up --
   13· ·sorry -- to Paragraph 23 here.
   14· · · · · · ·You state that you also conducted a New York
   15· ·Times newspaper archive search.· Is that correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · Is that similar to the Newspapers.Com search
   18· ·that you conducted?
   19· · · ·A.· · Well, it's -- it's similar in that I searched
   20· ·for the term "switchblade," but it's different because
   21· ·the search is one, and only one newspaper.
   22· · · ·Q.· · Okay.· Let's see.· And in Paragraph 23, you
   23· ·state the earliest reported instance of a crime
   24· ·committed with a switchblade was in New York City in
   25· ·1944 in a New York Times newspaper archive search.


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   ·1· ·Correct?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · So prior to 1944 New York Times -- the
   ·4· ·New York Times search that you conducted resulted in
   ·5· ·zero crimes reported with a switchblade?
   ·6· · · ·A.· · In zero stories about switchblade crimes, yes.
   ·7· · · ·Q.· · Okay.· And the 1944 crime that's referenced in
   ·8· ·the New York Times article, was that a crime where a
   ·9· ·Marine reportedly murdered a woman with a switchblade.
   10· · · · · · ·Is that correct?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · Okay.· Was the Marine convicted?
   13· · · ·A.· · I do not know.
   14· · · ·Q.· · Did you confirm whether or not he, in fact,
   15· ·murdered the woman with a switchblade?
   16· · · ·A.· · No.
   17· · · ·Q.· · And in -- on Page 9 -- if we go to footnote
   18· ·No. 19.· You also reference the next switchblade story
   19· ·which appeared in 1949.· Correct?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · Okay.· And this was a 16-year-old who was
   22· ·arrested for possession of a switchblade?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Was he convicted?
   25· · · ·A.· · That, I don't know.


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   ·1· · · ·Q.· · Okay.· Did you confirm whether he, in fact,
   ·2· ·had a switchblade?
   ·3· · · ·A.· · No.
   ·4· · · ·Q.· · So you have no idea if a crime was actually
   ·5· ·committed, do you?
   ·6· · · ·A.· · Well, he was arrested for being 16-years-old
   ·7· ·and in possession of a switchblade.· That seems to be a
   ·8· ·pretty clear fact based on the reporting.
   ·9· · · ·Q.· · So you have the fact that he was arrested but
   10· ·not convicted.· Is that correct?
   11· · · ·A.· · I do not know what the outcome of the case
   12· ·was.· That's correct.
   13· · · ·Q.· · Okay.· And then in all of these news stories
   14· ·that you found in both your New York Times search and
   15· ·Newspaper.Com search, did you confirm any convictions of
   16· ·any of the reported crimes?
   17· · · ·A.· · As I indicated, I did not conduct detailed
   18· ·research on the crimes reported in the news stories
   19· ·because my unit of analysis is the story, not the crime.
   20· · · ·Q.· · Okay.· So, again, in Paragraph 24 at the
   21· ·end -- at the end of the Page 9, it states "That is, the
   22· ·total number of stories vastly exceeds the number of
   23· ·discrete instances of switchblade crime because most of
   24· ·them are single instances that were reported in many
   25· ·newspapers.· Correct?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · Okay.· And you go on to state, "Without
   ·3· ·question, the data buttress the conclusions that
   ·4· ·switchblade crimes increased after World War II, spread
   ·5· ·to areas of the country outside of the South, and that
   ·6· ·public debate over how to address the problem also
   ·7· ·escalated."· Correct?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · And the basis of that opinion is the
   10· ·Newspaper.com article results?
   11· · · ·A.· · Yes.· And my reading of them accumulating in
   12· ·the numbers that are in the report.
   13· · · ·Q.· · And your reading of minority of the stories.
   14· ·Correct?
   15· · · ·A.· · Yes.
   16· · · ·Q.· · Okay.
   17· · · ·A.· · I would call them my sampling of -- my reading
   18· ·sampling of the stories.
   19· · · ·Q.· · Okay.· Do you know how many of the stories
   20· ·that you reviewed were descriptions of unique violent
   21· ·crimes committed with a switchblade?· And, for
   22· ·example --
   23· · · ·A.· · No.
   24· · · ·Q.· · -- I would say the story regarding the Marine
   25· ·who murdered a woman with a a switchblade.


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   ·1· · · ·A.· · What about that story?
   ·2· · · ·Q.· · Do you know how many of the stories that you
   ·3· ·reviewed were an incident of a violent crime along those
   ·4· ·lines?
   ·5· · · ·A.· · No, I do not.
   ·6· · · ·Q.· · Okay.· Do you know how many of the stories
   ·7· ·that you reviewed discussed a situation like that
   ·8· ·16-year-old who was just possessing a switchblade knife?
   ·9· · · ·A.· · I do not.
   10· · · ·Q.· · Do you have any idea what the relative numbers
   11· ·are between actual violent crimes involving a
   12· ·switchblade or just possession crimes involving --
   13· · · ·A.· · No.
   14· · · ·Q.· · -- switchblade --
   15· · · ·A.· · I did not engage in that level of analysis.
   16· · · · · · ·MR. WOODS:· Dr. Spitzer, make sure to let him
   17· ·finish the question.
   18· · · · · · ·THE WITNESS:· Oh, sorry.· Yes.· My apologies.
   19· · · · · · ·MR. DILLON:· Q.· So do you -- did you find any
   20· ·hard data or original source material that would provide
   21· ·verifiable conviction data regarding switchblade crimes?
   22· · · ·A.· · I don't know what you mean "verifiable
   23· ·conviction data."· What do you mean?
   24· · · ·Q.· · Well, did you review any source material that
   25· ·would be able to verify that an individual was actually


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   ·1· ·convicted of a crime involving a switchblade?
   ·2· · · ·A.· · No.· I did not engage in that sort of
   ·3· ·research.
   ·4· · · ·Q.· · Okay.· And, again, I'll direct you to Page 10,
   ·5· ·Paragraph 24.· Towards the end you state that "Public
   ·6· ·debate over how to address the problem also escalated."
   ·7· ·Correct?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · And this escalation of the public debate is
   10· ·seen through many news stories that you found in your
   11· ·search results?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · And how many of those stories were discussions
   14· ·of switchblade policy of potential legislation?
   15· · · ·A.· · I could not put a number on it.· But there
   16· ·were a notable number of such stories.
   17· · · ·Q.· · What do you mean notable?· Is that a majority
   18· ·of the stories?
   19· · · ·A.· · I could not put a number on that.
   20· · · ·Q.· · Okay.· Was it more than the number of unique
   21· ·incidences of switchblade crimes?
   22· · · ·A.· · I could not say.
   23· · · ·Q.· · Okay.· So from 1921 to 1939 of your search you
   24· ·couldn't tell me how many were discussions of
   25· ·switchblade policy?


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   ·1· · · ·A.· · I do not recall any stories.· Now, my memory
   ·2· ·is less than complete, but I do not recall any stories
   ·3· ·pertaining to the public policy surrounding switchblade
   ·4· ·knives in the 1920s and '30s.
   ·5· · · ·Q.· · How about from 1940 to 1945?
   ·6· · · ·A.· · It seems to me I recall, perhaps, a very small
   ·7· ·number of stories that -- during the World War II period
   ·8· ·that referenced discussions in state legislatures or
   ·9· ·city governments talking about, you know, should we
   10· ·reenact an anti-switchblade law of some kind.
   11· · · · · · ·I think those discussions began to appear --
   12· ·again, this is going off my memory of going through
   13· ·these articles.· I think they was a sprinkling during
   14· ·the World War II years.· Not many, but a few.
   15· · · ·Q.· · Okay.· So the number of stories that discussed
   16· ·the policy and potential legislation that would increase
   17· ·from 1946 to 1950?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · And, again, that would continue to increase
   20· ·from 1951 to 1955?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · And, again, say it increased from 1956 to
   23· ·1959?
   24· · · ·A.· · Yes.
   25· · · ·Q.· · Okay.· All right.· So I'm going to direct you


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   ·1· ·to Page 10 of your report.· In your Section B titled
   ·2· ·Switchblades, Juveniles and Crime, you rely on the
   ·3· ·source of Woman's Home Companion article titled "The Toy
   ·4· ·That Kills.
   ·5· · · · · · ·Is that correct?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Okay.· And this was a magazine article written
   ·8· ·by Jack Harrison Pollack?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · Okay.· And let's -- actually, sorry.· I'm
   11· ·going to go back to the shared screen again.
   12· · · · · · ·In Paragraph 26 you state "Unlike traditional
   13· ·pocket knives, switchblades' ease of opening and thin,
   14· ·sharp, pointed blade lent them to be used impulsively
   15· ·and lethally as stabbing and slashing instruments."
   16· · · · · · ·Do you see that?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · Okay.· What is the basis of that claim?
   19· · · ·A.· · Well, that's a paraphrase of the argument that
   20· ·Pollack makes in his article.
   21· · · ·Q.· · Okay.· So that's not your argument?
   22· · · ·A.· · No.
   23· · · ·Q.· · And did you verify, you know, Pollack's
   24· ·statement in any way?
   25· · · ·A.· · Well, as I just said, it's a paraphrase of the


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   ·1· ·argument that he makes in the article.· I read the
   ·2· ·article multiple times and, you know, I go -- in that
   ·3· ·same paragraph I go on to talk about what he has to say
   ·4· ·about switchblades.
   ·5· · · ·Q.· · Okay.· But specifically to this claim that he
   ·6· ·made in this article, did you verify the source of that
   ·7· ·claim?
   ·8· · · ·A.· · Well, he does that.· Again, this is all about
   ·9· ·his article.· His analysis, his reporting.· So I'm
   10· ·drawing on his article to answer the question what did
   11· ·he learn about switchblades during this period.· It was
   12· ·a widely cited article.· It appeared in a national
   13· ·magazine.· It was reprinted in quite a number of places
   14· ·as well.
   15· · · ·Q.· · Okay.· And do you know anything about Jack
   16· ·Harrison Pollack's background or experience or
   17· ·expertise?
   18· · · ·A.· · Oh, I just read a brief bio about him
   19· ·somewhere.· He was a reporter who reported on, you know,
   20· ·to topical issues of the day, not just on knives or
   21· ·crimes.
   22· · · ·Q.· · So you're not aware of him being like a knife
   23· ·designer or an expert on knives, are you?
   24· · · ·A.· · I do not know that.
   25· · · ·Q.· · Okay.· Do you have any knowledge or expertise


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   ·1· ·in the use of knives or the design of knives that would
   ·2· ·support the claim by Jack Pollack here?
   ·3· · · ·A.· · You're referring to the sentence that you read
   ·4· ·there just now?
   ·5· · · ·Q.· · Yeah.· Referring to the "Unlike traditional
   ·6· ·pocket knives, switchblades' ease of opening and thin,
   ·7· ·sharp, pointed blade lent them to be used impulsively
   ·8· ·and lethally as stabbing and slashing instruments."
   ·9· · · · · · ·Do you have any expertise on the use of
   10· ·knives?
   11· · · ·A.· · Do I personally?
   12· · · ·Q.· · Yes.
   13· · · ·A.· · Not with respect to switchblades, no.· With
   14· ·respect to other kinds of knives, yes.
   15· · · ·Q.· · Can you describe your expertise with other
   16· ·knives?
   17· · · ·A.· · Well, I guess it would fall into two
   18· ·categories.· One, is that since I was a boy I've always
   19· ·owned pocket knives like you would use in Boy Scouts.                       I
   20· ·was a Boy Scout.· And I have been the cook for my family
   21· ·ever since I was an adult.· And I use all kind of knives
   22· ·in the kitchen.
   23· · · ·Q.· · Okay.· Other than Mr. Pollack's claim here,
   24· ·did you have any basis to support the notion that
   25· ·their -- switchblades' ease of opening led them to be


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   ·1· ·used impulsively?
   ·2· · · ·A.· · Do I have personal knowledge of that
   ·3· ·assertion?· Is that what you're asking?
   ·4· · · ·Q.· · Yeah.
   ·5· · · ·A.· · Well, I have never owned a switchblade, so in
   ·6· ·that respect the answer is no.· But I certainly
   ·7· ·understand that a switchblade is easy to open.· That's
   ·8· ·the chief characteristic of a switchblade.
   ·9· · · ·Q.· · But you have no basis to say that the ease of
   10· ·opening lent them to be used impulsively and lethally?
   11· · · ·A.· · Well, based on criminology literature we know
   12· ·that ease of use facilitates use.· So the ease of
   13· ·pulling a trigger on a handgun, for example, facilitates
   14· ·its use by a person who has one and thinks its use is
   15· ·appropriate.· So if you --
   16· · · ·Q.· · But not criminally.· Is that correct?· Just
   17· ·use in general?
   18· · · ·A.· · Well, I would say criminal use and other kind
   19· ·of uses as well.· Not solely criminal.
   20· · · · · · ·The use of ease facilitates its use.· So I
   21· ·think it is an assertion that is supported by the
   22· ·criminology literature and the characteristics of
   23· ·switchblades.
   24· · · ·Q.· · Okay.· And what criminology literature are you
   25· ·referring to?


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   ·1· · · ·A.· · Well, there are many -- okay.· Well, okay.
   ·2· ·There is a criminologist named Phillip Cook.· He's at
   ·3· ·Duke University.· He's one of the most eminent
   ·4· ·criminologists in the county.· And he's written about --
   ·5· ·he's not the only one, but he's mentioned one source,
   ·6· ·has written about something called weapons
   ·7· ·instrumentality effect or the instrumentality effect,
   ·8· ·which references the relationship between the tool that
   ·9· ·a person has to do harm and the likelihood that harm
   10· ·will ensue.· And that principal endorses the logic of
   11· ·this sentence in Paragraph 26.
   12· · · ·Q.· · So the ease of use will cause them to be used
   13· ·impulsively?
   14· · · ·A.· · Will facilitate that impulsive use.
   15· · · ·Q.· · Okay.· And other than this Phillip Cook, do
   16· ·you have a specific article that references the
   17· ·impulsive use of switchblades?
   18· · · ·A.· · Well, some of this writing that is Pollack's
   19· ·article, some of the writing in the Senate Investigative
   20· ·Committee Report talks about police accounts of
   21· ·switchblade crimes and the rapidity with which things
   22· ·occur because of ease of deploying the knife because
   23· ·it's a long, thin -- tends to be a long, thin blade.
   24· · · · · · ·Obviously easier to pierce the surface with a
   25· ·long, thin, sharp blade than a blunter blade.· A steak


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   ·1· ·knife is sharper than a butter knife.· You could
   ·2· ·probably hurt a person with a butter knife, but a lot
   ·3· ·easier to do it with a steak knife because it has a
   ·4· ·sharp point on it end and it's a sharper blade.
   ·5· · · · · · ·So that principal, I think, is applicable to
   ·6· ·this description.
   ·7· · · ·Q.· · All right.· But the Pollack article and the
   ·8· ·references that you referred to in the Senate Report,
   ·9· ·those aren't criminology studies, are they?
   10· · · ·A.· · Well, Pollack is not -- was not a
   11· ·criminologist.· I believe he was a reporter.
   12· · · ·Q.· · Okay.
   13· · · ·A.· · But he's dealing in the realm of information
   14· ·about criminality.
   15· · · ·Q.· · Okay.· And Mr. Pollack's article was written
   16· ·in 1950.· Correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · And in Paragraph 26 here, it states "At the
   19· ·time switchblades were responsible for few a dozen
   20· ·children killed, somewhat more wounded."· Correct?
   21· · · · · · ·MR. WOODS:· Sorry, Counsel.· Where are you?
   22· · · · · · ·MR. DILLON:· Sorry.· It starts -- the
   23· ·paragraph starts with Page 10, but the specific quote I
   24· ·referenced goes onto Page 11.
   25· · · ·Q.· · It states "At the time switchblades were


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   ·1· ·responsible for a few dozen children killed, somewhat
   ·2· ·more wounded."· Correct?
   ·3· · · ·A.· · Yes.· This is the direct quote from Pollack's
   ·4· ·article.
   ·5· · · ·Q.· · Okay.· So Pollack is saying that up until 1950
   ·6· ·there are just a few dozen children killed, somewhat
   ·7· ·more wounded?
   ·8· · · ·A.· · That is what he is saying, yes.· That's what
   ·9· ·he wrote.
   10· · · ·Q.· · Okay.· Would you say that this claim supports
   11· ·or contradicts your Newspaper.com and New York Times
   12· ·analysis search regarding switchblade crimes?
   13· · · ·A.· · Well, it is common about a point in time.· My
   14· ·Newspaper.com newspaper account is across time.· And is
   15· ·most meaningful when across time.
   16· · · · · · ·So he's talking about a point in time that is
   17· ·up to this point.· So it's, I suppose, in the broadest
   18· ·sense consistent with.· But he's making a very specific
   19· ·comment at a very specific point in time.
   20· · · ·Q.· · And he's stating that relatively few children
   21· ·have been killed, somewhat have been wounded up until
   22· ·1950?
   23· · · ·A.· · That's when the article was published.· So I
   24· ·believe he means up to that present time, yes.
   25· · · ·Q.· · Okay.· So he's considering all the preceding


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   ·1· ·time before 1950?
   ·2· · · ·A.· · I do not know.
   ·3· · · ·Q.· · Is that how you would interpret that
   ·4· ·statement?
   ·5· · · ·A.· · Well, the best way to interpret it would be to
   ·6· ·go back to the article and see the full sentence and
   ·7· ·paragraph.· But he seems to be saying that, yeah -- I
   ·8· ·mean, this is my wording here -- up to that time, he's
   ·9· ·saying yes, that's -- that seems to be the gist of what
   10· ·he was saying in his article -- up to that point.· I'm
   11· ·assuming he did not go back to the 1920s.
   12· · · ·Q.· · Okay.· So, again, going to Page 11 here,
   13· ·Paragraph 27.· You describe Pollack's nationwide
   14· ·investigation.· Do you see that?· It's the first
   15· ·sentence in Paragraph 27 of Page 11.
   16· · · ·A.· · Yes.
   17· · · ·Q.· · You refer to Pollack's nationwide
   18· ·investigation.· Do you see that?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And can you describe what this nationwide
   21· ·investigation consisted of?
   22· · · ·A.· · Well, I cannot repeat for you here and now his
   23· ·methodology because he -- which he did discuss in the
   24· ·article.· But it included, as I say here, interviews
   25· ·with police and prosecutors, eyewitness accounts of


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   ·1· ·sales of switchblade knives to children.· I remember
   ·2· ·reading a couple of those accounts in his article.
   ·3· ·Examine police reports.· Accounts of switchblade
   ·4· ·stabbings.· And he said he witnessed a switchblade
   ·5· ·stabbing.· He reported that in his story.
   ·6· · · ·Q.· · Okay.· And you say -- so it states that this
   ·7· ·nationwide investigation included interviews with,
   ·8· ·quote, "police, prosecutors, eyewitness accounts,
   ·9· ·examination of police crime reports, and detailed
   10· ·accounts of several switchblade stabbings."· Correct?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · Okay.· Did you verify the statements made by
   13· ·the police, prosecutors referenced in this article?
   14· · · ·A.· · No.
   15· · · ·Q.· · Okay.· Do you know who the prosecutors were
   16· ·that provided statements to Mr. Pollack?
   17· · · ·A.· · If he mentioned any by name they would be in
   18· ·the article.· I do not recall --
   19· · · ·Q.· · If you didn't mention the name, they wouldn't
   20· ·be in the article?
   21· · · ·A.· · Say again.
   22· · · ·Q.· · So he described interviews with prosecutors,
   23· ·but he didn't include the name of the prosecutors.· Do
   24· ·you understand that to be true?
   25· · · ·A.· · That may be true.· My assumption is -- going


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   ·1· ·off my memory of having read this several months ago,
   ·2· ·that he did not name -- he certainly did not give the
   ·3· ·name of each and every individual that he talked to in
   ·4· ·researching the article.· That, however, is not unusual
   ·5· ·at all.
   ·6· · · ·Q.· · Okay.· But we have no way to verify the source
   ·7· ·of the information.· Is that correct?
   ·8· · · ·A.· · Well, the story appeared in 1950, so I'm not
   ·9· ·sure how one would do that in the year 2024.
   10· · · ·Q.· · Okay.· And in reference to the eyewitness
   11· ·accounts that he describes in his report, did you verify
   12· ·those?
   13· · · ·A.· · No.
   14· · · ·Q.· · Do you know who made them?
   15· · · ·A.· · Well, he said that he was a witness and that
   16· ·he talked to other people who were witness to or
   17· ·involved in switchblade crimes.
   18· · · ·Q.· · But you don't know who these other people are?
   19· · · ·A.· · I do not, unless he mentioned them by name.
   20· · · ·Q.· · Okay.· Did you verify the police crime records
   21· ·that Mr. Pollack references in his article?
   22· · · ·A.· · No.
   23· · · ·Q.· · Okay.
   24· · · · · · · · (Reporter requests recess.)
   25· · · · · · · · (Recess taken 11:17 a.m. - 11:28 a.m.)


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   ·1· · · · · · ·MR. DILLON:· Q.· All right.· So real quick.
   ·2· ·Let me direct you to Page 11, Paragraph 27.
   ·3· · · · · · ·When we spoke about this quote earlier, but I
   ·4· ·just want to confirm, you quote Pollack stating "I was
   ·5· ·stunned to find out how many crimes of violence revolve
   ·6· ·around a switchblade.· Most newspapers merely report a
   ·7· ·knife stabbing, neglecting to tell you a switchblade was
   ·8· ·a culprit."· Correct?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · Okay.· And we discussed the fact that we have
   11· ·no idea how to verify it.· Is that correct?
   12· · · · · · ·MR. WOODS:· Objection.· Misstates testimony.
   13· · · · · · ·MR. DILLON:· Q.· Earlier we discussed if the
   14· ·knife used wasn't identified, then how did Pollack know
   15· ·a switchblade was used.· Correct?
   16· · · ·A.· · Well, I'm relying on the basic veracity of his
   17· ·reporting.· And there is no reason not to believe that
   18· ·many -- a certain number of knife crimes occurred that
   19· ·did involve a switchblade, but where the use of a
   20· ·switchblade was not specifically reported as such.
   21· · · ·Q.· · But you didn't verify that comment, did you?
   22· · · ·A.· · Well, no, because I'm relying on the
   23· ·reporter's reporting.· I did not independently verify,
   24· ·no.
   25· · · ·Q.· · Is it fair to say that due to the fact that


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   ·1· ·this is an article written in a magazine from 1950, it
   ·2· ·would be nearly impossible to verify such a comment?
   ·3· · · ·A.· · Not necessarily.
   ·4· · · ·Q.· · How would you verify a comment like this?
   ·5· · · ·A.· · It would be possible to go back and do other
   ·6· ·research and confirm the fact that when police reported
   ·7· ·crimes or tabulated criminal information, did they
   ·8· ·include weapon use?· If so, did they mention a knife?
   ·9· ·If so, did they stipulate switchblades?
   10· · · · · · ·And you would probably find that in some
   11· ·instances they may have stipulated yes, a switchblade
   12· ·was involved.· In other instances, they would not have
   13· ·noted that information because they were not required to
   14· ·note that information.· It was not customarily tabulated
   15· ·in that way.· And that gets to Pollack's sort of basic
   16· ·point that I believe he's correct.· It makes perfect
   17· ·sense.
   18· · · ·Q.· · But -- so what you're relying on is an
   19· ·assumption that certain crimes that had a switchblade
   20· ·weren't identified in this report.· Correct?
   21· · · ·A.· · It is very likely.
   22· · · ·Q.· · Okay.· But you haven't done any of this
   23· ·verification, have you?
   24· · · ·A.· · No.
   25· · · ·Q.· · Okay.· So again in Paragraph 27 starting on


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   ·1· ·Line 15 it says "Among Pollack's interviewees was a
   ·2· ·homicide police captain in Cleveland who reported: 'Last
   ·3· ·year we had 169 stabbings, 140 of them with switchblade
   ·4· ·knives.'"
   ·5· · · · · · ·Do you see that?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Okay.· And did you confirm this quote
   ·8· ·regarding the number of stabbings that occurred?
   ·9· · · ·A.· · I did not, but I assume that the magazine
   10· ·editors did.
   11· · · ·Q.· · And so you didn't go and verify this
   12· ·independently?
   13· · · ·A.· · I did not.· No, indeed.
   14· · · ·Q.· · Do you know who made this claim?
   15· · · ·A.· · The author -- oh, well, he's reporting police
   16· ·captain in Cleveland.
   17· · · ·Q.· · Do you know who this police captain is?
   18· · · ·A.· · Unless he mentioned the police captain's name,
   19· ·no.
   20· · · ·Q.· · Okay.· Did Pollack attach or include any data
   21· ·or evidence or even police reports with this magazine
   22· ·article that would support his claims?
   23· · · ·A.· · No.· Nor would it have been appropriate for
   24· ·him to do so.
   25· · · ·Q.· · So is it fair to say this article is


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   ·1· ·unverifiable?
   ·2· · · ·A.· · No.
   ·3· · · ·Q.· · Okay.· How is it verifiable?
   ·4· · · ·A.· · Well, in two respects.· One, is that you're
   ·5· ·relying on the verification of the editors of the
   ·6· ·magazine because it's important to remember that a
   ·7· ·reputable publication bases it's reputation on the
   ·8· ·veracity of the information that it publishes.· That was
   ·9· ·true in 1950, just as it is true more recently.
   10· · · · · · ·And, secondly, it seems to me there probably
   11· ·would be ways to confirm the notion that sort general
   12· ·crime status takes from Cleveland in -- you know, in the
   13· ·1950s or 1949, 1950, where this data came from and
   14· ·whenever it was gathered by reporter Pollack.
   15· · · ·Q.· · Okay.· But you didn't verify it?
   16· · · ·A.· · No.
   17· · · ·Q.· · Okay.· So it's unverified?
   18· · · ·A.· · Unverified by me.
   19· · · ·Q.· · Okay.· And you relied on this unverified
   20· ·article in your expert report.· Right?
   21· · · ·A.· · Well, I think it's a mistake to call it an
   22· ·unverified article.· I relied on the article as one
   23· ·source of information judged by the fact that I quoted
   24· ·it and talked about in my report.
   25· · · ·Q.· · Have you found any evidence that would


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   ·1· ·specifically support the claim that this was a verified
   ·2· ·article and all the claims in it were verified?
   ·3· · · · · · ·MR. WOODS:· Objection.· Argumentative.
   ·4· · · · · · ·You can answer.
   ·5· · · · · · ·THE WITNESS:· Should I go ahead?
   ·6· · · · · · ·MR. WOODS:· Yes.· Yes.
   ·7· · · · · · ·THE WITNESS:· Understand, the article was
   ·8· ·published by a -- at the time, a reputable national
   ·9· ·magazine.· They have not only a professional obligation
   10· ·but a reputational interest in making sure that the
   11· ·stories that they publish are accurate and that the
   12· ·reporter is not making stuff up.· That is the job of an
   13· ·editor.
   14· · · · · · ·And editing is low visibility, but it's
   15· ·essential in respected publications like magazines and
   16· ·newspapers.
   17· · · · · · ·MR. DILLON:· Q.· So you're assuming that the
   18· ·editors verified these statements.· Correct?
   19· · · ·A.· · Yes, I am.
   20· · · ·Q.· · Okay.· So we have an article that has not been
   21· ·objectively verified.· Correct?
   22· · · · · · ·MR. WOODS:· Objection.· Argumentative.
   23· · · · · · ·You can answer.
   24· · · · · · ·THE WITNESS:· No.· No.· I don't think that's a
   25· ·fair statement.


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   ·1· · · · · · ·MR. DILLON:· Q.· Am I correct in saying that
   ·2· ·you testified that you're assuming the article was
   ·3· ·verified?
   ·4· · · ·A.· · I'm assuming that the editors did the job that
   ·5· ·they are hired and paid to do of this publication.
   ·6· · · ·Q.· · So you haven't confirmed that.· Correct?
   ·7· · · ·A.· · Independently by me, no.
   ·8· · · ·Q.· · Okay.· And then let's go down to Page 12 here,
   ·9· ·Paragraph 29.· It references a quote from a police chief
   10· ·of Patterson, New Jersey from 1952 stating "In the
   11· ·majority of knife assaults investigated by police, the
   12· ·weapon was used was a switchblade knife."· Correct?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · Okay.· And, again, you didn't verify this
   15· ·claim, did you?
   16· · · ·A.· · If you could scroll down to Footnote 22.
   17· ·Let's see.· No.· It was from a newspaper article
   18· ·reporting on what this police chief from Patterson,
   19· ·New Jersey said.
   20· · · ·Q.· · Okay.· And you didn't review the police
   21· ·reports in Patterson, New Jersey from 1952?
   22· · · ·A.· · No.· I would be astonished if they were still
   23· ·available.
   24· · · ·Q.· · Okay.· So this is coming from a news article
   25· ·titled "Switchblade Law Hailed by Walker."


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   ·1· · · · · · ·Is that correct?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · And you didn't verify the information
   ·4· ·contained in that article, did you?
   ·5· · · ·A.· · No.
   ·6· · · ·Q.· · Okay.· So, again, Page 12, Paragraph 29.· We
   ·7· ·have a statement from the New York Governor Thomas E.
   ·8· ·Dewey regarding 4,420 felonious assaults and 99
   ·9· ·homicides in New York City committed in 1953, over a
   10· ·third were committed by switchblades.
   11· · · · · · ·Do you see that?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · And did you verify this claim?
   14· · · ·A.· · No.· I accepted the word of Governor Thomas
   15· ·Dewey.
   16· · · ·Q.· · All right.· So on Page 12 you reference a
   17· ·Anti-Switchblade Act in the U.S. Senate investigation.
   18· · · · · · ·Do you recall that?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · I'm just going to ask you about it here.
   21· · · · · · ·And when was that Senate investigation
   22· ·conducted?
   23· · · ·A.· · I believe -- well, the law was passed in 1958.
   24· ·There were Senate investigations, I believe, in 1957 and
   25· ·'58.· And so the investigations by their staffs and


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   ·1· ·others -- I don't know when those actually began.                     I
   ·2· ·presume in 1957.
   ·3· · · ·Q.· · Okay.· So these claims are approximately 66
   ·4· ·years old?
   ·5· · · ·A.· · I think that's right.
   ·6· · · ·Q.· · Okay.· I'm off by a couple years; it's all
   ·7· ·right.
   ·8· · · ·A.· · Don't hold me to the math.
   ·9· · · ·Q.· · I'm a lawyer; not a mathematician.
   10· · · ·A.· · Ditto.
   11· · · ·Q.· · Sounds good.
   12· · · · · · ·So as a part of your report you didn't provide
   13· ·any crime data relating to switchblades from 1958 to
   14· ·2024, did you?
   15· · · ·A.· · I did not, no.
   16· · · ·Q.· · Okay.· You also didn't provide any crime data
   17· ·relating to knives in general from 1958 to 2024, did
   18· ·you?
   19· · · ·A.· · You mean knives used in crime?
   20· · · ·Q.· · Yes.
   21· · · ·A.· · No.
   22· · · ·Q.· · And going back to the Senate report.· You
   23· ·referenced "This report found that 1.2 million
   24· ·switchblades were sold in the country annually."
   25· · · · · · ·Is that correct?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · And in that same paragraph you reference the
   ·3· ·fact that the report also stated that 5 million had been
   ·4· ·sold in the previous five years.
   ·5· · · · · · ·Is that correct?
   ·6· · · ·A.· · I guess that's right if that's what it says,
   ·7· ·yes.
   ·8· · · ·Q.· · Here.· Let's pull this up just to confirm.
   ·9· · · · · · ·So I'm highlighting a section here on your
   10· ·report.· There we go.
   11· · · · · · ·Can you read that out loud for me?
   12· · · ·A.· · Yeah.· "It found that about 1.2 million
   13· ·switchblades were sold in the country annually,
   14· ·including 200,000 imported knives, and that 5 million
   15· ·had been sold in the previous five years 'principally to
   16· ·juveniles.'"
   17· · · · · · ·Those last three words were in quotes.
   18· · · ·Q.· · Okay.· Hold on one second here.
   19· · · · · · ·Okay.· Professor Spitzer, can you tell me what
   20· ·a Bowie knife is?
   21· · · ·A.· · Yes.· A Bowie knife is a knife developed in
   22· ·the late 1820s named after the adventurer Jim Bowie
   23· ·developed by his brother Rezin Bowie.· His name is
   24· ·spelled R-e-z-i-n but it's pronounced Reason.
   25· · · · · · ·And it was a long -- there are variations.


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   ·1· ·There was a long-bladed knife with a clipped end.· And,
   ·2· ·typically, Bowie knife is sharp -- the more modern
   ·3· ·iteration sharp on one side.· And they were widely used
   ·4· ·in fights, criminality, dual, and other types of
   ·5· ·activities back in the 19th century.
   ·6· · · ·Q.· · Okay.· Do you know if there is any legal
   ·7· ·definition of a Bowie knife?
   ·8· · · ·A.· · Virtually every state restricted Bowie knives
   ·9· ·in state law in the 19th century.· And I cannot say -- I
   10· ·mean, they referenced -- they generally tend to simply
   11· ·reference Bowie knives as Bowie knives, as though they
   12· ·were universally understood.· There are varying
   13· ·definitions, but knives being what they are, they can
   14· ·vary in size and configuration and things like that.
   15· · · ·Q.· · Okay.· Can you tell me what the -- what a
   16· ·fighting knife is?
   17· · · ·A.· · Yes.· A Bowie knife is type of fighting knife.
   18· ·A fighting knife is a long-bladed thin knife sharpened
   19· ·that was widely used and recognized as such as being
   20· ·used in interpersonal fights, in duals, in criminality.
   21· ·And it was generally distinguished from other types of
   22· ·knives that were shorter, that had wider blades.· And,
   23· ·obviously, there were lots and lots of kind of knives
   24· ·200 years ago, just as there are today.
   25· · · ·Q.· · Okay.· So do the characteristics of the knife


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   ·1· ·define it as a fighting knife or is it how it's used
   ·2· ·that defines it as a fighting knife?
   ·3· · · ·A.· · Well, it's sort of both, I believe.· Well, no,
   ·4· ·that's not correct.· Fighting knife by definition is a
   ·5· ·long, thin-bladed knife.
   ·6· · · ·Q.· · So would a kitchen knife be considered a
   ·7· ·fighting knife?
   ·8· · · ·A.· · No.
   ·9· · · ·Q.· · Isn't that a long, thin-bladed knife?
   10· · · ·A.· · I think not in the way a Bowie knife or a dirk
   11· ·or a dagger would be considered.· Blade not strong
   12· ·enough.· Point not sharp enough.· And the nature of the
   13· ·handle probably different too.
   14· · · · · · ·And, again, understanding that there are
   15· ·thousands of different types of knives of every variety,
   16· ·especially today.
   17· · · ·Q.· · Okay.· So you're stating that the type of
   18· ·metal and the sharpness of the point of the knife helps
   19· ·determine whether it's a fighting knife?
   20· · · ·A.· · I wouldn't say type of metal, no.· I mean, in
   21· ·the early 19th century metallurgy was more primitive
   22· ·than it is today, but --
   23· · · ·Q.· · Sorry.· I interrupted you.
   24· · · ·A.· · No.· No.
   25· · · · · · ·A fighting knife would need to be sturdy


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   ·1· ·enough to withstand the force of use in a way that it --
   ·2· ·I mean, if I pulled a kitchen carving knife out of the
   ·3· ·drawer and tried to pierce a dense object, that knife
   ·4· ·might well bend, for example, because it's not designed
   ·5· ·for thrusting.· It's designed for cutting.
   ·6· · · ·Q.· · Okay.· Is it fair to say that fighting knives
   ·7· ·is a pretty broad definition?
   ·8· · · ·A.· · It's a broad definition, yes.
   ·9· · · ·Q.· · And is it fair to say that a Bowie knife is a
   10· ·pretty broad definition?
   11· · · ·A.· · It's a subcategory within that.· And there
   12· ·tends to be some dispute about what is and is not a
   13· ·fighting knife.· Even -- a Bowie knife, I should say, in
   14· ·the context of the 19th century.· But all you have to do
   15· ·is look at the legislative enactments of almost every
   16· ·state in a few court cases and it becomes pretty clear
   17· ·they knew what they were talking about the 19th century
   18· ·when they said "Bowie knife."
   19· · · ·Q.· · Okay.· So in your report you reference the
   20· ·1840 case -- and I'm going to butcher the name, I'm
   21· ·sure -- but Aymette v State.· Is that correct?
   22· · · ·A.· · Aymette.· Yeah.
   23· · · ·Q.· · Aymette.· Okay.
   24· · · · · · ·So you're familiar with this court case?
   25· · · ·A.· · Yeah.


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   ·1· · · ·Q.· · Okay.· And in this case the defendant was
   ·2· ·convicted of wearing a Bowie knife concealed under his
   ·3· ·clothes as a violation of state law.
   ·4· · · · · · ·Is that correct?
   ·5· · · ·A.· · Yes.
   ·6· · · ·Q.· · Can you see Paragraph 39 up here?
   ·7· · · ·A.· · Yes, sir.
   ·8· · · ·Q.· · Okay.· So starting on page -- or sorry --
   ·9· ·Line 6.· Can you read what the law of Tennessee was at
   10· ·that time?
   11· · · ·A.· · Yes, from 1837.· "If any person shall wear any
   12· ·Bowie knife or Arkansas toothpick or other knife or
   13· ·weapon that shall in form, shape or size resemble a
   14· ·Bowie knife or Arkansas toothpick" -- which was a very
   15· ·similar type of knife -- "under his clothes or keep the
   16· ·same concealed about his person, such persons shall be
   17· ·guilty of a misdemeanor and upon conviction thereof,
   18· ·shall be fined in the sum not less than $200 and shall
   19· ·be imprisoned in the county jail not less than three
   20· ·months and not more than six months."
   21· · · ·Q.· · So that law doesn't prohibit the possession of
   22· ·Bowie knives, does it?
   23· · · ·A.· · That is correct.
   24· · · ·Q.· · And that law doesn't prohibit the sale of
   25· ·Bowie knives?


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   ·1· · · ·A.· · Yes.· That's right.
   ·2· · · ·Q.· · And that law doesn't prohibit the purchase of
   ·3· ·Bowie knives in Tennessee.· Is that correct?
   ·4· · · ·A.· · That's right.
   ·5· · · ·Q.· · And that law doesn't prohibit the importation
   ·6· ·of Bowie knives?
   ·7· · · ·A.· · That's right.
   ·8· · · · · · ·Although, I should add parenthetically that
   ·9· ·it's possible other provisions of that law may have
   10· ·referenced some of the things you just mentioned.· So I
   11· ·wouldn't want to say with certainty that it didn't do
   12· ·these things without seeing the full text of the law.
   13· ·Because sometimes you would have a law like that and
   14· ·there would be other sections later on that may have
   15· ·regulated those things.
   16· · · · · · ·To my recollection, they do not include those
   17· ·regulatory devices.
   18· · · ·Q.· · And is it fair to say that if there were laws
   19· ·that prohibited -- you know, for example, the possession
   20· ·purchase of Bowie knives at that time, you would also be
   21· ·under criminal conviction for those statutes as well?
   22· · · · · · ·MR. WOODS:· Objection.· Vague.
   23· · · · · · ·You can answer.
   24· · · · · · ·THE WITNESS:· Well -- well, criminal penalties
   25· ·customarily accompany violations, if that's what you're


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   ·1· ·getting at.
   ·2· · · · · · ·MR. DILLON:· Yeah.
   ·3· · · ·Q.· · So in Tennessee at this time you could not
   ·4· ·carry a Bowie knife concealed.· And the defendant in
   ·5· ·this case was being convicted and charged with carrying
   ·6· ·a Bowie knife concealed.· Correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · Do you think it would be a reasonable
   ·9· ·assumption that if -- just possessing a Bowie knife was
   10· ·under a separate prohibition in Tennessee during that
   11· ·time, he would also be charged with that crime?
   12· · · · · · ·MR. WOODS:· Objection.· Calls for speculation.
   13· · · · · · ·You can answer.
   14· · · · · · ·THE WITNESS:· Well, I think the answer is yes.
   15· ·Because if you're carrying it concealed; you're also in
   16· ·possession by definition.
   17· · · · · · ·MR. DILLON:· Q.· Okay.· Again, in that case
   18· ·the defendant wasn't being prohibited for open carrying
   19· ·the Bowie knife.
   20· · · · · · ·Is that correct?
   21· · · ·A.· · That's right.
   22· · · ·Q.· · And just to clarify what I mean "open
   23· ·carrying," I'm referring to wearing any Bowie knife or
   24· ·any weapon on your belt or where it's visible or can be
   25· ·plainly seen.


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   ·1· · · · · · ·Do you understand that?
   ·2· · · ·A.· · Yes, I do.
   ·3· · · · · · ·That's right.· In other words, if he displayed
   ·4· ·it openly, presumably you would not have run afoul of
   ·5· ·the Tennessee law in 1840.
   ·6· · · ·Q.· · Okay.· So, again, under this case there is no
   ·7· ·law prohibiting the ownership of a Bowie knife.
   ·8· ·Correct?
   ·9· · · ·A.· · Not that I know of.
   10· · · ·Q.· · So, again, in Aymette v State, the court was
   11· ·only dealing with a law that prohibited the concealed
   12· ·carry component.· Correct?
   13· · · ·A.· · It was a concealed carrying case, yes.
   14· · · · · · ·MR. DILLON:· Okay.· I'm going to now introduce
   15· ·another exhibit here.· This would be Plaintiff's
   16· ·Exhibit 4.· Pull this up.
   17· · · · · · · · (Exhibit 4 was premarked and identified
   18· · · · · · · · ·during the proceeding.)
   19· · · · · · · · (Mr. Dillon screen shares Exhibit 4.)
   20· · · · · · ·MR. DILLON:· Q.· Okay.· The document I have in
   21· ·front of you on screen is a copy of the court case --
   22· ·the Supreme Court case, District of Columbia v Heller
   23· ·with the citation 554 U.S. 570 from 2008.
   24· · · ·Q.· · Do you see that?
   25· · · ·A.· · Yes, I do.


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   ·1· · · ·Q.· · Okay.· Are you familiar with this case?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · Okay.· So while I move stuff around -- I want
   ·4· ·to -- so I scrolled down to Page 15 of the District of
   ·5· ·Columbia v Heller decision.
   ·6· · · · · · ·Can you see that?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · All right.· And there is a section here that's
   ·9· ·highlighted.· Do you see that highlighted section?
   10· · · ·A.· · Yes, I do.
   11· · · ·Q.· · Can you read the first two sentences of the
   12· ·highlighted paragraph?
   13· · · ·A.· · Okay.· "Those who believe that the Second
   14· ·Amendment preserves only a militia-centered right place
   15· ·great reliance on the Tennessee Supreme Court's 1840
   16· ·decision in Aymette v State, the case does not stand for
   17· ·that broad proposition; in fact, the case does not
   18· ·mention the word 'militia' at all, except in its quoting
   19· ·of the Second Amendment."
   20· · · ·Q.· · ·Okay.· I want you to just come down.· I'm
   21· ·going to actually highlight this section here.
   22· · · · · · ·Can you read the highlighted portion here that
   23· ·continues onto the next page?
   24· · · ·A.· · Yes.· "This odd reading of the right is, to be
   25· ·sure, not the one we adopt -- but it is not petitioners'


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   ·1· ·reading either.· More importantly, seven years earlier
   ·2· ·the Tennessee Supreme Court had treated the state
   ·3· ·constitutional provision as conferring a right 'to all
   ·4· ·the free citizens of the state to keep and bear arms for
   ·5· ·their defence'; and 21 years later the court held that
   ·6· ·the 'keep' portion of the state constitutional right
   ·7· ·included the right to personal self-defense."
   ·8· · · ·Q.· · Can you keep going, please?
   ·9· · · ·A.· · Oh.· "The right to keep arms involves,
   10· ·necessarily, the right to use such arms for all the
   11· ·ordinary purposes, and in all the ordinary modes usual
   12· ·in the country, and to which arms are adapted, limited
   13· ·by the duties of a good citizen in times of peace."
   14· · · ·Q.· · You don't need to refer to the internal cite
   15· ·there, but thank you for reading that.
   16· · · ·A.· · Sure.
   17· · · ·Q.· · You also go on to reference in your report a
   18· ·case Haynes v Tennessee.
   19· · · · · · ·Is that correct?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · Okay.· And that case -- the Steven Haynes, he
   22· ·was indicted for carrying a concealed Bowie knife.
   23· · · · · · ·Is that correct?
   24· · · ·A.· · I think so.· I would have to double check, but
   25· ·I'm sure you're right.


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   ·1· · · ·Q.· · Okay.· Again, like the Aymette case, he wasn't
   ·2· ·convicted for merely possessing a Bowie knife, was he?
   ·3· · · ·A.· · I believe not.
   ·4· · · ·Q.· · Okay.· And to your understanding he wasn't
   ·5· ·convicted for purchasing a Bowie knife, was he?
   ·6· · · ·A.· · I don't recall.· Again, I would need to
   ·7· ·actually go back and look at the case to make sure that
   ·8· ·provisions of the law that were applicable.
   ·9· · · ·Q.· · Okay.· To your knowledge and from what you
   10· ·remember, he wasn't convicted for openly carrying Bowie
   11· ·knife, was he?
   12· · · ·A.· · I do not believe so.· I would have to double
   13· ·check.· I take your word for it.
   14· · · ·Q.· · Okay.· I'm also going to refer -- reference
   15· ·another state that's called Cockrum V State of Texas.
   16· · · · · · ·Do you recall that case?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · And this was a case that discussed the added
   19· ·penalty provision for committing manslaughter; if it was
   20· ·committed with a Bowie knife, that would be deemed a
   21· ·murder.
   22· · · · · · ·Do you recall that?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Okay.· So I'm going to pull up your report
   25· ·here.


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   ·1· · · · · · ·Can you read in Paragraph 41 -- let's see.
   ·2· ·Can you read line -- we'll start at 11, Line 11.
   ·3· · · ·A.· · Okay.· Start with the word "It"?
   ·4· · · ·Q.· · Yes.
   ·5· · · ·A.· · Let's see.· "It described" -- meaning the
   ·6· ·court, I believe -- "It described the Bowie knife as 'an
   ·7· ·exceeded destructive weapon' an 'instrument of almost
   ·8· ·certain death' and 'the most deadly of all weapons in
   ·9· ·common use.'"
   10· · · ·Q.· · Okay.· And that's a reference to the court in
   11· ·decision Cockrum v State?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · Okay.· So in Cockrum v State, the court stated
   14· ·that Bowie knives were common use?
   15· · · ·A.· · Used the phrase common use?
   16· · · ·Q.· · I'll pull it up again.
   17· · · ·A.· · I'm sorry.
   18· · · ·Q.· · So at the -- on Line 13 you use quotes when
   19· ·you said "The most deadly of all weapons in common use."
   20· ·Correct?
   21· · · ·A.· · I see.· Yeah.· It does use the phrase "common
   22· ·use."· Yeah, circulating in society, yes.
   23· · · ·Q.· · And that is the court stating that.· Correct?
   24· ·You're quoting the court?
   25· · · ·A.· · Yes.


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   ·1· · · ·Q.· · Okay.· And in the Cockrum case, there wasn't a
   ·2· ·prohibition of purchasing Bowie knives.· Correct?
   ·3· · · ·A.· · Correct.
   ·4· · · ·Q.· · And there was no prohibition on transferring
   ·5· ·or selling Bowie knives?
   ·6· · · ·A.· · I believe that is right.
   ·7· · · ·Q.· · And there was no prohibition of owning or
   ·8· ·possessing Bowie knives.· Correct?
   ·9· · · ·A.· · That's right.
   10· · · ·Q.· · And there was also no reference to a
   11· ·prohibition on carrying Bowie knives either openly or
   12· ·concealed.· Correct?
   13· · · ·A.· · I think that's right.
   14· · · ·Q.· · Okay.
   15· · · ·A.· · I believe the law was solely confined to the
   16· ·enhanced penalty if you use a Bowie knife in a crime.
   17· · · ·Q.· · Okay.· So even with the court describing a
   18· ·Bowie knife as an exceedingly destructive weapon, that
   19· ·case -- or state of Texas appears to prohibit the
   20· ·possession of it.· Correct?
   21· · · ·A.· · Oh, the case did not.· But that's not what the
   22· ·case was about.
   23· · · ·Q.· · Okay.· But under the case, merely discuss
   24· ·the -- the statute that if one unlawfully committed a
   25· ·homicide with a Bowie knife, that person would be tried


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   ·1· ·for murder.· Correct?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · Okay.· I'm going to pull up your report again
   ·4· ·and ask you to read Paragraph 42.
   ·5· · · ·A.· · "All of these cases underscore historical
   ·6· ·courts' recognition of the dangerous nature and
   ·7· ·nefarious use of Bowie knives, not only by the courts'
   ·8· ·characterizations of them, but by the fact that they are
   ·9· ·treated in the same restrictive and prohibitory manner
   10· ·in law as other dangerous, deadly weapons, including
   11· ·pistols and various named clubs."
   12· · · ·Q.· · Okay.· So when considering the various
   13· ·historical laws, arms' regulations or Bowie knife
   14· ·regulations, you state that these Bowie knives are
   15· ·regulated in the same restrictive and prohibitive manner
   16· ·in law as pistols.
   17· · · · · · ·Is that correct?
   18· · · ·A.· · Yes.· Including -- yes, and clubs.
   19· · · ·Q.· · Okay.· And, again, you know, we referenced the
   20· ·court case of District of Columbia v Heller.
   21· · · · · · ·Do you recall that case?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · And are you generally aware of the decision of
   24· ·that case -- what the court concluded?
   25· · · ·A.· · Yes.


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   ·1· · · · · · ·MR. WOODS:· Objection to the extent that it's
   ·2· ·beyond the scope.
   ·3· · · · · · ·You can answer.
   ·4· · · · · · ·MR. DILLON:· Q.· Okay.
   ·5· · · ·A.· · I'm generally aware of the ruling of the
   ·6· ·court.
   ·7· · · ·Q.· · And the court in Heller decided that the
   ·8· ·District of Columbia could not ban the possession of
   ·9· ·handguns.
   10· · · · · · ·Is that correct?
   11· · · ·A.· · Yes.· Of working handguns.
   12· · · ·Q.· · And they say you can't ban the possession of
   13· ·working handguns in that decision?
   14· · · ·A.· · Well, you could own -- under old DC law, you
   15· ·could own a gun if it was not working.· If you
   16· ·disassembled it, for example.
   17· · · · · · ·Part of the court's example is it's not really
   18· ·useful as a weapon if you've taken the weapon apart and
   19· ·you want --
   20· · · ·Q.· · Did the court invalidate that law?
   21· · · ·A.· · The DC law, yeah, I believe it did.
   22· · · ·Q.· · Okay.· So do you believe that as Bowie knives
   23· ·were treated under the law the same as pistols that you
   24· ·could ban Bowie knives?
   25· · · · · · ·MR. WOODS:· Objection to the extent that it's


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   ·1· ·beyond the scope.
   ·2· · · · · · ·You can answer if you can.
   ·3· · · ·A.· · Well -- could you ask me that again, please?
   ·4· · · ·Q.· · So you state that Bowie knives were treated
   ·5· ·under the law the same as pistols, looking back over the
   ·6· ·various arms' regulations in our country's history.
   ·7· ·Correct?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · Okay.· And then we're aware that the Supreme
   10· ·Court has stated that you cannot ban possession of
   11· ·handguns.· Correct?
   12· · · ·A.· · Well, it said you had a right to own a handgun
   13· ·for personal protection in a home.
   14· · · ·Q.· · And the DC law that prohibited possession of
   15· ·handguns was invalidated.· Correct?
   16· · · ·A.· · I believe it was, yes.
   17· · · ·Q.· · Okay.· So based off of that, your knowledge of
   18· ·those two facts, is it your opinion that Bowie knives
   19· ·can be prohibited -- the possession of Bowie knives can
   20· ·be prohibited?
   21· · · · · · ·MR. WOODS:· Objection to the extent it's
   22· ·beyond the scope.
   23· · · · · · ·You can answer if you can.
   24· · · · · · ·THE WITNESS:· Yeah.· I would be reluctant to
   25· ·crawl into the minds of the Supreme Court justices and


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   ·1· ·I'm not a lawyer.· But I -- there -- under Heller it's
   ·2· ·clear that certain types of weapons can be subject to
   ·3· ·prohibition.
   ·4· · · · · · ·For example, the court said that military
   ·5· ·style weapons could be, you know, barred from civilian
   ·6· ·use.· So if there was an argument to be made -- a public
   ·7· ·policy argument to be made about other types of weapons
   ·8· ·with respect to imposing a similar prohibition, I think,
   ·9· ·yes, you could formulate an argument depending on the
   10· ·dangers in society and the needs of public policy, that
   11· ·there could be circumstances where, yes, you could
   12· ·restrict or even bar certain types of weapons.
   13· · · · · · ·MR. DILLON:· Q.· So I asked about barring the
   14· ·possession of a Bowie knife.
   15· · · · · · ·What is your opinion?
   16· · · · · · ·MR. WOODS:· Same objection.· Beyond the scope.
   17· · · · · · ·You can answer.
   18· · · · · · ·THE WITNESS:· Well --
   19· · · · · · ·MR. DILLON:· I'm just looking for your
   20· ·opinion.· I don't want what the court can or can't do or
   21· ·their interpretation.
   22· · · · · · ·MR. WOODS:· Same objection.
   23· · · · · · ·You can answer.
   24· · · · · · ·THE WITNESS:· In the context of the 19th
   25· ·century, which is when Bowie knives were a major


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   ·1· ·problem, I think the sum total of public policy making
   ·2· ·in the 19th century would answer that as yes.
   ·3· · · · · · ·MR. DILLON:· Q.· Even though Bowie knives were
   ·4· ·treated the same as pistols?
   ·5· · · ·A.· · Well, understand, when I -- I don't -- the
   ·6· ·saying doesn't mean identical.· That is to say, when you
   ·7· ·look at the state laws of the 19th century and they were
   ·8· ·trying to restrict the painful consequences of
   ·9· ·interpersonal weapons, specifically pistols, fighting
   10· ·knives, clubs.
   11· · · · · · ·And when they wrote their laws, they
   12· ·typically -- not in every instance, but in almost every
   13· ·instance, they typically listed those weapons in the
   14· ·same category.· So anti-carry provisions or even
   15· ·open-carry sometimes or sales restrictions or other
   16· ·things.
   17· · · · · · ·So when they were making the policy in the
   18· ·19th century, they were putting those things together.
   19· ·I don't mean to say that they are identical in every
   20· ·respect.· Obviously, a knife is dangerous but less
   21· ·dangerous than a pistol.
   22· · · · · · ·And handguns in the 19th century were less
   23· ·lethal and far less reliable, especially in the early
   24· ·19th century than the handgun of today.· So technology
   25· ·has changed.· Threats to public safety changed.· So all


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   ·1· ·of those factors are in play in making public policy.
   ·2· ·And then by extension, sculpting constitutional law.
   ·3· · · · · · ·MR. DILLON:· Q.· And you state in your report
   ·4· ·in Paragraph 42 -- I'm quoting -- "The fact that they
   ·5· ·are treated in the same restrictive and prohibitory
   ·6· ·manner in law as other dangerous, deadly weapons,
   ·7· ·including pistols and various clubs."
   ·8· · · · · · ·Is that correct?
   ·9· · · ·A.· · That is a quote, yes.
   10· · · ·Q.· · Okay.· And just a second ago you mentioned
   11· ·that knives are less dangerous than a pistol.
   12· · · · · · ·Is that correct?
   13· · · ·A.· · In the -- in the current year, yes.
   14· · · ·Q.· · Okay.· And that would include -- when you say
   15· ·"knives" that's a Bowie knife, pocket knife, switchblade
   16· ·knife -- does that include all that when you say
   17· ·"knives"?
   18· · · ·A.· · No.· And, in fact, in the 19th century they
   19· ·often specifically carved out exceptions for pocket
   20· ·knives.· And it would specifically say "Excepting pocket
   21· ·knives."· You know like a -- you know, like a Boy
   22· ·Scout's pocket knife, if you will.
   23· · · ·Q.· · Okay.· So pocket knives were explicitly
   24· ·exempted from a lot of these Bowie knife regulations or
   25· ·knife regulations?


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   ·1· · · ·A.· · That is right.· Not in every instance, but in
   ·2· ·many instances, yes.
   ·3· · · ·Q.· · Okay.· Do you have an estimate of how many
   ·4· ·times there is a carve out for pocket knives?
   ·5· · · ·A.· · I did not do a tabulation of that.· It would
   ·6· ·be possible to do.· But it was a non-trivial number.
   ·7· · · ·Q.· · Okay.· And, again, I just want to go back to
   ·8· ·this.· So -- I want to confirm.
   ·9· · · · · · ·You state that knives are less dangerous than
   10· ·pistols.· Correct?
   11· · · ·A.· · Depends on the time period.· If it's 1830 --
   12· · · ·Q.· · I'm talking about right now present time, are
   13· ·knives less dangerous than pistols?
   14· · · ·A.· · In present day, handgun far more dangerous
   15· ·than a knife.
   16· · · ·Q.· · Okay.· Thank you.
   17· · · · · · ·So on Paragraph 4 on Page 20 here you state
   18· ·that "In the 1830s, at least six states enacted laws
   19· ·barring the carrying of Bowie knives by name."
   20· · · · · · ·Is that correct?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · And when you say they barred the carrying of
   23· ·Bowie knives, is that they ban both the open carry and
   24· ·the concealed carry of Bowie knives?
   25· · · ·A.· · I believe that at least one of those laws was


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   ·1· ·any carrying.· I would have to look at them again.· They
   ·2· ·are mostly concealed carry at this point.
   ·3· · · · · · ·But I do have a table that summarizes the
   ·4· ·laws, the states, the years.
   ·5· · · ·Q.· · Yeah.· We'll get to that table.· So I'm just
   ·6· ·trying to narrow this down.
   ·7· · · · · · ·You say that "At least six states enacted laws
   ·8· ·barring the carrying of Bowie knives."· And just a
   ·9· ·second ago you testified that most of those are
   10· ·concealed carrying restrictions?
   11· · · ·A.· · Of the six, you mean, from the 1830s?
   12· · · ·Q.· · Yes.
   13· · · ·A.· · I think that's right.· Yeah.· I would have to
   14· ·double check, but I think that's right.
   15· · · ·Q.· · So is it fair to say that these six states,
   16· ·they weren't outright bans on all form of carrying.
   17· ·Correct?
   18· · · ·A.· · I believe that's right.
   19· · · ·Q.· · Okay.· Now, off the top of your head do you
   20· ·know which states you're referring to here specifically?
   21· · · ·A.· · No, not off the top of my head.
   22· · · ·Q.· · All right.· And I know you have your Exhibit A
   23· ·attached to your report and we can get to that.· I just
   24· ·wanted to clarify.
   25· · · ·A.· · Sure.


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   ·1· · · ·Q.· · Again, on Page 20 within Paragraph 43 you have
   ·2· ·a Footnote 68.· And it's listed at the bottom of
   ·3· ·Page 20.
   ·4· · · · · · ·And it states "A seventh state, Massachusetts,
   ·5· ·criminalized the carrying of fighting knives using the
   ·6· ·labels that would have included the Bowie knife in an
   ·7· ·1836 law."
   ·8· · · · · · ·Is that correct?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · Now, you state that it criminalized the
   11· ·carrying of fighting knives.
   12· · · · · · ·Was that a broad carry restriction, both open
   13· ·and concealed carry?
   14· · · ·A.· · With respect to the Massachusetts law, do you
   15· ·mean?
   16· · · ·Q.· · Yes.
   17· · · ·A.· · I'd have to go back and look at the law.
   18· · · ·Q.· · Okay.· So we're talking about Bowie knives, so
   19· ·I'm going to scroll up here.
   20· · · · · · ·This is your Exhibit B, Bowie Knife Laws By
   21· ·Type.· Correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · All right.· And if I --
   24· · · ·A.· · Oh.
   25· · · ·Q.· · -- look down here, I don't see anything listed


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   ·1· ·for Massachusetts.
   ·2· · · ·A.· · Yeah.· It's --
   ·3· · · ·Q.· · Maybe -- do you know what?· If we go down do
   ·4· ·Exhibit C, you have your Dangerous Weapons Restrictions
   ·5· ·Years of Enactment.· I'll scroll down to Page 3 of your
   ·6· ·Exhibit C and there is Massachusetts.· And it lists a
   ·7· ·law 1836.
   ·8· · · · · · ·Do you see that?
   ·9· · · ·A.· · Yeah.
   10· · · ·Q.· · And that's under Bowie knife?
   11· · · ·A.· · Yeah.
   12· · · ·Q.· · Okay.· So you just -- I'm going to say
   13· ·probably a typo, put that under this exhibit is --
   14· ·didn't put it in under Exhibit B.
   15· · · · · · ·Is that correct?
   16· · · ·A.· · Sorry.· What is Exhibit B?
   17· · · ·Q.· · Exhibit B would be your chart describing Bowie
   18· ·knives.· Is that correct?
   19· · · ·A.· · Yeah.· Well, no, because Exhibit B is laws
   20· ·that mention Bowie knives by name.· The Massachusetts
   21· ·law did not mention Bowie knives by name, but it did
   22· ·talk about fighting knives, clearly contemplating
   23· ·including Bowie knives.· So that's why --
   24· · · · · · · · (Simultaneous speaking.)
   25· · · · · · ·MR. DILLON:· Okay.· Thank you.


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   ·1· · · · · · ·So I'm going to jump down.· I see -- you know,
   ·2· ·scrolling.· Down I think this is your Exhibit D.
   ·3· · · ·Q.· · You list a number of states along with
   ·4· ·references to various laws throughout this country's
   ·5· ·history.
   ·6· · · · · · ·Is that correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · All right.· So I'm going to scroll down here
   ·9· ·and I'm seeing 1749, 1814.· I'm trying to find the 1836
   10· ·law.
   11· · · ·A.· · Yep.
   12· · · ·Q.· · Is this the 1836 law that you were referring
   13· ·to --
   14· · · ·A.· · I believe it is.
   15· · · ·Q.· · -- Footnote 68 on Page 20.
   16· · · ·A.· · Yes.· Yes.
   17· · · ·Q.· · It is.· Okay.
   18· · · · · · ·Can you read the highlighted text here for me?
   19· · · ·A.· · "If any person shall go armed with a dirk,
   20· ·dagger, sword, pistol or other offensive and dangerous
   21· ·weapon, without reasonable cause to fear an assault or
   22· ·other injury or violence to his person or to his family
   23· ·or property, he may on complaint of any person having
   24· ·reasonable cause to fear an injury or breach of the
   25· ·peace be required to find sureties for keeping the


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   ·1· ·peace, for a term not exceeding six months with the
   ·2· ·right of appealing as before provided."
   ·3· · · ·Q.· · Now, would you describe that law as a
   ·4· ·prohibition on the carrying of the listed weapons, both
   ·5· ·open and concealed?
   ·6· · · ·A.· · I would say not prohibition.· I would say it
   ·7· ·is a restriction or regulation, that is --
   ·8· · · ·Q.· · Okay.
   ·9· · · ·A.· · -- if you want to carry any of these weapons,
   10· ·and here that wording at the start, I believe, is clear,
   11· ·would include a Bowie knife.
   12· · · · · · ·If you have fear that you're going to be
   13· ·attacked, let's say.· And then you can point a surety,
   14· ·sort of like a bond, for keeping the peace as it says,
   15· ·for six months, which you would lose in case you violate
   16· ·the terms of the agreement or the law with respect to
   17· ·Massachusetts.
   18· · · ·Q.· · Okay.· And under this provision you would be
   19· ·required to pay -- or to find that surety after there
   20· ·was a complaint of a person having reasonable cause to
   21· ·fear an injury or breach of peace.
   22· · · · · · ·Is that correct?
   23· · · ·A.· · If there was a complaint, yes.
   24· · · ·Q.· · Okay.· So it would be reasonable to describe
   25· ·this as a surety law?


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   ·1· · · ·A.· · It is, indeed, a surety law.· That is correct.
   ·2· ·And it covered both concealed and open carry since it
   ·3· ·doesn't stipulate.· It simple says "Shall go on."
   ·4· · · ·Q.· · Is it fair to say that, you know, if I'm in
   ·5· ·1836, you know, Massachusetts and I had a reasonable
   ·6· ·cause to carry any of these weapons, and there was no
   ·7· ·complaint filed against me, I would have no problem
   ·8· ·carrying these weapons?
   ·9· · · · · · ·MR. WOODS:· Objection.· Calls for speculation.
   10· · · · · · ·You can answer.
   11· · · · · · ·THE WITNESS:· Well, I think that is what the
   12· ·law would contemplate, yes.
   13· · · · · · ·MR. DILLON:· Q.· Okay.· So, again, going
   14· ·back -- let's see -- to Page 20 here of your report.
   15· ·You talk about the six states that bar the carrying of
   16· ·Bowie knives.
   17· · · · · · ·Are these six other laws or five other laws
   18· ·that you're referring to other than the 1836
   19· ·Massachusetts law, are they similar to the surety law
   20· ·here or are they broad restrictions on carrying?
   21· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   22· · · · · · ·You can answer if you can.· Go ahead.
   23· · · · · · ·THE WITNESS:· I would need to go back and look
   24· ·at the actual laws to examine the provisions.
   25· · · · · · ·MR. DILLON:· Q.· Okay.· And, again, going back


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   ·1· ·to that 1836 Massachusetts law.· Did it prohibit the
   ·2· ·purchase of any type of knife?
   ·3· · · ·A.· · No.· No.· At least not in the provision we
   ·4· ·saw, no.
   ·5· · · ·Q.· · And under that provision it didn't ban the
   ·6· ·possession of any type kind of knife or weapon, did it?
   ·7· · · ·A.· · The possession of what?
   ·8· · · ·Q.· · Of any kind of knife or bladed weapon.
   ·9· · · ·A.· · I do not believe so.
   10· · · ·Q.· · Okay.· All right.· I'm going to direct you to
   11· ·Paragraph 43.
   12· · · · · · ·You state that "From then to the start of the
   13· ·twentieth century, every state plus the District of
   14· ·Columbia restricted Bowie knives; a total of at least 42
   15· ·states, (including the District of Columbia) barred or
   16· ·restricted Bowie knives by name; and another 8 states
   17· ·enacted laws restricting the category or type of knife
   18· ·embodied by the Bowie knife, but without mentioning them
   19· ·by name, totaling 49 states plus the District of
   20· ·Columbia."· Correct?
   21· · · ·A.· · Yes.· Although there is error in there.
   22· · · ·Q.· · What is the error?
   23· · · ·A.· · New Hampshire did have a similar law.                   I
   24· ·discovered it after I wrote this document.
   25· · · ·Q.· · And when you say similar law, what type of law


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   ·1· ·did New Hampshire have?
   ·2· · · ·A.· · It was pertaining to restrictions on concealed
   ·3· ·carrying of various types of weapons.· And I believe it
   ·4· ·included knives as well.· I don't have the text in front
   ·5· ·of me, but I actually -- I eventually found the New
   ·6· ·Hampshire law too so...
   ·7· · · ·Q.· · Okay.· So when you say "barred" or
   ·8· ·"restricted," what do you mean by that in Paragraph 43?
   ·9· · · ·A.· · Well -- well, barred or restricted -- imposed
   10· ·various types of restrictions.· Barring carrying,
   11· ·barring open carrying, barring concealed carrying,
   12· ·barring any carry or like the surety law we just talked
   13· ·about.
   14· · · ·Q.· · That would also include various like tax
   15· ·ordinances or restrictions on slaves.
   16· · · · · · ·Is that correct?
   17· · · ·A.· · It would have included those, too, yes.
   18· · · ·Q.· · Okay.· So when you say, you know, there are 49
   19· ·states, plus the District of Columbia, that barred or
   20· ·restricted Bowie knives, that came in a -- what's the
   21· ·way to say that?· It came in multiple different ways?
   22· ·It wasn't an outright prohibition.· Correct?
   23· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   24· · · · · · ·You can answer.
   25· · · · · · ·THE WITNESS:· Well, it came in multiple


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   ·1· ·different ways, that is correct.· However, some of the
   ·2· ·laws are -- I'll give you an example -- have the effect
   ·3· ·of outright can't have.
   ·4· · · · · · ·And the example that comes to mind is the case
   ·5· ·of an 1881 Arkansas law that said you cannot carry it
   ·6· ·concealed it, you cannot carry it openly.· You cannot
   ·7· ·carry it at all.· You cannot buy it, sell it, trade it,
   ·8· ·exchange it, et cetera.· Which leaves you the question,
   ·9· ·if you wanted to own, let's say, a Bowie knife, how
   10· ·could you get it?· Because you can't buy it.· You can't
   11· ·sell it.· You can't trade it.· You can't give it.· You
   12· ·can't carry it.
   13· · · · · · ·Did they say we are, you know, banishing these
   14· ·knives forever?· No, it didn't say that.· But it's
   15· ·interesting because there was a series of regulatory
   16· ·devices, the sum total of which was to make it
   17· ·functionally almost impossible to get such a knife,
   18· ·unless maybe you inherited it through your family, let's
   19· ·say.
   20· · · · · · ·So, again, you're seeing multiple regulatory
   21· ·techniques being utilized.· The best that the government
   22· ·had the capability to do at the time and --
   23· · · · · · ·MR. DILLON:· Q.· And you --
   24· · · · · · ·MR. WOODS:· You got to let him finish.
   25· · · · · · · · (Simultaneous speaking.)


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   ·1· · · · · · ·MS. REPORTER:· Okay.· I need one person
   ·2· ·speaking at a time, please.· You guys are speaking over
   ·3· ·each other and it's hard to hear.
   ·4· · · · · · ·MR. DILLON:· Sorry about that.
   ·5· · · ·Q.· · Okay.· So with regard to this 1881 Arkansas
   ·6· ·law -- and correct me if I'm wrong -- you're basically
   ·7· ·saying they're restricting, you know, these Bowie knives
   ·8· ·and other weapons in so many different ways it amounted
   ·9· ·to an outright prohibition.
   10· · · · · · ·Is that correct?
   11· · · ·A.· · I would call it a de facto prohibition, yeah.
   12· · · ·Q.· · Okay.· And this was an 1881 Arkansas law?
   13· · · ·A.· · I believe so.
   14· · · ·Q.· · Were there any laws prior to 1881 that were
   15· ·similar to this Arkansas law?
   16· · · ·A.· · I cannot say offhand.· I would have to look.
   17· · · ·Q.· · Okay.· All right.· Let's go back to the shared
   18· ·screen here.
   19· · · · · · ·You see Paragraph 44 of your report up on the
   20· ·screen?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · Okay.· And in Paragraph 44 you state that
   23· ·there are 15 states that banned all carrying of Bowie
   24· ·knives by banning both concealed care and open care.
   25· · · · · · ·Is that correct?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · Do you know which states these were?
   ·3· · · ·A.· · Not offhand, no.
   ·4· · · ·Q.· · Okay.· And if I went down to your Bowie knife
   ·5· ·exhibit, would we be able to identify these states?
   ·6· · · ·A.· · I believe we could, yes.
   ·7· · · ·Q.· · Okay.· So I'm going to scroll down here.· If
   ·8· ·we go to Exhibit B, Bowie Knife Laws By Type, that's
   ·9· ·attached to your report.
   10· · · · · · ·Would this be where I would look to find that
   11· ·information that you discussed in Paragraph 44?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · Okay.· And so you say the 15 states banned all
   14· ·carrying of Bowie knives.· So looking at your Exhibit B,
   15· ·I see a column that states "No carry."
   16· · · · · · ·Is that the column that would describe
   17· ·prohibitions on banning of carrying of all Bowie knives?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · Okay.· And so the first state listed under
   20· ·that column would be Arizona and had a 1889 law.
   21· · · · · · ·Is that correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · And all the laws listed in this column, you
   24· ·claim that they were banned on both the open carry and
   25· ·concealed carry of Bowie knife?


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   ·1· · · ·A.· · Under the no carry column, yes.
   ·2· · · ·Q.· · Okay.· So I'm going to highlight -- let me see
   ·3· ·if I can highlight.· I'm going to point to Colorado
   ·4· ·that's listed in Exhibit B.· And under the "No carry"
   ·5· ·column, it lists 1881.
   ·6· · · · · · ·Do you see that?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · So if I go down to your Exhibit D, would I be
   ·9· ·correct in stating that that law is listed in your
   10· ·Exhibit D where you list the various states and laws?
   11· · · ·A.· · I assume it is.
   12· · · ·Q.· · Okay.· So I just did a search for just the
   13· ·term Colorado and we scrolled down on Exhibit D here.
   14· ·And I'm looking for 1881 date for a law.· Let's see.
   15· ·This -- I'm finding this one.· Is that the one you were
   16· ·referring to -- Colorado Revenue Stat 1774, Carrying
   17· ·Concealed Weapons - Penalty - Search Without Warrant -
   18· ·Jurisdiction of Justice 248 (1881).
   19· · · ·A.· · I believe it is.
   20· · · ·Q.· · Can you read the highlighted text, please.
   21· · · ·A.· · "No person, unless authorized so to do by the
   22· ·chief of police of a city, mayor of a town or the
   23· ·sheriff of a county, shall use or carry concealed upon
   24· ·his person any firearms, as defined by law, nor any
   25· ·pistol, revolver, Bowie knife, dagger, sling shot, brass


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   ·1· ·knuckles or other deadly weapon."
   ·2· · · ·Q.· · Okay.· So would you classify that as a
   ·3· ·concealed carrying restriction or a carry -- or a
   ·4· ·restriction that bans all carry?
   ·5· · · ·A.· · It is a concealed carry.
   ·6· · · ·Q.· · Okay.· And scroll back up here to Exhibit B.
   ·7· ·See the state Idaho, it lists an 1879 law under the no
   ·8· ·carry column.
   ·9· · · · · · ·Do you see that?
   10· · · ·A.· · Yes.
   11· · · ·Q.· · Again, I'm going to do a term search, scroll
   12· ·down and bring up your Exhibit D within your report.· We
   13· ·have the state Idaho.· I'm looking for an 1879 date for
   14· ·a provision.
   15· · · · · · ·Do you see that?· Is that the law you
   16· ·referenced in Exhibit B?
   17· · · ·A.· · Yes.· I believe it is.
   18· · · ·Q.· · Okay.· And can you read the highlighted text,
   19· ·please?
   20· · · ·A.· · "Every person not being a sheriff, deputy
   21· ·sheriff, constable or other police officer, who shall
   22· ·carry or wear within the incorporated limits of Boise
   23· ·City, Idaho, any Bowie knife, dirk knife, pistol or
   24· ·sword in cane, slung-shot, metallic knuckles or other
   25· ·dangerous or deadly weapons, concealed, unless such


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   ·1· ·persons be traveling or setting out on a journey, shall,
   ·2· ·upon conviction thereof before the city magistrate of
   ·3· ·said Boise City, be fined in any sum not exceeding
   ·4· ·twenty-five dollars or each offense, or imprisoned in
   ·5· ·the city jail for not more than twenty days, or by both
   ·6· ·such fine and imprisonment."
   ·7· · · ·Q.· · Okay.· So would you classify this as a
   ·8· ·concealed carry restriction or a restriction on both
   ·9· ·open carry and concealed carry?
   10· · · ·A.· · The wording here does say concealed carry.
   11· · · ·Q.· · Okay.· Go back up to Exhibit B here.· Dropping
   12· ·down to Louisiana.· We have a date here as 1870 under
   13· ·the no carry column.
   14· · · · · · ·Do you see that?
   15· · · ·A.· · Yes, I do.
   16· · · ·Q.· · Okay.· And, again, I'm just going to -- if I
   17· ·could spell.· I'm going to go -- there we go.· All
   18· ·right.
   19· · · · · · ·So I'm going -- I did a word search and we're
   20· ·scrolling down.· Listed under Kansas, it's the territory
   21· ·of Louisiana.· There we go.
   22· · · · · · ·So this is your Exhibit D.· You identified the
   23· ·state of Louisiana where you have the various
   24· ·restrictions listed under there.
   25· · · · · · ·Do you see that?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · And so I'm going to scroll down.· I found the
   ·3· ·1870 statute.· Is that the 1870 restriction that you
   ·4· ·referred to --
   ·5· · · ·A.· · I assume it is, unless there is another 1870
   ·6· ·law below it.
   ·7· · · ·Q.· · Okay.
   ·8· · · ·A.· · No, there is not.
   ·9· · · ·Q.· · So, again, can you just read the highlighted
   10· ·section.· You don't have to read the whole thing.
   11· · · ·A.· · "It shall be unlawful for any person to carry
   12· ·any gun, pistol, Bowie knife or other dangerous weapon,
   13· ·concealed or unconcealed, on any day of election during
   14· ·the hours the polls are open, or on any day of
   15· ·registration or revision of registration, within a
   16· ·distance of one-half mile of any place of registration
   17· ·or revision of registration."
   18· · · ·Q.· · Okay.· That's good.
   19· · · · · · ·So would this be a broad restriction on the
   20· ·open and concealed carry of these listed weapons?
   21· · · ·A.· · Concealed or unconcealed.· Yes.
   22· · · ·Q.· · Now, is this -- does this specifically
   23· ·restrict concealed or unconcealed carrying on a day of
   24· ·an election?
   25· · · ·A.· · Well, as it says, on the day of election or


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   ·1· ·registration or revision of registration.
   ·2· · · · · · ·So I don't know, without knowing history of
   ·3· ·Louisiana electoral law and procedures, how many days
   ·4· ·they incorporate it.
   ·5· · · · · · ·Obviously, the provision resolves around
   ·6· ·election-related activities.
   ·7· · · ·Q.· · So is it fair to say that it didn't restrict
   ·8· ·concealed and open carrying of these weapons on days it
   ·9· ·didn't involve elections?
   10· · · ·A.· · That would be correct, yes.· Or election or
   11· ·election-related activities.· So, for example, if we
   12· ·didn't know how long registration lasted or what point
   13· ·of the calendar year, et cetera.· But, obviously, it's
   14· ·not 365 days a year.· I think we can assume that.
   15· · · ·Q.· · Okay.· So referring to, you know, these 15
   16· ·states -- sorry.· Strike that.
   17· · · · · · ·So in Paragraph 44 you state that 15 states
   18· ·banned all carrying of Bowie knives by banning both
   19· ·concealed and open carry.
   20· · · · · · ·So I just referenced three of the states that
   21· ·you list in the 15 reference.· And each of those, by
   22· ·your categorization, were either concealed carry
   23· ·restrictions or the election restrictions.
   24· · · · · · ·Is that correct?
   25· · · ·A.· · Yes.· That's what the table reports.


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   ·1· · · ·Q.· · Okay.· So referring to your statement in
   ·2· ·Paragraph 44, would you state that 15 states banned all
   ·3· ·carrying of Bowie knives?
   ·4· · · ·A.· · No.· Although, I would say two things.· One,
   ·5· ·is I would want to go back and look at other provisions
   ·6· ·within those respective laws to see if there was a
   ·7· ·separate paragraph that also talked about any carry or
   ·8· ·open carry.· And the other thing is I may have simply
   ·9· ·been mistaken.
   10· · · ·Q.· · Okay.
   11· · · ·A.· · And if that's the case, then the number
   12· ·shouldn't be 15 but should be 13.· And I appreciate you
   13· ·pointing that out to me, by the way.· It's important to
   14· ·me to try to get these things right.· But it's a great
   15· ·deal of data, as you can see.
   16· · · ·Q.· · Yes.· I understand.
   17· · · · · · ·So do you think that there are other
   18· ·discrepancies in the remaining 12 laws that you
   19· ·reference?
   20· · · ·A.· · I hope not.
   21· · · ·Q.· · Okay.· So I'm pulling up Paragraph 46 on
   22· ·Page 22.
   23· · · · · · ·Do you see that?
   24· · · ·A.· · Not yet.
   25· · · ·Q.· · Oh, did I not share that?· I'm sorry.


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   ·1· · · · · · ·So, again, referring to Paragraph 46 on
   ·2· ·Page 22.
   ·3· · · ·A.· · Got it.
   ·4· · · ·Q.· · All right.· Can you read Paragraph 46 for me?
   ·5· · · ·A.· · "States relied on a variety of regulatory
   ·6· ·techniques to suppress Bowie knife carrying; 29 states
   ·7· ·enacted laws to bar their concealed carry; 15 states" --
   ·8· ·or now 13 states -- "barred their carry whether
   ·9· ·concealed or open; 7 states enacted enhanced criminal
   10· ·penalties for those who used the knives to commit a
   11· ·crime; 4 states enacted regulatory taxes attached to
   12· ·their commercial sale; 3 states imposed a tax for those
   13· ·who owned the knives; 10 states barred their sale to
   14· ·specified groups of people; and 4 states enacted
   15· ·penalties for brandishing the knives."
   16· · · · · · ·And also -- in our prior discussion -- in
   17· ·addition, these laws would often expressly exempt from
   18· ·restriction common pocket knives.
   19· · · ·Q.· · Okay.· Thank you for that.
   20· · · · · · ·So reviewing the summary of the laws and
   21· ·restrictions in Paragraph 46, none of these laws that
   22· ·you reference here enacted prohibitions on the purchase,
   23· ·sale, possession, and carrying of any type of knife.
   24· ·Correct?
   25· · · · · · ·MR. WOODS:· Objection.· Vague and ambiguous.


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   ·1· · · · · · ·You can answer if you can.
   ·2· · · · · · ·THE WITNESS:· You mean a single law that did
   ·3· ·all of those things?
   ·4· · · · · · ·MR. DILLON:· Q.· Correct.
   ·5· · · ·A.· · Purchased, possession, sale -- and what else?
   ·6· · · ·Q.· · And carry.
   ·7· · · ·A.· · Well, the Arkansas law I talked about earlier
   ·8· ·would be in that ballpark, I would say.· There might be
   ·9· ·a handful of others that combined provisions in varying
   10· ·ways to have that effect.
   11· · · · · · ·But by and large, these -- this count is
   12· ·divided by laws that did one thing or something else.
   13· · · ·Q.· · Okay.
   14· · · ·A.· · Although I would add that the laws also have
   15· ·an additive effect.· That is, if a state enacts a no
   16· ·concealed carry law in one year, and then say a few
   17· ·years later enacts a no sale law, the cumulative effect
   18· ·of two laws enacted at different times could have a
   19· ·similar suppressing effect.· But I haven't analyzed the
   20· ·laws in that way.
   21· · · ·Q.· · Okay.· And how many states prohibited
   22· ·possession of Bowie knives?
   23· · · ·A.· · As I recall there were some laws that used the
   24· ·word "possession" or "possess".· But I don't have that
   25· ·information in front of me.


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   ·1· · · ·Q.· · Okay.· And then looking at Footnote 72 on
   ·2· ·Page 22.
   ·3· · · ·A.· · Mm-hmm.
   ·4· · · ·Q.· · This would be a footnote that's attached "In
   ·5· ·addition these laws would often expressly exempt the
   ·6· ·restriction of common pocket knives."
   ·7· · · · · · ·Do you see that?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · So I see -- if I'm counting correctly, you
   10· ·cite approximately five state laws that expressly
   11· ·exempted pocket knives.
   12· · · · · · ·Is that correct?
   13· · · ·A.· · I believe so.
   14· · · ·Q.· · Okay.· And do you believe -- are there more
   15· ·than these five laws?
   16· · · ·A.· · I'm sure there are.
   17· · · ·Q.· · You're sure there --
   18· · · ·A.· · I'm sure there are.
   19· · · · · · ·MR. WOODS:· Let him finish, Dr. Spitzer.
   20· · · · · · ·THE WITNESS:· Oh, yeah.
   21· · · · · · ·MR. DILLON:· Q.· Do you know how many had
   22· ·pocket knife exemptions?
   23· · · ·A.· · I did not tabulate that number.
   24· · · ·Q.· · Okay.· And you say that 29 states enacted laws
   25· ·to bar the concealed carrying of Bowie knives.


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   ·1· · · · · · ·Is that correct?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · Are these largely the same laws that would
   ·4· ·have prohibited the concealed carry of pistols or
   ·5· ·handguns?
   ·6· · · ·A.· · For the most part they probably are.
   ·7· · · ·Q.· · Okay.· And going back to Paragraph 46.· You
   ·8· ·state that seven states enacted criminal penalties for
   ·9· ·those who used knives to commit a crime.
   10· · · · · · ·Is that correct?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · Now, referring to the California laws that are
   13· ·being challenged in this case.· Are you aware of any
   14· ·imposed enhanced penalties regarding switchblades?
   15· · · ·A.· · I do not recall.
   16· · · ·Q.· · And you state that four states enacted
   17· ·regulatory taxes attached to the commercial sale of
   18· ·Bowie knives.
   19· · · · · · ·Is that correct?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · And are you aware that the laws challenged in
   22· ·this case do not impose any regulatory tax on commercial
   23· ·sales of switchblades?
   24· · · ·A.· · I believe that's right.· I take your word on
   25· ·that.· Yeah, I believe that's right.


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   ·1· · · ·Q.· · And you state that three states in
   ·2· ·Paragraph 46 -- sorry -- let me rephrase that.
   ·3· · · · · · ·In Paragraph 46 you state that three states
   ·4· ·impose the tax for those who own knives.
   ·5· · · · · · ·Is that correct?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · And, again, referring to the laws being
   ·8· ·challenged in this case.· There is no law -- California
   ·9· ·law that imposes a tax on switchblades being --
   10· · · ·A.· · Well --
   11· · · · · · · · (Simultaneous speaking.)
   12· · · · · · ·MR. DILLON:· Q.· Sorry.· Can you repeat the
   13· ·answer?
   14· · · ·A.· · Well, I would actually need -- be desirous of
   15· ·seeing the actual text of the law to compare it to these
   16· ·respective categories.
   17· · · · · · ·I'm assuming by the way you're asking the
   18· ·questions that the answer is yes.· But, again, for my
   19· ·own purposes, I would want to actually compare the
   20· ·provisions of the contemporary California law with these
   21· ·historical categories to make sure.
   22· · · ·Q.· · Okay.· So in Paragraph 46 you state that there
   23· ·is 10 states that bar the sale of Bowie knives to
   24· ·specified groups of people.· Correct?
   25· · · ·A.· · Yes.


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   ·1· · · ·Q.· · And were these groups of people that were
   ·2· ·barred from purchasing or being sold Bowie knives?
   ·3· · · ·A.· · I would need to see --
   ·4· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   ·5· · · · · · ·You can answer if you can.
   ·6· · · · · · ·THE WITNESS:· I would need to see the actual
   ·7· ·laws to make sure.· But I know that it included African
   ·8· ·Americans before the Civil War, enslaved persons and
   ·9· ·perhaps freed Blacks as well.· It would have included
   10· ·minors, those under the age of 21, and probably some
   11· ·other categories too.· I think I stipulated them
   12· ·somewhere.
   13· · · · · · ·MR. DILLON:· Okay.· Let's see.· I think you
   14· ·had a legend attached to Exhibit B here.· Bowie Knife
   15· ·Laws By Type.· I'm scrolling down.
   16· · · ·Q.· · So you have a legend.· Can you read out the
   17· ·relevant portion here --
   18· · · ·A.· · Yes.
   19· · · ·Q.· · -- with regard to prohibitions on groups of
   20· ·people?
   21· · · ·A.· · Barred groups included Native Americans,
   22· ·African Americans, the enslaved and minors.
   23· · · ·Q.· · Okay.· Do you know how many of those 10 laws
   24· ·referenced that ban of sale of Bowie knives to specified
   25· ·groups prohibited people based off of race or ethnicity?


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   ·1· · · ·A.· · Those before the Civil War -- I couldn't say
   ·2· ·for certain.· The laws that were restrictive with
   ·3· ·respect to enslaved persons or African Americans were
   ·4· ·all before 1861, so...
   ·5· · · ·Q.· · Okay.· And to your knowledge are the
   ·6· ·California laws that are being challenged in this case,
   ·7· ·do they restrict any specified group of people?
   ·8· · · ·A.· · I'd have had to see the law.· It might
   ·9· ·pertain -- it might include a restriction on minors, for
   10· ·example.· But I don't recall.
   11· · · ·Q.· · Okay.· And so, to your knowledge, you don't --
   12· ·you're not aware of any restriction on any group of
   13· ·people?
   14· · · ·A.· · Well, I would be reluctant to say without
   15· ·seeing the actual law.
   16· · · ·Q.· · Okay.· And then, finally, we have -- in
   17· ·Paragraph 46, you state that four states enacted
   18· ·penalties for brandishing knives.· Correct?
   19· · · ·A.· · Yes.
   20· · · · · · ·MR. WOODS:· Hold on.· Do you want to show him
   21· ·Paragraph 46?
   22· · · · · · ·MR. DILLON:· We can do that.· That's fine.                       I
   23· ·highlighted that section there.
   24· · · ·Q.· · Do you see that?
   25· · · ·A.· · Yes, sir.


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   ·1· · · ·Q.· · Okay.· So bear with me one second here.
   ·2· ·Scrolling down to Paragraph 47.· Starting with the
   ·3· ·highlighted portion here with the words "The federal."
   ·4· · · · · · ·Can you read that portion of Paragraph 47
   ·5· ·until you get to "Everyday life"?
   ·6· · · ·A.· · "The federal and state governments did not yet
   ·7· ·possess the maturity, powers, tools, or resources to
   ·8· ·implement any measure as sweeping as a knife ban,
   ·9· ·especially since knives are technologically very simple
   10· ·to produce, and metal-working was a common and ordinary
   11· ·part of everyday life."
   12· · · · · · ·Was that where you said to do stop?
   13· · · ·Q.· · Yes.· That's perfect.· Thank you.
   14· · · ·A.· · Yeah.
   15· · · ·Q.· · So you're saying one of the reasons why there
   16· ·weren't any possession bans was because the federal and
   17· ·state governments didn't have the tools necessary to
   18· ·implement such a ban.
   19· · · · · · ·Is that correct?
   20· · · ·A.· · Policy, tools, yes.
   21· · · ·Q.· · Okay.· So were there no bans on the possession
   22· ·of anything in the 19th century?
   23· · · · · · ·MR. WOODS:· Objection.· Calls for speculation.
   24· · · · · · ·You can answer if you can.
   25· · · · · · ·THE WITNESS:· I have no idea.


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   ·1· · · · · · ·MR. DILLON:· Q.· And what was the basis of
   ·2· ·this quote?
   ·3· · · ·A.· · Well, it's based on an understanding that
   ·4· ·America was a developing nation state in the late 1700s
   ·5· ·and most of the 1800s.· It was an overwhelmingly
   ·6· ·agrarian society.· Over 90 percent of Americans were
   ·7· ·subsistence farmers and lived on farms in rural areas.
   ·8· · · · · · ·The government -- federal government, state
   ·9· ·governments were relatively primitive compared to how we
   10· ·think about governance today.· Governments -- the
   11· ·government did far fewer things because it lacked the
   12· ·resources, the capabilities and the powers to do things
   13· ·that today we take as customary.
   14· · · · · · ·In the realm of governmental activity, America
   15· ·was a developing nation state.· It didn't have a modern
   16· ·police force or policing in the way we think of policing
   17· ·today.· After all, if you witness a crime or if you
   18· ·violate the law, you call the police.· It's the first
   19· ·thing one does.· You call 911.
   20· · · · · · ·Not only was there no 911 in the 19th century,
   21· ·but there was no modern policing as we think of it
   22· ·today.· So the police are the front-line enforcement
   23· ·vehicle of a modern developed, mature nation state.
   24· · · · · · ·And we didn't have that in the 19th century.
   25· ·There was primitive policing, but it raises the question


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   ·1· ·of if you imposed -- let's say you wanted to just banish
   ·2· ·Bowie knives through legislative FEHA, how could that
   ·3· ·possibly have been done in the 19th century?
   ·4· · · · · · ·And the answer is the government didn't have
   ·5· ·the capabilities, the policy tools, the bureaucracy, the
   ·6· ·resources to hire the people, to train professionals to
   ·7· ·behave in a professional way, to do all the things that
   ·8· ·a functioning, modern state takes for granted, but that
   ·9· ·did not exist or that existed only in the most primitive
   10· ·form in most of the 1800s.
   11· · · ·Q.· · Okay.· So are you aware of any state or
   12· ·federal legislative history where they discuss banning
   13· ·the possession of any weapon, but they -- "We want to
   14· ·ban this weapon, but we can't because we just can't
   15· ·enforce it"?
   16· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   17· · · · · · ·Answer if you can.
   18· · · · · · ·THE WITNESS:· That's -- that isn't a possible
   19· ·question for me to answer.
   20· · · · · · ·MR. DILLON:· Q.· I'm just asking if you're
   21· ·aware of any legislative history.· Are you?
   22· · · ·A.· · I have examined legislative histories in my
   23· ·many years studying American politics.
   24· · · ·Q.· · Have you ever come across a discussion that
   25· ·even indicated that "Hey, we want to implement a ban on


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   ·1· ·any product, but we just don't have the means to enforce
   ·2· ·the ban"?
   ·3· · · ·A.· · Well, they didn't know what they didn't know.
   ·4· ·That is to say they could not contemplate an institution
   ·5· ·that did not exist.· And so there were certainly be
   ·6· ·debates what about what could or could not be done.
   ·7· · · · · · ·But it is beyond my imagining that, let's say,
   ·8· ·a legislator in the state in the early or middle part of
   ·9· ·the 19th century, would have said "Well, we would like
   10· ·to ban these knives, but, gee, we don't have a developed
   11· ·police force because we're still a struggling developing
   12· ·nation state."
   13· · · · · · ·There could have been no such debate.· At this
   14· ·time in our history, 150 years ago or 200 years ago.
   15· · · · · · ·MR. DILLON:· Q.· So you're saying you don't
   16· ·think the legislators were capable of contemplating
   17· ·that?
   18· · · ·A.· · The legislators of the 19th century behaved
   19· ·like legislators of today.· Shocking though that may
   20· ·seem.· That is to say, they dealt with problems when
   21· ·problems typically were thrust upon them.· And they
   22· ·struggled with the best way to do things in the context
   23· ·of the resources available and the parameters of the
   24· ·time of law and politics.
   25· · · · · · ·And so they addressed the problems as best


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   ·1· ·they could.· And I think the Bowie knife example of
   ·2· ·policy-making across the states, illustrates how they
   ·3· ·kind of struggled with "Well, let's say no carry.· No
   ·4· ·concealed carry or let's tax them or regulate sales,"
   ·5· ·things like that.· So they are struggling with tools and
   ·6· ·implements to get closer to where they wanted to be.
   ·7· · · ·Q.· · Okay.· Now, again, referring to your statement
   ·8· ·that we have been discussing here.
   ·9· · · · · · ·Is one of the reasons why, you know, there was
   10· ·no prohibitions on possession of knives the fact that
   11· ·they are just everywhere?· Like in -- you know, part of
   12· ·everyday use?
   13· · · ·A.· · Well, interestingly enough, they certainly --
   14· ·knives generally, of course, were ubiquitous.· But
   15· ·notice that they did two things.
   16· · · · · · ·One was they isolated a name, the very
   17· ·specific types of knives, not just Bowie knives, the
   18· ·Arkansas toothpick, the Spanish stiletto, dirks,
   19· ·daggers.
   20· · · · · · ·So they were able to identify certain types of
   21· ·knives that they wanted to suppress and regulate.· And
   22· ·they, you know, acted on that effort.· So they were able
   23· ·to make distinctions, just as the California law makes a
   24· ·very specific distinction of a switchblade versus other
   25· ·kind of knives, like a pocket knife or a kitchen carving


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   ·1· ·knife, let's say.
   ·2· · · ·Q.· · What is your understanding of the difference
   ·3· ·between a, quote, "switchblade" and a "pocket knife"?
   ·4· · · ·A.· · Well, a pocket knife -- since the time I was a
   ·5· ·boy, was a knife of a blade of oh, I'm using a ruler
   ·6· ·here, oh maybe three, four inches.· It can be shorter;
   ·7· ·it can be longer that you manually pull out of the
   ·8· ·handle.· And use for purposes you would use knives for.
   ·9· · · · · · ·And a switchblade, although the definition is
   10· ·a little more complex, is a knife that is a long,
   11· ·thin-bladed knife with a sharp point where the blade is
   12· ·recessed in the handle.· And by pressing a lever or a
   13· ·button or similar thing, it's spring loaded so it pops
   14· ·out of the handle of its own accord.
   15· · · · · · ·There are also gravity knives and other types
   16· ·of knives that complicate it a little bit.· But the
   17· ·classic understanding of a switchblade is the
   18· ·spring-loaded knife where the blade appears by punching
   19· ·a button.
   20· · · ·Q.· · Okay.· But both switchblades and pocket knives
   21· ·are carried in the pocket.· Is that correct?
   22· · · ·A.· · They both can be carried in the pocket, yes.
   23· · · ·Q.· · And both of them are folding knives.· Is that
   24· ·correct?
   25· · · ·A.· · They both fold.· Well, for the most part,


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   ·1· ·although there is as variety of knife where the blade
   ·2· ·pops out of the end of the handle, if you see what I
   ·3· ·mean.
   ·4· · · ·Q.· · Okay.· So I'll rephrase it.
   ·5· · · · · · ·So both are referring to knives in which the
   ·6· ·blade is stored within the handle.· Is that correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · Okay.· So scrolling down, the remaining
   ·9· ·portions of your report discuss what I would describe as
   10· ·impact weapons, such as clubs, batons, sand bags, slug
   11· ·shots.
   12· · · · · · ·Is that correct?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · And these aren't bladed weapons.· Correct?
   15· · · ·A.· · That is right.
   16· · · ·Q.· · Okay.· And in Paragraph 51 on Page 24,
   17· ·let's -- I'm going to highlight a section here.
   18· · · · · · ·MR. WOODS:· Counsel, we've been going for
   19· ·about an hour and a half.· If you're going to switch
   20· ·subjects, would this be a good time for a break?
   21· · · · · · ·MR. DILLON:· Let me finish this question
   22· ·because I am going to actually plan to wrap up within
   23· ·the next five, 10 minutes at most.
   24· · · · · · ·MR. WOODS:· That's fine.
   25· · · · · · ·MR. DILLON:· Okay.


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   ·1· · · ·Q.· · All right.· So in Paragraph 51, it starts off
   ·2· ·with "Among the most widely and ubiquitously regulated
   ·3· ·harmful implements in U.S. history were various types of
   ·4· ·clubs and other blunt weapons."
   ·5· · · · · · ·Do you see that?
   ·6· · · ·A.· · Yes, sir.
   ·7· · · ·Q.· · Can you read the next sentence -- sorry.· That
   ·8· ·pop-up keeps getting in the way.
   ·9· · · ·A.· · Yes.· "Most were anti-carry laws, which also
   10· ·generally encompassed pistols and specific types of
   11· ·knives, although some of the laws extended prohibitions
   12· ·to these weapons' manufacture, possession, sale or use
   13· ·in crime."
   14· · · ·Q.· · Okay.· So, again, like the Bowie knives we
   15· ·referenced earlier, the majority of the restrictions
   16· ·were concealed carry restrictions or carry restrictions?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · Okay.· And can you tell me of all the
   19· ·restrictions on what I'm going to call impact weapons or
   20· ·clubs or other blunt weapons, when were most of these
   21· ·regulations enacted?
   22· · · ·A.· · In general, they were mostly enacted from
   23· ·the -- from early to mid 1800s, accelerating after the
   24· ·Civil War to the start of the 20th century.
   25· · · ·Q.· · Okay.· So can you give me a date range of when


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   ·1· ·most of these were implemented?
   ·2· · · ·A.· · Well, there is the specific date range in one
   ·3· ·of the tables, I believe, that I included.· And what
   ·4· ·we -- what one finds is that the regulations accompanied
   ·5· ·the circulation of these weapons; that is to say,
   ·6· ·club -- these types of clubs were not -- did not appear
   ·7· ·to be common in the early 1800s or before, except for
   ·8· ·club -- you know, a simple generic club.· But became
   ·9· ·more common in the pre Civil War period and then much
   10· ·more common after the Civil War.
   11· · · · · · ·But I believe those -- the years are in a
   12· ·table somewhere.
   13· · · ·Q.· · Okay.· I'm pulling up your report again.
   14· ·Exhibit C, Dangerous Weapons Restrictions and Years of
   15· ·Enactment.
   16· · · · · · ·Do you see that?
   17· · · ·A.· · Yeah.
   18· · · ·Q.· · Okay.· So -- and here you list the -- across
   19· ·the top -- you list the various types of weapon.· And
   20· ·then you list the date and state that it was enacted.
   21· · · · · · ·Is that correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · Okay.· Would it be fair to say that most of
   24· ·the regulations, excluding pistols and Bowie knives,
   25· ·were enacted after 19 -- or 1860?


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   ·1· · · ·A.· · I believe the largest number of them, yes,
   ·2· ·were enacted after the Civil War period.
   ·3· · · · · · ·MR. DILLON:· Okay.· If we can do just a
   ·4· ·five-minute break just so I can review my notes and then
   ·5· ·I'll finish up the last couple questions.
   ·6· · · · · · ·MR. WOODS:· Fine with me.
   ·7· · · · · · · · (Recess taken 12:59 p.m. - 1:04 p.m.)
   ·8· · · · · · ·MR. DILLON:· Okay.· At this time I'm going to
   ·9· ·just conclude my initial questions and allow opposing
   10· ·counsel time to ask any questions that they want.
   11· · · · · · ·MR. WOODS:· No questions from me.
   12· · · · · · ·MR. DILLON:· Okay.· I think that's it.
   13· · · · · · ·MS. REPORTER:· Mr. Woods, do you want a copy?
   14· · · · · · ·MS. WOODS:· Yes, please.
   15
   16· · · · · · · (Deposition concluded at 1:05 p.m.)
   17
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   ·1· · · · · · · · · · · · · CERTIFICATE

   ·2· · · · · · I, the undersigned, a Certified Shorthand

   ·3· ·Reporter of the State of California, do hereby certify:

   ·4· · · · · · That the foregoing proceedings were taken

   ·5· ·before me at the time and place herein set forth; that

   ·6· ·any witnesses in the foregoing proceedings, prior to

   ·7· ·testifying, were duly sworn; that a record of the

   ·8· ·proceedings was made by me using machine shorthand which

   ·9· ·was thereafter transcribed under my direction; that the

   10· ·foregoing transcript is a true record of the testimony

   11· ·given.

   12· · · · · · Further, that if the foregoing pertains to the

   13· ·original transcript of a deposition in a Federal Case,

   14· ·before completion of the proceedings, review of the

   15· ·transcript [ X ] was [ ] was not requested.

   16· · · · · · I further certify I am neither financially

   17· ·interested in the action nor a relative or employee of

   18· ·any attorney or party to this action.

   19· · · · · · IN WITNESS WHEREOF, I have this date subscribed

   20· ·my name.

   21

   22· ·Dated: 02/19/2024.

   23

   24· · · · · · · · · · · · · ____________________________
   · · · · · · · · · · · · · · · KATHLEEN BACA, CSR #10267
   25


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   ·1· · · · · · ·DECLARATION UNDER PENALTY OF PERJURY
   ·2· ·Case Name: Knife Rights Inc. vs. Rob Bonta Attorney General
   ·3· ·Date of Deposition: 02/07/2024
   ·4· ·Job No.: 10134987
   ·5
   ·6· · · · · · · · ·I, PROFESSOR ROBERT J. SPITZER, hereby certify
   ·7· ·under penalty of perjury under the laws of the State of
   ·8· ·________________ that the foregoing is true and correct.
   ·9· · · · · · · · ·Executed this ______ day of
   10· ·__________________, 2024, at ____________________.
   11
   12
   13· · · · · · · · · · · · ·_________________________________
   14· · · · · · · · · · · · · · · ·PROFESSOR ROBERT J. SPITZER
   15
   16· ·NOTARIZATION (If Required)
   17· ·State of ________________
   18· ·County of _______________
   19· ·Subscribed and sworn to (or affirmed) before me on
   20· ·this _____ day of ____________, 20__,
   21· ·by________________________,· · proved to me on the
   22· ·basis of satisfactory evidence to be the person
   23· ·who appeared before me.
   24· ·Signature: ______________________________ (Seal)
   25


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   ·1· ·DEPOSITION ERRATA SHEET

   ·2· ·Case Name: Knife Rights Inc. vs. Rob Bonta Attorney General
   · · ·Name of Witness: Professor Robert J. SPITZER
   ·3· ·Date of Deposition: 02/07/2024
   · · ·Job No.: 10134987
   ·4· ·Reason Codes:· 1. To clarify the record.
   · · · · · · · · · · 2. To conform to the facts.
   ·5· · · · · · · · · 3. To correct transcription errors.

   ·6· ·Page _____ Line ______ Reason ______

   ·7· ·From _______________________ to ________________________

   ·8· ·Page _____ Line ______ Reason ______

   ·9· ·From _______________________ to ________________________

   10· ·Page _____ Line ______ Reason ______

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   19· ·From _______________________ to ________________________

   20· ·Page _____ Line ______ Reason ______

   21· ·From _______________________ to ________________________

   22· ·_______ Subject to the above changes, I certify that the
   · · · · · · ·transcript is true and correct
   23· ·_______ No changes have been made. I certify that the
   · · · · · · ·transcript· is true and correct.
   24
   · · · · · · · · · ·_____________________________________
   25· · · · · · · · · · · · · PROFESSOR ROBERT J. SPITZER


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  1                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
  2
           KNIFE RIGHTS, INC., ELIOT              )
  3        KAAGAN, JIM MILLER, GARRISON           )
           HAM, NORTH COUNTY SHOOTING             )
  4        CENTER, INC., and PWGG L.P.,           )
                                                  )
  5                      Plaintiffs,              )
                                                  )   CASE NO.
  6                      vs.                      )   3:23-cv-00474-JES-DDL
                                                  )
  7        CALIFORNIA ATTORNEY GENERAL            )
           ROB BONTA,                             )
  8                                               )
                         Defendants.              )
  9
 10
 11
 12               REMOTE DEPOSITION UPON ORAL EXAMINATION OF
 13                          DAVID T. HARDY
 14
 15                            FEBRUARY 15, 2024
                                   10:09 A.M.
 16
 17                (All participants appeared remotely)
 18
                 TAKEN AT THE INSTANCE OF THE DEFENDANTS
 19
 20
 21
 22
 23
 24         REPORTED BY:
            MONNA J. NICKESON, RPR, CRR, CCR, CSR CA 14430
 25         JOB: 6449173

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  1                          APPEARANCES:
  2
             FOR THE PLAINTIFFS:
  3
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                      Justice Attorney General
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  1                                  I N D E X
  2
            KNIFE RIGHTS, ET AL. VS. CALIFORNIA ATTORNEY
  3         GENERAL ROB BONTA
            CASE NO. 3:23-cv-00474-JES-DDL
  4         FEBRUARY 15, 2024
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 10                         Injunctive Relief
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 11                         Constitution Day Second
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 12        Exhibit 3        Of Arms and the Law                          43
           Exhibit 4        Gun Freedom Radio, Our Guests:               49
 13                         David T. Hardy
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  1                      BE IT REMEMBERED that on FEBRUARY

  2               15, 2024, at 10:09 A.M., the remote

  3               deposition of DAVID T. HARDY was taken

  4               before Monna J. Nickeson, Certified

  5               Realtime Reporter, Registered Professional

  6               Reporter, Certified Livenote Reporter,

  7               Certified Court Reporter (WA 3322),

  8               Certified Shorthand Reporter (ID 1045), (OR

  9               16-0441), (CA 14430), the following

 10               proceedings took place:

 11                            DAVID T. HARDY

 12         having been first duly sworn to tell the truth, the

 13         whole truth, and nothing but the truth,

 14         testified as follows:

 15                               EXAMINATION

 16         BY MS. UYEHARA:

 17               Q.     Good morning, my name is Katrina                  10:09

 18         Uyehara, and I'm a deputy Attorney General with                10:09

 19         the California Department of Justice.                I'm       10:09

 20         joined this morning by my colleague, Jane                      10:09

 21         Reilley, who is working on this case as well.                  10:09

 22         We represent the defendant California Attorney                 10:09

 23         General Rob Bonta in this lawsuit.                             10:09

 24                      We are here regarding the case of                 10:09

 25         Knife Rights, Inc., et al., versus California                  10:09

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  1         Attorney General Rob Bonta.          This case is in        10:09

  2         the U.S. District Court for the Southern                    10:09

  3         District of California.         The case number is          10:09

  4         3:23-CV-00474.                                              10:09

  5                       Can you please state your full name           10:10

  6         for the record?                                             10:10

  7               A.      It's David Theo Hardy.                        10:10

  8               Q.      Have you ever taken -- or have been           10:10

  9         -- sorry -- a party of a deposition before?                 10:10

 10               A.      Yep.   I've been practicing law for           10:10

 11         49 years, so I think that's safe to say.                    10:10

 12               Q.      Have you ever been deposed before?            10:10

 13               A.      Yeah, oh, probably four or five               10:10

 14         times.                                                      10:10

 15               Q.      Do you recall which cases those were          10:10

 16         in?                                                         10:10

 17               A.      There was one up in Denver where I            10:10

 18         gave courtroom testimony.          And there was            10:10

 19         another -- I'm afraid they all blend together               10:10

 20         in my mind.     Along the way -- oh, I was                  10:10

 21         deposed, like, 20 years ago on a civil case.                10:11

 22               Q.      Do you happen to know how many of             10:11

 23         those times you acted as an expert witness?                 10:11

 24               A.      The case in Denver and the other one          10:11

 25         I was deposed on.       And, actually, come to think        10:11

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  1         of it, the one 20 years ago.                                      10:11

  2               Q.      And on which topics were you an                     10:11

  3         expert for?                                                       10:11

  4               A.      The two recent ones were both bear                  10:11

  5         arms challenges.       And the one 20 years ago was               10:11

  6         on the -- basically the custom of how you                         10:11

  7         purchase a firearm.                                               10:11

  8               Q.      And so the one in Denver was a                      10:11

  9         challenge to a Colorado or Denver firearm                         10:11

 10         regulation?                                                       10:11

 11               A.      Yes.                                                10:11

 12               Q.      And then the other one most recent                  10:11

 13         one was also a challenge to some sort of                          10:12

 14         firearm regulation as well?                                       10:12

 15               A.      Yes.   I can't recall what it was,                  10:12

 16         though.                                                           10:12

 17               Q.      And then have you ever testified in                 10:12

 18         court before?                                                     10:12

 19               A.      Let's see.     There was the case I                 10:12

 20         mentioned where I testified in Denver.                Other       10:12

 21         than that -- let's see.         There was -- going                10:12

 22         back some years ago, I was a witness for the                      10:12

 23         prosecution in a drunk driving case.             And I            10:12

 24         testified in my own divorce case.            So I think           10:12

 25         that's the limit.                                                 10:12

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  1                Q.     Okay.     I'll go through some basic          10:12

  2         admonitions and then we'll go ahead and get                 10:12

  3         started here.                                               10:12

  4                       A deposition, as you know, is                 10:12

  5         similar to testimony in court in that you're                10:12

  6         under oath.     You've just been sworn in and are           10:12

  7         testifying under the penalty of perjury.                    10:12

  8         During this deposition, you must reply fully                10:13

  9         and truthfully to the questions asked.                      10:13

 10                       Do you understand?                            10:13

 11                A.     Just kidding.      Yes.    Uh-huh.            10:13

 12                Q.     I do not intend to ask you any trick          10:13

 13         questions.     If you do not understand a                   10:13

 14         question, please let me know and I will repeat              10:13

 15         it or clarify it.        I say this because if you          10:13

 16         answer a question, we'll assume that you                    10:13

 17         understood it.        This is important because for         10:13

 18         some reason if the answer to that question is               10:13

 19         used in trial, we're making it clear on the                 10:13

 20         record now that it's your responsibility to let             10:13

 21         us know whether you understand the question or              10:13

 22         not.                                                        10:13

 23                       Do you understand these procedures?           10:13

 24                A.     Of course.                                    10:13

 25                Q.     You're not required to speculate or           10:13

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  1         guess as to matters of which you have no                           10:13

  2         personal knowledge.                                                10:13

  3                      Do you understand this requirement?                   10:13

  4               A.     Oh, yeah.                                             10:13

  5               Q.     I also want to remind you that the                    10:13

  6         court reporter cannot record shrugs, uh-huh, or                    10:13

  7         other nonverbal responses or gestures.               So            10:13

  8         please be sure to provide verbal responses to                      10:14

  9         my questions.                                                      10:14

 10               A.     Uh-huh.     Yes.                                      10:14

 11               Q.     Also, the court reporter can only                     10:14

 12         record one of us at a time.         So I'll try not to             10:14

 13         interrupt you, and I would ask that you do the                     10:14

 14         same for me.                                                       10:14

 15                      Is that all right?                                    10:14

 16               A.     Oh, sure.                                             10:14

 17               Q.     There may be circumstances where I                    10:14

 18         ask you a question where I would be asking for                     10:14

 19         an estimate.     I would ask you not to answer any                 10:14

 20         questions with a speculation or a guess.                  It's     10:14

 21         okay to say you don't know an answer to a                          10:14

 22         question, but I'm entitled to your best                            10:14

 23         recollection in cases where I'm asking for                         10:14

 24         something -- or asking where you might estimate                    10:14

 25         something.                                                         10:14

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  1                      Once the deposition is transcribed,            10:14

  2         you may request an opportunity to review it.                10:14

  3         If you feel that any of your answers were                   10:14

  4         transcribed differently from those you gave,                10:14

  5         you may make notes to that effect.                          10:14

  6                      However, defendant does have a right           10:14

  7         to comment at trial on any of those changes                 10:14

  8         which you make to the deposition transcript.                10:14

  9         If you want this opportunity to review the                  10:14

 10         transcript, you need to request that before the             10:14

 11         end or at the end of the deposition.                        10:14

 12                      Do you understand these procedures?            10:14

 13               A.     Yep.                                           10:15

 14               Q.     From time to time, your lawyer, Mr.            10:15

 15         Dillon, may make objections.          Unless Mr. Dillon     10:15

 16         specifically instructs you not to answer the                10:15

 17         question, you're required to answer the                     10:15

 18         question.                                                   10:15

 19                      Does that make sense?                          10:15

 20               A.     Oh, yes.                                       10:15

 21               Q.     One more point before we begin.         If     10:15

 22         you need to take a break at any time, please                10:15

 23         let me know and we'll accommodate that request.             10:15

 24         Although there will be breaks, it would be best             10:15

 25         to not take a break between a pending question              10:15

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  1         and an answer.                                                10:15

  2                       Understood?                                     10:15

  3               A.      Of course.                                      10:15

  4               Q.      Are you able to provide complete and            10:15

  5         truthful testimony this afternoon?                            10:15

  6               A.      Well, yes.                                      10:15

  7               Q.      Is there any reason why you feel you            10:15

  8         cannot give your best testimony today?                        10:15

  9               A.      No.                                             10:15

 10               Q.      Are you suffering from any medical              10:15

 11         condition that would prevent you from giving                  10:15

 12         your best testimony today?                                    10:15

 13               A.      No.                                             10:15

 14               Q.      Have you taken any medications or               10:15

 15         any other substances in the last 24 hours that                10:15

 16         would affect your ability to understand my                    10:15

 17         questions or answer truthfully today?                         10:16

 18               A.      No.                                             10:16

 19               Q.      Did you prepare for today's                     10:16

 20         deposition?                                                   10:16

 21               A.      Oh, yes.                                        10:16

 22               Q.      And how did you prepare?                        10:16

 23               A.      I reviewed my report.         I reviewed        10:16

 24         the complaint.      I think that was about it.                10:16

 25         Well, yesterday I did talk to Mr. Dillon for a                10:16

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  1         time on the phone.        And I think that was it.          10:16

  2                 Q.    So the documents you reviewed were            10:16

  3         limited to the complaint and the two expert                 10:16

  4         reports, Professor Spitzer's and Dr. Rivas'?                10:16

  5                 A.    Yes.   I don't actually think I               10:16

  6         reviewed those in preparation for this                      10:16

  7         deposition, but I have reviewed them in the                 10:16

  8         past.                                                       10:16

  9                 Q.    And did you speak with anyone                 10:16

 10         besides Mr. Dillon in preparation for this                  10:16

 11         deposition?                                                 10:16

 12                 A.    No.                                           10:16

 13                 Q.    And did you speak with anyone about           10:16

 14         this deposition today besides Mr. Dillon?                   10:16

 15                 A.    No.                                           10:16

 16                 Q.    And to confirm on the record, you             10:17

 17         have reviewed the complaint filed by the                    10:17

 18         plaintiffs?                                                 10:17

 19                 A.    Yes.                                          10:17

 20                 Q.    And did you have any role in                  10:17

 21         preparing it?                                               10:17

 22                 A.    Oh, role?     Sorry, I couldn't hear          10:17

 23         too well.                                                   10:17

 24                 Q.    No worries.

 25                 A.    No, I had no role in preparing it.            10:17

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  1                 Q.       All right.     I'm going to share my         10:17

  2         screen and show the complaint at issue in this                10:17

  3         case.        We're introducing this as our first              10:17

  4         exhibit.                                                      10:17

  5                          (Exhibit 1 was identified.)                  10:17

  6         BY MS. UYEHARA:                                               10:17

  7                 Q.       Can you see a copy of the complaint          10:17

  8         on screen?                                                    10:17

  9                 A.       Oh, yes, now I can.                          10:17

 10                 Q.       And you can confirm this is the              10:17

 11         complaint that you reviewed in preparation for                10:17

 12         your deposition today?                                        10:17

 13                 A.       I think so.                                  10:17

 14                 Q.       I'll scroll through to the bottom            10:17

 15         here so you can confirm that this is indeed the               10:17

 16         correct document.                                             10:17

 17                          Is that a copy of the complaint that         10:18

 18         you reviewed for your deposition today?                       10:18

 19                 A.       It seems to be.                              10:18

 20                 Q.       When did you first become involved           10:18

 21         in this case?                                                 10:18

 22                 A.       I know that it was Mr. Dillon gave           10:18

 23         me a phone call.          I don't remember when,              10:18

 24         however.        It was not that long ago.                     10:18

 25                 Q.       Perhaps in December, November?               10:18

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  1               A.     Around in there.                               10:18

  2               Q.     What is your relationship with the             10:18

  3         organization Knife Rights?                                  10:18

  4               A.     I know the leader of it, Doug                  10:18

  5         Ritter, and that's about it.                                10:19

  6               Q.     And how do you know Mr. Ritter?                10:19

  7               A.     I've met him at several meetings,              10:19

  8         Second Amendment Foundation, and so on.                     10:19

  9               Q.     Would you consider yourselves to be            10:19

 10         friends?                                                    10:19

 11               A.     I'd say friend, yep.                           10:19

 12               Q.     And then how often are you in                  10:19

 13         contact with one another?                                   10:19

 14               A.     I might run into him twice a year.             10:19

 15               Q.     Can you describe what his                      10:19

 16         organization Knife Rights is?                               10:19

 17               A.     All I know is that it's concerned              10:19

 18         with the right to basically own and carry                   10:19

 19         knives.                                                     10:19

 20               Q.     How would you describe their                   10:19

 21         organizational mission?                                     10:19

 22               A.     To try to protect rights to, you               10:19

 23         know, have and possess knives.          I don't know        10:19

 24         anything beyond that.                                       10:20

 25               Q.     Are you a member of their                      10:20

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  1         organization?                                               10:20

  2               A.      No.                                           10:20

  3               Q.      Do you donate to the organization?            10:20

  4               A.      Never have.                                   10:20

  5               Q.      And have you ever attended any of             10:20

  6         their events?                                               10:20

  7               A.      I don't think so.                             10:20

  8               Q.      I'm going to introduce our second             10:20

  9         exhibit here, which is a copy from the Knife                10:20

 10         Rights website about a speaking event held on               10:20

 11         September 15, 2020 as part of the National                  10:20

 12         Constitution Day Second Amendment virtual                   10:20

 13         rally, the 35th gun rights policy conference.               10:20

 14                       (Exhibit 2 was identified.)

 15         BY MS. UYEHARA:

 16               Q.      Mr. Hardy, do you recall speaking at          10:20

 17         this event?                                                 10:20

 18               A.      I've spoken at a good number of               10:20

 19         them, and that would be in the timeframe when I             10:21

 20         probably would have been speaking, yes.                     10:21

 21               Q.      What do you mean by the timeframe in          10:21

 22         which you would have been speaking?                         10:21

 23               A.      Well, yeah, 2020 through the current          10:21

 24         day, and probably go back to 2018, 2019.                    10:21

 25               Q.      And can you read this part right              10:21

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  1         here that includes your name?                               10:21

  2                      (The Court Reporter requested                  10:21

  3               clarification.)                                       10:21

  4         BY MS. UYEHARA:                                             10:21

  5               Q.     Could you please read this                     10:21

  6         highlighted portion which includes your name?               10:21

  7               A.     This is an opportunity to hear                 10:21

  8         firsthand from the nation's 2A leaders and make             10:21

  9         your voice heard.      This year's roster includes          10:21

 10         Alan Gottlieb, Mercedes and Matt Schlapp, John              10:21

 11         Lott, Mark Walters, David Hardy, and some                   10:21

 12         others.                                                     10:21

 13               Q.     Thank you.                                     10:21

 14                      Do you recall any other speaking               10:21

 15         events for Knife Rights?                                    10:21

 16               A.     Well, that was --                              10:22

 17                      MR. DILLON:      Objection.      Lacks         10:22

 18               foundation.                                           10:22

 19                      THE WITNESS:      Well, that was the gun       10:22

 20               rights policy conference.         I've never          10:22

 21               attended a Knife Rights conference, so I              10:22

 22               don't recall speaking at any of them                  10:22

 23               either.                                               10:22

 24         BY MS. UYEHARA:                                             10:22

 25               Q.     Do you recall whether or not you               10:22

                                                                  Page 15

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  1         were paid for your presentation at this                       10:22

  2         conference?                                                   10:22

  3               A.      Oh, at that conference there?           No.     10:22

  4         I don't think I've ever been paid for any of                  10:22

  5         the gun rights policy appearances.                            10:22

  6               Q.      Are you aware of Knife Rights'                  10:22

  7         judicial and legislative efforts to overturn                  10:22

  8         knife legislation nationally?                                 10:22

  9               A.      In a general sense.                             10:22

 10               Q.      Are you aware --                                10:22

 11               A.      I don't know about -- much of the               10:22

 12         litigation.     I'm just aware that there is some             10:22

 13         of it.                                                        10:23

 14               Q.      Are you aware that their judicial               10:23

 15         and legislative efforts also involve                          10:23

 16         overturning switchblade legislation?                          10:23

 17               A.      Uh-huh.    Given that that's what --            10:23

 18         that this is the case of exactly that, I                      10:23

 19         suppose I am aware, yes.                                      10:23

 20               Q.      And what is your opinion on their               10:23

 21         efforts to overturn knife legislation                         10:23

 22         nationally?                                                   10:23

 23               A.      Well, I would think there were some             10:23

 24         statutes that need to be overturned.             I            10:23

 25         wouldn't have any opinion much beyond that.                   10:23

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  1               Q.      Would you say you're in favor of              10:23

  2         them, oppose them, or neutral?                              10:23

  3               A.      Somewhere between oppose them and             10:23

  4         neutral.                                                    10:23

  5               Q.      Can you explain your answer?                  10:23

  6               A.      Well, I don't think that regulation           10:23

  7         of weaponry generally has a beneficial effect.              10:23

  8         On the other hand, you know, I collect arms and             10:24

  9         I've got a decent edged weapon collection, but              10:24

 10         it's not really something that is deep in my                10:24

 11         being.                                                      10:24

 12               Q.      Can you describe some of the edged            10:24

 13         arms in your collection?                                    10:24

 14               A.      I've got them going back to the               10:24

 15         bronze age, early bronze age, arrowheads,                   10:24

 16         spearheads, that sort of thing.            Early bronze     10:24

 17         age in Greece ended about 2000 BC, so these are             10:24

 18         pretty good things.                                         10:24

 19                       And then I have a modern Bowie made           10:24

 20         after the style of the 1840s.           Probably a few      10:24

 21         others.    Several swords, that sort of thing.              10:24

 22         But for me, that's lightweight collecting.                  10:24

 23               Q.      Do you have any switchblades in your          10:24

 24         collection?                                                 10:24

 25               A.      No.                                           10:25

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  1               Q.      And earlier, I believe you said that          10:25

  2         there were some -- that you were not a fan of               10:25

  3         gun regulation generally, and there were some               10:25

  4         laws that you suggested might or should be                  10:25

  5         overturned.                                                 10:25

  6                       What laws are those?                          10:25

  7               A.      Well, I mean, it's -- I don't like            10:25

  8         permitting systems generally.           Restrictions on     10:25

  9         type of arms as a general rule are                          10:25

 10         nonfunctional.      That matter of thing, you know.         10:25

 11               Q.      Mr. Hardy, what do you mean by types          10:25

 12         of arms?                                                    10:25

 13               A.      Well, if you're talking about a               10:25

 14         specific firearm or class of firearms, unless               10:25

 15         there is something unusual about it, I don't                10:25

 16         see the sense of regulating one aspect of a                 10:25

 17         weapon as opposed to all the other aspects of               10:26

 18         it.                                                         10:26

 19               Q.      Have you worked with The Dillon Law           10:26

 20         Firm before?                                                10:26

 21               A.      Have I -- excuse me?                          10:26

 22               Q.      Sorry.                                        10:26

 23                       Have you worked with The Dillon Law           10:26

 24         Firm before?                                                10:26

 25               A.      I'm -- I probably have because I've           10:26

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  1         had contact with John somewhere in the past,                10:26

  2         but I can't recall exactly where.                           10:26

  3               Q.     In the past, you mean, like, at a              10:26

  4         conference or --                                            10:26

  5               A.     I just recall that when he contacted           10:26

  6         me, I don't think that was the first contact                10:26

  7         I've had with him.      But I don't have any                10:26

  8         recollection of what the contact was.                       10:26

  9               Q.     And so you might have worked on a              10:26

 10         case with The Dillon Law Firm before?                       10:26

 11               A.     Might have, yeah.                              10:26

 12               Q.     In your initial discussions with Mr.           10:26

 13         Dillon about this case, what was discussed                  10:27

 14         about this case?                                            10:27

 15                      MR. DILLON:      Objection.      Just          10:27

 16               privileged information.                               10:27

 17                      THE WITNESS:      Just, you know, that         10:27

 18               it was a challenge to switchblade laws in             10:27

 19               California.     I don't recall anything else.         10:27

 20         BY MS. UYEHARA:                                             10:27

 21               Q.     What area of expertise were you                10:27

 22         asked by The Dillon Law Firm to opine about?                10:27

 23               A.     The concept of keeping and bearing             10:27

 24         of arms, and in particular, the historical                  10:27

 25         record for regulations of the type being                    10:27

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  1         challenged.                                                      10:27

  2                 Q.    And did you advertise your expert                  10:27

  3         services in any way?                                             10:27

  4                 A.    No.                                                10:27

  5                 Q.    And do you have a written agreement                10:27

  6         governing your engagement as an expert in this                   10:27

  7         case?                                                            10:27

  8                 A.    No.    Verbal.                                     10:27

  9                 Q.    Are you being compensated for your                 10:28

 10         work in this case?                                               10:28

 11                 A.    Yes.                                               10:28

 12                 Q.    At what rate?                                      10:28

 13                 A.    $150 an hour.                                      10:28

 14                 Q.    So you submitted a rebuttal expert                 10:28

 15         report in support of plaintiff's case.                I'm        10:28

 16         going to put it on the screen now and you can                    10:28

 17         confirm that this is indeed the report.                          10:28

 18         BY MS. UYEHARA:

 19                 Q.    Do you see a copy of your report                   10:28

 20         titled "Rebuttal Report and Declaration of                       10:28

 21         David T. Hardy Rebutting Expert Reports and                      10:28

 22         Declarations of Robert Spitzer and Dr. Brennan                   10:28

 23         Rivas"?                                                          10:28

 24                 A.    Yes.                                               10:28

 25                 Q.    Did you write this document?                       10:28

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  1               A.     Yes.                                           10:28

  2               Q.     And at the end, is this your                   10:28

  3         signature under penalty of perjury on page 16?              10:28

  4               A.     Yep, yes.                                      10:29

  5               Q.     What information did you review in             10:29

  6         preparing this document?                                    10:29

  7               A.     I'm tempted to say a lifetime of               10:29

  8         study, but I reviewed the expert witness                    10:29

  9         reports of Rivas and Spitzer.          I probably did       10:29

 10         some research on my own, but those are the main             10:29

 11         things I recollect looking at.                              10:29

 12               Q.     Do you recall what sort of                     10:29

 13         independent research you did in preparation of              10:29

 14         your report?                                                10:29

 15               A.     It would probably have been                    10:29

 16         something on the internet just to verify some               10:29

 17         of their sources.      That matter of thing.                10:29

 18               Q.     So the only documents or sources you           10:29

 19         reviewed in addition to the actual reports were             10:30

 20         sources that were within their articles or                  10:30

 21         within their reports?                                       10:30

 22               A.     That were mentioned in their                   10:30

 23         reports.                                                    10:30

 24               Q.     In preparing your report, did you              10:30

 25         review the penal code sections at issue in this             10:30

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  1         case?                                                       10:30

  2                 A.    Can you repeat that?                          10:30

  3                 Q.    In preparing your report, did you             10:30

  4         review the penal code sections at issue in this             10:30

  5         case?                                                       10:30

  6                 A.    No, I don't believe I did.                    10:30

  7                 Q.    Are you aware that California's law           10:30

  8         permits switchblades that are less than two                 10:30

  9         inches in length?                                           10:30

 10                 A.    Yes, I recall that.                           10:30

 11                 Q.    Besides your internet research, did           10:30

 12         you consult any libraries or any databases?                 10:30

 13                 A.    No.                                           10:30

 14                 Q.    You spent two pages of your report            10:30

 15         describing your analysis of the Bruen opinion;              10:30

 16         is that correct?                                            10:30

 17                 A.    Around that.                                  10:31

 18                 Q.    In fact, your report includes the             10:31

 19         word "Bruen" at least 12 separate times,                    10:31

 20         correct?                                                    10:31

 21                 A.    The word what?       Pardon?                  10:31

 22                 Q.    Bruen.                                        10:31

 23                 A.    Oh, Bruen.     Okay.     Yes.                 10:31

 24                       MS. UYEHARA:      Ms. Court Reporter,         10:31

 25                 can you hear me clearly as well or do I             10:31

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  1               need to speak louder?          I'm using a new

  2               microphone today.                                       10:31

  3                        THE COURT REPORTER:        Yes.    Off the     10:31

  4               record.                                                 10:32

  5                        (An off-the-record discussion was              10:32

  6               held.)                                                  10:32

  7         BY MS. UYEHARA:                                               10:32

  8               Q.       Returning to my previous question,             10:32

  9         your report includes the word "Bruen" at least                10:32

 10         12 separate times; is that correct?                           10:32

 11               A.       I suspect that's right.                        10:32

 12               Q.       Why did you choose to include this             10:32

 13         discussion of the Bruen case?                                 10:32

 14               A.       As I understand it, that's at the              10:32

 15         heart of what's being debated in this case.                   10:32

 16         And Bruen is your most recent precedent, at                   10:32

 17         least until they come down with another one                   10:32

 18         this term.      And so, yeah, that's where I start            10:32

 19         my analysis.                                                  10:32

 20               Q.       Did the Dillon firm request that you           10:32

 21         include this analysis or was that your own                    10:33

 22         decision?                                                     10:33

 23               A.       I think it was my own decision.                10:33

 24               Q.       And why did you choose not to                  10:33

 25         include any exhibits to your report?                          10:33

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  1                 A.    I don't think I could come up with            10:33

  2         any.     I mean, what I was analyzing was the               10:33

  3         other expert witnesses, and they had the                    10:33

  4         exhibits.     So the question was, did those                10:33

  5         exhibits check out?                                         10:33

  6                 Q.    And were there any exhibits that you          10:33

  7         wanted to include but ultimately decided not                10:33

  8         to?                                                         10:33

  9                 A.    No, I can't think of any.                     10:33

 10                 Q.    And has anyone other than                     10:33

 11         plaintiff's counsel assisted you in writing                 10:33

 12         this?                                                       10:33

 13                 A.    No.                                           10:33

 14                 Q.    We're going to transition now to              10:33

 15         some questions about your background and                    10:33

 16         qualifications.                                             10:33

 17                       Did you graduate high school?                 10:33

 18                 A.    Yes.                                          10:33

 19                 Q.    And where did you attend college?             10:34

 20                 A.    University of Arizona.                        10:34

 21                 Q.    In what year?                                 10:34

 22                 A.    I started in 1969 and graduated in            10:34

 23         1972.                                                       10:34

 24                 Q.    And what was the focus of your                10:34

 25         studies there?                                              10:34

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  1               A.     Speech arts was my major and                      10:34

  2         government my minor.                                           10:34

  3               Q.     Can you describe what speech arts                 10:34

  4         is?                                                            10:34

  5               A.     Well, the department of speech was                10:34

  6         divided into two segments.         One was speech              10:34

  7         arts, which was essentially the history of                     10:34

  8         speech, is persuasive speech.          And the other           10:34

  9         was speech science, which is essentially                       10:34

 10         treating problems with speaking.                               10:34

 11               Q.     And in your studies, you focused on               10:34

 12         both of those or you had to choose a track?                    10:34

 13               A.     I chose the speech art side.            I did     10:34

 14         take I think six units of speech therapy                       10:35

 15         because that was required.                                     10:35

 16               Q.     And did any of those studies involve              10:35

 17         historical research?                                           10:35

 18               A.     The speech arts end did because it                10:35

 19         was surveying basically great speeches                         10:35

 20         throughout history.       So that would have                   10:35

 21         actually started with Aristotle, as I recall.                  10:35

 22               Q.     And in those studies, did you spend               10:35

 23         substantial time, like, researching or                         10:35

 24         identifying those speeches?                                    10:35

 25               A.     Well, yes.                                        10:35

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  1               Q.      Do you have an advanced degree in                10:35

  2         history?                                                       10:35

  3               A.      No.                                              10:35

  4               Q.      And so for your studies, would you               10:35

  5         have to dig up copies of historical speeches or                10:35

  6         were they mostly given to you as a student?                    10:35

  7               A.      Mostly given to you as reading                   10:36

  8         assignments.        That matter of thing.                      10:36

  9               Q.      But occasionally, you would have to              10:36

 10         research or find a speech on your own?                         10:36

 11               A.      Yes.                                             10:36

 12               Q.      And where did you attend law school?             10:36

 13               A.      University of Arizona.                           10:36

 14               Q.      And what was your first job out of               10:36

 15         law school?                                                    10:36

 16               A.      Let's see now.       It was probably -- I        10:36

 17         clerked during law school.          So I think my first        10:36

 18         job would have been with Browning and                          10:36

 19         Wilson-Druke, Browning and Wilson, hyphen,                     10:36

 20         D-r-u-k-e.                                                     10:36

 21               Q.      And was that a law firm?                         10:36

 22               A.      Yes.                                             10:36

 23               Q.      And what kind of work did you do                 10:36

 24         there?                                                         10:36

 25               A.      I was only there for a year.            They     10:36

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  1         dissolved the partnership.          And so it was sort          10:36

  2         of, you know, stuff you give the new guy.                       10:36

  3               Q.      And what kind of stuff do you give                10:37

  4         the new guy?                                                    10:37

  5               A.      Yeah, simple motions, that matter of              10:37

  6         thing.     Deposition or two, you know, meeting                 10:37

  7         with clients, that sort of stuff.            Occasionally       10:37

  8         representing someone in city court on                           10:37

  9         misdemeanors.       That matter of thing.                       10:37

 10               Q.      Was it a criminal law practice?                   10:37

 11               A.      No.    Mostly civil.      There was some          10:37

 12         criminal, but mostly civil.          Back in those days         10:37

 13         we were more generalists than is true today.                    10:37

 14               Q.      Mr. Hardy, you also worked at the                 10:37

 15         Interior Department; is that correct?                           10:37

 16               A.      Oh, yes.                                          10:37

 17               Q.      And what kind of work did you do                  10:37

 18         there?                                                          10:37

 19               A.      The weirdest legal work I have ever               10:37

 20         done in my life.       I represented the United                 10:37

 21         States Fish and Wildlife Service with emphasis                  10:37

 22         on their law enforcement division.             When I say       10:37

 23         weird, you've never lived until you've listened                 10:38

 24         to an undercover lizard buy going down.               No        10:38

 25         kidding.     I had to do it.       It was like                  10:38

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  1         practicing law in a Far Side cartoon.                        10:38

  2               Q.     And after your work there at the                10:38

  3         Interior Department, you moved on to private                 10:38

  4         practice; is that correct?                                   10:38

  5               A.     Yes.   Came back here to Tucson -- or           10:38

  6         Phoenix first, then Tucson.                                  10:38

  7               Q.     And then what would you say is the              10:38

  8         legal focus of your private practice?                        10:38

  9               A.     At the moment, semi-retired, so I'm             10:38

 10         only working 50 hours a week.          But largely on        10:38

 11         Second Amendment right to arms.           That matter of     10:38

 12         thing.                                                       10:38

 13               Q.     And in your time in private                     10:38

 14         practice, has that been the majority of the                  10:38

 15         work that you've done?                                       10:38

 16               A.     I'd say about 50-50 over, you know,             10:38

 17         that's 20-odd years.       I'd say about 50-50.              10:39

 18         More now and less at the beginning.                          10:39

 19               Q.     And when you say Second Amendment               10:39

 20         work, what kind of things are we talking about?              10:39

 21               A.     Writing law review articles,                    10:39

 22         sometimes handling cases.         That matter of             10:39

 23         thing.                                                       10:39

 24               Q.     And what kind of Second Amendment               10:39

 25         cases do you find yourself handling?                         10:39

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  1               A.     Well, there was -- I submitted an              10:39

  2         amicus brief in the Bruen case.           Also, in          10:39

  3         McDonald v. Chicago and in D.C. versus Heller.              10:39

  4         I've submitted a few at the circuit levels, but             10:39

  5         I don't recall the captions.          That's basically      10:39

  6         it.                                                         10:39

  7               Q.     Is it fair to characterize that a              10:39

  8         lot of your Second Amendment work has been in               10:40

  9         amici role, filing amicus briefs?                           10:40

 10               A.     Yeah, a lot of it.        I doubt a            10:40

 11         majority, but a lot of it.                                  10:40

 12               Q.     And most of your work in the Second            10:40

 13         Amendment space has been in the capacity as a               10:40

 14         legal academic scholar.        Is that a correct            10:40

 15         characterization of your work?                              10:40

 16               A.     Yeah, probably.                                10:40

 17               Q.     What books have you written?                   10:40

 18               A.     Seven of them.       The most recent is        10:40

 19         "Dred Scott:     The Inside Story" which was great          10:40

 20         fun to research and write it.          Then before that     10:40

 21         was "I'm from the Government and I'm here to                10:40

 22         kill you" which was a summary of basically the              10:40

 23         Federal Tort Claims Act and how fouled up it                10:40

 24         is.                                                         10:41

 25                      Before then, there was one book on             10:41

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  1         shortwave radio listening.          One book on origins       10:41

  2         and development of the Second Amendment.              One     10:41

  3         book on Michael Moore, the only one that paid                 10:41

  4         worth a dang.      Those are the ones that I                  10:41

  5         recollect.                                                    10:41

  6               Q.      And so of the books you've written              10:41

  7         (indecipherable) --                                           10:41

  8                       (The Court Reporter requested                   10:41

  9               clarification.)                                         10:41

 10         BY MS. UYEHARA:                                               10:41

 11               Q.      And of the books you've written, is             10:41

 12         only one of them on the Second Amendment?                     10:41

 13               A.      Let's see now.       Yes, I believe             10:41

 14         that's right.                                                 10:41

 15               Q.      And can you describe a short summary            10:41

 16         of that book?                                                 10:41

 17               A.      Well, it basically went back and                10:41

 18         took the original materials and reproduced them               10:41

 19         in a format I saw used in I believe it was the                10:42

 20         English historical papers, where instead of the               10:42

 21         author -- (audio disruption).                                 10:42

 22                       MR. DILLON:      Is anyone else getting

 23               this?                                                   10:42

 24                       MS. UYEHARA:      I just muted him, so          10:42

 25               it might be still going if we unmute him.

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  1               But you said the word "author" and it                   10:42

  2               happened on repeat for some reason.                     10:42

  3                      MR. DILLON:        Try unmuting him again        10:42

  4               and see what happens.                                   10:42

  5                      MS. UYEHARA:        Okay.   It's going to        10:42

  6               send him a request to unmute.                           10:42

  7                      MR. DILLON:        Here, let me -- I'm           10:42

  8               going to call Dave and let him know what's              10:42

  9               going on.      I don't know if he can tell you.         10:43

 10                      MS. UYEHARA:        Sounds good.                 10:43

 11                      (A recess was taken.)                            10:51

 12         BY MS. UYEHARA:                                               10:51

 13               Q.     Mr. Hardy, how many hours did you                10:51

 14         spend working on this case in preparing your                  10:51

 15         rebuttal report here?                                         10:51

 16               A.     I don't actually recall.           I mean, I     10:51

 17         kept track of it, but it's just not something                 10:52

 18         off the top of my head.                                       10:52

 19               Q.     If you had to estimate?                          10:52

 20               A.     Somewhere between 20 and 30 hours.               10:52

 21               Q.     Okay.     And earlier, we spoke about            10:52

 22         the amicus brief that you filed in Bruen.                     10:52

 23               A.     Uh-huh.     Yes.                                 10:52

 24               Q.     And that amicus brief you filed as               10:52

 25         an attorney, correct?                                         10:52

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  1                 A.    Well, yes.                                     10:52

  2                 Q.    Do you recall on behalf of whom you            10:52

  3         filed that brief for?                                        10:52

  4                 A.    Firearms Policy Coalition, one of              10:52

  5         their associated organizations.            So I don't        10:52

  6         recall the name, but it might be something like              10:52

  7         Firearms Policy Coalition Foundation or                      10:52

  8         something like that.        There were some other            10:52

  9         parties listed, but that was the lead party.                 10:53

 10                 Q.    And in your brief, you were an                 10:53

 11         attorney, as we just mentioned; you weren't                  10:53

 12         working as a historian or in a historical                    10:53

 13         capacity, correct?                                           10:53

 14                 A.    Well, in preparing a brief on                  10:53

 15         constitutional history, you're sort of doing                 10:53

 16         both.                                                        10:53

 17                 Q.    But your brief was closer or akin to           10:53

 18         legal, like, cases and I suppose, like, legal                10:53

 19         argument?                                                    10:53

 20                       MR. DILLON:      Objection.                    10:53

 21                 Argumentative.     And vague and ambiguous.          10:53

 22                       THE WITNESS:      Well, I mean, it             10:53

 23                 wasn't in the sense of being focused on              10:53

 24                 case law.   It was more history than                 10:53

 25                 anything else, going back into the original          10:53

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  1               history rather than analyzing case law.               10:53

  2         BY MS. UYEHARA:                                             10:53

  3               Q.     And so it was a discussion of Framer           10:53

  4         era history?                                                10:54

  5               A.     Could you say that again?                      10:54

  6               Q.     So it was a discussion of Framer era           10:54

  7         history?                                                    10:54

  8               A.     Oh, yes.     Yes.                              10:54

  9               Q.     And the original public meeting of             10:54

 10         the Second Amendment, I assume?                             10:54

 11               A.     Yes.                                           10:54

 12               Q.     And was your amicus brief based on             10:54

 13         -- sorry, I just had something pop up on my                 10:54

 14         screen here.                                                10:54

 15                      And was your amicus brief based on             10:54

 16         your articles you wrote as a legal scholar?                 10:54

 17               A.     It was --                                      10:54

 18                      MR. DILLON:      Objection.      Vague and     10:54

 19               ambiguous.                                            10:54

 20                      THE WITNESS:        I don't think it cited     10:54

 21               any of my articles.         It might have, but I      10:54

 22               don't think so.      It was more on original          10:54

 23               research more than anything else.                     10:54

 24         BY MS. UYEHARA:                                             10:54

 25               Q.     And when you say original resource             10:54

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  1         [sic] you mean, like, Framer era documents?                    10:54

  2                 A.       Yes, yes.     But by original, I also         10:54

  3         mean consulting the original documents as                      10:55

  4         opposed to consulting a book which discusses                   10:55

  5         them.        That matter of thing.                             10:55

  6                 Q.       And did you research those documents          10:55

  7         from databases?                                                10:55

  8                 A.       It's over 50 years of my life, so             10:55

  9         some are databases and some are long before the                10:55

 10         internet existed.                                              10:55

 11                 Q.       I'm going to ask you a couple more            10:55

 12         questions about some of the other parties you                  10:55

 13         might have worked with.                                        10:55

 14                          I believe Knife Rights was one of             10:55

 15         the parties on that amicus brief; is that                      10:55

 16         correct?                                                       10:55

 17                 A.       They might have been.         I don't         10:55

 18         recall.                                                        10:55

 19                 Q.       There were many organizations that            10:55

 20         you represented on that amicus brief, correct?                 10:55

 21                 A.       I don't know about many, but there            10:56

 22         were several.                                                  10:56

 23                 Q.       So in addition to Knife Rights,               10:56

 24         you've worked with a lot of different other                    10:56

 25         Second Amendment organizations.               Can you list     10:56

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  1         some of those organizations you've worked with?                   10:56

  2                 A.       Let's see.     Second Amendment                  10:56

  3         Foundation.        I haven't done it in many years,               10:56

  4         but some years ago, I did some work with the                      10:56

  5         Gun Owners of America.            I've done some with             10:56

  6         Tucson Rod and Gun Club.            Those are the ones            10:56

  7         that I recall.                                                    10:56

  8                 Q.       Would it be fair to characterize                 10:56

  9         those as pro gun organizations?                                   10:56

 10                 A.       Oh, yes.                                         10:56

 11                 Q.       And what's your relationship with                10:56

 12         the Second Amendment Foundation?                                  10:57

 13                 A.       They've given me some awards.           I        10:57

 14         don't have any, you know, ongoing legal                           10:57

 15         relationship with them.                                           10:57

 16                 Q.       How would you describe their                     10:57

 17         organizational mission?                                           10:57

 18                 A.       I think to promote research into the             10:57

 19         Second Amendment.                                                 10:57

 20                 Q.       I'm going to pull up an exhibit                  10:57

 21         here.        It's a copy of a web page from the                   10:57

 22         Second Amendment Foundation website titled "2A                    10:57

 23         Legal Pioneer David Hardy Inducted Into The                       10:57

 24         Second Amendment Hall of Fame."                                   10:57

 25                          Have you been on this website                    10:57

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  1         before?                                                     10:57

  2               A.      I'm waiting for the image to come             10:57

  3         up.   Oh --                                                 10:57

  4               Q.      It's --                                       10:58

  5               A.      Yeah, I remember that.                        10:58

  6               Q.      Do you recall this web page titled            10:58

  7         "2A Legal Pioneer David Hardy Inducted Into The             10:58

  8         Second Amendment Hall of Fame"?                             10:58

  9               A.      Yes, I think I saw it.                        10:58

 10               Q.      And when did you receive this award?          10:58

 11               A.      About a year or two ago.                      10:58

 12               Q.      Can you read this highlighted                 10:58

 13         portion from the article?          I can zoom in also,      10:58

 14         if it's too zoomed out.                                     10:58

 15               A.      Upon learning of this award, Hardy            10:58

 16         said he was deeply honored, adding, quote, "I               10:58

 17         don't think the battle will ever end, but I                 10:58

 18         think that the grounds of the battle are                    10:58

 19         shifting decidedly in our favor," unquote.                  10:58

 20               Q.      And what battle are you referring             10:58

 21         to, Mr. Hardy?                                              10:58

 22               A.      The conflict over the Second                  10:58

 23         Amendment and the right to keep and bear arms.              10:58

 24               Q.      And if you had to describe that               10:59

 25         conflict a little bit more precisely?                       10:59

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  1                      MR. BRAZIER:      Objection.      Vague and     10:59

  2               ambiguous.                                             10:59

  3                      THE WITNESS:      I don't know if               10:59

  4               there's a way to describe it more                      10:59

  5               precisely.                                             10:59

  6         BY MS. UYEHARA:                                              10:59

  7               Q.     And at the end of this quote here               10:59

  8         you state:                                                   10:59

  9                      I think that the grounds of the                 10:59

 10         battle are shifting decidedly in our favor.                  10:59

 11                      What you are you referring to?                  10:59

 12               A.     The conflict over the right to keep             10:59

 13         and bear arms.                                               10:59

 14               Q.     And on what grounds is that conflict            10:59

 15         shifting in your favor, in the Second Amendment              10:59

 16         Foundation's favor?                                          10:59

 17                      MR. DILLON:      Objection.      Compound.      10:59

 18               Speculation.                                           10:59

 19                      THE WITNESS:      When I first began, my        10:59

 20               first law review article was written in 19             10:59

 21               -- are you still there?                                11:00

 22         BY MS. UYEHARA:                                              11:00

 23               Q.     Yes, I'm still here.                            11:00

 24               A.     Okay.    I saw -- the image was weird,          11:00

 25         doing strange things on the computer.                        11:00

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  1                          There was nothing really seriously                11:00

  2         written on the subject.            It was -- in fact, my           11:00

  3         law review editor proposed that I add in a                         11:00

  4         section to an article that I was already                           11:00

  5         writing on the Second Amendment.                                   11:00

  6                          And my reaction was, but that's just              11:00

  7         something about the National Guard and the                         11:00

  8         militia and that sort of thing.               We all know          11:00

  9         that.        And he said, no, go out and research it.              11:00

 10         So I did, and found, no, there was an entirely                     11:00

 11         different side to the question.                                    11:00

 12                          And then today, we have -- we have,               11:00

 13         you know, the three great cases.               And Bruen           11:00

 14         totally changed the nature of that field of                        11:00

 15         intellectual endeavor.            I mean, at one point,            11:00

 16         it was almost ludicrous, and another point it's                    11:01

 17         the law of the land.                                               11:01

 18                 Q.       So when you stated that, "the                     11:01

 19         grounds of the battle are shifting decidedly in                    11:01

 20         our favor," are you referring to Bruen?                  Is        11:01

 21         that a fair characterization?                                      11:01

 22                 A.       That would have been one of the                   11:01

 23         references, yes.                                                   11:01

 24                 Q.       And what other references would you               11:01

 25         say?                                                               11:01

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  1               A.     I could give you an hour's                       11:01

  2         disquisition on that.       Obviously, the two                11:01

  3         earlier cases, Heller and McDonald.            But there      11:01

  4         was also a -- several major shifts in the                     11:01

  5         entire way of thinking about it.                              11:01

  6                      Earliest days, it was myself, Steve              11:01

  7         Halbrook, Joyce Malcom, and a few others                      11:01

  8         writing on the Second Amendment, publishing in                11:01

  9         small law reviews.                                            11:01

 10                      Then in '83, Don Kates got published             11:02

 11         in the Michigan Law Review, which is one of the               11:02

 12         Big Ten, and that brought the whole idea to the               11:02

 13         attention of the big names in common law who                  11:02

 14         would be reading -- wouldn't be reading the                   11:02

 15         small reviews but would read Michigan.                        11:02

 16                      And then the big names started                   11:02

 17         coming on, Akhil Amar, Sanford Levinson of                    11:02

 18         Texas, William Van Alystine, then of Duke.            And     11:02

 19         then finally, in the final stage, the courts                  11:02

 20         started to come around.                                       11:02

 21                      But this -- you know, this process,              11:02

 22         it took decades.      That's what I mean by the               11:02

 23         battle shifting in our favor.                                 11:02

 24               Q.     And those people that you just                   11:02

 25         mentioned, I believe they're all legal                        11:02

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  1         academics and legal scholars?                                     11:02

  2                 A.       Yes.                                             11:02

  3                 Q.       And what is your relationship with               11:02

  4         the National Rifle Association, also known as                     11:03

  5         the NRA?                                                          11:03

  6                 A.       With the NRA itself, I'm a life                  11:03

  7         member and whatever the grade is, one step                        11:03

  8         beyond life.           I forget.   But that's my status           11:03

  9         with them.                                                        11:03

 10                          Presently, there's no                            11:03

 11         attorney-client privilege involved in any of                      11:03

 12         that.        And I often attend their board meetings,             11:03

 13         although I'm not a member of the board.                           11:03

 14                 Q.       And so you are a life member of NRA              11:03

 15         or something above that?                                          11:03

 16                 A.       Yes, yes.     Life member.       They have a     11:03

 17         number of things they've classified beyond the                    11:03

 18         life member, and I just can't remember which                      11:03

 19         one of them I am.                                                 11:03

 20                 Q.       And do you receive any special                   11:03

 21         benefits as part of that membership?                              11:03

 22                 A.       No.     The only benefit of the                  11:03

 23         membership is you get the magazine.                It's a         11:04

 24         nice magazine, but, yeah, not a terribly                          11:04

 25         rewarding thing.                                                  11:04

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  1               Q.     Do you pay a membership fee in order                11:04

  2         to maintain your status?                                         11:04

  3               A.     Well, not as a life member.              I paid     11:04

  4         that back in the 1980s.                                          11:04

  5               Q.     And so after you paid a certain                     11:04

  6         amount of dues, I presume that's when you                        11:04

  7         become more than a life member?                                  11:04

  8               A.     Yeah, or you become a life member.                  11:04

  9         Then you don't pay annual dues.                                  11:04

 10               Q.     And when did you first join the NRA?                11:04

 11               A.     I think it was 1979, and became a                   11:04

 12         life member in 1985, I think.                                    11:04

 13               Q.     Can you describe what the NRA is?                   11:04

 14               A.     It was founded in 1871.          So                 11:04

 15         originally devoted to rifle practice.                I've        11:05

 16         seen some of their old minutes of the board                      11:05

 17         meetings, and they were pretty funny because                     11:05

 18         they had -- at one point, Richard Gatling was a                  11:05

 19         member of the board of directors.           And so he            11:05

 20         donated a Gatling gun for the first prize in                     11:05

 21         the national rifle matches.                                      11:05

 22                      Over the years, as a result of the                  11:05

 23         Cincinnati members meeting in 1970 -- 1977, it                   11:05

 24         became a more political organization.                And at      11:05

 25         that point, they had to make a choice of two                     11:05

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  1         courses, and they chose to follow actually the               11:05

  2         one that was more -- that involved less of a                 11:05

  3         change than the other one.           It's pretty             11:05

  4         complicated.                                                 11:06

  5               Q.     Earlier, Mr. Hardy, you said you                11:06

  6         attended board meetings.        I assume that's not          11:06

  7         something an average or usual NRA member gets                11:06

  8         to do.                                                       11:06

  9                      Is that something special that                  11:06

 10         you're invited to?                                           11:06

 11                      MR. DILLON:      Objection.                     11:06

 12               Argumentative.      Lacks foundation.                  11:06

 13               Speculation.                                           11:06

 14                      THE WITNESS:      No.     Any board meeting     11:06

 15               can be attended by any member.                         11:06

 16         BY MS. UYEHARA:                                              11:06

 17               Q.     And so you choose to attend board               11:06

 18         meetings?                                                    11:06

 19               A.     Yes, yes.                                       11:06

 20               Q.     Have you ever donated any money or              11:06

 21         your services to the NRA?                                    11:06

 22               A.     Other than --                                   11:06

 23                      MR. DILLON:      Objection.                     11:06

 24                      THE WITNESS:      Oh.     Other than my         11:06

 25               dues, I don't think so.                                11:06

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  1         BY MS. UYEHARA:                                             11:06

  2               Q.     And so you've never fundraised for             11:06

  3         them in any capacity?                                       11:06

  4               A.     I never, pardon?                               11:06

  5               Q.     Fundraised with them in any                    11:06

  6         capacity?                                                   11:06

  7               A.     Oh, no.                                        11:06

  8               Q.     I'm going to introduce another                 11:06

  9         exhibit of the Of Arms and the Law, which I                 11:07

 10         believe is your personal website, Mr. Hardy.                11:07

 11               A.     Yes.                                           11:07

 12                      (Exhibit 3 was identified.)                    11:09

 13         BY MS. UYEHARA:                                             11:07

 14               Q.     Can you see the page on your screen?           11:07

 15               A.     Oh, yes.     Yes.                              11:07

 16               Q.     And can you confirm that this is a             11:07

 17         copy of your personal website?                              11:07

 18               A.     Yes, my blog.                                  11:07

 19               Q.     What is the focus on your blog, Mr.            11:07

 20         Hardy?                                                      11:07

 21               A.     What arms laws and the Second                  11:07

 22         Amendment.                                                  11:07

 23               Q.     Down here on the left-hand side,               11:07

 24         could you read this for me?                                 11:07

 25               A.     It says:                                       11:07

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  1                      Click here to join the NRA or renew             11:07

  2         your membership online.        Special discount:             11:07

  3         Annual membership $25, regular $35, for a great              11:07

  4         magazine and benefits.                                       11:08

  5               Q.     Mr. Hardy, is that an advertisement             11:08

  6         for the NRA on your website?                                 11:08

  7               A.     Yes.                                            11:08

  8               Q.     Do you receive a referral fee for               11:08

  9         people who sign up using that link?                          11:08

 10               A.     Yes.    I think it's, like, $5.         And     11:08

 11         what was puzzling me was I haven't seen any of               11:08

 12         that in at least a year.        So maybe nobody's            11:08

 13         using my website anymore.                                    11:08

 14               Q.     If you had to estimate how much                 11:08

 15         money you've made in referral fees?                          11:08

 16               A.     It would be under $100 over maybe 10            11:08

 17         years.                                                       11:08

 18               Q.     You're still part of that program,              11:08

 19         correct?                                                     11:08

 20               A.     I guess.     As I say, I haven't heard          11:08

 21         from them in a year, but I guess I am.                       11:08

 22               Q.     Besides those referral fees, you                11:09

 23         haven't been paid by the NRA in any capacity?                11:09

 24               A.     Yeah.    Now, that's NRA proper.                11:09

 25         There's also the NRA Civil Rights Defense Fund,              11:09

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  1         and I've gotten grants from them.           It's a              11:09

  2         separate corporation but obviously closely                      11:09

  3         related.                                                        11:09

  4               Q.     Is the NRA Civil Rights Defense Fund               11:09

  5         a nonprofit?                                                    11:09

  6               A.     Yes.                                               11:09

  7               Q.     And the grants you received I assume               11:09

  8         were for research?                                              11:09

  9               A.     Mostly, yeah.                                      11:09

 10               Q.     Do you recall how much you received                11:09

 11         in grants from their civil rights organization                  11:09

 12         component?                                                      11:09

 13               A.     I'm just trying to think.          I think         11:09

 14         in the last year, it might have been 40 or                      11:09

 15         $50,000, in that ballpark somewhere.                            11:09

 16               Q.     Do you recall when you first                       11:10

 17         received one of these grants?                                   11:10

 18               A.     Yes.   It would be back around the                 11:10

 19         year -- early in the 2000s.         It might have been          11:10

 20         2001 or 2003, around in there.                                  11:10

 21               Q.     Do you recall how many grants you've               11:10

 22         received from the NRA?                                          11:10

 23               A.     Probably a couple of dozen.             Two or     11:10

 24         three dozen.                                                    11:10

 25               Q.     If you had to estimate the total                   11:10

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  1         amount of grant money that you -- you received?                11:10

  2               A.      That would be over 20 years, so                  11:10

  3         certainly it would be in the hundreds of                       11:10

  4         thousands over that time.          It might be 200.            11:11

  5         Might be 3, but probably 2.                                    11:11

  6               Q.      And did the grants require you to                11:11

  7         research certain topics or put out certain kind                11:11

  8         of papers?                                                     11:11

  9               A.      It would depend upon the nature of               11:11

 10         the grant.     Sometimes it was with regard to a               11:11

 11         very specific project.         Sometimes it was a              11:11

 12         broader attempt to investigate some issue.                     11:11

 13               Q.      And what kind of specific issues did             11:11

 14         you investigate?                                               11:11

 15               A.      Well, let's see.       There was -- I've         11:11

 16         got one that will be coming out.            And it's on        11:11

 17         -- we're getting hypertechnical here.                 I        11:11

 18         understand it's on whether the statute of                      11:11

 19         Northumberland in 1328 and the royal decrees of                11:12

 20         the Tutor monarchs were applicable in the                      11:12

 21         American colonies, and whether Americans in                    11:12

 22         1791 would have any way of having found those                  11:12

 23         sources.     Like I say, it's getting technical.               11:12

 24                       One of the -- yeah.        One of the            11:12

 25         interesting things is that the -- we have much                 11:12

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  1         better ideas of English medieval and early                    11:12

  2         modern sources than did anyone at the colonial                11:12

  3         time, even though they were much nearer in time               11:12

  4         because the English records were just horrible                11:12

  5         shape until the 18th -- or 19th and 20th                      11:12

  6         centuries.    All the stuff we regard as normal,              11:12

  7         they didn't have.      Nobody had in 1791.                    11:12

  8               Q.     That's interesting.                              11:12

  9               A.     Yeah.                                            11:12

 10               Q.     And so these grants, I assume you                11:12

 11         wrote papers and things like reports?                         11:13

 12               A.     Oh, yeah.                                        11:13

 13               Q.     Are those released on the NRA                    11:13

 14         website or where do those get published, if                   11:13

 15         anywhere?                                                     11:13

 16               A.     I don't know.      I know that the Civil         11:13

 17         Rights Defense Fund has a website, but I don't                11:13

 18         know what's on it.                                            11:13

 19               Q.     So is the research for the Civil                 11:13

 20         Rights Defense Fund themselves to utilize?                    11:13

 21               A.     Could you say that again?          Sorry.        11:13

 22         I've got some high frequency hearing loss.                    11:13

 23               Q.     No worries.                                      11:13

 24                      Is your research for the Civil                   11:13

 25         Rights Defense Fund to use in their own work?                 11:13

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  1               A.      Not really.      I don't know that they         11:13

  2         have any of their own work.          They just give out       11:13

  3         grants.                                                       11:13

  4               Q.      Does your grant require you to                  11:13

  5         publish a paper or publish your findings or                   11:13

  6         anything like that?                                           11:13

  7               A.      That's sort of assumed because when             11:14

  8         you go in to ask for the grant, you're talking                11:14

  9         often about what you intend to write upon.            So      11:14

 10         it's pretty much assumed that you will get                    11:14

 11         published.                                                    11:14

 12               Q.      And just to confirm, you've received            11:14

 13         these grants over a period of about two                       11:14

 14         decades?                                                      11:14

 15               A.      Yep.                                            11:14

 16               Q.      All right.     What's your relationship         11:14

 17         with Gun Freedom Radio?                                       11:14

 18               A.      I may have appeared on it from time             11:14

 19         to time.     I've appeared on a fair number of                11:14

 20         radio programs.      But that's the only                      11:14

 21         relationship I can think of.                                  11:14

 22               Q.      And so, yes, you have appeared.         And     11:14

 23         I'm introducing another exhibit, Gun Freedom                  11:15

 24         Radio's web page where it says, "Our guests:                  11:15

 25         David T. Hardy," and it has a summary of some                 11:15

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  1         of your work and says you were featured on                    11:15

  2         their 100th episode.                                          11:15

  3                A.    Uh-huh.                                          11:15

  4                      (Exhibit 4 was identified.)                      11:15

  5         BY MS. UYEHARA:                                               11:15

  6                Q.    Do you recall this, Mr. Hardy?                   11:15

  7                A.    Actually, I don't.                               11:15

  8                Q.    Can you describe what Gun Freedom                11:15

  9         Radio is?                                                     11:15

 10                A.    I have no recollection of that at                11:15

 11         all.    I mean, if I knew the human being behind              11:15

 12         it I might have better luck recalling it.                     11:15

 13                Q.    Yeah, I'm not sure if there's a                  11:15

 14         singular human being who runs the radio.                      11:15

 15                      But so you've been on a variety of               11:15

 16         different Second Amendment podcasts, radio                    11:15

 17         shows, and things like that?                                  11:15

 18                A.    Oh, yes.                                         11:15

 19                Q.    And for this particular one, I                   11:15

 20         assume you don't recall whether or not you were               11:16

 21         paid for this appearance?                                     11:16

 22                A.    I'm sure I wasn't.        I don't think          11:16

 23         I've ever been paid for a radio thing or a                    11:16

 24         podcast.                                                      11:16

 25                      MS. UYEHARA:      All right.      So looking     11:16

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  1               at my notes, I'm at a good stopping point               11:16

  2               for now, if we want to take a short break,              11:16

  3               because I know we started around 10:00.                 11:16

  4               Does that sound good?                                   11:16

  5                        THE WITNESS:      Yep.                         11:16

  6                        MR. DILLON:      Sounds good.                  11:16

  7                        MS. UYEHARA:      Let's take a

  8               ten-minute break.         We'll come back at            11:16

  9               11:26.                                                  11:16

 10                        (A recess was taken.)                          11:26

 11         BY MS. UYEHARA:                                               11:26

 12               Q.       Prior to drafting your report --               11:26

 13                        THE COURT REPORTER:        Your audio is       11:27

 14               really low.                                             11:27

 15                        MS. UYEHARA:      Okay.                        11:27

 16                        THE COURT REPORTER:        Now it's okay.      11:27

 17                        MS. UYEHARA:      Thank you for letting        11:27

 18               me know.                                                11:27

 19         BY MS. UYEHARA:                                               11:27

 20               Q.       Prior to drafting this report, what            11:27

 21         independent research have you done of                         11:27

 22         historical laws?                                              11:27

 23                        MR. DILLON:      Objection.      Vague and     11:27

 24               ambiguous.                                              11:27

 25                        THE WITNESS:      Well, 50 years of            11:27

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  1               research.    I mean...                                     11:27

  2         BY MS. UYEHARA:                                                  11:27

  3               Q.     Have you researched historical                      11:27

  4         firearm laws?                                                    11:27

  5               A.     Oh, yes.     Yes.                                   11:27

  6                      MR. DILLON:      Objection.                         11:27

  7         BY MS. UYEHARA:                                                  11:27

  8               Q.     And does that include laws about                    11:27

  9         ammunition storage, militia use, things of that                  11:27

 10         nature?                                                          11:27

 11               A.     Oh, yeah.                                           11:27

 12               Q.     And how much research have you done                 11:27

 13         on historical dangerous weapons laws?                            11:27

 14                      MR. DILLON:      Objection.      Vague and          11:27

 15               ambiguous.                                                 11:27

 16         BY MS. UYEHARA:                                                  11:27

 17               Q.     When I say dangerous weapons, I mean                11:27

 18         Bowie knives, (indecipherable) --                                11:28

 19                      (The Court Reporter requested                       11:28

 20               clarification.)                                            11:28

 21         BY MS. UYEHARA:                                                  11:28

 22               Q.     By dangerous weapons, I mean Bowie                  11:28

 23         knives, Arkansas toothpicks, pocket pistols,                     11:28

 24         and things of that nature.                                       11:28

 25               A.     Well, a good amount of it.              I mean,     11:28

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  1         it's like I say, this has been 50 years of my                  11:28

  2         life.                                                          11:28

  3                 Q.    Would you say your research has                  11:28

  4         primarily been on primary sources, like the

  5         laws themselves?

  6                 A.    A lot of it --                                   11:28

  7                       MR. DILLON:      Objection.      Vague and       11:28

  8                 ambiguous.                                             11:28

  9                       THE WITNESS:      A lot of it would be           11:28

 10                 in the primary sources.        I've researched         11:28

 11                 everywhere, including the Library of                   11:28

 12                 Congress rare books division.          So, yes,        11:28

 13                 I've done a lot of research.                           11:28

 14         BY MS. UYEHARA:                                                11:28

 15                 Q.    Mr. Hardy, my understanding of your              11:29

 16         publications is that a lot of them are in law                  11:29

 17         reviews or law journals; is that correct?                      11:29

 18                 A.    Yes.                                             11:29

 19                 Q.    Have you been published in any                   11:29

 20         history peer-reviewed journals?                                11:29

 21                 A.    There was one coauthored piece on                11:29

 22         the Third Amendment -- yes, I do like them                     11:29

 23         obscure -- and that one may have been in a                     11:29

 24         peer-reviewed historical journal, but that's                   11:29

 25         the only one I can think of.                                   11:29

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  1                Q.    And the bulk of your work, I assume            11:29

  2         around 25 different articles, maybe more, have              11:29

  3         been in law review journals, correct?                       11:29

  4                A.    Yeah.                                          11:29

  5                Q.    And in those law review articles,              11:29

  6         has the primary focus been legal theories, the              11:29

  7         law?                                                        11:29

  8                      MR. DILLON:      Objection.      Compound.     11:29

  9                Vague and ambiguous.                                 11:29

 10                      THE WITNESS:      More the original            11:29

 11                historical sources and interpreting them.            11:30

 12                There wasn't a whole lot of case law on the          11:30

 13                subject to begin with.                               11:30

 14         BY MS. UYEHARA:                                             11:30

 15                Q.    And not a lot of legal theory                  11:30

 16         either?                                                     11:30

 17                      MR. DILLON:      Same objections.              11:30

 18                      THE WITNESS:      It depends on what you       11:30

 19                want to talk about in terms of legal                 11:30

 20                theory.   I mean, at one level, it's all             11:30

 21                legal theory.                                        11:30

 22         BY MS. UYEHARA:                                             11:30

 23                Q.    Would you say the history is legal             11:30

 24         theory, is that what you just said?                         11:30

 25                A.    It contributes to legal theory, yes.           11:30

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  1               Q.      And when did you start researching             11:30

  2         historical firearms-related laws?            You said 50     11:30

  3         years ago?                                                   11:30

  4               A.      Uh-huh.    Yes.    Well, my first law          11:30

  5         review article was in 1974, so that was 50                   11:30

  6         years ago.     And I believe I'd started in before           11:30

  7         that article.      So upwards of 50 years.                   11:30

  8               Q.      And what would you say are the                 11:31

  9         primary time periods you've researched?                      11:31

 10               A.      Really, from about the 11th century            11:31

 11         onward, with obviously more emphasis on the                  11:31

 12         American experience, which would really be from              11:31

 13         the 18th century onward.                                     11:31

 14               Q.      If you had to categorize your                  11:31

 15         research, which I realize is difficult, what                 11:31

 16         percentage of your research is America focused               11:31

 17         versus European or international focused?                    11:31

 18               A.      I'd say American focus about 80                11:31

 19         percent.     Might be 90, but 80 or 90 percent.              11:31

 20               Q.      And then, if we had to break down              11:31

 21         that 80 or 90 percent, what percentage would                 11:31

 22         you say is Framer era research?                              11:31

 23               A.      Of the 90 percent, I'd say probably            11:32

 24         three-quarters.                                              11:32

 25               Q.      And then what would that other                 11:32

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  1         quarter be?                                                   11:32

  2               A.      Either before or after, you know,               11:32

  3         going back in the medieval period and forward                 11:32

  4         to the present day, pretty much.            So I regard       11:32

  5         the framing as roughly 1789 to 1870.             And, you     11:32

  6         know, so it would be everything outside of that               11:32

  7         time period.                                                  11:32

  8               Q.      And so you'd say the primary focus              11:32

  9         of your research is Framer era?                               11:32

 10               A.      Yeah, I would say so.                           11:32

 11               Q.      In both of the expert reports that              11:32

 12         you responded to, they focused on the Framer                  11:32

 13         era and then also in, you know, 1868 post-Civil               11:32

 14         War era.                                                      11:32

 15               A.      Uh-huh.                                         11:32

 16               Q.      How much research have you done in              11:33

 17         that post-Civil War reconstruction era?                       11:33

 18                       MR. DILLON:      Objection.      Vague and      11:33

 19               ambiguous.                                              11:33

 20                       THE WITNESS:      Well, a fairly good           11:33

 21               amount, although Steve Halbrook has done                11:33

 22               the best work in that field.                            11:33

 23         BY MS. UYEHARA:                                               11:33

 24               Q.      And your research in later American             11:33

 25         history, the reconstruction era, has your                     11:33

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  1         research also been digging up historical laws                   11:33

  2         and reviewing those laws?                                       11:33

  3               A.     Well, yeah, laws of the                            11:33

  4         Congressional Globe, which preceded the                         11:33

  5         congressional record and the history of the                     11:33

  6         period generally.                                               11:33

  7               Q.     Would you say you're a historical                  11:33

  8         weapons expert broadly or would you say your                    11:33

  9         primary focus is firearms?                                      11:33

 10                      MR. DILLON:      Objection.      Vague and         11:33

 11               ambiguous.      Argumentative.                            11:33

 12                      THE WITNESS:      I think I could say              11:33

 13               arms in general.                                          11:33

 14         BY MS. UYEHARA:                                                 11:33

 15               Q.     And I'm going to list some weapons,                11:34

 16         and you can tell me whether or not you've                       11:34

 17         researched those particular weapons.                            11:34

 18                      Bowie knives?                                      11:34

 19               A.     Oh, yes.                                           11:34

 20               Q.     Arkansas toothpicks?                               11:34

 21               A.     Arkansas, yeah.       There was no                 11:34

 22         precise definition of them, by the way.              All        11:34

 23         these are nicknames.                                            11:34

 24               Q.     Dirks?                                             11:34

 25               A.     Yeah.                                              11:34

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  1               Q.     Daggers?                                         11:34

  2               A.     Oh, yeah.                                        11:34

  3               Q.     Other large knives?                              11:34

  4               A.     I think in general, and swords.                  11:34

  5               Q.     And then other dangerous impact                  11:34

  6         weapons?                                                      11:34

  7               A.     I'm generally familiar with those.               11:34

  8               Q.     Slungshots?                                      11:34

  9               A.     Oh, yeah.                                        11:34

 10               Q.     Clubs?                                           11:34

 11               A.     Sure.                                            11:34

 12               Q.     And when you're researching                      11:34

 13         historical laws, what is your primary method of               11:34

 14         research?                                                     11:35

 15               A.     Looking for the laws.         I mean, these      11:35

 16         days you find an awful lot on the internet.            In     11:35

 17         earlier days, we weren't so lucky.            So you were     11:35

 18         going to go down and one way or another find                  11:35

 19         hard copy.    And some of them I found in the                 11:35

 20         Library of Congress.       And so, you know, some             11:35

 21         are available, some are not.                                  11:35

 22               Q.     And so do you rely on online                     11:35

 23         databases?                                                    11:35

 24               A.     I use those quite often.                         11:35

 25               Q.     Which ones do you use most                       11:35

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  1         frequently?                                                  11:35

  2                 A.    A simple internet search to begin              11:35

  3         with, and then you go to Google Scholar and                  11:35

  4         Google Books is a standard -- my standards.                  11:35

  5                 Q.    Would you say your historical                  11:35

  6         research is primarily focused on discovering                 11:35

  7         these laws?                                                  11:36

  8                       MR. DILLON:      Objection.      Vague and     11:36

  9                 ambiguous.                                           11:36

 10                       THE WITNESS:      I -- I don't know            11:36

 11                 about discovering.      Sometimes discovering,       11:36

 12                 sometimes interpreting, sometimes putting            11:36

 13                 things in context.      I like discovering           11:36

 14                 them, but, yeah.                                     11:36

 15                       MS. UYEHARA:      Ms. Nickeson?                11:36

 16                       THE COURT REPORTER:        I got it.           11:36

 17                       MS. UYEHARA:      Thank you.                   11:36

 18         BY MS. UYEHARA:                                              11:36

 19                 Q.    Would you say you spend more of your           11:36

 20         time discovering these laws or interpreting                  11:36

 21         them?                                                        11:36

 22                       MR. DILLON:      Objection.      Vague and     11:36

 23                 ambiguous.                                           11:36

 24                       THE WITNESS:      Probably more                11:36

 25                 interpreting than discovering just because           11:36

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  1                 the discovery process is now history.                 11:36

  2         BY MS. UYEHARA:                                               11:36

  3                 Q.       And when we say interpreting laws,           11:36

  4         do you mean -- what do you mean?                              11:36

  5                 A.       Well, putting them all in the                11:36

  6         context of subject and history and trying to                  11:36

  7         understand different aspects of them and all                  11:37

  8         that matter of thing.           I mean, what are the          11:37

  9         trends that we're looking at here?                            11:37

 10                 Q.       And earlier, you stated that you             11:37

 11         spent some time discovering laws.                             11:37

 12                          What challenges do you face in               11:37

 13         trying to discover those historical laws?                     11:37

 14                 A.       Up until the internet, you know,             11:37

 15         you're talking about digging through a hard                   11:37

 16         copy.        So I think there are three different             11:37

 17         sets published of the papers of Thomas                        11:37

 18         Jefferson.        So you'd go plowing through those.          11:37

 19         And then you've got the others of the framing                 11:37

 20         period, their paperwork.                                      11:37

 21                          Lately, I've been doing some on the          11:37

 22         Fourteenth Amendment, and there I've been                     11:37

 23         looking in collections in the manuscript                      11:38

 24         division of the Library of Congress, which gets               11:38

 25         a little complicated because back at that time                11:38

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  1         they didn't have photocopy machines.            So if             11:38

  2         you're looking for papers written by this one                     11:38

  3         person, you better find everybody he wrote to                     11:38

  4         because they're the ones who will have his                        11:38

  5         letters.    He won't unless he's one that goes to                 11:38

  6         the expense of having somebody hand transcribe                    11:38

  7         every letter he has going in and out.                So it        11:38

  8         can get fairly complicated.                                       11:38

  9               Q.     And how would you describe the                       11:38

 10         challenges when it comes to digging up                            11:38

 11         historical laws as opposed to someone's                           11:38

 12         personal effects?                                                 11:38

 13                      MR. DILLON:      Objection.      Vague and           11:38

 14               ambiguous.                                                  11:38

 15                      THE WITNESS:      Well, that all depends             11:38

 16               on the time period.       The British laws,                 11:38

 17               today we have a fairly good, comprehensive                  11:38

 18               information on those in print.           And also,          11:38

 19               online, actually.                                           11:39

 20                      But a whole bunch of early state                     11:39

 21               laws, you're going to have to track down                    11:39

 22               one at a time.      And, you know, the hard                 11:39

 23               copy may not always be available.               I mean,     11:39

 24               I'm stuck with what I can get here in                       11:39

 25               Tucson and at the university law library.                   11:39

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  1               And then beyond that, I wind up doing                     11:39

  2               things like heading to the Library of                     11:39

  3               Congress.                                                 11:39

  4                        So, yeah, it was quite -- at the                 11:39

  5               outset, it was quite a bit of work.              As I     11:39

  6               say, today things are much easier.                        11:39

  7         BY MS. UYEHARA:                                                 11:39

  8               Q.       I assume a lot of work is being done             11:39

  9         still to uncover a bunch of historical laws; is                 11:39

 10         that correct?                                                   11:39

 11                        MR. DILLON:      Objection.      Vague and       11:39

 12               ambiguous.                                                11:39

 13                        THE WITNESS:      I would say a fair             11:39

 14               amount is being done.          I think the biggest        11:39

 15               breakthroughs there were really back in the               11:39

 16               1980s.     But there's still work being done,             11:40

 17               yes.                                                      11:40

 18         BY MS. UYEHARA:                                                 11:40

 19               Q.       As a practicing attorney, do you get             11:40

 20         to spend a lot of your time doing historical                    11:40

 21         research?                                                       11:40

 22               A.       These days, yes, because as I say,               11:40

 23         I'm semi-retired.        Earlier, it was, you know,             11:40

 24         the main job is to pay the rent and, you know,                  11:40

 25         writing is something that you do in your spare                  11:40

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  1         time.                                                               11:40

  2                 Q.       If you had to estimate how much time               11:40

  3         you spend weekly doing historical research?                         11:40

  4                 A.       Probably five or ten hours.                        11:40

  5                 Q.       And how would you define the                       11:40

  6         different roles of lawyers and historians in                        11:40

  7         gathering history?                                                  11:40

  8                          MR. DILLON:      Objection.      Vague and         11:40

  9                 ambiguous.                                                  11:40

 10                          THE WITNESS:      An interesting                   11:40

 11                 question.      I think there is a substantial               11:40

 12                 overlap between the two functions.               And        11:40

 13                 there's a certain rivalry, which you may                    11:41

 14                 have noticed.                                               11:41

 15                          And there's some difference in                     11:41

 16                 approaches that a -- I think a historian is                 11:41

 17                 more inclined to accept things at face                      11:41

 18                 value than is a lawyer.           We're a cynical           11:41

 19                 bunch.                                                      11:41

 20                          And the -- I once had a friend who                 11:41

 21                 had a law professor tell him just that,                     11:41

 22                 that, you know, we tend to look at things                   11:41

 23                 as, what were this guy's opportunities to                   11:41

 24                 observe, what were his biases, did he                       11:41

 25                 personally observe it, is it hearsay, and                   11:41

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  1               pass it through all of those tests rather                 11:41

  2               than just accepting that, you know, James                 11:41

  3               Madison wrote Thomas Jefferson on this date               11:41

  4               and said he didn't really favor a Bill of                 11:41

  5               Rights, and finally was won over by                       11:41

  6               Jefferson's arguments to the contrary.                    11:41

  7                      Well, maybe so.       That's what he was           11:42

  8               saying, but was that the real fact?            I          11:42

  9               don't know.     So I think we tend to be a bit            11:42

 10               better investigators at that sort of thing.               11:42

 11         BY MS. UYEHARA:                                                 11:42

 12               Q.     How would you define the different                 11:42

 13         roles of lawyers and historians when it comes                   11:42

 14         to preserving history?                                          11:42

 15                      MR. DILLON:      Objection.      Vague and         11:42

 16               ambiguous.                                                11:42

 17                      THE WITNESS:      Preserving history?              11:42

 18               I'm having trouble grasping that concept.                 11:42

 19         BY MS. UYEHARA:                                                 11:42

 20               Q.     When I say preserving history, I                   11:42

 21         mean discovering it, making sure that it's                      11:42

 22         around for future generations.                                  11:42

 23               A.     Oh, okay.     Yeah.    I don't know that           11:42

 24         there's much difference in those two roles.               I     11:43

 25         mean, you're out there to find what you can                     11:43

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  1         find.                                                        11:43

  2                 Q.    And you just spoke about how lawyers           11:43

  3         and historians might interpret history                       11:43

  4         differently.                                                 11:43

  5                 A.    Uh-huh.                                        11:43

  6                 Q.    Is there any other claims you'd make           11:43

  7         about how they interpret history differently?                11:43

  8                       MR. DILLON:      Objection.      Vague and     11:43

  9                 ambiguous.                                           11:43

 10                       THE WITNESS:      That's a pretty broad        11:43

 11                 question.    I would have to think about it.         11:43

 12         BY MS. UYEHARA:                                              11:43

 13                 Q.    And earlier, you also spoke about              11:43

 14         sort of the context that surrounds history.                  11:43

 15                 A.    Uh-huh.                                        11:43

 16                 Q.    Would you say lawyers or historians            11:43

 17         have the primary role in developing that                     11:43

 18         context?                                                     11:43

 19                       MR. DILLON:      Objection.      Vague and     11:43

 20                 ambiguous.    Speculation.                           11:43

 21                       THE WITNESS:      I would say historians       11:43

 22                 have the advantage there.                            11:44

 23         BY MS. UYEHARA:                                              11:44

 24                 Q.    And when it comes to seeding that              11:44

 25         history in legal arguments, would you say                    11:44

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  1         that's the role of lawyers or historians?                    11:44

  2                       MR. DILLON:      Same objection.               11:44

  3                       THE WITNESS:      I couldn't catch the         11:44

  4                 beginning of the question.                           11:44

  5         BY MS. UYEHARA:                                              11:44

  6                 Q.    When it comes to seeding that                  11:44

  7         history in legal argument, is that a lawyer's                11:44

  8         role or a historian's role?                                  11:44

  9                 A.    I think probably both.                         11:44

 10                 Q.    Could you explain what you mean by             11:44

 11         both?                                                        11:44

 12                 A.    Well, I think putting them in a                11:44

 13         legal context involves both the historical end               11:44

 14         and the legal end.       So I don't know that either         11:44

 15         would have an advantage.                                     11:44

 16                 Q.    And I suppose what would you say is            11:44

 17         the primary responsibility of historians when                11:44

 18         it comes to Second Amendment era history?                    11:45

 19                       MR. DILLON:      Objection.      Vague and     11:45

 20                 ambiguous.   Argumentative.        Speculation.      11:45

 21                       THE WITNESS:      I don't know that they       11:45

 22                 would have any particular obligation when            11:45

 23                 it comes to Second Amendment history, I              11:45

 24                 mean, anything peculiar to the Second                11:45

 25                 Amendment, other than the general duty,              11:45

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  1               which is to try to find things and                      11:45

  2               hopefully recount them in an impartial                  11:45

  3               manner.                                                 11:45

  4         BY MS. UYEHARA:                                               11:45

  5               Q.      All right.     Thank you, Mr. Hardy.            11:45

  6                       We're going to turn now to some                 11:45

  7         questions about your report more specifically.                11:45

  8               A.      Uh-huh.                                         11:45

  9               Q.      In paragraph 27 of your report, and             11:45

 10         I can bring this up on the screen if that would               11:45

 11         be helpful.                                                   11:45

 12               A.      I have a hard copy here.          Oh, yeah,     11:45

 13         I've got it.                                                  11:46

 14               Q.      In paragraph 27 of your report, you             11:46

 15         state that the data cited by Dr. Spitzer,                     11:46

 16         quote, "consists of highly generalized and                    11:46

 17         difficult to replicate internet news articles                 11:46

 18         which are inherently unreliable," end quote.                  11:46

 19                       Can you explain what you mean by                11:46

 20         this statement?                                               11:46

 21               A.      I think this might be -- I might                11:46

 22         have as a hardcopy a draft of my statement                    11:46

 23         because paragraph 27 in the one I'm looking at                11:46

 24         doesn't read like that.                                       11:47

 25               Q.      I can bring up this copy.                       11:47

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  1               A.       Okay.                                        11:47

  2                        (The Court Reporter requested                11:47

  3               clarification.)                                       11:47

  4                        (An off-the-record discussion was            11:47

  5               held.)                                                11:47

  6         BY MS. UYEHARA:                                             11:47

  7               Q.       Can you see the report, Mr. Hardy?           11:47

  8               A.       Yes.                                         11:47

  9               Q.       All right.     And you see paragraph 27      11:47

 10         right here?                                                 11:47

 11               A.       Yes.    And it does appear to be the         11:47

 12         same as my hard copy, but what --                           11:47

 13               Q.       I see what you're -- right here.             11:47

 14         The last sentence here says:                                11:48

 15                        The data cited also consists of              11:48

 16         highly generalized and difficult to replicate               11:48

 17         internet news articles which are inherently                 11:48

 18         unreliable.                                                 11:48

 19               A.       Uh-huh.                                      11:48

 20               Q.       This is in reference to Dr.                  11:48

 21         Spitzer's newspapers.com analysis?                          11:48

 22               A.       Yes.                                         11:48

 23               Q.       Can you explain what you mean by             11:48

 24         this statement?                                             11:48

 25               A.       Well, the problem is, with a lot of          11:48

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  1         it, it's very generalized.          It's not a report       11:48

  2         of a specific incident.         It's a report of            11:48

  3         basically whenever the word "switchblade" came              11:48

  4         up.   So you have numerous references.                      11:48

  5                       In fact, I'd say from my                      11:48

  6         recollection, a majority of the references were             11:48

  7         talking about legislative matters rather than               11:48

  8         about a specific use of a knife in a crime.                 11:48

  9               Q.      Did you review the news articles              11:48

 10         that were cited by Dr. Spitzer?                             11:49

 11               A.      As I recall, yes.                             11:49

 12               Q.      How many?                                     11:49

 13               A.      I don't remember.                             11:49

 14               Q.      A couple hundred, some of them?               11:49

 15               A.      I can't remember.                             11:49

 16               Q.      Do you recall how long you spent              11:49

 17         reviewing them?                                             11:49

 18               A.      Maybe a couple of hours.                      11:49

 19               Q.      And in your opinion, why are the              11:49

 20         internet newspaper articles inherently                      11:49

 21         unreliable?                                                 11:49

 22               A.      Unreliable is probably too strong a           11:49

 23         term, but often irrelevant because, as I say,               11:49

 24         you know, they're discussing legislation rather             11:49

 25         than actual use.                                            11:49

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  1                Q.    And in the pieces that discuss                      11:49

  2         legislation, was that about legislation                          11:49

  3         concerning the regulation of switchblades?                       11:50

  4                A.    Yes.   And --                                       11:50

  5                Q.    And that would fall -- go ahead.                    11:50

  6                A.    It came under two headings.             One was     11:50

  7         proposals to regulate switchblades, and the                      11:50

  8         other was the actual -- the enactment of the                     11:50

  9         law.    That sort of thing.                                      11:50

 10                Q.    And a moment ago you just said that                 11:50

 11         unreliable is perhaps too strong of a word.                      11:50

 12                      How would you characterize it now?                  11:50

 13                A.    Largely irrelevant, I think.                        11:50

 14                Q.    And can you explain why?                            11:50

 15                A.    Well, you're discussing legislation.                11:50

 16         That's totally different from the standpoint of                  11:50

 17         discussing, you know, use, actual cases                          11:50

 18         involving criminal use.                                          11:50

 19                      What you have then is a legislator                  11:50

 20         or somebody along the lines of a legislator                      11:51

 21         discussing what he thinks should be done and as                  11:51

 22         opposed to, you know, a report that something                    11:51

 23         actually happened.                                               11:51

 24                      And it's within the realm of human                  11:51

 25         experience that legislators sometimes are not                    11:51

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  1         the most reliable sources for factual                       11:51

  2         information.                                                11:51

  3               Q.     Did any of the legislators you                 11:51

  4         reference discuss specific instances of                     11:51

  5         switchblade crime?                                          11:51

  6               A.     Yes, some of them did.                         11:51

  7               Q.     And is it your contention that those           11:51

  8         are inaccurate?                                             11:51

  9                      MR. DILLON:      Objection.      Misstates     11:51

 10               testimony.                                            11:51

 11                      THE WITNESS:      I wouldn't say they          11:51

 12               are inaccurate.      I would say that I               11:51

 13               wouldn't count on them.                               11:52

 14         BY MS. UYEHARA:                                             11:52

 15               Q.     And do you recall how many of the              11:52

 16         newspapers you reviewed had specific --                     11:52

 17         referenced specific incidents of switchblade                11:52

 18         crime?                                                      11:52

 19               A.     No.   But I seem to recall it was --           11:52

 20         we're talking, like, one article out of five,               11:52

 21         maybe it was as low as one out of ten.                      11:52

 22               Q.     And so you don't contend any of the            11:52

 23         newspapers as being inaccurate?                             11:52

 24               A.     Well --                                        11:52

 25                      MR. DILLON:      Objection.                    11:52

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  1               Argumentative.                                        11:52

  2                      THE WITNESS:      Yeah, if we're talking       11:52

  3               about the political type, the legislative             11:52

  4               issues, I have no proof they were                     11:52

  5               inaccurate, but I would regard them as                11:52

  6               unreliable.     That is, I cannot say that            11:52

  7               they are inaccurate because I am unaware of           11:52

  8               any proof to the contrary.                            11:53

  9                      On the other hand, given that the              11:53

 10               source is a legislator advocating for                 11:53

 11               something that he wants, it's something I             11:53

 12               wouldn't necessarily trust.                           11:53

 13         BY MS. UYEHARA:                                             11:53

 14               Q.     And did you keep track of how many             11:53

 15         newspapers cited specific instances of                      11:53

 16         switchblade crime?                                          11:53

 17               A.     No, I did not count.                           11:53

 18               Q.     So your one in five or one in ten is           11:53

 19         an estimate?                                                11:53

 20               A.     Yes.                                           11:53

 21               Q.     And do you believe historical                  11:53

 22         newspapers are an important resource for                    11:53

 23         historians conducting research?                             11:53

 24                      MR. DILLON:      Objection.      Vague and     11:53

 25               ambiguous.

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  1                      THE WITNESS:      Oh, yes.                     11:53

  2         BY MS. UYEHARA:                                             11:53

  3               Q.     Can you explain why?                           11:53

  4               A.     Well, they're like any other source,           11:53

  5         you know, they're recounting what was, you                  11:53

  6         know, occurring with possibly some bias.                    11:53

  7                      And also, they're important because            11:54

  8         if you're discussing the popular understanding              11:54

  9         of the Fourteenth Amendment or the Second                   11:54

 10         Amendment, the newspapers can reflect what                  11:54

 11         people of the time were reading and thus                    11:54

 12         believing to be true, whether or not it was.                11:54

 13         So I think they have that relevance also.                   11:54

 14               Q.     So if you have to state your -- the            11:54

 15         issue you take most with about Professor                    11:54

 16         Spitzer's newspaper.com analysis?                           11:54

 17                      MR. DILLON:      Objection.      Vague and     11:54

 18               ambiguous.                                            11:54

 19                      THE WITNESS:      I don't know if there        11:54

 20               would be any one thing.         Obviously, it's       11:54

 21               quite difficult to report on -- to do                 11:54

 22               studies of crime prior to very much the               11:54

 23               modern age.     I mean, the FBI reports don't         11:54

 24               start in until 1930s, and aren't really               11:55

 25               reliable until the 1970s.                             11:55

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  1                         And so it's very hard to form a                  11:55

  2                 picture of crime as a general proposition                11:55

  3                 much before the very modern period.                      11:55

  4         BY MS. UYEHARA:                                                  11:55

  5                 Q.      What is your understanding of police             11:55

  6         records in the 19th century?                                     11:55

  7                         MR. DILLON:      Objection.      Vague and       11:55

  8                 ambiguous.                                               11:55

  9                         THE WITNESS:      I suspect very few of          11:55

 10                 them survived, and probably vary from place              11:55

 11                 to place.     But, I mean, you know, most of             11:56

 12                 that sort of thing, frankly, even up into                11:55

 13                 the modern age, tends to get discarded.                  11:55

 14         BY MS. UYEHARA:                                                  11:56

 15                 Q.      And would you agree that newspapers              11:56

 16         provide a glimpse into society at a specific                     11:56

 17         time?                                                            11:56

 18                 A.      Oh, sure.                                        11:56

 19                 Q.      And do you agree generally that some             11:56

 20         local newspapers are available only digitally?                   11:56

 21                         MR. DILLON:      Objection.      Vague and       11:56

 22                 ambiguous.                                               11:56

 23                         THE WITNESS:      I don't know only --           11:56

 24                 yeah.    I don't know only digitally.           I know   11:56

 25                 there are a number that are available that               11:56

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  1               way, and I suspect will have encountered              11:56

  2               some that aren't.       So yeah, it's -- maybe        11:56

  3               there are some are that are only available            11:56

  4               digitally, but I'm not familiar with those.           11:56

  5         BY MS. UYEHARA:                                             11:56

  6               Q.     Would you agree that there are many            11:56

  7         historical newspapers that are not accessible               11:56

  8         online?                                                     11:56

  9               A.     Oh, sure.     Sure.                            11:56

 10               Q.     And that many newspaper collections            11:56

 11         are stored exclusively in print?                            11:56

 12               A.     Yeah.                                          11:57

 13               Q.     And in microfilm as well?                      11:57

 14               A.     Pardon?                                        11:57

 15               Q.     In microfilm as well?                          11:57

 16               A.     Yeah.     That's -- I don't know if            11:57

 17         there are any in microfilm that are not                     11:57

 18         available digitally, but I wouldn't be                      11:57

 19         surprised if there were some.                               11:57

 20               Q.     And would you agree that local                 11:57

 21         historical newspapers are less likely to be                 11:57

 22         preserved than national newspapers?                         11:57

 23               A.     Of course, yes.       I've done research       11:57

 24         in that area, and in the Dred Scott case,                   11:57

 25         there's one local newspaper that,                           11:57

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  1         unfortunately, like, three issues of it                     11:57

  2         survived over a period of five years, and none              11:57

  3         of them was the issue I wanted.                             11:57

  4                      But the one nice thing about it was,           11:57

  5         apparently, back in the 19th century, people                11:57

  6         didn't worry about copyright infringement a                 11:57

  7         whole lot.    So one newspaper would steal it               11:58

  8         from another newspaper, reprint the article in              11:58

  9         its entirety, and that was okay so long as you              11:58

 10         credited the other newspapers with it.                      11:58

 11                      So often you can find stories that             11:58

 12         come from newspapers that have long since                   11:58

 13         vanished, but they're recounted in a different              11:58

 14         local newspaper.                                            11:58

 15               Q.     If you were tasked with trying to              11:58

 16         get an estimate of switchblade crime in the                 11:58

 17         19th century, how would you go about your own               11:58

 18         analysis?                                                   11:58

 19                      MR. DILLON:      Objection.      Compound.     11:58

 20               Vague and ambiguous.                                  11:58

 21                      THE WITNESS:      Probably news reports,       11:58

 22               recognizing the big limitations on that.              11:58

 23               But probably news reports simply because              11:58

 24               that's the best thing that's left.                    11:58

 25         BY MS. UYEHARA:                                             11:58

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  1               Q.     And in Dr. Spitzer's report, do you            11:58

  2         think he recognizes those limitations?                      11:58

  3               A.     I think he recognizes them, yes.               11:58

  4               Q.     And earlier, you said one in five or           11:59

  5         one in ten; if you had to choose one?                       11:59

  6               A.     My memory seems to be more like one            11:59

  7         in ten, but I might guess one in five to be                 11:59

  8         conservative.                                               11:59

  9               Q.     And what do you know about                     11:59

 10         newspapers.com?                                             11:59

 11               A.     It's a database.       I tend to use           11:59

 12         newspaperarchive.com.       But newspapers.com is --        11:59

 13         I believe it's tied in with the government at               11:59

 14         some level, and is just one of the two sources.             11:59

 15               Q.     Did you know that newspapers.com is            11:59

 16         the largest online newspaper archive in the                 11:59

 17         world?                                                      11:59

 18               A.     No, I didn't.      I might switch over         11:59

 19         from newspaper archive.                                     12:00

 20               Q.     And are you aware that                         12:00

 21         newspapers.com is constantly growing?                       12:00

 22               A.     I wouldn't be surprised at all.                12:00

 23               Q.     And are you aware that it adds                 12:00

 24         millions of new pages every month?                          12:00

 25               A.     I was not aware, no.                           12:00

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  1               Q.     In your research, you attempted to             12:00

  2         replicate Dr. Spitzer's search of                           12:00

  3         newspapers.com; is that correct?                            12:00

  4               A.     Yes.                                           12:00

  5               Q.     And that search was conducted on               12:00

  6         newspapers.com, correct?                                    12:00

  7               A.     Yes.                                           12:00

  8               Q.     What search terms did you use?                 12:00

  9               A.     I recall switchblade, Bowie knife,             12:00

 10         or just Bowie probably.        I may have used some         12:00

 11         others, but those are the two that I recollect.             12:00

 12               Q.     I'm sorry.     Could you restate those         12:00

 13         again?                                                      12:01

 14               A.     Yes.   I know I searched for                   12:01

 15         switchblade and I think I searched for Bowie.               12:01

 16         There may have been others, but those are the               12:01

 17         two that I recall.                                          12:01

 18               Q.     And did you search switchblades,               12:01

 19         plural?                                                     12:01

 20               A.     I don't think so.                              12:01

 21               Q.     And did you search switchblade                 12:01

 22         knife?                                                      12:01

 23               A.     Not those two words together.                  12:01

 24               Q.     And what about the term switchblade            12:01

 25         knives?                                                     12:01

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  1               A.      Not those two words together.                 12:01

  2               Q.      Did you search for automatic knife?           12:01

  3               A.      No.                                           12:01

  4               Q.      Did you search for automatic knives?          12:01

  5               A.      No.                                           12:01

  6               Q.      Did you search for spring-assisted            12:01

  7         knife?                                                      12:01

  8               A.      No.                                           12:01

  9               Q.      Did you search for spring-assisted            12:01

 10         knives?                                                     12:01

 11               A.      No.                                           12:01

 12               Q.      Do you know if you used the exact             12:01

 13         same search terms as Dr. Spitzer?                           12:01

 14               A.      As I recall, I tried to, anyway.              12:02

 15               Q.      I believe Dr. Spitzer also searched           12:02

 16         switchblade knife, and that is a term you did               12:02

 17         not search for, correct?                                    12:02

 18               A.      I did not search for those two                12:02

 19         words.     I'm saying two words because the search          12:02

 20         for switchblade would have picked up                        12:02

 21         switchblade knife.                                          12:02

 22               Q.      And do you agree that using                   12:02

 23         different search term could cause the searches              12:02

 24         to result in a different number of articles?                12:02

 25               A.      Oh, sure.                                     12:02

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  1                Q.         And in conducting your own research          12:02

  2         of newspapers.com, you stated that from 1921 to                12:02

  3         1939, Dr. Spitzer found 424 stories.                           12:02

  4                           Is it correct your same search               12:02

  5         resulted in 417 stories?                                       12:02

  6                A.         I seem to recollect that's the               12:03

  7         number.      Now, when I did it, I did it a second             12:03

  8         time and I actually came up with a slightly                    12:03

  9         different number.           So it was slightly larger.         12:03

 10         So it may have been added in since I did the                   12:03

 11         first try, or possibly the computer's                          12:03

 12         arbitrary.                                                     12:03

 13                Q.         So those searches weren't conducted          12:03

 14         at the same time?                                              12:03

 15                A.         No.   This was a second search and           12:03

 16         just to go back and confirm.                                   12:03

 17                Q.         Do you recall what number you                12:03

 18         received on your second search?                                12:03

 19                A.         Trying to see if I have my notes             12:03

 20         still.      No.     I don't recall, but it was                 12:03

 21         slightly larger.                                               12:03

 22                Q.         And are you aware that Dr. Spitzer's         12:03

 23         original number was slightly larger than your                  12:04

 24         own?                                                           12:04

 25                A.         As I recall, yes.                            12:04

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  1               Q.     And are you aware that the                     12:04

  2         difference between your 417 stories and Dr.                 12:04

  3         Spitzer's 424 stories is less than a 1.8                    12:04

  4         percent difference?                                         12:04

  5               A.     Oh, sure.                                      12:04

  6               Q.     And in conducting your own research            12:04

  7         of newspapers.com, you stated that from 1940 to             12:04

  8         1945, Dr. Spitzer found 612 studies.                        12:04

  9                      Is it correct that your search --              12:04

 10                      (The Court Reporter requested                  12:04

 11               clarification.)                                       12:04

 12         BY MS. UYEHARA:                                             12:04

 13               Q.     612 stories.                                   12:04

 14                      Is it correct that your search                 12:04

 15         resulted in 610 stories?                                    12:04

 16               A.     I seem to recall that's correct.               12:04

 17               Q.     Are you aware that this is less than           12:04

 18         a 0.04 percent difference?                                  12:04

 19               A.     Oh, yes.                                       12:04

 20               Q.     In your report, you also stated that           12:04

 21         from 1946 to 1950, Dr. Spitzer found 824                    12:05

 22         stories.                                                    12:05

 23                      Is it correct that your search                 12:05

 24         resulted in 820 stories?                                    12:05

 25               A.     As I recall, those are the numbers.            12:05

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  1               Q.     And are you aware that is less than            12:05

  2         a half percent difference?                                  12:05

  3               A.     I think that's mathematically                  12:05

  4         correct.                                                    12:05

  5               Q.     And you stated that from 1951 to               12:05

  6         1955, Dr. Spitzer found 9,713 stories.                      12:05

  7                      Is it correct that your search                 12:05

  8         resulted in 9,677 stories?                                  12:05

  9               A.     Something like that.                           12:05

 10               Q.     Would it be helpful if I pulled up             12:05

 11         the report, Mr. Hardy?                                      12:05

 12               A.     Yeah, sure.      Or just give me the           12:05

 13         paragraph.    I can just take your word for the             12:05

 14         numbers.                                                    12:06

 15               Q.     I'll still give you the paragraph,             12:06

 16         though.    This is paragraph 25 on page 10.                 12:06

 17               A.     Okay.    I've got it.                          12:06

 18               Q.     In your research, you stated that              12:06

 19         from 1956 to 1959 Dr. Spitzer found 19,929                  12:06

 20         stories.                                                    12:06

 21                      Is it correct that your search                 12:06

 22         resulted in 19,896 stories?                                 12:06

 23               A.     Yes.                                           12:07

 24               Q.     And are you aware that's less than a           12:07

 25         0.02 percent difference?                                    12:07

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  1               A.     I'm sure that's the correct number.            12:07

  2               Q.     Are you aware that your independent            12:07

  3         research of newspapers.com at most was around               12:07

  4         1.8 percent different from Dr. Spitzer's                    12:07

  5         research?                                                   12:07

  6               A.     It sounds like the number, yep.                12:07

  7               Q.     Are you aware that most of the time            12:07

  8         your independent research resulted in less than             12:07

  9         half a percent difference?                                  12:07

 10               A.     That sounds reasonable.                        12:07

 11               Q.     And would you agree that your search           12:07

 12         results from newspapers.com is largely                      12:07

 13         consistent with Dr. Spitzer's research of the               12:07

 14         website?                                                    12:07

 15               A.     Yeah, I would say that.                        12:07

 16                      MR. DILLON:      Objection.      Vague and     12:07

 17               ambiguous.                                            12:07

 18         BY MS. UYEHARA:                                             12:07

 19               Q.     In paragraph 26 of your report, you            12:07

 20         stated one of the problems with Dr. Spitzer's               12:07

 21         research was, quote, "that it does not appear               12:08

 22         that Professor Spitzer actually reviewed every              12:08

 23         search result that he obtained," end quote.                 12:08

 24                      Are you aware that in order to                 12:08

 25         review every search result he obtained, Dr.                 12:08

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  1         Spitzer would need to review 31,502 newspaper                 12:08

  2         search results?                                               12:08

  3               A.      Yes.   It would be quite a task.                12:08

  4               Q.      In your opinion, would reviewing                12:08

  5         over -- sorry.                                                12:08

  6                       In your opinion, would reviewing                12:08

  7         over 30,000 newspapers be necessary to support                12:08

  8         his claim that switchblade crime increased over               12:08

  9         the relevant time periods?                                    12:08

 10                       MR. DILLON:      Objection.                     12:08

 11               Argumentative.       Vague and ambiguous.               12:08

 12                       THE WITNESS:      You know, I'd have to         12:08

 13               say yes, but that's precisely why I                     12:08

 14               wouldn't make a statement like switchblade              12:08

 15               crime increased over the period.                        12:08

 16                       I mean, it's -- how do you -- going             12:08

 17               back to before there were any reliable                  12:09

 18               statistics, how do you judge from the                   12:09

 19               number of newspapers articles what was                  12:09

 20               happening with regard to crime?            We don't     12:09

 21               know.                                                   12:09

 22         BY MS. UYEHARA:                                               12:09

 23               Q.      And in the newspapers stories that              12:09

 24         you reviewed, did they not discuss crime?                     12:09

 25                       MR. DILLON:      Objection.      Vague and      12:09

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  1               ambiguous.                                                  12:09

  2                       THE WITNESS:      Some did.      But what           12:09

  3               I'm saying is, you can't -- you really                      12:09

  4               judge a trend by number of newspaper                        12:09

  5               reports.     I mean, do we know that the                    12:09

  6               database of newspapers is uniform, that                     12:09

  7               they're -- the same proportion of articles                  12:09

  8               were reported at the end as at the start of                 12:09

  9               the period we're discussing?                                12:09

 10                       Do we know how many are duplicative                 12:09

 11               of describing the same incident?                As I        12:10

 12               said, newspapers were not loathed to steal                  12:10

 13               from each other under the copyright laws of                 12:10

 14               the time.                                                   12:10

 15                       I just think the judging that there                 12:10

 16               was an increase would be pushing the data                   12:10

 17               farther than it can be taken.            Maybe there        12:10

 18               was.    Maybe there wasn't.                                 12:10

 19         BY MS. UYEHARA:                                                   12:10

 20               Q.      And what would you account the rise                 12:10

 21         of the term "switchblade" to if not crime?                        12:10

 22                       MR. DILLON:      Objection.                         12:10

 23               Speculation.      Vague and ambiguous.                      12:10

 24                       THE WITNESS:      It's a good point,                12:10

 25               yeah.    It would probably be in relation to                12:10

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  1               crime.     They're not much good for carving             12:10

  2               up your dinner.                                          12:10

  3                        But on the other hand, as I say, how            12:11

  4               many of them are redundant reports of the                12:11

  5               same incident?        Is the reporting uniform           12:11

  6               over the period?        We don't know.                   12:11

  7         BY MS. UYEHARA:                                                12:11

  8               Q.       In paragraph 27 of your report, you             12:11

  9         state that Dr. Spitzer's claim that his                        12:11

 10         research, quote, "likely underestimated the                    12:11

 11         number of newspaper stories about switchblades                 12:11

 12         because many new stories likely reported knife                 12:11

 13         stabbings," end quote, is unfounded.                           12:11

 14                        What is the basis for your opinion?             12:11

 15               A.       Well, if you just have the                      12:11

 16         information that there was a knife stabbing,                   12:11

 17         you really shouldn't speculate that it might                   12:11

 18         have been specifically a switchblade knife.              I     12:11

 19         mean, it could have been, yeah.             But on the         12:11

 20         other hand, you know, was it?            What are the          12:11

 21         probabilities of it?                                           12:11

 22                        Those you can't really judge from --            12:11

 23         what you have is an absence of information.                    12:11

 24         And it's really hard to draw a conclusion off                  12:11

 25         of an absence of information.                                  12:12

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  1               Q.     But you would agree that it's likely            12:12

  2         that some of those articles that report knife                12:12

  3         stabbings refer to a switchblade?                            12:12

  4               A.     Yes.

  5                      MR. DILLON:      Objection.                     12:12

  6               Speculation.     Argumentative.       Vague and        12:12

  7               ambiguous.

  8         BY MS. UYEHARA:                                              12:12

  9               Q.     Did you independently --                        12:12

 10                      MR. REILLEY:      Madam Reporter, did we        12:12

 11               get the witness' last answer?                          12:12

 12                      THE COURT REPORTER:        Yes, ma'am.          12:12

 13         BY MS. UYEHARA:                                              12:12

 14               Q.     Did you independently try to verify             12:12

 15         any of the articles that addressed only knife                12:12

 16         crimes or stabbings?                                         12:12

 17                      MR. DILLON:      Objection.      Vague and      12:12

 18               ambiguous.                                             12:12

 19                      THE WITNESS:      No.                           12:12

 20         BY MS. UYEHARA:                                              12:12

 21               Q.     And you would agree, then, that the             12:12

 22         number of newspaper stories about switchblades               12:13

 23         is likely underreported?                                     12:13

 24                      MR. DILLON:      Objection.                     12:13

 25               Speculation.     Argumentative.                        12:13

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  1                       THE WITNESS:      Likely.     We don't know     12:13

  2               to what extent, but likely.                             12:13

  3         BY MS. UYEHARA:                                               12:13

  4               Q.      Give me one moment here, looking at             12:13

  5         my notes.                                                     12:13

  6                       Mr. Hardy, we're going to be                    12:13

  7         transitioning over to some questions about Dr.                12:13

  8         Rivas' report as opposed to Dr. Spitzer's                     12:13

  9         report.     But, of course, as you know, there's              12:13

 10         some overlap between the reports as well.                     12:13

 11               A.      Yes.                                            12:13

 12               Q.      And how would you define fighting               12:13

 13         knives?                                                       12:13

 14               A.      Any knife that would be more useful             12:13

 15         for offense or defense than for any other                     12:13

 16         purpose.                                                      12:14

 17               Q.      Are there any common characteristics            12:14

 18         that those knives share?                                      12:14

 19               A.      The only thing I can think of would             12:14

 20         be that there's a greater tendency for a                      12:14

 21         fighting knife to be double-edged than                        12:14

 22         single-edged.                                                 12:14

 23                       Beyond that, they all, like most of             12:14

 24         the things in arms' history, they reflect                     12:14

 25         different approaches to the same general issue.               12:14

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  1         Everybody thinks they have the best design.                  12:14

  2               Q.     And when we're talking about                    12:14

  3         fighting knives, what time period are you                    12:14

  4         speaking about?                                              12:14

  5               A.     That's a general term that I would              12:14

  6         use throughout human history.                                12:14

  7               Q.     In Dr. Rivas' report, he focused on             12:14

  8         the reconstruction era of history.            And for        12:15

  9         purposes of our deposition today, when we say                12:15

 10         fighting knives, we mean knives of that era.                 12:15

 11               A.     Okay.                                           12:15

 12               Q.     How would you define fighting knives            12:15

 13         from that era, the 19th century?                             12:15

 14               A.     Same way I would define them for any            12:15

 15         other period.                                                12:15

 16               Q.     Would you say there is a common link            12:15

 17         that is similar across fighting knives?                      12:15

 18               A.     Apart from being -- well, being more            12:15

 19         likely to be double-edged, apart from that,                  12:15

 20         like I say, there's -- everybody had their own               12:15

 21         opinion as to how to design one.           So they           12:15

 22         didn't have much in common, other than that                  12:15

 23         they were knives.                                            12:15

 24               Q.     And, Mr. Hardy, would you consider a            12:15

 25         Bowie knife a fighting knife?                                12:15

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  1               A.     Yes.                                                 12:15

  2               Q.     And I believe earlier you said you                   12:16

  3         own one?                                                          12:16

  4               A.     Oh, yes.     Yes.     (Demonstrating.)               12:16

  5         Replica of a Gambler's Bowie of the 1840 period                   12:16

  6         when the Bowie knife was at its peak.                And this     12:16

  7         thing is so sharp, I can literally shave hair                     12:16

  8         off my arm with it.                                               12:16

  9               Q.     Could you describe the knife for the                 12:16

 10         court reporter, Mr. Hardy?                                        12:16

 11               A.     It is a Bowie knife, model of a                      12:16

 12         Gambler's Bowie of about 1840.          It has a                  12:16

 13         clipped point.      And I don't know what the                     12:16

 14         handle is made out of.        And has a bit of a                  12:16

 15         hilt, which was another characteristic to give                    12:16

 16         your hand some protection if the other guy's                      12:16

 17         blade slid down toward your thumb.            Made by Rex         12:16

 18         Kimball, the late Rex Kimball.                                    12:17

 19               Q.     Can you describe what the clipped                    12:17

 20         point is for?                                                     12:17

 21                      MR. DILLON:      Objection as to scope.              12:17

 22                      THE WITNESS:        I think it was to                12:17

 23               inhibit your opponent from simply grabbing                  12:17

 24               the blade because you could grab one along                  12:17

 25               the spine and then take it out of action.                   12:17

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  1                        So I think basically it's a                    12:17

  2               sharpened back edge which will, you know,               12:17

  3               inhibit him from trying to grip it.                     12:17

  4         BY MS. UYEHARA:                                               12:17

  5               Q.       If you have to estimate the average            12:17

  6         length of a Bowie knife, what would you put                   12:17

  7         that as?                                                      12:17

  8               A.       Fairly long.      This one looks to be         12:17

  9         about ten inches.        I think most Bowie's were            12:17

 10         eight inches or more.                                         12:17

 11               Q.       It's fair to say you researched                12:17

 12         Bowie knives before preparing your report?                    12:17

 13               A.       Could you say that again?                      12:17

 14               Q.       Yes.                                           12:18

 15                        It's fair to say you researched                12:18

 16         Bowie knives prior to the submission of your                  12:18

 17         report?                                                       12:18

 18               A.       Yes.                                           12:18

 19               Q.       And what is your understanding of              12:18

 20         Bowie knives in the 19th century?                             12:18

 21                        MR. DILLON:      Objection.      Vague and     12:18

 22               ambiguous.                                              12:18

 23                        THE WITNESS:      Well, named for Jim          12:18

 24               Bowie.     There is some dispute as to whether          12:18

 25               the original one was made by his brother, I             12:18

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  1                 think, or a different knifesmith.                They        12:18

  2                 became fairly famous, and large numbers                      12:18

  3                 were produced in England at the Sheffield                    12:18

  4                 company and shipped over here.                               12:18

  5         BY MS. UYEHARA:                                                      12:18

  6                 Q.       And why did the Bowie knife become                  12:18

  7         famous?                                                              12:18

  8                 A.       Mostly Jim Bowie and the Alamo and                  12:18

  9         all of that.        But it was a really useful weapon                12:18

 10         in self-defense until the Colt revolvers became                      12:18

 11         popular in about 1850s, I think.               They were             12:19

 12         around before then, but started becoming really                      12:19

 13         popular in 1850s.                                                    12:19

 14                          Prior to then, pistols were a single                12:19

 15         shot.        So if you were being mobbed, you might                  12:19

 16         at best hit one of the attackers and the rest                        12:19

 17         would get to you.                                                    12:19

 18                          With a Bowie knife, it's not quite                  12:19

 19         that simple, which -- one of the abolitionist                        12:19

 20         speakers said something about the Bowie knife                        12:19

 21         is more sacred to us than the Bible, or                              12:19

 22         something to that effect.                                            12:19

 23                          And I think that was part of it,                    12:19

 24         because he was at risk of getting on the                             12:19

 25         receiving end of a mob attack.              And in the               12:19

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  1         event of a mob attack, you find one of these                 12:19

  2         much more useful than a single shot pistol.                  12:19

  3               Q.      And what is the evidence for the               12:19

  4         basis of your claim that Bowie knives are good               12:19

  5         for self-defense?                                            12:20

  6               A.      They just are.       I mean, the               12:20

  7         historical record, as I said, this guy -- and                12:20

  8         now I forget his name, but he was faced with                 12:20

  9         being mobbed several times and got out of it                 12:20

 10         with his Bowie knife.                                        12:20

 11               Q.      And so is that based on historical             12:20

 12         reports you read?                                            12:20

 13               A.      Yes, on some historical reports and            12:20

 14         also just the nature of the knife.                           12:20

 15               Q.      Can you describe what                          12:20

 16         characteristics of the nature of the knife make              12:20

 17         it particularly well suited for self-defense?                12:20

 18               A.      Well, you've got a -- in this case,            12:20

 19         the Gambler's Bowie, a very broad blade, and a               12:20

 20         long one.     Broad means you can make it sharper            12:20

 21         because you can carry the edge back farther.                 12:20

 22                       So you've got a cross guard, which             12:21

 23         inhibits -- protects your hand a little bit, at              12:21

 24         least.     And you've got the clip point to                  12:21

 25         inhibit your opponent from grabbing.             So I        12:21

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  1         think those would be the critical attributes.               12:21

  2               Q.     Would you say it's fair to                     12:21

  3         characterize the Bowie knife as intimidating?               12:21

  4                      MR. BRAZIER:      Objection.                   12:21

  5               Argumentative.      Speculation.                      12:21

  6                      THE WITNESS:      As what?                     12:21

  7         BY MS. UYEHARA:                                             12:21

  8               Q.     As intimidating.                               12:21

  9                      MR. DILLON:      Same objection.               12:21

 10                      THE WITNESS:      I've got some high           12:21

 11               frequency loss.      I still couldn't pick up         12:21

 12               the word.                                             12:21

 13         BY MS. UYEHARA:                                             12:21

 14               Q.     Is it fair to characterize the Bowie           12:21

 15         knife as an intimidating weapon?                            12:21

 16               A.     Yes, I think so.                               12:21

 17               Q.     And it's intimidating in part                  12:21

 18         because of its size?                                        12:21

 19               A.     That's a big factor in it, yes.                12:21

 20               Q.     In the 19th century, how would you             12:22

 21         characterize public opinion about surrounding               12:22

 22         the knife?                                                  12:22

 23                      MR. DILLON:      Objection.      Vague and     12:22

 24               ambiguous.    Speculation.                            12:22

 25                      THE WITNESS:      I don't know that I          12:22

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  1               could characterize public opinion                      12:22

  2               generally.                                             12:22

  3         BY MS. UYEHARA:                                              12:22

  4               Q.      Have you done research on the public           12:22

  5         perception of the Bowie knife?                               12:22

  6                       MR. DILLON:      Objection.      Vague and     12:22

  7               ambiguous.                                             12:22

  8                       THE WITNESS:      I don't recall doing         12:22

  9               such.                                                  12:22

 10         BY MS. UYEHARA:                                              12:22

 11               Q.      So is your knowledge on the Bowie              12:22

 12         knife primarily related to your own ownership                12:22

 13         of one?                                                      12:22

 14               A.      No.   Just historically it was                 12:22

 15         interesting.                                                 12:22

 16               Q.      But you've not done research --                12:22

 17         historical research on public opinion of the                 12:22

 18         Bowie knife?                                                 12:23

 19               A.      No.                                            12:23

 20                       MR. DILLON:      Objection.                    12:23

 21               Argumentative.       Misstates testimony.              12:23

 22         BY MS. UYEHARA:                                              12:23

 23               Q.      And you've done research on                    12:23

 24         dangerous weapon laws generally in the 19th                  12:23

 25         century, correct?                                            12:23

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  1               A.     Yes.                                            12:23

  2               Q.     And what would you consider to be a             12:23

  3         dangerous weapons law?                                       12:23

  4                      MR. DILLON:      Objection.      Vague and      12:23

  5               ambiguous.                                             12:23

  6                      THE WITNESS:      Well, we might more           12:23

  7               accurately say weapons law since, by                   12:23

  8               definition, a weapon is dangerous.                     12:23

  9                      I would consider a statute that                 12:23

 10               limited the carrying, possession, or                   12:23

 11               probably marketing of a weapon.                        12:23

 12         BY MS. UYEHARA:                                              12:23

 13               Q.     And in the 19th century, what would             12:23

 14         you consider was the primary way these weapons               12:23

 15         were restricted?                                             12:24

 16                      MR. DILLON:      Objection.      Vague and      12:24

 17               ambiguous.                                             12:24

 18                      THE WITNESS:      Well, for the most            12:24

 19               part, they weren't restricted.           Where you     12:24

 20               did find restrictions, they appeared to                12:24

 21               have been mostly on acquisition, that is a             12:24

 22               receipt or transfer, and not on possession             12:24

 23               itself.    As I said, even those were very             12:24

 24               small minority of jurisdictions.                       12:24

 25         BY MS. UYEHARA:                                              12:24

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  1               Q.     Can you describe the different ways            12:24

  2         acquisition was regulated in the 19th century?              12:24

  3                      MR. DILLON:      Objection.      Vague and     12:24

  4               ambiguous.                                            12:24

  5                      THE WITNESS:      I just recall that           12:24

  6               there were a few states or cities where you           12:24

  7               had restrictions on the transfer of the               12:24

  8               Bowie knife and Arkansas toothpicks, that             12:24

  9               sort of thing.                                        12:24

 10                      I don't recall any that would relate           12:24

 11               to possession.      There were some taxing            12:24

 12               statutes.    But other than those, I don't            12:25

 13               recall anything that related to possession.           12:25

 14         BY MS. UYEHARA:                                             12:25

 15               Q.     In Dr. Rivas' report, she discusses            12:25

 16         some of the various taxes upon acquiring a                  12:25

 17         weapon or sale of a weapon.                                 12:25

 18                      In paragraph 37 of your report you             12:25

 19         state, quote, "Dr. Rivas also discusses the                 12:25

 20         taxation of certain knives while conceding that             12:25

 21         pistols were also taxed.        As discussed above,         12:25

 22         Heller, McDonald, and Bruen make clear that the             12:25

 23         history of pistol regulation was not such as to             12:25

 24         pass the text history and tradition test," end              12:25

 25         quote.                                                      12:25

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  1                       Can you explain what you mean by the          12:25

  2         cases made clear the history of pistol                      12:25

  3         regulation was not such to pass the text                    12:25

  4         history and tradition test?                                 12:25

  5               A.      I'm speaking in general terms there.          12:25

  6         But what I'm expressing is the fact that the                12:26

  7         three cases make clear that the pistol                      12:26

  8         regulations, at least involved in those cases,              12:26

  9         did not pass text history and tradition.                    12:26

 10                       And my point is that we shouldn't be          12:26

 11         citing statutes that include pistols within                 12:26

 12         their scope if, you know, we're going to follow             12:26

 13         McDonald and Bruen.        You know, if -- at least,        12:26

 14         we should be suspicious of any statute.                     12:26

 15                       I mean, there is historical                   12:26

 16         precedent citing this is sufficient to prove                12:26

 17         that it passes the test.         If another weapon          12:26

 18         listed in the same statute has already been                 12:26

 19         held not to pass that test, that means that                 12:26

 20         statute was not enough to persuade the Supreme              12:27

 21         Court.     So we ought to at least be quite                 12:27

 22         suspicious of it.                                           12:27

 23               Q.      Are you aware of any taxation                 12:27

 24         statute that has not been held -- taxation of               12:27

 25         firearm statute that has not been upheld by the             12:27

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  1         Supreme Court?                                                12:27

  2                 A.       There are only a few taxation of             12:27

  3         firearms.        One would be the National Firearms           12:27

  4         Act, which was upheld in United States vs.                    12:27

  5         Miller.        I've got some interesting writings on          12:27

  6         that.        And the other is the -- what do you              12:27

  7         call -- Pitman Robertson tax -- I don't think                 12:27

  8         that's ever been challenged.                                  12:27

  9                 Q.       And so you said we should be                 12:27

 10         skeptical -- I'm rephrasing it here -- you said               12:27

 11         we should be skeptical of laws that tax pistols               12:27

 12         or handguns?                                                  12:27

 13                 A.       We should be skeptical of laws that          12:27

 14         tax knives and handguns.            And skeptical in the      12:28

 15         sense of, this probably doesn't pass Bruen                    12:28

 16         muster because the pistol part of it didn't,                  12:28

 17         probably the knife part wouldn't either.                      12:28

 18                 Q.       And you state that even though Bruen         12:28

 19         didn't -- Bruen, Heller, and McDonald didn't                  12:28

 20         involve taxation schemes, correct?                            12:28

 21                 A.       Yep.                                         12:28

 22                 Q.       Is it your expert opinion that any           12:28

 23         historical laws that involve pistol or handgun                12:28

 24         regulation cannot be considered under the Bruen               12:28

 25         framework?                                                    12:28

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  1                       MR. DILLON:      Objection.      Misstates           12:28

  2                 testimony.   Vague and ambiguous.                          12:28

  3                 Argumentative.                                             12:28

  4                       THE WITNESS:      Well, you can consider             12:28

  5                 it, but Bruen itself says that the Sullivan                12:28

  6                 law anyway does not pass muster.              So at        12:28

  7                 least the history up until that point in                   12:28

  8                 time was not such that the court would say                 12:29

  9                 it was sufficient for text history or                      12:29

 10                 tradition.                                                 12:29

 11                       So if you wind up with basically,                    12:29

 12                 here is a law that regulates two items, and                12:29

 13                 one item is struck down by the Supreme                     12:29

 14                 Court, the regulations on the one item,                    12:29

 15                 then you have to ask yourself if the two                   12:29

 16                 items are the same thing, in this case,                    12:29

 17                 arms, don't you have a problem there with                  12:29

 18                 text history and tradition.         As the Supreme         12:29

 19                 Court itself said, the other part of it is                 12:29

 20                 invalid.                                                   12:29

 21         BY MS. UYEHARA:                                                    12:29

 22                 Q.    So we're going to pivot away a                       12:29

 23         little bit from Bruen and legal analysis, and                      12:29

 24         get back to the specific taxation laws at issue                    12:29

 25         here.                                                              12:29

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  1                      Were you aware of laws that impose             12:29

  2         occupational taxes on weapon dealers before                 12:29

  3         reading Dr. Rivas' report?                                  12:29

  4               A.     Yes.                                           12:29

  5               Q.     In what context?                               12:30

  6               A.     Well, I mean, they impose them to              12:30

  7         the present day.      There are --                          12:30

  8               Q.     Go ahead.                                      12:30

  9               A.     There are taxes -- well, there are             12:30

 10         fees to be paid for licensing as a dealer of                12:30

 11         guns, as a manufacturer of guns, that sort of               12:30

 12         thing.                                                      12:30

 13               Q.     Were you aware of these occupational           12:30

 14         taxes in the 19th century?                                  12:30

 15               A.     No.                                            12:30

 16               Q.     And -- hold on.       Let me gather my         12:30

 17         thoughts for a second.                                      12:30

 18                      Do you agree that occupational taxes           12:30

 19         (indecipherable) --                                         12:30

 20                      (The Court Reporter requested                  12:30

 21               clarification.)                                       12:30

 22         BY MS. UYEHARA:                                             12:30

 23               Q.     Do you agree that occupational taxes           12:30

 24         disincentivized the sale of certain weapons in              12:31

 25         the 19th century?                                           12:31

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  1                      MR. DILLON:      Objection.                         12:31

  2               Speculation.     Argumentative.       Lacks                12:31

  3               foundation.     Legal conclusion.                          12:31

  4                      THE WITNESS:      Well, that would                  12:31

  5               depend upon the extent of the tax.               I mean,   12:31

  6               a small tax like with the present day taxes                12:31

  7               are fees for a gun dealer, those started                   12:31

  8               out in 1916 as $10 a year.          So that's not          12:31

  9               going to disincentive something.               Now         12:31

 10               something substantial, yes, that would                     12:31

 11               disincentive it.                                           12:31

 12         BY MS. UYEHARA:                                                  12:31

 13               Q.     In Dr. Rivas' report, she discusses                 12:31

 14         the Florida territory and the specific                           12:31

 15         occupational taxes at issue there, and                           12:31

 16         specifically, an annual tax of $200 in 1838 for                  12:31

 17         vendors of dangerous weapons.                                    12:31

 18                      Do you believe a tax of $200                        12:31

 19         annually in 1838 would likely discourage the                     12:31

 20         sale of dangerous weapons?                                       12:32

 21                      MR. DILLON:      Objection.                         12:32

 22                      THE WITNESS:      I believe so.                     12:32

 23                      MR. DILLON:      Speculation.                       12:32

 24                      (The Court Reporter requested                       12:32

 25               clarification.)                                            12:32

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  1                      THE WITNESS:      Yes, it would.               12:32

  2         BY MS. UYEHARA:                                             12:32

  3               Q.     And are you aware that $200 in 1838            12:32

  4         is approximately $6,300 today?                              12:32

  5               A.     Approximately.                                 12:32

  6               Q.     And would an annual tax of $10 in              12:32

  7         1838 for open carry tend to discourage the                  12:32

  8         carrying of those weapons?                                  12:32

  9               A.     Yes, it would.                                 12:32

 10               Q.     And are you aware that $10 in 1838             12:32

 11         would be approximately $320 today?                          12:32

 12               A.     I suspect that's right.                        12:32

 13               Q.     You would agree, then, that                    12:32

 14         occupational taxes in the 19th century had a                12:32

 15         tendency to discourage weapon use and carry?                12:32

 16                      MR. DILLON:      Objection.      Lacks         12:33

 17               foundation.     Incomplete hypothetical.              12:33

 18               Argumentative.      And speculation.                  12:33

 19                      THE WITNESS:      To the extent they           12:33

 20               existed, and there are only a few cases of            12:33

 21               that cited.     And to the extent they were           12:33

 22               substantial, they would have tended to                12:33

 23               disincentivize arms ownership.                        12:33

 24         BY MS. UYEHARA:                                             12:33

 25               Q.     Do you agree that laws regulating              12:33

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  1         concealed carry of dangerous weapons was one of             12:33

  2         the primary ways that governments regulated                 12:33

  3         weapons in the 19th century?                                12:33

  4                      MR. DILLON:      Objection.      Vague and     12:33

  5               ambiguous.                                            12:33

  6                      THE WITNESS:      I would say so.              12:33

  7         BY MS. UYEHARA:                                             12:33

  8               Q.     And in conjunction with the                    12:33

  9         occupational taxes laws, they would together                12:33

 10         discourage gun possession and carrying?                     12:33

 11                      MR. DILLON:      Objection.      Vague and     12:33

 12               ambiguous.    Speculation.       Argumentative.       12:33

 13               And incomplete hypothetical.                          12:34

 14                      THE WITNESS:      I don't think that the       12:34

 15               concealed carry limitations would have                12:34

 16               discouraged arms ownership or carrying.               12:34

 17                      I mean, my own state, Arizona, we              12:34

 18               had a complete ban on concealed carry, no             12:34

 19               permits available, throughout most of my              12:34

 20               lifetime, and I don't think that                      12:34

 21               discouraged anybody from owning arms or               12:34

 22               carrying them openly.                                 12:34

 23         BY MS. UYEHARA:                                             12:34

 24               Q.     And so you don't think concealed               12:34

 25         carry laws discourage the concealed carrying of             12:34

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  1         weapons?                                                    12:34

  2               A.     Well, they discourage --                       12:34

  3                      MR. DILLON:      Objection.      Misstates     12:34

  4               testimony.                                            12:34

  5                      THE WITNESS:      They discourage the          12:34

  6               concealed carrying, yeah.         But they don't      12:34

  7               discourage carrying in general.                       12:34

  8         BY MS. UYEHARA:                                             12:34

  9               Q.     And in your research of 19th century           12:34

 10         firearm regulations, what were the primary                  12:34

 11         reasons governments regulated these weapons?                12:35

 12                      MR. DILLON:      Objection.      Vague and     12:35

 13               ambiguous.                                            12:35

 14                      THE WITNESS:      The primary reason           12:35

 15               seemed to be a notion of fairness in the              12:35

 16               case of concealed carry, that a person                12:35

 17               carrying a concealed would have an                    12:35

 18               advantage over someone who didn't know that           12:35

 19               they were carrying a weapon.          And thus, a     12:35

 20               conflict might turn lethal without the                12:35

 21               person -- without a person realizing that             12:35

 22               it could go lethal.                                   12:35

 23         BY MS. UYEHARA:                                             12:35

 24               Q.     And on what sources do you base that           12:35

 25         claim?                                                      12:35

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  1               A.      There were several court cases from                 12:35

  2         that period, talking 1840s or thereabouts,                        12:35

  3         where the court mentioned just that, that, you                    12:35

  4         know, it was sort of sneaky to be carrying                        12:35

  5         concealed, and that person might get into a                       12:35

  6         fight without knowing the other person was                        12:36

  7         armed.     And, therefore, if you're going to                     12:36

  8         carry, you should carry openly.                                   12:36

  9               Q.      And what weapons were usually the                   12:36

 10         subject of 19th century concealed carry laws?                     12:36

 11               A.      Some of them were any arm.              Some of     12:36

 12         them were specific to Bowie's and Arkansas                        12:36

 13         toothpicks and that matter of thing.             Some of          12:36

 14         them included pistols.         And as I say, some of              12:36

 15         them were any arm.                                                12:36

 16               Q.      Would you say 19th century                          12:36

 17         legislation was particularly concerned with the                   12:36

 18         concealment of these weapons?                                     12:36

 19                       MR. DILLON:      Objection.                         12:36

 20               Speculation.      Vague and ambiguous.                      12:36

 21                       THE WITNESS:      To the extent there               12:36

 22               was regulation, yes.                                        12:36

 23         BY MS. UYEHARA:                                                   12:36

 24               Q.      And what were the primary ways that                 12:36

 25         governments regulated those weapons?                              12:36

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  1                       MR. DILLON:      Objection.      Vague and      12:37

  2                 ambiguous.                                            12:37

  3                       THE WITNESS:      Well, I think we were         12:37

  4                 discussing concealed carry.         As far as the     12:37

  5                 other regulations, yeah, they were pretty             12:37

  6                 intermittent.    We're talking one or two             12:37

  7                 states for an unknown period of time.                 12:37

  8                       Some day I want to have enough time             12:37

  9                 to go back and research how long did these            12:37

 10                 laws exist, but that's going to be a hell             12:37

 11                 of a job.    You have to go back through the          12:37

 12                 session laws.                                         12:37

 13         BY MS. UYEHARA:                                               12:37

 14                 Q.    And can you describe why that's                 12:37

 15         difficult?                                                    12:37

 16                 A.    Well, yeah.      The session laws are           12:37

 17         not org -- they're chronologically organized.                 12:37

 18         And so you will have to go back each year, year               12:37

 19         after year, and see if this statute was                       12:37

 20         repealed.     And it's -- it would be an enormous             12:37

 21         task.                                                         12:38

 22                 Q.    And so a law passed, let's say, in              12:38

 23         the mid 1880s could have been renewed for                     12:38

 24         several years thereon or repealed shortly                     12:38

 25         thereafter; and it's difficult to tell,                       12:38

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  1         correct?                                                        12:38

  2               A.     Oh, yes.     Quite so.                             12:38

  3               Q.     And in your expert opinion, why has                12:38

  4         not more research focused on that aspect?                       12:38

  5                      MR. DILLON:      Objection.                        12:38

  6               Speculation.      Vague and ambiguous.                    12:38

  7                      THE WITNESS:      I suspect because                12:38

  8               nobody ever figured it out before.             And as     12:38

  9               the only guy who did figure it out, I don't               12:38

 10               have the time.                                            12:38

 11         BY MS. UYEHARA:                                                 12:38

 12               Q.     And so a law that was enacted in,                  12:38

 13         let's say, 1880, it could have gone on for a                    12:38

 14         decade or two decades before ever actually                      12:38

 15         getting repealed; is that correct?                              12:38

 16                      MR. DILLON:      Objection.      Vague and         12:38

 17               ambiguous.     Lacks foundation.        Speculation.      12:38

 18                      THE WITNESS:      Sure.                            12:38

 19         BY MS. UYEHARA:                                                 12:38

 20               Q.     And in your report, do you contend                 12:38

 21         that any of the laws presented by Dr. Spitzer                   12:39

 22         or Dr. Rivas do not exist?                                      12:39

 23                      MR. DILLON:      Objection.      Vague and         12:39

 24               ambiguous.                                                12:39

 25                      THE WITNESS:      Could you run that by            12:39

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  1               me again?                                             12:39

  2         BY MS. UYEHARA:                                             12:39

  3               Q.     Yes.                                           12:39

  4                      In your report, do you contend that            12:39

  5         any of the laws presented by Dr. Spitzer and                12:39

  6         Dr. Rivas do not exist?                                     12:39

  7                      MR. DILLON:      Same objection.               12:39

  8                      THE WITNESS:      I do not so contend.         12:39

  9         BY MS. UYEHARA:                                             12:39

 10               Q.     Did you do any independent research            12:39

 11         to see if either of them missed any laws in                 12:39

 12         their research?                                             12:39

 13               A.     No, I don't believe I did.                     12:39

 14               Q.     Is the main contention of your                 12:39

 15         report that the laws they provide are not good              12:39

 16         legal analogies to the switchblade laws at                  12:39

 17         issue?                                                      12:39

 18               A.     I would think --                               12:39

 19                      MR. DILLON:      Objection.      Vague and     12:39

 20               ambiguous.                                            12:39

 21                      THE WITNESS:      -- that that's one of        12:39

 22               the big points, yes.                                  12:39

 23         BY MS. UYEHARA:                                             12:39

 24               Q.     And in your expert opinion, which              12:39

 25         type of historical laws would California need               12:40

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  1         to identify in order to defend its switchblade               12:40

  2         laws?                                                        12:40

  3                       MR. DILLON:      Objection.      Vague and     12:40

  4                 ambiguous.     Speculation.     Legal conclusion.    12:40

  5                       THE WITNESS:      I suppose it would           12:40

  6                 have to be statutes against or limiting              12:40

  7                 fighting knives, preferably going down to            12:40

  8                 possession of fighting knives, and within            12:40

  9                 the relevant timeframe, the timeframe of             12:40

 10                 the framing or framings.                             12:40

 11                       And to the extent we're talking                12:40

 12                 about state laws and state constitutions,            12:40

 13                 I'd want to see a constitute -- state                12:40

 14                 constitutional provision that is something           12:40

 15                 like the Second Amendment, maybe not the             12:40

 16                 same words because those were not often              12:40

 17                 used in state constitutions, but doesn't             12:40

 18                 have -- at least the right -- the state              12:41

 19                 right does not have limits on it which are           12:41

 20                 not found in the Second Amendment such as            12:41

 21                 right to keep and bear arms for the common           12:41

 22                 defense.     And so I would leave those out.         12:41

 23         BY MS. UYEHARA:                                              12:41

 24                 Q.    So if the state constitution had a             12:41

 25         more limited Second Amendment right, you would               12:41

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  1         not include those states in your analysis; is                12:41

  2         that correct?                                                12:41

  3               A.     I might include them, but I would --            12:41

  4         if -- several of the statutes from that period               12:41

  5         were in particular carrying concealed weapons,               12:41

  6         and also some (indecipherable) types of                      12:41

  7         weapons.                                                     12:41

  8                      (The Court Reporter requested                   12:41

  9               clarification.)                                        12:41

 10                      THE WITNESS:      And on types of               12:41

 11               weapons were upheld specifically because               12:41

 12               the state constitution had the                         12:42

 13               for-the-common-defense limitation.                     12:42

 14                      And so they said, this is -- for the            12:42

 15               common defense means, basically, militia               12:42

 16               use.   And, therefore, arms that are not               12:42

 17               suitable for the militia are not protected             12:42

 18               under the state constitution.           The Second     12:42

 19               Amendment doesn't have that limitation.                12:42

 20                      So for that reason, I would tend to             12:42

 21               push those cases to the side and not to                12:42

 22               consider them as establishing very much.               12:42

 23         BY MS. UYEHARA:                                              12:42

 24               Q.     And so regulations that focus on                12:42

 25         fighting knives are the closest analogy to the               12:42

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  1         switchblade laws at issue in this case?                          12:42

  2               A.     Yes, I think so.                                    12:42

  3               Q.     And those laws did exist in the 19th                12:42

  4         century, correct?                                                12:42

  5                      MR. DILLON:      Objection.      Vague and          12:43

  6               ambiguous.                                                 12:43

  7                      THE WITNESS:      Well, they did exist              12:43

  8               in certain jurisdictions.         I don't think            12:43

  9               they dealt with possession.          The question          12:43

 10               becomes how widespread need it be?             And         12:43

 11               there I've got an article coming out on it,                12:43

 12               but, yeah.                                                 12:43

 13         BY MS. UYEHARA:                                                  12:43

 14               Q.     Mr. Hardy, you have an article                      12:43

 15         coming out on what?                                              12:43

 16               A.     Mentioning the question of how                      12:43

 17         widespread -- well, let me back up.            Where our         12:43

 18         reasoning here is that if the framing                            12:43

 19         generations were okay with a restriction, that                   12:43

 20         would indicate that their understanding of the                   12:43

 21         right to keep and bear arms when they ratified                   12:43

 22         it was also okay with those restrictions.                        12:43

 23                      But then we have to go further and                  12:44

 24         say, how widespread did those restrictions have                  12:44

 25         to be before we can reach that conclusion?                 I     12:44

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  1         mean, the fact that -- I mean, the analogy is               12:44

  2         the First Amendment where we're talking about               12:44

  3         does not protect defamation, except when it                 12:44

  4         does, fighting words, obscenity.           And the          12:44

  5         reasoning is that the Americans, when they've               12:44

  6         ratified the amendments, would have understood              12:44

  7         that those things were not legally protected.               12:44

  8                      Well, that's pretty much -- that is            12:44

  9         simple because I think it's pretty much                     12:44

 10         uniform.    I mean, any Englishman or American in           12:44

 11         1791 would have understood you can't do these               12:44

 12         things, and wouldn't have thought that                      12:44

 13         ratifying freedom of speech in press would let              12:44

 14         you do them.                                                12:44

 15                      Then we get down to other questions,           12:44

 16         like how many -- if something is not                        12:44

 17         universally accepted as a restriction, how many             12:45

 18         acceptances does it take?         And that's something      12:45

 19         that Bruen doesn't answer except indirectly.                12:45

 20         It indirectly suggests that it takes at least a             12:45

 21         fair amount of such acceptances.                            12:45

 22               Q.     Mr. Hardy, you said regulations of             12:45

 23         fighting knives would be a good analogy in this             12:45

 24         case; and you said fighting knives of the                   12:45

 25         Framer era, correct?                                        12:45

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  1                      What would you consider to be                   12:45

  2         fighting knives of the Framer era?                           12:45

  3               A.     You know, the Bowie would fit within            12:45

  4         Fourteenth Amendment framing anyway.            So would     12:45

  5         be the Arkansas toothpick.         I guess the               12:45

  6         Scottish dirk, although I don't think there's                12:45

  7         any single good definition of that other than                12:46

  8         it was a knife.     I think those would pass at              12:46

  9         least Fourteenth Amendment purposes as fighting              12:46

 10         knives known at the time.                                    12:46

 11                      MS. UYEHARA:      Okay.    I've reached         12:46

 12               the end of my listed questions today here,             12:46

 13               Mr. Hardy.    Can we go on a 10-minute break           12:46

 14               so I can see if I missed any questions --              12:46

 15                      THE WITNESS:      Sure.    Okay.                12:46

 16                      MS. UYEHARA:      Wonderful thank you.          12:46

 17                      THE COURT REPORTER:        Are you going        12:54

 18               to want a copy of it?                                  12:54

 19                      MR. DILLON:      Yes, please.                   12:56

 20                      (A recess was taken.)                           12:57

 21         BY MS. UYEHARA:                                              12:57

 22               Q.     Mr. Hardy, I just have just a few               12:57

 23         more questions for you related to your prior                 12:57

 24         published work.                                              12:57

 25               A.     Uh-huh.                                         12:57

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  1               Q.       And so we mentioned earlier that a              12:57

  2         lot of your work has been published in law                     12:58

  3         journals.                                                      12:58

  4                        I believe you had one article that              12:58

  5         was submitted to -- or that was published by a                 12:58

  6         history journal; is that correct?                              12:58

  7               A.       Yeah, I think one of them was.                  12:58

  8               Q.       Do you submit a lot of your law                 12:58

  9         articles to history journals?                                  12:58

 10               A.       No, I can't say as I have.                      12:58

 11               Q.       And is there any reason you prefer              12:58

 12         legal journals to submit your work to?                         12:58

 13               A.       I'm a lawyer.                                   12:58

 14               Q.       Yes, but your articles are so --                12:58

 15         they seem to focus on history.                                 12:58

 16               A.       Uh-huh.    Yep.     But it's just -- law        12:58

 17         reviews I know.       Law reviews are instinctive to           12:58

 18         me.   How the rest of the world functions, I                   12:58

 19         don't know very much about.                                    12:58

 20                        MS. UYEHARA:       That makes sense.    All

 21               right.     Thank you so much, Mr. Hardy.                 12:58

 22               That's the last of my questions for you.                 12:59

 23                        Mr. Dillon, did you have any                    12:59

 24               questions?                                               12:59

 25                        MR. DILLON:       I have no questions           12:59

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  1               today.                                                 12:59

  2                        (THEREUPON, the deposition of DAVID

  3               T. HARDY concluded at 12:59 p.m.)

  4                           (SIGNATURE RESERVED)

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  1                                   ERRATA SHEET
  2
          CHANGES IN FORM AND SUBSTANCE REQUESTED BE MADE IN
  3       THE FOREGOING ORAL EXAMINATION TRANSCRIPT:
          (NOTE:      If no changes are desired, please sign and
  4       date where indicated below.)
  5                                   CORRECTIONS:
  6       Pg.   Ln.        Now Reads               Should Read         Reason
  7       ___   ___        _____________             _____________     ______
  8       ___   ___        _____________             _____________     ______
  9       ___   ___        _____________             _____________     ______
 10       ___   ___        _____________             _____________     ______
 11       ___   ___        _____________             _____________     ______
 12       ___   ___        _____________             _____________     ______
 13       ___   ___        _____________             _____________     ______
 14       ___   ___        _____________             _____________     ______
 15       ___   ___        _____________             _____________     ______
 16       ___   ___        _____________             _____________     ______
 17       ___   ___        _____________             _____________     ______
 18
          I, DAVID T. HARDY, hereby declare under penalty of
 19       perjury that I have read the foregoing deposition and
          that the testimony contained therein is a true and
 20       correct transcript of my testimony, noting the
          corrections above.
 21
 22                                            DAVID T. HARDY
 23       SUBSCRIBED AND SWORN BEFORE ME
          THIS______DAY OF_________, 2024.
 24
          _______________________________
 25       (Notary Public)        MY COMMISSION EXPIRES:___________

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  1                              C E R T I F I C A T E
  2                       I, MONNA J. NICKESON, CCR, CSR, CLR, RPR,
  3       CRR, the undersigned Certified Court Reporter,
  4       authorized to administer oaths and affirmations in
  5       and for the states of Washington (3322), Oregon
  6       (16-0441), Idaho (1045), and California (14430), do
  7       hereby certify:
  8                    That the sworn testimony and/or
  9       proceedings, a transcript of which is attached, was
 10       given before me at the time and place stated therein;
 11       that the witness was duly sworn or affirmed to
 12       testify to the truth; that the testimony and/or
 13       proceedings were stenographically recorded by me and
 14       transcribed under my supervision.                That the foregoing
 15       transcript contains a full, true, and accurate record
 16       of all the testimony and/or proceedings occurring at
 17       the time and place stated in the transcript.
 18                    That I am in no way related to any party to
 19       the matter, nor to any counsel, nor do I have any
 20       financial interest in the event of the cause.
 21       IN WITNESS WHEREOF I have set my hand on
 22       February 23, 2024.
 23   U,L,      •-13--ffYl(J              rl/~
          <%3468,Signature%>
 24       MONNA J. NICKESON, CCR, CSR, CLR, RPR, CRR
 25
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  1    John Dillon

  2    jdillon@dillonlawgp.com

  3                                                    February 23, 2024

  4    RE: Knife Rights, et al. v. CA Attorney General Rob Bonta

  5    2/15/24, DAVID T. HARDY, JOB NO. 6449173

  6    The above-referenced transcript has been

  7    completed by Veritext Legal Solutions and

  8    review of the transcript is being handled as follows:

  9    __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

 10        to schedule a time to review the original transcript at

 11        a Veritext office.

 12    __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

 13        Transcript - The witness should review the transcript and

 14        make any necessary corrections on the errata pages included

 15        below, notating the page and line number of the corrections.

 16        The witness should then sign and date the errata and penalty

 17        of perjury pages and return the completed pages to all

 18        appearing counsel within the period of time determined at

 19        the deposition or provided by the Code of Civil Procedure.

 20        Contact Veritext when the sealed original is required.

 21    __ Waiving the CA Code of Civil Procedure per Stipulation of

 22        Counsel - Original transcript to be released for signature

 23        as determined at the deposition.

 24    __ Signature Waived – Reading & Signature was waived at the

 25        time of the deposition.

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  1    _X_ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

  2        Transcript - The witness should review the transcript and

  3        make any necessary corrections on the errata pages included

  4        below, notating the page and line number of the corrections.

  5        The witness should then sign and date the errata and penalty

  6        of perjury pages and return the completed pages to all

  7        appearing counsel within the period of time determined at

  8        the deposition or provided by the Federal Rules.

  9    __ Federal R&S Not Requested - Reading & Signature was not

 10        requested before the completion of the deposition.

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  2    DAVID T. HARDY (#6449173)
  3                          E R R A T A        S H E E T
  4    PAGE_____ LINE_____ CHANGE________________________
  5    __________________________________________________
  6    REASON____________________________________________
  7    PAGE_____ LINE_____ CHANGE________________________
  8    __________________________________________________
  9    REASON____________________________________________
 10    PAGE_____ LINE_____ CHANGE________________________
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 19    PAGE_____ LINE_____ CHANGE________________________
 20    __________________________________________________
 21    REASON____________________________________________
 22
 23    ________________________________                _______________
 24    WITNESS                                         Date
 25

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                       Federal Rules of Civil Procedure

                                       Rule 30



           (e) Review By the Witness; Changes.

           (1) Review; Statement of Changes. On request by the

           deponent or a party before the deposition is

           completed, the deponent must be allowed 30 days

           after being notified by the officer that the

           transcript or recording is available in which:

           (A) to review the transcript or recording; and

           (B) if there are changes in form or substance, to

           sign a statement listing the changes and the

           reasons for making them.

           (2) Changes Indicated in the Officer's Certificate.

           The officer must note in the certificate prescribed

           by Rule 30(f)(1) whether a review was requested

           and, if so, must attach any changes the deponent

           makes during the 30-day period.




           DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

           ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

           THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

           2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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           COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

      Veritext Legal Solutions represents that the

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      as submitted by the court reporter. Veritext Legal

      Solutions further represents that the attached

      exhibits, if any, are true, correct and complete

      documents as submitted by the court reporter and/or

      attorneys in relation to this deposition and that

      the documents were processed in accordance with

      our litigation support and production standards.


      Veritext Legal Solutions is committed to maintaining

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      the Health Insurance Portability and Accountability

      Act (HIPAA), as amended with respect to protected

      health information and the Gramm-Leach-Bliley Act, as

      amended, with respect to Personally Identifiable

      Information (PII). Physical transcripts and exhibits

      are managed under strict facility and personnel access

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                PLAINTIFFS' EXHIBIT AD
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  1                      IN THE UNITED STATES DISTRICT COURT
  2                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  3
  4       ______________________________
                                        )
  5       KNIFE RIGHTS, INC., ELIOT     )
          KAAGAN JIM MILLER, GARRISON   )
  6       HAM, NORTH COUNTY SHOOTING    )
          CENTER, INC., and PWGG L.P., )
  7                                     )
                     Plaintiffs,        )
  8                                     ) CASE NO.
               vs.                      ) 3:23-CV-00474-JES-DDL
  9                                     )
          CALIFORNIA ATTORNEY GENERAL   )
 10       ROB BONTA,                    )
                                        )
 11                  Defendant.         )
          ______________________________)
 12
 13
 14               VIDEOCONFERENCE DEPOSITION OF MICHAEL D. JANICH
 15                           Appearing Remotely From
 16                             FIRESTONE, COLORADO
 17                         Thursday, February 8, 2024
 18                                  Volume I
 19
 20
 21
 22       Reported by:
          SHURI GRAY
 23       CSR No. 3786
 24       Job No. 6449120
 25       PAGES 1 to 88

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  1                      IN THE UNITED STATES DISTRICT COURT
  2                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  3       ______________________________
                                              )
  4       KNIFE RIGHTS, INC., ELIOT           )
          KAAGAN JIM MILLER, GARRISON         )
  5       HAM, NORTH COUNTY SHOOTING          )
          CENTER, INC., and PWGG L.P.,        )
  6                                           )
                       Plaintiffs,            )
  7                                           ) CASE NO.
               vs.                            ) 3:23-CV-00474-JES-DDL
  8                                           )
          CALIFORNIA ATTORNEY GENERAL         )
  9       ROB BONTA,                          )
                                              )
 10                    Defendant.             )
          ______________________________)
 11
 12
 13            Videoconference Deposition of MICHAEL D. JANICH,
 14            Volume I, taken on behalf of Defendant, all
 15            participants attending remotely, beginning at 2:06 p.m.
 16            and ending at 4:15 p.m. on Thursday, February 8, 2024,
 17            before SHURI GRAY, Certified Shorthand Reporter
 18            No. 3786.
 19
 20
 21
 22
 23
 24
 25

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  1       APPEARANCES:
  2
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 25

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  1                                         INDEX

  2       WITNESS                                                 EXAMINATION

  3       MICHAEL D. JANICH

          Volume I

  4

  5

  6       BY MS. UYEHARA                                                  5

  7       BY MR. DILLON                                                  86

  8

  9

 10                                DEPOSITION EXHIBITS

 11       NUMBER                 DESCRIPTION                        IDENTIFIED

 12       Exhibit A         Complaint for Declaratory and                10

 13                         Injunctive Relief

 14

 15       Exhibit B         Rebuttal expert report                       14

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 17       Exhibit C         Interview with Michael Janich                37

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  1                FIRESTONE, COLORADO; Thursday, February 8, 2024

  2                                      2:06 p.m.

  3

  4                                MICHAEL D. JANICH,

  5       having been administered an oath, was examined and

  6       testified as follows:

  7                                     EXAMINATION

  8       BY MS. UYEHARA:

  9            Q      Good morning.     My name is Katrina Uyehara, and

 10       I am a Deputy Attorney General with the California

 11       Department of Justice.        I'm joined by my colleague Jane

 12       Reilley, who is also working on this case.              We represent

 13       the defendant California Attorney General Rob Bonta in

 14       this lawsuit.

 15                   We are here regarding the case Knife Rights,

 16       Inc., et al., versus California Attorney General Rob

 17       Bonta.     This is in the US District Court for the

 18       Southern District of California, and the case number is

 19       3:23-CV-00474.

 20                   Please state your full name for the record.

 21            A      Michael Duane Janich.

 22            Q      Have you ever taken a deposition before?

 23            A      Yes, I have.

 24            Q      How many times?

 25            A      Two times that I recall.

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  1            Q    In which cases?

  2            A    One was testimony in front of a subcommittee of

  3       Congress, and another was regarding a lawsuit against

  4       Paladin Press, a former employer.

  5            Q    Were both times as an expert witness or as a

  6       party?

  7            A    Both times were as a witness.

  8            Q    On which topics have you previously testified

  9       as an expert witness for?

 10            A    One was with regard to the conduct of

 11       operations investigating the losses of American POWs and

 12       MIAs in Vietnam, Laos and Cambodia.           And then the other

 13       was regarding a lawsuit which was a sexual harassment

 14       lawsuit filed against my former employer.

 15            Q    And only one of those testimonies were in

 16       court; correct?

 17            A    It was a deposition, but it was -- I was not

 18       called on the stand in court.

 19            Q    So I do not intend to ask you any trick

 20       questions.    If you do not understand a question, please

 21       let me know, and I will repeat and/or clarify it.           I say

 22       this because if you answer a question, we will assume

 23       that you understood it.

 24                 This is important because if for some reason

 25       the answer to that question is used in trial, we are

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  1       making it clear on the record now that it is your

  2       responsibility to let us know whether you understood the

  3       question or not.

  4                 Do you understand these procedures?

  5            A    Yes, I do.

  6            Q    You are not required to speculate or guess as

  7       to matters of which you have no personal knowledge.

  8                 Do you understand this requirement?

  9            A    Yes, I do.

 10            Q    I also want to remind you that the court

 11       reporter cannot record shrugs, uh-huhs or other

 12       non-verbal responses or gestures.             So please be sure to

 13       provide verbal responses to my questions.

 14                 Also, the court reporter can only record one of

 15       us at a time; so I'll try not to interrupt you, and I

 16       would ask that you do the same for me.

 17                 Is that all right?

 18            A    Yes.

 19            Q    There may be circumstances where I ask you a

 20       question where I would be asking for an estimate.             I

 21       would ask you not to answer any questions with a

 22       speculation or guess.         It's okay to say you don't know

 23       the answer to a question, but I am entitled to your best

 24       recollection in cases where I am asking for something

 25       where you might be able to make an estimate.

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  1                 Once the deposition is transcribed, you may

  2       request an opportunity to review it.              If you feel that

  3       any of your answers are transcribed differently from

  4       those you gave, you may make notes to that effect.

  5       However, defendant does have a right to comment at trial

  6       on any of those changes which you make to the deposition

  7       transcript.

  8                 If you want the opportunity to review the

  9       transcript, you need to request that before the end or

 10       at the end of the deposition.

 11                 Do you understand these procedures?

 12            A    Yes, I do.

 13            Q    From time to time your lawyer, Mr. Dillon, may

 14       make objections.       Unless Mr. Dillon specifically

 15       instructs you to not answer the question, you are

 16       required to answer the question.

 17                 Does that make sense?

 18            A    Yes, it does.

 19            Q    One more point before we begin.                If you need to

 20       take a break at any time, please let me know, and we'll

 21       accommodate that request.          Although there will be

 22       breaks, it would be best to not take a break between a

 23       pending question and an answer.            Understood?

 24            A    Yes.

 25            Q    Great.      We'll go into some competency questions

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  1       now.

  2                   Are you able to provide complete and truthful

  3       testimony this afternoon?

  4              A    Yes, I am.

  5              Q    Is there any reason why you feel you cannot

  6       give your best testimony today?

  7              A    No.

  8              Q    Are you suffering from any medical condition

  9       that would prevent you from giving your best testimony

 10       today?

 11              A    No.

 12              Q    Have you taken any medications or any other

 13       substances in the last 24 hours that would affect your

 14       ability to understand my questions or answer truthfully

 15       today?

 16              A    No.

 17              Q    Did you prepare for today's deposition?

 18              A    Yes, I did.

 19              Q    In what way?

 20              A    I reviewed Mr. Escobar's original report.            I

 21       reviewed my response to his report.               I also reviewed the

 22       original complaint.

 23              Q    And are those all of the documents that you

 24       reviewed?

 25              A    Yes.

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  1            Q      Did you speak with anyone or write to anyone

  2       about this deposition?

  3            A      I spoke with Mr. Dillon in preparing for the

  4       deposition so that I understood the procedures.                   I also

  5       notified my employer that I would be unavailable during

  6       this time.

  7            Q      And have you reviewed the complaint that was

  8       filed by the plaintiffs?

  9            A      Yes, I have.

 10            Q      And did you have any role in preparing it?

 11            A      No, I did not.

 12            Q      We're going to present a copy of the complaint

 13       now as our Exhibit A.           I am going to put it on the

 14       screen for you to be able to see it as well.

 15                    (Deposition Exhibit A was marked

 16                for identification by the court reporter.)

 17       BY MS. UYEHARA:

 18            Q      Give me one moment.

 19                   Can you see this copy of the complaint?

 20            A      Yes.

 21            Q      I'll scroll through it as well.                Is this the

 22       operative complaint that you have reviewed in

 23       preparation for this deposition?

 24            A      Yes, it is.

 25            Q      Okay.     When did you first become involved with

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  1       this case?

  2              A   I was first involved -- became involved when I

  3       was contacted by Mr. Ritter.           I believe that was the

  4       latter part of December of last year.

  5              Q   Who is Mr. Ritter?

  6              A   Mr. Ritter is the -- from kniferights.org.           I'm

  7       not sure of his exact title, but he's the driving force

  8       behind kniferights.org.

  9              Q   And you said he contacted you in December?

 10              A   As I recall, yes.

 11              Q   Have you worked closely with Mr. Ritter before

 12       this case?

 13              A   I've known him for a number of years, but I've

 14       never worked with him in any official capacity.

 15              Q   Have you worked with the Dillon Law Firm

 16       before?

 17              A   No.

 18              Q   And did anyone tell you what they wanted you to

 19       do for this case?

 20              A   When I was first approached, they asked me to

 21       be an expert witness based on my knowledge of the use of

 22       knives in self-defense.         They felt that my knowledge

 23       would be relevant to this case.

 24              Q   Did you advertise your expert services in any

 25       way?

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  1            A    No, I did not.

  2            Q    Upon being asked about this case back in

  3       December, what were you told about the case?

  4            A    I was told that there was pending litigation

  5       against the State of California regarding a motion to

  6       legalize automatic knives in the state.

  7            Q    Do you have a written agreement governing your

  8       engagement as an expert in this case?

  9            A    I received an agreement to participate as an

 10       expert witness from Mr. Dillon, and I completed that

 11       agreement.

 12            Q    Are you being compensated for your work in this

 13       case?

 14            A    Yes, I am.

 15            Q    At what rate?

 16            A    $150 per hour.

 17            Q    How did you determine your hourly rate for the

 18       work in this case?

 19            A    That is my standard rate when I teach

 20       self-defense classes; so I carry that rate across to my

 21       other professional services.

 22            Q    To date, how many hours have you worked on this

 23       case?

 24            A    Approximately nine hours.

 25            Q    How did you spend those hours?

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  1            A    The majority of it was in reviewing

  2       Mr. Escobar's original expert report and then preparing

  3       my rebuttal to his report, and then any follow up to

  4       proofread and create the final report.

  5            Q    So you would estimate that you spent most of

  6       your time reviewing the documents in preparation for

  7       your report?

  8            A    That's correct.

  9            Q    If you had to estimate, how much time did you

 10       spend drafting your report?

 11            A    I would estimate about six hours.

 12            Q    So to date you have earned $1,350 from

 13       plaintiffs' counsel on this case?

 14            A    If the math is correct, yes.

 15            Q    What is your best estimate of how many

 16       additional hours you will work on this case?

 17            A    I honestly don't know.         I don't know where --

 18       what else will be required of me.

 19            Q    What field or fields do you consider yourself

 20       to be an expert in?

 21            A    I consider myself to be an expert in the fields

 22       of self-defense, fields of knives and their history,

 23       manufacturing, design of knives, as well as the

 24       defensive use of various other self-defense weapons.

 25            Q    Of those areas you just listed, which ones are

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  1       you being asked to provide opinions and testimony about

  2       in this case?

  3            A      Primarily the use of knives in self-defense,

  4       but also the utility of knives in general terms,

  5       specifically as they would apply to automatic knives.

  6            Q      So you also submitted a rebuttal expert report

  7       in support of plaintiffs' case.              I am going to put that

  8       on the screen now, and you can verify that this is a

  9       copy of that report.

 10                    (Deposition Exhibit B was marked

 11                for identification by the court reporter.)

 12       BY MS. UYEHARA:

 13            Q      Do you see a copy of your rebuttal expert

 14       report on the screen?

 15            A      I do.

 16            Q      And do you recognize this document as the

 17       document that was filed for you in this case?

 18            A      Yes.

 19            Q      All right.       I apologize.       Sorry.     I need to

 20       pull it back up.

 21                   So is this your signature signed under penalty

 22       of perjury on page 22?

 23            A      Yes, it is.

 24            Q      And what information did you review in

 25       preparing this document?

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  1            A    I reviewed Mr. Escobar's original report, and

  2       then there were specific references that I made in my

  3       rebuttal citing other literary sources or historical

  4       sources regarding the history of knives, other

  5       historical works that are in my library.

  6            Q    Did you do any online research?

  7            A    The primary online research that I did was with

  8       regard to the links that were provided in Mr. Escobar's

  9       report, and then there was also a report that I had

 10       found with regard to the use of kitchen knives, kitchen

 11       cutlery in criminal acts.

 12            Q    And did anyone assist you in writing this

 13       report?

 14            A    No.     Mr. Dillon reviewed the report.        There

 15       were some small changes that we discussed in preparing

 16       the final report, but the work itself is my own.

 17            Q    Now, I am going to ask a couple of questions

 18       about your background and your qualifications as an

 19       expert.

 20                 Did you graduate high school?

 21            A    Yes.

 22            Q    Did you attend college?

 23            A    Yes.

 24            Q    In what year did you graduate from college?

 25            A    I graduated from college in 1983.

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  1              Q   And what was the focus of your studies there?

  2              A   Asian studies.

  3              Q   Can you describe what that major entails?

  4              A   I was -- at that time, I was working -- I was

  5       active duty military.       My job was as a Chinese Mandarin

  6       and Vietnamese linguist; so much of my college credit

  7       was derived from my formal study at the Defense Language

  8       Institute in those languages and then related studies

  9       relating to Asian history and culture.

 10              Q   Which languages did you learn there?

 11              A   Chinese Mandarin and Vietnamese.

 12              Q   Do you have any additional education, like a

 13       master's degree or a Ph.D.?

 14              A   No, I don't.

 15              Q   And did your studies in your undergraduate

 16       career involve martial arts or self-defense training at

 17       all?

 18              A   I have been training in the martial arts for

 19       almost 50 years, but that was not related to my formal

 20       studies in college.

 21              Q   So you first began studying martial arts and

 22       self-defense training 50 years ago?

 23              A   Almost 50 years ago, yes.

 24              Q   And when did you start working in the military

 25       or with the intelligence agency?

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  1            A    In 1980.    I enlisted in the military after

  2       completing basic training.        I went to the language

  3       school to learn Chinese Mandarin.           After that, went to

  4       the technical school that qualified me in my military

  5       occupational specialty.       So I actually began applying my

  6       skills in 1981 at the National Security Agency.

  7            Q    When did you first begin teaching?

  8            A    I first began teaching martial arts when I was

  9       about 16 years old, shortly after earning my first black

 10       belt.

 11            Q    And was that professionally with a studio or in

 12       what capacity?

 13            A    It was part of a martial arts club.               So we had

 14       a -- we operated a studio, but it wasn't -- it was a

 15       commercial studio, but it wasn't very active as a

 16       commercial venture.      It was more of a club than a

 17       commercial business.

 18            Q    When was the first time you began getting paid

 19       for your self-defense teaching?

 20            A    I would say that would be when I first started

 21       teaching public seminars which was 1997.

 22            Q    And which organization were those public

 23       seminars with?

 24            A    My business is Martial Blade Concepts, LLC.

 25       The LLC was formed somewhat thereafter.                I believe it

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  1       was formed in 2003, if I recall.            So most of my teaching

  2       has been under that business name.

  3            Q    Currently, what is your primary source of

  4       employment?

  5            A    I work for the Spyderco Knife Company in

  6       Golden, Colorado.

  7            Q    And are there any other companies you are

  8       currently employed with or by?

  9            A    I also operate still Martial Blade Concepts,

 10       LLC, and I teach actively under that company name.

 11            Q    Do any of your employers manufacture or sell

 12       any knives that are currently illegal in California

 13       under the Switchblade statutes at issue in this case?

 14            A    Yes, Spyderco.

 15            Q    Are your employers aware of your involvement in

 16       this case?

 17            A    Yes.

 18            Q    Are they supportive of your involvement in this

 19       case?

 20            A    Yes.

 21            Q    You have designed over a dozen knives that are

 22       currently manufactured and sold by various knife

 23       companies; is that correct?

 24            A    They have been manufactured over time.           Not all

 25       of them are still in current production.

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  1            Q     Do you currently earn any income from the

  2       manufacture or sale of the knives that you designed?

  3            A     Yes, I do.

  4            Q     Are any of the knives that you designed

  5       currently illegal in California under the Switchblade

  6       statutes in issue in this case?

  7                  MR. DILLON:      Objection.      Legal conclusion.   You

  8       can go ahead and answer.

  9       BY MS. UYEHARA:

 10            Q     You can answer, Mr. Janich.

 11            A     There is one knife that I designed that cannot

 12       be imported into the US; so technically it would be

 13       illegal in California, but it's to a degree a moot point

 14       because the knife cannot be brought into the United

 15       States.

 16            Q     Was that knife designed for an international

 17       company?

 18            A     It was designed for Spyderco, but it is

 19       produced in Taiwan and then drop shipped to other

 20       countries, but it cannot be imported into the US.

 21            Q     Do you and/or any of the companies you work for

 22       stand to gain financially if the Switchblade statutes at

 23       issue in this case are struck down?

 24            A     No.

 25            Q     Can you explain how you designed your version

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  1       of the Spyderco Endura 4?

  2            A      The Endura 4 -- I did not design the Endura 4.

  3       That was designed by Sal Glesser, the founder of

  4       Spyderco.     There is a version of it that I modify that

  5       is custom ground to shorten the blade length to make it

  6       legally compliant in specific jurisdictions.

  7            Q      And how was that knife modified to make it

  8       legally compliant in the state of Colorado?

  9            A      By shortening the blade, by grinding it with

 10       the grinder and then hand finishing it to shorten the

 11       blade.   I also removed the texturing from the back of

 12       the blade.

 13            Q      And that knife was shortened to what length?

 14            A      Three and a half inches, which is the Colorado

 15       state law.

 16            Q      And can you explain what you did to the

 17       texturing of the handle.

 18            A      There's a thing called jimping, which is

 19       basically textured grooves that are on the back of the

 20       blade, and those can be abrasive to the thumb.           So I

 21       prefer to remove those; so I grind those off and finish

 22       the blades smooth.

 23            Q      And what purpose are those textured grooves

 24       meant to serve?

 25            A      From a utility standpoint, they can provide

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  1       extra perches for the thumb.           When the knife is used

  2       defensively, they can be too abrasive for the thumb and

  3       might cause injury to the user.

  4            Q    And is that why you have a preference for

  5       removing those grooves?

  6            A    Yes.

  7            Q    Can you list all of the commercial knife

  8       companies you have worked with?

  9            A    Spyderco, Master of Defense, Blackhawk Blades,

 10       Combat Elite.      As far as having knives produced, those

 11       are the only ones.

 12            Q    And with those companies you work primarily

 13       with the design of knives; correct?

 14            A    Yes.

 15            Q    Can you describe your work with The Best

 16       Defense Television series in the Outdoor Channel?

 17            A    I was the subject matter expert and cohost of

 18       The Best Defense for its original 11-year run.            So for

 19       11 seasons of that show I appeared on camera as one of

 20       the cohosts.      I also was a role player in some of the

 21       dramatic scenarios that we did.

 22                 I was an instructor of self-defense

 23       instructional methodology that included both -- that

 24       included unarmed tactics, use of various different

 25       contact distance weapons, including knives, as well as

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  1       the use of firearms in self-defense.

  2                   I also presented quite a bit of instruction as

  3       far as home security, home safety, and just all aspects

  4       of self-defense.

  5            Q      Can you describe the premise of the television

  6       series.

  7            A      Basically what it was designed to do is to

  8       provide the viewers with instructional information

  9       regarding all aspects of self-defense.             Typically, we

 10       would have a dramatic scenario that would first show the

 11       worst-case scenario with the victim being successfully

 12       victimized, and then we would show various options as

 13       far as different self-defense tactics, aspects of

 14       awareness and avoidance that could make them able to

 15       avoid a situation, and then these were punctuated with

 16       instructional segments that would provide greater detail

 17       on the skills that were shown in the dramatic scenarios.

 18            Q      To your knowledge, did any of those segments

 19       involve switchblade knives?

 20            A      No, they did not.

 21            Q      How many knives do you own, if you had to

 22       estimate?

 23            A      If I had to estimate, I would say between four

 24       and five hundred.

 25            Q      Of those knives, how many are functional?

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  1            A      Currently, the vast majority.          I'd say there's

  2       only maybe two or three that are currently disassembled

  3       and under repair.

  4            Q      Do you have any collectible knives or knives

  5       that would be considered non-operational besides those

  6       that are in repair?

  7            A      When you say collectible knives, could you be

  8       more specific, please.

  9            Q      A knife that doesn't serve its operational

 10       purposes.

 11            A      I might have a few kind of more of a -- either

 12       a tourist trinket type of knife or more of a novelty

 13       type of knife where it's not highly functional, but

 14       those would be the exception to the rule.               Those would

 15       be very few of the knives in my entire collection.

 16            Q      Of the knives in your collection, how many of

 17       them are switchblades?

 18            A      Approximately 60.

 19            Q      And of what lengths are those switchblades?

 20            A      They range from keychain models that are

 21       approximately 2 inches long overall, all the way up to,

 22       I believe the largest one is about 13 inches overall.

 23            Q      If you had to estimate, what is the length of

 24       the majority of the switchblades in your collection?

 25            A      I would estimate that most of those would be in

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  1       the medium range; so looking at blade lengths of

  2       approximately three to four inches with an overall

  3       length of approximately eight to nine inches.

  4            Q    Recognizing, for the record, that you do not

  5       live in California, can you estimate what percentage of

  6       your knives would be illegal in California?

  7                 MR. DILLON:       Objection.      Legal conclusion.

  8                 THE WITNESS:        Shall I proceed?

  9                 MR. DILLON:       Yeah, go ahead.

 10                 THE WITNESS:        As far as the automatic knives, I

 11       would say that all but maybe one or two would be illegal

 12       in California.      So if I estimate that I have 60 total,

 13       then approximately 58 of those would be illegal in

 14       California.

 15       BY MS. UYEHARA:

 16            Q    Do you typically carry a knife?

 17            A    Yes.

 18            Q    What kind?

 19            A    I carry one of the designs that I did for

 20       Spyderco called a Yojimbo 2.

 21            Q    Can you describe the Yojimbo 2?

 22            A    It is a folding knife with a 3.2-inch blade.

 23       It has a what's called a Wharncliffe blade profile.             It

 24       has a straight cutting edge, and it is a lock blade

 25       knife.   It has a compression lock mechanism.

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  1            Q    Can you explain what a Wharn blade profile is?

  2            A    It's a Wharncliffe blade profile.              So it's a

  3       perfectly straight cutting edge, and then the spine of

  4       the blade tapers down to meet the edge.

  5            Q    When you carry this knife, do you carry it

  6       openly or publicly?

  7            A    I carry it in my pocket, clipped to the top of

  8       my pocket.

  9            Q    Do you carry a knife in your car?

 10            A    Yes.

 11            Q    Where do you store that in your car?

 12            A    I store it in the center console.              It is a

 13       rescue knife.      It's designed for cutting seatbelts and

 14       breaking windows in the event of an auto accident.

 15            Q    What knife is your preferred choice for

 16       self-defense?

 17            A    The Yojimbo 2 that I mentioned earlier.

 18            Q    And this was a folding knife; correct?

 19            A    Correct.

 20            Q    It is not a fixed-blade knife?

 21            A    No, it is not.

 22            Q    Would you consider that knife to be a

 23       switchblade?

 24            A    No, it is not.

 25            Q    How would you categorize the knife?

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  1            A    It is a manual one-hand opening knife.

  2            Q    Why do you choose not to carry a switchblade

  3       for self-defense?

  4            A    I travel very frequently, and I teach in many

  5       areas of the country.         I also teach overseas.      And

  6       because the knife laws differ significantly from one

  7       place to another, self-defense skills, reliability and

  8       consistency are very important.

  9                 So if I were to travel to a jurisdiction that

 10       did not allow switchblade knives, I would have to change

 11       my practices, and that would affect my ability to defend

 12       myself effectively.        My reflexes wouldn't transfer over

 13       as readily.

 14            Q    Are there any jurisdictions you have been to

 15       where you know you would not have been able to take the

 16       switchblade knife?

 17            A    Yes.

 18            Q    What jurisdiction?

 19            A    The state of California.            Typically, before I

 20       travel on a trip, I will research the knife laws in that

 21       area to make sure that I'm legally compliant, even with

 22       the knife that I choose to carry on a daily basis.              If I

 23       have any issues with regard to blade length or anything

 24       of that nature, then I carry an alternate knife.

 25            Q    And for the knife that you usually carry, did

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  1       you design that knife?

  2            A    Yes, I did.

  3            Q    When did you design that knife?

  4            A    I designed it in 2009.         It was commercially

  5       released in 2011.

  6            Q    And why did you design it the way that you did?

  7            A    I designed it primarily for its efficiency as a

  8       personal defense weapon, but it also works very well as

  9       a utility tool.

 10            Q    Can you describe what you mean by utility tool?

 11            A    For everyday cutting chores, regardless of what

 12       those might be, in any type of utilitarian context,

 13       everything from opening boxes, opening mail.            If you

 14       happen to be a tradesperson, the blade is actually very

 15       similar to what you might find on a utility knife that

 16       you would find at Home Depot.         So it serves basically

 17       the same roles that you might have for a knife of that

 18       type.

 19            Q    Can you describe what makes this knife a good

 20       knife for self-defense?

 21            A    The Wharncliffe blade profile that I mentioned

 22       earlier; so it's a specific style of blade.            Its history

 23       goes back to -- there was actually a member of British

 24       aristocracy who designed it back in the early part of

 25       the 19th century.

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  1                  But that blade profile, because of its straight

  2       cutting edge, it cuts with full power all the way to the

  3       point; so therefore it has -- it offers, from a

  4       mechanical standpoint, great cutting efficiency.

  5            Q     Your expert report in this case focuses on

  6       rebutting the opinions of Robert Escobar; is that

  7       correct?

  8            A     Yes.

  9            Q     In this case, do you consider it your role to

 10       rebut any of the opinions of Robert Spitzer or Brennan

 11       Rivas?

 12            A     No.

 13            Q     Were you asked to review or opine on either

 14       Spitzer or Rivas's declarations?

 15            A     No.

 16            Q     So you do not intend to offer any testimony or

 17       opinions related to Spitzer or Rivas's testimony or

 18       their opinions in this case; correct?

 19            A     That's correct.

 20            Q     In your report, you state Escobar is a skilled

 21       historian and researcher, particularly in regard to his

 22       research on impact weapons.

 23                  Would you agree with that characterization?

 24            A     That's correct.

 25            Q     Do you consider yourself to be a historian?

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  1            A     Yes, I do.

  2            Q     Do you consider yourself to be an expert in any

  3       field of history?

  4            A     Yes, with regard to the history of weapons,

  5       edged weapons, things of that nature, I am quite

  6       knowledgeable.

  7            Q     And your knowledge of the history of weapons,

  8       is that something you have built on your own, or did you

  9       take any formal classes?

 10            A     It's been primarily through my own research and

 11       reading.

 12            Q     And what kind of resources did you consult in

 13       developing your knowledge of this history?

 14            A     I have an extensive library of books on the

 15       history of all different types of weapons.             I also have

 16       had the privilege over time with working with some

 17       people who are extremely knowledgeable in those fields

 18       and learning directly from them.

 19            Q     So you would say your knowledge of the history

 20       of weapons is primarily from other individuals and books

 21       that you have read?

 22            A     That's correct.

 23            Q     Have you ever been paid to research historical

 24       documents?

 25            A     No, I haven't.

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  1            Q    Have you ever been paid to research histories

  2       of historical weaponry?

  3            A    I have written articles for Nash magazines

  4       where I have been paid for the publication of the

  5       article, and those have included information that was

  6       the product of research, but I haven't been paid as a

  7       researcher per se.

  8            Q    Do you recall on what kinds of weapons those

  9       articles were about?

 10            A    Various types of weapons, primarily.           So

 11       balisong knives, again various -- various types of

 12       knives.

 13            Q    Any of them switchblades?

 14            A    Yes.

 15            Q    Have you ever been involved with recording or

 16       preserving the history of historical weaponry?

 17            A    Yes.

 18            Q    Can you explain the Counter-Blade Concepts, CBC

 19       system of self-defense you designed?

 20            A    The CBC is a system of unarmed defenses against

 21       edged weapon and other contact distance attacks.              The

 22       CBC is a system of self-defense.            It's an unarmed system

 23       defending against edged weapon attacks and other contact

 24       distance weapon attacks.          So impact weapons, other

 25       things that require an attacker to make physical contact

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  1       with you versus a projectile weapon or something that

  2       would be applied from a distance.

  3            Q    Is my understanding correct that it focuses on

  4       unarmed defense tactics against someone coming at you

  5       with an edged or impact weapon?

  6            A    That's correct.

  7            Q    What inspired you to create the self-defense

  8       method?

  9            A    From the time that I started learning the

 10       martial arts early on, the idea of facing somebody who

 11       might be armed with a knife was one of the things that

 12       was most concerning to me.        So a large portion of my

 13       martial arts study was focused on being able to be

 14       prepared for that particular threat.            And it's something

 15       that has been a lifelong pursuit of mine.

 16                 After the attacks on September 11th, the fact

 17       that edged weapons were used in the hijacking of the

 18       planes that were used, I applied even more focus in my

 19       training to develop the Counter-Blade Concepts system.

 20            Q    And why were you primarily concerned with the

 21       threat of edged weapons in particular?

 22            A    It was just something that I felt was very

 23       scary to me, something that I wanted to be prepared for.

 24            Q    Were you personally threatened with an edged

 25       weapon before the creation of CBC?

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  1            A     No, I was not.

  2            Q     In developing CBC, you analyzed hundreds of

  3       criminal assaults with knives and other edged weapons;

  4       is that correct?

  5            A     That is correct.

  6            Q     In your career, I assume you've also trained

  7       many people who have had to defend themselves from

  8       knives and other edged weapons; is that correct?

  9            A     Yes.

 10            Q     About how many people would you estimate you

 11       have trained?

 12            A     Hundreds.       I don't have an exact number.

 13            Q     Despite training hundreds of individuals, is it

 14       correct that you have not been able to identify a single

 15       incident in which a switchblade was used to threaten or

 16       physically attack another person?

 17            A     Based on the research that I have done, that's

 18       correct.

 19            Q     And that is based on your research and your

 20       experience with training other individuals; correct?

 21            A     Yes.

 22            Q     Do you know of an instance when a switchblade

 23       was used for self-defense specifically?

 24            A     No, I don't.

 25            Q     In your expert opinion, do you believe it's

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  1       important for a person to be trained in how to use a

  2       knife for self-defense before attempting to use a knife

  3       in a real-life self-defense situation?

  4            A    Yes.

  5            Q    What type of training do you believe is

  6       necessary?

  7            A    I believe responsible training for the use of

  8       any weapon, anyone who is going to carry a weapon in

  9       self-defense, should have proper training to be able to

 10       use that weapon effectively and safely.

 11            Q    And what kind of training do you believe is

 12       necessary?    Classroom training, drills, sparring?

 13            A    It needs to be hands-on training that is

 14       relevant to the application of that weapon in

 15       self-defense.

 16            Q    In paragraphs 31 and 32 of your rebuttal expert

 17       report, you reference Mr. Escobar's statement that,

 18       quote, bringing a folding knife into play under the

 19       stress of a self-defense situation is difficult, end

 20       quote; and that, quote, bringing a knife to bear in a

 21       high-stress self-defense situation is difficult, end

 22       quote.

 23                 Do you agree with both of these statements?

 24       Yes or no.

 25            A    Yes.

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  1            Q    Do you believe that wielding a knife can be

  2       dangerous?

  3            A    To who?

  4            Q    In general.       Is the action of wielding a knife,

  5       can that be dangerous?

  6                 MR. DILLON:       Objection.      Vague and ambiguous.

  7                 THE WITNESS:        You would have to clarify what

  8       you mean by dangerous in that circumstance.               If you're

  9       using a knife for self-defense, the capability to use

 10       the knife to stop the attacker is the entire point.                So

 11       from the attacker's point of view, then certainly there

 12       would be danger involved.          But dangerous in this

 13       context, I'm not sure exactly what you mean.

 14       BY MS. UYEHARA:

 15            Q    From a defender's point of view, wielding a

 16       knife, can that be dangerous?

 17            A    Yes.

 18            Q    Can you explain why the quadricep is an

 19       important target for knife defense?

 20            A    The quadriceps muscle is responsible for the

 21       mechanical function of extending the knee.               If that

 22       muscle is severed, then the person loses the capability

 23       to support weight on that leg, and it results in what I

 24       call a mobility kill.         Essentially you take the person's

 25       mobility away.      And when using a knife in self-defense,

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  1       again the context is primarily that you're defending

  2       against a contact distant threat.           By taking the

  3       person's mobility, you can create distance and create

  4       safety and therefore stop the threat decisively and keep

  5       yourself safe.

  6            Q    Can you explain why the brachial nerve is

  7       another important target for knife defense?

  8            A    The median and ulnar nerves I believe are what

  9       you are referring to.       The brachial nerve would be

 10       different.    So the median and ulnar nerves are the

 11       nerves that are primarily responsible for the control of

 12       the motor functions of the arm.          By being able to sever

 13       those nerves, what you do is you take away the arm's

 14       capability to wield the weapon effectively, again

 15       creating stopping power in a self-defense context.

 16            Q    Would you say that when using a knife for

 17       self-defense, the target is the underlying muscles and

 18       nerves of the attacker?

 19            A    It's one of the primary targets, yes.

 20            Q    What else would you consider to be a primary

 21       target?

 22            A    In the Martial Blade Concepts system that I

 23       teach, I have three levels of targeting.               The first

 24       would be the mechanical aspects of the body, which would

 25       be muscles and connecting tendons.           The second would be

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  1       the nerves that would allow again the person to wield a

  2       weapon effectively, and then the third, which is an

  3       ancillary effect, would be blood loss, so major blood

  4       vessels which are typically co-located with the first

  5       two.

  6              Q   And did you list those three in order of most

  7       effective to least effective for self-defense?

  8              A   Yes.

  9              Q   Is it your opinion that knives are used for

 10       self-defense?

 11              A   Yes.

 12              Q   Is it your opinion that when knives are used in

 13       self-defense they're typically not used well?

 14              A   My opinion is that with proper training knives

 15       can be used well.        As far as a characterization that

 16       they're typically not used well, that's inaccurate.

 17              Q   So you would deny ever making a statement to

 18       that effect?

 19              A   Can you quote the specific statement that

 20       you're referring to, please.

 21              Q   "When knives are used in self-defense, they

 22       typically are not used well."

 23                  MR. DILLON:       Objection.      Lacks foundation.

 24       Vague and ambiguous.

 25                  THE WITNESS:        I'm not quite sure what context

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  1       that I made that statement.

  2       BY MS. UYEHARA:

  3            Q      I'll introduce now Exhibit C.             And I'll pull

  4       that up on the screen.

  5                    (Deposition Exhibit C was marked

  6                for identification by the court reporter.)

  7       BY MS. UYEHARA:

  8            Q      Can you see this document on the screen?

  9            A      Yes.

 10            Q      And have you seen this document before?

 11            A      Yes.

 12            Q      When did you recall last seeing it?

 13            A      Just before this deposition.

 14            Q      And do you recall this interview?

 15            A      Yes, I do.

 16            Q      Now, I am going to search for a specific

 17       portion to show you.

 18                   Here the person interviewing you said:             "What

 19       problems are in play when someone who defended him or

 20       herself using a knife has to explain those actions in

 21       court?"

 22                   You responded:        "The biggest problem in the

 23       application of the knife in this way is that it is very

 24       rare.     The court system more frequently sees people who

 25       use knives feloniously in the commission of a crime, and

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  1       if knives are used in self-defense, they are typically

  2       not used well."

  3                  Do you recall making the statement?

  4            A     Yes, I do.

  5            Q     And do you agree with the statement?

  6            A     In that context, yes.

  7            Q     What is the basis for your statement that the

  8       court system more frequently sees people who use knives

  9       feloniously in the commission of a crime?

 10            A     When knives are typically -- when a situation

 11       results in an incident being examined by the court,

 12       typically it has to do with the felonious use of knives.

 13       The use of knives in self-defense is much less common.

 14            Q     And what evidence did you use to formulate that

 15       opinion?    Did you review court records?

 16            A     That was based primarily on the experience that

 17       I have had in training law enforcement officers.           I have

 18       also been involved in legal consultation for various

 19       incidents involving knives, some of which were claimed

 20       to be incidents of self-defense.

 21            Q     So you did not review any court records to

 22       formulate that opinion?

 23            A     No, I didn't.

 24            Q     And then what is the basis for your statement

 25       that if knives are used in self-defense, they are

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  1       typically not used well?

  2            A    What I mean by that is that it was -- the use

  3       of a knife typically did not reflect proper training.

  4            Q    And what would you describe as proper training?

  5            A    Training that would allow you to use the knife

  6       responsibly and ethically to be able to stop the threat,

  7       consistent with the requirements of self-defense in

  8       modern society.

  9            Q    And then in your 50 years of studying

 10       self-defense and edged weapons, have you ever used a

 11       knife against a person for self-defense?

 12            A    I've never had to injure another person with a

 13       knife in self-defense.

 14            Q    Generally, do you believe criminals do not have

 15       preferences for weapons that are culturally understood

 16       to be inherently frightening?

 17                 MR. DILLON:     Objection.      Vague and ambiguous.

 18       BY MS. UYEHARA:

 19            Q    You may answer the question.

 20            A    In the context I recall that -- that statement

 21       being made by Mr. Escobar.        Specifically that was his

 22       assertion that that was a preference of criminals, and I

 23       disagreed with that.

 24            Q    So you do not believe that criminals have

 25       preferences for weapons that are culturally understood

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  1       to be inherently frightening?

  2                 MR. DILLON:     Objection.      Misstates testimony.

  3                 THE WITNESS:      I mean --

  4       BY MS. UYEHARA:

  5            Q    You would not say that criminals have

  6       preferences for weapons that are inherently frightening?

  7            A    In the context of Mr. Escobar's statement, his

  8       emphasis was that criminals would specifically choose

  9       weapons that they would use in more of an intimidating

 10       way or a frightening way.        Based on my analysis of the

 11       use of knives in self-defense, they are used as weapons.

 12       They are not used primarily as methods of intimidation.

 13            Q    And do you think the intimidation factor of a

 14       weapon is not a primary reason why a person chooses a

 15       particular weapon?

 16            A    In the analysis that I have done of various

 17       knife attacks, the intimidation aspect of it was not a

 18       prevalent factor.     The intent of the criminal was

 19       primarily to cause injury.        It was not used to provide

 20       or to create intimidation.

 21            Q    And so you don't think that criminals would

 22       choose weapons that are inherently frightening -- that

 23       they would not choose weapons that are inherently

 24       frightening just based on intimidation value?

 25            A    I don't believe that's their primary

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  1       consideration.

  2            Q      Do you believe it is a consideration?

  3            A      In a minority of circumstances, yes.

  4            Q      Do you not consider a switchblade to be

  5       inherently frightening?

  6            A      No, I don't.

  7            Q      And on what evidence do you base that opinion?

  8            A      I base that on familiarity with any object.

  9       Once you realize what a switchblade is, you appreciate

 10       it in the context of its overall historical value and

 11       its history of use, history of legitimate use, that it

 12       has no inherently intimidating aspects.

 13            Q      Do you believe that individuals who aren't as

 14       familiar with switchblades and knives would consider

 15       them to be inherently frightening?

 16            A      It's possible.

 17            Q      And on what evidence do you base that opinion?

 18            A      I believe it's possible for anyone who is

 19       unfamiliar with something to be intimidated or

 20       frightened by it, regardless of the nature of what it

 21       might be.

 22            Q      And you would say most people are not familiar

 23       with the switchblade?

 24                   MR. DILLON:    Objection.      Speculation.

 25                   THE WITNESS:     I would say that most people have

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  1       some understanding of what a switchblade is, primarily

  2       from the media; but as far as personal familiarity, that

  3       would vary.

  4       BY MS. UYEHARA:

  5            Q     Can you describe what you mean by media?

  6            A     Primarily movies and the depiction of

  7       switchblades in movies.

  8            Q     And how would you characterize those

  9       depictions?

 10            A     Dramatized.

 11            Q     Do you consider a switchblade to be more

 12       inherently frightening than an ordinary pocket knife?

 13            A     No, I don't.

 14            Q     And what evidence do you base that opinion?

 15            A     My knowledge of knives and their -- their use

 16       in all different contexts.

 17            Q     In paragraph 14 of your rebuttal expert report,

 18       you stated, your research indicated that "the most

 19       commonly used type of knife in criminal assaults is some

 20       form of kitchen knife."

 21                  Do you recall making that statement?

 22            A     Yes.

 23            Q     Can you explain your research procedures and

 24       methods?

 25            A     As you mentioned earlier, I had analyzed

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  1       hundreds of knife attacks as part of analyzing those

  2       attacks and the development of the Counter-Blade

  3       Concepts system, in addition to looking at the type of

  4       attack and the mechanics of the attack.                I was also

  5       looking at the type of weapons used, and the vast

  6       majority of the videos that I analyzed, a kitchen knife,

  7       some type of kitchen knife was the most prevalent

  8       weapon.

  9            Q    And from where did you primarily view these

 10       videos?

 11            A    From a variety of online sources, YouTube,

 12       LiveLeak, also through law enforcement sources, like the

 13       Law Enforcement Training Network and other surveillance

 14       videos that were provided to me by security personnel.

 15            Q    Did you review any documents or conduct any

 16       studies to come to your conclusion?

 17            A    I did not personally provide any formal, formal

 18       analysis of that.     There are other people who have, and

 19       the analysis is generally consistent with my findings as

 20       well.

 21            Q    The law enforcement officers you trained with

 22       also, quote, "explained that because kitchen knives are

 23       inexpensive and readily available, criminals prefer them

 24       because they can be easily disposed of if the criminals

 25       fear they will be searched."

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  1                 Do you recall making that statement?

  2            A    Yes.

  3            Q    And how many law enforcement officers did you

  4       interview to reach that conclusion?

  5            A    I have trained scores of law enforcement

  6       officers over my career, and based on the feedback that

  7       they have given me.        I also currently have two law

  8       enforcement officers who are certified instructors under

  9       me who work for one of the nearby jurisdictions, and I'm

 10       in regular contact with them as far as crime trends in

 11       our area, and it's one of the things that they have

 12       shared with me repeatedly over time.

 13            Q    And what are the names of the two officers you

 14       routinely work with?

 15            A    Jessie Pollock is one, and then John.                I'm

 16       trying to remember John's last name.              I'm sorry.     I

 17       don't recall at the moment.

 18            Q    Do you know which departments they work for?

 19            A    Longmont, Colorado.

 20            Q    And they currently work for each of those

 21       departments?

 22            A    Yes.

 23            Q    For that department?

 24            A    Yes.

 25            Q    Of the factors that you listed, being that

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  1       kitchen knives are, one, inexpensive; two, widely

  2       available; and, three, they are easily disposed of in

  3       fear of a search, which of those three reasons do you

  4       believe is the most prominent reason they are used in

  5       crime?

  6            A    They are readily available.

  7            Q    So you would agree that the prevalence of

  8       kitchen knives in crime is highly related to their

  9       accessibility and usage in the average American kitchen?

 10            A    Yes.

 11                 MR. DILLON:       Objection.      Argumentative.

 12       BY MS. UYEHARA:

 13            Q    In paragraph 19 of your rebuttal expert report,

 14       you stated that when you, quote, "first began collecting

 15       knives about 50 years ago, switchblades were more

 16       difficult to find.        Now they are readily available in

 17       most areas of the United States as they were before the

 18       passage of the Federal Switchblade Act."

 19                 Do you recall making this statement?

 20            A    Yes.

 21            Q    And on what evidence did you base this opinion?

 22            A    The fact that I have been a knife collector for

 23       50 years, and my interest in all different types of

 24       knives.   When you look at the availability, you can find

 25       some knives that are readily available and others that

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  1       were not.

  2            Q      Do you have an expert opinion as to how many

  3       Americans currently own the type of switchblade that's

  4       currently prohibited under California law?

  5            A      I don't know.

  6            Q      If you had to estimate, how many Americans rely

  7       on a switchblade with a blade longer than 2 inches for

  8       self-defense?

  9                   MR. DILLON:       Objection.        Speculation.

 10                   THE WITNESS:        I don't know.

 11                   MS. UYEHARA:        All right.       We will take a short

 12       break now, a ten-minute break, and we'll come back at

 13       2:10.    Does that sound good?

 14                   THE WITNESS:        Okay.    Yes.

 15                   MS. UYEHARA:        Thank you.

 16                   (Recess.)

 17       BY MS. UYEHARA:

 18            Q      Mr. Janich, I am going to circle back to a few

 19       of the questions we asked at the beginning just to

 20       reverify your answers and ask a few follow-up questions.

 21            A      Okay.

 22            Q      You stated that you heard about this case from

 23       Mr. Ritter, who I assume is a leader in Knife Rights; is

 24       that correct?

 25            A      Yes.

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  1            Q    And how do you know each other?

  2            A    I met Doug for the first time a number of years

  3       ago at The Blade Show in Atlanta; so I'm familiar with

  4       his work with Knife Rights.          We see each other primarily

  5       at trade shows.

  6            Q    Can you describe Knife Rights as an

  7       organization?

  8            A    It's an organization that specializes in

  9       efforts to fight for rights with regard to the carry and

 10       use and possession of knives, essentially analogous to

 11       what you might find for like the NRA or similar firearms

 12       organizations, essentially preserving the right to carry

 13       and own knives for all citizens.

 14            Q    And are you aware of the primary ways they

 15       fight for those rights?

 16            A    I know that they're very active as far as their

 17       legal actions, challenging various laws that they feel

 18       are unfair and might limit people's rights to carry and

 19       possess knives.

 20            Q    Are you aware of any work they have done with

 21       state legislatures to overturn or challenge laws that

 22       restrict knives?

 23            A    In general terms, yes.          I know they have been

 24       somewhat successful in their efforts.

 25            Q    And are you a member of Knife Rights?

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  1            A    No, I'm not.

  2            Q    And then what did Mr. Ritter share about the

  3       case?

  4            A    He simply stated that Mr. Escobar had provided

  5       his legal report, his expert report as far as the

  6       viability of switchblades for personal defense, and he

  7       asked if I would be willing to review the report and

  8       consider providing a rebuttal to it.

  9            Q    And so at that point is when you first reviewed

 10       the report?

 11            A    Yes.     I spoke with Mr. Dillon, and once we

 12       agreed that I would be -- I would be willing to

 13       participate as an expert witness, at that point I was

 14       provided with the full report.

 15            Q    And that was also sometime in December?

 16            A    Either December or early January.                 I don't

 17       recall.

 18            Q    And you stated earlier that your employer

 19       Spyderco was supportive of your efforts to join this

 20       litigation; is that correct?

 21            A    Yes.

 22            Q    And how did you know that?

 23            A    I spoke with my boss directly.                 I explained to

 24       her what -- in general terms what this entailed; that it

 25       was essentially Knife Rights addressing the California

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  1       knife law, and that Doug Ritter had asked me to be an

  2       expert witness, and I asked her permission to be able to

  3       move forward with it, and she gave me her permission.

  4            Q    Was she also familiar with Knife Rights' work

  5       and with Doug Ritter?

  6            A    Yes.

  7            Q    And are you getting paid by Spyderco for your

  8       work on this case?

  9            A    I'm drawing my regular salary.                 I'm not getting

 10       any special compensation for my work on this case.

 11            Q    But you are not required to take any paid time

 12       off today for this deposition?

 13            A    I am a salaried employee, so I was allowed to

 14       use this time.

 15            Q    So your employer allowed you to use this time

 16       today for this deposition, and you are getting paid your

 17       regular salary rate?

 18            A    Yes.

 19                 MR. DILLON:       Objection.      Argumentative.

 20       BY MS. UYEHARA:

 21            Q    If California law were to fall, are there

 22       knives that your employer would sell in the state of

 23       California?

 24            A    Yes.

 25            Q    And you can say affirmatively that they would

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  1       sell different knives in California if the law were to

  2       fall?

  3            A    Spyderco currently only produces a very small

  4       number of automatic knives; so of the 300 plus knives

  5       that we have, I believe there are five SKUs that could

  6       be sold in California; so it wouldn't be any substantial

  7       change to our current business practice.

  8            Q    Are those five knives all automatic?

  9            A    Yes.     They're various -- they are actually two

 10       different models, five variations, or actually six

 11       variations of two models.

 12            Q    Could you list the two models and the different

 13       variations?

 14            A    The Autonomy is the first one.                 It was a knife

 15       we developed for the Coast Guard.             It's a rescue knife,

 16       and there is an original version with an orange handle

 17       and no safety.      It was designed for carrying in a pouch

 18       by Coast Guard rescue swimmers.

 19                 There is another Coast Guard version that has

 20       an orange handle and a safety.            And then there's an all

 21       black version.      And then there is an Autonomy 2, which

 22       is a variation of the original design, and that is

 23       available in several different edged configurations, but

 24       the same basic model.

 25            Q    And what is the blade length on both of those

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  1       models?

  2            A      Three and a half inches.

  3            Q      Can you estimate how many more knives your

  4       company would sell if the California law fell?

  5                   MR. DILLON:       Objection.      Speculation.

  6                   THE WITNESS:        I don't know.

  7       BY MS. UYEHARA:

  8            Q      Your employer sells knives all around the

  9       country and internationally; is that correct?

 10            A      Yes.

 11            Q      Do you have estimates of how much revenue your

 12       company brings in for its knife sales?

 13            A      I am aware of that information, but --

 14                   MR. DILLON:       Objection.      Privileged

 15       information.

 16                   THE WITNESS:        By company policy we are not

 17       allowed to discuss that.

 18       BY MS. UYEHARA:

 19            Q      You spoke earlier about certain knives that you

 20       designed.     Can you list the knives that you have

 21       designed that have been sold?

 22            A      The entire list of everything historically or

 23       what?

 24                   MR. DILLON:       Objection.      Vague and ambiguous.

 25       BY MS. UYEHARA:

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  1            Q    How many knives did you design?

  2            A    Approximately a dozen.

  3            Q    And how many of them are on the market today?

  4            A    Currently, let's see, seven.

  5            Q    And other than the knives you've designed, how

  6       many of them are automatic or would fall under the

  7       definition of switchblade?

  8            A    None of them.

  9            Q    Are they fixed-blade knives?

 10            A    They are -- three them are fixed blades.

 11            Q    And how would you classify the other nine?

 12            A    The other are either manual opening -- manual

 13       opening folders for the most part, and then there's the

 14       one that cannot be imported, and it is a one of a kind

 15       mechanism; so it's -- it's not easily classified.

 16            Q    And you stated your preferred knife is the

 17       Yojimbo 2; correct?

 18            A    Yojimbo 2, yes.

 19            Q    Yojimbo 2.     And is that knife legal to carry

 20       and own in California?

 21                 MR. DILLON:     Objection.      Legal conclusion.

 22                 THE WITNESS:      You would have to look at the

 23       specific -- California, to my knowledge, does not have

 24       preemption where the state law would take priority.            So

 25       there can be various municipalities that have more

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  1       stricter laws than the state law.            So its legality would

  2       depend upon the specific area of California that you are

  3       talking about.

  4       BY MS. UYEHARA:

  5            Q      Are you aware of certain parts of the state

  6       where you could carry the knife?

  7            A      I believe in most areas of the state it would

  8       be legal.     Certain areas, like Los Angeles, if I recall

  9       correctly, have a three-inch blade length limit; so it

 10       would be primarily a matter of blade length and the

 11       legality of making sure you were legally compliant with

 12       any municipal laws.

 13            Q      What would happen if someone tried to use a

 14       switchblade for self-defense without the proper

 15       training?

 16                   MR. DILLON:    Objection.      Incomplete

 17       hypothetical.     Lacks foundation.        Speculation.

 18       BY MS. UYEHARA:

 19            Q      What if I bought a switchblade and was out on

 20       the street with it today and attempted to use it for

 21       self-defense?     What would you consider could be some of

 22       the worst that could happen?

 23            A      It's a very broad question.          One of the

 24       things -- the situations that I have been involved in

 25       where I have had to draw a knife and be prepared to

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  1       defend myself, the mere presentation of the knife was

  2       enough to cause the potential threat to back down.             So

  3       the simple ability to operate a switchblade and be able

  4       to deploy it effectively could diffuse the situation

  5       entirely.     So that's one element or one possibility.

  6                   From there, when you look at the physical

  7       elements of it, it would depend upon the nature of the

  8       attack, the skill of each person, the size of each

  9       person.     There are many different variables; so there's

 10       no way for me to address that authoritatively.

 11            Q      Is there any concern that a person who's using

 12       a switchblade for the first time may struggle to pull

 13       out the blade or activate the knife?

 14                   MR. DILLON:    Objection.      Speculation.

 15                   THE WITNESS:     As I stated before, anyone who is

 16       going to carry any type of an implement for self-defense

 17       needs to be familiar with it and have proper training to

 18       be able to trust that under stress.

 19       BY MS. UYEHARA:

 20            Q      And you stated before that there's a concern

 21       that a knife or a switchblade could be used against the

 22       person trying to use it for self-defense?

 23                   MR. DILLON:    Objection.      Misstates his

 24       testimony.

 25                   THE WITNESS:     I don't believe I stated that.

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  1       BY MS. UYEHARA:

  2            Q    Did you state earlier that with any weapon

  3       there is a concern that it could be used against the

  4       person who is wielding it?

  5            A    I believe that's Mr. Escobar's statement.           It's

  6       not my own.

  7            Q    And so you don't agree that a weapon can be

  8       used against its user?

  9            A    With proper training, you retain the weapon.

 10       You retain control over the weapon, and you use it

 11       effectively.      That's a common cliché or a common

 12       misconception that you'll hear by critics of

 13       self-defense, but I don't agree with that.

 14            Q    All right.       In paragraph 22 of your report, you

 15       stated that the only thing that differentiated

 16       switchblades from ordinary pocket knives was the

 17       convenience and ease with which they could be opened.

 18                 Do you recall making that statement?

 19            A    Yes.

 20            Q    And what is the basis for your opinion?

 21            A    I believe it's a simple matter of fact that the

 22       convenience with which -- any time you have any type of

 23       an automatic function versus a manual function, that

 24       becomes a matter of convenience and ease of use.

 25            Q    And in paragraph 30 of your report, you stated

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  1       that, quote, All automatic opening knives are merely a

  2       type of folding pocket knife, end quote.

  3                  Would you consider out the front knives to be

  4       folding pocket knives?

  5            A     There would be a special category.             In general

  6       terms, you would have side folding knives or folding

  7       pocket knives.       You would also have out the fronts as a

  8       special category.

  9            Q     And would you consider switchblades to fall in

 10       both the folding pocket knife category and the out the

 11       front knives category?

 12            A     Yes.

 13            Q     Which category is more common for switchblades,

 14       out the front knives or folding?

 15            A     Historically, if you look at the number of

 16       switchblades that have been produced throughout history,

 17       the side folding -- the folding variety are more common

 18       than the out the front.

 19            Q     And you stated that switchblades can be quite

 20       long in length; correct?           I'll rephrase that question.

 21                  What is the longest switchblade you own?

 22            A     The longest would be 13 inches overall.

 23            Q     And 13 inches would not fit in your pocket;

 24       correct?

 25            A     No.     That knife is a collector's item.          It

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  1       certainly is a functional knife, but it wouldn't be

  2       suitable for daily carry, and certainly it would not be

  3       legal to carry in many jurisdictions even if automatic

  4       knives were allowed, because blade length considerations

  5       would still prevail.

  6            Q     What is the longest knife you would carry in

  7       your pocket?

  8            A     Again, it would depend upon the jurisdiction in

  9       which I was located.

 10            Q     In your collection, assuming that the knife is

 11       legal, what is the length of the blade or knife that

 12       would fit best in your pocket?

 13            A     As far as personal preference, something like

 14       the Jumbo that I designed, which has a four-inch blade,

 15       would be the largest that I would prefer to comfortably

 16       carry.    It's a matter of personal preference.

 17            Q     Would a knife, say, of six inches fit in your

 18       pocket?

 19            A     It could, yes.

 20            Q     Would a knife of eight inches?

 21            A     When you talk about closed length, I would say

 22       that the -- for most males, the maximum would probably

 23       be around perhaps seven inches closed, just based on the

 24       depth of our pockets.

 25            Q     And for females?

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  1            A      For females, again, it would depend upon

  2       clothing.     Typically, female's pockets tend to be much

  3       shallower; so they would -- if they were to carry in a

  4       pocket, they would be much more limited based on the

  5       depth of the pocket itself.

  6            Q      So in paragraph 25 of your report, you stated

  7       that, quote, "American knife users clearly prefer the

  8       convenience of knives that can be opened with only one

  9       hand."

 10                   In that quote, "In most five designs, this is

 11       done manually by using thumb pressure to a purchase on

 12       the blade to it rotate into the open position."

 13                   On what evidence do you base your opinion that

 14       American knife users, quote, clearly prefer, end quote,

 15       knives that can be opened with one hand?

 16            A      Knowledge of the knife market and having worked

 17       professionally in the knife market for about 20 years,

 18       just seeing what people prefer as far as purchasing,

 19       which products are most successful, and then also

 20       familiarity with the consumers -- knife consumers and

 21       what they prefer to carry.

 22            Q      And so you haven't conducted any studies or

 23       surveys or polls or anything of that nature?

 24            A      Not a formal study, but it's based on extensive

 25       experience.

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  1            Q    Is it your opinion that there are more

  2       Americans who own, quote, knives that can be opened with

  3       one hand, end quote, than Americans that own fixed-blade

  4       knives?

  5            A    When you say "own," that's one thing.           When you

  6       talk about carry on a daily basis as a utility tool,

  7       it's very different.        So ownership and daily carry are

  8       two separate categories.

  9            Q    Let's start with daily carry, then.

 10                 Do you believe there are more Americans who

 11       carry knives that can be opened with one hand than

 12       fixed-blade knives?

 13            A    Yes.

 14            Q    When it comes to ownership, do you believe that

 15       more Americans carry knives that can be opened with one

 16       hand versus fixed-blade knives?

 17            A    When it comes to ownership, you would have to

 18       include things like kitchen cutlery and things of that

 19       nature; so the numbers become somewhat skewed.            You'd

 20       have to be more specific as far as the category of knife

 21       and the purpose of its use.

 22            Q    Let's pull average kitchen knives out of our

 23       equation here and just consider knives that people would

 24       purchase for self-defense.

 25            A    As far as knives for self-defense, I would say

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  1       that folding knives would be much more prevalent.

  2            Q      Is there any reason that a fixed-blade knife

  3       might be more beneficial for self-defense than a folding

  4       knife?

  5            A      Fixed blades are easier to bring into action

  6       because they don't have the mechanical function of

  7       folding.     However, fixed blades in many cases are

  8       restricted as far as legal carry, so in many

  9       jurisdictions are not an option.

 10            Q      You stated that fixed-blade knives would be

 11       easier to draw.      Is there a concern about drawing a

 12       folded knife and the potential for injury?

 13            A      There's a concern with any knife, drawing any

 14       knife quickly and under stress and a potential for

 15       injury.

 16            Q      So you'd state that -- you stated that one of

 17       the benefits of fixed-blade knives is that they can be

 18       drawn.     You are talking specifically about speed?

 19            A      Speed and also reliability, the simplicity of

 20       the --

 21            Q      Go ahead.

 22            A      The simplicity of the action.          The fact that

 23       once you grasp the handle of the knife, if the sheath is

 24       properly designed, then the action of drawing it is

 25       relatively simple.

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  1            Q     Is there a concern with folding knives that

  2       they might not deploy accurately or efficiently?

  3            A     It's a mechanical object.            Therefore, it

  4       requires a secondary action of pivoting the blade into

  5       the open position; so it's simply a more complicated

  6       process.

  7            Q     In your experience, have you seen individuals

  8       struggle to deploy a folding knife?

  9            A     Yes.

 10            Q     Were those instances in your self-defense

 11       classes?

 12            A     As part of the training in Martial Blade

 13       Concepts we focus very heavily on the ability to draw

 14       the knife under stress, and for beginning students it's

 15       challenging.       With practice they can develop that skill

 16       readily.

 17            Q     How long would you say it takes an average

 18       person to develop the skill to draw a folding knife

 19       effectively?

 20            A     The time that it takes really is -- it's more

 21       of a matter of a person's diligence in training properly

 22       and also the methodology they use, but in most cases --

 23       I teach many two-day seminars, and typically within a

 24       matter of a few hours most people can get to the point

 25       to where they are efficient and reliable in their

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  1       ability to draw a knife.

  2              Q    And why do you think individuals struggle with

  3       drawing folding knives?        Drawing them open, I should

  4       say.

  5              A    It's like any new skill, it takes practice to

  6       be able to master, especially as we introduce the type

  7       of stress that you might experience if you were actually

  8       attacked.

  9              Q    Do you believe that individuals are concerned

 10       about cutting themselves when drawing open the knife?

 11              A    I think anyone handling a knife is concerned

 12       with the potential of cutting themselves.

 13              Q    Do you believe that concern is greater, though,

 14       with a folding knife than opposed to like a fixed-blade

 15       knife, the concern that in drawing the knife you might

 16       cut yourself?

 17              A    I think the opening methodology, when people

 18       are unfamiliar with it, they might at first have a

 19       concern, but again with proper training they overcome

 20       that readily.

 21              Q    Does your CBC method recommend automatic or

 22       thumb pressure knives?

 23              A    CBC is Counter Blade Concepts; so that's the

 24       unarmed skills.      Martial Blade Concepts is the system of

 25       using an edged weapon in self-defense.

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  1            Q    Apologies.       MBC.

  2            A    Yes, so MBC.        The reason I typically do not

  3       recommend automatic knives, but the reason is that in

  4       very few instances are automatic knives available with

  5       matching training blades.          So a training knife is

  6       necessary for proper training, and very few companies

  7       have ever produced automatic knives as trainers.

  8            Q    Can you describe what a training knife is and

  9       what purpose it serves?

 10            A    A training knife is essentially a knife that is

 11       mechanically identical to the live blade version, the

 12       sharpened version; but the blade is completely blunted,

 13       so there is no sharp edge or no sharp point so you can

 14       make safe contact with a training partner.

 15            Q    And are those training knives usually the same

 16       weight or handle as the original knife?

 17            A    When properly produced, yes.

 18            Q    And you stated that most automatic knives do

 19       not have training versions?

 20            A    Correct.

 21            Q    Are training knives usually made by the same

 22       manufacturer of the original knife?

 23            A    Yes.

 24            Q    And why do many automatic knives -- if you had

 25       to guess, why do they not have training equivalents?

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  1            A     Training knives typically, from a commercial

  2       perspective, are not as commercially popular.           They

  3       don't sell as well as the live blade versions.              So the

  4       idea of an automatic knife with a trainer, the cost is

  5       usually the same as the live blade, and most people are

  6       not willing to make that investment.

  7            Q     And do most training knives -- what kinds of

  8       knives often have training knife equivalents?

  9            A     Knives that are specifically designed for

 10       self-defense.     So if you have a knife designed -- for

 11       example, the Yojimbo 2 has a matching training knife; so

 12       it's optimized for self-defense.

 13            Q     And so would you admit then most automatic

 14       knives are not designed for self-defense?

 15                  MR. DILLON:     Objection.      Argumentative.     Lacks

 16       foundation.     Speculation.

 17                  THE WITNESS:      If you look at the knife market

 18       overall, what you'll find is that there are many knives

 19       that are designed as -- and marketed as self-defense

 20       weapons that also do not have trainers; but a commitment

 21       to make a trainer is typically a choice of the

 22       individual manufacturer, and even then it's a very, very

 23       small part of the market, so it doesn't necessarily

 24       reflect the suitability of knives for self-defense in

 25       general.    It reflects the lack of commitment on the part

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  1       of the manufacturer.

  2       BY MS. UYEHARA:

  3            Q    So you would state that there are varying

  4       levels of commitment by different knife manufacturers to

  5       develop training knives?

  6            A    That's correct.

  7            Q    And you recommend for your students in MBC that

  8       they practice with a knife that has a training knife

  9       equivalent?

 10            A    Yes.

 11            Q    In your MBC classes, is there interest among

 12       participants in automatic knives?

 13            A    Yes.

 14            Q    And do you usually recommend to them that there

 15       aren't training knife equivalents, and that's something

 16       they should be aware of?

 17            A    When people ask me about knife selection, the

 18       easiest method for them to be able to choose a knife

 19       that has a matching trainer is to start with the knives

 20       that already have matching trainers and then narrow the

 21       market from there.        So the methodology to allow them to

 22       become involved in the training readily, you start with

 23       what is most successful, what is also already

 24       accessible.

 25            Q    Could you name the top three knives that you

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  1       guys recommend in MBC for self-defense purposes?

  2            A    The three that have trainers that are produced

  3       by Spyderco, those are typically my recommendations; so

  4       the Yojimbo 2, the Endura Lightweight, and then also the

  5       Delica Lightweight.       All three of those have matching

  6       trainers, and because they have various handle sizes and

  7       different price points, they are typically my best

  8       recommendations.

  9            Q    Do automatic knives that Spyderco sells have

 10       training knife equivalents?

 11            A    No, they don't.

 12            Q    Has there been any discussion about developing

 13       those?

 14            A    No.

 15            Q    In your report you state, quote, "I can say

 16       unequivocally that the quality of today's switchblades

 17       knives is extremely high."

 18                 Can you state what you mean -- can you explain

 19       what you mean by that statement?

 20            A    In Mr. Escobar's report, most of his comments

 21       were related to switchblades that were being imported

 22       into the US back in the 1950s, specifically Italian

 23       style switchblades, and when you compare that style of

 24       knife and the type of construction of those knives to

 25       what is currently being produced by manufacturers in the

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  1       US, they're vastly different as far as the quality, the

  2       precision and tolerances of their construction, the

  3       quality of the materials used, the heat treating of the

  4       steel.     Modern switchblades are a far cry from the ones

  5       that were available back before the Federal Switchblade

  6       Law.

  7              Q    Can you explain further what you mean by

  8       quality of the switchblade knives?

  9              A    The quality is manufacture.          So when you look

 10       at the manufacturing methodology, many of the

 11       switchblades that Mr. Escobar was referring to as being

 12       unsuitable, those were typically of the traditional

 13       Italian switchblade variety; so those are typically made

 14       by hand.     They are made with very crude cutlery

 15       methodology, lots of hand work.           When you compare that

 16       to what's being made today, most you see CNC machining,

 17       computer numerical control machining.

 18                   So you're holding very, very tight tolerances

 19       within a thousandth of an inch, using much higher

 20       quality materials, much higher quality engineering.             The

 21       design and execution of the knives themselves is far

 22       superior to anything that was available decades ago.

 23              Q    And I assume modern switchblades is not

 24       something an average American could forge or make in

 25       their own home?

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  1                   MR. DILLON:      Objection.      Speculation.        Lacks

  2       foundation.

  3                   THE WITNESS:       When it comes to making any type

  4       of knife, I believe that's beyond the capabilities of

  5       most average hobbyists.

  6       BY MS. UYEHARA:

  7            Q      Traditionally, many knives were made from iron.

  8       In early America, metalworking was a very common skill,

  9       and that might account for why some switchblades were

 10       made differently back then.            Would you say the modern

 11       switchblade today is made of forged steel?

 12            A      No.    The forging process is very different than

 13       the rolling process for creating steel.                   Most modern

 14       knife blades are not forged.            When you look at the

 15       forging process, what you are doing is typically forging

 16       an individual blade by hammering it to shape, at least a

 17       rough shape before finished grinding.

 18                   Most knives are made by what is called a stock

 19       removal method.        So you start off with a flat sheet of

 20       steel that is usually laser cut -- what's called a stock

 21       removal.     So you're starting with a sheet of steel.

 22       Typically that is laser cut into rough shape, and then

 23       the machining processes create the finished blade, blade

 24       shape.     And then it would be heat treated and tempered

 25       to render a furnished knife blade.

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  1                 That's in contrast to what you would imagine

  2       with a typical blacksmith, taking a piece of steel and

  3       hammering it to shape.

  4            Q    And I believe you said that was a rolling

  5       forging method?

  6            A    So steel is rolled in steel mills to create the

  7       sheet stock.      So again when you go back to a traditional

  8       blacksmith, they might be working with -- starting with

  9       steel of various shapes and sizes versus the idea of

 10       something that is a flat sheet that is produced by a

 11       steel mill.

 12            Q    At paragraph 51 of your report you state your

 13       opinion, quote, that "a 2.5 inch blade is the absolute

 14       minimum for a knife suitable for self-defense."

 15                 Do you recall stating that?

 16            A    Yes.

 17            Q    Now, what evidence do you base that opinion?

 18            A    I base that -- first of all, I created the

 19       Martial Blade Concepts system based on what I consider

 20       to be the legal worst-case scenario as far as legal

 21       knife carry.

 22                 So when you look at municipalities such as

 23       Chicago and Boston, as well as for federal employees

 24       working in US federal buildings, the maximum blade

 25       length that they can legally carry is 2.5 inches.

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  1                   So in creating the tactics of Marshall Blade

  2       Concepts, I specifically used that as the least common

  3       denominator, if you will, or worst-case scenario, to be

  4       able to have a system of tactics that is effective and

  5       reliable when using a knife in self-defense.

  6            Q      In Martial Blade Concepts, do you ever

  7       recommend knives shorter than two and a half inches for

  8       self-defense?

  9            A      No.

 10            Q      The effectiveness of the length of a knife

 11       blade, as you said earlier, is affected by various

 12       factors such as the size of the person wielding it and

 13       the other person, and so there are no instances in which

 14       you would recommend a knife under two and a half inches,

 15       not even for, say, a small person or a small attacker?

 16                   MR. DILLON:      Objection.      Vague and ambiguous.

 17       Compound.

 18                   THE WITNESS:       So the dynamics that we discussed

 19       earlier were the dynamics of a self-defense situation.

 20       So when you look at the disparity of size, you look at

 21       again the type of attack and everything like that, those

 22       are very dynamic.

 23                   When it comes to blade length in particular,

 24       what it comes down to is the ability of a blade of a

 25       particular length to be able to effect specific

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  1       anatomical targets, which we have also discussed

  2       previously; so the ability to stop an attacker by

  3       targeting -- targeting the limbs, being able to cut

  4       muscles and tendons, being able to cut adjacent nerves

  5       to stop them from being a lethal threat.

  6       BY MS. UYEHARA:

  7            Q     And so a knife under two and a half inches

  8       would be effective for cutting some of those nerves and

  9       tendons that we mentioned earlier?

 10            A     Correct.

 11            Q     Can you state other evidence that you have

 12       relied on for the basis of this opinion that a 2.5-inch

 13       blade is the minimum for self-defense?

 14            A     One of the demonstrations I'll do in my MBC

 15       classes is a demonstration called pork man.             Essentially

 16       what it entails is taking a pork tenderloin about five

 17       pounds and butterflying that; so you are slitting it up

 18       the center, wrapping it around a wooden dowel, lashing

 19       it on with butcher's twine and then wrapping it in

 20       plastic wrap.

 21                  So what you create is an analog for a human

 22       limb.    It's about the same size as a human forearm,

 23       human bicep and tricep or the lower portion of the

 24       thigh, the quadriceps muscle.

 25                  And by using that as an analog for those

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  1       targets, we then quantify the destructive capacity of a

  2       knife by doing representative cuts the same way we would

  3       if we were employing MBC tactics, and then quantifying

  4       the destructive capacity of the knife.

  5                 And what we find is when you drop below two and

  6       a half inches, you can't cut deeply enough to affect the

  7       targets that will render an attacker unable to continue

  8       a lethal force threat.

  9            Q    Earlier you stated that one of the ways to use

 10       a knife for self-defense is blood loss.                  You could

 11       initiate blood loss with a knife that's two inches or

 12       under two and a half inches; correct?

 13            A    Yes.

 14            Q    And your opinion is that blood loss itself

 15       would not be enough for self-defense?

 16            A    I've written or coauthored an entire book that

 17       disproves the belief that blood loss is an effective way

 18       of stopping an attacker in self-defense, a book called

 19       Contemporary Knife Targeting.           And that book basically

 20       disproves a long-held belief that blood loss was the

 21       preferred goal when using a knife as a defensive weapon.

 22                 That was actually in the context of World War

 23       II combative tactics for the military, and when applied

 24       to a self-defense context is inappropriate.

 25            Q    So when facing blood loss, an attacker is not

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  1       necessarily likely to back off?

  2            A    What it comes down to is in self-defense you

  3       are trying to stop the attacker; so the ability to stop

  4       someone reliably and decisively is a key.                The longer

  5       somebody is able to continue the attack, the greater the

  6       danger to you.     And blood loss takes time to take

  7       effect.   So a person has to lose basically 30 percent of

  8       their blood volume until they get to the point to where

  9       they go unconscious and are no longer a threat.                That

 10       takes significant time.

 11            Q    And when you say the goal is to stop one --

 12       when you say the goal of self-defense is to stop

 13       someone, you mean physically stopping their limbs or

 14       their nerves or some other part of their body?

 15            A    It's the most reliable method.               They may choose

 16       to stop sooner, but from a reliability standpoint, from

 17       the ability to physically disable somebody and to render

 18       them incapable of continuing to attack you, that's the

 19       way that we express stopping power in MBC.

 20            Q    And would most of those injuries be permanent

 21       physical injuries to that attacker?

 22            A    They could be repaired medically, depending

 23       upon the nature of the injury.

 24            Q    Can you speak a little bit more to the book you

 25       mentioned earlier.      What is the title of that book

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  1       again?

  2            A    Contemporary Knife Targeting.

  3            Q    And could you describe the premise once again.

  4            A    There was a gentleman by the name of Chris

  5       Grouse, who is a friend of mine.          He was a law

  6       enforcement officer in Littleton, Colorado, and he was

  7       an instructor in what's called PPCT.            It's a system of

  8       law enforcement defensive tactics.           And he was a master

  9       instructor in that system.

 10                 They were still in the curriculum of that

 11       system, citing a thing called the Timetable of Death,

 12       which was written by W.E. Fairbairn in his book --

 13       actually two books, All in Fighting, and then a book

 14       called Get Tough, which were World War II-era training

 15       manuals for training British commandos and the British

 16       Home Guard.

 17                 And in the Timetable of Death he identified the

 18       major arteries of the body and supposedly the time that

 19       it would take if one of those arteries were severed for

 20       a person to bleed to unconsciousness and then bleed to

 21       death.   And this was part of again the training for

 22       military British military during World War II.

 23                 That timetable was never medically validated.

 24       So Chris Grouse came to me, and he was a student in my

 25       MBC system as well as being a law enforcement trainer,

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  1       and basically he said that he wanted to look into the

  2       realities of that timetable.         He asked me what my

  3       opinion of it was.

  4                 One of my mentors was Colonel Rex Applegate,

  5       who was the close combat instructor for the OSS during

  6       World War II, the predecessor of the CIA, and he also

  7       worked personally with Fairbairn during World War II.

  8                 And Colonel Applegate basically told me that

  9       the timetable was not medically validated.              It was

 10       simply a way of instilling confidence in soldiers back

 11       in World War II.

 12                 So Chris Grouse set about doing research with

 13       the Denver medical examiner, who enlisted a number of

 14       vascular surgeons to essentially come up with a modern

 15       expression of that timetable.

 16                 And what it showed was that, first of all,

 17       blood loss is heavily influenced by heart rate.              A rapid

 18       heart rate, the more quickly someone bleeds.              But that

 19       even then, the times involved were vastly different than

 20       what Fairbairn stated.       Most of his he stated were in a

 21       matter of seconds.      In fact, it was a much longer time

 22       frame for somebody to bleed to the point to where they

 23       were incapacitated.

 24                 So I helped Chris write a paper for PPCT to

 25       petition them to change their curriculum.              And then that

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  1       paper later became the basis for a manuscript for a

  2       book, and that became Contemporary Knife Targeting.

  3            Q    You stated that some of the students of your

  4       MBC concept class are law enforcement.             Would you state

  5       that most of the people who take your class are law

  6       enforcement officers?

  7            A    No.

  8            Q    Who is the average participant in those types

  9       of classes?

 10            A    The average participant is a civilian who is

 11       interested in self-defense.

 12            Q    And how much do you usually charge for those

 13       types of classes?

 14            A    I leave that up to my -- my hosts.            So I have a

 15       standard fee.     As I stated earlier, my fee is $150 per

 16       hour when I teach.       So essentially that over the span of

 17       whatever the duration of the course would be, plus my

 18       expenses as far as travel, lodging, et cetera.

 19            Q    If you had to estimate, on average, how much do

 20       your clients spend for a training course with MBC?

 21            A    I would say, on average, probably around $250

 22       to $300 for a two-day class.

 23            Q    Are you aware of any other studies, research

 24       papers, academic tests, et cetera, that also conclude

 25       that two-and-one-half-inch blades is the minimum for

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  1       self-defense?

  2            A     Not that I know of.

  3            Q     You say that a two-and-a-half-inch blade is

  4       necessary to make cuts of a sufficient depth to sever

  5       key nerves and muscles in an attacker; correct?

  6            A     Yes.

  7            Q     Would you agree that knives with longer blade

  8       lengths are more deadly or dangerous than knives with

  9       shorter blade lengths?

 10            A     Knives with longer blade lengths can cut more

 11       deeply, because they have a longer cutting edge.                  As far

 12       as their deadliness or inherent danger, it affects their

 13       mechanical capability to cut.            It doesn't necessarily

 14       make them inherently more dangerous.

 15            Q     But you could inflict more damage on a person

 16       with a knife with a longer blade; correct?

 17            A     You could cut more effectively.                You could also

 18       access in some cases other targets.              In the MBC system,

 19       it wouldn't matter.         Our targets remain the same.

 20            Q     What do you mean by your targets remain the

 21       same?

 22            A     The anatomical targets that we cut remain the

 23       same.    When you look at historically different types of

 24       blades and different types of tactics, there are certain

 25       tactics -- for example, the ones that I was referring to

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  1       taught by Fairbairn during World War II, those -- in

  2       order to access some of the targets that he recommended,

  3       you need to have a minimum blade length of a certain

  4       length just to be able to reach that anatomical target.

  5            Q      Are you talking about, like, organs or...

  6            A      It depends again upon the system and the

  7       tactics that are being taught.           In the case of

  8       Fairbairn, for example, one of the things that he

  9       recommended was targeting the aorta.             So the descending

 10       aorta, that would require a knife of significant blade

 11       length.

 12            Q      On the heart; correct?

 13            A      It descends from the heart, yes.

 14            Q      And what length blade was that, do you recall?

 15            A      Typically six inches.

 16            Q      Six inches.    Okay.

 17            A      That would depend upon the stature of the

 18       attacker.

 19                   MS. UYEHARA:     All right.      So that is all of the

 20       questions I have for now.          Could we take a five-minute

 21       break for me to review my notes, and then when we come

 22       back from break, opposing Counsel, you can also ask

 23       questions that you would like at that time.

 24                   MR. DILLON:    Okay.

 25                   MS. UYEHARA:     We'll be back at 3:02.

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  1                 (Recess.)

  2       BY MS. UYEHARA:

  3            Q    Mr. Janich, we are just going to do the same

  4       thing we did before.      We are going to go through a few

  5       other questions and follow-up questions on some of the

  6       things you stated earlier, and then at the end we'll let

  7       Mr. Dillon ask any questions that he'd like.

  8            A    Okay.

  9            Q    Okay.    First of all, can you describe kind of

 10       like the general knife category.          So there's automatic

 11       knives, and what would you say is the other, manual?

 12                 MR. DILLON:     Objection.      Vague.

 13       BY MS. UYEHARA:

 14            Q    I'm sorry.     Mr. Janich, what did you say?

 15            A    I was going to say, when you look at folding

 16       knives, you would have manually open knives, and I would

 17       kind of categorize those in two broad categories.           One

 18       would be one-hand opening knives, and then those that

 19       would require two hands to open, like a traditional

 20       pocket knife or a Swiss Army Knife.

 21                 And then you would have automatic knives and

 22       then specialty knives, any type of unique mechanisms,

 23       say, like a Filipino balisong knife or any other exotic

 24       mechanism that might require some other type of

 25       mechanical operation that is other than a simple folding

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  1       blade.

  2            Q    And would you say all switchblade knives are

  3       automatic?

  4            A    Switchblade and automatic knives, those two

  5       terms are usually used interchangeably.

  6            Q    But would you say all switchblades are

  7       automatic?

  8            A    I use those terms interchangeably.            So

  9       something that would fall -- when you consider a

 10       switchblade, in my opinion, what you would have is

 11       something that would be -- that would operate as a true

 12       switchblade.

 13                 When you look at legal interpretations of

 14       switchblades, there may be other types of knives that

 15       the law chooses to incorporate into that definition, but

 16       it doesn't necessarily change the nature of the knives

 17       themselves.

 18            Q    And so you stated that -- I believe you stated

 19       two top selling knives that Spyderco sells for

 20       self-defense; right?       And there are four or five

 21       different variations of those knives.             Are those knives

 22       automatic?

 23            A    No.

 24            Q    And are they legal in California?

 25            A    Again, legality depends upon location, because

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  1       California does not have preemption, as far as the

  2       overriding state law with regard to blade length.

  3       Different municipalities may have different laws.                So

  4       there's no way to state categorically that they're legal

  5       or illegal.

  6            Q     In the state of California you can have a blade

  7       that's over two and a half inches or longer as long as

  8       it's not an automatic or a switchblade.                Are either of

  9       those Spyderco knives, do they fall into that category?

 10                  MR. DILLON:    Objection.      Compound.

 11                  THE WITNESS:     Could you please clarify that.

 12       BY MS. UYEHARA:

 13            Q     Are both of the Spyderco knives, your

 14       top-selling knives, are they both over two and a half

 15       inches, and they're not automatic; correct?

 16            A     Correct.   One has a blade length of about three

 17       inches.    The other one is about three and

 18       three-quarters.

 19            Q     Okay.   Earlier you said that Americans prefer

 20       carrying automatic knives.        What is the basis for that

 21       opinion?

 22            A     I said that Americans prefer carrying one-hand

 23       opening knives, not specifically automatic knives.

 24       Again, that is based on my experience, having worked in

 25       the knife industry for 20 years, looking at the sales of

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  1       various types of knives, what is most popular, talking

  2       to various knife dealers, talking to consumers.

  3            Q     And so that preference by the average American

  4       is not based on any research papers or specific studies

  5       that were conducted?

  6            A     I don't have the specific statistics that I can

  7       cite.    Again, it's based on over 20 years of experience

  8       working in the industry.

  9            Q     Would you consider that evidence to be

 10       anecdotal then?

 11                  MR. DILLON:     Objection.      Argumentative.

 12                  THE WITNESS:      I would say that 20 years of

 13       experience is a significant way of understanding the

 14       preferences of the knife community and also having

 15       designed and manufactured knives for the 20-year period,

 16       having a good feeling for what consumers want.

 17       BY MS. UYEHARA:

 18            Q     And we're going to go back a little bit to our

 19       discussion of Knife Rights from earlier.                Can you

 20       describe your relationship with that organization?

 21            A     I don't have a relationship with the

 22       organization.     As I said, Doug Ritter, I have known him

 23       as a casual friend over the past few years, meeting him

 24       at various trade shows.        And we have a cordial

 25       friendship.

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  1                 When he asked me to help in this, this is the

  2       first time that I've ever been officially engaged in any

  3       type of support of Knife Rights.

  4            Q    Have you ever donated to Knife Rights as an

  5       organization?

  6            A    No.

  7            Q    I'm sorry.      I did not hear your answer.

  8            A    No.

  9                 MR. DILLON:      Objection.      Outside the scope and

 10       privileged.

 11       BY MS. UYEHARA:

 12            Q    Have you ever offered any classes to Knife

 13       Rights or their members?

 14            A    There was one time that I -- I'm trying to

 15       remember exactly what it was.          I donated I believe it

 16       was some instructional videos to a Knife Rights'

 17       fundraiser or something of that nature.

 18            Q    And that was with the intent of supporting the

 19       organization; correct?

 20            A    It was a favor for Doug Ritter.               He asked me

 21       personally.     He said they were doing a fundraiser, if

 22       there was anything that I could contribute.

 23            Q    Can you estimate the value of that course that

 24       you offered?

 25            A    I don't recall.

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  1            Q    Okay.     We're going to return a little bit to

  2       the resources you relied on for drafting your report.

  3                 So there were no attached exhibits or sources

  4       or other sorts of documents to your report.              Was that

  5       your decision or counsel's?

  6                 MR. DILLON:      Objection.      Privileged.

  7                 THE WITNESS:       Where I cited specific sources, I

  8       included the name of the source and the authors in

  9       there.   I wasn't -- I wasn't tasked with providing any

 10       other attachments or anything similar to that.              I simply

 11       cited the sources that I used.

 12       BY MS. UYEHARA:

 13            Q    And many of the sources you used are sources

 14       that Robert Escobar relied on; correct?

 15            A    No.     The sources cited in his report, in most

 16       cases there were a number of YouTube videos that he was

 17       citing, a lot of internet materials.             Most of the

 18       sources that I was citing were published books with one

 19       or two exceptions.

 20            Q    And are those books publicly accessible?

 21            A    They were published, whether they're still

 22       accessible or not.       Some of them were published by

 23       Paladin Press, which closed in 2017, so the commercial

 24       availability of them may be limited now, but they

 25       certainly were publicly accessible.

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  1            Q    And besides books, what other resources did you

  2       rely on in developing your report?

  3            A    There was the one study with regard to the use

  4       of kitchen knives in criminal acts that's cited

  5       specifically in my report.

  6            Q    And besides that report, are there any other

  7       academic papers that you relied on in drafting your

  8       report?

  9            A    Not that I recall.         And in addition to the

 10       books and the one kitchen knife report that you relied

 11       on, did you do any independent polling or surveying of

 12       either law enforcement individuals, your clients or

 13       other persons in the knife industry in reliance for your

 14       report?

 15                 MR. DILLON:      Objection.      Compound.    Vague and

 16       ambiguous.

 17                 THE WITNESS:       My report was prepared based

 18       again on my personal knowledge, my understanding and my

 19       experience.     I didn't do anything specific to try to

 20       expand that knowledge or experience to support the

 21       preparation of this report.

 22       BY MS. UYEHARA:

 23            Q    And did you interview any individuals in

 24       preparing to -- in support of your report?

 25            A    No.

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  1                 MS. UYEHARA:      All right.      Give me one second to

  2       review my notes.

  3                 All right.     That is all the questions I have.

  4                 Thank you, Mr. Janich, for taking the time for

  5       this deposition today.

  6                 Mr. Dillon, do you have any questions that

  7       you'd like to ask?

  8                 MR. DILLON:     Just one question.

  9                                    EXAMINATION

 10       BY MR. DILLON:

 11            Q    Mr. Janich, In your expert opinion, does the

 12       fact that an individual may struggle to deploy a weapon

 13       in a self-defense scenario negate the fact that the

 14       weapon may be a legitimate and valid self-defense

 15       weapon?

 16            A    The fact that somebody struggles to deploy a

 17       weapon is a matter of training.          As I said before, if

 18       you are going to carry any weapon for self-defense, you

 19       need to invest the time to train properly to have that

 20       ability, but the -- it doesn't affect the right to the

 21       access of those weapons.

 22                 MR. DILLON:     That's it.      I have no questions.

 23                 MS. UYEHARA:      All right.      Thank you again,

 24       Mr. Janich.    Thank you, Ms. Gray.

 25                 THE COURT REPORTER:        Mr. Dillon, would you like

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  1        a copy?
  2                      MR. DILLON:          Yes, please.
  3
  4                      (TIME NOTED:           4:15 p.m.)
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  1

  2

  3                    I, the undersigned, a Certified Shorthand

  4       Reporter of the State of California, do hereby certify:

  5                    That the foregoing proceedings were taken before

  6       me at the time and place herein set forth; that any

  7       witnesses in the foregoing proceedings, prior to

  8       testifying, were administered an oath; that a record of

  9       the proceedings was made by me using machine shorthand

 10       which was thereafter transcribed under my direction; that

 11       the foregoing transcript is a true record of the testimony

 12       given.

 13                    Further, that the foregoing pertains to the

 14       original transcript of a deposition in a Federal Case.

 15       Before completion of the proceedings, a review of the

 16       transcript was not requested.

 17                    I further certify I am neither financially

 18       interested in the action nor a relative or employee of any

 19       attorney or any party to this action.

 20                    IN WITNESS WHEREOF, I have this dates subscribed

 21       my name.

 22       Dated:     2/15/24



                                 c?L:~
 23

 24                              <%6209,Signature%>

                                   SHURI GRAY, RPR

 25                                CSR No. 3786

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  1    Katrina Uyehara

  2    katrina.uyehara@doj.ca.gov

  3                                                    February 16th, 2024

  4    RE: Knife Rights, Inc., Et Al. vs. California Attorney General

       Rob Bonta

  5    02/08/2024, Michael Janich, JOB NO.6449120

  6    The above-referenced transcript has been

  7    completed by Veritext Legal Solutions and

  8    review of the transcript is being handled as follows:

  9    __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

 10        to schedule a time to review the original transcript at

 11        a Veritext office.

 12    __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

 13        Transcript - The witness should review the transcript and

 14        make any necessary corrections on the errata pages included

 15        below, notating the page and line number of the corrections.

 16        The witness should then sign and date the errata and penalty

 17        of perjury pages and return the completed pages to all

 18        appearing counsel within the period of time determined at

 19        the deposition or provided by the Code of Civil Procedure.

 20    __ Waiving the CA Code of Civil Procedure per Stipulation of

 21        Counsel - Original transcript to be released for signature

 22        as determined at the deposition.

 23    __ Signature Waived – Reading & Signature was waived at the

 24        time of the deposition.

 25

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  1    __ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

  2        Transcript - The witness should review the transcript and

  3        make any necessary corrections on the errata pages included

  4        below, notating the page and line number of the corrections.

  5        The witness should then sign and date the errata and penalty

  6        of perjury pages and return the completed pages to all

  7        appearing counsel within the period of time determined at

  8        the deposition or provided by the Federal Rules.

  9    _X_ Federal R&S Not Requested - Reading & Signature was not

 10        requested before the completion of the deposition.

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  1    RE: Knife Rights, Inc., Et Al. vs. California Attorney General

       Rob Bonta

  2    Michael Janich, JOB NO.6449120

  3                       E R R A T A    S H E E T

  4    PAGE_____ LINE_____ CHANGE________________________

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  6    REASON____________________________________________

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 24    WITNESS                                 Date

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                       Federal Rules of Civil Procedure

                                       Rule 30



           (e) Review By the Witness; Changes.

           (1) Review; Statement of Changes. On request by the

           deponent or a party before the deposition is

           completed, the deponent must be allowed 30 days

           after being notified by the officer that the

           transcript or recording is available in which:

           (A) to review the transcript or recording; and

           (B) if there are changes in form or substance, to

           sign a statement listing the changes and the

           reasons for making them.

           (2) Changes Indicated in the Officer's Certificate.

           The officer must note in the certificate prescribed

           by Rule 30(f)(1) whether a review was requested

           and, if so, must attach any changes the deponent

           makes during the 30-day period.




           DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

           ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

           THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

           2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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      as submitted by the court reporter. Veritext Legal

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      documents as submitted by the court reporter and/or

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                 PLAINTIFFS' EXHIBIT AE
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   7   Attorney for Plaintiffs
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   9                         UNITED STATES DISTRICT COURT
  10                      SOUTHERN DISTRICT OF CALIFORNIA
  11
       KNIFE RIGHTS, INC., et al.,                    Case No.: 23-cv-474-JES-DDL
  12
                                        Plaintiffs,
  13                                                  Hon. James E. Simmons, Jr.
       v.
  14                                              REBUTTAL REPORT AND
       CALIFORNIA ATTORNEY GENERAL
  15   ROB BONTA, et al.,                         DECLARATION OF DAVID T.
                                                  HARDY REBUTTING EXPERT
  16                                  Defendants. REPORTS AND DECLARATIONS
  17                                              OF ROBERT SPITZER AND DR.
                                                  BRENNAN RIVAS
  18
  19
                                                      Complaint Filed: March 15, 2023
  20

  21

  22

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                                                                              KR1799
                REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                          DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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   1     REBUTTAL TO EXPERT REPORT AND DECLARATION OF ROBERT
   2
                               SPITZER
             I, David T. Hardy, declare as follows:
   3

   4         1.      I am over 18 years of age and am not a party, nor a party representative,
   5   to this action. The facts contained in my declaration are true and correct, and I would
   6   (and could) competently testify to such facts if called as a witness. My declaration is
   7   based on my own personal knowledge, education, employment background, and
   8   experience, particularly as it relates to the history of automatic opening knives, or
   9   “switchblades,” and other edged weapons.
  10
             2.      The organization Knife Rights, represented by the Dillon Law Group,
  11
       has asked me to provide a rebuttal to the expert report and declaration of Robert
  12
       Spitzer pertaining to the text, history, and tradition, if any, on the possession of
  13
       automatic opening knives/switchblades. My declaration covers my background and
  14
       qualifications; my retention and compensation; my opinions and the basis for those
  15
       opinions; and my concluding remarks.
  16
             3.      I am an attorney in private practice. My current curriculum vitae is
  17
       attached hereto as Exhibit “A.” I have published on the Second Amendment and
  18
       firearm laws, beginning in 1974. My writings on these subjects have twice been cited
  19
       by the U.S. Supreme Court, and by 11 U.S. Circuit Courts of Appeals. I have
  20
       published a book on, and directed a documentary film on, the Second Amendment.
  21
       The documentary was nominated for the ABA’s Silver Gavel Award for legal
  22
       education. I have also authored or coauthored amicus briefs in District of Columbia v.
  23
       Heller, McDonald v. City of Chicago, and NYSRPA v. Bruen.
  24

  25         4.      Further, I have been retained by Knife Rights, Inc. to render an expert
  26   opinion on the text, history, and tradition, if any, supporting a prohibition on the
  27   possession of “switchblade” knives. I am charging $150.00 per hour for my services.
  28
                                                   2
                                                                                KR1800
                  REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                            DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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                                     1085




   1   Introduction
   2
             5.      We should begin with a few threshold issues. The first issue is what role
   3
       a state statutory restriction should play in interpreting a federal enumerated
   4
       constitutional guarantee. In my opinion, the state statutory restriction or prohibition
   5
       must not conflict with the plain text of the Second Amendment, and it must be
   6
       grounded in historically analogous state statutes or regulations generally enacted
   7
       during the Founding era. If the state statute conflicts or is not historically analogous,
   8
       it should have no bearing on interpreting the Second Amendment under the Supreme
   9
       Court decisions in Heller and Bruen. This approach also has been used by the
  10
       Supreme Court in holding that the words “freedom of speech” were not understood to
  11
       protect defamation, obscenity, fighting words, and other First Amendment
  12
       exceptions. See Robertson v. Baldwin, 165 U.S. 275, 281 (1897), cf. Giles v.
  13
       California, 554 U.S. 353, 377 (2008) (Confrontation Clause).
  14

  15
             6.      The second threshold issue is the determination of what historical

  16
       evidence is relevant. The historical evidence should be timely. As Bruen informs us,

  17
       post-ratification state or federal restriction should be viewed with skepticism for the

  18
       same reason that post-enactment legislative history is so viewed. Bruen, 142 S. Ct.

  19   2111, 2136-37, 2153-54 (2022). The Second Amendment was proposed in 1789 and

  20   ratified in 1791, and the Fourteenth Amendment was proposed in 1866 and ratified in

  21   1868. To be generous, I treat the relevant period as extending through the year 1870.

  22   Thus, the state or federal restriction must fall within this relevant period. If not, it

  23   provides no assistance in interpreting the Second Amendment.

  24         7.      Third, the state or federal restriction on arms should not be considered if
  25   it was part of a list of forbidden arms that included handguns. Heller and McDonald
  26   clearly held that handgun bans fail constitutional muster. Accordingly, if the
  27   restriction amounts to a ban, including handguns, in my opinion, this is evidence that
  28
                                                   3
                                                                                KR1801
                  REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                            DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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                                     1085




   1   the drafters did not consider the Second Amendment right to keep and bear arms, and
   2   (2) if the restriction is less than a ban, it suggests that such restriction is not properly
   3   analogized to the ban at issue here.
   4
               8.      Fourth, if we do construe a federal enumerated constitutional right in
   5
       light of state legislative restrictions on it, we should require some showing
   6
       considerably beyond, “this restriction was not unknown at the time,” or “a few states
   7
       or cities adopted this.” What should be required is widespread acceptance,
   8
       comparable to widespread acceptance that supports the defamation and obscenity
   9
       exceptions to the First Amendment’s freedom of speech.
  10
               9.      Fifth, the state right to arms should not have limitations that are not
  11
       found in the Second Amendment. The Supreme Court, early on, refused to treat the
  12
       federal Bill of Rights as binding on the states (Barron v. Baltimore, 32 U.S. 243
  13
       (1833)), and refused to employ the Fourteenth Amendment’s Privileges and
  14
       Immunities Clause to do so (United States v. Cruikshank, 92 U.S. 542 (1876)). The
  15
       Court did not use the Due Process Clause as applying the Second Amendment to the
  16
       states until the McDonald decision in 2010.1 Accordingly, over the period 1776-1870,
  17
       no state court had to decide whether a state law passed Second Amendment muster:
  18
       the only question was whether the law conformed to the state right to keep and bear
  19
       arms.
  20

  21           10.     This consideration is relevant in cases in California, Maryland, Iowa,
  22   and Minnesota because these states have no state constitutional right to keep and bear
  23   arms. It is also relevant in states, such as Tennessee and Arkansas, whose arms
  24   guarantees were limited to bearing arms “for the common defense,” and whose courts
  25   accordingly held that their arms guarantees only covered military-style arms. See
  26
       1
  27     Nunn v. State, 1 Ga. 243 (1846) is best understood as employing the Second Amendment
       to prove the existence of a non-enumerated state constitutional right.
  28
                                                     4
                                                                                  KR1802
                    REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
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   1   Aymette v. State, 21 Tenn. 152, 156 (1840) (“As the object for which the right to keep
   2   and bear arms is secured is of general and public nature, to be exercised by the people
   3   in a body, for their common [defense], so the arms the right to keep which is secured
   4   are such as are usually employed military equipment.”). See also Fife v. State, 31
   5   Ark. 455, 459-61 (1876).2
   6
             11.      Finally, we must ask what weapons restrictions are to be considered in
   7
       making this determination. As Professor Spitzer points out, switchblade restrictions
   8
       largely date to the 1950s. Therefore, it is difficult to relate them to the Founding era,
   9
       except by analogy. Professor Spitzer uses six analogs: (1) restrictions on Bowie
  10
       knives, (2) bludgeons, (3) billy clubs, (4) clubs, (5) slung shots, and (6) pistols. In my
  11
       opinion, only Bowie knives and other “fighting knives”3 are appropriately analogous.
  12
       Pistols should not be compared since Heller, McDonald, and Bruen held that their
  13
       possession was constitutionally protected. Bludgeons, billies, clubs, and slung shots
  14
       should not be considered since they bear little resemblance to automatic knives, and
  15
       law enforcement’s concern with these blunt weapons was that they could be used to
  16
       silently knock a victim unconscious without killing him, thus facilitating a robbery.
  17
       As such, in my opinion, these blunt weapons are not analogous, and should not be
  18
       used to interpret the application of the Second Amendment to automatic
  19
       knives/switchblades.
  20
                             Arms Restrictions as Reflected in Exhibit B
  21

  22         12.      Exhibit B to Professor Spitzer’s report/declaration is a chart of Bowie
  23   Knife restrictions by state and date. Comparing it with Exhibit C (which gives details)
  24
       2
         The First Congress considered, and voted down, a proposal to add “for the common
  25   defense” to the federal Second Amendment. See Journal of the First Session of the
  26   Senate 77 (1820).
  27
       3
        For example, dirks, Arkansas toothpicsk, etc., which are in statutes usually grouped
       with Bowie knives.
  28
                                                    5
                                                                                 KR1803
                   REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
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   1   shows it does not confer an accurate understanding of the statutes at issue, because it
   2   includes, inter alia, carrying concealed weapons restrictions in which Bowie knives,
   3   etc., are among the weapons listed (often including handguns) that must be carried
   4   openly. Such statutes may indicate that carrying concealed weapons restrictions meet
   5   the restrictions of text, history, and tradition, but does not indicate that a ban on knife
   6   possession or carry in general would do the same. Additionally, the other Bowie knife
   7   restrictions referenced in Professor Spitzer’s Exhibit B, such as tax laws,
   8   enhancement for criminal activity, brandishing prohibitions, and prohibitions to
   9   certain groups, have no relevance to the statutes challenged in this case.
  10
             13.      Specifically, to look at the first three states listed: Exhibit B’s first entry,
  11
       Alabama, lists eight entries for Bowie knives. Comparing this to Exhibit C’s detailed
  12
       list shows that the 1837 law enhanced punishments for homicides that used the listed
  13
       weapons. The 1839 and 1841 statutes were concealed weapons bans that listed Bowie
  14
       knives, and also pistols. The 1867 Act taxed Bowie knives and pistols, and the 1876,
  15
       1877 and 1879 laws again were concealed weapons measures. The 1892 law is a tax
  16
       on dealers in pistols and Bowie knives. These laws are not historically analogous.
  17
       There is no concealed carry issue presented in this case, nor does this case involve tax
  18
       issues or issues connected to both automatic knives and handguns. The switchblade
  19
       ban being challenged in this case far exceeds any of the regulations presented by
  20
       Prof. Spitzer.
  21
             14.      Alabama’s 1805 measure on clubs only restricted possession by slaves,
  22
       and the 1873 measure on slung shots is a concealed weapons ban. These laws are also
  23
       not historically analogous; they involve a repugnant law (applicable to slaves) and a
  24
       concealed weapons ban (which is not at issue in this case).
  25

  26         15.      Alaska, the next entry, lists four statutes. All date from the late 1890s,
  27   far too late under Bruen standards. Bruen, 142 S. Ct. 2111, 2136-37, 2153-54 (2022).
  28
                                                      6
                                                                                 KR1804
                   REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
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   1   Arizona has three entries for Bowie knives. The 1867 law bans the use of Bowie
   2   knives or guns in any fight or quarrel, or drawing them in a rude, angry, or
   3   threatening manner. There is nothing in this 1867 law that prohibits the manufacture,
   4   sale, purchase, transfer, possession, or even carrying of bowie knives. In fact,
   5   assuming the language of using a bowie knife “in any fight or quarrel” excludes a
   6   situation in self-defense, the restrictions under this 1867 seem to merely restrict
   7   behavior that would be deemed unlawful regardless of whether a bowie knife was
   8   involved. The 1889 Arizona measure bans carrying of pistols, Bowie knives, and
   9   dirks in any town or village for the territory Arizona. The 1901 statute repeats this
  10   and also restricts concealed carry of these arms. It should also be noted that with
  11   statehood in 1912, Arizona guaranteed a right to arms in its constitution, and the first
  12   state code of 1913 deleted the restrictions on open carry of arms. These also all fall
  13   well-short of the broad ban imposed by California with regard to automatically
  14   opening knives. As such, they offer little historical justification for the State’s ban.
  15   Professor Spitzer’s reliance on these statutes is offered only at the highest level of
  16   generalization, in what seems that any historical restrictions on certain uses, of any
  17   kind, justifies outright prohibitions. This notion is not supported by the Second
  18   Amendment text, history, and tradition.
  19
                               Arms Restrictions Reflected in Exhibit C
  20
             16.      I have also examined the arms restrictions listed in Exhibit C to
  21
       Professor Spitzer’s report.
  22

  23         17.      First, based on my review, 145 of these restrictions in Exhibit C, are
  24   post-1870, and not to be considered under Bruen. Bruen, 142 S. Ct. 2111, 2136-37,
  25   2153-54 (2022). In fact, sixteen of the laws listed are from the twentieth century.
  26         18.      Additionally, of the restrictions relied on by Professor Spitzer, 32 only
  27   restrict the concealed carry of arms (mentioning both the Bowie knife and pistol). In
  28
                                                    7
                                                                                 KR1805
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   1   other words, it was perfectly legal to manufacture, sell, purchase, transfer, possess,
   2   use, and even openly carry the weapons listed in these restrictions. Concealed carry is
   3   not at issue in this case. As such, restrictions on concealed carrying of certain
   4   weapons has little value when considering relevant historical analogues that would
   5   justify California’s prohibition on switchblades.
   6
             19.      Moreover, 15 of the laws cited by Professor Spitzer were racist,
   7
       abhorrent laws that were only applicable to slaves, or free blacks, or Indians. Aside
   8
       from the fact that this Court should not consider these racist laws to justify any
   9
       regulation, they do not provide any historical justification for California’s ban on
  10
       switchblades, because the California ban applies to everyone, not any kind of sub-
  11
       group of the people.
  12
             20.      As identified above with my analysis of the Alaska laws cited in
  13
       Professor Spitzer’s Exhibit B, there are 19 laws cited by him that penalized only
  14
       arms use or attempted use in committing a crime, or flourishing arms in a threatening
  15
       manner. While these restrictions may be relied on to attempt to justify modern
  16
       regulations prohibiting this kind of unlawful behavior with weapons in general, they
  17
       are far from relevant in justifying any kind of outright prohibition.
  18
  19         21.      My review of Professor Spitzer’s Exhibits also show that seven
  20   regulations were “surety to keep the peace” statutes, applicable only where the person
  21   had used arms to cause terror in others, and even then, the remedy was not to disarm
  22   the individual, but to require him to post a bond that he would keep the peace. Five
  23   other regulations were taxation measures (one each in Alabama and Florida, three in
  24   North Carolina) — all of which taxed pistols together with fighting knives. Just as
  25   these tax regulations provide no justification for prohibiting pistols, they offer no
  26   justification for prohibiting an automatic knife/switchblade.
  27

  28
                                                    8
                                                                                 KR1806
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   1         22.      Additionally, four other cited restrictions prohibited rioting, and define
   2   rioting as involving fewer people if they are armed; three restrictions prohibited
   3   dueling, mentioning pistols and knives as the weapons involved; two are restrictions
   4   on sale, one of which (FLA, 1868) relates only to slung shots, the other of which (TN,
   5   1837-38) covers Bowie knives; two restrict (TN 1856, Memphis 1867) giving pistols
   6   or bowie knives to minors; and two restrict possession of weapons by certain classes
   7   of persons (KS, 1868: drunks and former rebels, MA, 1637, heretics’ swords,
   8   muskets, and pistols).
   9
             23.      Entirely absent from Professor Spitzer’s report and exhibits are any
  10
       outright prohibitions to the scale of California’s prohibition in this case on the
  11
       manufacture, sale, purchase, and possession, and open carry of switchblades. The
  12
       California law challenged in this case is a complete prohibition on all such activities.
  13
       The only relevant historical justification that could be offered to support the law
  14
       would be a historical tradition of similar bans. Professor Spitzer’s report fails to meet
  15
       this relevant burden of proof. He makes no such showing. A scattering of a handful of
  16
       sale restrictions on bowie knives throughout the relevant period is patently
  17
       insufficient justification under Heller and Bruen.
  18
                                  Prof. Spitzer’s Newspaper.com Analysis
  19

  20         24.      Prof. Spitzer devotes several pages of his report discussing his internet
  21   search of newspapers.com for any reference to the term “switchblade” and his
  22   conclusions as to the results of this search. To begin, Prof. Spitzer’s method is highly
  23   generalized and lacks any specificity. Based on a single search of the term
  24   “switchblade,” Professor Spitzer forms several conclusions without any supporting
  25   data or evidence. His internet search is so generalized, it also does not appear to be
  26   replicable, making it unreliable.
  27

  28
                                                    9
                                                                                 KR1807
                   REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                             DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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   1         25.      For example, going on the same website and searching the same term,
   2   “switchblade,” for the period of 1921 to 1939, Professor Spitzer received “424
   3   stories,” but my search resulted in 417 stories. Searching an additional period from
   4   1940 to 1945, Professor Spitzer received “612 stories” and I received 610 results.
   5   From 1946 to 1950, Professor Spitzer received “824 stories” and I received 820
   6   results. From 1951 to 1955, Professor Spitzer received “9,713 stories,” and I received
   7   9,677 results. From 1956 to 1959, Professor Spitzer received “19,929 stories,” and I
   8   received 19,896.
   9
             26.      The fact that the search results from this website are inconsistent is its
  10
       own problem. However, another major problem is that it does not appear that
  11
       Professor Spitzer actually reviewed every search result that he obtained. As such, the
  12
       conclusions that he reaches are highly questionable and lack any factual support. I
  13
       have selected and specifically reviewed a number of the articles. Most of them consist
  14
       of: (i) opinion pieces that claim “switchblades” are dangerous; (ii) summaries of
  15
       legislative efforts to have the knife prohibited in various states; or (iii) duplicate
  16
       articles of the first two categories. My last conclusion is supported by Professor
  17
       Spitzer’s own comments in which he states, “During this period, relatively few
  18
       switchblade crimes were reported, but those crimes that did receive coverage were
  19
       often reprinted in many newspapers.” Spitzer ¶ 16.
  20
             27.      Professor Spitzer also makes other unfounded claims such as, “These
  21
       numbers likely underestimate the number of newspaper stories about “switchblades”
  22
       because, as noted …, many news stories simply reported “knife stabbings,” without
  23
       specifying that the knife involved was a switchblade.” Spitzer Report, ¶ 22. In sum,
  24
       Professor Spitzer has no basis or data to support this claim. The data cited also
  25

  26
       consists of highly generalized and difficult to replicate internet news articles, which

  27
       are inherently unreliable.

  28
                                                    10
                                                                                 KR1808
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                                             DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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   1                             Prof. Spitzer’s Switchblade Crime Analysis
   2
             28.      Under the Bruen decision, policy arguments and interest balancing
   3
       evaluations were explicitly rejected and cannot be considered by experts and the
   4
       courts when determining the constitutionality of a arms regulation challenged under
   5
       the Second Amendment. Thus, I am at a loss as to why Professor Spitzer spends any
   6
       time discussing these issues in his report. Without waiving my position, I will
   7
       nonetheless address this issue for purposes of rebuttal. In discussing the use of
   8
       switchblades in crime, Professor Spitzer relies on two main sources (aside from his
   9
       generalized internet search of the term “switchblade”). First, he quotes an article from
  10
       Woman’s Home Companion, titled, “The Toy That Kills.” Second, he quotes the U.S.
  11
       Senate investigation in support of the Federal Switchblade Act of 1958.
  12
             29.      Professor Spitzer’s first source is an opinion piece written by Jack
  13
       Harrison Pollack in 1950, in which Pollack provides a number of quotes from the
  14
       former superintendent of Rhode Island State Police, from an unidentified juvenile
  15
       court judge, and unidentified “manufacturers and spokesmen for the industry,” a
  16
       Captain David Kerr, and Virgil W. Peterson, director of the Chicago Crime
  17
       Commission. In this article, the author makes numerous claims regarding
  18
       switchblades and their use in crime, but provides no sources or citations of any kind.
  19
       Professor Spitzer relies on this “nationwide investigation” performed by Pollack
  20
       without question or verification. Further, the article itself is from 1950 – well beyond
  21
       any pertinent historical period under Bruen.
  22

  23         30.      Second, Professor Spitzer relies on the U.S. Senate investigation in
  24   support of the Federal Switchblade Act of 1958 to support his conclusions regarding
  25   criminal use of switchblades. It cannot be ignored that the data that he is relying on is
  26   approximately 66 years old. Other than his reference to this 66-year-old Senate
  27   report, Professor Spitzer does not provide any crime data on switchblades, or knives
  28
                                                    11
                                                                                 KR1809
                   REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                             DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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   1   of any kind. Additionally, he summarily references and then dismisses the only report
   2   that I am aware of that discusses the criminal use of switchblades.4 Professor Spitzer
   3   labels the author of this report “one critic of switchblade knife restrictions.” Spitzer ¶
   4   30. He also omits the fact that this report empirically contradicts the claims made that
   5   switchblades are used mostly for criminal activities:
   6
             “Fortunately, the claims of Cone and Pino are empirically verifiable to
   7         some extent. According to manufacturers’ numbers provided to the
             committee, there were at least 1.2 million switchblades sold in the
   8
             United States each year. We also know that for the years 1957 and 1958,
   9         there were an average of 8,145 homicides, 71,210 robberies, and
             112,235 aggravated assaults. Even assuming that half of all these crimes
  10
             used knives, and further assuming that every knife used was a
  11         switchblade, there would have been 95,795 violent crimes involving
  12
             switchblades. Even using these extremely cautious presuppositions, and
             further assuming that 95,795 different switchblades were used for
  13         crimes, with six million switchblades in circulation, it would mean that
  14
             only 1.6% of switchblades were used in murder, assault, or robbery. In
             fact, the use rate is almost certainly well under 1%. Given that 99% of
  15         switchblades were never used for any illegal purpose, the assertion that
  16
             they are only used for or suited for murder, assault, and robbery is
             demonstrably false.”
  17
       Criminal Use of Switchblades, p. 238
  18
             31.      Thus, in summary, the sources relied on by Professor Spitzer are: (i)
  19
       highly generalized and provide no concrete facts; (ii) unsupported, unverifiable, and
  20
       drawn from an approximately 74-year-old magazine article; and (iii) taken from a 66-
  21
       year-old Senate report in which the statements made in the report are demonstrably
  22
       false. The time period is also inconsistent with Bruen. In my opinion, Professor
  23
       Spitzer’s report cannot be considered relevant or factually accurate.
  24

  25

  26

  27
       4
         Clark, Paul A., “Criminal Use of Switchblades: Will the Recent Trend Towards
       Legalization Lead to Bloodshed?” Connecticut Public Interest Law Journal 13 (2014)
  28
                                                    12
                                                                                 KR1810
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   1               REBUTTAL TO EXPERT REPORT AND DECLARATION OF DR.
   2
                                  BRENNAN RIVAS

   3         32.      I also reviewed the report and declaration of Dr. Brennan Rivas. Dr.
   4   Rivas provides a summary of the history of the Bowie knife, to the extent that history
   5   can be ascertained.5 However, her generalized description of “Large knives,”
   6   “hunting knives,” and “fighting knives” provides no relevance to the challenged law
   7   in this case. Thus, it offers little value in addressing the constitutionality of
   8   California’s complete ban on automatic knives/switchblades.
   9
             33.      Significantly, Dr. Rivas’ description of legal restrictions omits
  10
       significant details and outright exceptions to many of the laws in her summary of the
  11
       various restrictions on certain weapons. For example, on pages 13-14, Dr. Rivas’
  12
       report discusses knives’ inclusion in concealed carry bans, but then lists other statutes
  13
       without acknowledging they were bans only on concealed carry, not on open carry
  14
       (let alone on possession). See, e.g., LA Laws 1813, p. 172-73 (banning carry of any
  15
       “concealed weapon,” including a knife or pistol); VA Laws 1838, ch. 101 (penalizing
  16
       carrying weapons “hidden or concealed from common observation”); FLA Laws
  17
       1846, ch. 75 (banning carrying dirks and pistols “secretly”); ALA Laws 1840, ch. 7
  18
       §4, (outlawing carrying Bowie knives, dirks or firearms “concealed about his
  19
       person.”).
  20
             34.      As to the 1801 Tennessee law cited by Dr. Rivas, the full text of the law
  21
       prohibits “private carrying” of “any dirk, large knife, pistol or any other dangerous
  22
       weapon, to the fear or terror of any person.” If an individual were viewed to have
  23
       acted in this manner, he would be required to post a surety for “good behavior.” This
  24

  25
       5
            The original Bowie knife vanished after its owner’s death at the Alamo, and
  26   arms historians debate who created it, and how many features associated with it were
  27   original and how many were added when Britain’s Sheffield Company began its mass
       production and export.
  28
                                                    13
                                                                                 KR1811
                   REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                             DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
Case 3:23-cv-00474-JES-DDL Document 34-5 Filed 03/06/24 PageID.2704 Page 769 of
                                     1085




   1   law is certainly not analogous. Additionally, the “similar laws” referenced by Dr.
   2   Rivas from Kentucky, Louisiana, Indiana, and Mississippi also omit key details. The
   3   1812 Kentucky law provides an exception to its carry restriction for anyone
   4   “traveling on a journey.” Rivas, at 13, n. 35. The 1819 Indiana restriction only
   5   restricted the concealed carrying of “any dirk, pistol, sword in cane, or any other
   6   unlawful weapon.” Rivas, at 13, n. 38. The 1821 Mississippi restriction had an
   7   explicit exception to its carry restriction, namely, “in all cases of persons traveling
   8   they shall not be bound by the prior visions of this act.” Rivas, at 14, n. 39.
   9
             35.      While Dr. Rivas describes the 1838 Virginia law to have “regulated the
  10
       carrying of ‘any pistol, dirk, bowie knife, or any other weapons of the like kind, from
  11
       the use of which the death of any person might probably ensue,’” she omits that this
  12
       regulation only applied to concealed carry. Rivas, at 14, n. 40. And again, Rivas’
  13
       reference to the 1840 Alabama laws omits the fact that this state law only applied to
  14
       concealed carry of certain weapons and provided exceptions if the individual was
  15
       threatened/had good cause to carry such weapons or was on a journey. Rivas, at 14, n.
  16
       41. This same omission is made when Dr. Rivas references an 1846 Florida law as
  17
       well. Rivas, at 14, n. 42.
  18
             36.      These key details referenced above are important, since early American
  19
       courts upheld concealed carry bans on the rationale that they only banned one mode
  20
       of carrying, while leaving open carry unburdened. See State v. Chandler, 5 La. App.
  21
       489 (1850) (“It interferes with no man’s right to carry arms (to use its words) ‘in full
  22
       open view,’ which places men upon an equality.”); State v. Reid, 1 Ala. 612 (1840)
  23
       (“A statute which, under the [pretense] of regulating, … requires arms to be so borne
  24
       as to render them wholly useless for the purpose of defense, would be clearly
  25

  26
       unconstitutional.”). To the extent a restriction on carrying can advise us regarding a

  27
       restriction on possession, bans on concealed carry alone furnish no guidance as to a

  28
       complete ban on possession.
                                                    14
                                                                                 KR1812
                   REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                             DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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   1         37.      Dr. Rivas also discusses the taxation of certain knives, while conceding
   2   that pistols were also taxed. As discussed above, Heller, McDonald, and Bruen make
   3   clear that the history of pistol regulation was not such as to pass the text, history, and
   4   tradition test. As such, Dr. Rivas’ regulations would not pass the test either.
   5   Moreover, the relevance of a handful of taxation laws to the challenged law in this
   6   case it highly questionable. To my understanding, California is not seeking to
   7   continue to impose a tax on switchblades — it prohibits their manufacture, import,
   8   sale, transfer, possession, and carrying of them.
   9
             38.      Nevertheless, Dr. Rivas references three state laws that imposed taxes on
  10
       the personal possession of certain weapons (Alabama, North Carolina, and
  11
       Mississippi). Rivas, at 14. Two tax regulations imposed within the Florida territory,
  12
       two tax laws imposed by the municipalities of Jesup, Georgia and Cedartown,
  13
       Georgia. These tax regulations are a small minority and hardly rise to the standard of
  14
       any historical tradition that is required under Heller and Bruen. The same is true for
  15
       the three states that imposed occupational taxes on those who sold certain weapons.
  16
       Rivas, at 16, ¶ 16.
  17
                                           CONCLUSIONS
  18
  19         In summary, my conclusions, based on the above analysis and my background
  20   and qualification, are as follows: (1) over the relevant period, 1776 - 1870, there were
  21   no American restrictions on the possession of Bowie knives and other knives; (2)
  22   most of the laws or regulation that name the Bowie knife and other knives involved
  23   prohibitions on criminal misuse or on concealed carry; concealed carry was restricted,
  24   while open carry was not, making these statutes inapplicable and not historically
  25   analogous to possession bans; (3) almost all the laws or regulations naming Bowie
  26   knives and other knives are also applicable to handguns; and we know from Heller
  27   and McDonald that bans on handgun possession are unconstitutional, and from Bruen
  28
                                                    15
                                                                                 KR1813
                   REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                             DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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   1   that even “may issue” handgun permit requirements fail the text, history, and tradition
   2   test—thus, if these historical laws were insufficient to justify a ban on handguns, they
   3   would necessarily be insufficient to ban certain knives, including switchblades; (4) in
   4   any event, the laws or regulations that are invoked by Professor Spitzer and Dr. Rivas
   5   are limited to a handful of states and territories, rendering them doubtful as evidence
   6   of Americans’ general and nationwide understanding of their right to keep and bear
   7   arms during the relevant period (i.e., founding, time(s) of ratification).
   8

   9
             I declare under penalty of perjury under the laws of the United States that the
  10
       foregoing is true and correct and that I signed my declaration on January 19, 2024, at
  11
       Tucson, Arizona.
  12

  13

  14

  15
                                  _________________________________
  16
                                                        David T. Hardy
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                                                                              KR1814
                REBUTTAL REPORT AND DECLARATION OF DAVID T. HARDY REBUTTING EXPERT REPORTS AND
                                          DECLARATIONS OF ROBERT SPITZER AND DR. BRENNAN RIVAS
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                                EXHIBIT A

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                                  David T. Hardy
                                  Cirriculum Vitae

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  Tucson AZ 85749                                      dthardy@mindspring.com

                                     Education
     J.D., University of Arizona 1975, with honors. Associate editor, Arizona Law
            Review, 1st place moot court 1st & 2nd years, won Regionals 3rd year.
     B.A., University of Arizona 1972, with high honors & Honors Program (today
            the Honors College), in 3 years.

                                    Experience

     10 years’ governmental service, Interior Department, Washington D.C.; 33
  years in private practice. Experience ranged from Endangered Species and
  Administrative Procedure Acts to a death penalty reversal in the Arizona Supreme
  Court and a 5-4 in the US Supreme Court. (details below).

     27 law review articles authored, two cited by the U.S. Supreme Court, and one
  by eleven U.S. Circuit Courts of Appeals, and another by Larry Tribe’s AMERICAN
  CONSTITUTIONAL LAW. Author of five books, one a NY Times best-seller.

                               Selected Publications

  Legal Periodicals
  Standards of Review, the Second Amendment, and Doctrinal Chaos, 42 S. ILL. L. J.
  91 (2018).

  Criminology, Gun Control, and the Right to Arms, 58 HOWARD L. J. 679 (2015).
  Original Popular Understanding of the 14th Amendment as Reflected in the Print
  Media of 1866-68, 30 WHITTIER L. REV. 695 (2009). Cited by the Supreme Court in
  McDonald v. City of Chicago, by the plurality, and by Justice Thomas’
  concurrence, 561 U.S. 742, 763, n. 10, 841 (2010).

  McDonald v. Chicago, Fourteenth Amendment Incorporation and Judicial Role
  Reversals, 8 N.Y.U. J. OF L. & LIBERTY 15 (2013).

                                          1
                                                                           KR1816
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  The Rise and Demise of the “Collective Right” Interpretation of the Second
  Amendment, 59 CLEVELAND ST. L. REV. 315 (2011).

  The Lecture Notes of St. George Tucker: A Framing Era View of the Bill of Rights,
  103 NORTHWESTERN U. L. REV. 1527 (2009).

  Standing to Sue in the Absence of Prosecution: Can a Case Be Too Controversial
  for “Case or Controversy”?, 29 THOMAS JEFFERSON L. REV. 53 (2008).

  Originalism, Its Tools, and Some Caveats, 2 AKRON L. REV. STRICT SCRUTINY 1
  (2010).

  Ducking the Bullet: District of Columbia v. Heller and the Stevens Dissent, 2010
  CARDOZO L. REV. DE NOVO 101 (2010).

  A Well Regulated Militia, 15 WM. & MARY BILL OF RIGHTS JOURNAL 1237 (2007),
  cited in Binderup v. Attorney General, No. 14-4549, slip op. at 34 n. 17 (3d Cir.,
  Sept. 7, 2016) (en banc).

  The Firearm Owners' Protection Act, 17 CUMB. L. REV. 585 (1987). Cited in a
  Supreme Court dissent and by eleven U.S. Circuit Courts of Appeals:
     • Staples v. United States, 511 U.S. 610, 626 n.4 (1994) (Stevens, J., dissenting);
     • U. S. v. Andrade, 135 F3d. 104, 109 n. 3 (1st Cir. 1998);
     • Torraco v. Port Authority, 615 F.3d 129, 143 (2d Cir. 2010);
     • Ass’n of N.J. Rifle and Pistol Clubs v. Port Authority, 730 F.3d 252, 256-57 (3rd Cir. 2013);
     • U.S. v. Hayden, 64 F.3d 126, 129 (3d Cir. 1995);
     • U.S. v. Langley, 62 F.3d 602 (4th Cir. 1995) (en banc);
     • United States v. Golding, 332 F.3d 838 (5th Cir. 2003);
     • U.S. v. Kirk, 70 F.3d 791, 798 n.1 (5th Cir. 1995), en banc, 105 F.3d 997, 1006-07 (1997);
     • U.S. v. McGill, 74 F.3d 64, 67 (5th Cir. 1996);
     • U.S. v. Knutson, 113 F.3d 27, 30 (5th Cir. 1997):
     • U.S. v. Rodriguez, 132 F.3d 208,211 (5th Cir. 1997);
     • U.S. v. Golding, 332 F.3 838, 841 N. 12 (5th Cir. 2003);
     • U. S. v. Cassidy, 899 F.3d 543, 546 n.8 (6th Cir. 1990);
     • U.S. v. Choice, 201 F.3d 837, 841 n. 5 (6th Cir. 2000);
     • U.S. v. Kenney, 91 F.3d 884, 886 (7th Cir. 1996);
     • U.S. v. Farrell, 69 F.3d 891, 893 (8th Cir. 1995);
     • U.S. v. Sherbondy, 865 F.2d 996, 1002 (9th Cir. 1988);
     • U.S. v. Marchant, 55 F.3d 509, 514 (10th Cir. 1995);
     • U.S. v. Wilkes, 58 F.3d 1518, 1519 (10th Cir. 1995);
     • U.S. v. Haney, 264 F.3d 1161, 1169 (10th Cir. 2001);
     • Lomont v. O'Neill, 285 F.3d 9 (D.C. Cir. 2002);


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     • U.S. v. Otiaba, 862 F. Supp. 251, 253-54 (D.N.D. 1994) (declining to follow
        2d Circuit, since “that court did not have available to it Hardy’s analysis....”);
     • U.S. v. Hunter, 843 F. Supp. 235, 246 (E.D. Mich. 1994);
     • Cisewski v. Department of Treasury, 773 F. Supp.. 148, 150 (E.D. Wis. 1991);
     • In re Two Seized Firearms, 127 N.J. 84, 602 A.2d 728, 731 (1992);
     • 2A KEVIN O’MALEY, ET AL., FEDERAL JURY PRACTICE AND INSTRUCTIONS §39.09 at 36
     (5th Ed. 2000);
     • 78 Wisc. Opinions of the Atty’y Gen. 22 (1989).

      Armed Citizens and Citizen Armies: Origins of the Second Amendment, 9 HARV.
  J. OF L. & PUB. POLICY 559 (1986). Cited in LAURENCE TRIBE, AMERICAN
  CONSTITUTIONAL LAW 897 n. 211 (3d Ed. 2000).

     Hardy & Stompoly, Of Arms and the Law, 51 CHI-KENT L REV. 62 (1974).

     Note, Informants' Statements as a Basis for Stop and Frisk, 15 ARIZ. L. REV. 677
  (1973).

  Books

     DRED SCOTT: THE INSIDE STORY (2019). Gold Medal for Historical Nonfiction,
  African-American Historical and Genealogical Society International Book Fair.

     MASS KILLINGS: MYTH, REALITY, AND SOLUTIONS (2018)

     I’M FROM THE GOVERNMENT, AND I’M HERE TO KILL YOU: THE HUMAN COST OF
  OFFICIAL NEGLIGENCE (2017). This is actually a treatise calling for reform of the
  Federal Tort Claims Act and the Federal Rules of Criminal Procedure.

  Monographs and Anthologies

     OF MICE AND MEN: SURVIVING ENDANGERED SPECIES ACT LITIGATION (1993).

     Chapters dealing with checks and balances, impeachment, bills of attainder, and a
  biography of James Madison in THE NEW FEDERALIST PAPERS (1989).

  Miscellaneous

     Directed a two-hour documentary film on the 2d and 14th Amendments, “In
  Search of the Second Amendment,” nominated for the ABA’s Silver Gavel Award.



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                                                                                  KR1818
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                                 PRESENTATIONS

      In 2018, I have presented at Southern Illinois University’s symposium on
  “Exploring the Second Amendment: 10 Years after Heller,” and at the St. Louis
  Civil War Roundtable on the Dred Scott case. In past years I have given Pima
  County Bar CLEs on Supreme Court watching and on bringing federal test cases.
  Back when Barbara Atwood taught Civil Procedure, Leighton Rockafellow and I
  would give an annual presentation on personal jurisdiction. I have often spoken at
  the National Firearm Law Symposium; in 2010, due to another speaker’s emergency
  I had to give two presentations. The audience evaluations rated them No. 1 and 2 of
  the symposium, with scores of 3.94 and 3.88, where 4 was the highest rating.
      I have appeared on ABC Nightline, Book TV, Court TV (twice), Scarborough
  Country and over a hundred radio shows.

                            EMPLOYMENT HISTORY
  Private Practice, Tucson, Az. 1992 – present
     Primarily civil litigation and appeals. Admitted to U.S. Supreme Court, Arizona
  Supreme Court, 4th, 6th, and 9th Circuits, U.S. District Courts for Arizona,
  Colorado, and District of Columbia.
     Reported decisions include:
     • Mack v. United States, consolidated with Pritnz v. United States, 521 U.S.
        898 (1997) (10th Amendment, 5-4 win);
     • State v. Detrich, 178 Ariz. 380, 873 P.2d 1302 (1994) (5-0 reversal of
        murder conviction and death penalty);
     • Arizona Libertarian Party v. Schmerl, 200 Ariz. 486, 28 P.3d 948 (App.
        2001) (First Amendment: successful defense of Arizona electoral system);
     • Arizona Libertarian Party, Inc. v. Bayless, 351 F.3d 1277 (9th Cir. 2003)
        (successful First Amendment attack on State electoral system);
     • A. Uberti & C. v. Leonardo , 181 Ariz. 565, 892 P.2d 1354 (1995) (In
        personam jurisdiction in product liability case).

  Office of the Solicitor, Dep’t of the Interior, Wash. DC, 1982-1992
     • Ten years’ agency work, mainly representing U.S. Fish and Wildlife
        Service, occasionally detailed to other federal agencies. GS-14.
     • Continuous work under Administrate Procedure Act, Endangered Species
        Act, NEPA, etc.
     • Chief legal advisor to USFWS Law Enforcement Division. Handled
         forfeitures and civil penalties, advised agents, approved prosecutions.
     • Litigation: Represented FWS in variety of federal lawsuits, including US v.


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       Dion, 476 U.S. 734 (1986) (Eagle Act abrogates Indian hunting rights).
     • Mineral, Oil and Gas Rights: Held primary staff responsibility for preparing
       Interior's legal position on oil, gas and mineral rights underlying Nat'l
       Wildlife Refuge System (68,000,000 acres) lands.
     • Water Rights & Wilderness: Attorney Trish Bangert and I prepared the
       pivotal Solicitor's Opinion on water rights in designated Wilderness Areas.
       The position was subsequently adopted by the Attorney General as the
       position of the entire government.

  Partner, Sharp, Sando, Alfred & Hardy, Tucson, 1976-1982
     • Was assigned individual rating of "b(v)" by Martindale-Hubbell.
     • Small firm general practice, torts, contracts, criminal defense.

  Associate, Browning & Wilson-Druke, Tucson, 1975-76
     • Criminal defense and civil work.

  Prior Expert Testimony Within the Last Four Years:
  Jones v. Becerra, 498 F.Supp.3d 1317




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               PLAINTIFFS' EXHIBIT AF
                                                                     KR1821
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                                 Deposition of
                             Robert Escobar
                             February 09, 2024




                              Knife Rights Inc.
                                        vs.
                      Rob Bonta Attorney General




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                                                                    Knife Rights Inc. vs.
        Robert Escobar                                       Rob Bonta Attorney General

   ·1· · · · · · IN THE UNITED STATES DISTRICT COURT

   ·2· · · · · FOR THE SOUTHERN DISTRICT OF CALIFORNIA

   ·3

   ·4

   ·5· ·KNIFE RIGHTS, INC., ELIOT
   · · ·KAAGAN, JIM MILLER, GARRISON
   ·6· ·HAM, NORTH COUNTY SHOOTING
   · · ·CENTER, INC., and PWGG L.P.,
   ·7· · · · · · · · · · · · · · · · · · ·No.
   · · · · · · · · · · · Plaintiffs,· · · 3:23-cv-00474-JES-
   ·8· · · · · · · · · · · · · · · · · · ·DDL
   · · ·vs.
   ·9

   10· ·CALIFORNIA ATTORNEY GENERAL
   · · ·ROB BONTA,
   11
   · · · · · · · · · · · Defendants.
   12· ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

   13

   14
   · · · · · · ·VIDEO-TELECONFERENCE DEPOSITION OF
   15
   · · · · · · · · · · · ·ROBERT ESCOBAR
   16

   17· · · · · · · · · · February 9, 2024

   18· · · · · · · · · · · · 1:00 p.m.

   19

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   · · · · · · · · · ·Sacramento, California
   21

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   24
   · · · · · Job No. 10134989
   25· · · · Joan Theresa Cesano, CSR No. 2590


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        Robert Escobar                                       Rob Bonta Attorney General

   ·1· · · ·APPEARANCES OF COUNSEL

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   · · · · · Carlsbad, California 92009'
   ·6· · · · 760.642.7150
   · · · · · jdillon@dillonlawgp.com
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   · · · · · STATE OF CALIFORNIA
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   · · · · ·(Via Zoom)
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   · · · · ·(Via Zoom)
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   14

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        Robert Escobar                                       Rob Bonta Attorney General

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        Robert Escobar                                       Rob Bonta Attorney General

   ·1
   ·2· · · · · · · · · ·SACRAMENTO, CALIFORNIA;
   ·3· · · · · · ·FRIDAY, FEBRUARY 9, 2024; 1:00 P.M.
   ·4
   ·5· · · · · · · · · · · ·ROBERT ESCOBAR,
   ·6· · · · · ·having been first duly sworn, testified as
   ·7· follows:
   ·8
   ·9· · · · · · · · · · · · · EXAMINATION
   10· · · · · ·BY MR. DILLON:
   11· · · ·Q· ·Good morning -- good afternoon, Mr. Escobar.
   12· · · · · ·My name's John Dillon, I'm the counsel for the
   13· plaintiffs in this case, it's Knife Rights, Inc versus Rob
   14· Bonta, Attorney General of California. This case number is
   15· 3:23-CV-00474.
   16· · · · · ·So I'm going to be taking -- asking you questions
   17· today about this case and an expert report that you
   18· submitted in this matter on behalf of the defendants,
   19· State of California in this case.
   20· · · · · ·Can you please state your full name for the
   21· record.
   22· · · ·A· ·Robert Arthur Escobar.
   23· · · ·Q· ·And Mr. Escobar, have you been retained by the
   24· defendants in this case?
   25· · · ·A· ·Yes.


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   ·1· · · ·Q· ·And what is the amount you're being paid for for
   ·2· the work you're doing in this case?
   ·3· · · ·A· ·$150 per hour.
   ·4· · · ·Q· ·So just some housekeeping measures here.
   ·5· · · · · ·First, have you ever been deposed before?
   ·6· · · ·A· ·I have was thinking about that. I don't think so,
   ·7· maybe once in a car accident I was involved in, but I do
   ·8· not believe so, and certainly not as an adult.
   ·9· · · ·Q· ·Okay. So you've never been deposed in any other
   10· case?
   11· · · ·A· ·No.
   12· · · ·Q· ·Have you ever taken the role as an expert witness
   13· in any case before?
   14· · · ·A· ·Yes, one other. I submitted in the paperwork.
   15· · · ·Q· ·Is that a case, Fouts v Bonta?
   16· · · ·A· ·Yes.
   17· · · ·Q· ·And in that case you weren't deposed?
   18· · · ·A· ·I was not.
   19· · · ·Q· ·And in that matter you provided an expert report
   20· in the role of an expert witness; is that correct?
   21· · · ·A· ·Correct.
   22· · · ·Q· ·So I'm going to go over certain admonitions.
   23· · · · · So just to remind you, and what you just did, you
   24· are under oath and you've sworn to tell the truth, and the
   25· effect of that oath is the same as if you're testifying in


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   ·1· court.
   ·2· · · · · ·Do you understand that?
   ·3· · · ·A· ·I do.
   ·4· · · ·Q· ·And although we are conducting this remotely, and
   ·5· we're all in different places, this oath that you took and
   ·6· the rules of a deposition would apply as if we're all in
   ·7· the same room.
   ·8· · · · · ·Do you understand that?
   ·9· · · ·A· ·Understood.
   10· · · ·Q· ·So as this is a remote deposition, I'm going to
   11· note that no notes are going to be allowed during the
   12· deposition, and you may not read from anything other than
   13· the exhibits that are presented by me or your counsel.
   14· · · · · ·Do you understand that?
   15· · · ·A· ·I do. That means -- that sounds like I should not
   16· have the -- my declaration and rebuttal which I currently
   17· have on my PC?
   18· · · ·Q· ·If I do want you to refer to those, I'll bring
   19· them up and I'll take a look at those, but yeah, if I'm
   20· not specifically directing to you those documents, I'd ask
   21· that you just respond to my questions from memory.
   22· · · ·A· ·I shut them right now.
   23· · · · · ·MS. UYEHARA:· Counsel, I'm just going to object
   24· to that instruction, to the extent that the witness is
   25· allowed to refer to his materials to refresh his


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   ·1· recollection, as long as he discloses to you that he's
   ·2· doing so.
   ·3· · · · · ·MR. DILLON:· I'll allow it, as long as I know
   ·4· that he's referring to the documents, that's fine. I just
   ·5· need to make sure that they're not up when I don't know.
   ·6· · · · · ·MS. UYEHARA:· That's fine.
   ·7· · · · · ·BY MR. DILLON:
   ·8· · · ·Q· ·Please also be aware no one else is permitted to
   ·9· be in the room with you during the deposition?
   10· · · · · ·Do you know that?
   11· · · ·A· ·I do.
   12· · · ·Q· ·I'm going to be asking you a lot of questions and
   13· I had ask you please answer audibly and only after I
   14· finish speaking. This one, helps me ask questions, helps
   15· you answer, but it also helps the court reporter take down
   16· everything that we're saying.
   17· · · · · ·Do you understand that?
   18· · · ·A· ·I do.
   19· · · ·Q· ·Okay. So again, no hand gestures. If I ask you a
   20· question, how much of this happened, don't put up your
   21· hand with the number one.
   22· · · ·A· ·I will never -- (inaudible; Court Reporter asks
   23· for clarification).
   24· · · · · ·THE COURT REPORTER:· Could you repeat the last
   25· thing you said, please?


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   ·1· · · · · ·THE WITNESS:· Yes, I will keep my hands off the
   ·2· camera.
   ·3· · · · · ·THE COURT REPORTER:· Thank you.
   ·4· · · · · ·BY MR. DILLON:
   ·5· · · ·Q· ·Again, I'm going to ask you, don't guess when
   ·6· providing responses, but if appropriate, I may ask you to
   ·7· provide an estimate based off your best recollection.
   ·8· · · · · ·Do you understand that?
   ·9· · · ·A· ·I do.
   10· · · ·Q· ·Okay. So at this time I'm just going to bring up
   11· some exhibits here. Okay.
   12· · · · · ·So I just pulled up a document, it should be on
   13· the shared screen here.
   14· · · · · ·Do you see a document in front of you?
   15· · · ·A· ·I do.
   16· · · ·Q· ·Okay. I'm going in produce this as Plaintiff's
   17· Exhibit 1.
   18· · · · · ·(Exhibit 1 marked)
   19· · · ·Q· ·Can you read the title of the document on the
   20· screen, please?
   21· · · ·A· ·"United States District Court for the Southern
   22· District of California," I'm not sure -- I'm -- sorry.
   23· · · ·Q· ·-- sorry, my bad. Here. So I'll highlight under
   24· the title here.
   25· · · · · ·Can you read that text for me, please?


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   ·1· · · ·A· ·Yes. "Complaint for Declaratory and Injunctive
   ·2· Relief, 42 -- "
   ·3· · · ·Q· ·-- all right.
   ·4· · · · · ·And have you seen this document before?
   ·5· · · ·A· ·Yes.
   ·6· · · ·Q· ·Okay. And have you reviewed that document in
   ·7· full?
   ·8· · · ·A· ·I have.
   ·9· · · ·Q· ·Next here -- I'm going to introduce this as
   10· Plaintiff's Exhibit 2.
   11· · · · · ·(Exhibit 2 marked)
   12· · · · · ·Do you see the document up on the screen?
   13· · · ·A· ·I do.
   14· · · ·Q· ·Okay. And again, I'm going to highlight the title
   15· of the document. Try not to get this pop-up to appear.
   16· · · · · ·Can you read the text -- the title for me,
   17· please?
   18· · · ·A· ·"Notice of Deposition of Robert Escobar and
   19· Request to Produce Documents."
   20· · · ·Q· ·Okay. And have you seen this document before?
   21· · · ·A· ·I have.
   22· · · ·Q· ·Okay. And have you reviewed this document in
   23· full?
   24· · · ·A· ·Yes.
   25· · · ·Q· ·And are you prepared to testify regarding the


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   ·1· subject matter identified in the Notice of Deposition?
   ·2· · · ·A· ·Yes.
   ·3· · · ·Q· ·One more introduction here, just to get it out of
   ·4· the way.
   ·5· · · · · ·So I'm introducing this as Plaintiff's Exhibit 3.
   ·6· · · · · ·(Exhibit 3 marked)
   ·7· · · ·Q· ·Do you see the new document on the screen?
   ·8· · · ·A· ·I do.
   ·9· · · ·Q· ·And again, can you read the title of this
   10· document, please?
   11· · · ·A· ·"Expert Report and Declaration of Robert
   12· Escobar."
   13· · · ·Q· ·Are you familiar with this document?
   14· · · ·A· ·I am.
   15· · · ·Q· ·And is this the declaration and report -- expert
   16· report that you submitted on behalf of defendants in this
   17· matter?
   18· · · ·A· ·Based on the section I'm viewing, yes.
   19· · · ·Q· ·Okay. And I'm going to scroll down.
   20· · · ·A· ·Yes.
   21· · · ·Q· ·Okay. And the bottom of this document here, is
   22· that your signature and date that you put on the end of
   23· this document?
   24· · · ·A· ·Correct.
   25· · · ·Q· ·And you did that under penalty of perjury;


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   ·1· correct?
   ·2· · · ·A· ·Yes.
   ·3· · · ·Q· ·And you're the author of this report?
   ·4· · · ·A· ·Yes, I am.
   ·5· · · ·Q· ·Did anyone else assist you in authoring this
   ·6· report?
   ·7· · · ·A· ·No.
   ·8· · · ·Q· ·And are all the facts and information contained
   ·9· within this report true and correct?
   10· · · ·A· ·To the best of my knowledge and ability, yes.
   11· · · ·Q· ·And you're prepared to testify regarding the
   12· subject matter identified in this report?
   13· · · ·A· ·I am.
   14· · · ·Q· ·And just to know, I may refer, although this is
   15· Plaintiff's Exhibit 3, I may refer to it throughout the
   16· deposition as "your report."
   17· · · · · ·Do you understand that?
   18· · · ·A· ·I do.
   19· · · ·Q· ·Okay. So let's get into this.
   20· · · · · ·So, Mr. Escobar, you state in your report that
   21· you're a second degree black belt -- and forgive me if I
   22· mispronouncing this -- Goju-Ryu Karate?
   23· · · ·A· ·Goju-Ryu Karate, correct.
   24· · · ·Q· ·Goju Karate.
   25· · · · · ·And can you give me some background and what Goju


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   ·1· Karate is?
   ·2· · · ·A· ·Yes. All karate, proper, comes from Okinawa,
   ·3· which is part of Japan, but was not originally, so this is
   ·4· the indigenous arts from Okinawa. Goju-Ryu is one of the
   ·5· major styles. It's been taught in U.S. military, along
   ·6· with other Japanese Okinawa styles, once the U.S. military
   ·7· occupied that part in the world, that's World War II, so
   ·8· it's mostly unarmed combat:· Striking, grappling,
   ·9· submissions, subduing opponents.
   10· · · ·Q· ·Okay. And does Goju Karate have any type of
   11· specialties?· For example, tae kwon do is known for
   12· kicking. Does Goju Karate have any well-known specialties
   13· or any focus?
   14· · · ·A· ·It does. I would say one of the more well-known
   15· speciality is body toughening; you stand there and get,
   16· you know, beaten by instructors. So there's a specific
   17· exercise called San Chin, that would be the most famous
   18· part of the Okinawan -- (unintelligible).
   19· · · · · ·(Court Reporter speaks; asks for clarification).
   20· · · ·Q· ·My first time deposed; I'll go a little slower.
   21· · · · · ·Yes, the famous art about Goju within martial
   22· arts is body toughening, physically. There's an exercise
   23· called San Chin, S-A-N, C-H-I-N.
   24· · · ·Q· ·All right.
   25· · · · · ·So does -- Goju karate doesn't specialize in


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   ·1· using weapons, does it?
   ·2· · · ·A· ·As it was taught to me, it does. Most karate
   ·3· schools will have a weaponry component.
   ·4· · · · · ·My main martial arts teacher had many, over the
   ·5· decades, but my longest running sensai, who was my Goju
   ·6· sensai, is a well known weapons expert enthusiast, so we
   ·7· always trained heavily weapons.
   ·8· · · ·Q· ·Okay. And what kind of weapons did you train
   ·9· with?
   10· · · ·A· ·Primarily the classic -- this is a term --
   11· kabudo, K-A-B-U-D-O, weapons, so basically karate
   12· weaponry; five to six foot staff, sai, which are metal
   13· trenchants -- forked metal trenchants; tonfa, which are
   14· batons that inspire the L-shaped impact weapons that were
   15· famous because of police use or around the world; kama,
   16· which are sickles, so bladed, razor-sharp sickles, could
   17· be one or in a pair; nanchaku, often called nunchucks, and
   18· I would say those are the main weapons.
   19· · · ·Q· ·Okay. And when did you receive your first degree
   20· black belt in Goju karate?
   21· · · ·A· ·To be honest, I would have to look. I didn't
   22· prepare that. It's been a while, I've been a sensai for a
   23· very long time.
   24· · · · · ·It was -- I was a young adult, heading into the
   25· working world that I started studying in college, with


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   ·1· (inaudible) Chapman. It was in my working years, after my
   ·2· twenties, but I would have to look offline to find the
   ·3· year.
   ·4· · · ·Q· ·Okay. And let's see. How long did it take to get
   ·5· your black belt in Goju karate?
   ·6· · · ·A· ·I would say at least eight years, which is long,
   ·7· as these things are generally done in martial arts.
   ·8· · · ·Q· ·All right.
   ·9· · · · · ·And you also have a second degree black belt in
   10· Goju karate; is that correct?
   11· · · ·A· ·I do. I received that during the pandemic. That
   12· was just a couple of years ago.
   13· · · ·Q· ·And what are the requirements to go from first
   14· degree to second degree in Goju karate?
   15· · · ·A· ·A demonstration of skill, a lot of pre-arranged
   16· routines, Okinawan is big on kama, showing the proper body
   17· positioning memorization, movement, but also demonstration
   18· with weapons, all the weapons that I listed, you know,
   19· your athleticism, the ability to take the punishment that
   20· I was describing earlier, the body conditioning -- you
   21· allow yourself to be struck and show that you can continue
   22· moving and performing, working with a partner in
   23· various -- they are called -- well, I'll skip the term,
   24· but in various two-man drills, you know. Typical, I would
   25· say maybe two-handed -- two-person martial arts drills,


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   ·1· demonstrating throws, locks, takes-down, strikes, all that
   ·2· kind of thing.
   ·3· · · ·Q· ·Okay. And do you teach Goju karate?
   ·4· · · ·A· ·I do not. I acted as an assistant instructor on
   ·5· and off over the years in different instances, but I am
   ·6· not an instructor.
   ·7· · · ·Q· ·So you don't have your own karate academy or
   ·8· studio?
   ·9· · · ·A· ·I do not.
   10· · · ·Q· ·Do you have any publications or writings
   11· regarding Goju karate?
   12· · · ·A· ·Not regarding Goju karate, no.
   13· · · ·Q· ·And you mentioned earlier that you practice in
   14· Kobudo, and that's the Okinawan-Japanese weapons; correct?
   15· · · ·A· ·Correct. So that is a separate but a martial art,
   16· and I have a first degree black belt in weapons-only art.
   17· · · ·Q· ·Okay. And the weapons that you described earlier
   18· are the same weapons that you used in Budo?
   19· · · ·A· ·And then in addition to many more. There are
   20· others.
   21· · · ·Q· ·And these weapons are all traditional martial
   22· arts weapons.
   23· · · ·A· ·Yes, I'd agree with that.
   24· · · ·Q· ·So, let's see -- so does Kobudo practice in the
   25· use of knives?


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   ·1· · · ·A· ·As taught to myself, because there are teacher
   ·2· variations and stylistic variations and splinter styles,
   ·3· et cetera, you name it.
   ·4· · · · · ·In my experience, yes, I have offensive and
   ·5· defensive.
   ·6· · · ·Q· ·Is that fixed-blade knives?
   ·7· · · ·A· ·Yes, typically it would be a wooden approximation
   ·8· of a Japanese dagger called a tanto, T-A-N-T-O.
   ·9· · · ·Q· ·And you say you were specifically taught with
   10· regard to the use of knives, but is that generally taught
   11· in most Goju karate courses?
   12· · · ·A· ·In any karate based curriculum, including Goju,
   13· when it gets to a high enough level, I would say it's
   14· typical knives become a part of it, but typically it would
   15· be, more again, more high level introduction.
   16· · · ·Q· ·So it's not a common theme throughout the whole
   17· process of advancing through Goju karate?
   18· · · ·A· ·That is correct, it is not.
   19· · · ·Q· ·Have you ever conducted any professional research
   20· when it comes to Kobudo?
   21· · · ·A· ·If by "professional" you mean actively paid in
   22· the way I'm being paid right now, no. In terms of for the
   23· books that I write and publish, yes.
   24· · · ·Q· ·Okay. And what books or publications have you
   25· written regarding Kubudo?


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   ·1· · · ·A· ·Well, things that incorporate my knowledge of
   ·2· Kubudo and weapons from that training would be in both of
   ·3· the weapons books that I've written, which is -- those are
   ·4· all the books I've written; two weapons-specific books.
   ·5· · · ·Q· ·Okay. You have also stated you're a member of the
   ·6· Budo-Kai International; is that correct?
   ·7· · · ·A· ·Yes, Bodu-Kai International, correct.
   ·8· · · ·Q· ·And for the reporter, it's B-U-D-O-K-A-I
   ·9· International.
   10· · · · · ·And you stated this organization conducts regular
   11· seminars?
   12· · · ·A· ·Yes, usually in the state of Oklahoma, and I live
   13· in Texas.
   14· · · ·Q· ·Do you know how often they conduct these
   15· seminars?
   16· · · ·A· ·It depends, on, you know, COVID threw all of that
   17· out of whack, but the goal is quarterly.
   18· · · ·Q· ·Okay. And what'd these seminars consist of?
   19· · · ·A· ·A lot of martial arts organizations have these
   20· larger umbrella organizations, so Budo-Kai is the umbrella
   21· within which my sensai teaches.
   22· · · · · ·He's a senior member there, basically you go and
   23· learn from a variety of skills and different martial arts
   24· and different weapons from -- from the variety of
   25· instructors that are present.


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   ·1· · · · · ·So in every one that I have gone to, there's been
   ·2· Krav Maga, that's the Israeli military martial art,
   ·3· there's been ninijitsu, karate, of course, Kobudo, of
   ·4· course, so it depends on the specialty of the instructor
   ·5· and what's being offered over the weekend, for instance.
   ·6· · · ·Q· ·Okay. But you don't act as an instructor for the
   ·7· Budo-Kai International, do you?
   ·8· · · ·A· ·No, I do not.
   ·9· · · ·Q· ·And you stated earlier you attend these seminars?
   10· · · ·A· ·When I can.
   11· · · ·Q· ·How many seminars of these have you attended?
   12· · · ·A· ·Total?· Ever since kind of the confederation, the
   13· official formation, I would say six.
   14· · · ·Q· ·And you never have given a presentation or chose
   15· to speak at one of these seminars?
   16· · · ·A· ·Not an official one. I have brought some of the
   17· weapon-types that I am the historian of and shown them and
   18· done informal demonstrations. Sorry. I definitely never
   19· officially taught, no, not there.
   20· · · ·Q· ·Do you provide any instructions on the use of
   21· knives and in self-defense?
   22· · · ·A· ·I do not.
   23· · · ·Q· ·In your in report -- so I'm sharing the screen
   24· up, on Page 1 of your report. Do you see that?
   25· · · ·A· ·I do.


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   ·1· · · ·Q· ·I'm going to highlight some text just to make it
   ·2· is easier to find here, but about the second sentence in,
   ·3· you state that several of the head instructors leading
   ·4· these seminars have experience in law enforcement or the
   ·5· military or in providing training to one or both; is that
   ·6· correct?
   ·7· · · ·A· ·Yes.
   ·8· · · ·Q· ·Okay. But you don't have any experience in law
   ·9· enforcement or the military, do you?
   10· · · ·A· ·None.
   11· · · ·Q· ·And you have also not provided any training to
   12· law enforcement or the military?
   13· · · ·A· ·None.
   14· · · ·Q· ·And you have no experience in training law
   15· enforcement or military in the use of knives; correct?
   16· · · ·A· ·Correct.
   17· · · ·Q· ·And no experience in training law enforcement or
   18· military in general self-defense; correct?
   19· · · ·A· ·Also correct.
   20· · · ·Q· ·All right.
   21· · · · · ·So in your report you also state that you've also
   22· trained in various other martial arts over 24 years;
   23· correct?
   24· · · ·A· ·Yes.
   25· · · ·Q· ·Okay. And the martial arts that you state you


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   ·1· practice consists of Krav Maga, Jiu-Jitsu, hybrid
   ·2· wrestling, boxing and HEMA which -- let's see -- what does
   ·3· HEMA stand for?
   ·4· · · ·A· ·Historical European Martial Arts.
   ·5· · · ·Q· ·Okay. You have practiced in those martial arts
   ·6· that I just read out; is that correct?
   ·7· · · ·A· ·Yes, I have.
   ·8· · · ·Q· ·And excluding the HEMA, which we'll talk about,
   ·9· these other martial arts, Krav Maga, Jiu-Jitsu, hybrid
   10· wrestling and boxing, they don't specialize in using
   11· weapons, do they?
   12· · · ·A· ·The only one I would maybe take exception is
   13· Krav-Maga. It the Israeli military martial art. There are
   14· always -- it's mostly defensive training, but there are
   15· practice knives and guns that get brought out in almost
   16· every class.
   17· · · ·Q· ·Is that for all levels of Krav Maga?
   18· · · ·A· ·Let me think about that -- let me make sure I'm
   19· accurate because my daughter started taking it in that
   20· very first summer, she's -- yes, she's learning with those
   21· safe training weapons.
   22· · · ·Q· ·All right.
   23· · · · · ·And what level in Krav Maga did you reach?
   24· · · ·A· ·Intermediate. This might require a second's worth
   25· of explanation.


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   ·1· · · · · ·I've been doing martial arts for a quarter of a
   ·2· century and I stopped testing, so I used to go to a mixed
   ·3· martial arts gym, and I would wrestle with professional
   ·4· wrestlers, et cetera, and get encouraged to get my blue
   ·5· belt in BJ, Brazilian Jiu-Jitsu, and you're familiar -- of
   ·6· course you can go from blue belt to purple belt.
   ·7· · · · · ·I do not test in any martial arts that I take
   ·8· anymore except for Goju with my original sensai Kubudo. I
   ·9· do want to acquire my third degree black belt in Goju, and
   10· my secondary black belt in Kobudo, but all of these modern
   11· and very specialized ones I take, I just go take the
   12· classes. I stopped paying test fees a long time ago.
   13· · · ·Q· ·So you have no belt or level when it comes to
   14· Krav Maga?
   15· · · ·A· ·No. I would say, you know, testifying here under
   16· oath, I would say I have intermediate Krav Maga.
   17· · · ·Q· ·Okay. And how about Jiu-Jitsu?· What level of
   18· Jiu-Jitsu have you gotten to?
   19· · · ·A· ·I would say advanced. I wrestle with people who
   20· have their black belts, people who are professional
   21· fighters, that sort of thing.
   22· · · ·Q· ·Actually I practice Jiu-Jitsu myself, so I know
   23· that the belt system is you go from white, blue, purple,
   24· brown, black.
   25· · · · · ·What belt have you obtained in Jiu-Jitsu?


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   ·1· · · ·A· ·Well, again, referring to my first comment, since
   ·2· I don't test now, I don't want to take these arts. I've
   ·3· never tested in Jiu-Jitsu, but I've taken BJJ with
   ·4· coaches, both in a Budo-Kai gym and a mixed martial arts
   ·5· gym, on and off for years, so I would say I have purple
   ·6· belt skill in Jiu-Jitsu.
   ·7· · · ·Q· ·Have you ever been awarded a purple belt from any
   ·8· Jiu-Jitsu gym?
   ·9· · · ·A· ·I'm never been tested from any Jiu-Jitsu gym, so
   10· no.
   11· · · ·Q· ·You've never been given a purple belt by any
   12· Jiu-Jitsu gym?
   13· · · ·A· ·No, I have not.
   14· · · ·Q· ·And you mentioned that in your report that you
   15· practice in hybrid wrestling.
   16· · · · · ·Can you describe what that is?
   17· · · ·A· ·Umm-umm. In most modern martial art gyms there is
   18· going to be a wrestling component because of the
   19· popularity of fighting championship, et cetera, so they
   20· will --
   21· · · · · ·MS. UYEHARA:· -- Robert -- you have to slow down
   22· a little bit. Okay?
   23· · · ·A· ·Okay. In most martial arts gym there's going to
   24· be a wrestling component. They're going to be dedicated
   25· wrestling classes; right?· The classes are strictly


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   ·1· wrestling, even though there are other things taught in
   ·2· the gym, so I have done those quite a bit in multiple
   ·3· gyms, so I call it hybrid wrestling because it's not an
   ·4· official style, like Greco-Roman wrestling.
   ·5· · · · · ·What's taught nowadays in most gyms, it's
   ·6· interesting, is a synthesis of judo from Japan --
   ·7· · · ·Q· ·Okay.
   ·8· · · ·A· ·-- et cetera, et cetera.
   ·9· · · ·Q· ·All right.
   10· · · · · ·So when you say you practice in hybrid wrestling,
   11· you go to gyms and participate in some sort of sparring
   12· with other individuals that would involve wrestling; is
   13· that correct?
   14· · · ·A· ·Correct.
   15· · · ·Q· ·Again, this isn't like an official school of
   16· hybrid wrestling; right?
   17· · · ·A· ·Correct.
   18· · · ·Q· ·Is that the same situation for a practice in
   19· boxing?
   20· · · ·A· ·Yeah, boxing also a dedicated class offered in
   21· various gyms that I've been in, and I will take their
   22· boxing classes, with their boxing instructor, yes.
   23· · · ·Q· ·So in all the martial arts that you practice in,
   24· these are personal interests or hobbies; right?
   25· · · ·A· ·Correct.


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   ·1· · · ·Q· ·And you're not professionally paid to practice in
   ·2· any of these martial arts; correct?
   ·3· · · ·A· ·I am not.
   ·4· · · ·Q· ·And you're not employed in these fields where you
   ·5· would get a salary or paid -- be on a payroll or have any
   ·6· income; correct?
   ·7· · · ·A· ·Correct.
   ·8· · · ·Q· ·So you mentioned you have two books that you
   ·9· wrote; correct?
   10· · · ·A· ·Yes.
   11· · · ·Q· ·Okay. And do any of your publications focus
   12· specifically on knives?
   13· · · ·A· ·The first one does not. It's impact, roughly,
   14· specific.
   15· · · · · ·The second is fairly wide ranging and has bladed
   16· instruments in it. I would say it does not focus on
   17· knives.
   18· · · · · ·(Court Reporter asks for clarification)
   19· · · · · ·THE WITNESS: I'll name both books. They're long
   20· titles, I apologize.
   21· · · · · ·First one is Saps, Blackjacks and Slungshots:                      A
   22· History of Forgotten Weapons.
   23· · · · · ·And the second is Deadly Ingenuity: A History of
   24· Unusual Weapons From Around the World and Across Time.
   25· · · ·Q· ·And then, real quick, I put this off, the HEMA


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   ·1· Historical European Martial Arts Practice in, is that a
   ·2· Hand to Hand combat system?
   ·3· · · ·A· ·It is both Hand to Hand and weapons. It's heavily
   ·4· tilted towards weapons, swords, daggers, that kind of
   ·5· thing, battle-axes.
   ·6· · · ·Q· ·Now, when you're dealing with swords and
   ·7· battle-axes, are you practicing with armor or some type of
   ·8· protective clothing?
   ·9· · · ·A· ·I don't spar in armor, there are people that do,
   10· I do not do that, but I train with both actual live blades
   11· and practice blades.
   12· · · ·Q· ·And now, is there, again, like a rank or belt
   13· system in the Historical European Martial Arts?
   14· · · ·A· ·No, HEMA does not use the eastern method of belts
   15· and ranks and that kind of a thing. And I've been doing
   16· this, what is now called HEMA since before that acronym
   17· even existed.
   18· · · · · ·A friend of mine who I used to train with back
   19· the early 90s is now a professional HEMA instructor. It's
   20· just something I've continually learned on and off over
   21· the years.
   22· · · ·Q· ·Okay. And so what's your current employment?
   23· · · ·A· ·I am an IT professional. I'm a project manager
   24· and I work for a public accounting firm named Forvis.
   25· · · ·Q· ·And that employment has nothing to do with


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   ·1· weapons or knives of any kind; correct?
   ·2· · · ·A· ·Correct.
   ·3· · · ·Q· ·Now, is this a full time job with the accounting
   ·4· firm?
   ·5· · · ·A· ·Yes.
   ·6· · · ·Q· ·So going back to the two books that we mentioned
   ·7· earlier, one of them being Saps, Blackjacks and
   ·8· Slungshots:· History of Forgotten Weapons; correct?
   ·9· · · ·A· ·"Slungshots" is a very odd, historical term;
   10· correct.
   11· · · ·Q· ·And the other is "Deadly Ingenuity:· The History
   12· of Unusual Weapons from Around the World and Across Time"?
   13· · · ·A· ·It is.
   14· · · ·Q· ·And you haven't published any other books;
   15· correct?
   16· · · ·A· ·I have, but they're not weapons related.
   17· · · ·Q· ·Okay. Any other research papers or studies or
   18· articles involving weapons?
   19· · · ·A· ·Well, I've written a few times for a subscription
   20· based publication, it's a shooting association publication
   21· called Hats and Gats, sort of a very noir theme there.
   22· · · · · ·So I had written a few articles for them -- not
   23· paid. They asked me if I would write for them and I would
   24· get a free subscription, so I have written a couple of
   25· articles for them.


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   ·1· · · ·Q· ·And what were those articles regarding?
   ·2· · · ·A· ·One on history -- history of the snob-nose
   ·3· revolver in the American popular consciousness.
   ·4· · · ·Q· ·Okay. So would you say the focus of your
   ·5· historical research has been on impact weapons or blunt
   ·6· force weapons?
   ·7· · · ·A· ·Of my research, to be exact, to answer your
   ·8· question, I would say street weapons; of my writing, I
   ·9· would say impact weapons.
   10· · · ·Q· ·And in your book, Saps, Blackjacks and
   11· Slungshots, you don't discuss knives; correct?
   12· · · ·A· ·No, incidentally at best.
   13· · · ·Q· ·And the primary subject of that book is just
   14· various history and configurations of blunt force objects?
   15· · · ·A· ·It is the only book written, I say this, you
   16· know, I think accurately, this is the only book in history
   17· on the most forgotten weapons group from all of history,
   18· that is the case I put forth in the book; a large gap, not
   19· just in impact weapons history, but in weapons martial
   20· arts history, period.
   21· · · ·Q· ·Okay. And the forgotten weapons would include
   22· saps, blackjacks and slungshots?
   23· · · ·A· ·Those would be the overarching terms for the
   24· whole family of weapons, correct.
   25· · · ·Q· ·And those are weapons that have been used


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   ·1· throughout the United States?
   ·2· · · ·A· ·Absolutely.
   ·3· · · ·Q· ·And are they pretty common?
   ·4· · · ·A· ·They still are, to a certain extent. The monkey
   ·5· fist key chains that are very common nowadays, I know
   ·6· because of the intel I receive, are still getting used on
   ·7· the street today. Those are slung shots.
   ·8· · · · · ·Saps, blackjacks, miniature batons, acay (ph)
   ·9· clubs of various kinds, including kind of the modern
   10· standard, expandable baton, that's all within the family
   11· of weapons I'm talking about. Easiest way to consider them
   12· is pocket clubs, something small that could fit in your
   13· pocket but that packs the wallop of a large, full size
   14· baton.
   15· · · ·Q· ·Okay. And so in your other book, Deadly
   16· Ingenuity, you uncover some more obscure and unusual
   17· weapons; is that correct?
   18· · · ·A· ·Yes, overlooked various kinds of blade impact.
   19· · · ·Q· ·And these are weapons that are found all over the
   20· world?
   21· · · ·A· ·Yes.
   22· · · ·Q· ·Sorry. So you're not just focusing on the weapons
   23· from the United States or any specific country; correct?
   24· · · ·A· ·Very little.
   25· · · ·Q· ·Okay. And the sub kind of book is The History of


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   ·1· Unusual Weapons Around the World and Across Time; correct?
   ·2· · · ·A· ·Correct.
   ·3· · · ·Q· ·Okay. So am I correct in saying the focus of the
   ·4· book would be to discuss the more rare and unusual weapons
   ·5· you come across in your research?
   ·6· · · ·A· ·Yes.
   ·7· · · ·Q· ·So that book doesn't discuss the more common
   ·8· weapons, does it?
   ·9· · · ·A· ·No. I would like to make a distinction.
   10· · · · · ·A weapon like the cut throat razor was very
   11· common. It's not common now, which is why the book puts it
   12· forth as an uncommon weapon, but it was extremely common
   13· just in the previous century, the 20th century.
   14· · · ·Q· ·And sorry, what weapon were you referring to
   15· just --
   16· · · ·A· ·-- the cut throat razor, which is the old
   17· fashioned shaving razor that folks might be able to
   18· envision when they think of old movies, et cetera.
   19· · · ·Q· ·So in the book, Deadly Ingenuity, you don't
   20· discuss knives like the Bowie Knife, do you?
   21· · · ·A· ·No, that would be a common knife, right.
   22· · · ·Q· ·Okay. And you also don't discuss knives that are
   23· described as an Arkansas Toothpick; is that correct?
   24· · · ·A· ·Correct.
   25· · · ·Q· ·And you don't include any discussion on folding


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   ·1· knives, do you?
   ·2· · · ·A· ·I've got to stop and think about that.
   ·3· · · · · ·Well, some would argue a cut throat razor is a
   ·4· folding knife since it is a sharp steel blade that folds
   ·5· and unfolds. That would -- I'm thinking here -- no, I
   ·6· apologize, Mr. Dillon, I had an entire chapter dedicated
   ·7· for straight razors, but I am enjoying the subject so much
   ·8· I poured that over to be my next book, so apologies.
   ·9· · · · · ·No, I agree with your statement.
   10· · · ·Q· ·So do you discuss those straight razors in Deadly
   11· Ingenuity?
   12· · · ·A· ·Mental mistake, I apologize, took me a second to
   13· realize, I moved that to a future project, and I can go
   14· full blown on that subject, which I do mention in my
   15· declaration. That is an upcoming book, my apologies.
   16· · · ·Q· ·No worries.
   17· · · · · ·And in Deadly Ingenuity you don't discuss pocket
   18· knives in there, do you?
   19· · · ·A· ·No.
   20· · · ·Q· ·And there's no discussion regarding switchblades?
   21· · · ·A· ·Let me stop and think, but no.
   22· · · ·Q· ·And no discussion regarding Balisongs or what's
   23· called Butterful Knives?
   24· · · ·A· ·No.
   25· · · ·Q· ·And, in fact, I have both of your books, I read


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   ·1· them, thought they were pretty interesting.
   ·2· · · ·A· ·Thank you.
   ·3· · · ·Q· ·So from my memory here, the only knife you really
   ·4· discuss in Deadly Ingenuity would be the Gaucho Knife; is
   ·5· that correct?
   ·6· · · ·A· ·Yes, a whole chapter on those kind of knives,
   ·7· correct.
   ·8· · · ·Q· ·And this was a knife that was used in Latin
   ·9· America and South America; correct?
   10· · · ·A· ·Umm-umm, yes.
   11· · · ·Q· ·And these are fixed-blade knives?
   12· · · ·A· ·Yes.
   13· · · ·Q· ·And your discussion of Gaucho Knives in your
   14· books, that didn't involve any use within the United
   15· States, does it?
   16· · · ·A· ·No.
   17· · · ·Q· ·So these Gaucho Knives are fixed blades, they'd
   18· be considerably different from a modern folding knife;
   19· correct?
   20· · · ·A· ·Correct.
   21· · · ·Q· ·And they'd also be considerably different from
   22· any modern switchblade; is that correct?
   23· · · ·A· ·Any modern switchblade?· Correct.
   24· · · ·Q· ·You state in your report that your circle of
   25· weapons research has been praised by various scholars.


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   ·1· Would be that be referring to your research on the impact
   ·2· weapons and these unusual weapons?
   ·3· · · ·A· ·Yes.
   ·4· · · ·Q· ·So you're not referring to any specific research
   ·5· regarding knives specifically, are you?
   ·6· · · ·A· ·I am not.
   ·7· · · ·Q· ·And you haven't published any kind of book
   ·8· regarding knives; correct?
   ·9· · · ·A· ·I have not.
   10· · · ·Q· ·You haven't published any research regarding
   11· switchblades specifically; correct?
   12· · · ·A· ·Published?· No.
   13· · · ·Q· ·Do you have any publications regarding use of
   14· force or self-defense?
   15· · · ·A· ·No.
   16· · · ·Q· ·Let's pull up here -- and bear with me for one
   17· second.
   18· · · · · ·MS. REILLEY: Counsel, if you don't mind, before
   19· we get that exhibit up, mind if we take a quick
   20· five-minute break?
   21· · · · · ·MR. DILLON:· I mean, sure. I can do five minutes.
   22· · · · · ·MS. REILLY:· Thank you, appreciate it.
   23· · · · · ·(Recess)
   24· · · · · ·BY MR. DILLON:
   25· · · ·Q· ·Mr. Escobar, in your report you state that you've


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   ·1· conducted extensive research on -- and I'm
   ·2· paraphrasing here -- but saps, blackjacks, slung shots,
   ·3· nunchaku, billies and small-edged weapons, which consist
   ·4· of ice picks and prison shanks or shivs; is that correct?
   ·5· · · ·A· ·I believe, we could pull the verbiage, if you'd
   ·6· like, I believe I didn't limit my statement by
   ·7· experimenting the small weapons to the just shanks and
   ·8· shivs. I think I mention those as examples.
   ·9· · · ·Q· ·Okay. So down there, it's under item 6 in
   10· paragraph six:· "Small edged weapons, (both professionally
   11· and improvised), such as ice picks and prison shanks or
   12· shivs."· Correct?
   13· · · ·A· ·Correct. So shanks and shivs are in the
   14· improvised bucket as opposed to the professional-made
   15· bucket, which are knives.
   16· · · ·Q· ·Okay. And that's the research on the straight
   17· razor?
   18· · · ·A· ·As well as other knife types as well and other
   19· bladed weapons types.
   20· · · · · ·It's not in my writings, but I've been
   21· researching researching experiment weapons for the course
   22· of 25 years I've been interested in the subject.
   23· · · · · ·So I've presented, for instance, at forensic
   24· science conferences, I've conducted tests with, like I
   25· said, knives, including classic Italian stiletto styles --


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   ·1· · · · · ·(Court Reporter speaks; ask for clarification).
   ·2· · · · · ·THE WITNESS: I almost said it's my third
   ·3· deposition and ruined my whole career -- (indecipherable)
   ·4· I haven't changed yet, let me slow down.
   ·5· · · · · ·I conducted experiments with all kinds of
   ·6· non-firearm weapons, including knives; for instance,
   ·7· testing an Italian Stiletto-style switch blade in impact
   ·8· and stabbing tests that I design and conduct on my own.
   ·9· · · · · ·BY MR. DILLON:
   10· · · ·Q· ·Okay. But you didn't reference any of those tests
   11· in your report, did you?
   12· · · ·A· ·No. What I -- apparently what I was trying to
   13· describe again, that I have experimented with weapons,
   14· hands on experimentation, you know, in addition to the
   15· academic writing.
   16· · · ·Q· ·Okay. And your hands-on experimentation, is there
   17· any type of video or report that you wrote regarding those
   18· specific tests?
   19· · · ·A· ·No, this is for my own knowledge to be used later
   20· in potential future writing projects, and just as a
   21· curious martial artist specialist, and as a weapons
   22· historian, I guess I would describe it as that.
   23· · · ·Q· ·So you have nothing that you can refer back to
   24· when referencing --
   25· · · · · ·MS. UYEHARA:· Objection; vague.


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   ·1· · · · · ·BY MR. DILLON:
   ·2· · · ·Q· ·You mentioned earlier you conducted various tests
   ·3· on different styles of knives; correct?
   ·4· · · ·A· ·Yes.
   ·5· · · ·Q· ·And you have no written report on any of these
   ·6· tests?
   ·7· · · ·A· ·No, that'S just various kinds. This has been a
   ·8· lifetime, how well does knives slice through cardboard,
   ·9· tests like that.
   10· · · ·Q· ·As I sit here today I couldn't find anything
   11· online --
   12· · · ·A· ·No.
   13· · · ·Q· ·-- that would show your testing that you
   14· completed; correct?
   15· · · ·A· ·I want to be careful. I would say no, I don't
   16· think anything with a knife would be in any video I have
   17· published.
   18· · · ·Q· ·Okay. And that would be on your YouTube channel;
   19· is that correct?
   20· · · ·A· ·Yes, and I have over 500 videos. I'm trying to be
   21· careful. I do not believe, for instance, I have a bladed
   22· cutting experiment on there right now. It's the latest
   23· one, but it is not a knife; it's a sickle.
   24· · · · · ·So no, a lot of antique knives, a lot of knife --
   25· yeah, showing the knife itself. No hands-on videos testing


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   ·1· knives.
   ·2· · · ·Q· ·Okay. No publications or writings regarding knife
   ·3· design; is that correct?
   ·4· · · ·A· ·Correct.
   ·5· · · ·Q· ·And no publications or writings that would
   ·6· discuss the knife manufacturing; correct?
   ·7· · · ·A· ·Also correct.
   ·8· · · ·Q· ·No publications regarding switchblades in
   ·9· particular; correct?
   10· · · ·A· ·Correct.
   11· · · ·Q· ·You have no formal training or education in knife
   12· design; is that correct?
   13· · · ·A· ·In knife design, correct.
   14· · · ·Q· ·And no formal training or education in knife
   15· manufacturing; is that correct?
   16· · · ·A· ·Manufacturing, also correct.
   17· · · ·Q· ·You have no professional experience in the
   18· manufacturer of knives; correct?
   19· · · ·A· ·I do not.
   20· · · ·Q· ·You have no professional experience in design of
   21· knives; correct?
   22· · · ·A· ·Also correct.
   23· · · ·Q· ·And no professional experience in teaching
   24· self-defense; correct?
   25· · · ·A· ·As I stated earlier, I have acted as an assistant


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   ·1· instructor officially; I would not say professionally, no,
   ·2· because I was not head instructor. I've never run my own
   ·3· program or dojo.
   ·4· · · ·Q· ·And you have no professional experience in the
   ·5· use of -- sorry -- in teaching the use of force
   ·6· techniques?
   ·7· · · ·A· ·No.
   ·8· · · ·Q· ·Have you been trained in the use of switchblades
   ·9· before?
   10· · · ·A· ·Trained in the use of a switchblade specifically,
   11· no. Trained in the use of knives, but I would not say
   12· switchblades.
   13· · · ·Q· ·Have you every testified as an expert witness on
   14· knives in any other legal proceeding?
   15· · · ·A· ·No.
   16· · · ·Q· ·Okay. So I'm going to reference your report here.
   17· · · · · ·Bear with me one second.
   18· · · · · ·In paragraph 15 of your report you mention the
   19· term or the knife Navaja, N-A-V-A-J-A; is that correct?
   20· · · ·A· ·Correct.
   21· · · ·Q· ·And what is a Navaja?
   22· · · ·A· ·In Spanish it's currently kind of an umbrella
   23· term for a certain type of knives. Historically it's
   24· specifically is the kind of knife I describe in the
   25· declaration as a folding -- manually folding, hand-locking


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   ·1· knife.
   ·2· · · ·Q· ·Okay. So is a Navaja similar to a switchblade?
   ·3· · · ·A· ·It is -- and I thought a through line, as an
   ·4· historian, I would describe a Navaja as certainly the
   ·5· world's first famous combat folder, a folding knife that's
   ·6· famously used, you know, in martial arts, not just a
   ·7· utilitarian folding knife. So -- yeah, go ahead.
   ·8· · · ·Q· ·All right.
   ·9· · · · · ·And these were primarily used in South America or
   10· Latin America?
   11· · · ·A· ·In Spain. Spain's really -- it spread from there
   12· to European countries as well as the Americas.
   13· · · ·Q· ·Okay. So in your report you mention that there
   14· are three main problems associated with switchblades.
   15· · · · · ·Can you recall that?
   16· · · ·A· ·Yes. Well, can we look at the verbiage?· I don't
   17· want to misspeak. It is my writing.
   18· · · ·Q· ·So right near paragraph 20, you have a section
   19· to -- it says:· Dangers in using automatic knife for
   20· self-defense; correct?
   21· · · ·A· ·Correct.
   22· · · ·Q· ·And in paragraph 20 you describe the automatic
   23· knife as -- or you compare it to that of a -- sorry --
   24· strike all that.
   25· · · · · ·In paragraph 20 you compare a switchblade or


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   ·1· automatic knife to a fixed-blade knife and you state that
   ·2· that comparison is like comparing a revolver to an AR15;
   ·3· is that correct?
   ·4· · · ·A· ·Correct.
   ·5· · · ·Q· ·Do you have any experience with firearms?
   ·6· · · ·A· ·In that I'm a firearm owner, only in that sense.
   ·7· · · ·Q· ·Do you have any professional certifications or
   ·8· qualifications for firearms?
   ·9· · · ·A· ·I do not.
   10· · · ·Q· ·No experience with fire manufacturing?
   11· · · ·A· ·None.
   12· · · ·Q· ·No experience with fire gunsmithing?
   13· · · ·A· ·Gunsmithing?· No.
   14· · · ·Q· ·Can you provide me with an explanation of that
   15· comparison?
   16· · · ·A· ·Yes.
   17· · · · · ·MS. UYEHARA:· Objection; vague.
   18· · · · · ·BY MR. DILLON:
   19· · · ·Q· ·So going back to your comparison between an
   20· automatic knife and a fixed-blade equivalent to comparing
   21· a revolver to an AR-15, can you give me more detail
   22· regarding that comment?
   23· · · ·A· ·Yes. I thought a comparison was useful in the
   24· sense that revolvers are pretty famous in firearm circles
   25· for being legendary for their reliability, an older


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   ·1· design, very simple one, that, as the saying goes, there
   ·2· is nothing more reliable than a real gun.
   ·3· · · · · ·A fixed-blade knife, to me, is kind of the
   ·4· equivalent. It's the original and it's the most dependable
   ·5· because physically it's just one solid object,
   ·6· essentially.
   ·7· · · · · ·Then you move on to more complicated versions of
   ·8· both those weapons, firearms and knives, into ones that
   ·9· have multiple moving parts that work in unison, et cetera,
   10· so I thought a machine gun, if you will, or an assault
   11· rifle like an AR-15, in comparison to a revolver, that A
   12· to B, would be similar to a fixed-blade to today's modern
   13· automatic knives.
   14· · · · · ·If they have an automatic functionality to the
   15· very small moving parts, they do things for you.
   16· · · ·Q· ·Okay. So am I right in saying that it's your
   17· opinion that the automatic knife is equivalent to an AR-15
   18· when it comes to the component parts?
   19· · · ·A· ·No, definitely not.
   20· · · · · ·(Court Reporter asks for clarification)
   21· · · · · ·MS. UYEHARA:· Objection for vagueness.
   22· · · · · ·BY MR. DILLON:
   23· · · ·Q· ·I'll just move onto the question here.
   24· · · · · ·So what -- in your opinion, what is the
   25· difference between a manual folding knife and a


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   ·1· switchblade knife?
   ·2· · · ·A· ·The switchblade in the sense of automatic knives
   ·3· as listed in (inaudible) statutes, a manually folded -- as
   ·4· described in the declaration -- you can feel it lock into
   ·5· place. You, the operator, actually pushes it into place
   ·6· and you get tactile confirmation that it has locked, so a
   ·7· human is doing all of that.
   ·8· · · · · ·With an automatic knife, you trigger the
   ·9· mechanisms and then the knife does that work on its own.
   10· Thus the term "automatic."
   11· · · ·Q· ·So internally I'm talking about the component
   12· part between a manual folding knife and an automatically
   13· opening folding knife.
   14· · · · · ·What are the differences in components?
   15· · · ·A· ·A manually folding knife will not have any
   16· components to propel the blade into an open and locked
   17· position because you will do that yourself with your hand.
   18· · · ·Q· ·Okay. So am I correct in saying that an
   19· automatically opening and folding knife has a spring of
   20· some type that will open up the blade of the knife?
   21· · · ·A· ·Yes.
   22· · · ·Q· ·And a manual folding knife doesn't have the same
   23· spring that would automatically open the knife?
   24· · · ·A· ·Correct, also it would be an automatic knife, in
   25· my opinion, and not a manual.


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   ·1· · · ·Q· ·So, in your opinion, adding that spring mechanism
   ·2· to a folding knife is the equivalent of going from a
   ·3· revolver to an AR-15?
   ·4· · · ·A· ·No, I.
   ·5· · · · · ·(Overlapping speakers; indecipherable)
   ·6· · · · · ·MS. UYEHARA:· Objection for ambiguous.
   ·7· · · · · ·BY MR. DILLON:
   ·8· · · ·Q· ·Go ahead and answer the question.
   ·9· · · ·A· ·I would say -- I would not agree with you in your
   10· characterization.
   11· · · · · ·Certainly what I would say is the spring is
   12· component that have to work in unison, and that sequential
   13· change in engineering makes me think of the comparison
   14· that I put in the declaration.
   15· · · · · ·So it's definitely a little more than just one
   16· part; right?· A spring is not going to act on its own
   17· unless it is triggered.
   18· · · · · ·Then once triggered the blade has to unfold on
   19· its own as designed and then locks into place --
   20· · · · · ·(Court Reporter asks for clarification).
   21· · · ·A· ·So it's definitely more than just a spring, is
   22· what I'm saying.
   23· · · · · ·(Court Reporter speaks; off the record)
   24· · · · · ·(Plaintiff's 4 marked)
   25· · · ·Q· ·So I'm going to share something here. I believe


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   ·1· this to be Plaintiff's Exhibit 4. I'll introduce this as a
   ·2· picture of two variations of a bench-made Damascus Axis
   ·3· knife.
   ·4· · · · · ·Do you see that?
   ·5· · · ·A· ·I do.
   ·6· · · ·Q· ·Okay. In this picture, the top knife here is
   ·7· depicted as the manual opening knife, and the knife
   ·8· variation on the bottom is depicted as the automatically
   ·9· opening knife.
   10· · · · · ·Do you see that?
   11· · · ·A· ·I do.
   12· · · ·Q· ·Okay. And in your opinion the difference between
   13· these knives is similar to the difference between a
   14· revolver and an AR-15?
   15· · · · · ·MS. UYEHARA:· Objection; calls for speculation.
   16· · · · · ·BY MR. DILLON:
   17· · · ·Q· ·You can go ahead and answer the question.
   18· · · ·A· ·Could you repeat the question?
   19· · · ·Q· ·So looking at these knives right here, you have
   20· two knives. Do you believe that these knives are
   21· identical?
   22· · · · · ·MS. UYEHARA:· Objection; vague.
   23· · · · · ·BY MR. DILLON:
   24· · · ·Q· ·Do you see Plaintiff's Exhibit 4 up on the
   25· screen?


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   ·1· · · ·A· ·Yes.
   ·2· · · ·Q· ·And do these two models of knives appear
   ·3· identical?
   ·4· · · ·A· ·Identical?· No.
   ·5· · · ·Q· ·And what do you see as the difference between the
   ·6· knives?
   ·7· · · ·A· ·I see a foam stud on the top most knife, the
   ·8· manual.
   ·9· · · ·Q· ·Is that the only difference you see between the
   10· knives?
   11· · · ·A· ·Reviewing -- there's also a component just to the
   12· right of the base of the blade, a circle, a dark circle
   13· that exists close to the logo on the base of the blade, on
   14· the manual knife that is not present on the bottom
   15· automatic knife.
   16· · · ·Q· ·Can I actually have just two minutes to organize
   17· some notes here?· Can we go off the record?
   18· · · · · ·(Off the record)
   19· · · · · ·MR. DILLON:· Back on the record. Thank you.
   20· · · ·Q· ·Mr. Escobar, I'm going to direct you to
   21· Plaintiff's Exhibit 3, your report that you submitted in
   22· this case.
   23· · · ·A· ·Umm-umm.
   24· · · ·Q· ·In paragraph 13, you state -- or sorry --
   25· paragraph 14 you state that your research of the history


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   ·1· of bladed weapons for this report shows a clear preference
   ·2· by criminals for edged weapons that are culturally
   ·3· understood to be inherently frightening, including
   ·4· switchblades and their historical precursor.
   ·5· · · · · ·Is that correct?
   ·6· · · ·A· ·Yes.
   ·7· · · ·Q· ·And what's the basis of your claim there's a
   ·8· clear preference of criminals to select switchblades?
   ·9· · · ·A· ·This is the through line with the two historical
   10· precedents that I mentioned, the Navajas in Spain.
   11· · · · · ·There's clear -- there's a clear history
   12· throughout western civilization, the Americas and United
   13· States included, to restrict weapons that are seen to
   14· appeal to criminals because they are often to the nature.
   15· · · · · ·A stiletto, for instance, the precursor to the
   16· stiletto switchblade, was infamous and banned under many
   17· kingdoms for that reason. That's the same reason, in my
   18· opinion, that's the same reason many state statutes to
   19· this day will have verbiage about stilettos.
   20· · · · · ·Nefarious knives, nefarious in the minds of the
   21· people who being stricken at the time, being banned.
   22· · · · · ·So the Navaja and the folding razors, the
   23· cut-throat razors, these were both items that were -- this
   24· is a matter of historical record. I don't think it's
   25· under, you know, dispute that they were embraced eagerly


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   ·1· by criminals and were understood in their culture and time
   ·2· to be nefarious tools; hence, the quote/unquote, the Razor
   ·3· Gangs of Australia, and the term, "razor gangs" showing up
   ·4· innumerable times in newspaper stories from the late 19 --
   ·5· early 20th century, and as I indicate with some cited
   ·6· sources in the declaration, the Navaja was well known as a
   ·7· weapon preferred by criminals because the Tim days factor
   ·8· it implied. So I agree.
   ·9· · · · · ·I feel that pattern repeats itself in 20th
   10· century America with the switchblade. There had been
   11· folding knives prior to the introduction of the classic
   12· Italian style stiletto switchblade, but it was the
   13· introduction of that weapon which -- and yeah, movies by
   14· James Dean, seeing Marlon Brando, you know, fighting off a
   15· biker wielding a switchblade, seeing a student pull a
   16· switchblade on his teacher in The Blackboard Jungle.
   17· · · · · ·I think popular culture jumped on the switchblade
   18· as a cool, dangerous-seeming weapon, and that caused the
   19· cultural feedback that I described in my declaration where
   20· criminals, people who want to be intimidating, not just
   21· defend themselves in an honest way, are, from my decades
   22· of research, attracted to weapons that they see as
   23· intimidating and menacing, and I believe the switchblade
   24· fits into that category, that tradition.
   25· · · ·Q· ·Okay. You mentioned that a number, I think,


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   ·1· movies or plays just a second ago; is that correct?
   ·2· · · ·A· ·Those were all films, very famous films.
   ·3· · · ·Q· ·And your statement was saying that these films
   ·4· depicted knives, like switchblades, in a criminal fashion;
   ·5· is that correct?
   ·6· · · ·A· ·Yes.
   ·7· · · ·Q· ·Okay.
   ·8· · · ·A· ·I believe that's an American cinema tradition;
   ·9· innumerable instances of that.
   10· · · ·Q· ·What is the basis for the claim that criminals
   11· actually used switchblades?
   12· · · ·A· ·Well, for one thing, I would say crimes committed
   13· by criminals with switchblades.
   14· · · · · ·For instance, in the rebuttal to my
   15· declaration -- I apologize, I do not how to pronounce his
   16· name, but Mr. Janusch (ph), spoke about not being aware of
   17· one incident with a switchblade being used in a crime to
   18· that effect. In my research, over the years, I've come
   19· across many, many, including recent years.
   20· · · · · ·So I guess my answer to your question would be
   21· crimes committed by criminals with switchblades.
   22· · · ·Q· ·And as a part of your report did you offer any
   23· police reports or studies or any publications of any kind
   24· that depicted criminal use of switchblades?
   25· · · ·A· ·Only submitted what is in my report. I believe


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   ·1· anybody with an Internet connection and two minutes to
   ·2· spare can find -- I know this for a fact -- can find many
   ·3· certified switchblade crimes based on court reports,
   ·4· police testimony, things like that.
   ·5· · · ·Q· ·And that's with a two-minute search?
   ·6· · · ·A· ·Okay.
   ·7· · · ·Q· ·And you didn't conduct this two-minute search,
   ·8· did you?
   ·9· · · ·A· ·I searched, I did, and I've been doing this for
   10· years. So as soon as I saw that comment, it didn't strike
   11· true to me because I know I've run into stories and I have
   12· recreated my test.
   13· · · · · ·If somebody Googles switchblade assaults or
   14· convicted of assault with a switchblade, they will, within
   15· just a few minutes -- find various stories. It takes work
   16· to make sure the knife isn't being misidentified; right?
   17· · · · · ·But yeah, very quickly I believe anybody can test
   18· the veracity of my statement.
   19· · · ·Q· ·But you didn't include any of these reports or
   20· news stories in your report?
   21· · · ·A· ·No, the only source cited in my report are the
   22· ones that are present.
   23· · · ·Q· ·Okay. You mentioned the Australian gang usage of
   24· the straight razor.
   25· · · · · ·What is a straight razor?


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   ·1· · · ·A· ·This is the old fashioned folding razor that was
   ·2· replaced by today's common safety razor.
   ·3· · · ·Q· ·Okay. So a straight razor is not a switchblade;
   ·4· correct?
   ·5· · · ·A· ·Correct.
   ·6· · · ·Q· ·And it would be a manually opening, folding
   ·7· knife?
   ·8· · · ·A· ·Yes.
   ·9· · · ·Q· ·And your reference to the gang usage associated
   10· with the gang usage, that was in Australia; correct?
   11· · · ·A· ·It is most -- that is correct.
   12· · · · · ·Where I refer to it, that is where its use -- its
   13· criminal use was most famous, but it was also famous used
   14· in Scotland, England and other countries, by gangs.
   15· · · ·Q· ·In reference to any criminal use of straight
   16· razors in the United States; correct?
   17· · · ·A· ·Correct.
   18· · · ·Q· ·So in paragraph 17 of your report you reference a
   19· man named Ray Floro, the creator of Floro Fighting System.
   20· · · · · ·Do you recall that?
   21· · · ·A· ·I do.
   22· · · ·Q· ·And in that paragraph you refer to a video that
   23· you claim is dedicated to switchblades; is that correct?
   24· · · ·A· ·Correct. Mr. Janusch correctly found an error
   25· there. I used the wrong noun, a switchblade. This is in


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   ·1· the razor section of my declaration, and Mr. Floro's video
   ·2· is dedicated to razors. I used the noun "switchblade"
   ·3· instead of a razor, and that was my mistake.
   ·4· · · ·Q· ·Okay. So this video has nothing to do with
   ·5· switchblades; correct?
   ·6· · · ·A· ·No, it has to do with razors, which is why it is
   ·7· in the razor section of my declaration, correct.
   ·8· · · ·Q· ·And his description of the knives being brutal as
   ·9· to last would apply to straight razors?
   10· · · ·A· ·Straight razor blades, correct.
   11· · · ·Q· ·And again, you didn't attach that video to your
   12· report in anyway, did you?
   13· · · ·A· ·I didn't -- I don't have all of my links
   14· memorized. If it's not there, then no, I did not, with the
   15· videos.
   16· · · ·Q· ·Okay. Bear with me one second here. Let's see
   17· here -- all right.
   18· · · · · ·I'm going in introduce Plaintiff's Exhibit 5;
   19· this is the video from Ray Floro's YouTube channel.
   20· · · · · ·Do you see that?
   21· · · ·A· ·I do.
   22· · · · · ·(Exhibit 5 marked)
   23· · · ·Q· ·Okay. It's titled:· Razor Fighting 1.MTS; is that
   24· correct?
   25· · · ·A· ·Yes.


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   ·1· · · ·Q· ·And I'll play this here, just a couple of
   ·2· seconds.
   ·3· · · · · ·(Video played)
   ·4· · · ·Q· ·Now, is that the video you're referencing in your
   ·5· report?
   ·6· · · ·A· ·It is.
   ·7· · · ·Q· ·Okay. So you're not claiming that modern
   ·8· switchblades are as brittle as glass, are you; correct?
   ·9· · · ·A· ·No, I'm not. My point is criminals in Australia
   10· embrace a tool which is a poor weapon because, in my
   11· opinion as an historian, it has su h a nefarious and
   12· intimidating reputation, so I agree with your statement.
   13· · · ·Q· ·And again, that occurred in Australia?
   14· · · ·A· ·Umm-umm, yes.
   15· · · ·Q· ·And straight razors are designed and manufactured
   16· for shaving; correct?
   17· · · ·A· ·Strictly for shaving, correct.
   18· · · ·Q· ·And have you ever studied or taken classes from
   19· Ray Floro?
   20· · · ·A· ·Only in his online courses.
   21· · · ·Q· ·You have no first hand experience in what he
   22· trains?
   23· · · ·A· ·How do you mean?
   24· · · ·Q· ·Have you ever met him in-person and studied under
   25· him?


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   ·1· · · ·A· ·No.
   ·2· · · ·Q· ·Okay. And again, on Page 16 or -- sorry -- Page
   ·3· 6, paragraph 19 of your report, you claim the Navaja and
   ·4· the straight razor were embraced by violent criminals;
   ·5· correct?
   ·6· · · ·A· ·Correct.
   ·7· · · ·Q· ·And you also claim that the switchblades would
   ·8· fall under this category?
   ·9· · · ·A· ·I believe they fall into that tradition, yes.
   10· · · ·Q· ·But again, you attached no reports, police
   11· reports, anything like that, that would support that;
   12· correct?
   13· · · ·A· ·No police reports related to a crime with a
   14· switchblade, yeah.
   15· · · ·Q· ·And both the Navaja and the straight razor
   16· they're folding blades; right?
   17· · · ·A· ·Yes.
   18· · · ·Q· ·And, to your knowledge, are either the Navaja or
   19· the straight razor legal in California?
   20· · · ·A· ·I do not know.
   21· · · ·Q· ·Okay. In paragraph 20 of your report you state
   22· that:· "All knives can be classified into three
   23· categories:· One, fixed-blade; two, folding, and three,
   24· out to the front or OTF."
   25· · · · · ·Is that correct?


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   ·1· · · ·A· ·Yes. I'm not aware of a category that wouldn't
   ·2· fit into one of those three umbrellas.
   ·3· · · ·Q· ·Okay. But as there -- so that would mean there
   ·4· are fixed-blade folding knives and out in the front
   ·5· knives; right?
   ·6· · · ·A· ·Yes.
   ·7· · · ·Q· ·And automatically opening knives would fall into
   ·8· the category of folding knives?
   ·9· · · ·A· ·They would fall into categories two and three,
   10· depending on the design.
   11· · · ·Q· ·So categories two and three, mean folding knives
   12· or up front knives; correct?
   13· · · ·A· ·Correct.
   14· · · ·Q· ·So of the three categories, automatic knives fall
   15· under two of the main categories of knives?
   16· · · ·A· ·Yes.
   17· · · ·Q· ·And so by your classification, automatic knives
   18· are either folding knives or out front knives?
   19· · · ·A· ·As I said a moment ago, to the best of my
   20· knowledge, yes, they could be described as either of those
   21· two. The blade unfolds in the typical manner that I think
   22· we're all aware of, or it comes out of the front.
   23· · · ·Q· ·Okay. You, in paragraph 21 of your report, you
   24· state that:
   25· · · · · ·"A fixed-blade knife is one solid object that


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   ·1· requires no preparatory action be taken whilst in the hand
   ·2· in order to be ready for combat."
   ·3· · · · · ·Is that correct?
   ·4· · · ·A· ·Correct.
   ·5· · · ·Q· ·But in order to deploy any type of fixed-blade
   ·6· knife you'd still need to place your hand on the knife and
   ·7· remove it from a sheath; is that correct?
   ·8· · · ·A· ·Yes.
   ·9· · · ·Q· ·And in paragraph 21 you also state that both
   10· folding knives and out the front knives contain their
   11· blade inside the handle; is that correct?
   12· · · ·A· ·Yes.
   13· · · ·Q· ·And there are -- there are multiple mechanical
   14· parts in a manual folding knife; is that correct?
   15· · · · · ·MS. UYEHARA: Objection; ambiguity.
   16· · · · · ·BY MR. DILLON:
   17· · · ·Q· ·You can go ahead and answer the question.
   18· · · ·A· ·Could you repeat it?
   19· · · ·Q· ·folding -- manual folding knives have multiple
   20· mechanical parts; is that correct?
   21· · · ·A· ·I would say mechanical, but not automatic.
   22· · · ·Q· ·Okay. So they have multiple mechanical parts;
   23· correct?
   24· · · ·A· ·Yes.
   25· · · ·Q· ·And there are multiple mechanical parts in and


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   ·1· out the front knife; correct?
   ·2· · · ·A· ·Yes.
   ·3· · · ·Q· ·Do you know what a spring-assisted knife is?
   ·4· · · ·A· ·I do.
   ·5· · · ·Q· ·Can you tell me what that is?
   ·6· · · ·A· ·In my estimate that is the most commonly
   ·7· unassisted flipper, so the user is going to be operating
   ·8· the knife in the beginning opening mechanism, the way they
   ·9· would with a manual folder, then the knife, as it implies,
   10· assists, it essentially takes over, you know, what is
   11· initiated manually is taken over automatically.
   12· · · ·Q· ·Okay. So all folding knives, and out the front
   13· knives, would have multiple mechanical parts; correct?
   14· · · ·A· ·All folding knives, I would -- what is that
   15· again, please?
   16· · · ·Q· ·All folding knives would have multiple mechanical
   17· parts?
   18· · · ·A· ·It varies by number, but yes.
   19· · · ·Q· ·And all the out front knives would have multiple
   20· mechanical parts?
   21· · · ·A· ·Right.
   22· · · ·Q· ·And all assisted opening knives would have
   23· multiple mechanical parts?
   24· · · ·A· ·All assisted opening knives -- yes.
   25· · · ·Q· ·So having multiple mechanical parts in a knife is


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   ·1· not unique to switchblades; correct?
   ·2· · · ·A· ·No, having, as I understand, switchblades and
   ·3· automatic knives, having automatically functioning parts
   ·4· does, but having mechanical parts, no.
   ·5· · · ·Q· ·All right.
   ·6· · · · · ·In paragraph 22 of your report, you reference the
   ·7· Contemporary Fighting Arts website; is that correct?
   ·8· · · ·A· ·I do.
   ·9· · · ·Q· ·Who wrote the article that you reference in that
   10· paragraph?
   11· · · ·A· ·I have that cited in my -- but I did not have the
   12· name memorized.
   13· · · ·Q· ·Okay. Is that -- you cite in a footnote in the
   14· link to "Knife Fighting, ContemporaryFightArts.com"?
   15· · · ·A· ·Yes.
   16· · · ·Q· ·Have you attended any training from that
   17· individual that wrote that article?
   18· · · ·A· ·No.
   19· · · ·Q· ·Do you know any of his credentials?
   20· · · ·A· ·I do not.
   21· · · ·Q· ·And this was an opinion piece that he wrote?
   22· · · ·A· ·Umm, yes.
   23· · · ·Q· ·And in that article it states that both an
   24· internal spring can malfunction in a time of need; is that
   25· correct?


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   ·1· · · ·A· ·It states that, yes.
   ·2· · · ·Q· ·And are you adopting his statement as your own in
   ·3· your report?
   ·4· · · ·A· ·I would not agree with your statement. I would
   ·5· say I found that in corroboration of my expert opinion in
   ·6· a pro-knife source. I talk it repeatedly in the
   ·7· declaration, you know, small mechanical parts can fail.
   ·8· Some -- well, anyway, that's how I used it.
   ·9· · · ·Q· ·Okay. So you agree with his statement?
   10· · · ·A· ·I do.
   11· · · ·Q· ·And do you have any firsthand experience with
   12· internal spring malfunction in a time of need?
   13· · · ·A· ·In a time of need, no, I had never had to take
   14· out a knife -- I can't say that, no.
   15· · · ·Q· ·Okay. And have you conducted any tests or studies
   16· on the issue of an internal spring malfunction on an
   17· automatically opening knife?
   18· · · ·A· ·I have had an automatically open knife fail,
   19· not -- to be clear -- in a time of need, but I've had a
   20· knife have needed to be repaired.
   21· · · ·Q· ·Is that unique to switchblades?
   22· · · ·A· ·I would say whether or not it's unique to
   23· switchblades, it happened with this automatic knife I'm
   24· talking about, and I guess I'll stop there answering.
   25· · · ·Q· ·Have you had any other knives that are not


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   ·1· switchblades that have any type of failure?
   ·2· · · ·A· ·Operational failure?· I want to really make sure
   ·3· -- that I can say honestly I've never had a manual knife
   ·4· that needed repair. No, I've never taken a manual knife to
   ·5· get repaired.
   ·6· · · ·Q· ·How about --
   ·7· · · · · ·(Court Reporter asks for clarification)
   ·8· · · ·Q· ·How about -- I said how about a fixed-blade
   ·9· knife?· Have you ever had any type of malfunction or need
   10· a repair?
   11· · · ·A· ·I'm thinking very seriously, over the past 25
   12· years, have I ever taken a fixed-blade knife to get
   13· repaired or has it just broken or what not -- no, no.
   14· · · ·Q· ·But you are aware that fixed-blade knives can
   15· break; correct?
   16· · · ·A· ·Correct.
   17· · · ·Q· ·You're aware that manually opening folding knives
   18· can also break; correct?
   19· · · ·A· ·Correct.
   20· · · ·Q· ·Okay. Going back to the Contemporary Fighting
   21· Arts article, it also states:
   22· · · · · ·"Structural integrity of the knife is usually
   23· followed and won't hold up in knife combat."
   24· · · · · ·Do you recall that?
   25· · · ·A· ·I do.


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   ·1· · · ·Q· ·Again, what's the basis for that claim?
   ·2· · · ·A· ·Well, this was an opinion piece, as you stated,
   ·3· and I found it corroboration to a string of thoughts
   ·4· within the martial arts and weapons circles -- not a
   ·5· consensus, but a school of thought that I describe in my
   ·6· declaration, that automatic knives -- and how would I say
   ·7· this -- if I went to Amazon.com, typed in automatic
   ·8· knives, I would warrant a low price point would show up
   ·9· for most of the knives presented.
   10· · · · · ·Like that writer, I agree there's a lot of
   11· cheaply made automatic knives out there. Not all of them
   12· by any stretch, but there's a lot of them out there.
   13· · · ·Q· ·So there are a lot of cheaply made manually
   14· opening folding knives?
   15· · · ·A· ·There are.
   16· · · ·Q· ·So you could go onto Amazon and also find a lot
   17· of cheaply made folding knives?
   18· · · ·A· ·Yes.
   19· · · ·Q· ·Could you also go on Amazon and find a lot of
   20· cheaply blade fixed-blade knives?
   21· · · ·A· ·I just want to make a distinction there.
   22· · · · · ·I would say yes to the fixed-blade knife. It is
   23· so simple in instructor. If it's a half decent quality
   24· piece of steel, it's not really an issue. It would have to
   25· be a horrifically poor in quality to fail, a fixed-blade


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   ·1· knife.
   ·2· · · ·Q· ·Okay. And going back to the reference on the
   ·3· structural integrity of the knife, have you ever conducted
   ·4· any tests or studies on the structural integrity of the
   ·5· switchblade?
   ·6· · · ·A· ·I have.
   ·7· · · ·Q· ·Okay. But you have no report or supporting
   ·8· evidence of any of kind on that?
   ·9· · · ·A· ·No, no, just over the years conducted strike
   10· tests with various kinds of knives, including
   11· switchblades, including a classic Italian style stiletto
   12· switchblade knife.
   13· · · ·Q· ·Okay. There is no way to verify any of the
   14· results that you test; right?
   15· · · ·A· ·No.
   16· · · · · ·MS. UYEHARA: Objection; vague.
   17· · · · · ·BY MR. DILLON:
   18· · · ·Q· ·And finally, in that same article, in
   19· Contemporary Fighting Arts it states that:
   20· · · · · ·"Hand grips are usually too thin and often
   21· slippery for real world combat situations."
   22· · · · · ·Do you recall that?
   23· · · ·A· ·I do.
   24· · · ·Q· ·Okay. Do you agree with that statement?
   25· · · ·A· ·I agree that there are a lot -- a lot of


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   ·1· automatic knives that tend to have those types of grips,
   ·2· yes.
   ·3· · · ·Q· ·Is this unique to just automatic knives?
   ·4· · · ·A· ·For some reason, again, I'm not an expert in
   ·5· knife manufacturer design, but as a consumer and someone
   ·6· who has seen and studied many of them, I found that
   ·7· statement inside the source to ring true immediately where
   ·8· I have also noticed I feel like a lot of times, automatic
   ·9· knives have these slick, thinner handles, instead of kind
   10· of a beefier handle, so maybe you can grab, you know --
   11· just meatier in the hand on fixed blades.
   12· · · · · ·There's a lot of kinds of knives out there.
   13· Obviously there's, you know, there are exceptions to every
   14· rule, that rang true to me that often -- and I'll just
   15· stick to my guns there -- often the automatic knives,
   16· especially of the lower price points, have the kinds of
   17· handles that the writer is referring to.
   18· · · ·Q· ·Okay. And when you're talking about the thinness
   19· of the handle, are you comparing it to a fixed-blade knife
   20· handle?
   21· · · ·A· ·Yes. Of course there's many different kinds of
   22· fixed-blade knives, but yes, I would agree to that.
   23· · · ·Q· ·Okay. So do manually-opening knives come with
   24· thin handles?
   25· · · ·A· ·They -- lower price-point models, also, yes.


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   ·1· · · ·Q· ·What about higher price point models?· Do they
   ·2· have thin grips or anything like that?
   ·3· · · ·A· ·There are some very high-priced knives, $400
   ·4· knives, that to me have handles that are not suitable for
   ·5· combat. I think looks sell weapons, so strong is think,
   ·6· it's not just functionality; right?· People like something
   ·7· that looks cool.
   ·8· · · · · ·I like collecting weapons. I've been collecting
   ·9· weapons for decades, so I don't know if it's an esthetic
   10· thing, but even some very expensive knives do not have
   11· what I would describe a robust, meaty handle, or that -- a
   12· a knife breaker's choice, pocket knives, (indecipherable)
   13· et cetera, these are convenience, ease of care, that could
   14· be a factor in design, but you do see it in more than just
   15· cheap knives, I would say, from my knowledge.
   16· · · · · ·Go ahead.
   17· · · ·Q· ·Okay. So the handles that you're describing, the
   18· automatic knives, they will be unofficial for being able
   19· to carry in the pocket; is that correct?
   20· · · ·A· ·To slip into a pocket, I would say, yeah.
   21· · · ·Q· ·And again, have you conducted any test or studies
   22· regarding the thinness or thickness of a handle in a
   23· combat situation?
   24· · · ·A· ·In a combat situation?· As -- yeah, as -- as a
   25· long time martial artist, I have a firm opinion that a


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   ·1· weapon needs to have a sizeable and robust handle that can
   ·2· be grasped firmly. I think combat knives in the military
   ·3· reinforce this.
   ·4· · · · · ·There's a lot of thin edge weapons on the market.
   ·5· There are, for instance, these items called tactical
   ·6· spikes, so these are basically just long nails. In my
   ·7· opinion, people buy them only because they look wicked and
   ·8· mean. They're very poorly suited for self-defense because
   ·9· again, it's almost like a long knife, it's a very thin
   10· object with no handle, just a nail-like shaft.
   11· · · · · ·I think there are plenty of poorly handled
   12· designed weapons out there, mainly knives included.
   13· · · ·Q· ·Okay. So have you ever done any type of
   14· questionnaire that would seek to identify reasons why
   15· someone would buy something like the spike you just
   16· identified?
   17· · · ·A· ·The questionnaire?· No.
   18· · · ·Q· ·I'm going to pull up your report again and I'm
   19· going to direct you to paragraph 23 of your report.
   20· · · · · ·Do you see that?
   21· · · ·A· ·I see it.
   22· · · ·Q· ·And in paragraph 23 you state that:
   23· · · · · ·"A switchblade is no exception involved a higher
   24· chance of mechanical failure than other weapons that are
   25· more commonly used for self-defense."


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   ·1· · · · · ·Correct?
   ·2· · · ·A· ·Correct.
   ·3· · · ·Q· ·And what is the basis for the claim you're
   ·4· making?
   ·5· · · ·A· ·You know, being a long term martial artist and
   ·6· weapon enthusiast, and weapon scholar, I feel I have a
   ·7· good sense -- I'm a member of many weapon enthusiast
   ·8· community groups and have been for a long time, so many,
   ·9· so I see what is popular one year, what is being
   10· purchased, you know, I carried -- I talk to people all the
   11· time about what they choose to carry. I would not say
   12· questionnaire, by the way.
   13· · · · · ·But so -- for my immersion in this world, that
   14· was -- I was basing that on. My knowledge from being
   15· interested in this subject and studying it for as many
   16· years as I have, that's what I was basing that on.
   17· · · ·Q· ·So you haven't conducted any type of testing on
   18· chance of mechanical failure of a modern switchblade, have
   19· you?
   20· · · ·A· ·No.
   21· · · ·Q· ·How about testing of just folding knives in
   22· general, when it comes to chances of mechanical failure?
   23· · · ·A· ·I can't think of what you would test for the
   24· chance of a mechanical failure, if that makes sense,
   25· because if anything, a knife -- any kind of machine


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   ·1· working properly, you can test it and great, it's working
   ·2· properly -- (indecipherable).
   ·3· · · · · ·(Court Reporter speaks; instructs witness to
   ·4· speak slower so that he can be understood)
   ·5· · · ·A· ·I'm sorry.
   ·6· · · · · ·I do not believe there was a way to test for how
   ·7· to say this -- I have never conducted a test to test for
   ·8· the chance of mechanical failure.
   ·9· · · · · ·BY MR. DILLON:
   10· · · ·Q· ·Okay. And you state in your report that this
   11· possibility of mechanical failure increases the danger of
   12· switchblades; is that correct?
   13· · · ·A· ·The danger of it failing in time of need,
   14· successfully.
   15· · · ·Q· ·You mentioned you're a gun owner earlier.
   16· · · · · ·So generally speaking, can guns suffer from
   17· mechanical failure?
   18· · · · · ·MS. UYEHARA: Objection; scope.
   19· · · · · ·MR. DILLON: You can answer the question.
   20· · · ·A· ·I'm not a firearm expert. I don't claim to be
   21· anywhere, so...
   22· · · ·Q· ·Have you ever heard of a gun having mechanical
   23· failure?
   24· · · ·A· ·Have I ever heard of a gun having mechanical
   25· failure?· I would say yes.


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   ·1· · · ·Q· ·How about like a stun gun?· Did they also suffer
   ·2· from mechanical failure?
   ·3· · · · · ·MS. UYEHARA: Objection; scope.
   ·4· · · · · ·BY MR. DILLON:
   ·5· · · ·Q· ·You can answer the question.
   ·6· · · ·A· ·I have never studied stun guns.
   ·7· · · ·Q· ·So you have no idea?
   ·8· · · ·A· ·Can you repeat the question?
   ·9· · · ·A· ·Stun guns, can they suffer from mechanical
   10· failures?
   11· · · ·A· ·Yes, I'm not aware of any incidents of that, but
   12· yes.
   13· · · ·Q· ·And based off of your knowledge of weapons in
   14· general, do you believe that pepper spray could suffer any
   15· type of mechanical failure?
   16· · · ·A· ·I believe that is highly unlikely. It's just some
   17· simple mechanism.
   18· · · · · ·In many instances pepper spray deployment, that
   19· I've read about, and I'm not aware of even one instance
   20· where it failed to operate successfully.
   21· · · ·Q· ·Okay. So any defensive weapon that has any type
   22· of moving part, it could suffer from mechanical failure?
   23· · · ·A· ·The more moving parts, the higher that risk, yes.
   24· · · ·Q· ·So with your general knowledge, being a fire
   25· owner, do firearms have more parts than an automatic


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   ·1· knife?
   ·2· · · · · ·MS. UYEHARA: Objection; vague and ambiguous.
   ·3· · · · · ·BY MR. DILLON:
   ·4· · · ·Q· ·What kind of gun do you own?
   ·5· · · ·A· ·Two 1963 Colt Cobra revolvers. I also have
   ·6· several antique firearms that are not in working
   ·7· condition.
   ·8· · · ·Q· ·Great guns.
   ·9· · · · · ·So those Colt Cobra revolvers would have more
   10· mechanical parts than a mechanical knife?
   11· · · · · ·MS. UYEHARA: Objection; vague.
   12· · · · · ·BY MR. DILLON:
   13· · · ·Q· ·Go ahead and answer the question.
   14· · · ·A· ·I have not done a comparison.
   15· · · · · ·My initial thought is that he would be comparable
   16· because you have a trigger, a triggering mechanism, you
   17· know, the same sequence of events has to take place in the
   18· chain to get that item to quote/unquote fire, so you pull
   19· on something that makes something else, you know, move,
   20· and your ammunition comes out, which is similar to the
   21· blade unfolding.
   22· · · · · ·I'm not a firearms expert; just a firearms owner.
   23· · · ·Q· ·Okay. So, to your knowledge, can a firearm suffer
   24· from ammunition failure?
   25· · · · · ·MS. UYEHARA: Objection.


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   ·1· · · · · ·BY MR. DILLON:
   ·2· · · ·Q· ·Go ahead.
   ·3· · · ·A· ·Could you describe what the ammunition failure
   ·4· would be?
   ·5· · · ·Q· ·A failure for the ammunition to ignite or fire
   ·6· when pulling the trigger on a firearm.
   ·7· · · ·A· ·So failure -- a defect within the ammunition
   ·8· itself. I would say that -- that is clearly impossible;
   ·9· modern ammunition is extremely reliable, and I think --
   10· I'm not aware of one instance from street crimes and
   11· shootings, et cetera, the ammunition failed.
   12· · · ·Q· ·Okay. So, in general, though, these items can
   13· have mechanical failures because they have moveable parts;
   14· correct?
   15· · · ·A· ·In general, yes.
   16· · · ·Q· ·Okay. But is it your professional opinion that
   17· firearms are too dangerous due to potential for mechanical
   18· failure?
   19· · · ·A· ·Dangerous to whom?
   20· · · ·Q· ·Dangerous in a self-defense situation.
   21· · · ·A· ·To whom in that self-defense situation?
   22· · · ·Q· ·To -- let's go with the user.
   23· · · ·A· ·Are firearms too dangerous for the user in a
   24· self-defense situation?
   25· · · ·Q· ·Are they too dangerous due to the possibility of


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   ·1· mechanical failure in a self-defense situation.
   ·2· · · ·A· ·No, I would not say that.
   ·3· · · ·Q· ·Okay. But you're saying that automatic knives are
   ·4· too dangerous in self-defense situation because of their
   ·5· possibility of mechanical failure?
   ·6· · · ·A· ·What I'm saying --
   ·7· · · · · ·MS. UYEHARA:· I'm sorry, objection; vague.
   ·8· · · · · ·Go ahead, Robert.
   ·9· · · ·A· ·What I'm saying -- and I think I point out in the
   10· declaration, I hope clearly, is that the opportunity for
   11· failure is higher with an automatic knife than other
   12· kinds.
   13· · · · · ·BY MR. DILLON:
   14· · · ·Q· ·Okay. And the mechanical failure, that's not
   15· unique to automatically opening knives; correct?
   16· · · ·A· ·Correct. It is just, in my opinion, higher.
   17· · · ·Q· ·I'm going to direct you to your report, once
   18· again, and specifically we'll be -- it will be within the
   19· subject area of paragraph 23 on Pages 7 and 8, but I'm
   20· going to be focusing on your Footnote 9, in which you list
   21· a number of YouTube links.
   22· · · · · ·Do you see that?
   23· · · ·A· ·I do.
   24· · · ·Q· ·You know, as part of that footnote, you say that
   25· the moving parts designed to work in unison can fail for a


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   ·1· variety reasons, including wear, misalignment, rust,
   ·2· breakage or shoddy construction.
   ·3· · · · · ·Correct?
   ·4· · · ·A· ·I do.
   ·5· · · ·Q· ·And you reference these YouTube videos to support
   ·6· that statement; is that correct?
   ·7· · · ·A· ·I do.
   ·8· · · · · ·(Exhibit 6 marked)
   ·9· · · ·Q· ·So I'm going to introduce Plaintiff's Exhibit 6.
   10· It's titled "Switchblade Knife Broken Spring in the
   11· Repair," and this would be the first link in your Footnote
   12· 9.
   13· · · · · ·Does this look familiar to you?
   14· · · ·A· ·It does.
   15· · · ·Q· ·Do you know how this knife was broken?
   16· · · ·A· ·I do not.
   17· · · ·Q· ·This is just an incident of a single knife being
   18· repaired in a series of pictures; is that correct?
   19· · · ·A· ·Due to a malfunctioning spring, yes.
   20· · · ·Q· ·Do you know the author of this video?
   21· · · ·A· ·No.
   22· · · ·Q· ·And do you think I could go online right now and
   23· find various videos of broken manual opening knives?
   24· · · ·A· ·I think it would be --
   25· · · · · ·MS. UYEHARA -- objection; calls for speculation.


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   ·1· · · · · ·Go ahead, Robert.
   ·2· · · ·A· ·I think -- I know it would be much easier to find
   ·3· videos about problems with automatic knives than with
   ·4· malfunctioning problems with manual knives.
   ·5· · · · · ·BY MR. DILLON:
   ·6· · · ·Q· ·I'm going to go to the second link in your
   ·7· Footnote 9. It's entitled: "How to fix your automatic
   ·8· knife switchblade with button hard to press."
   ·9· · · · · ·Do you see that?
   10· · · ·A· ·I do.
   11· · · ·Q· ·And is this video the link that you attached in
   12· Footnote 9?
   13· · · ·A· ·Yes.
   14· · · ·Q· ·I'm going to hit "play" on this and just listen
   15· for a few seconds.
   16· · · · · ·(Video played)
   17· · · ·Q· ·So in that video just then, the individual
   18· depicted in the video stated that as with all mechanical
   19· things they need to add lubricant to a switchblade knife;
   20· is that correct?
   21· · · ·A· ·Yes, he states that.
   22· · · ·Q· ·As he said, with any mechanical device requires
   23· lubricant at some point. Would you agree with that?
   24· · · ·A· ·Yes.
   25· · · ·Q· ·In fact, that would -- adding lubricant to any


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   ·1· moving or mechanical part would actually be beneficial to
   ·2· prevent wear; is that correct?
   ·3· · · ·A· ·Yes.
   ·4· · · ·Q· ·So this knife isn't actually broken; correct?
   ·5· · · ·A· ·Well, the video title indicates that the button
   ·6· is not functioning properly:· Switchblade with button hard
   ·7· to press.
   ·8· · · ·Q· ·And to fix that he added a single one drop of
   ·9· lubricant to the knife of the blade; correct?
   10· · · ·A· ·Umm-umm, yes.
   11· · · ·Q· ·And at that point the button was no longer hard
   12· to press; correct?
   13· · · ·A· ·Correct.
   14· · · ·Q· ·Let's see -- again, I'm going to share another, I
   15· believe this is Plaintiff's Exhibit 7. It's the third link
   16· in your Footnote 9. It's titled:· "Most common problems
   17· with OTF automatic knives...simple fix."
   18· · · · · ·(Exhibit 7 marked)
   19· · · · · ·Do you see see that?
   20· · · ·A· ·I do.
   21· · · ·Q· ·Okay. And are you familiar with this video?
   22· · · ·A· ·I am.
   23· · · ·Q· ·Okay. And in that video the subject in the video
   24· describes the knife as having a weak spring or a cheap
   25· knife; is that correct?


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   ·1· · · ·A· ·A weak spring, I recall, yes. I don't recall him
   ·2· describing it as cheap.
   ·3· · · ·Q· ·And he's showing a problem of the opening knife
   ·4· -- sorry -- on opening it out the front; right?· Against a
   ·5· surface; correct?
   ·6· · · ·A· ·On the paper, yes.
   ·7· · · ·Q· ·And coming into contact with a solid surface
   ·8· while opening would knock the blade off its track;
   ·9· correct?
   10· · · ·A· ·Correct.
   11· · · ·Q· ·And he describes this as a simple fix of just
   12· pulling on the blade until it clicks; correct?
   13· · · ·A· ·With your other hand, correct.
   14· · · ·Q· ·So this knife isn't actually broken; right?
   15· · · ·A· ·It, in my opinion, it breaks when he opens it
   16· into that piece of paper and it then is useless until
   17· repaired.
   18· · · ·Q· ·So in your opinion he's repairing the knife by
   19· putting it back on track?
   20· · · ·A· ·Absolutely, I would agree.
   21· · · ·Q· ·Okay. And in Footnote 9, the fourth, fifth, sixth
   22· and seventh and eighth links are all videos of a similar
   23· problem without the front knives; is that correct?
   24· · · ·A· ·I included in multiple videos about out the front
   25· knives. I wasn't saying I have the numbers memorized the


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   ·1· way you just recited, but I included multiple videos
   ·2· demonstrating this problem with OTF knives.
   ·3· · · ·Q· ·Under the subheading "user error" on Page 8 of
   ·4· your report, in paragraph 24 you state that:
   ·5· · · · · ·"User error makes a switchblade both sub-optimal,
   ·6· self-defense weapon for the average person."
   ·7· · · · · ·Do you recall that?
   ·8· · · ·A· ·I do.
   ·9· · · ·Q· ·And can you go over the individual steps that are
   10· required to just deploy a switchblade?
   11· · · ·A· ·Yes. Operating under the assumptions that the
   12· folding automatic knife is in the pocket, which, in my
   13· opinion, is where it's mostly going to be held; you have
   14· to reach in. The button's on the automatic knives, this is
   15· an objective fact, that anybody can see just by looking at
   16· pictures of automatic knives. The buttons are quite small
   17· and only present generally on one side of the knife.
   18· · · · · ·So the hand has to be inserted into the pocket
   19· and the handle has to be put in the correct position, so
   20· that the button is operable with the thumb, or with
   21· whichever digit the user is going to trigger it with. It
   22· then has to be brought out before pressing the button to
   23· avoid an accidental fire inside the pocket, which would
   24· stop it from coming out.
   25· · · · · ·Then once out, the button would, of course, have


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   ·1· to be depressed.
   ·2· · · · · ·But, as I described, an entire length-wise side
   ·3· of the automatic knife, on an unfolding automatic knife
   ·4· (indecipherable), has to be left exposed such that the
   ·5· user is not fully grasping the knife handle with any of
   ·6· the digits on that finger. That is so that the unfolding
   ·7· of that automatic blade can fire as designed, and then, in
   ·8· my opinion, as a martial artist, for an effective combat
   ·9· grip, that exposed side then needs to be grasped, so they
   10· have to -- they have to wrap their fingers around it,
   11· so -- it's in an actual knife fighting hold.
   12· · · ·Q· ·Okay. So you mentioned how the knife would need
   13· to be correctly oriented in the pocket to be able to
   14· deploy correctly; is that correct?
   15· · · ·A· ·Regardless of how it's oriented in the pocket,
   16· once the hand goes in and grasps it, the user would need
   17· to ensure that they're holding it in the proper position.
   18· · · ·Q· ·And that would be the case for any folding knife;
   19· correct?
   20· · · ·A· ·Yes.
   21· · · ·Q· ·You also state that at least one side of the
   22· knife would have to be exposed and not have your hand
   23· blocking it in order to open the switchblade; is that
   24· correct?
   25· · · ·A· ·To open any unfolding automatic knife, correct.


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   ·1· · · ·Q· ·And again, that would be the same for any
   ·2· unfolding pocket knife; correct?
   ·3· · · ·A· ·Yes.
   ·4· · · ·Q· ·So in deploying any type of weapon you'd have to
   ·5· go through a certain number of steps to actually have that
   ·6· weapon be of use; correct?
   ·7· · · ·A· ·Yes.
   ·8· · · ·Q· ·And that would be the case with unholstering the
   ·9· gun; correct?
   10· · · ·A· ·Yes.
   11· · · ·Q· ·Okay. So when you're unholstering a gun the
   12· individual first needs to correctly grab onto the handle
   13· of the gun; correct?
   14· · · · · ·MS. UYEHARA:· Objection; scope.
   15· · · · · ·MR. DILLON:· Go ahead and answer.
   16· · · · · ·MS. UYEHARA:· You can answer, Robert.
   17· · · ·A· ·Yes.
   18· · · · · ·BY MR. DILLON:
   19· · · ·Q· ·Then after grabbing the handle of the gun you'd
   20· have to remove it from the holster; right?
   21· · · ·A· ·Yes.
   22· · · ·Q· ·Possibly disengage a safety on the firearm; is
   23· that correct?
   24· · · ·A· ·Possibly, correct.
   25· · · ·Q· ·You would need to raise that gun to eye level;


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   ·1· right?
   ·2· · · ·A· ·Yeah, unless they were shooting from the hip, but
   ·3· yes.
   ·4· · · ·Q· ·Okay. When you're doing that, you like to go --
   ·5· give you have acquired sites on the gun; right?
   ·6· · · ·A· ·If at all possible, yes.
   ·7· · · ·Q· ·Then you got to place those sites on the target?
   ·8· · · ·A· ·Yes.
   ·9· · · ·Q· ·And align the sites up, so where they hit the
   10· target; correct?
   11· · · ·A· ·Yes.
   12· · · ·Q· ·Then you'd have to pull the trigger in order to
   13· fire the gun; correct?
   14· · · ·A· ·Yes.
   15· · · ·Q· ·If you're using any type of projecting taser or
   16· stun gun you'd have to go through a similar process;
   17· right?
   18· · · · · ·MS. UYEHARA:· Objection; scope.
   19· · · · · ·BY MR. DILLON:
   20· · · ·Q· ·Go ahead.
   21· · · ·A· ·Similarly, yes.
   22· · · ·Q· ·So again, taking multiple steps to properly
   23· deploy a weapon in self defence, it's not unique to
   24· switchblades; right?
   25· · · ·A· ·Correct, I agree.


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   ·1· · · ·Q· ·And when you state that unfolding a switchblade
   ·2· would require the user to hold the knife -- the handle of
   ·3· the knife in a precarious and unnatural manner, you recall
   ·4· that?
   ·5· · · ·A· ·I do.
   ·6· · · ·Q· ·And again, that would be the same precarious way
   ·7· of holding would have to be done for any unfolding pocket
   ·8· knife; correct?
   ·9· · · ·A· ·This is why I'm not fond of folding knives for
   10· self-defense, but correct.
   11· · · ·Q· ·So you just personally prefer fixed-blade knives
   12· for self-defense; correct?
   13· · · ·A· ·I have A strong opinion, yeah, that's proven out
   14· to be the most reliable method, yes.
   15· · · ·Q· ·But it's not the only method, correct?
   16· · · ·A· ·No.
   17· · · ·Q· ·Let's go back to your --
   18· · · · · ·MS. UYEHARA:· Sorry to interrupt you, Counsel,
   19· but I just want to put on the record, I'm just objecting
   20· to the whole line of questioning of guns as outside of the
   21· scope of his expert opinion.
   22· · · · · ·MR. DILLON:· Good, okay.
   23· · · ·Q· ·So again, I'm going to share your report again,
   24· and I'm going to direct you to paragraph 28 of the report.
   25· You see that?


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   ·1· · · ·A· ·I do.
   ·2· · · ·Q· ·Can you read, starting with the second sentence
   ·3· of the paragraph 28?
   ·4· · · ·A· ·Second sentence of paragraph 28.
   ·5· · · · · ·"For a single-edge blade the back of the blade
   ·6· will open into the user's fingers and be unable to unfold
   ·7· for use. A double-edged blade would propel a cutting edge
   ·8· into the user's own hand, inside the fingers.
   ·9· · · · · ·In either of those two scenarios there is the
   10· additional problem that the interrupted opening of a blade
   11· means the entire process must be reset; the operation must
   12· be restarted by reinserting the blade inside the handle,
   13· effectively reloading the spring. Once that is done, the
   14· button must be pressed again."
   15· · · · · ·MS. REILLEY:· Robert, remember to slow down.
   16· · · · · ·THE WITNESS: I'm sorry.
   17· · · · · ·BY MR. DILLON:
   18· · · ·Q· ·So when you mention the additional problem that
   19· the interrupted opening of the blade means the entire
   20· process must be reset, what are you referring to?· Like
   21· what type of knife specifically are you referring to?
   22· · · ·A· ·I think one of the challenges that Mr. Henderson
   23· and I both face is that there are a variety of knives
   24· under the relevant statutes.
   25· · · · · ·In that paragraph I was referring to a -- a


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   ·1· spring-assisted switchblade, is how I would describe it;
   ·2· an Italian-style -- the most recognized form of
   ·3· switchblade, which are still sold today -- the classic,
   ·4· Italian-style switchblade.
   ·5· · · ·Q· ·So that's just -- you're referencing one design
   ·6· of switchblade; correct?
   ·7· · · ·A· ·Yes.
   ·8· · · ·Q· ·And are you aware there are many other designs of
   ·9· switchblades?
   10· · · ·A· ·Yes.
   11· · · ·Q· ·And many of those other designs don't have that
   12· problem of having to restart the entire opening process if
   13· they come in contact with something upon opening?
   14· · · ·A· ·I agree, it's a continually pushing mechanism,
   15· unlike the other example we talked about, where it does
   16· get interrupted.
   17· · · · · ·So there are knife types that would not
   18· experience that type of problem.
   19· · · ·Q· ·Would you say that most modern, automatic knives
   20· that open up from the side are of that type that don't
   21· require to be reset?
   22· · · · · ·MS. UYEHARA: Objection; vague and ambiguous and
   23· calls for speculation.
   24· · · · · ·BY MR. DILLON:
   25· · · ·Q· ·Go ahead.


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   ·1· · · ·A· ·I don't have data about what exact continuously
   ·2· pushing versus kick spring mechanism is more prevalent in
   ·3· knife manufacture today, so I couldn't say.
   ·4· · · ·Q· ·Okay. And you mentioned this before, but again,
   ·5· you, in paragraph 30 of your report, you mention how
   ·6· additional danger of switchblade is failure to lock;
   ·7· correct?
   ·8· · · ·A· ·Yes.
   ·9· · · ·Q· ·And you stated that with the manually operating
   10· knife you have a tactile conformation that the blade is
   11· locked in place; correct?
   12· · · ·A· ·Yes, I spoke of earlier in the deposition, you
   13· mainly are pushing it through that locking process, yes.
   14· · · ·Q· ·Are you saying there's no tactile confirmation
   15· when an automatic knife opens or locks into place?
   16· · · ·A· ·Let me think about that.· I think there's room
   17· for interpretation there.
   18· · · · · ·An automatic knife opens and clicks into place,
   19· you know, locking into place.
   20· · · · · ·To me, tactile confirmation means that I'm
   21· feeling it through, you know, my own hand, my fingers, and
   22· with an automatic knife that does not happen because I'm
   23· only grasping the handle, I'm not in any contact with the
   24· blade.
   25· · · ·Q· ·So you feel you need to have contact with the


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   ·1· blade to confirm that the knife blade is locked in place?
   ·2· · · ·A· ·I don't believe I indicate that's needed, but it
   ·3· -- it provides confirmation as described in my
   ·4· declaration.
   ·5· · · ·Q· ·Okay. But just like any manually opening folding
   ·6· knife, automatic knives also lock their blades when
   ·7· they're open; correct?
   ·8· · · ·A· ·They're designed to, yes.
   ·9· · · ·Q· ·And automatically opening knives are designed to
   10· where the force of the opening generally locks it in
   11· place?
   12· · · ·A· ·I would say yes.
   13· · · ·Q· ·So any folding knife could have failure to lock
   14· in the opposition; is that correct?
   15· · · ·A· ·Correct.
   16· · · ·Q· ·And the basis of your claim that the tactile
   17· confirmation of the blade being locked open is different
   18· with a switchblade. Is that your own experience?
   19· · · ·A· ·Yes, that's my experience, my feeling.
   20· · · ·Q· ·So you've never done any testing or have any data
   21· that would support that claim?
   22· · · ·A· ·I have done testing. In terms of hands-on
   23· testing, I don't have data. I don't know how anybody could
   24· have data. It really is a matter of feel.
   25· · · · · ·I don't know how there could be data to could, to


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   ·1· corroborate my opinion expressed there in the declaration
   ·2· it's a more secure feeling. You have better confirmation
   ·3· when you feel it go through your fingertips.
   ·4· · · ·Q· ·Okay. And yet, you have nothing we can reference,
   ·5· any testing you may have done; correct?
   ·6· · · ·A· ·Correct.
   ·7· · · ·Q· ·You discuss the failure to lock open a knife or a
   ·8· switchblade knife in a sudden self-defense situation.
   ·9· · · · · ·Do you recall that?
   10· · · ·A· ·Yes.
   11· · · ·Q· ·So if I had a manually opening folding knife and
   12· I was in a self-defense situation, in your opinion that it
   13· would also be difficult to move that blade into place and
   14· lock it open?
   15· · · · · ·MS. UYEHARA: Objection; calls for speculation.
   16· · · · · ·BY MR. DILLON:
   17· · · ·Q· ·You can go ahead.
   18· · · ·A· ·Could you repeat it, please?
   19· · · ·Q· ·So if I had a manually opening folding knife, and
   20· I was using that in a self-defense situation, is it your
   21· opinion that it would be difficult to have the dexterity
   22· to open that knife in a fully locked position under a
   23· self-defense situation?
   24· · · · · ·MS. UYEHARA: Objection; calls for speculation and
   25· is ambiguous.


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   ·1· · · · · ·You can answer the question, Robert.
   ·2· · · ·A· ·Okay. I believe -- I believe it would require a
   ·3· lot of training to be able to do that successfully and
   ·4· reliably in a sudden self-defense situation.
   ·5· · · · · ·BY MR. DILLON:
   ·6· · · ·Q· ·Again, we're talking about manually opening a
   ·7· knife?
   ·8· · · ·A· ·With any kind of unfolding knife.
   ·9· · · ·Q· ·Okay. So again, this failure or difficulty in
   10· opening a knife is not unique to switchblades?
   11· · · ·A· ·No. As unique as what we discussed a few moments
   12· ago, the amount of feel that you have in your hand to know
   13· that the operation successfully completed.
   14· · · ·Q· ·Okay. In paragraph 31 of your report you state
   15· that the second danger of switchblades is the failure to
   16· disengage the safety lock.
   17· · · · · ·Do you recall that?
   18· · · ·A· ·I do.
   19· · · ·Q· ·Okay. And you're referring to the safety that is
   20· placed on automatically opening knives that would prevent
   21· this from inadvertently opening, say, in one's pocket or
   22· your hand; is that correct?
   23· · · ·A· ·When that is present on a given knife.
   24· · · · · ·(Court Reporter asks for clarification).
   25· · · ·A· ·When that feature is present on a given knife,


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   ·1· yes.
   ·2· · · · · ·BY MR. DILLON:
   ·3· · · ·Q· ·And you also state that the safety on an
   ·4· automatic knife is "perfectly analogous to a firearm
   ·5· safety."
   ·6· · · · · ·Is that correct?
   ·7· · · ·A· ·I stated that, yes.
   ·8· · · ·Q· ·And regarding a safety on a gun, that's there to
   ·9· help prevent an accidental discharge.
   10· · · · · ·Would you agree?
   11· · · ·A· ·I would agree.
   12· · · ·Q· ·And these automatic knives that have these
   13· safeties incorporated into the handle, they can't be used
   14· in a self-defense situation unless that safety lock is
   15· first disengaged; correct?
   16· · · ·A· ·The safety blade cannot be used, correct, until
   17· that happens.
   18· · · ·Q· ·Let me share your report again. Again, I'm going
   19· to go direct you to paragraph 31 --
   20· · · ·A· ·Umm-umm.
   21· · · ·Q· ·-- where you state that:
   22· · · · · ·"That without a substantial amount of training it
   23· is highly unlikely that an individual would be able to
   24· quickly and safely disengage a switchblade's safety lock
   25· and safely deploy the switchblade as described above in a


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   ·1· self-defense situation."
   ·2· · · · · ·Is that correct?
   ·3· · · ·A· ·Correct.
   ·4· · · ·Q· ·It's your opinion today one of the additional
   ·5· dangers of using a switchblade for self-defense is that
   ·6· many switchblades have a safety mechanism?
   ·7· · · · · ·MS. UYEHARA: Objection; ambiguous.
   ·8· · · · · ·Go ahead, Robert.
   ·9· · · ·A· ·What I believe I said in the declaration is the
   10· challenge is that it adds another layer, yet another fine
   11· motor skill small button operation in addition to
   12· triggering the automative knife.
   13· · · ·Q· ·Okay. And that would increase the danger of a
   14· switchblade?
   15· · · ·A· ·The danger of -- sorry --
   16· · · · · ·MS. UYEHARA: Objection; vague.
   17· · · · · ·MR. DILLON:· Go ahead and answer that question.
   18· · · ·A· ·The danger of failure to successfully deploy,
   19· yes.
   20· · · · · ·BY MR. DILLON:
   21· · · ·Q· ·The danger of failure to successfully deploy.
   22· Okay.
   23· · · · · ·And it's your opinion today that because some
   24· switchblades have this safety that there is an increase
   25· danger of the failure to successfully deploy over a


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   ·1· manually opening folding knife?
   ·2· · · · · ·MS. UYEHARA: Objection; ambiguity.
   ·3· · · · · ·MR. DILLON:· Go ahead.
   ·4· · · ·A· ·One more time, please?
   ·5· · · · · ·BY MR. DILLON:
   ·6· · · ·Q· ·So according to you, because switchblades have a
   ·7· safety that tough you have to disengage before you can
   ·8· operate it, that increases the danger of a failure to
   ·9· successfully deploy that blade over a manually opening
   10· folding knife; correct?
   11· · · · · ·MS. UYEHARA:· Vague and ambiguous.
   12· · · · · ·Go ahead, Robert.
   13· · · ·A· ·Same question; right?
   14· · · · · ·Yes, because it doubles the number of manual
   15· operations required by the user.
   16· · · · · ·BY MR. DILLON:
   17· · · ·Q· ·Okay. And going back to your reference that this
   18· is perfectly analogous to firearm safety, do you also
   19· state that having a safety on a firearm increases the
   20· danger of failure to successfully deploy that firearm?
   21· · · · · ·MS. UYEHARA:· Objection; scope.
   22· · · · · ·(Overlapping speakers; indecipherable)
   23· · · · · ·BY MR. DILLON:
   24· · · ·Q· ·What was the answer to the question?· Sorry.
   25· · · ·A· ·I would say yes.


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   ·1· · · ·Q· ·So having a safety on a self-defense weapon
   ·2· increases the -- the danger in a self-defense situation?
   ·3· · · · · ·MS. UYEHARA:· Objection; ambiguous, vague.
   ·4· · · · · ·BY MR. DILLON:
   ·5· · · ·Q· ·Go ahead, answer.
   ·6· · · ·A· ·Having a safety adds an additional step required
   ·7· by the user, assumes the safety is engaged when the weapon
   ·8· is needed for self-defense.
   ·9· · · ·Q· ·And you believe that the best self-defense
   10· weapons won't have that extra step; is that correct?
   11· · · · · ·MS. UYEHARA:· Argumentative.
   12· · · ·A· ·I feel like your question was way too broad, and
   13· there's a universal of self-defense (inaudible) that do
   14· not require safeties in any way, so I can't say that
   15· safeties -- if you'd like to maybe rephrase the question.
   16· · · · · ·BY MR. DILLON:
   17· · · ·Q· ·Is it your opinion that having a safety on any
   18· self-defense weapon increases the steps taken to deploy
   19· the weapon?
   20· · · ·A· ·Yes.
   21· · · ·Q· ·And having that increase in the steps taken to
   22· deploy that weapon, does that increase the danger to the
   23· user?
   24· · · · · ·MS. UYEHARA:· Objection; argumentative and vague.
   25· · · · · ·Go ahead, Robert.


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   ·1· · · ·A· ·It increases the number of steps required by the
   ·2· user.
   ·3· · · · · ·BY MR. DILLON:
   ·4· · · ·Q· ·So again, does the increase of the number of
   ·5· steps required to be done by the user, does that increase
   ·6· the dangerousness of the weapon for the user?
   ·7· · · ·A· ·It increases the danger of unsuccessful
   ·8· deployment, and in my opinion, if a weapon type doesn't
   ·9· really doesn't require safety, like a fixed-blade, then
   10· using a version that does, only adds to the danger of
   11· unsuccessful deployments.
   12· · · ·Q· ·Okay. In paragraph 32 of your report, you all
   13· state that switchblades are dangerous because of the
   14· substantial dangers of accidentally opening; is that
   15· correct?
   16· · · ·A· ·Yes.
   17· · · ·Q· ·And can't any folding knife accidentally open
   18· when stored in someone's pocket?
   19· · · · · ·MS. UYEHARA:· Objection; overbroad. Objection;
   20· overbroad.
   21· · · · · ·Go ahead, Robert.
   22· · · ·A· ·In my opinion it is extremely unlikely that a
   23· manually folding knife would accidentally open in the
   24· pockets.
   25· · · · · ·BY MR. DILLON:


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   ·1· · · ·Q· ·How about an assisted opening knife?· Would they
   ·2· ever accidentally open in the pocket?
   ·3· · · ·A· ·I think it's much more likely in that case
   ·4· because it takes very little pressure to begin the
   ·5· automatic process. That's what its designed for.· You
   ·6· barely push on it and it magically opens on its own. I
   ·7· think it's a much higher risk.
   ·8· · · ·Q· ·And what's the basis of your claim that
   ·9· switchblades pose a substantial danger of accidentally
   10· opening?
   11· · · ·A· ·The -- the switches, the buttons that are
   12· operated, are not protected in anyway. They're there so
   13· that the thumb can reach them in an emergency, so they're
   14· exposed, and as a hand -- as I described the operations
   15· you have to go through there with an automatic knife, to
   16· defend themselves, in a rushed situation of reaching in,
   17· it seems to me that exposed button could be accidentally
   18· triggered because it's out there and it's going to trigger
   19· on contact. So that could happen.
   20· · · ·Q· ·All right.
   21· · · · · ·And the basis of this claim of yours, is that
   22· based off of police reports?
   23· · · ·A· ·No.
   24· · · ·Q· ·Is that based off of news reports?
   25· · · ·A· ·No.


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   ·1· · · ·Q· ·So what data would you base that claim off of?
   ·2· · · ·A· ·It is physically inarguable -- inarguable, I
   ·3· would say, that the button increases the odds of an
   ·4· accidental opening inside a pocket.
   ·5· · · · · ·I have actually done the opening of an automatic
   ·6· knife in my pocket in preparation for this case. I reached
   ·7· my hand in and just fumbled around and it did not happen
   ·8· every time, but it did happen.
   ·9· · · · · ·So I don't have the case study type data/ it
   10· seems to me a mechanical, in inarguable possibility that
   11· that could happen, with such a knife.
   12· · · ·Q· ·Okay. So you're basing this claim of the fact of
   13· the fact that you have just seen the buttons on various
   14· numbers of switchblades, and you think it could be easily
   15· pressed?
   16· · · ·A· ·Well, I know --
   17· · · · · ·MS. UYEHARA:· Objection; misstated witness's
   18· prior testimony.
   19· · · ·A· ·So I would say I know that they can be, from
   20· owning and operating knives for decades.
   21· · · · · ·BY MR. DILLON:
   22· · · ·Q· ·But again, that's not unique to just
   23· switchblades; other knives can open in the pocket;
   24· correct?
   25· · · ·A· ·As I stated, I think the danger is particularly


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   ·1· high because of the ease of automation that an automatic
   ·2· knife has, bit I agree, any knife could open in the
   ·3· pocket.
   ·4· · · ·Q· ·Then the risk of a folding knife of any kind
   ·5· opening in the pocket, that's only a risk to the
   ·6· individual that is using the knife or the owner of the
   ·7· knife; correct?
   ·8· · · ·A· ·Correct.
   ·9· · · ·Q· ·So, in other words, it's not like a threat to the
   10· general public that the knife may open up in my pocket;
   11· correct?
   12· · · ·A· ·Correct, I agree.
   13· · · ·Q· ·So earlier we were talking about how switchblades
   14· pose an additional danger because the need to disengage
   15· the safety that would prevent it from being on; correct?
   16· · · ·A· ·Yes.
   17· · · ·Q· ·Okay. And you also state here that the third
   18· dangerous switchblade is that they can too easily be
   19· inadvertently opened?
   20· · · ·A· ·We see the verbiage?
   21· · · ·Q· ·So in paragraph 31 here you say:· The second
   22· danger is from failure to disengage the safety lock;
   23· correct?
   24· · · ·A· ·Yes.
   25· · · ·Q· ·Okay. Then in paragraph 32 you say:


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   ·1· · · · · ·"Finally, switchblades present a substantial
   ·2· danger of accidentally opening."
   ·3· · · · · ·Is that correct?
   ·4· · · ·A· ·That is my belief, correct.
   ·5· · · ·Q· ·Okay. So am I correct in summarizing the two
   ·6· dangers here that you depicted in your report is that
   ·7· switchblades require a safety be disengaged before they
   ·8· open and that they open too easily?
   ·9· · · · · ·MS. UYEHARA:· Objection; misstates the witness's
   10· testimony, and compound.
   11· · · · · ·BY MR. DILLON:
   12· · · ·Q· ·Did i misstate your testimony?
   13· · · ·A· ·Could you restate your statement?
   14· · · ·Q· ·So you stated earlier that switchblades posed
   15· additional dangers because the safety that needs to be
   16· disengaged would prevent it from being opened; is that
   17· correct?
   18· · · ·A· ·Unless it is operated successfully, correct.
   19· · · ·Q· ·And you also state the third dangerous
   20· switchblade is that they will too easily be inadvertently
   21· opened; is that correct?
   22· · · ·A· ·I agree that they can be opened more easily than
   23· other knife types.
   24· · · ·Q· ·Okay. So your report, to summarize those two
   25· dangers that you list in your report, is it can't be


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   ·1· opened -- switchblades cannot be opened unless you
   ·2· disengage the safety and they open too easily
   ·3· inadvertently; correct?
   ·4· · · ·A· ·Hmm -- I feel that's an over simplification of
   ·5· the two points made.
   ·6· · · · · ·The safety being an additional manual operation,
   ·7· in addition to triggering the blade, those problems not
   ·8· existing, with a fixed-blade knife, or only half as many
   ·9· existing with a manually folding knife.
   10· · · · · ·So that now would be how I would disagree with
   11· your characterization when it comes to the second point.
   12· · · ·Q· ·Okay. So a switchblade that has a safety device
   13· on it, are those easily opened inadvertently?
   14· · · ·A· ·Not if the safety is engaged.
   15· · · ·Q· ·Okay. So am I correct in stating that your
   16· opinion today, generally speaking, is that switchblades
   17· are not ideal for self-defense purposes?
   18· · · ·A· ·Yes.
   19· · · ·Q· ·But even if it may not be ideal for self-defense,
   20· it can be used in self defense; is that correct?
   21· · · ·A· ·I would agree it can be.
   22· · · ·Q· ·And automatically opening knives, they're used
   23· for other purposes other than self-defense; is that
   24· correct?
   25· · · · · ·MS. UYEHARA: Objection; ambiguous.


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   ·1· · · · · ·BY MR. DILLON:
   ·2· · · ·Q· ·Are you aware that there are automatic designs
   ·3· used for hunting purposes?
   ·4· · · ·A· ·Yes.
   ·5· · · ·Q· ·Are you aware that there are automatic knives
   ·6· that are designed to be used for fishing purposes?
   ·7· · · ·A· ·Yes.
   ·8· · · ·Q· ·Are you aware that there are automatic knives
   ·9· that are designed and used for various forms of
   10· recreation?
   11· · · ·A· ·I would agree with that.
   12· · · ·Q· ·Are you aware there are automatically opening
   13· knives that are designed and used for activities like
   14· camping?
   15· · · ·A· ·Yes.
   16· · · ·Q· ·So you'd agree with me that automatically opening
   17· knives are used for everyday use and utility; is that
   18· correct?
   19· · · · · ·MS. UYEHARA:· Objection; overbroad.
   20· · · · · ·BY MR. DILLON:
   21· · · ·Q· ·You can go ahead and answer the question.
   22· · · ·A· ·Yeah, I felt like everyday is too broad. Camping,
   23· fishing, hunting, things likes that, I would agree with. I
   24· wouldn't describe those as everyday.
   25· · · ·Q· ·Sorry. When I said "everyday," I used the term


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   ·1· everyday use. Are you familiar with that term?
   ·2· · · ·A· ·ABC, yes.
   ·3· · · ·Q· ·And that term describes using various tools,
   ·4· including knives in various daily activities; correct?
   ·5· · · ·A· ·I take that phrase, "everyday carry," to be
   ·6· something that you carry with you everyday.
   ·7· · · ·Q· ·So that would be everyday carry; correct.
   ·8· · · ·A· ·Yes, very common, yeah.
   ·9· · · ·Q· ·And I reference everyday use; correct?
   10· · · ·A· ·Yes.
   11· · · ·Q· ·So you would agree there's definitely people out
   12· there that have a switchblade that use it to open up their
   13· Amazon boxes; correct?
   14· · · ·A· ·Switchblade?· I would agree there must be people
   15· who choose to use that kind of knife for that purpose.
   16· · · ·Q· ·So reviewing all the various purposes that we
   17· talked about, we agreed that switchblades could be used
   18· for self-defense; correct?
   19· · · ·A· ·I would say any object can be used for
   20· self-defense; might not be good for it, but it can be.
   21· · · ·Q· ·And you agree switchblades can be used for
   22· hunting purposes?
   23· · · ·A· ·Just to be clear, not to actually hunt, but to --
   24· · · ·Q· ·-- surround that -- the act of hunting?
   25· · · ·A· ·Camping, et cetera, yes.


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   ·1· · · ·Q· ·Okay. And that also goes the same for fishing,
   ·2· recreation and camping?
   ·3· · · ·A· ·Outdoor recreation activities, I would agree.
   ·4· · · ·Q· ·So you agree that bottom-act opening knives have
   ·5· many different lawful uses; correct?
   ·6· · · ·A· ·I believe -- I believe knives of every kind can
   ·7· be used lawfully or unlawfully.
   ·8· · · ·Q· ·And do you agree that switchblades or
   ·9· automatically opening knives are used lawfully?
   10· · · · · ·MS. UYEHARA:· Objection; ambiguous, also calls
   11· for speculation.
   12· · · · · ·BY MR. DILLON:
   13· · · ·Q· ·These activities that we described, hunting,
   14· fishing, recreation and camping, do you know those
   15· activities to be lawful activities?
   16· · · ·A· ·Yes.
   17· · · · · ·MS. REILLY:· Vague and ambiguous.
   18· · · · · ·BY MR. DILLON:
   19· · · ·Q· ·Okay. You agree switchblades or automatically
   20· opening knives are used in these activities; correct.
   21· · · · · ·MS. REILLY:· Again, it calls for speculation,
   22· asked and answered, vague and ambiguous.
   23· · · · · ·BY MR. DILLON:
   24· · · ·Q· ·You can answer the question.
   25· · · ·A· ·Yeah, I would say I cannot say for a fact, to


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   ·1· verify fact, the fact that I have verified they are used
   ·2· in that way.
   ·3· · · ·Q· ·You've never hear of a knife, automatically
   ·4· opening knife being used for hunting purposes?
   ·5· · · · · ·MS. UYEHARA:· Objection; calls for speculation.
   ·6· · · · · ·BY MR. DILLON:
   ·7· · · ·Q· ·I'm asking if you're aware of an automatically
   ·8· opening knife ever being used for a hunting purpose?
   ·9· · · ·A· ·I'm aware of them being marketed for outdoor use:
   10· Camping, hunting, fishing.
   11· · · · · ·(Exhibit 8 marked)
   12· · · ·Q· ·At this point Plaintiff's 8, I believe.
   13· · · · · ·All right. Do you see the picture of three knives
   14· up on the screen right now?
   15· · · ·A· ·Three knives, I do.
   16· · · ·Q· ·Okay. And I'm going to state that these are
   17· depictions of three variations of the Buck 110 folding
   18· knife. Do you see that?
   19· · · ·A· ·I do.
   20· · · ·Q· ·Have you ever seen the Buck 110 folding knife
   21· before?
   22· · · ·A· ·I have.
   23· · · ·Q· ·Okay. And are you aware of its marketed and
   24· understood use?
   25· · · ·A· ·I wouldn't agree that I'm an expert on Buck's


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   ·1· marketing, no.
   ·2· · · ·Q· ·Well, I'm not asking if you're an expert on it.
   ·3· · · · · ·Have you heard of what this knife is used for?
   ·4· · · · · ·MS. REILLY:· Calls for speculation; not to be
   ·5· used in the same way in every instance.
   ·6· · · · · ·BY MR. DILLON:
   ·7· · · ·Q· ·Are you aware of how it's marketed?
   ·8· · · ·A· ·No. As I think I said a moment ago, I'm not well
   ·9· versed in Buck's marketing for this particular knife.
   10· · · ·Q· ·Okay. So you can see here that there's three
   11· variations of knife.
   12· · · · · ·Do you see that?
   13· · · ·A· ·I do.
   14· · · ·Q· ·One of is a manually folding knife; one is --
   15· sorry -- a manual folding knife, two-handed opening -- two
   16· hands required to open it; a one-hand opening manual
   17· folding knife, and then the automatically opening folding
   18· knife; correct?
   19· · · ·A· ·I see that, yes.
   20· · · ·Q· ·Are you aware that this knife is also referred to
   21· as the Buck folding hunter knife?
   22· · · ·A· ·I am not.
   23· · · ·Q· ·In your report you state that "militaries over
   24· the world clearly prefer fixed-blade knives to
   25· switchblades, underscores the fact that switchblades are


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   ·1· not well-suited for self-defense; correct?
   ·2· · · ·A· ·Correct.
   ·3· · · ·Q· ·And how did you come to this conclusion?
   ·4· · · ·A· ·Well, from my knowledge of reading over decades,
   ·5· I am definitely not aware of any national military in the
   ·6· world that prefers automatic knives, and I don't believe
   ·7· any example of that was, you know, for instance, proposed
   ·8· in the rebuttal to my declaration.
   ·9· · · · · ·So I am definitely standing by that statement. No
   10· military prefers automatic knives.
   11· · · ·Q· ·What do you mean by "prefer"?
   12· · · ·A· ·Makes it the primary choice. It's a primary
   13· choice for combat troops; makes it the most common knife
   14· to take out into the field as a weapon.
   15· · · ·Q· ·Okay. Are switchblades issued in the military in
   16· the United States?
   17· · · ·A· ·Not preferred. In some cases, for instance,
   18· paratrooper example that Mr. Janus provided issued.
   19· · · ·Q· ·Okay. So they are issued in the United States?
   20· · · ·A· ·I would say as a very small case, yes.
   21· · · ·Q· ·Were you in the military?
   22· · · ·A· ·I was not.
   23· · · ·Q· ·Okay. And so what's the basis of your claim that
   24· you know what knives are issued by the military?
   25· · · ·A· ·I've been reading about military equipment and


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   ·1· studying and reading about, you know, books by authorities
   ·2· for a long time. So just my research.
   ·3· · · ·Q· ·Okay. So when you state that militaries clearly
   ·4· prefer fixed-blade knives, you're not stating that these
   ·5· militaries don't use automatic knives; correct?
   ·6· · · ·A· ·Correct.
   ·7· · · ·Q· ·Have you ever heard of the Gerber 06 Auto knife?
   ·8· · · ·A· ·I'm familiar with Gerber knives. I don't have
   ·9· every model of knife memorized, so I don't know of that
   10· exact model you're mentioning.
   11· · · ·Q· ·Oh, no problem.
   12· · · · · ·In paragraph 34 of your report, you state that:
   13· · · · · ·"Unlike weapons such as handguns, pepper spray or
   14· tasers that can end or impede a threat from a distance,
   15· switchblades are strictly close-quarter weapons that
   16· require hand-to-hand combat skills in order to safely and
   17· effectively -- in order to use safely and effectively
   18· against a threat. Is that correct?· I can pull up your
   19· report as well.
   20· · · ·A· ·Yes.
   21· · · ·Q· ·Okay. I have your report up here.
   22· · · ·A· ·Umm-umm.
   23· · · ·Q· ·Highlighted paragraph 34.
   24· · · · · ·You see that?
   25· · · ·A· ·I do.


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   ·1· · · ·Q· ·Okay. This close quarter nature of switchblade,
   ·2· that's not unique to switchblades; correct?
   ·3· · · · · ·MS. UYEHARA:· Objection; ambiguous.
   ·4· · · · · ·BY MR. DILLON:
   ·5· · · ·Q· ·So is any other knife a close-quarter weapon?
   ·6· · · ·A· ·I would say all -- the typical knife is a
   ·7· close-quarter weapon, yes.
   ·8· · · ·Q· ·All knives would fall under the close-quarter
   ·9· description you use in paragraph 34; correct?
   10· · · ·A· ·Yes.
   11· · · ·Q· ·And that's including fixed-blade knives; correct?
   12· · · ·A· ·Correct.
   13· · · ·Q· ·And again, you prefer the fixed-blade knife for
   14· self-defense use?
   15· · · ·A· ·Correct.
   16· · · ·Q· ·That would also include something like a non-
   17· projecting taser; correct?
   18· · · ·A· ·A taser where you have to actually come in
   19· contact with the individual as opposed to pulling a
   20· trigger and actually shooting out a projectile; correct?
   21· · · · · ·MS. UYEHARA:· Objection; scope.
   22· · · · · ·BY MR. DILLON:
   23· · · ·Q· ·Go ahead.
   24· · · ·A· ·A stun gun that does not fire a projectile of any
   25· kind is a close-quarters weapon.


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   ·1· · · ·Q· ·All right.
   ·2· · · · · ·And that would also include all the other impact
   ·3· weapons that you -- you wrote your book on, the saps,
   ·4· blackjacks and the slung shots, those would also be
   ·5· considered close-quarter weapons; correct?
   ·6· · · ·A· ·Correct.
   ·7· · · ·Q· ·So other than firearms, pepper spray and some
   ·8· projectile-style tasers, all self-defense weapons would be
   ·9· considered a close-quarter weapon; correct?
   10· · · · · ·MS. UYEHARA: Objection; overbroad.· Ambiguous as
   11· well.
   12· · · · · ·BY MR. DILLON:
   13· · · ·Q· ·You can go ahead and answer the question.
   14· · · ·A· ·I would say there are actually a variety of
   15· self-defense implements that I would not describe as
   16· close-quarter, that are not in the list that you just
   17· mentioned, like shooting tasers, et cetera.
   18· · · ·Q· ·Would those include items that project some sort
   19· of object at a distance?
   20· · · ·A· ·And those that are plain thrown.
   21· · · ·Q· ·So it would involve some sort of projectile of
   22· some kind?
   23· · · ·A· ·I agree.
   24· · · ·Q· ·Okay. And in the world of martial arts, these are
   25· all close-quarter combat, hand-to-hand techniques;


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   ·1· correct?
   ·2· · · · · ·MS. UYEHARA:· Objection; ambiguous as to they --
   ·3· these.
   ·4· · · · · ·BY MR. DILLON:
   ·5· · · ·Q· ·So you studied Goju karate; correct?
   ·6· · · ·A· ·Yes.
   ·7· · · ·Q· ·And that's a close-quarter combat martial art;
   ·8· correct?
   ·9· · · ·A· ·It is.
   10· · · ·Q· ·And Jiu-Jitsu would also fall under that
   11· close-quarter combat style; right?
   12· · · ·A· ·Yes.
   13· · · ·Q· ·And would most any hand-to-hand martial art, fall
   14· under a close-quarter contact technique?
   15· · · ·A· ·I feel like that's a little too broad, but the
   16· term martial art is quite broad, so --
   17· · · ·Q· ·I'll flip it around.
   18· · · · · ·Are there any martial arts that involve distance
   19· combat?
   20· · · ·A· ·In my opinion, yes.
   21· · · ·Q· ·And what would those be?
   22· · · ·A· ·For instance -- (inaudible).
   23· · · · · ·THE COURT REPORTER:· I'm sorry, I couldn't hear
   24· that. Could you repeat that please?
   25· · · · · ·THE WITNESS:· I said in my opinion, yes. For


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   ·1· instance -- example, knife hurl.
   ·2· · · ·Q· ·So knife throwing would involve throwing a
   ·3· projectile, weapon projectile; correct?
   ·4· · · ·A· ·Yes, I would not describe that myself as
   ·5· close-quarters combat.
   ·6· · · ·Q· ·Okay. But when I'm referring to martial arts,
   ·7· such as Jiu-Jitsu, Krav Maga, Goju Karate, tae kwon do,
   ·8· those are all close-quarter combat techniques; correct?
   ·9· · · ·A· ·All the ones you just named, yes, I agree.
   10· · · ·Q· ·And it's your opinion that all these -- let's
   11· say, let me rephrase that.
   12· · · · · ·It's your opinion that various forms of martial
   13· arts are adequate self-defense measures; correct?
   14· · · · · ·MS. UYEHARA:· Adequate -- objection; vague as to
   15· the word "adequate."
   16· · · · · ·BY MR. DILLON:
   17· · · ·Q· ·Do you believe martial arts are effective forms
   18· of self-defense?
   19· · · ·A· ·Unfortunately, that's a too broad.· There's a lot
   20· of good martial arts and bad martial arts out there.
   21· · · ·Q· ·Okay. So of the good martial arts, they can be
   22· used for self-defense; right?
   23· · · ·A· ·Good martial arts can be used for self-defense, I
   24· would agree.
   25· · · ·Q· ·Okay. In paragraph 35 of your report you describe


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   ·1· the fact:· "There's multiple knife and self-defense
   ·2· writers that are observed that using a knife combatively
   ·3· is an action that lies beyond the mental threshold many
   ·4· are incapable of crossing."
   ·5· · · · · ·Is that correct?
   ·6· · · ·A· ·Yes.
   ·7· · · ·Q· ·And would you agree with that statement?
   ·8· · · ·A· ·I agree with the statement that there are many
   ·9· martial arts and authorities who hold that opinion, yes.
   10· · · ·Q· ·And this isn't specific to switchblades; correct?
   11· · · ·A· ·It is not.
   12· · · ·Q· ·So that they are commenting on using any knife in
   13· self-defense; correct?
   14· · · ·A· ·Correct.
   15· · · ·Q· ·Do you believe that most people would generally
   16· be hesitant to use any weapon in self-defense?
   17· · · · · ·MS. UYEHARA:· Objection; calls for speculation.
   18· · · ·A· ·I believe, from my review of countless, real
   19· world self-defense situations, the average person exhibits
   20· very poor skill and effectiveness with a weapon, with
   21· their hands, unless they have been trained.
   22· · · · · ·BY MR. DILLON:
   23· · · ·Q· ·Okay. In paragraph 40 of your report, you state
   24· that:
   25· · · · · ·"Knives, including switchblades, are offensive


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   ·1· and deadly weapons by the nature of their design."
   ·2· · · · · ·Do you see that?
   ·3· · · ·A· ·I do.
   ·4· · · ·Q· ·Okay. So when you say, "knives, including
   ·5· switchblades," are you referring to all knives?
   ·6· · · ·A· ·I am.
   ·7· · · ·Q· ·So it's your opinion today that all knives are,
   ·8· by their nature, deadly weapons?
   ·9· · · ·A· ·Yes.
   10· · · ·Q· ·And that they're designed as deadly weapons?
   11· · · ·A· ·I didn't say that in my declaration. I wouldn't
   12· have (indecipherable)if it were.
   13· · · ·Q· ·All right. So I'll rephrase that, I apologize.
   14· · · · · ·So you're stating that all knives are deadly
   15· weapons by nature of their design; is that correct?
   16· · · ·A· ·Yes.
   17· · · ·Q· ·And can you elaborate on that claim?
   18· · · ·A· ·Yes. I believe it's very easily verified by
   19· anyone. You don't have to be a martial art expert to find
   20· the opinion -- the consensus opinion that in martial arts
   21· and weaponry circles that the second deadliest weapon
   22· someone can carry is a knife; the first, of course, being
   23· a firearm.
   24· · · ·Q· ·Okay. So all knives are less dangerous or deadly
   25· than handguns or firearm?


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   ·1· · · · · ·MS. UYEHARA:· Objection; overbroad.
   ·2· · · · · ·BY MR. DILLON:
   ·3· · · ·Q· ·Is a knife as dangerous as a handgun?
   ·4· · · ·A· ·I want to think about that -- it definitely can
   ·5· be as dangerous as a handgun, in my opinion.
   ·6· · · · · ·MR. DILLON:· Madam Court Reporter, can you read
   ·7· back about four lines in the record, please?
   ·8· · · · · ·(Record read)
   ·9· · · · · ·MR. DILLON:· Okay. Thank you.
   10· · · ·Q· ·So, Mr. Escobar, you stated that the second
   11· deadliest weapon someone could carry is a firearm; is that
   12· correct?
   13· · · ·A· ·Common self-defense (indecipherable) of weapons,
   14· yes.
   15· · · ·Q· ·So the first deadliest weapon would be a firearm?
   16· · · ·A· ·In my opinion, and in the opinion, I would say, a
   17· consensus in the martial arts community, yes.
   18· · · ·Q· ·So a knife is not as dangerous as a handgun?
   19· · · ·A· ·I would agree.
   20· · · · · ·MS. UYEHARA:· Objection -- objection; vague,
   21· vague.
   22· · · · · ·BY MR. DILLON:
   23· · · ·Q· ·You would agree with what I just said?
   24· · · ·A· ·Can you state it again, please?
   25· · · ·Q· ·So a knife is not as deadly as a handgun?


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   ·1· · · ·A· ·I think -- I would quibble with the phrasing
   ·2· there. I'll say this:· A firearm can do more damage than a
   ·3· knife; it can kill more people, wound more people than a
   ·4· knife.
   ·5· · · ·Q· ·And, in your words, a firearm is the first most
   ·6· deadly weapon?
   ·7· · · ·A· ·Yes.
   ·8· · · ·Q· ·And a knife is the second deadliest weapon;
   ·9· correct?
   10· · · ·A· ·As I said a moment ago, those weapons carried for
   11· self-defense, yes.
   12· · · ·Q· ·Okay. Now, regarding the offensive nature of the
   13· design of a knife, wouldn't the categorization of its
   14· design be based off of its intended use or circumstances
   15· surrounding these?
   16· · · · · ·MS. UYEHARA:· Objection; vague.
   17· · · · · ·MR. DILLON:· I'll rephrase that.
   18· · · ·Q· ·Is my kitchen knife, by nature of its design, an
   19· offensive weapon?
   20· · · ·A· ·By nature of its design, it can be, absolutely, a
   21· deadly weapon, and if used as a weapon, just like a
   22· purposeful combat knife, it is, in my opinion, offensive
   23· in nature.
   24· · · ·Q· ·Okay. But that would depend on the use that it
   25· was put to; correct?


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   ·1· · · ·A· ·The use that it was put to meaning --
   ·2· · · ·Q· ·I'll rephrase that.
   ·3· · · · · ·So if I'm in my kitchen with my kitchen knife,
   ·4· chopping tomatoes, I'm not using that as a weapon;
   ·5· correct?
   ·6· · · ·A· ·Correct, I agree.
   ·7· · · ·Q· ·But if I were to walk up to somebody, pull out a
   ·8· kitchen knife and threaten them, that would be using that
   ·9· weapon -- using that knife as a weapon; correct?
   10· · · ·A· ·Correct.
   11· · · ·Q· ·Sorry, what was the answer?· You cut out.
   12· · · ·A· ·I agree.
   13· · · ·Q· ·Okay. So pocketknives, are they, by the nature of
   14· their design, offensive weapons?
   15· · · ·A· ·All knives, combatively, are offensive by nature,
   16· in my opinion.
   17· · · · · ·The smaller it is, the less so, but still, I and
   18· many others classify knives as offensive weapons when used
   19· combatively.
   20· · · ·Q· ·And again, only when used combatively; correct?
   21· · · ·A· ·Yes.
   22· · · ·Q· ·And that would go -- you would attach that same
   23· to camping knives?
   24· · · ·A· ·Yes, when used combatively, it is used
   25· offensively, yes.


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   ·1· · · ·Q· ·And that would also apply to quote/unquote,
   ·2· survival knives?
   ·3· · · · · ·MS. UYEHARA: Objection; vague.
   ·4· · · · · ·(No answer)
   ·5· · · · · ·BY MR. DILLON:
   ·6· · · ·Q· ·When used combatively, you would agree that a
   ·7· utility knife would be an offensive weapon; correct?
   ·8· · · ·A· ·I do.
   ·9· · · ·Q· ·Okay. In paragraph 40 of your report you also
   10· state that:· "Without proper training they can be turned
   11· against their own user."
   12· · · · · ·Is that correct?
   13· · · ·A· ·Yes, this has happened many times on the street,
   14· in my opinion, from my research.
   15· · · ·Q· ·Okay. And that's not unique to switchblades;
   16· correct?
   17· · · ·A· ·Correct.
   18· · · ·Q· ·That would apply to all knives; in your opinion?
   19· · · ·A· ·Yes, I believe my declaration spells that out
   20· that I'm speaking about all knives in that section, yes.
   21· · · ·Q· ·Would that apply to other self-defense weapons?
   22· · · ·A· ·Yes.
   23· · · ·Q· ·I'm going to pull up your report here.
   24· · · · · ·In paragraph 40 you state, on the third sentence:
   25· · · · · ·"They have also been dropped in an ultra intense


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   ·1· adrenalized situation of a self-defense encounter."
   ·2· · · · · ·Can you elaborate on that statement?
   ·3· · · ·A· ·Yes, anybody who would like to verify that
   ·4· statement themselves, could, again, within a matter of
   ·5· just single minutes, Google "man falls on his own knife,"
   ·6· et cetera, and find the real world incidents where people
   ·7· have dropped the blade that they took out in a defense
   ·8· situation.
   ·9· · · ·Q· ·Okay. So again, that statement applies to all
   10· knives?
   11· · · ·A· ·Yes. And so, for the record, I'd like to state,
   12· we're reading from section 40, which says:· Knives
   13· including switchblades," so I think that was --
   14· · · ·Q· ·-- I'm just clarifying --
   15· · · ·A· ·-- yeah -- yes.
   16· · · ·Q· ·And would the fact or would that statement also
   17· apply to other self-defense weapons?
   18· · · ·A· ·Yes.
   19· · · ·Q· ·Okay. And the basis of the claim that this has
   20· happened is you've seen videos online that show people
   21· dropping a self-defense weapon in a deadly encounter?
   22· · · ·A· ·That as well as written reports, police records,
   23· et cetera.
   24· · · ·Q· ·When you state that the overall danger of self
   25· harm is higher than commonly understood, what are you


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   ·1· referring to specifically?
   ·2· · · ·A· ·Can we see the verbiage?· On 41?
   ·3· · · ·Q· ·Yes, this is -- it's actually paragraph 40, I'll
   ·4· highlight the language.
   ·5· · · ·A· ·Okay. Yes, this is my strong opinion, from my
   ·6· experience, most people who purchase a knife, just as an
   ·7· example, this is a subjection about knives in general, who
   ·8· purchased a knife, even with the thought of defense, never
   ·9· take training, simply put it in their pocket and walk
   10· around.
   11· · · · · ·I think the average person, not someone who
   12· actually takes the trouble to train in knife fighting or a
   13· knife defense type class, does not understand the dangers
   14· of self harm that they themselves face because of how
   15· razor sharp that blade is because they haven't practiced
   16· for years, how to, you know, move without accidentally
   17· cutting yourself, et cetera.
   18· · · ·Q· ·Okay. In paragraph 43 of your report --
   19· · · ·A· ·Umm-umm.
   20· · · ·Q· ·-- you state:· "Some switchblades are widely
   21· regarded as poor weapons of choice for self-defense."
   22· · · · · ·You see that?
   23· · · ·A· ·I do.
   24· · · ·Q· ·And how did you come to this conclusion?
   25· · · ·A· ·This is -- I'm not saying it's a universal


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   ·1· consensus; right? People disagree within the knife
   ·2· community, within the weapons community, but from my
   ·3· experience discussing these matters online in various
   ·4· groups, this opinion is common, that switchblades are a
   ·5· poor choice compared to other knife types for defensive
   ·6· purposes. I do not have empirical, quantitative data on
   ·7· that.
   ·8· · · ·Q· ·Okay. So you're basing this just on the fact of
   ·9· having discussions on various Internet forums and
   10· discussions --
   11· · · · · ·(Overlapping speakers; indecipherable)
   12· · · ·A· ·-- yes, martial arts instructors and weapons
   13· instructors, and just random knife enthusiasts, yes.
   14· · · · · ·This is definitely stated as an opinion. That is
   15· my opinion on that I have found this to be a prevalent
   16· thought.
   17· · · · · ·Again, I'm not saying, you know, universal in
   18· consensus by any stretch.
   19· · · ·Q· ·Okay.
   20· · · · · ·(Court Reporter speaks; off the record)
   21· · · ·Q· ·Actually, bear with me one second here -- so two
   22· other questions here.
   23· · · · · ·Are you aware that switchblades are legal to
   24· purchase and possess in a majority of the country?
   25· · · · · ·MS. REILLEY:· Vague and ambiguous, overbroad,


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   ·1· calls for legal conclusion.
   ·2· · · · · ·MR. DILLON: You can go ahead and answer.
   ·3· · · ·A· ·I would say I'm not an expert in knife law.
   ·4· · · · · ·MR. DILLON:· All right.
   ·5· · · · · ·At this time I have no questions and I'll hand it
   ·6· over to defense counsel.
   ·7· · · · · ·MS. UYEHARA: We just have one question, Robert,
   ·8· and it's regarding the recreational knives we were
   ·9· discussing earlier.
   10· · · ·Q· ·To your knowledge, are some of those recreational
   11· knives shorter than two inches in length?
   12· · · ·A· ·Yes.
   13· · · ·Q· ·And is it also your conclusion that some of those
   14· are currently legal in the State of California?
   15· · · · · ·MR. DILLON:· Objection; legal conclusion, calls
   16· for speculation. The witness stated he's not an expert on
   17· law.
   18· · · ·A· ·I believe that is it, unless you had another --
   19· · · · · ·THE COURT REPORTER: Did we get an answer? I don't
   20· think we have got answer to the last question.
   21· · · · · ·THE WITNESS: I'm ready.
   22· · · · · ·As I stated, I'm not an expert in law, but I do
   23· know -- I've seen evidence that yes, Katrina's statement
   24· is correct about knives in California.
   25· · · · · ·MR. DILLON:· All right.


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   ·1· · · · · ·I think that wraps it up.
   ·2· · · · · ·Mr. Escobar, thank you for your time today. I
   ·3· appreciate it.
   ·4· · · · · ·THE WITNESS: Thank you. Thanks, everyone.
   ·5· · · · · ·MR. DILLON:· Can we go off the record?
   ·6· · · · · ·(Exhibit 9 marked)
   ·7· · · · · ·(Deposition concluded at 3:46 p.m.)
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   ·1
   ·2· · · · · · · · · ·REPORTER'S CERTIFICATION
   ·3
   ·4· · · · · · · I, Joan Theresa Cesano, Certified Shorthand
   ·5· Reporter, in and for the State of California, do hereby
   ·6· certify:
   ·7· · · · · · · That the foregoing witness was by me duly
   ·8· sworn; that the deposition was then taken before me at the
   ·9· time and place herein set forth; that the testimony and
   10· proceedings were reported stenographically by me and later
   11· transcribed into typewriting under my direction; that the
   12· foregoing is a true record of the testimony and
   13· proceedings taken at that time.
   14
   15· · · · · · · IN WITNESS WHEREON, I have subscribed my name,
   16· · · · · ·this 23rd day of February, 2024.
   17
   18
   19· · · · · · · · · · · · · ·Joan Theresa Cesano, CSR No. 2590
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   ·1· · · · · · ·DECLARATION UNDER PENALTY OF PERJURY
   ·2· ·Case Name: Knife Rights Inc. vs. Rob Bonta Attorney General
   ·3· ·Date of Deposition: 02/09/2024
   ·4· ·Job No.: 10134989
   ·5
   ·6· · · · · · · · ·I, ROBERT ESCOBAR, hereby certify
   ·7· ·under penalty of perjury under the laws of the State of
   ·8· ·________________ that the foregoing is true and correct.
   ·9· · · · · · · · ·Executed this ______ day of
   10· ·__________________, 2024, at ____________________.
   11
   12
   13· · · · · · · · · · · · ·_________________________________
   14· · · · · · · · · · · · · · · ·ROBERT ESCOBAR
   15
   16· ·NOTARIZATION (If Required)
   17· ·State of ________________
   18· ·County of _______________
   19· ·Subscribed and sworn to (or affirmed) before me on
   20· ·this _____ day of ____________, 20__,
   21· ·by________________________,· · proved to me on the
   22· ·basis of satisfactory evidence to be the person
   23· ·who appeared before me.
   24· ·Signature: ______________________________ (Seal)
   25


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   ·1· ·DEPOSITION ERRATA SHEET

   ·2· ·Case Name: Knife Rights Inc. vs. Rob Bonta Attorney General
   · · ·Name of Witness: Robert Escobar
   ·3· ·Date of Deposition: 02/09/2024
   · · ·Job No.: 10134989
   ·4· ·Reason Codes:· 1. To clarify the record.
   · · · · · · · · · · 2. To conform to the facts.
   ·5· · · · · · · · · 3. To correct transcription errors.

   ·6· ·Page _____ Line ______ Reason ______

   ·7· ·From _______________________ to ________________________

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   ·9· ·From _______________________ to ________________________

   10· ·Page _____ Line ______ Reason ______

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   18· ·Page _____ Line ______ Reason ______

   19· ·From _______________________ to ________________________

   20· ·Page _____ Line ______ Reason ______

   21· ·From _______________________ to ________________________

   22· ·_______ Subject to the above changes, I certify that the
   · · · · · · ·transcript is true and correct
   23· ·_______ No changes have been made. I certify that the
   · · · · · · ·transcript· is true and correct.
   24
   · · · · · · · · · ·_____________________________________
   25· · · · · · · · · · · · · ROBERT ESCOBAR


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   7   Attorney for Plaintiffs
   8

   9                         UNITED STATES DISTRICT COURT
  10                      SOUTHERN DISTRICT OF CALIFORNIA
  11
       KNIFE RIGHTS, INC., et al.,                   Case No.: 23-cv-474-JES-DDL
  12
                                       Plaintiffs,
  13                                                 Hon. James E. Simmons, Jr.
       v.
  14
       CALIFORNIA ATTORNEY GENERAL               MICHAEL JANICH’S EXPERT
  15   ROB BONTA, et al.,                        REBUTTAL REPORT AND
                                                 DECLARATION REBUTTING
  16                                 Defendants.
                                                 EXPERT REPORT AND
  17                                             DECLARATION OF ROBERT
                                                 ESCOBAR
  18
  19
                                                     Complaint Filed: March 15, 2023
  20

  21

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  28
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT ANDKR1967
                                                                            DECLARATION
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1     REBUTTAL TO EXPERT REPORT AND DECLARATION OF ROBERT
   2
                               ESCOBAR
             I, Michael Janich, declare as follows:
   3

   4         1.     I am over 18 years of age and am not a party, nor a party representative,
   5   to this action. The facts contained in my declaration are true and correct, and I would
   6   (and could) competently testify to such facts if called as a witness. My declaration is
   7   based on my own personal knowledge, education, employment background, and
   8   experience, particularly as it relates to automatic opening knives, or “switchblades.”
   9         2.     The organization Knife Rights, represented by the Dillon Law Group,
  10   has asked me to provide a rebuttal to the expert report of Robert Escobar pertaining to
  11   automatic opening knives/switchblades. My declaration covers my background and
  12   qualifications; my retention and compensation; my opinions and the basis for those
  13   opinions; and my concluding remarks.
  14
             3.     Counsel for Plaintiffs provided with the operative Complaint in this
  15
       matter, copies of relevant statutes being challenged, and other case-related documents
  16
       related to this matter. Other, than these documents, my report is based on my own
  17
       independent research, knowledge, and experience.
  18
  19
       BACKGROUND AND QUALIFICATIONS

  20         4.     I have been a knife collector and enthusiast for nearly 50 years and have
  21   earned a worldwide reputation as an expert in the field of knives, knife history, and
  22   the design and combative use of edged weapons. Since 1992, I have shared my
  23   knowledge of knives and their defensive use as the author of several hundred articles
  24   in more than a dozen publications, including preeminent cutlery publications such as
  25   Blade magazine, Tactical Knives, Combat Knives, Knives Illustrated, and several
  26   Knives annuals. I have also authored or co-authored more than a dozen books,
  27   including Knife Fighting: A Practical Course, Street Steel, and the revision of
  28
                                                  2
                                  MICHAEL JANICH'S EXPERT REBUTTAL REPORT ANDKR1968
                                                                             DECLARATION
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   1   Switchblade: The Ace of Blades. Since January 2017, I have been the edged weapons
   2   expert for the United States Concealed Carry Association (USCCA) and a featured
   3   author and contributing editor to every issue of Concealed Carry magazine.
   4
             5.     I am also an accomplished knife designer with more than a dozen
   5
       custom and production knives to my credit. My designs have been manufactured by
   6
       leading cutlery companies, including Masters of Defense, BlackHawk Blades,
   7
       Spyderco, Combat Elite, and Max Knives. To date, my designs have been recognized
   8
       by three U.S. patents.
   9
             6.     For the past 20 years, I have been employed full-time in the cutlery
  10
       industry. I served as the Brand Manager for the Masters of Defense and BlackHawk
  11
       Blades knife brands of BlackHawk Products Group and, for the past 14 years, have
  12
       served as the Special Projects Coordinator for Spyderco, Inc. In those capacities, I
  13
       have been responsible for assisting in the development, promotion, marketing, and
  14
       product education of more than 150 knife designs.
  15

  16         7.     I have been training in the martial arts for 50 years and have been
  17   teaching martial arts and self-defense for 48 years. I have earned instructor
  18   credentials in the martial systems of American Self-Protection (ASP), Serrada
  19   Eskrima, Natural Spirit International, and Silat Concepts; and have trained in and
  20   researched many other martial arts disciplines. I was also personally mentored by the
  21   late Col. Rex Applegate, close-combat instructor to the OSS (Office of Strategic
  22   Services, the World War II predecessor of the CIA), and I am widely regarded as the
  23   heir to his system of handgun point shooting. I am the founder and lead instructor of
  24   the Martial Blade Concepts (MBC), Counter-Blade Concepts (CBC), Damithurt Silat,
  25   and Sobadiwan Eskrima systems of self-defense, and have been teaching those
  26   systems worldwide for more than 20 years. In addition to training hundreds of
  27   civilians, I have also provided specialized training in edged-weapon, counter-edged-
  28
                                                3
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT ANDKR1969
                                                                            DECLARATION
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   1   weapon, and firearm tactics to U.S. Air Marshals, Canadian Air Marshals, and
   2   numerous law enforcement agencies and SWAT teams. Since 1992, I have shared my
   3   approach to self-defense training in more than 20 full-length instructional videos. I
   4   have also served as the co-host and personal-defense subject matter expert of The
   5   Best Defense television series on Outdoor Channel during its entire 11-year
   6   production.
   7
              8.     Based on my knowledge of both edged weapons and the dynamics of
   8
       self-defense, I have served as an expert consultant on a number of legal cases
   9
       involving the use of knives in violent encounters.
  10
              9.     A true and correct copy of my current Curriculum Vitae is attached
  11
       hereto as Exhibit A.
  12

  13   RETENTION AND COMPENSATION
  14          10.    I have been retained by the Dillon Law Group to render expert rebuttal
  15   opinions in this case. I am being compensated at a rate of $150 per hour. My
  16   compensation is not contingent on the substance of my opinions or any testimony in
  17   this case.
  18
       BASIS FOR OPINION AND MATERIALS CONSIDERED
  19
              11.    Counsel for Plaintiff Knife Rights, et al., provided me with a copy of Mr.
  20
       Escobar’s expert report. My declaration references the content and details Mr.
  21
       Escobar’s report directly, but is otherwise based on my own independent personal
  22
       knowledge,     research,   education,   employment     background,    and   specialized
  23
       knowledge.
  24

  25   OPINIONS
  26          12.    In section I, page 4, of Mr. Escobar’s report, “THE APPEAL OF THE
  27   SWITCHBLADE TO CRIMINALS,” he asserts that his research shows “a clear
  28
                                                  4
                                   MICHAEL JANICH'S EXPERT REBUTTAL REPORT ANDKR1970
                                                                              DECLARATION
                                   REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1   preference by criminals for edged-weapons (sic) that are culturally understood to be
   2   inherently frightening, including switchblades and their historical precursors.” He
   3   then provides archaic historical references to the Spanish navaja and the alleged use
   4   of straight razors by gangs in Australia. Neither of those references are relevant to
   5   the criminal use of edged weapons, including switchblades, in the United States or,
   6   more specifically, the State of California—especially in modern times. Additionally,
   7   nowhere in this section of Mr. Escobar’s report is there any opinion or support for the
   8   proposition that switchblades are the “clear preference for criminals.” There is not
   9   data to reference or review in support of his claims.
  10
             13.    Mr. Escobar also refers to a single “Ray Floro” video claiming the video
  11
       discusses switchblades and asserts that switchblades “are as brittle as glass.” After
  12
       searching online I found the referenced video on Ray Floro’s YoutTube channel titled
  13
       “Razor Fighting1.MTS.” However, the video only discusses straight razors and
  14
       makes no reference to switchblades of any kind. Additionally, Mr. Floro describes
  15
       straight razors as “brittle as glass,” not switchblades. Thus, I see no relevance to any
  16
       fact in this case through Mr. Escobar’s incorrect reference. In fact, most modern
  17
       knives, including switchblades, are made of quality metal and would not be described
  18
       as “brittle as glass” in any way.
  19
             14.    In developing the Counter-Blade Concepts (CBC) system of self-
  20
       defense—a curriculum specifically focused on unarmed defensive tactics against
  21
       edged-weapon attacks—I have analyzed literally hundreds of videos of actual
  22
       criminal assaults with knives and other edged weapons. I began this analytical
  23
       process in the late 1990’s and, with the proliferation of surveillance and cell phone
  24
       video and Internet platforms such as YouTube, continue it to this day. Based on my
  25

  26
       analysis, I have not been able to identify a single incident in which a switchblade was

  27
       used to threaten or physically attack another person. On the contrary, my research

  28
       indicates the most commonly used type of knife in criminal assaults is some form of
                                                  5
                                                                              KR1971
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
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   1   common kitchen knife. I have corroborated this fact with many of the law
   2   enforcement officers whom I have trained. They explained that, because kitchen
   3   knives are inexpensive and readily available, criminals prefer them because they can
   4   be easily disposed of, if the criminals fear they will be searched.
   5
             15.    In addition to my own analysis, there is formal statistical evidence that
   6
       indicates that kitchen knives are the weapons of choice of criminals. In the report,
   7
       The Police Killing of Persons Brandishing Knives in the United States, by Bruece
   8
       Machacynski of the American Military University (October 5, 2020), he first
   9
       described the expected results of his research, citing numerous previous statistical
  10
       studies:
  11
             It was expected that 52% of decedents would be armed with kitchen
  12
             knives. This estimate is an average of the 55% kitchen knife usage
  13         reported by Hunt and Cowling (1991), the 48% reported by Karlsson
             (1998), and the 58% reported by Kidd et al. (2014).
  14
       (Machacynski 2020, at 25.)
  15

  16   Machacynski later summarized his findings, as follows:

  17         Analysis of the data revealed the type of knife brandished by the
  18
             decedent was reported in 57% (n= 99) of cases (see Table 8). Of
             those, 44% (n = 44) of decedents were armed with kitchen knives.
  19         While this result was less than expected (H0: kitchen knife usage =
  20         52%), the difference was not significant, and the null hypothesis was
             not rejected.
  21
       (Machacynski 2020, at 92-30.)
  22
             16.    Machacynski also included a table that provided a detailed breakdown of
  23
       the specific types of knives identified in the incidents studied. It revealed that only
  24
       4.6% of the incidents involved folding knives and 0.6% involved razors—the types of
  25
       knives Mr. Escobar erroneously defines as the “clear preference” of criminals.
  26
       Significantly, of the incidents analyzed in Machacynski’s study, 29% occurred in the
  27

  28
                                                   6
                                                                              KR1972
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   1   State of California. Thus, Mr. Escobar’s claims are not only unsupported, but
   2   explicitly contradicted by available data.
   3
             17.    While Mr. Escobar is a skilled historian and researcher with regard to
   4
       impact weapons (e.g., saps, blackjacks, and slungshots), his anachronistic references
   5
       to the Spanish navaja and straight razor reflect his passion for romanticized history,
   6
       not the reality of modern criminal knife use in the United States. Moreover, his
   7
       characterization of the navaja as a tool of Spain’s criminal culture is also historically
   8
       inaccurate. In Sevillian Steel by James Loriega—a book devoted to the martial arts
   9
       history of the navaja—Loriega explains that the carry of swords by Spaniards of all
  10
       classes was universal during Spain’s Golden Age. When that privilege was later
  11
       restricted to higher social classes, the folding navaja became popular among the
  12
       common people. He then quotes Arturo Sánchez de Vivar’s La Navaja Clasica,
  13
       which stated, “Little by little, the navaja became more accepted, appreciated, and
  14
       used by all classes of Spanish society; not only the working class, but the middle
  15
       class and aristocracy soon adopted navajas as their inseparable companions.” Today,
  16
       the navaja remains a revered cultural symbol in Spain.
  17
             18.    Similarly, Mr. Escobar fails to mention that switchblades were also an
  18
       integral part of Spain’s cutlery industry. In fact, switchblades were manufactured and
  19
       actively sold in Spain through most of the 20th century, including decades after
  20
       enactment of any U.S. restrictions. Despite that fact, there is no evidence that their
  21
       very nature made them “a clear preference by criminals.” Escobar Decl. ¶14.
  22

  23         19.    As a lifelong knife collector, I have been personally pleased to see the
  24   substantial increase in the commercial availability of automatic knives over the past
  25   20 years. When I first began collecting knives about 50 years ago, switchblades were
  26   more difficult to find. Now, they are readily available in most areas of the United
  27   States — as they were prior to the passage of the Federal Switchblade Act. Despite
  28
                                                    7
                                                                              KR1973
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
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   1   that fact, there is absolutely no evidence to indicate that their criminal use is in any
   2   way statistically significant. If switchblades, by their very nature and design, were
   3   somehow the “clear preference” of criminals, their use in criminal acts in the United
   4   States today would be prevalent. They are not.
   5
             20.    One last point regarding Mr. Escobar’s erroneous statement about
   6
       switchblades as the “clear preference” of criminals. Mr. Escobar makes the point in
   7
       the context of him concluding, without support, that they are “culturally understood
   8
       to be inherently frightening.” Escobar Decl. ¶14, (emphasis added). Based on my
   9
       knowledge of Second Amendment caselaw, the legal test is not whether a
  10
       switchblade is “inherently frightening.” The test focuses on whether switchblades are
  11
       both “dangerous and unusual,” and not their so-called “fright” factor. This is another
  12
       factor that has no bearing (relevance) on the legal issues in this case.
  13
             21.    As a historian, it is surprising that Mr. Escobar chose not to cite the
  14
       many practical reasons that switchblade knives were preferred cutting tools for many
  15
       people prior to the 1958 Federal Switchblade Act. During the first half of the 20th
  16
       century, switchblade knives were widely sold and marketed as practical utilitarian
  17
       cutting tools. The blades of traditional pocketknives had “nail nicks” — small
  18
       grooves machined into the blade to provide a purchase1 for the user’s fingernail to
  19
       open the knife. This design required two hands to open and often resulted in chipped
  20
       or broken fingernails.
  21

  22         22.    Switchblade knives, conversely, opened automatically with the push of a
  23   button or lever. This made them much easier to use one handed, especially if the
  24   user’s hands were cold or he was wearing gloves. Since many cutting chores involve
  25   holding the material to be cut with one hand while operating the knife with the other,
  26
       1
  27    Purchase meaning to a hold or position on something for applying power advantageously,
       or the advantage gained by such application.
  28
                                                   8
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                                                              KR1974
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1   switchblade knives were incredibly convenient and practical. In fact, the only thing
   2   that differentiated them from ordinary pocketknives was the convenience and ease
   3   with which they could be opened. Just as an automobile with an automatic
   4   transmission is easier to operate than one with a manual transmission, the spring-
   5   powered opening of a switchblade knife was a matter of convenience — not of
   6   intimidation or fright — as Mr. Escobar suggests.
   7
                23.   These facts were regularly touted as beneficial selling points in the
   8
       advertising and sale of automatic knives throughout the United States. The book,
   9
       Antique American Switchblades, by Mark Erickson includes numerous historical
  10
       advertisements and photo graphics of point-of-sale marketing displays. These
  11
       universally emphasize the practical conveniences of the knives with statements such
  12
       as:
  13
             • “No more breaking of finger nails.”
  14

  15         • “Easily opened, even with gloves or with chilled hands.”
  16
             • “Eliminate broken finger nails”
  17
             • “The perfect knife for lady or gentleman”
  18
  19         • “One hand only required to open or close, leaving the other free to retain grip
  20            on rod, gun, or any other object.”
  21         • “Always leaves one hand free.”
  22
             • “A necessity for sportsmen, hobbyists, carpenters, mechanics, electricians,
  23
                whittlers.”
  24

  25
                24.   This well-researched book also reflects the fact that the vast majority of

  26
       switchblades manufactured, carried, and used in the United States prior to enactment

  27
       of the Federal Switchblade Act closely resembled ordinary non-automatic

  28   pocketknives. They far outnumbered the Italian-style switchblades glorified in the
                                                     9
                                                                                KR1975
                                   MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                   REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1   juvenile delinquent movies of the 1950’s and demonized by politicians in Congress.
   2   Again, as an arms historian, Mr. Escobar seems to have chosen to ignore this rich,
   3   well-documented, and highly relevant American cutlery history to selectively focus
   4   on two marginally related weapons used in other countries during very different
   5   periods of history (e.g., navaja and straight razors).
   6
             25.    Today, American knife users clearly prefer the convenience of folding
   7
       knives that can be opened with only one hand. See AKTI Report. In most knife
   8
       designs, this is done manually by using the thumb to apply pressure to a purchase on
   9
       the blade to rotate it into the open position. The availability of this style of knife,
  10
       however, does not negate the utility of an automatic knife. Many people lack
  11
       sufficient finger strength to operate manual one-handed folding knives. Others suffer
  12
       from disabilities, such as arthritis, or do not possess the necessary hand strength or
  13
       dexterity. For these people, the convenience of a knife with a blade that opens
  14
       automatically is a tremendous practical benefit.
  15
             26.    In section II of Mr. Escobar’s report, “DANGERS IN USING AN
  16
       AUTOMATIC KNIFE FOR SELF-DEFENSE,” his comments reflect a serious lack
  17
       of understanding of modern self-defense, the defensive use of knives, the technology
  18
       of modern automatic knives, and firearms.
  19

  20         27.    For example, Mr. Escobar states that:
  21         “An automatic knife is by its nature the most complicated type of
  22         knife on the market.” Comparing it to a fixed blade knife (the
             simplest) is in my opinion like comparing an AR-15 to a revolver, a
  23         revolver generally being considered the apex of reliability and
  24         simplicity in firearms.”
  25   Escobar Decl. ¶ 20.
             28.    An AR-15 is a rifle; a revolver is a handgun. Comparing two vastly
  26

  27
       different categories of firearms is illogical and serves as a poor analogy for a serious

  28
       discussion of the merits of automatic knives.
                                                   10
                                                                              KR1976
                                  MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                  REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1           29.   Mr. Escobar continues:
   2
               “To better understand the dangers and impracticality of using an
   3           automatic knife for self-defense, it is helpful to first understand the
               three major knife categories. All knives can be classified into three
   4
               categories: (1) fixed blade, (2) folding, and (3) out to the front
   5           (“OTF”).”
   6   Escobar Decl. ¶ 20.
   7           30.   First, through this claim, Mr. Escobar appears to agree with the Plaintiffs
   8   in this matter that automatically opening knives are merely a type of folding pocket
   9   knife. Second, “Out to the front” is not a type of knife. The correct term, which is
  10   well established in the cutlery industry, is “out-the-front” knife. Mr. Escobar’s failure
  11   to use the correct terminology for this extremely popular style of automatic knife
  12   casts serious doubt on his depth of knowledge of this topic. Regardless, it seems that
  13   all parties agree that automatically opening knives are merely folding knives of some
  14   kind.
  15           31.   Further, while Mr. Escobar correctly states that bringing a folding knife
  16   into play under the stress of a self-defense situation is difficult, it is most definitely an
  17   achievable skill. In my system of Martial Blade Concepts (MBC), we emphasize this
  18   skill heavily, so students not only have the ability to use their knives effectively and
  19   responsibly in self-defense, but also have the ability to deploy them quickly and
  20   reliably under stress. Achieving this skill is a matter of practice. Professionally led
  21   training can enhance this skill, but anyone can gain proficiency and even mastery
  22   with sufficient practice and the right mindset.
  23
               32.   Moreover, bringing any defensive weapon to bear in a high stress self-
  24
       defense situation is difficult. Mr. Escobar’s assertions are not unique to folding
  25
       knives. The same is true for using any weapon in self-defense whether it is a gun,
  26
       pepper spray, or knife of any kind. Nevertheless, this universal fact does not diminish
  27
       the fact that these arms are used in self-defense.
  28
                                                    11
                                                                               KR1977
                                  MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                  REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1         33.    In reviewing Mr. Escobar’s martial arts credentials, I noted that the only
   2   fighting system he studied that included any type of edged-weapon training was
   3   HEMA (Historical European Martial Arts). As its name indicates, HEMA focuses on
   4   historical arms — specifically swords and other anachronistic weapons. Nothing in
   5   his training suggests that he has any significant depth of knowledge of the skills of
   6   defending oneself with small knives of a size that most commonly carried by both
   7   civilians and law enforcement. His seemingly arbitrary citing of sources like the
   8   poorly written article Men’s Gear magazine and a lengthy list of YouTube videos as
   9   “expert” information substantiates this fact.
  10
             34.    For example, in support of his claim regarding mechanical failures, Mr.
  11
       Escobar references a YouTube video montage uploaded by a “Shawnta Fairchild.”
  12
       This video consists of a number of pictures of a disassembled switchblade in which
  13
       the owner seemingly disassembled and cleaned their knife. Mr. Escobar also
  14
       references a YouTube video where a man adds a drop of lubricant to the blades of an
  15
       automatic knife, making it easier to push the button to release the blade. (Escobar
  16
       Report ¶¶ 23, n. 9, https://youtu.be/SLSrgXvrsFQ?si=Na20xUX3W525k99-). This
  17
       video provides no support for the assertions in Mr. Escobar’s report. Adding lubricant
  18
       to knives, especially all kinds of folding knives, is a part of ordinary maintenance.
  19
       The same is true for any firearm. Mr. Escobar also references at least three other
  20
       videos detailing how to put an out-the-front knife blade back on track if it should ever
  21
       come off track. Escobar Report ¶¶ 23, n. 9. This is a simple achievement by merely
  22
       pulling on the blade. However, these videos offer no support for Mr. Escobar’s
  23
       claims. The relevance of these videos is highly questionable, provide little value in
  24
       this case, and make me question Mr. Escobar’s expertise.
  25

  26
             35.    Mr. Escobar’s criticisms of switchblade knives as personal-defense

  27
       weapons also seem to focus primarily on the style of automatic knife depicted in the

  28
       juvenile delinquent movies of the 1950’s — the stereotypical Italian switchblade. His
                                                  12
                                                                              KR1978
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1   assertion that automatic knives will fail to open completely or lock securely in the
   2   open position is a valid criticism of some Italian-style switchblades, as the opening of
   3   their blades is powered by a leaf spring that only drives the blade through the initial
   4   portion of its arc. The remainder of its opening arc relies on momentum, which may
   5   be interrupted if the blade strikes an object. The blades of some Italian-style
   6   switchblades — as well as many classic American-made switchblades — also locked
   7   via the firing button. This was not a particularly robust mechanism; however, it also
   8   was far from the only one used. Many classic Italian-style switchblades also had very
   9   mechanically sound lock mechanisms that made them perfectly suitable for serious
  10   use. In summary, Mr. Escobar’s assertions regarding the dangers of switchblades
  11   failing to open completely or lock securely do not apply to the vast majority of
  12   switchblades today and are, quite frankly, outdated by approximately 50 years.
  13
             36.    Moreover, a failure to open completely or a failure to lock are not unique
  14
       to switchblades. These are potential issues for any folding knife. Based on Mr.
  15
       Escobar’s report, I am unaware of any data or study of defensive knife use that would
  16
       attribute these problems to switchblades over any other folding knife. Mechanical
  17
       failures exist with many forms of defensive arms. Guns, stun guns, Tasers, and
  18
       pepper spray can all suffer from various mechanical or user failures. Nevertheless,
  19
       they are all legitimate defensive weapons.
  20
             37.    The vast majority of the switchblade knives manufactured and
  21
       commercially available today are significantly different from traditional Italian
  22
       switchblades. Almost all are produced with the benefit of modern computer
  23
       numerical control (“CNC”) machining and feature higher quality materials and
  24
       precise manufacturing tolerances. Their blades are also driven by coil springs instead
  25

  26
       of leaf springs, which power the blade through its entire opening arc and virtually

  27
       guarantee a positive opening. Similarly, their lock mechanisms are also far more

  28
       robust than classic designs and easily rival the strength and reliability of the finest
                                                    13
                                                                              KR1979
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1   non-automatic, manual opening folding knives. Again, Mr. Escobar’s assertions
   2   entirely ignore these well-known facts.
   3
               38.   Mr. Escobar’s assertion that the safety mechanisms included on many
   4
       automatic knives cannot be operated quickly under stress is also flawed, as his
   5
       assertions apply primarily to older, traditional switchblade designs. He explains this
   6
       in his somewhat awkwardly worded statement that, “The overall dynamic is similar
   7
       to firearms: there is a safety that should be engaged when walking around. Thus, it
   8
       must be disengaged and then the ’trigger’ must be operated for defense use. Without
   9
       a substantial amount of training, it is highly unlikely that an individual would be able
  10
       to quickly and safely disengage a switchblade’s safety lock — and then safely deploy
  11
       the switchblade, as described above—in a self-defense situation.” Escobar Decl. ¶ 31.
  12
               39.   First, Mr. Escobar’s claims are highly generalized and are not supported
  13
       by any data or evidence of any kind. Second, under Mr. Escobar’s logic, any handgun
  14
       that has a safety would seemingly be more “dangerous” than a handgun that does not
  15
       have a safety. As an experienced self-defense and defensive shooting instructor, I do
  16
       not understand the logic of Mr. Escobar’s claims. Clearly, there are many firearms
  17
       that have a manual safety that are used in self-defense. While individual preferences
  18
       on whether to have a manual safety on your firearm exist, Mr. Escobar’s assertions
  19
       lack any support and further show his lack of expertise on this subject matter. As a
  20
       self-defense instructor I would always recommend that an individual should practice
  21
       and train before carrying any weapon with the intent of using it for self-defense.
  22
       Nevertheless, there are countless self-defense incidents where individuals were able
  23
       to implement the fine motor skills required to operate a weapon in self-defense
  24
       without training. And again, these facts have little relevance to the legal question at
  25

  26
       hand.

  27

  28
                                                 14
                                                                              KR1980
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1         40.    With that said, the safety mechanisms of most modern automatic knives
   2   are far better designed, more ergonomic, and more intuitive to operate than those of
   3   the older, traditional designs on which Mr. Escobar prefers to focus. Moreover, many
   4   modern automatically opening knives do not have a safety, but rather rely on the
   5   design of the opening mechanism itself to reduce the likelihood of an inadvertent
   6   opening. This is not unlike many modern firearms which do not incorporate a
   7   traditional manual safety (e.g., Glock handguns). Again, Mr. Escobar conveniently
   8   ignores these facts in his report.
   9
             41.    Mr. Escobar’s flawed logic is also clearly evident in his statement, “The
  10
       fact that militaries the world over clearly prefer fixed blade knives to switchblades
  11
       underscores the fact that switchblades are not well-suited for self-defense.” (Escobar
  12
       Decl. ¶ 33.) As a military veteran, I carried both fixed blades and folding knives when
  13
       I operated in the field. Most of my peers did the same, as they understood they
  14
       excelled at different applications. For combat and heavy-duty use, the fixed blade was
  15
       certainly preferred. However, for general utilitarian use—a far more common
  16
       application—folding knives, including switchblades, were the cutting tools of choice.
  17
       Unquestionably, the vast majority of knives, including switchblades, are designed to
  18
       be used for all manner of lawful purposes, but can also be used in exigent
  19
       circumstances for self-defense.
  20
             42.    Further, switchblades and non-spring-driven gravity knives, since World
  21
       War II, have been the preferred knives of paratroopers. In the event that a
  22
       paratrooper’s chute became entangled in a tree or other obstacle, he would need to cut
  23
       the shroud lines to free himself. For this purpose, the United States military adopted a
  24
       switchblade knife as an official-issue item to paratroopers in World War II. Although
  25

  26
       the design has evolved several times since then, automatic knives are still official-

  27
       issue tools for paratroopers.

  28
                                                  15
                                                                               KR1981
                                  MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                  REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1         43.    Additionally, when I managed the Masters of Defense knife company,
   2   and in my current role with the Spyderco knife company, a significant number of the
   3   knives that I sold to both military units and individual servicemen were automatic
   4   knives. Many switchblade manufacturers, most notably Benchmade, have earned
   5   National Stock Numbers (NSN) for their automatic knives. These numbers expedite
   6   the purchase of these items by military units and other government entities and are
   7   only given to commercial products that are in high demand by such organizations.
   8   Whether used in the field as cutting tools or weapons, switchblades offer significant
   9   advantages to military personnel in that they allow them to rapidly and reliably access
  10   a cutting tool with only one hand, even while wearing gloves. For these reasons, Mr.
  11   Escobar’s unsupported claims regarding military use are simply wrong.
  12
             44.    Part III of Mr. Escobar’s report, titled “IN COMPARISON TO OTHER
  13
       TYPES OF WEAPONS, SWITCHBLADES ARE PARTICULARLY ILL-SUITED
  14
       FOR SELF-DEFENSE,” is nothing more than a random collection of quotes that
  15
       actually apply to the defensive use of knives in general and have nothing specifically
  16
       to do with switchblades. (Escobar Report, ¶¶. 34-39). Nothing in these statements
  17
       offers any proof that, “switchblades are particularly ill-suited for self-defense.” The
  18
       fact that Mr. Escobar felt it necessary to cite other alleged experts rather than rely on
  19
       his own expertise again suggests that his depth of knowledge in this area is severely
  20
       limited.
  21
             45.    I agree that using a knife in self-defense is difficult and that many people
  22
       do not have the commitment to do so. In my own experience, I have seen that the
  23
       same issue is true of other weapons used for self-defense, including firearms, as well
  24
       as unarmed fighting skills. Many people train in the martial arts, shoot firearms, and
  25

  26
       even carry weapons daily, yet lack the commitment to use them to wound or kill

  27
       another human being. That is a well-documented element of human nature (as

  28
       evidenced by the critically acclaimed work of Col. David Grossman and his books,
                                                  16
                                                                              KR1982
                                  MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
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   1   On Combat and On Killing), but has absolutely nothing to do with the viability of
   2   switchblade knives or knives in general as self-defense weapons.
   3
             46.    Mr. Escobar’s “Conclusion” portion makes many sweeping statements
   4
       as if they were fact. Since they reflect fundamental flaws of logic, I will address each
   5
       one individually. First, he claims “Knives — including switchblades — are offensive
   6
       and deadly weapons by the nature of their design.” (Escobar Report. ¶ 40.) This is
   7
       patently false. The felonious use of knives accounts for a tiny fraction of all knife use.
   8
       Responsible citizens use knives every day as utilitarian tools and the vast majority of
   9
       knives in existence today are designed to function as tools, not weapons. Further, as
  10
       Mr. Escobar has no experience whatsoever, let alone expertise, in the design or
  11
       manufacture of any kind of knife, his personal opinion has no factual support.
  12
             47.    Mr. Escobar continues, “Without proper training they can be turned
  13
       against their own user.” This is a common cliché repeated throughout the self-defense
  14
       community — typically by those who choose not to engage in active martial arts
  15
       training. Without proper training, all weapons can conceivably be taken from, and
  16
       potentially turned against, their user. This highlights the advantage of hands-on
  17
       training, no matter what weapon one might choose to carry. Moreover, even with
  18
       training, any weapon can be taken from and turned against their user. There are
  19
       countless examples of guns, Tasers, and even batons being wrestled away from
  20
       trained police officers and used against them. Again, Mr. Escobar’s assertions are not
  21
       unique to switchblades or knives in general. It is surprising that Mr. Escobar would
  22
       tout his own qualifications as a martial artist and self-defense enthusiast, yet choose
  23
       to echo this cliché.
  24

  25         48.    Mr. Escobar states, “They have also been dropped in the ultra-intense,
  26   adrenalized situation of a self-defense encounter. And the overall danger of self-harm
  27   is higher than commonly understood.” (Escobar Decl. ¶ 40.) He expresses these as
  28
                                                  17
                                                                              KR1983
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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   1   documented facts, yet nowhere in his report does he provide any example of them
   2   happening. Even if his conjecture were true, it again points to the advantage of
   3   receiving training and does not define the suitability of switchblades as defensive
   4   weapons or utilitarian cutting tools.
   5
             49.    In paragraph 40, Mr. Escobar concludes, “Additionally, multiple experts
   6
       feel people will fail to use one when it matters most because it is a vicious, up-close
   7
       implement.” (Escobar Decl. ¶ 40.) Once again, the commitment to use any lethal
   8
       weapon in self-defense is a serious one. That phenomenon is not exclusive to knives,
   9
       nor is it particularly exclusive to switchblades.
  10
             50.    In paragraphs 41 and 42, Mr. Escobar reiterates his belief that
  11
       switchblades are so mechanically intricate and their operation requires such fine
  12
       motor skills that they simply cannot be operated under stress. As I noted previously,
  13
       that is somewhat true for older, traditional Italian switchblade designs. However, it is
  14
       not true for modern automatic knife designs, which are both ergonomically and
  15
       mechanically much more advanced. Again, it reflects Mr. Escobar’s narrow
  16
       historian’s focus rather than a broad-based understanding of modern automatic
  17
       knives.
  18
  19         51. In my expert opinion, knives can be very viable self-defense weapons,
  20   provided they offer adequate blade length to reach key anatomical targets of an
  21   attacker that produce rapid, reliable incapacitation. In developing my Martial Blade
  22   Concepts (MBC) system of edged-weapon self-defense, I specifically focused on
  23   tactics that could be effective with blades as short as 2.5 inches in length. I did this
  24   because this blade-length limit is prescribed by the municipal laws of the cities of
  25   Chicago and Boston, and is also the maximum length allowed for carry by
  26   government employees in United States federal buildings. Through extensive
  27   empirical testing on analog cutting targets made from animal meat, wooden dowels,
  28
                                                   18
                                                                              KR1984
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
Case 3:23-cv-00474-JES-DDL Document 34-5 Filed 03/06/24 PageID.2877 Page 942 of
                                     1085




   1   string, and plastic wrap, I confirmed that MBC tactics could cut deeply enough with a
   2   2.5-inch blade to reliably stop a violent attacker by severing key muscles and nerves.
   3   These same tactics, when executed with knives shorter than 2.5 inches did not
   4   produce cuts of sufficient depth to effectively disable an attacker of average or above-
   5   average size. For this reason, I consider a 2.5-inch blade length to be the absolute
   6   minimum for a knife suitable for self-defense. When legally permissible, I encourage
   7   my students to carry longer blades that offer even greater effectiveness as self-
   8   defense weapons. In my opinion, the cutting performance of the sub-two-inch
   9   automatic knives currently allowed by California law is inadequate for self-defense.
  10
       CONCLUSION
  11
              52.   Mr. Escobar is a talented and passionate historian with regard to impact
  12
       and unusual weapons. I own and have read his book Saps, Blackjacks, and
  13
       Slungshots, so I was familiar with his writing prior to reading his expert report. While
  14
       he has an excellent ability to unearth obscure historical references to various
  15
       weapons, his lack of hands-on training in the use of those specific weapons severely
  16
       limits the accuracy of his personal insights. Instead, he relies on often repeated, but
  17
       factually inaccurate, myths and clichés about specific weapons and their combative
  18
       use.
  19

  20          53.   As a historian, Mr. Escobar also focuses intently on topics and historical
  21   timeframes that are of great interest to him, but not necessarily relevant to this case.
  22   This seems particularly true of his obsession with the use of straight razors by gangs
  23   in Australia during the 1920’s and 1930’s. Although only marginally relevant to the
  24   topic of modern automatic knives, it is clearly a topic of fascination to him —
  25   especially since he saw fit to mention, “I have also conducted extensive research into
  26   the straight razor, another weaponry niche which I will address in an upcoming
  27   book.”
  28
                                                 19
                                                                              KR1985
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                 REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
Case 3:23-cv-00474-JES-DDL Document 34-5 Filed 03/06/24 PageID.2878 Page 943 of
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   1         54.    Most importantly, Mr. Escobar’s personal training does not include any
   2   disciplines that focus on the defensive use of small knives, specifically folding
   3   knives. Again, his insights on self-defense with this class of weapon consist almost
   4   exclusively of quotes of other alleged experts and a somewhat random collection of
   5   YouTube videos. Additionally, he completely, and seemingly purposely, ignores the
   6   fact that knives are primarily cutting tools, not weapons.
   7
             55.    Simply put, switchblades are a category of folding knife that opens
   8
       automatically with the push of a button or operation of some other trigger
   9
       mechanism. Once open, they are functionally no different than any other knife. Their
  10
       automatic-opening function was originally conceived to allow them to be opened
  11
       conveniently using only one hand. This gave them a significant advantage as utility
  12
       tools, as they could be carried as easily as an ordinary pocketknife, yet be opened and
  13
       used with less effort. For individuals with limited hand strength or ailments like
  14
       arthritis that hinder their dexterity, this is a tremendous benefit. It allows them to
  15
       carry and use a pocketknife that is far better suited to their physical limitations than
  16
       manual folding knife designs. In the modern era, the broad acceptance of one-hand
  17
       opening knives in the marketplace serves to emphasize the practical advantages these
  18
       designs offer and automatically opening knives are simply one variation of how one-
  19
       hand opening has achieved that.
  20
             56.    In the United States, switchblades were produced and marketed for more
  21
       than half a century as utilitarian tools that provide the aforementioned conveniences
  22
       of operation. The number of switchblades of this type produced far outnumbered the
  23
       Italian-style automatic knives introduced into the United States after World War II. In
  24
       addition to their functionality as cutting tools, like other mechanical devices, these
  25

  26
       switchblades also offered an element of novelty in their operation that makes them

  27
       intriguing and desirable to collectors. Despite their numbers, there was never any

  28
       statistical evidence that indicated they were affiliated with criminal activity.
                                                   20
                                                                              KR1986
                                 MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
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   1          57.    I have collected knives and trained in the defensive use of edged
   2   weapons for nearly 50 years. I have also served this Country overseas in areas where
   3   the private ownership of firearms by foreigners was strictly prohibited. In those
   4   environments, I carried and relied upon knives as primary defensive weapons.
   5   Thankfully, I have never been forced to wound another person with a knife in self-
   6   defense, but I have been in several situations where my life was in danger and my
   7   ability to draw and open a folding knife quickly and confidently turned the tables.
   8
              58.    With this in mind, it is also important to note that Mr. Escobar’s
   9
       references to the “intimidation factor” of automatic knives focus exclusively on their
  10
       criminal use. Many law-abiding citizens properly licensed to carry handguns have
  11
       resolved potentially violent situations through the “defensive display” of their
  12
       firearms. Based on my own personal experience and experiences recounted to me by
  13
       my Martial Blade Concepts students and others, deploying a knife, quickly and
  14
       confidently, against a person posing a threat is very likely to force him to withdraw.
  15
       As such, the advantages that switchblades provide for swift, one-handed deployment
  16
       can be a tremendous benefit to law-abiding citizens during justifiable acts of self-
  17
       defense. In fact, compared to manual one-hand opening knives, they offer a huge
  18
       advantage under stress in ease of deployment, the very advantage Mr. Escobar tries to
  19
       turn onto its head as a liability.
  20
              59.    If the defensive display of a knife is insufficient to deter a potentially
  21
       lethal threat, there is absolutely no question that it could be used as an effective self-
  22
       defense weapon. That fact has been proven countless times. From my personal
  23
       perspective, several of my Martial Blade Concepts (MBC) students have successfully
  24
       applied their knives and their skills to defend their lives. I have also interviewed
  25

  26
       numerous other people, both male and female, who have used knives effectively to

  27
       defend themselves. A knife—including a switchblade—is most definitely a viable

  28
       defensive weapon.
                                                   21
                                                                                KR1987
                                   MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                   REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
Case 3:23-cv-00474-JES-DDL Document 34-5 Filed 03/06/24 PageID.2880 Page 945 of
                                     1085



             60.   Like all other commercial products, the design and manufacturing
   2   quality of knives - including automatic knives - can vary considerably. However,
   3   as an avid knife collector and historian who owns dozens of period and modem
   4   automatic knives, I can say unequivocally that the quality of today's switchblade
   5   knives is extremely high. Their performance and reliability as cutting tools is every
   6   bit as good as conventional, manually operated folding knives. As such, they are
   7   equally worthy choices as both utilitarian tools and potential defensive weapons.
   8   Like any other "automatic" product, what they offer is a level of convenience and
   9   ease of use that cannot be found in their "manual" counterparts. And for many users
  10 - including those whose hand strength, dexterity, or even the bilateral use of both
  11 arms is compromised by disease, age, or frailty - that ease of use can provide a life­
  12   changing advantage.
  13
             I declare under penalty of perjury under the laws of the United States that the
  14
       foregoing is true and correct and that I signed my declaration on January 19, 2024, at
  15
       Firestone, Colorado.
  16
  17
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                                                22
                                MICHAEL JANICH'S EXPERT REBUTTAL REPORT AND DECLARATION
                                                                            KR1988
                                REBUTTING EXPERT REPORT OF AND DECLARATION OF ROBERT ESCOBAR
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                               EXHIBIT A




                                                                     KR1989
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                                                       Michael D. Janich
                                                     10321 Bountiful Street
                                                      Firestone, CO 80504
                                                          303-995-8848
                                                     mjanich@comcast.net

Education:
               §    B.A., Asian Studies, Pacific Western University, Honolulu, Hawaii
               §    Twice Graduate with Honors of the Defense Language Institute, Monterey, California and recipient of the Commandant’s
                    Award for academic excellence
               §    Certified as a Professional Voice Language Analyst by the National Security Agency
               §    Graduate with Honors of three military leadership academies
               §    More than 40 years of martial arts and self-defense training and teaching experience
               §    Personal student of the late Colonel Rex Applegate, world-renowned expert in close-combat tactics and handgun point
                    shooting and former instructor to the Office of Strategic Services (OSS) during World War II

Work Experience:
2009-Present     Special Projects Coordinator – Spyderco, Inc., Golden, CO; Co-host, The Best Defense television series – Outdoor
     •
                 Channel; Founder and Lead Instructor, Martial Blade Concepts – Firestone, CO
             § Responsible for the design, prototyping, engineering, and testing of tactical knives and related products
             § Personally responsible for all key technical writing regarding Spyderco products, including catalog copy, website copy,
                 production instructions and information guides, warranty policies, marketing materials, the byte e-newsletter, and critical
                 business correspondence.
             § Scripted, shot, and edited product information videos for Internet, DVD, and point-of-sale use
             § Prepared and conducted targeted product and sales training for both internal and external sales personnel
             § Coordinated with U.S. military units and federal agencies to develop and adapt products to meet specific mission needs
             § Served as co-host and subject-matter expert of The Best Defense and The Best Defense: Survival!, the highest rated
                 personal defense programs on Outdoor Channel
             § Provided targeted training to civilians, law enforcement and military personnel in edged-weapon tactics and other aspects
     •
                 of armed and unarmed personal defense
2006-2009        Category Manager, Knives and Tactical Lights – BlackHawk Products Group, Norfolk, VA; Co-host, The Best Defense
     •
                 television series – Outdoor Channel; Founder and Lead Instructor, Martial Blade Concepts – Longmont, CO
             § Personally responsible for the design, prototyping, testing, manufacturing oversight and marketing of tactical knives and
                 related products
             § Directed domestic and international sales programs for knives and flashlights, interfacing directly with distributors, dealers,
                 U.S. and foreign government agencies and end users
             § Personally responsible for all key technical writing related to knife and light products, including catalog copy, website copy,
                 production instructions and information guides, warranty policies, and marketing materials.
             § Prepared and conducted targeted product and sales training for both internal and external sales personnel
             § Supervised vendor relations with domestic and foreign manufacturing vendors
     •
             § Served as co-host and subject-matter expert of The Best Defense and The Best Defense: Survival!
2004-2006        Director of Product Development – Masters of Defense and BlackHawk Blades knife companies, divisions of
     §
                 BlackHawk Products Group, Norfolk, VA; Founder and Lead Instructor, Martial Blade Concepts – Longmont, CO
             § Personally responsible for the design, prototyping, development and manufacturing oversight of tactical knives and related
                 products
             § Conducted in-depth analysis of market and operational trends as a basis for focused product-development strategies
             § Prepared written and video-based training materials on BlackHawk products and their proper use and conducted sales
     §
                 and product training for both internal and external sales personnel
1994-2004        Video Production Manager – Paladin Press, Boulder, CO; President - Ronin Productions, Boulder, CO; Founder and
     §
                 Lead Instructor, Martial Blade Craft – Longmont, CO
             § Personally established and supervised the video production department of a leading independent publisher of personal
                 security titles
             § Served as primary cameraman, lighting technician, sound engineer and director for approximately 100 independent studio


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                  and field video productions
              §   Responsible for the editing and post-production of more than 60 full-length independent video productions
              §   Personally responsible for identifying, recruiting and interfacing with recognized subject-matter experts in the fields of
                  personal security and defensive tactics
              §   Founded the Martial Blade Craft (MBC) and Counter-Blade Craft (CBC) systems of personal defense and provided
    §
                  targeted instruction in edged-weapon and counter-edged-weapon tactics to civilian, military and law enforcement students
1991-1994         Investigation Team Leader and Interpreter – Joint Task Force-Full Accounting (JTF-FA) Detachment One, U.S.
    §
                  Embassy, Bangkok, Thailand and JTF-FA Headquarters, Camp Smith, Hawaii
              §   Led 8-10 man teams in Vietnam and Laos during field investigations to determine the fates of American Prisoners of
                  War/Missing In Action (POW/MIA) from the Indochina War
              §   Served as interpreter for senior U.S. and Vietnamese government officials during national-level negotiations and technical
                  meetings
              §   Conducted unassisted debriefings of Vietnamese citizens, detainees, refugees and asylum seekers
              §   Compiled and prepared detailed written reports documenting field investigation results
    §
              §   Translated official documents from Vietnamese to English and English to Vietnamese
1989-1991         Intelligence Staff Officer and Debriefer – Defense Intelligence Agency (DIA) Stony Beach Program, U.S. Consulate
    §
                  General, Hong Kong
              §   Conducted unassisted debriefings of Vietnamese asylum seekers in refugee camps throughout Asia to elicit information
                  pertaining to incidents involving American POW/MIA from the Indochina War
              §   Represented the U.S. government in all matters concerning POW/MIA issues in Hong Kong, Macau and the Republic of
                  the Philippines
              §   Prepared detailed written reports of information obtained during debriefings for distribution to U.S. intelligence agencies
              §   Provided special assistance to the Royal Hong Kong Police, Marine Police and Special Branch
    §
                  members concerning Vietnamese refugee affairs and detention camp security
1985-1989
    §
                  Senior Vietnamese Voice Transcriber – U.S. Army Field Station Kunia, Wahiawa, Hawaii
              §   Monitored, intercepted and collected significant Vietnamese language voice traffic
              §   Prepared edited and verbatim transcripts of Vietnamese military communications traffic
              §   Performed preliminary intelligence analysis and reporting of collected information
    §
              §   Served as senior Vietnamese linguistic authority on station
1982-1984
    §
                  Senior Intelligence Analyst – National Security Agency, Fort George G. Meade, Maryland
              §   Performed short- and long-range analysis of Chinese-Mandarin signals intelligence traffic
              §   Prepared detailed reports of significant political and military events in the Peoples Republic of China for use by national-
                  level intelligence agencies

Skills and
Qualifications:

              §   Internationally recognized subject matter expert on knives and edged weapons
              §   Designer of more than 20 folding and fixed-blade knife designs, many of which were commercially manufactured
              §   Internationally recognized instructor of armed and unarmed personal-defense tactics and leading expert on edged-weapon
                  and counter-edged-weapon methods
              §   Selected as one of 12 subject matter experts for initial development of the Transportation Security Administration (TSA)
                  aircrew self-defense program
              §   Inducted into Black Belt magazine’s Hall of Fame as the 2010 Weapons Instructor of the Year
              §   Expert photographer and videographer
              §   Speak, read, and write Vietnamese with a high degree of fluency
              §   Possess a functional working knowledge of Chinese-Mandarin and Spanish
              §   Held a Top Secret Special Intelligence security clearance for 15 years
              §   Distinguished military service was recognized through receipt of the Defense Meritorious Service Medal, the Meritorious
                  Service Medal, the Army Achievement Medal, and the Good Conduct Medal
              §   Published author of more than a dozen books, over 20 instructional videos, and more than 150 articles for national and
                  international magazines


                          References and letters of recommendation available upon request



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              PLAINTIFFS' EXHIBIT AH
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                                 Deposition of
                           Dr. Brennan Rivas
                             February 12, 2024
                                    Volume I




                              Knife Rights Inc.
                                        vs.
                      Rob Bonta Attorney General




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        Volume I                                                    Knife Rights Inc. vs.
        Dr. Brennan Rivas                                    Rob Bonta Attorney General

   ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

   ·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

   ·3

   ·4· ·KNIFE RIGHTS, INC., et al.,

   ·5· · · · · · · · Plaintiffs,

   ·6· · · · · vs.· · · · · · · · · · · · ·No. 23-cv-474-JES-DDL

   ·7· ·CALIFORNIA ATTORNEY GENERAL
   · · ·ROB BONTA, et al.,
   ·8
   · · · · · · · · · Defendants.
   ·9· ·______________________________/

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   11· · · · · · · · · · ·REMOTE DEPOSITION OF

   12· · · · · · · · · · · ·DR. BRENNAN RIVAS

   13· · · · · · · · · · · · · ·VOLUME I

   14· · · · · · · ·Appearing from Fort Worth, Texas

   15· · · · · · · · · ·Monday, February 12, 2024

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   · · ·Reported by:
   23· ·KATHLEEN BACA
   · · ·CSR No. 10267
   24

   25· ·JOB No. 10134988


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        Volume I                                                    Knife Rights Inc. vs.
        Dr. Brennan Rivas                                    Rob Bonta Attorney General

   ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

   ·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

   ·3

   ·4· ·KNIFE RIGHTS, INC., et al.,

   ·5· · · · · · · · Plaintiffs,

   ·6· · · · · vs.· · · · · · · · · · · · ·No. 23-cv-474-JES-DDL

   ·7· ·CALIFORNIA ATTORNEY GENERAL
   · · ·ROB BONTA, et al.,
   ·8
   · · · · · · · · · Defendants.
   ·9· ·______________________________/

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   11
   · · · · · · · ·Remote deposition via Zoom
   12
   · · · · · · · ·videoconference of DR. BRENNAN RIVAS,
   13
   · · · · · · · ·Volume I, taken on behalf of Defendants,
   14
   · · · · · · · ·appearing from Fort Worth, Texas,
   15
   · · · · · · · ·beginning at 10:00 a.m. and ending at
   16
   · · · · · · · ·12:55 p.m. on Monday, February 12, 2024,
   17
   · · · · · · · ·before KATHLEEN BACA, Certified Shorthand
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   · · · · · · · ·Reporter No. 10267.
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        Volume I                                                    Knife Rights Inc. vs.
        Dr. Brennan Rivas                                    Rob Bonta Attorney General

   ·1· ·APPEARANCES:

   ·2· ·(All parties appeared via videoconference.)

   ·3· ·For Plaintiffs:

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        Volume I                                                    Knife Rights Inc. vs.
        Dr. Brennan Rivas                                    Rob Bonta Attorney General

   ·1· · · · · · · · · · · · · ·I N D E X
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   ·3· ·EXAMINATION BY MR. DILLON· · · · · · · · · · · · · ·5
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   10· · · · · · · · · · · · E X H I B I T S
   11· ·NUMBER· · · · · · · DESCRIPTION· · · · · · · · · ·PAGE
   12· ·Exhibit 1· Expert Report and Declaration of· · · · 11
   13· · · · · · · Brennan Rivas - 317 pages
   14· ·Exhibit 2· Photo of Page 138 from the book· · · · ·52
   15· · · · · · · American Knives - 1 page
   16· ·Exhibit 3· Photo of Benchmade Adamas knives -· · · 56
   17· · · · · · · 1 page
   18· ·Exhibit 4· Photo of Buck knives - 1 page· · · · · ·63
   19· ·Exhibit 5· Pages from the book Antique American· · 67
   20· · · · · · · Switchblades - 6 pages
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        Volume I                                                    Knife Rights Inc. vs.
        Dr. Brennan Rivas                                    Rob Bonta Attorney General

   ·1· · · · ·Fort Worth, Texas - Monday, February 12, 2024
   ·2· · · · · · · · · · · · · 10:00 a.m.
   ·3
   ·4· · · · · · · · · · · ·DR. BRENNAN RIVAS
   ·5· · · · having been administered an oath remotely, was
   ·6· · · · · · · examined and testified as follows:
   ·7
   ·8· · · · · · · · · ·EXAMINATION BY MR. DILLON
   ·9· · · · · · ·MR. DILLON:· Q.· All right.· Good morning.· My
   10· ·name is John Dillon.· I'm counsel for the plaintiffs in
   11· ·this matter, Knife Rights v California Attorney General
   12· ·Robert Bonta, Case No. 3:23-cv-00474-JES-DDL.
   13· · · · · · ·Good morning.· How are you?
   14· · · ·A.· · Good morning.· I'm doing well.· How are you?
   15· · · ·Q.· · What is the best way to refer to you?
   16· ·Ms. Rivas or Dr. Rivas or Professor Rivas?
   17· · · ·A.· · Dr. Rivas is good.
   18· · · ·Q.· · Okay.· So I'll be asking you questions today
   19· ·about this case and expert report that you submitted on
   20· ·behalf of defendants.
   21· · · · · · ·Do you understand that?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · And can you please state your full name for
   24· ·the record?
   25· · · ·A.· · Brennan Nicole Rivas.


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       Dr. Brennan Rivas                                     Rob Bonta Attorney General

   ·1· · · ·Q.· · And -- now, Dr. Rivas have you -- you've been
   ·2· ·hired by the defendants in this case.· Correct?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · And when were you first hired on this case?
   ·5· · · ·A.· · I believe I first heard about this case in, I
   ·6· ·think, November of 2023.
   ·7· · · · · · ·MS. REPORTER:· I'm having problems with her
   ·8· ·audio.· Are you hearing that also?
   ·9· · · · · · ·MR. DILLON:· I am hearing it on my end.· Maybe
   10· ·we should address that now before we get into it.
   11· · · · · · ·Let's go off the record.
   12· · · · · · · · (Recess taken 10:02 a.m. - 10:04 a.m.)
   13· · · · · · ·MR. DILLON:· Q.· So, Dr. Rivas, you're being
   14· ·paid by defendants for your expert work in this case.
   15· ·Correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · So before we begin to get into the substance
   18· ·of the deposition here there are a number of admonitions
   19· ·that I want to go over.
   20· · · · · · ·First, have you ever been deposed before?
   21· · · ·A.· · Yes.· One time.
   22· · · ·Q.· · And when was that?
   23· · · ·A.· · About a year ago.
   24· · · ·Q.· · Okay.· And what case was that for?
   25· · · ·A.· · It was a Federal case in Oregon.· I forget the


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   ·1· ·name of it.
   ·2· · · ·Q.· · Do you recall the subject matter of that case?
   ·3· · · ·A.· · It was a large capacity magazine case.
   ·4· · · ·Q.· · Okay.· And can you explain your role in that
   ·5· ·case for me?
   ·6· · · ·A.· · Yeah.· I was talking about the sort of long
   ·7· ·arc of historical firearm regulations in the United
   ·8· ·States.
   ·9· · · ·Q.· · Okay.· And so you were hired as an expert
   10· ·witness in that matter?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · And you submitted an expert report in that
   13· ·matter?
   14· · · ·A.· · I did, yes.
   15· · · ·Q.· · Is that the only time that you've been
   16· ·deposed?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · But you've submitted expert reports in other
   19· ·cases.· Is that correct?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · Are all the matters in which you've submitted
   22· ·an expert report solicited in your CV that's attached to
   23· ·your report in this matter?
   24· · · ·A.· · At the time I submitted it that was a full
   25· ·list to my -- to my knowledge or recollection.· I've


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   ·1· ·possibly submitted more since then.
   ·2· · · ·Q.· · Okay.· So I want to remind you that you're
   ·3· ·under oath.· You swore to tell the truth and the effect
   ·4· ·of that oath is as if you were testifying in court.
   ·5· · · · · · ·Do you understand that?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · And will you answer truthfully in response to
   ·8· ·my questions today?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · This deposition is being conducted remotely.
   11· ·However, that does not change the fact that we're
   12· ·conducting this deposition as if we're all in the same
   13· ·room.
   14· · · · · · ·Do you understand that?
   15· · · ·A.· · Yes.
   16· · · ·Q.· · And as this is a remote deposition I ask that
   17· ·you don't refer to any notes during your deposition and
   18· ·don't read from anything unless there are exhibits
   19· ·presented by me or you inform me that you're refreshing
   20· ·your memory by a specific document.
   21· · · · · · ·Do you understand that?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · And also know that during your deposition
   24· ·you're not permitted to communicate with the defense
   25· ·attorney while a question is pending.· That is to say no


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   ·1· ·text messages, e-mails, Chats or electronic
   ·2· ·communications of any kind will be permitted during
   ·3· ·questioning.
   ·4· · · · · · ·Do you understand that?
   ·5· · · ·A.· · Yes.
   ·6· · · ·Q.· · And please also be aware that no one else is
   ·7· ·permitted to be in the room with you during your
   ·8· ·deposition.
   ·9· · · · · · ·Do you understand?
   10· · · ·A.· · Yes.
   11· · · ·Q.· · Okay.· So the court reporter today is
   12· ·recording all the questions, answers, objections and
   13· ·will reduce that information into a booklet form after
   14· ·the deposition ends.· At which point you'll have an
   15· ·opportunity to read the transcript and correct any
   16· ·inaccuracies.
   17· · · · · · ·Do you understand that?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · But if you make any changes in your testimony
   20· ·that are inconsistent with the answers given during the
   21· ·deposition, I'll be entitled to comment on those
   22· ·discrepancies at trial and that could damage your
   23· ·credibility.
   24· · · · · · ·Do you understand that?
   25· · · ·A.· · Yes.


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   ·1· · · ·Q.· · Is there any reason, medical or otherwise, why
   ·2· ·you can't give me your best testimony here today?
   ·3· · · ·A.· · No.
   ·4· · · ·Q.· · All right.· So now as an expert witness hired
   ·5· ·in this matter you know that plaintiffs are challenging
   ·6· ·California Penal Code Sections 17235, Penal Code
   ·7· ·Section 21510 and 21590 as unconstitutional in
   ·8· ·Sacramento.· Correct?
   ·9· · · ·A.· · I don't that have the Penal Code Section
   10· ·numbers memorized.
   11· · · ·Q.· · Okay.· But what is your understanding of the
   12· ·nature of this lawsuit?
   13· · · ·A.· · It's about restrictions on switchblades and
   14· ·other like gravity driven knives.
   15· · · ·Q.· · Okay.· And do you understand that California
   16· ·prohibits the manufacturing, import, sale, possession
   17· ·and carry of knives defined a switchblade under
   18· ·California law?
   19· · · ·A.· · Yes.· I believe that's -- I mean, I would be
   20· ·happy if you repeated it, but yes.
   21· · · ·Q.· · Okay.· I'm just asking generally --
   22· · · ·A.· · Okay.
   23· · · ·Q.· · -- if you're aware of the general claims in
   24· ·this matter.
   25· · · ·A.· · Yeah.


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   ·1· · · · · · ·MR. DILLON:· Okay.· All right.· So at this
   ·2· ·point I'm going to introduce Plaintiff's Exhibit 1.
   ·3· ·Bear with me for one second here.
   ·4· · · · · · · · (Exhibit 1 was premarked and identified
   ·5· · · · · · · · ·during the proceeding.)
   ·6· · · · · · · · (Mr. Dillon screen shares Exhibit 1.)
   ·7· · · · · · ·MR. DILLON:· Q.· So if you could please turn
   ·8· ·to what I'm marking as Exhibit 1.· This is -- it's also
   ·9· ·been e-mailed to your attorney and they are welcome to
   10· ·forward it to you once they get it.
   11· · · · · · ·But do you recognize this document?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · And can you read the title of this document
   14· ·for me?· And I'm going to go down and highlight the
   15· ·relevant portion.
   16· · · · · · ·Can you see that?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · Go ahead and read it for me.
   19· · · ·A.· · "Expert Report and Declaration of Brennan
   20· ·Rivas."
   21· · · ·Q.· · Now, is this your expert report that you
   22· ·submitted for this case?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · And I can scroll down so you can take a look
   25· ·at it here.· I'll scroll down to the bottom here.


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   ·1· · · · · · ·Does that look familiar to you?
   ·2· · · ·A.· · Yes, it does.
   ·3· · · ·Q.· · Okay.· And then is it the report that you
   ·4· ·submitted on behalf of defendants in this case?
   ·5· · · ·A.· · Yes, it is.
   ·6· · · ·Q.· · And is that your signature at the bottom of
   ·7· ·Page 18 of your report?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · And you signed this report under penalty of
   10· ·perjury.· Is that correct?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · Are you the sole author of this report?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · Did anyone assist you in preparing this
   15· ·report?
   16· · · ·A.· · No.
   17· · · ·Q.· · Are the facts and information contained in
   18· ·this report true and correct?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And are you prepared to testify regarding the
   21· ·subject matter identified in your report?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · So what steps have you taken to prepare for
   24· ·your deposition today?
   25· · · ·A.· · Well, I re-read the report several times.· And


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   ·1· ·I did have a meeting with defendant attorneys last week
   ·2· ·to just sort of go over what to expect out of the
   ·3· ·deposition, et cetera.
   ·4· · · ·Q.· · So the paperwork that you reviewed was just
   ·5· ·the report that you submitted.· Is that correct?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Did you review any other documents?
   ·8· · · ·A.· · No, I did not.
   ·9· · · ·Q.· · Since learning about your deposition in this
   10· ·case did you talk, text or e-mail anyone regarding your
   11· ·deposition?
   12· · · ·A.· · Only -- I told some people, like my family, et
   13· ·cetera, that I was going to be deposed.· I believe I
   14· ·mentioned that to various other attorneys involved in
   15· ·other cases, you know, letting them know that I had a
   16· ·deposition coming up.· But I haven't talked about the
   17· ·substance of the report or the topic in any detail.
   18· · · ·Q.· · Okay.· All right.· So I'm going to scroll
   19· ·down.· I still have your expert report on screen here.
   20· ·I'm going to go down what's titled Exhibit 1 attached to
   21· ·your report.
   22· · · · · · ·Is this a true and correct copy of your CV?
   23· · · ·A.· · Yes, it is.· And it's dated October, so that's
   24· ·the October 2023 version of it.· Yeah.
   25· · · ·Q.· · Okay.· And as of October 2023 all the facts


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   ·1· ·and information listed in your CV are true and correct?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · Okay.· All right.· So I scrolled up here.
   ·4· ·We're on Page 3 of your report here.
   ·5· · · · · · ·Do you see that?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Okay.· And I'm going to be referencing
   ·8· ·Paragraph 10 of your report.· The 1880 Ohio law that you
   ·9· ·referred to in Footnote 1 as "Establishing a minimum age
   10· ·for the sale of any airgun, musket, rifle gun, shotgun,
   11· ·revolver, pistol or other firearm of any kind or
   12· ·description whatsoever, or ammunition for the same."
   13· · · · · · ·That's attached to your report as Exhibit 2.
   14· ·Correct?
   15· · · ·A.· · I would have to -- I mean, I assume so.· But I
   16· ·don't have the version of all the exhibits at the end of
   17· ·it.
   18· · · ·Q.· · Okay.· So I'm just going to put in the search
   19· ·function here Exhibit 2.· There we go.
   20· · · · · · ·So Exhibit 2 of your report -- scroll down
   21· ·here.· So is this the 1880 Ohio law that you were
   22· ·referring to in Footnote 1?
   23· · · ·A.· · It looks like it to me.
   24· · · ·Q.· · Okay.· And this 1880 Ohio law was a
   25· ·prohibition as to minors defined as under the age of 14


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   ·1· ·years old.
   ·2· · · · · · ·Is that correct?
   ·3· · · ·A.· · I'll -- I'll -- I will refer to whatever is
   ·4· ·written in the footnote and in the report.· You know,
   ·5· ·I'm looking at it, I mean, yeah, it says here "under the
   ·6· ·age of 14 years."· So yes.
   ·7· · · ·Q.· · Okay.· I'm scrolling back up here so we can
   ·8· ·reference the footnote, if needed.
   ·9· · · · · · ·So under this law that you reference here, the
   10· ·1880 Ohio law, none of the listed weapons were
   11· ·restricted for anyone over 14 -- or 14 years old or
   12· ·older.· Correct?
   13· · · ·A.· · Well, that was an age-based sales restriction,
   14· ·so there were very likely other kinds of restrictions.
   15· ·But that law was specifically establishing an age
   16· ·minimum for the purchasing of all the enumerated
   17· ·weapons.
   18· · · ·Q.· · Okay.· So under this law if you were over 14
   19· ·years old, you would not be prohibited from purchasing
   20· ·any of these weapons.· Correct?
   21· · · ·A.· · Yes.· That's correct.
   22· · · ·Q.· · Okay.· I'm also going to reference the -- your
   23· ·reference to Exhibit 3 in that same footnote.
   24· · · · · · ·Do you see that?
   25· · · ·A.· · I see Exhibit 3.


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   ·1· · · ·Q.· · Okay.· And in -- with your reference to
   ·2· ·Exhibit 3, you're describing a 1879 Missouri law as
   ·3· ·"Prohibiting the carry of any firearms, Bowie knife,
   ·4· ·dirk, dagger, slung-shot or other deadly weapon at
   ·5· ·public assemblages."
   ·6· · · · · · ·Is that correct?· I can scroll down to the
   ·7· ·next page where this continues on.· Footnote 1.· Do you
   ·8· ·see that?
   ·9· · · ·A.· · I do see that.
   10· · · · · · ·Is it okay if I -- if I look at the report
   11· ·physically myself?
   12· · · ·Q.· · Yes, of course.· That's no problem.
   13· · · ·A.· · I've got a printed copy of it here with me.
   14· ·It's just a little bit easier than being reliant on
   15· ·watching the scrolling.
   16· · · · · · ·So, yeah.· I'm looking at the footnote and
   17· ·it's showing Exhibit 3 to be a reference to an 1879
   18· ·Missouri law.· Yeah.
   19· · · ·Q.· · Okay.· So under this 1879 Missouri law would
   20· ·an individual be free to purchase any of the listed
   21· ·weapons?
   22· · · ·A.· · Yeah.
   23· · · · · · ·MR. WOODS:· Objection.· Beyond the scope.
   24· · · · · · ·You can answer if you can.
   25· · · · · · ·THE WITNESS:· The citation to this is talking


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   ·1· ·about a sensitive places law.· Not to a sales
   ·2· ·restriction.
   ·3· · · · · · ·The purpose of the footnote was to -- the
   ·4· ·purpose of the footnote was to talk about different
   ·5· ·approaches to regulation.· So that's why, you know,
   ·6· ·there is a, you know, different types of regulations
   ·7· ·explained in the footnote.
   ·8· · · · · · ·MR. DILLON:· Q.· Okay.· But under this 1879
   ·9· ·regulation from Missouri, it also would be lawful to
   10· ·possess any of these listed weapons.· Correct?
   11· · · · · · ·MR. WOODS:· Same objection.
   12· · · · · · ·You can answer.
   13· · · · · · ·THE WITNESS:· There -- yeah.· I'll say -- like
   14· ·this is just one law, you know.· The state of Missouri
   15· ·had -- I mean, I don't know specifically how many, but
   16· ·most states had more than one regulation pertaining to
   17· ·deadly weapons.
   18· · · · · · ·There might be an age restriction or sensitive
   19· ·places law and a public carry law.· A lot of states have
   20· ·prohibitions that were very extensive and severe
   21· ·pertaining to like slung-shots -- off the top of my head
   22· ·I don't know specifically which other laws the state of
   23· ·Missouri had.
   24· · · · · · ·MR. DILLON:· Q.· Okay.· But under this law
   25· ·that we're talking about right now, it does not prohibit


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   ·1· ·the possession of any these listed weapons.· Correct?
   ·2· · · · · · ·MR. WOODS:· Same objection.
   ·3· · · · · · ·You can answer.
   ·4· · · · · · ·THE WITNESS:· Yeah.· This particular section
   ·5· ·which I'm looking at the citation is Section 1274
   ·6· ·doesn't prohibit anything beyond carrying in the context
   ·7· ·described.
   ·8· · · · · · ·MR. DILLON:· Q.· Okay.· And under this same
   ·9· ·section here, an individual could even carry these
   10· ·listed weapons excluding the specific locations listed
   11· ·in the statute.· Correct?
   12· · · · · · ·MR. WOODS:· Same objection.
   13· · · · · · ·You can answer.
   14· · · · · · ·THE WITNESS:· I would want to re-read the
   15· ·section first.· You know, I'm not sure how much is
   16· ·entailed in the section.· Like I said, I don't know off
   17· ·the top of my head all the details of Missouri state
   18· ·laws at the time.
   19· · · · · · ·MR. DILLON:· Q.· I'm not asking you about all
   20· ·Missouri state laws at the time.· I'm asking you about
   21· ·this statute in particular.
   22· · · · · · ·Does it allow for the carrying of these
   23· ·weapons -- these listed weapons if you're not in one of
   24· ·these specific locations?
   25· · · · · · ·MR. WOODS:· Same objection.


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   ·1· · · · · · ·You can answer.
   ·2· · · · · · ·THE WITNESS:· This -- from what I'm looking at
   ·3· ·the citation, that -- the Section 1274 is prohibiting
   ·4· ·carrying the certain weapons at specific places.
   ·5· · · · · · ·MR. DILLON:· Q.· Okay.
   ·6· · · ·A.· · Yeah.
   ·7· · · ·Q.· · So I'm going to scroll up here and direct you
   ·8· ·to Page 4, Paragraph 11.· You state in your report "In
   ·9· ·the decentralized, agricultural environments that
   10· ·characterized early American life, hunting knives,
   11· ·rifles, muskets and shotguns were important tools
   12· ·present in most rural homes."
   13· · · · · · ·Is that correct?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · So what is a hunting knife?· Or what is the
   16· ·definition of a hunting knife that you referenced in
   17· ·Paragraph 11?
   18· · · ·A.· · I did not provide or attach any sort of
   19· ·specific definition.· I was referring to the kinds of
   20· ·knives that would be useful for hunting.· There is
   21· ·various styles used for different purposes.
   22· · · · · · ·So I was just sort of referring generally to
   23· ·large knives that would be effective for people who were
   24· ·hunting and then had to treat or skin game, et cetera.
   25· · · ·Q.· · Okay.· And you say that "These knives" --


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   ·1· ·referring to hunting knives or large knives -- "were
   ·2· ·present in most rural homes."
   ·3· · · · · · ·Is that correct?
   ·4· · · ·A.· · I did say that, yes.
   ·5· · · ·Q.· · Scrolling down to Paragraph 12.· You state in
   ·6· ·your report that "Americans of the 19th century to be
   ·7· ·more likely to publicly carry and use deadly weapons
   ·8· ·such as dirks, Bowie knives and pocket pistols."
   ·9· · · · · · ·Is that correct?
   10· · · ·A.· · Yes.
   11· · · ·Q.· · So during the 19th century, weapons like
   12· ·dirks, Bowie knives and pocket pistols were commonly
   13· ·carried in public?
   14· · · ·A.· · Can you repeat the question, please?
   15· · · ·Q.· · So throughout the 19th century, weapons like
   16· ·dirks, Bowie knives and pocket pistols were commonly
   17· ·carried in public.· Is that correct?
   18· · · ·A.· · I don't know that's correct to say.· It's hard
   19· ·to -- it's hard to gauge how frequently they were being
   20· ·carried.
   21· · · · · · ·What does seem evident is that what weapons
   22· ·like that were being carried at higher rates or in
   23· ·higher numbers than in the 18th century, which did pose
   24· ·societal problems.
   25· · · ·Q.· · Okay.· And, again, in Paragraph 12 -- I'm


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   ·1· ·going to highlight the relevant text just to point you
   ·2· ·in the right direction here.· But you state "These
   ·3· ·regulations tended to focus upon readily concealable
   ·4· ·deadly weapons, like knives and pistols, rather than
   ·5· ·firearms used for militia and hunting purposes."
   ·6· · · · · · ·Is that correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · And with that reference to deadly weapons like
   ·9· ·knives, are you referring to dirks, Bowie knives and
   10· ·pocket pistols when you're talking about concealable
   11· ·deadly weapons?
   12· · · ·A.· · Yes.· Deadly weapons or deadly weapon
   13· ·restrictions generally applied to various different
   14· ·kinds of weapons, including various different kinds of
   15· ·knives.· And they were usually referring to knives that
   16· ·were, you know, like Bowie knives or, you know, seemed
   17· ·especially dangerous or deadly, et cetera.
   18· · · ·Q.· · Okay.· So when you state that these
   19· ·regulations tended to focus on readily concealable
   20· ·knives, I'm unclear.
   21· · · · · · ·Did the regulations prohibit weapons based on
   22· ·their ability to conceal them or did the regulations
   23· ·prohibit the act of carrying certain weapons in a
   24· ·concealed manner?
   25· · · · · · ·MR. WOODS:· Objection.· Ambiguous.


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   ·1· · · · · · ·You can answer if you can.
   ·2· · · · · · ·THE WITNESS:· If you -- would you be willing
   ·3· ·to repeat or rephrase the question?
   ·4· · · · · · ·MR. DILLON:· Yeah.
   ·5· · · ·Q.· · So you reference the term "Readily concealable
   ·6· ·deadly weapons" in Paragraph 12.
   ·7· · · · · · ·Do you recall that?
   ·8· · · ·A.· · Yeah.
   ·9· · · ·Q.· · So of the regulations you're discussing in
   10· ·Paragraph 12, did these regulations prohibit all weapons
   11· ·because of their ability to be concealed or did it
   12· ·prohibit the act of carrying these weapons in a
   13· ·concealed manner?
   14· · · ·A.· · Yeah.· I mean, I -- those things are
   15· ·interrelated, right?· There were certain common
   16· ·characteristics of the kinds of weapons that were
   17· ·included in these kinds of regulations.· And a common
   18· ·characteristic was that they were readily concealable.
   19· ·And when they were carried they were often carried in a
   20· ·concealed manner.· That's why they are lumping them
   21· ·together.
   22· · · ·Q.· · Okay.· So I'll rephrase it.
   23· · · · · · ·Are you aware of any law that prohibited a
   24· ·weapon because it could possibly be concealed?
   25· · · · · · ·MR. WOODS:· Objection.· Vague as to time.


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   ·1· · · · · · ·You can answer if you can.
   ·2· · · · · · ·THE WITNESS:· If -- I'm not sure how to answer
   ·3· ·that question.
   ·4· · · · · · ·MR. DILLON:· Q.· Okay.· So during the 19th
   ·5· ·century, were there any laws that regulated any kind of
   ·6· ·weapon by the fact that it could possibly be concealed?
   ·7· · · · · · ·I'm -- I'm not sure.· There is no way to know
   ·8· ·that.· You know, the -- the -- it's a -- it's a notable
   ·9· ·fact -- it's a notable comment that the commonality
   10· ·among the kinds of the weapons that were included in
   11· ·these restrictions was their ability to be concealed.
   12· · · · · · ·And so the extent to which the concealability
   13· ·factor is what was driving the regulation, it's hard to
   14· ·measure or know that.· But it does seem pretty clear
   15· ·from the scope and sweep of the regulatory history that
   16· ·the concealability of these weapons was a driving factor
   17· ·in their being regulated in the way that they were.
   18· · · ·Q.· · Okay.· But these 19th century concealed
   19· ·weapons restrictions that we're talking about broadly
   20· ·here.· Did they prohibit the act of actually carrying
   21· ·these weapons concealed?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · Okay.· All right.· Let's direct you to Page 5,
   24· ·Paragraph 13.· I'll read out the paragraph here.· "The
   25· ·other features shared by deadly weapons was their


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   ·1· ·suitability for concealment, and in fact, deadly weapons
   ·2· ·were often referred to as 'concealed weapons' for the
   ·3· ·straightforward reason that they were designed to be
   ·4· ·carried concealed."
   ·5· · · · · · ·Did I read that correctly?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Okay.· And which specific weapons are you
   ·8· ·referring to when you state that deadly weapons were
   ·9· ·"designed to be carried concealed"?
   10· · · ·A.· · Well, I would first refer to the footnote.
   11· ·There is multiple examples of -- I've got citations for
   12· ·this.
   13· · · ·Q.· · Are these citations that you're referring to
   14· ·in Footnote 3?
   15· · · ·A.· · Yes.
   16· · · ·Q.· · Okay.· So which weapons are you referring to
   17· ·that were "designed to be carried concealed"?
   18· · · ·A.· · I'm referring to deadly weapons, generally
   19· ·speaking, that their suitability and, you know, their
   20· ·capacity for being carried concealed which, you know, is
   21· ·an essential feature of them, right?· That's what I'm
   22· ·referring to.
   23· · · · · · ·Take for instance pocket pistols, specifically
   24· ·designed to fit within a pocket.· You know, a lot of
   25· ·slung-shots were designed to be small and concealable.


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   ·1· ·So, you know, it's -- it's kind of a -- it's a feature
   ·2· ·of these weapons, which again, is why they are being
   ·3· ·grouped together for regulations in the ways that they
   ·4· ·were.
   ·5· · · ·Q.· · Okay.· So with regard to knives in general,
   ·6· ·which types of knives were designed to be carried
   ·7· ·concealed?
   ·8· · · ·A.· · Well, again, it's hard to -- it's hard to know
   ·9· ·that.· We don't even know what the original Bowie knife
   10· ·looked like let alone what was going through the mind of
   11· ·the first person who ordered one to be made, which may
   12· ·or may have been Jim Bowie.
   13· · · · · · ·So it's kind of like -- it's hard to say that
   14· ·every Bowie knife was manufactured and designed with the
   15· ·intent to be concealed.· But the knives were made in
   16· ·such a way that they were conducive to be concealment
   17· ·and they were being carried concealed.
   18· · · ·Q.· · And you just referenced a Bowie knife.· What
   19· ·is the average length of a Bowie knife?
   20· · · ·A.· · The blades are usually upwards of six inches
   21· ·in length.
   22· · · ·Q.· · Okay.· And it's your testimony here today that
   23· ·Bowie knives were designed to be carried concealed?
   24· · · ·A.· · Again, that's a -- that is a -- it's a more
   25· ·complicated question than how you're asking it.


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   ·1· · · ·Q.· · So were they designed to be carried concealed?
   ·2· · · · · · ·MR. WOODS:· Objection.· Asked and answered.
   ·3· · · · · · ·You can answer if you can.
   ·4· · · · · · ·THE WITNESS:· Okay.· Could you repeat the
   ·5· ·question, please?
   ·6· · · · · · ·MR. DILLON:· I'll rephrase it.
   ·7· · · ·Q.· · What is the basis of your claim that Bowie
   ·8· ·knives were designed to be carried concealed?
   ·9· · · · · · ·MR. WOODS:· Objection.· Misstates the
   10· ·testimony.
   11· · · · · · ·You can answer if you can.
   12· · · · · · ·THE WITNESS:· The -- would you please repeat
   13· ·the question?
   14· · · · · · ·MR. DILLON:· All right.· I'll go back to
   15· ·Paragraph 13.
   16· · · ·Q.· · You were discussing various deadly weapons.
   17· ·Is that correct?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · And you would categorize a Bowie knife as one
   20· ·of these deadly weapons you're referring to in
   21· ·Paragraph 13.· Is that correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · Okay.· And in Paragraph 13 you state that
   24· ·"these deadly weapons were designed to be carried
   25· ·concealed."· Is that correct?


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   ·1· · · ·A.· · Yes.· That is what is in Paragraph 13.
   ·2· · · ·Q.· · Okay.· So what's the basis of the claim that
   ·3· ·Bowie knives were designed to be carried concealed?
   ·4· · · ·A.· · The -- the primary evidence there is that most
   ·5· ·of the people who were carrying them in the 19th century
   ·6· ·were carried them concealed on their persons within
   ·7· ·coats.· Some of them, you know, would have them down
   ·8· ·their backs and would reach over their shoulder to pull
   ·9· ·them out of concealment.
   10· · · · · · ·So the No. 1 -- you know, the best evidence
   11· ·that these weapons were being -- were specifically being
   12· ·used to be carried concealed was that people were
   13· ·carrying them concealed.
   14· · · ·Q.· · Okay.· So they were being used in a concealed
   15· ·manner; not designed for a concealed manner.· Correct?
   16· · · ·A.· · It's hard to ascertain the specific intention
   17· ·of the -- the specific intention of each and every
   18· ·knife, you know.· So I -- again, I would say that to the
   19· ·question of, you know, what is an indication that deadly
   20· ·weapons were designed for concealment was people were
   21· ·carrying them concealed.
   22· · · ·Q.· · Okay.· But what features of deadly weapons as
   23· ·you defined as a Bowie knife is consistent with the
   24· ·design meant to be carried concealed?
   25· · · ·A.· · I'm not sure how to answer that question.


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   ·1· ·But, again, I'll say what the point of -- the point of
   ·2· ·the section of the report is to say that the weapons --
   ·3· ·the weapons were being carried concealed and they were
   ·4· ·being -- clearly being purchased or acquired with the
   ·5· ·intention of carrying them concealed.· And that --
   ·6· ·the -- again, the common factor that all of these
   ·7· ·weapons had is that they were conducive to being
   ·8· ·concealed.
   ·9· · · · · · ·And you asked for examples of ones that were
   10· ·specifically designed to be concealed and there are
   11· ·certainly some, you know.· So the concealment was a
   12· ·common characteristic of them which, again, is why they
   13· ·were being regulated together as a group.
   14· · · ·Q.· · Okay.· And your example of two weapons that
   15· ·were designed to be carried concealed were the pocket
   16· ·pistol and the -- was it the slung-shot.
   17· · · · · · ·Is that correct?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · Okay.· In Paragraph 13 you also refer to an
   20· ·1886 law journal.· Is that correct?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · And this journal refers to a statute making it
   23· ·indictable for one to carry concealed about his person
   24· ·any pistol, Bowie knife, razor or other deadly weapon of
   25· ·the like kind.· Correct?


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   ·1· · · ·A.· · Yes.· That's what it says.
   ·2· · · ·Q.· · Okay.· And according to this quote that you
   ·3· ·have in your report from this journal, the statute would
   ·4· ·embrace a butcher's knife as an "other deadly weapon" if
   ·5· ·it was carried in a concealed manner.
   ·6· · · · · · ·Is that correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · Now, you wouldn't say that there is anything
   ·9· ·about a butcher knife that's designed to be carried
   10· ·concealed.· Right?
   11· · · ·A.· · A butcher knife is designed for specific
   12· ·purposes.· It's not even designed to be carried on a
   13· ·person.· So, you know, the idea is -- so, again, the
   14· ·question is a little more complicated than how it's
   15· ·coming across as you ask it.
   16· · · ·Q.· · I'll get to further questions about it.                     I
   17· ·just want my question answered.
   18· · · · · · ·Is there anything about a butcher knife that's
   19· ·designed to be carried concealed?
   20· · · ·A.· · I'm really not sure.
   21· · · ·Q.· · Okay.· So the focus of, you know, regulations
   22· ·this law journal is discussing was the act of carrying
   23· ·certain weapons in a concealed manner.· Correct?
   24· · · ·A.· · It's a lengthy -- it's a lengthy article that,
   25· ·you know, includes a lot of commentary, as well as


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   ·1· ·quotations and excerpts from cases.· So this is just one
   ·2· ·portion of that particular law journal.
   ·3· · · · · · ·This is part of its section about -- about
   ·4· ·concealability or something like that.· But it is a good
   ·5· ·illustration of what people at the time understood about
   ·6· ·concealability and these deadly weapons.
   ·7· · · ·Q.· · Okay.· So, again, this 1886 law journal that
   ·8· ·you have in your report, it's discussing the fact that a
   ·9· ·perfectly legal butcher knife that's in, you know,
   10· ·thousands of homes throughout the country, is perfectly
   11· ·lawful in the kitchen but if you carried it concealed it
   12· ·would then be considered unlawful.· Correct?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · Okay.· So it's the act of carrying this weapon
   15· ·concealed that is the issue under the law.· Correct?
   16· · · ·A.· · Yes.· In the case of the butcher knife, yes.
   17· · · ·Q.· · Again, I'll direct you to Paragraph 14.· You
   18· ·state that "For much of the 19th century the carrying of
   19· ·large knives posed a serious threat to American
   20· ·communities."
   21· · · · · · ·Is that correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · And what period of the 19th century are you
   24· ·referring to with this statement?
   25· · · ·A.· · Generally the 19th century at large, but more


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   ·1· ·particularly the maybe first half or first two-thirds of
   ·2· ·the century.
   ·3· · · ·Q.· · Can you give me a date range?
   ·4· · · ·A.· · 1800s to maybe 1850 or '60 or so.
   ·5· · · ·Q.· · Okay.· So from 1800 to 1850 or '60 a carrying
   ·6· ·of large knives posed a serious threat to American
   ·7· ·communities.
   ·8· · · · · · ·Is that right?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · That's because carrying large knives was a
   11· ·fairly common practice during this period in the 19th
   12· ·century.· Correct?
   13· · · ·A.· · I'll refer to my previous answer about the
   14· ·question of the commonality and carrying weapons.· It's
   15· ·hard to assess or gauge the commonality.· But prior to
   16· ·the widespread availability of revolvers, which had been
   17· ·more or less around the mid or so 19th century, knives
   18· ·were a severe serious threat, you know.· After that
   19· ·pistols became more of a threat.
   20· · · · · · ·The threat of knives didn't go away, but they
   21· ·were not kind of the regulatory focus or concern on
   22· ·their own the way that they might have been before.
   23· · · ·Q.· · Okay.· In Paragraph 14 you refer to "fighting
   24· ·knives" stating that "There were so many different
   25· ·styles and names of knives that Americans sometimes


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   ·1· ·struggled to distinguish them from one another."
   ·2· · · · · · ·Is that correct?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · And in Paragraph 14, are you using the term
   ·5· ·"large knife" -- beginning of Paragraph 14 -- and
   ·6· ·"fighting knives" interchangeably?
   ·7· · · ·A.· · I would have to go back and look at the use of
   ·8· ·the terms throughout, you know.
   ·9· · · ·Q.· · So referencing Paragraph 14 which you wrote in
   10· ·your report.· Are you using the terms "large knives" and
   11· ·"fighting knives" interchangeably in this paragraph?
   12· · · ·A.· · In some ways yes and other ways no.· There
   13· ·is -- so in some ways yes and in other ways no.
   14· · · ·Q.· · Okay.· So in what ways are you using the terms
   15· ·interchangeably?
   16· · · ·A.· · Well, to the extent that fighting knives are
   17· ·generally large knives, then, yes, there is overlap
   18· ·there.· And, you know, to the extent that fighting
   19· ·knives are distinguishable from something like a
   20· ·butcher's knife then, no, they are not necessarily the
   21· ·same thing.
   22· · · ·Q.· · And what distinguishes a fighting knife from a
   23· ·butcher's knife?
   24· · · ·A.· · Well, there are certain like design features
   25· ·that are different.· There are certain design features


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   ·1· ·that are different.
   ·2· · · · · · ·However, both of them if, you know, carried in
   ·3· ·the wrong context or used in the wrong way can fall
   ·4· ·under identical regulations.
   ·5· · · ·Q.· · Okay.· So what are the specific features of a
   ·6· ·fighting knife?
   ·7· · · ·A.· · I think that in the report I talked about
   ·8· ·certain features of fighting knives.· So I would refer
   ·9· ·to that.
   10· · · ·Q.· · All right.· So on Page 6 of your report, the
   11· ·end of Paragraph 14 under Footnote 5 you refer to the
   12· ·1844 case Haynes v State.
   13· · · · · · ·Is that correct?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · Are you familiar with this case?
   16· · · ·A.· · In the sense that I read it, yes.· To the
   17· ·extent that I could, you know, know specific details
   18· ·about it off the top of my head, no.
   19· · · ·Q.· · Okay.· Are you aware that Steven Haynes in
   20· ·this case was indicted for carrying a concealed Bowie
   21· ·knife?
   22· · · ·A.· · No.· From what I do recall about the case, he
   23· ·was not indicted for carrying a Bowie knife.· He was
   24· ·indicted for carrying a knife resembling a Bowie knife
   25· ·and that's what the appellate case was about.


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   ·1· · · ·Q.· · Whether this other knife that he had was
   ·2· ·categorized at a Bowie knife under the law?
   ·3· · · ·A.· · Yeah.· From what I recall of the case, the
   ·4· ·case revolves around whether or not the knife he was
   ·5· ·carrying was or was not a Bowie knife.
   ·6· · · ·Q.· · Okay.· And he was carrying that knife
   ·7· ·concealed.· Correct?
   ·8· · · ·A.· · I don't recall that.
   ·9· · · ·Q.· · Okay.· Do you recall the nature of the charge
   10· ·that was placed against Mr. Haynes in this case?
   11· · · ·A.· · What is the -- what do you mean by nature of
   12· ·the charge?
   13· · · ·Q.· · Do you understand what he was being convicted
   14· ·of in this case?
   15· · · ·A.· · Yes.
   16· · · ·Q.· · And what was that?
   17· · · ·A.· · It's here in the footnote.· "The case revolved
   18· ·around whether carrying a so-called 'Mexican pirate
   19· ·knife' was indictable under a law pertaining to Bowie
   20· ·knives, Arkansas toothpicks and any knife or weapon that
   21· ·shall in form, shape or size resemble them.· The
   22· ·defendant was indicted and convicted for carrying a
   23· ·knife resembling a Bowie knife, and the appellate court
   24· ·upheld the conviction as within the spirit and meaning
   25· ·of the law."


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   ·1· · · ·Q.· · Okay.· And that's under Footnote 5 of your
   ·2· ·report.· Correct?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · Now, do you know if Mr. Haynes was convicted
   ·5· ·for carrying this knife in general or was he convicted
   ·6· ·of carrying this knife in a concealed manner?
   ·7· · · ·A.· · I'm not sure.
   ·8· · · ·Q.· · Okay.· So you don't know if he was convicted
   ·9· ·for merely possessing this kind of knife, do you?
   10· · · ·A.· · I would need to reread the case.· That wasn't
   11· ·really the question that I was trying to answer in
   12· ·putting together this footnote.· Instead I was talking
   13· ·about different kinds of knives.
   14· · · ·Q.· · All right.· In Paragraph 15 and 16 of your
   15· ·report you provide definitions for specific knives like
   16· ·dirks and daggers.
   17· · · · · · ·Is that correct?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · And in Paragraph 16 you state "These knives
   20· ·have historically been considered weapons because they
   21· ·are designed for stabbing and they are not conducive for
   22· ·hunting or other purposes."· Correct?
   23· · · ·A.· · Yes.· That's what's in the report.
   24· · · ·Q.· · And you would agree that these knives -- and
   25· ·I'm referring to specifically dirks and daggers that you


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   ·1· ·mentioned in Paragraphs 15 and 16 -- these knives have
   ·2· ·been throughout the course of history been used as
   ·3· ·instruments of both offense and defense.
   ·4· · · · · · ·Is that correct?
   ·5· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   ·6· · · · · · ·You can answer if you can.
   ·7· · · · · · ·THE WITNESS:· Would you mind repeating the
   ·8· ·question?
   ·9· · · · · · ·MR. DILLON:· Yeah.
   10· · · ·Q.· · So in Paragraph 16 you state that "These
   11· ·knives have historically been considered weapons because
   12· ·they are designed for stabbing and are not conducive for
   13· ·hunting or other purposes."· Correct?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · And would you agree that these knives,
   16· ·throughout the course of history in the United States,
   17· ·have been instruments of both offense and defense.
   18· ·Correct?
   19· · · · · · ·MR. WOODS:· Same objection.
   20· · · · · · ·You can answer if you can.
   21· · · · · · ·THE WITNESS:· I'm -- I'm not sure of how to
   22· ·answer that question because that phrase of knife of --
   23· ·or of other deadly weapons of offense or defense or
   24· ·knife or offense of defense, that actually gets used in
   25· ·certain specific context.· And I would want to review


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   ·1· ·that before, you know, making some sort of blanket
   ·2· ·statement.
   ·3· · · · · · ·But it -- but to the extent that, you know,
   ·4· ·dirks and daggers and Bowie knives and other knives like
   ·5· ·that have been considered weapons discernible from
   ·6· ·knives that are generally used in hunting or other
   ·7· ·lawful purposes like cooking in the kitchen, yes,
   ·8· ·that -- there is a distinction between them.
   ·9· · · · · · ·MR. DILLON:· Q.· And just to clarify.· You say
   10· ·there is a distinction between a Bowie knife and other
   11· ·large hunting knives.· Is that correct?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · Okay.· And let's go to Paragraph 7 -- sorry --
   14· ·Page 7, Paragraph 18 of your report.
   15· · · · · · ·In this paragraph you describe both the Bowie
   16· ·knife and Arkansas toothpick.· Correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · And in your discussion of the Bowie knife you
   19· ·state "He began carrying a large hunting knife in a
   20· ·leather scabbard in 1826, after an enemy tried to
   21· ·assassinate him in the street."
   22· · · · · · ·Is that correct?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · And you're referring to Jim Bowie with that
   25· ·statement.· Correct?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · And the knife you're referring to with this
   ·3· ·statement, that would be what would later become known a
   ·4· ·as a Bowie knife.· Correct?
   ·5· · · ·A.· · Yes.· But I'll add we don't know what the
   ·6· ·knife even looked like.
   ·7· · · ·Q.· · Okay.· But you also describe it as a "large
   ·8· ·hunting knife."· Correct?
   ·9· · · ·A.· · It's the -- the lore and legend, again, it
   10· ·may -- to the extent to which it is true and to the
   11· ·extent to which it is -- you know, this stuff of myth is
   12· ·unclear.· But the story goes that Rezin Bowie, his
   13· ·brother, had a knife custom-made for him, which was not
   14· ·unusual, and he used it for hunting.
   15· · · · · · ·I'm not sure what purpose, specifically.· We
   16· ·don't know what it looked like.· But the story is that
   17· ·he gave it to Jim Bowie after Bowie -- after someone had
   18· ·tried to assassinate him.· And that Bowie's use of the
   19· ·knife then made famous.
   20· · · · · · ·Then there is Bowie knife as a label that is
   21· ·attached to knives later on.· Knives that we do know
   22· ·what they look like.· So, again, we don't know what Jim
   23· ·Bowie's knife and Rezin Bowie's knife, which the story
   24· ·says was for hunting, we don't know what it looked like.
   25· · · ·Q.· · Okay.· But it's described as a large hunting


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   ·1· ·knife.· Correct?
   ·2· · · ·A.· · Yes.· That is how -- that is how it is -- in
   ·3· ·my report, but also in the -- you know, the story of it,
   ·4· ·which, you know, I read the various articles, et cetera,
   ·5· ·that described that, yeah.
   ·6· · · ·Q.· · Okay.· So I'll direct you to Paragraph 19 of
   ·7· ·your report.
   ·8· · · · · · ·You state "During the 19th century people were
   ·9· ·more likely to carry and use large knives."
   10· · · · · · ·Is that correct?
   11· · · ·A.· · I'm just scanning the paragraph real quick.
   12· · · · · · ·Yeah.· "As rates of violence rose during the
   13· ·is 19th century, people were more likely to carry and
   14· ·use large knives."
   15· · · ·Q.· · All right.· What specific dates are you
   16· ·referring to in this statement?
   17· · · ·A.· · Again, it's hard to pin down dates.· There is
   18· ·tremendous variability regionally in terms of rates of
   19· ·violence and homicide.· So, yeah.
   20· · · · · · ·Again, I'm talking about sort of the 19th
   21· ·century broadly speaking.· Rates of violence in which --
   22· ·during which varied tremendous regionally based on the,
   23· ·you know, South, the North, the West, the urban North,
   24· ·the slave holding South, you know, et cetera.· There is
   25· ·a tremendous variability based on location.· And


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   ·1· ·invariability throughout the 19th century in terms of
   ·2· ·violence.
   ·3· · · · · · ·So, again, it's hard to pin down specific
   ·4· ·years, you know, to say that the social concern about
   ·5· ·Bowie knives started this year and officially ended this
   ·6· ·year.· I can't say that.
   ·7· · · ·Q.· · I'm asking you specifically regarding your
   ·8· ·statement that "People more likely to carry and use
   ·9· ·large knives. "
   10· · · · · · ·What period of time are you talking about
   11· ·here?
   12· · · · · · · · (Ms. Rivas' screen frozen.)
   13· · · · · · ·MR. DILLON:· Am I the only one frozen?
   14· · · · · · ·MR. WOODS:· No.
   15· · · · · · ·Dr. Rivas?
   16· · · · · · ·MR. DILLON:· Let's just go off the record for
   17· ·right now and then we can fix this.
   18· · · · · · · · (Short pause.)
   19· · · · · · ·MR. DILLON:· Q.· So, again, I'm going to be
   20· ·referring to -- oh, by the way, can you still see the
   21· ·shared screen?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · Okay.· Good.
   24· · · · · · ·So in Paragraph 19 of your report here, you
   25· ·state that "As rates of violence rose during the 19th


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   ·1· ·century, people were more likely to carry and use large
   ·2· ·knives; the increased presence of knives -- even if
   ·3· ·ostensibly carried for personal defense -- had the
   ·4· ·regrettable consequence of exacerbating the problem."
   ·5· · · · · · ·Did I read that correctly?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · So in Paragraph 19 you're claiming as rates of
   ·8· ·violence rose people started carrying and using large
   ·9· ·knives.· Is that correct?
   10· · · · · · · · (Dr. Rivas' screen frozen.)
   11· · · · · · ·MR. WOODS:· Oh, no.
   12· · · · · · ·MR. DILLON:· Did I lose her again?
   13· · · · · · ·MR. WOODS:· I think we lost her again.
   14· · · · · · ·MR. DILLON:· Okay.· We'll go back off the
   15· ·record so we can fix the issue.
   16· · · · · · · · (Recess taken 10:57 a.m. - 11:00 a.m.)
   17· · · · · · ·MR. DILLON:· Dr. Rivas, I'm unsure where I got
   18· ·cut off, so just I'm going to restate that.· So forgive
   19· ·me if you heard me already.
   20· · · ·Q.· · In Paragraph 19 of the report, you state that
   21· ·"As rates of violence rose during the 19th century,
   22· ·people were more likely to carry and use large knives."
   23· · · · · · ·Is that correct?
   24· · · ·A.· · Yes.· That's what's in the report.
   25· · · ·Q.· · Okay.· And these large knives that were being


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   ·1· ·carried during this period were, by your description,
   ·2· ·ostensibly carried for personal defense.
   ·3· · · · · · ·Is that correct?
   ·4· · · ·A.· · I'm sorry.· Can you repeat the question?
   ·5· · · ·Q.· · So in Paragraph 19 when you're describing that
   ·6· ·people were more likely to carry and use large knives
   ·7· ·due to the rates of violence rising during 19th century.
   ·8· · · · · · ·These large knives were being carried and, as
   ·9· ·you described it, ostensibly carried for personal
   10· ·defense purposes.
   11· · · · · · ·Is that correct?
   12· · · ·A.· · I'm sure some of the people who carried these
   13· ·knives said or understood that they were doing so for
   14· ·self-defense.· Yeah.
   15· · · ·Q.· · Okay.· And was the Bowie knife one of these
   16· ·large knives that were being carried and increasing
   17· ·numbers that you're referring to in this paragraph?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · Okay.· I'm going to direct you to the last
   20· ·sentence.· You state that "This was especially
   21· ·noticeable in southern areas where Bowie knives were
   22· ·quite common and known to be associated with needless
   23· ·bloodshed."
   24· · · · · · ·Is that correct?
   25· · · ·A.· · That's in the report.


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   ·1· · · ·Q.· · So during the 19th century in southern states
   ·2· ·Bowie knives were quite common.· Right?
   ·3· · · ·A.· · Quite common in the sense of easy to acquire.
   ·4· ·Quite common in the sense that everyone was carrying
   ·5· ·them.· I'm not sure what you mean.
   ·6· · · ·Q.· · I'm quoting what you wrote.
   ·7· · · · · · ·So what do you mean "They were quite common in
   ·8· ·the 19th century in the southern states"?
   ·9· · · ·A.· · Right.· Okay.· So the purpose of this -- what
   10· ·I'm trying to convey in the report here is that as
   11· ·violence goes up and increases, right, that -- that at
   12· ·the same time people are also carrying more weapons.
   13· ·Those two things are clearly interrelated.
   14· · · · · · ·It's hard to draw any causal connection,
   15· ·right?· Line one feeds the other.· But the increased
   16· ·carrying of knives, regardless of the stated intentions
   17· ·of the person who was carrying them, that it did have
   18· ·this -- it was causing more bloodshed.· And that that
   19· ·trend was more -- was especially pronounced in southern
   20· ·areas.
   21· · · · · · ·There has long been an association between the
   22· ·South and Bowie knives and there is examples in the
   23· ·footnote.
   24· · · ·Q.· · So am I correct in stating that in your report
   25· ·you claim in Paragraph 19 that Bowie knives were quite


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   ·1· ·common in the southern states during the 19th century?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · Okay.· And referring to Footnote 18 you
   ·4· ·reference three exhibits -- Exhibit 8, Exhibit 9 and
   ·5· ·Exhibit 10.· Is that correct?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Okay.· And these exhibits are cited in support
   ·8· ·of your claim that Bowie knives were common and known to
   ·9· ·be associated with needless bloodshed.· Is that correct?
   10· · · ·A.· · They are establishing a connection between
   11· ·Bowie knives and the South, generally, as a region.
   12· · · ·Q.· · So they are not supporting the claim that
   13· ·Bowie knives were associated with needless bloodshed?
   14· · · ·A.· · Well, let me reread them.
   15· · · · · · ·I would say that the exhibits are supporting
   16· ·both points.
   17· · · ·Q.· · Okay.· So both points, meaning that Bowie
   18· ·knives were quite common in the Southern areas and known
   19· ·to be associated with needless bloodshed.
   20· · · · · · ·Is that correct?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · Okay.· I'm going to share the screen again
   23· ·here.· So I have Page 3 of your report looking at
   24· ·Footnote 18.· I'm going to use the search function here
   25· ·to get us down to your attachment to your exhibit.


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   ·1· · · · · · ·Exhibit 8 -- let's see.· This is an article
   ·2· ·from the Daily Picayune -- I don't know if I'm saying
   ·3· ·that correctly -- July 25, 1840.
   ·4· · · · · · ·Is that correct?
   ·5· · · ·A.· · Yeah.· That's what it looks like to me.
   ·6· · · ·Q.· · Okay.· And it's titled Carrying Concealed
   ·7· ·Weapons.· Is that correct?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · Are you familiar with this article?
   10· · · ·A.· · In the sense that I know I've read it once or
   11· ·more and I cited it, yes.
   12· · · ·Q.· · Okay.· In this article, it describes the
   13· ·author's hope and wish that people would stop carrying
   14· ·concealed weapons.
   15· · · · · · ·Is that correct?
   16· · · ·A.· · I -- without rereading it in the small font
   17· ·that's on there right now on the screen, that sounds
   18· ·about right.
   19· · · ·Q.· · Okay.· If you want, you can refresh your
   20· ·recollection here.· I'm increasing the font size to make
   21· ·it a little more helpful.
   22· · · · · · ·Let me know when you would like me to scroll
   23· ·down or when you finished refreshing your recollection.
   24· · · ·A.· · You can scroll.
   25· · · · · · ·(Witness reading the document.)


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   ·1· · · · · · ·You can scroll down.
   ·2· · · · · · ·I finished reading it.
   ·3· · · ·Q.· · Okay.· Were you able to refresh your
   ·4· ·recollection?
   ·5· · · ·A.· · Yes.
   ·6· · · ·Q.· · Okay.· So, again, I'll restate the question I
   ·7· ·posed to you earlier.
   ·8· · · · · · ·This article, it describes the author's hopes
   ·9· ·and wishes that people would stop carrying concealed
   10· ·weapons.
   11· · · · · · ·Is that accurate?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · Okay.· And then in this portion -- I can't
   14· ·really highlight.· Starting with the paragraph that
   15· ·begins with "The South is accounted chivalrous" and
   16· ·continuing down through that paragraph.
   17· · · · · · ·The author claims that carrying concealed
   18· ·weapons is not chivalrous, but both degrade us and sink
   19· ·us to the level of Spanish brigands and piratical
   20· ·assassins.
   21· · · · · · ·Is that correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · Okay.· So this is a single author's opinion on
   24· ·concealed carrying.· Correct?
   25· · · ·A.· · Yes.


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   ·1· · · ·Q.· · Okay.· I'm going to scroll down to Exhibit 9
   ·2· ·attached to your report.· This is a copy of the Southern
   ·3· ·Argus paper from Columbus, Missouri, June 7th, 1842.
   ·4· · · · · · ·Do you see that?
   ·5· · · ·A.· · I do.
   ·6· · · ·Q.· · Now, this text is pretty small also, I'll
   ·7· ·admit to that.· And I actually was not successful in
   ·8· ·finding the article you've referenced there.· But what I
   ·9· ·will do is scroll back up to Page 8 where you have
   10· ·Footnote 18.
   11· · · · · · ·You quote from this Exhibit 9 in the footnote.
   12· ·Is that correct?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · Okay.· And can you read that quote out for me
   15· ·in the Footnote 18.
   16· · · ·A.· · It says "The small dagger worn in former
   17· ·times, has given place to this more formidable
   18· ·invention, and the Bowie knife, throughout the West, is
   19· ·now the most common weapon of attack or defence."
   20· · · ·Q.· · All right.· And in this article, would I be
   21· ·correct in stating this would support your contention
   22· ·that Bowie knives were quite common in the Southern
   23· ·areas?
   24· · · ·A.· · Can -- give me just one second.
   25· · · · · · ·So I would say, yes, because it's talking


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   ·1· ·about the growth and popularity of Bowie knives, right?
   ·2· ·And in 1842, when people are talking about the West,
   ·3· ·they are not necessarily talking about like the mountain
   ·4· ·west hills; they are also talking about Western areas
   ·5· ·where people are migrating to.· West, as being used, can
   ·6· ·have a sort of wider or more flexible meaning than how
   ·7· ·we generally envision West today, as kind of referring
   ·8· ·to the mountain west.
   ·9· · · ·Q.· · Okay.· So it wouldn't be confined to just
   10· ·Southern areas.· Correct?
   11· · · ·A.· · The carrying of Bowie knives was not just
   12· ·confined to Southern areas.
   13· · · ·Q.· · Okay.· And this article describes a Bowie
   14· ·knife as the most common weapon of attack or defense.
   15· ·Correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · Okay.· So scrolling down to Page 9 of your
   18· ·report, Paragraph 20, you state "The folding knife
   19· ·'style' has been more useful for pocket knives and pen
   20· ·knives that are small, lightweight and utilitarian for
   21· ·everyday purposes."
   22· · · · · · ·Is that correct?
   23· · · ·A.· · That -- I haven't gotten to the exact sentence
   24· ·yet, but that sounds --
   25· · · ·Q.· · Sorry.· I apologize.· I'll highlight the


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   ·1· ·relevant section.
   ·2· · · ·A.· · Yes.· Just from a general statement, yeah.
   ·3· · · ·Q.· · Okay.· And based off of your understanding
   ·4· ·automatically opening knives or switchblades would be
   ·5· ·folding knives.
   ·6· · · · · · ·Is that correct?
   ·7· · · ·A.· · I know -- that's hard to answer.· I know that
   ·8· ·some historical examples of automatic opening knives
   ·9· ·were folding knives.· But, you know, there are
   10· ·switchblades where they pop straight up.· So they are
   11· ·not all folding knives.
   12· · · ·Q.· · Okay.· Okay.· But in both of those variations
   13· ·of switchblades, the entire blade would be confined
   14· ·within the handle of the knife.
   15· · · · · · ·Is that correct?
   16· · · ·A.· · Yes.· That's my understanding.
   17· · · ·Q.· · Okay.· And these folding knives, they have
   18· ·many utilitarian everyday purposes.· Is that correct?
   19· · · ·A.· · The style of folding knives like we think of
   20· ·as kind of a pocket knife today, yes, that's what I'm
   21· ·talking about.
   22· · · ·Q.· · Okay.· And at least the large majority of
   23· ·switchblade designs are folding knives.· Correct?
   24· · · ·A.· · I'm not sure the prevalence of different
   25· ·designs among switchblades now versus in the past.


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   ·1· · · ·Q.· · Okay.· But you are aware that there are
   ·2· ·switchblades that are of the folding design.· Correct?
   ·3· · · ·A.· · I'm aware of that and I ran across examples of
   ·4· ·automatic opening knives that were folding knives that
   ·5· ·were manufactured during the 19th century, but they all
   ·6· ·took the size, shape and style of what we would think of
   ·7· ·today as like a very small pocket knife or pen knife, as
   ·8· ·opposed to a longer blade or anything like that.· So
   ·9· ·sort of small pocket knife type.
   10· · · ·Q.· · Okay.· So small folding pocket knives would
   11· ·encompass at least some switchblade knives.· Correct?
   12· · · ·A.· · Sometimes.· Although I believe in this section
   13· ·of the report, I'm not talking about the automatic
   14· ·opening ones.· I'm talking about folding knives and
   15· ·pocket knives, generally speaking, prior to automatic
   16· ·opening.
   17· · · · · · ·So I think that -- as I recall this section,
   18· ·I'm not necessarily talking about the automatic opening
   19· ·ones, at least not at this point.· Just talking about
   20· ·the folding style that you would manually open more
   21· ·generally.
   22· · · ·Q.· · Okay.· But folding style would also encompass
   23· ·switchblade knives.· Correct?
   24· · · ·A.· · At what time?· I mean, I -- are you asking me
   25· ·what -- I'm not sure what you're asking.


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   ·1· · · · · · ·Are you asking about what I meant in the
   ·2· ·section of the report or about automatic opening knives
   ·3· ·being folding knives now or automatic opening knives
   ·4· ·being folding knives in the past?· I'm not sure how to
   ·5· ·answer your question because I'm not sure what you're
   ·6· ·asking.
   ·7· · · ·Q.· · Okay.· So you're describing how folding pocket
   ·8· ·knives are lightweight, utilitarian for everyday
   ·9· ·purposes.· Correct?
   10· · · ·A.· · Yes.· That's what's in the report.
   11· · · ·Q.· · Okay.· And you're aware that there are
   12· ·switchblade designs that are folding pocket knives.
   13· ·Correct?
   14· · · ·A.· · Okay.· Yes.· I'm aware that some of them are
   15· ·small folding pocket knives today.· Yes.
   16· · · ·Q.· · Okay.· So these small folding pocket knives
   17· ·that open automatically, would also be -- have a
   18· ·utilitarian everyday purpose.· Correct?
   19· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   20· · · · · · ·You can answer if you can.
   21· · · · · · ·THE WITNESS:· I mean, if they are -- if they
   22· ·are sharing the features of what I'm talking about with
   23· ·like being like a sort of small Swiss army size kind of
   24· ·knife, then yes.
   25· · · · · · ·MR. DILLON:· Q.· Okay.· All right.· As a part


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   ·1· ·Paragraph 20, you cite Footnote 19 -- I'm scrolling down
   ·2· ·here.
   ·3· · · · · · ·Footnote 19 you cite to a book "American
   ·4· ·Knives" for the various types of folding knives and
   ·5· ·their historical uses.· Do you see that?
   ·6· · · ·A.· · I do, yeah.
   ·7· · · ·Q.· · And you cited Pages 129 through 142 of the
   ·8· ·"American Knives" book.· Correct?
   ·9· · · ·A.· · Yes.
   10· · · · · · ·MR. DILLON:· Okay.· Bear with me one second.
   11· · · · · · ·At this time I'll introduce Plaintiff's
   12· ·Exhibit 2.· This is a copy of Page 138 of the book
   13· ·"American Knives."
   14· · · · · · · · (Exhibit 2 was premarked and identified
   15· · · · · · · · ·during the proceeding.)
   16· · · · · · · · (Mr. Dillon screen shares Exhibit 2.)
   17· · · · · · ·MR. DILLON:· Q.· Do you see that?
   18· · · ·A.· · I do.
   19· · · ·Q.· · And I'm going to direct you to the text of the
   20· ·bottom of Page 138 on the screen.· Can you read what the
   21· ·text states there in italics?
   22· · · ·A.· · Yes.· "Some of the more popular types of
   23· ·pocket knife made today."
   24· · · ·Q.· · And this text is referring to the figure --
   25· ·the products in 18 different pocket knife designs above


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   ·1· ·it.· Is that correct?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · And in the middle of this figure to the
   ·4· ·right -- I'm going to highlight a design.
   ·5· · · · · · ·Do you see the area that I'm highlighting here
   ·6· ·on the page?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · Okay.· And this design depicts a folding
   ·9· ·pocket knife with a button on the handle and is labeled
   10· ·"push button."
   11· · · · · · ·Do you see that?
   12· · · ·A.· · Yes, I do.
   13· · · ·Q.· · Okay.· And you're aware that push button knife
   14· ·is another term for automatically opening knife or
   15· ·switchblade.· Correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · At this time -- in Paragraph 22 on -- starting
   18· ·on Page 9 but continuing onto Page 10, the last sentence
   19· ·of Paragraph 22 you state "These folding knives might
   20· ·need springs to lock the blade into an open or closed
   21· ·position, but they were not automatic opening knives,
   22· ·and those sharing essential features with fighting
   23· ·knives were likely to be regulated as such."
   24· · · · · · ·Did I read that correctly?
   25· · · ·A.· · Yes.


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   ·1· · · ·Q.· · Okay.· So what are the essential fighting
   ·2· ·knives that you're referring to in paragraph?
   ·3· · · ·A.· · I believe that earlier in the report I had a
   ·4· ·section that talked in more detail about fighting
   ·5· ·knives.· So I would refer to that.
   ·6· · · ·Q.· · Okay.· What part of your report did you
   ·7· ·identify the features of a fighting knife?
   ·8· · · ·A.· · Bear with me.· I'm flipping through the pages.
   ·9· · · ·Q.· · No problem.
   10· · · ·A.· · Hunting knives, Bowie knives and Arkansas
   11· ·toothpicks.· Yeah.
   12· · · · · · ·So talking about some of the features of these
   13· ·larger knives.· So that's Pages 7 and 8.
   14· · · ·Q.· · Okay.· And so can you summarize what the
   15· ·essential features of a fighting knife are?
   16· · · ·A.· · Well, No. 1, that it was large.· And in the
   17· ·case of like the Arkansas toothpick or the dagger, you
   18· ·know, so that was a large double-sided blade, right?
   19· · · · · · ·In the case of the Bowie knife is that it was
   20· ·large and had that clipped tip with a sharpened swedge.
   21· ·But, again, there were numerous different kinds of
   22· ·knives that were perceived to be knives of interpersonal
   23· ·violence as opposed to knives that had, you know, like a
   24· ·utility for lawful purposes.· But those are some of the
   25· ·features of them.


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   ·1· · · ·Q.· · These would be the essential features of
   ·2· ·fighting knives that you're referring to in
   ·3· ·Paragraph 22?
   ·4· · · ·A.· · Yeah.· So I don't think that I was in a
   ·5· ·position to say what are -- what is the sum total or the
   ·6· ·entire, you know, library of essential features of a
   ·7· ·fighting knife.
   ·8· · · · · · ·But what I was describing here is that knives
   ·9· ·that -- much like that Haynes decision we talked about
   10· ·earlier, that there could be a knife that resembles a
   11· ·Bowie knife or resembles a knife like an Arkansas
   12· ·toothpick or something.
   13· · · · · · ·We're talking about knives that shared
   14· ·features with knives that were understood to have a
   15· ·particular design and understood to be used for
   16· ·interpersonal violence or crime and things of that
   17· ·nature.
   18· · · ·Q.· · Okay.· And those features you said were as
   19· ·being large, having double-sided blades or having a
   20· ·sharpened clip point or swedge.· Correct?
   21· · · ·A.· · Yeah.· Those were the ones that I mentioned in
   22· ·the report.
   23· · · ·Q.· · Okay.
   24· · · · · · ·MR. DILLON:· At this point I'm going to
   25· ·introduce Plaintiff's Exhibit 3 to the screen.


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   ·1· · · · · · · · (Exhibit 3 was premarked and identified
   ·2· · · · · · · · ·during the proceeding.)
   ·3· · · · · · · · (Mr. Dillon screen shares Exhibit 3.)
   ·4· · · · · · ·MR. DILLON:· Q.· Do you see that picture?
   ·5· ·It's two folding knives.
   ·6· · · ·A.· · Yes.· I see the picture.
   ·7· · · ·Q.· · And this is two different models of the
   ·8· ·Benchmade Adamas AXIS knife.· One is described as manual
   ·9· ·and that's at the top of the picture and the bottom of
   10· ·the picture is the Benchmade Adamas AXIS auto.
   11· · · · · · ·Do you see that?
   12· · · ·A.· · I do.
   13· · · ·Q.· · So just to clarify.· The knife at the bottom
   14· ·is an automatically opening knife, or otherwise known as
   15· ·a switchblade.· Correct?
   16· · · · · · ·MR. WOODS:· Objection.· Lacks foundation.
   17· · · · · · ·You can answer if you can.
   18· · · · · · ·THE WITNESS:· I'm not sure.
   19· · · · · · ·MR. DILLON:· Q.· As it's described in this
   20· ·picture as an auto knife, that would fall under the
   21· ·definition of a switchblade.· Is that correct?
   22· · · · · · ·MR. WOODS:· Objection.· Lacks foundation.
   23· · · · · · ·You can answer if you can.
   24· · · · · · ·THE WITNESS:· My initial inference reading it
   25· ·would be that the auto would be an automatic opening


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   ·1· ·version.· That's what I would think.
   ·2· · · · · · ·MR. DILLON:· Q.· Okay.· And neither of these
   ·3· ·folding knives have any of those essential features of
   ·4· ·fighting knives that you just referenced.· Correct?
   ·5· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   ·6· · · · · · ·You can answer if you can.
   ·7· · · · · · ·THE WITNESS:· It's hard to say.· I don't know
   ·8· ·how -- I don't know how large they are.· And the size of
   ·9· ·the knife would have been one feature that would -- that
   10· ·was relevant to Americans in the 19th century in terms
   11· ·of deciding whether or not a knife resembled a Bowie
   12· ·knife or an Arkansas toothpick.
   13· · · · · · ·MR. DILLON:· Q.· Okay.· So if I was to tell
   14· ·you this knife had a three-and-a-half inch or four-inch
   15· ·blade, would that fall under your definition of a large
   16· ·fighting knife?
   17· · · ·A.· · It --
   18· · · · · · ·MR. WOODS:· Objection.· Sorry.
   19· · · · · · ·Objection.· Incomplete hypothetical.
   20· · · · · · ·You can answer if you can.
   21· · · · · · ·THE WITNESS:· It's hard to say what Americans
   22· ·from the 19th century would have thought about that
   23· ·knife, especially when you think about Americans from
   24· ·the 1830s and '40s when concerns about the Bowie knives
   25· ·and Arkansas toothpicks were really critical and


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   ·1· ·crucial.· They --
   ·2· · · · · · ·MR. DILLON:· Okay.· Sorry to cut you off.· I'm
   ·3· ·asking what your opinion is.
   ·4· · · ·Q.· · You've identified at least three "essential
   ·5· ·features" of a fighting knife in your report.· Is that
   ·6· ·correct?
   ·7· · · ·A.· · I've identified essential features of a
   ·8· ·fighting knife in terms of understanding historical
   ·9· ·regulations.· So I'm not really -- I don't know how
   10· ·well -- to the extent to which that maps over current
   11· ·knife design is not -- is not what I understand my role
   12· ·to be in this case and my job as the expert witness.
   13· · · · · · ·I'm talking about historical knives and
   14· ·historical regulations of those knives.
   15· · · ·Q.· · Okay.· And you have an understanding of what
   16· ·these historical knives that you describe as fighting
   17· ·knives are.· Correct?
   18· · · ·A.· · Can you repeat the question, please?
   19· · · ·Q.· · So based off of your research and researching
   20· ·various types of large hunting knives, Bowie knives or
   21· ·fighting knives, as you describe them, are you aware of
   22· ·what these types of knives look like?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Okay.· And based off of your experience
   25· ·knowing what these large fighting knives are described


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   ·1· ·as, you're looking at a picture in front of you here.
   ·2· · · · · · ·Does this picture meet those same features as
   ·3· ·a large fighting knife?
   ·4· · · · · · ·MR. WOODS:· Objection.· Beyond the scope.
   ·5· · · · · · ·You can answer if you can.
   ·6· · · · · · ·THE WITNESS:· Again, like I said, it would
   ·7· ·depend on the size of the knife.· That's also a
   ·8· ·really -- you know, history doesn't operate in
   ·9· ·counterfactuals.· It's -- I guess I interpret the
   10· ·question as to what extent would a 19th century American
   11· ·have understood this knife to be, a knife resembling a
   12· ·Bowie knife and it's hard to say.
   13· · · · · · ·MR. DILLON:· Q.· Okay.· All right.· So again,
   14· ·I'm going to state to you that the knife blade length on
   15· ·both of these knives is about three-and-a-half inches.
   16· ·Understanding that -- and let's just all agree that for
   17· ·the purposes of this question that's a three-and-a-half
   18· ·inch blade.
   19· · · · · · ·So based off your understanding of what people
   20· ·identified as a Bowie knife in the 19th century, using
   21· ·the features -- or having the features of being --
   22· ·having a large blade that's double sided with a
   23· ·sharpened swedge, is it your expert opinion that an
   24· ·individual would look at this three-and-a-half inch long
   25· ·blade of a folding knife and determine that it's a Bowie


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   ·1· ·knife?
   ·2· · · · · · ·MR. WOODS:· Objection.· Beyond the scope.
   ·3· ·Calls for speculation.
   ·4· · · · · · ·You can answer if you can.
   ·5· · · · · · ·THE WITNESS:· Going back to that Haynes
   ·6· ·decision, this certainly would -- I don't believe would
   ·7· ·have been called a Bowie knife, right, if it doesn't
   ·8· ·meet those characteristics.
   ·9· · · · · · ·MR. DILLON:· Q.· Okay.· Now --
   10· · · ·A.· · That --
   11· · · ·Q.· · That's it.· That's good.· You've answered my
   12· ·question.
   13· · · · · · ·Looking at this picture here, do you see a
   14· ·sharpened swedge on either of these knives?
   15· · · ·A.· · I don't -- I don't know -- I don't believe I
   16· ·see one.· Again, it's -- it doesn't look like a real
   17· ·photo.· It likes like a rendering, so it's hard to tell.
   18· ·But it doesn't look like there is one.
   19· · · ·Q.· · Okay.· And does it appear that this -- either
   20· ·of these knives have a double-sided blade?
   21· · · ·A.· · No.
   22· · · ·Q.· · And neither of these knives appear to have a
   23· ·sharpened swedge, do they?
   24· · · ·A.· · Well, again, I can't tell from -- it looks
   25· ·like a rendering.· It doesn't look sharpened.


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   ·1· · · ·Q.· · I'll zoom in so we can get a really good look
   ·2· ·at the blade here.
   ·3· · · · · · ·Does this knife appear to have a sharpened
   ·4· ·swedge on the blade?
   ·5· · · ·A.· · The rendering I'm looking at doesn't appear to
   ·6· ·have a sharpened swedge.
   ·7· · · ·Q.· · Okay.· And you keep calling it a rendering.
   ·8· ·What is the basis of your claim it's a rendering and not
   ·9· ·a picture?
   10· · · ·A.· · I don't -- I'm not claiming it's a rendering.
   11· ·I'm just saying like it -- it almost doesn't look like a
   12· ·real photo to me as I'm looking at it.· It may just be a
   13· ·function of its being copied into this document, but it
   14· ·almost looks like a computer generated -- a
   15· ·computer-generated rendering of a knife as opposed to a
   16· ·an actual photograph.
   17· · · ·Q.· · Okay.· Well, I'm going to represent here today
   18· ·that this is an actual photograph of the Benchmade
   19· ·Adamas AXIS manual knife and the Benchmade Adamas AXIS
   20· ·auto knife.
   21· · · ·A.· · Okay.
   22· · · ·Q.· · All right.· And to be clear, the essential
   23· ·features of the folding knives that you're aware of they
   24· ·would not include the feature of having a button that
   25· ·opens the knife.· Is that correct?


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   ·1· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   ·2· · · · · · ·You can answer if you can.
   ·3· · · · · · ·THE WITNESS:· So not all folding knives are
   ·4· ·automatic opening or push-button opening knives but some
   ·5· ·of them are.
   ·6· · · · · · ·MR. DILLON:· Q.· Okay.· But in the "essential
   ·7· ·features of fighting knives" --
   ·8· · · ·A.· · Fighting knives.
   ·9· · · ·Q.· · -- having the ability to open a folding knife
   10· ·one-handed, is listed as a feature of a fighting knife.
   11· ·Correct?
   12· · · ·A.· · I would like to say that a moment ago I
   13· ·thought you said an essential feature of a folding knife
   14· ·so --
   15· · · ·Q.· · Sorry about that.· Yeah.· I stated an
   16· ·essential feature of a fighting knife is -- sorry.· I'll
   17· ·just rephrase this whole thing.
   18· · · ·A.· · Okay.
   19· · · ·Q.· · So based off of your knowledge of a -- as you
   20· ·say, essential features of fighting knives, these
   21· ·features do not include the ability to open a folding
   22· ·knife with one hand.· Correct?
   23· · · ·A.· · That's not in the definition and -- that did
   24· ·not come up in my report because I'm talking about
   25· ·fighting knives as they were understood and defined and


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   ·1· ·posed societal problems in the 19th century.
   ·2· · · · · · ·And these kind of knives were not available at
   ·3· ·that time.· Based on the research that I did, I did not
   ·4· ·see any sort of widespread examples of automatic opening
   ·5· ·knives or push-button opening pocket knives or pen
   ·6· ·knives until the 1860s or '70s at the absolute earliest.
   ·7· · · · · · ·Although, I would refer to what's in my report
   ·8· ·regarding that.· Off the top of my head I may not know
   ·9· ·the specific years perfectly.
   10· · · · · · ·MR. DILLON:· Okay.· I'm going to introduce
   11· ·Plaintiff's Exhibit 4.· This is a picture of three
   12· ·different Buck 110 folding knives.
   13· · · · · · · · (Exhibit 4 was premarked and identified
   14· · · · · · · · ·during the proceeding.)
   15· · · · · · · · (Mr. Dillon screen shares Exhibit 4.)
   16· · · · · · ·MR. DILLON:· Q.· Do you see that?
   17· · · ·A.· · I do, yeah.
   18· · · ·Q.· · The top variation is a Buck 110 manual and in
   19· ·parentheses it's described as the Original 2-Handed
   20· ·Opener.· The knife in the middle is described as the
   21· ·Buck 110 Manual 1-Hand Opener.· And at the bottom we
   22· ·have the Buck 110 Auto.
   23· · · · · · ·Do you see those descriptions?
   24· · · ·A.· · I do.
   25· · · ·Q.· · And based off of your review of those


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   ·1· ·descriptions do you understand the differences between
   ·2· ·these three knives?
   ·3· · · ·A.· · I think I do.
   ·4· · · ·Q.· · Okay.· So the Buck 110 Manual 2-handed Opener,
   ·5· ·that would require two hands to open the knife.
   ·6· · · · · · ·Is that correct?
   ·7· · · ·A.· · That would be my understanding.
   ·8· · · ·Q.· · Okay.· And would it be your understanding that
   ·9· ·the Buck 110 manual 1-Handed Opener would allow you to
   10· ·open the knife with one hand.
   11· · · · · · ·Is that correct?
   12· · · ·A.· · Yes.
   13· · · ·Q.· · Okay.· And based off the description a Buck
   14· ·110 Auto, this would allow you to open the knife with
   15· ·the push of the button on the handle.
   16· · · · · · ·Is that correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · Okay.· And, again, I'm going to state for the
   19· ·purposes of this picture, the blade lengths of each of
   20· ·these knives is approximately four inches.
   21· · · · · · ·Do you understand that?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · Okay.· So a four-inch knife, based off your
   24· ·understanding of the essential features of 19th century
   25· ·fighting knives in the United States, would the


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   ·1· ·four-inch knife fall under that definition of a
   ·2· ·large-bladed knife?
   ·3· · · ·A.· · It's hard to say.· The -- and I'm not -- it's
   ·4· ·hard to say because we don't know the substance of a lot
   ·5· ·of the trials that took place pertaining to the unlawful
   ·6· ·carrying of the weapons.· And my -- my thought is that
   ·7· ·those trials revolved around what kind of knife it was.
   ·8· ·What the features of the knife were.· Information we
   ·9· ·would love to know but we don't know it.· That's why the
   10· ·Haynes' decision is kind of a big deal.
   11· · · · · · ·So it's very -- it's very hard to say what --
   12· ·it's hard to say that there would never have been a
   13· ·knife with a four-inch blade that could have been
   14· ·considered a Bowie knife, but I think that would be
   15· ·going out on a limb.· And so I would have to say it's
   16· ·hard to tell.· It would be hard to say.
   17· · · ·Q.· · So based off of your view of the relevant
   18· ·history of "large knives" or "fighting knives" in the
   19· ·United States, you don't know whether or not a four-inch
   20· ·blade would be considered a large blade on a knife?
   21· · · ·A.· · I'm -- I'm saying that -- I'm saying that
   22· ·would it be possible for a knife with a four-inch blade
   23· ·to be considered in certain contexts a knife resembling
   24· ·a Bowie knife?· It's possible.· I don't know that -- I
   25· ·don't know that that ever happened.


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   ·1· · · · · · ·But, again, the 19th century restrictions,
   ·2· ·they don't define Bowie knife or Arkansas toothpick and
   ·3· ·they even go so far as to say "or any knife resembling
   ·4· ·these knives."· They don't lay out specific features of
   ·5· ·those knives.· That's why it -- it stands to reason to
   ·6· ·me that the trials that took place involved discussing
   ·7· ·various features of these knives.
   ·8· · · · · · ·It may be that four inches is too small to be
   ·9· ·considered -- would have been too small to be considered
   10· ·a problematic knife.· It does seem to me that historical
   11· ·examples of Bowie knives all had much larger blades, six
   12· ·inches plus.
   13· · · · · · ·Again, there are some things we just can't --
   14· ·we can't know with certainty about -- about the past and
   15· ·the instance of -- in every instance of the invocation
   16· ·of these laws.
   17· · · ·Q.· · Okay.· So based off of your research and
   18· ·experience regarding 19th century large knives and
   19· ·fighting knives, looking at these knives, do you believe
   20· ·that they resemble what was commonly known to be a Bowie
   21· ·knife or Arkansas toothpick?
   22· · · ·A.· · No.· I don't believe that these would match
   23· ·that description.
   24· · · ·Q.· · Okay.· And, again, I can zoom in on the
   25· ·pictures here.


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   ·1· · · · · · ·Do these knives appear to have a sharpened
   ·2· ·swedge?
   ·3· · · ·A.· · They do not, based on what I see.
   ·4· · · ·Q.· · Okay.· And do these knives appear to have a
   ·5· ·double blade?
   ·6· · · ·A.· · No, they do not.
   ·7· · · ·Q.· · Okay.· And each one of these knives is a
   ·8· ·folding knife.· Correct?
   ·9· · · ·A.· · Yes.· From what I understand.
   10· · · ·Q.· · Okay.
   11· · · · · · ·MR. WOODS:· John, we've been going for about
   12· ·an hour and a half.· Is this a good time to break?
   13· · · · · · ·MR. DILLON:· Yeah.· We can take a break.· How
   14· ·about 10 minutes.
   15· · · · · · ·MR. WOODS:· Works for me.
   16· · · · · · ·MR. DILLON:· All right.· Let's go off the
   17· ·record then.
   18· · · · · · · · (Recess taken 11:38 a.m. - 11:50 a.m.)
   19· · · · · · ·MR. DILLON:· All right.· Dr. Rivas, at this
   20· ·point I'm going to introduce Plaintiff's Exhibit 5.
   21· · · · · · · · (Exhibit 5 was premarked and identified
   22· · · · · · · · ·during the proceeding.)
   23· · · · · · · · (Mr. Dillon screen shares Exhibit 5.)
   24· · · · · · ·MR. DILLON:· I'm now sharing it on the screen.
   25· · · · · · ·It's a number of pages from the book Antique


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   ·1· ·American Switchblades written by Mark Erickson.
   ·2· · · ·Q.· · Do you see that?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · Do you recognize this book?
   ·5· · · ·A.· · I do.
   ·6· · · ·Q.· · And you cite to this book in your report in
   ·7· ·Footnote 32.· Is that correct?· In the -- oh.· Switch
   ·8· ·over to your report here, Plaintiff's Exhibit 1.· I'll
   ·9· ·highlight Footnote 32.
   10· · · · · · ·Do you see that?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · And Footnote 32 states "On the size and
   13· ·styling of early switchblade knives produced in the
   14· ·United States, see Erickson Antique American
   15· ·Switchblades 25 through 143."· Correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · So going back to Exhibit 5 here.· We have the
   18· ·title -- or the cover of Antique American Switchblades.
   19· ·I'm going to scroll down passing the Table of Contents
   20· ·and I'm going to a copy of Page 6 in the introduction of
   21· ·Antique American Switchblades.
   22· · · · · · ·Do you see that?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Okay.· And going up to the top right portion
   25· ·of this book under the History section it states that


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   ·1· ·"Switchblades were in mass production by the mid 1890s
   ·2· ·and fast becoming the most useful cutting tool one could
   ·3· ·carry and gaining popularity in the public acceptance."
   ·4· · · · · · ·Is that correct?· I can direct you.· Let's
   ·5· ·see.· Oh, my highlighting doesn't work here, but if you
   ·6· ·follow my cursor it's about there.
   ·7· · · ·A.· · Yes.· Yes.· I remember reading that in the
   ·8· ·book.· Yeah.
   ·9· · · ·Q.· · Okay.· And a little bit further down in that
   10· ·same section it also states, "There were switchblades
   11· ·specifically designed for hunters, fishermen, soldiers,
   12· ·farmers, veterinarians, mechanics, office workers,
   13· ·seamstresses, high school girls, Boy Scouts, and also
   14· ·for Girl Scouts."
   15· · · · · · ·Do you see that?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · And based off of your research -- sorry.
   18· ·Strike that.
   19· · · · · · ·For this report that you submitted in this
   20· ·case you conducted research regarding switchblade
   21· ·manufacturing and production in the United States.
   22· ·Correct?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Okay.· And based off that research on
   25· ·switchblades in the United States, you would agree with


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   ·1· ·these statements that I just read.· Correct?
   ·2· · · ·A.· · More or less, yes.
   ·3· · · ·Q.· · What do you mean more or less?
   ·4· · · ·A.· · Well, I mean, he's gone so far as to identify
   ·5· ·specific styles designed for the Girl Scouts.· Like I
   ·6· ·did not go into that depth of research.· Also, they were
   ·7· ·in mass production by the mid 1890s.· That sounds --
   ·8· ·that sounds like a good estimate, you know, based on the
   ·9· ·reading that I did, yeah.
   10· · · ·Q.· · Okay.· So you're just -- you didn't do enough
   11· ·research to know if there were specific models designed
   12· ·for Boy Scouts and Girl Scouts of these other
   13· ·activities, do you?
   14· · · ·A.· · Well, I mean, he wrote a book on it so he
   15· ·definitely did some more work on it than I think I was
   16· ·able to do for the purposes of this report.
   17· · · ·Q.· · Okay.· And in your research you found nothing
   18· ·that would contradict his statement about the many uses
   19· ·of switchblades.· Correct?
   20· · · ·A.· · No.· In fact, and I would say that his book --
   21· ·the later sections where they show various different
   22· ·manufacturers and models -- does speak to the varying
   23· ·uses to which people were putting automatic opening
   24· ·knives in the, you know, very late 19th and into the
   25· ·20th centuries.


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   ·1· · · ·Q.· · Okay.· And so based off of your review of this
   ·2· ·book and your own research, you would agree that the
   ·3· ·knives you referenced in American -- Antique American
   ·4· ·Switchblades would have many different lawful uses.
   ·5· ·Correct?
   ·6· · · ·A.· · I'm not sure which -- can you tell me which
   ·7· ·citation or citations to the book you're referring to?
   ·8· · · ·Q.· · Okay.· I'll go back to Exhibit 1.· Footnote
   ·9· ·32.· You reference Pages 25 through 143 of Antique
   10· ·American Switchblades.· Again, you've just orally
   11· ·referenced the many different knife models and
   12· ·manufacturers that are described in these pages.
   13· ·Correct?
   14· · · ·A.· · Yes.· Yes.
   15· · · · · · ·And the sentence that is supporting says
   16· ·"These early switchblades swung open from a folded
   17· ·position and many were essentially automatic opening
   18· ·pocket knives."
   19· · · ·Q.· · Okay.· And you agree with that statement.
   20· ·Correct?
   21· · · ·A.· · Yes.· I stand behind that statement.
   22· · · · · · ·And I do think his book supports that
   23· ·assertion that early switchblades swung open from a
   24· ·folded position and many were essentially automatic
   25· ·opening pocket knives.


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   ·1· · · ·Q.· · Okay.· I'm going to scroll down again.· We're
   ·2· ·on Exhibit 5 here.· This is Page 23 of Antique American
   ·3· ·Switchblades.· I'm scrolling up.
   ·4· · · · · · ·There is a large picture of -- I'm just going
   ·5· ·to say about 30 knives.· Do you see that picture?
   ·6· · · ·A.· · I do, yeah.
   ·7· · · ·Q.· · Okay.· And this would be -- I'm correct in
   ·8· ·classifying this as a picture of about 30 pocket style
   ·9· ·switchblades.· Correct?
   10· · · ·A.· · Some are larger than others and I'm not sure
   11· ·how big they all are.· But, yes, they all look kind of
   12· ·like a sort of pocket-knife style or pocket knife, yes.
   13· · · ·Q.· · Okay.· And, again, I know you can't see the
   14· ·blades of all these knives but just that, you know, from
   15· ·their appearance, these don't seem to have any of the
   16· ·essential features of a fighting knife, do they?
   17· · · ·A.· · Not -- not the essential features that I
   18· ·identified as being pertinent to defining Bowie knives
   19· ·and Arkansas toothpicks, et cetera.
   20· · · ·Q.· · Okay.· Thank you.
   21· · · · · · ·I'm going to scroll down again.· Now we're at
   22· ·Page 80 of Antique American Switchblades.· We see a
   23· ·number of displays what's titled the Jack-O-Matic knife
   24· ·or the Mac Master Knife.
   25· · · · · · ·Do you see that?


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   ·1· · · ·A.· · I do.
   ·2· · · ·Q.· · Okay.· And kind of the highlighting -- so I'll
   ·3· ·highlight this lower advertisement or display titled the
   ·4· ·Jackmaster, has about 10 jack knives on a -- looks like
   ·5· ·cardboard display.
   ·6· · · · · · ·Do you see that?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · And what is the description of these knives
   ·9· ·that's under Jackmaster?· Can you read that out for loud
   10· ·for me?
   11· · · ·A.· · You mean the text in the yellow circle?
   12· · · ·Q.· · Yes.
   13· · · ·A.· · "Utility knife.· Press the button and blade
   14· ·opens and locks itself automatically."
   15· · · ·Q.· · Okay.· So these are described as utility
   16· ·knives.· Correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · And the white text underneath the yellow
   19· ·circle, can you read that for me?
   20· · · ·A.· · Yes.· "Always leaves one hand free.· No more
   21· ·broken fingernails.· Handiest knife ever made.· Razor
   22· ·steel blade."
   23· · · ·Q.· · Okay.· And there is some additional white text
   24· ·in the upper right-hand portion of that display.
   25· · · · · · ·Can you read that for me?


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   ·1· · · ·A.· · Can you zoom in a little bit?
   ·2· · · ·Q.· · Yeah.
   ·3· · · ·A.· · In my view -- maybe I can change this.                    I
   ·4· ·don't know how to.· But in my view all of our faces
   ·5· ·covering up part of this and --
   ·6· · · ·Q.· · You can kind of move that whole box that shows
   ·7· ·up on your screen.
   ·8· · · ·A.· · Okay.· There we go.
   ·9· · · · · · ·It says "A necessity for sportsmen, hobbyists,
   10· ·carpenters, mechanics, electricians" and I think it says
   11· ·"whittlers."
   12· · · ·Q.· · I agree.· I also struggled when I read that.
   13· ·I couldn't read it at first.· Yes, it does say
   14· ·"whittlers."· So, again -- let me zoom out here.
   15· · · · · · ·All these knives that are depicted on this
   16· ·page, these would be more commonly classified as
   17· ·different variations of pocket knives.· Correct?
   18· · · ·A.· · That would be my understanding, yes.
   19· · · ·Q.· · Okay.· And, again, in your Footnote 32 -- I'm
   20· ·going back to your report here.· In Footnote 32 you
   21· ·state that "This book describes the size and styling of
   22· ·early switchblade knives produced in the United States."
   23· ·Correct?
   24· · · ·A.· · Yes.
   25· · · ·Q.· · And based off of your review of this book, did


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   ·1· ·you come across any fighting knives or large Bowie knife
   ·2· ·style knives?
   ·3· · · ·A.· · I really don't -- I really don't recall.                     I
   ·4· ·had very limited -- I had short-term access to that book
   ·5· ·and I have long since had to return it.· So I don't
   ·6· ·remember specifically what were the largest kinds of
   ·7· ·knives, including things like that.
   ·8· · · ·Q.· · Okay.· I'm trying to move the box with all our
   ·9· ·heads on it.· Okay.· So I'm going to scroll down to
   10· ·paragraph -- or Page 13, Paragraph 28 of your report.
   11· · · · · · ·You state that "America restricted the
   12· ·presence of deadly weapons in public spaces through
   13· ·various mechanisms, including public carry laws."
   14· · · · · · ·Do you see that?
   15· · · ·A.· · That sounds right.· I still don't see it.
   16· · · ·Q.· · Sorry.
   17· · · ·A.· · Yeah.· Sorry.· All the various screens are
   18· ·constantly getting in the way.
   19· · · ·Q.· · No worries.
   20· · · ·A.· · Yeah.· I see that.
   21· · · ·Q.· · Okay.· And based off of your research and
   22· ·experience, were public carry restrictions the most
   23· ·common mechanism that implemented the various mechanisms
   24· ·that you're referencing in this statement?
   25· · · ·A.· · Yes.· Based on the research that I've done,


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   ·1· ·there are more likely to find various kinds of carry
   ·2· ·restrictions than you are just about any other kind of
   ·3· ·restriction pertaining to deadly weapons.
   ·4· · · ·Q.· · Okay.· And, again, just to clarify.· By public
   ·5· ·carry laws, you mean laws that restrict the method of
   ·6· ·carrying certain weapons in public.· Correct?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · And going to the next sentence here in
   ·9· ·Paragraph 28 you state "In 1801, a Tennessee law
   10· ·prohibiting 'privately' carrying 'any dirk, large knife,
   11· ·pistol or any other dangerous weapon.'"
   12· · · · · · ·Did I read that correctly?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · And you refer to Footnote a 35 after this
   15· ·reference.· Correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · And that directs us to an 1801 Tennessee law
   18· ·that's attached as Exhibit 14.· Correct?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And you state that this law prohibited
   21· ·privately carrying certain weapons.· Right?
   22· · · ·A.· · Yes.· That is what I stated.
   23· · · ·Q.· · Okay.· I'll use the search box again here.
   24· ·We're now down at Exhibit 14 attached to your report.
   25· ·And I'll scroll down to the relevant section here.


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   ·1· ·There we go.
   ·2· · · · · · ·I'm highlighting the Section 6 of your
   ·3· ·Exhibit 14.· Can you see that section there?
   ·4· · · ·A.· · Yes.
   ·5· · · ·Q.· · Is this the section you're referring to in
   ·6· ·your citation?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · I'll read this out loud here.· It says "That
   ·9· ·if any person or persons shall publicly ride or go armed
   10· ·to the terror of the people or privately carry any dirk,
   11· ·large knife, pistol or any other dangerous weapon to the
   12· ·fear or terror of any person, it shall be the duty of
   13· ·any judge or justice in his own view or upon the
   14· ·information of any other person an oath to bind such
   15· ·person or persons to their good behavior.· And if he or
   16· ·they fail to find sureties, commit him or them to goal.
   17· ·And if such person or persons shall continue to offend,
   18· ·he or they shall not only forfeit their recognizances,
   19· ·but be liable to an indictment."· And it continues on
   20· ·from there.· Correct?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · Okay.· So this is not a general prohibition on
   23· ·carrying weapons, is it?
   24· · · ·A.· · That's --.
   25· · · · · · ·MR. WOODS:· Objection.· The document speaks


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   ·1· ·for itself.
   ·2· · · · · · ·You can answer if you can.
   ·3· · · · · · ·THE WITNESS:· This is a prohibition, generally
   ·4· ·speaking, on -- on -- they use the word "private" here
   ·5· ·but privately carrying various weapons.
   ·6· · · · · · ·MR. DILLON:· Q.· Okay.· And privately
   ·7· ·carrying, meaning the conceal carrying of weapons?
   ·8· · · ·A.· · That's how I interpret it.· That's also why I
   ·9· ·put the word specifically in the text of the report.
   10· ·But, yes, reading this I would interpret that as -- as
   11· ·carrying in a concealed manner.
   12· · · ·Q.· · Okay.· And it also requires that the person
   13· ·who's secretly carrying go armed to the terror of the
   14· ·people.· Is that correct?
   15· · · ·A.· · It does use that phrase.· And there is a
   16· ·robust literature on the significance of that phrase and
   17· ·its use as sort of a legal -- I don't know what the
   18· ·right word is.· Sort of like a specific legal phrase
   19· ·with a particular meaning.· And there is literature on
   20· ·that.
   21· · · · · · ·And the most persuasive accounts of it that I
   22· ·have read indicate that the act of carrying the weapon
   23· ·was considered a terror to the people; not that it was
   24· ·some additional -- additional threshold that had to be
   25· ·met.


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   ·1· · · ·Q.· · And what specifically are you basing this on?
   ·2· · · ·A.· · There is -- there is some law review of
   ·3· ·literature on it.· The one that jumps to mind
   ·4· ·immediately is that Mark Proseto has an article that's
   ·5· ·called "To The Terror of the People" that's been out a
   ·6· ·couple of years now, but it's got a good roundup of the
   ·7· ·literature up to then.· There may be some things that
   ·8· ·have been published since that also address that.
   ·9· · · ·Q.· · Okay.· And if someone were to secretly carry
   10· ·and go armed to the terror of the people in this
   11· ·section, they would be required to pay a surety or
   12· ·security.· Correct?
   13· · · ·A.· · Well, they would be -- they would policed
   14· ·through the common law mechanism surety which was a
   15· ·different -- a different mechanism than what we are
   16· ·familiar with now.· But that was just regular policing
   17· ·back then.
   18· · · · · · ·So, yes, they would have had to, you know,
   19· ·appear and find someone to post a bond for them.· And,
   20· ·you know, if they were to not meet the requirements of
   21· ·the bond, then they would -- the bond holders would lose
   22· ·their money and then they would go to jail.
   23· · · · · · ·That's how local policing worked in Colonial
   24· ·America for the most part.
   25· · · ·Q.· · Okay.· So I could categorize this as a surety


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   ·1· ·statute.· Correct?
   ·2· · · · · · ·MR. WOODS:· Objection.· Document speaks for
   ·3· ·itself.
   ·4· · · · · · ·You can answer if you can.
   ·5· · · · · · ·THE WITNESS:· Yes.
   ·6· · · · · · ·MR. DILLON:· Okay.· Sorry.· Let me stop
   ·7· ·sharing and I'll get to the relevant page.
   ·8· · · ·Q.· · Okay.· ·So, again, in this Paragraph 28 you
   ·9· ·also refer to an 1812 Kentucky law that "restricted the
   10· ·carrying of a pocket pistol, dirk, large knife or sword
   11· ·in a cane."
   12· · · · · · ·Is that correct?
   13· · · ·A.· · Yes.· That's what I said in the report.
   14· · · ·Q.· · Okay.· And that's listed in the Footnote 36
   15· ·and -- which directs you to the Exhibit 15 of your
   16· ·report.· Correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · All right.· So I've done a search function.
   19· ·We're now down at Exhibit 15.
   20· · · · · · ·So here Section 1 it states "Any person in
   21· ·this commonwealth, who shall hereafter wear a pocket
   22· ·pistol, dirk, large knife or sword in a cane, concealed
   23· ·as a weapon, unless when traveling on a journey, shall
   24· ·be fined in the sum of not less than $100."
   25· · · · · · ·Do you see that?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · Okay.· And you describe this law as a law
   ·3· ·restricting the carrying of these previously mentioned
   ·4· ·weapons.· Correct?
   ·5· · · ·A.· · Yes.
   ·6· · · ·Q.· · And after reading this section, this is a
   ·7· ·restriction on concealed carry of these weapons.
   ·8· ·Correct?
   ·9· · · ·A.· · Which is a restriction on --
   10· · · · · · ·MR. WOODS:· Objection.· The document speaks
   11· ·for itself.
   12· · · · · · ·You can answer.
   13· · · · · · ·THE WITNESS:· Which is a restriction on the
   14· ·carrying of them, yes.
   15· · · · · · ·MR. DILLON:· Q.· But it specifically regulates
   16· ·concealed carry not open care.· Correct?
   17· · · ·A.· · It -- okay.· The -- a concealed carry
   18· ·prohibition, even one with an exception, is still a
   19· ·restriction on the public carrying of weapons.
   20· ·Restriction doesn't -- it is not -- doesn't mean the
   21· ·same thing as a prohibition.
   22· · · · · · ·I didn't describe it as a prohibition on
   23· ·carrying of those weapons.· I described it as a
   24· ·restriction upon the carrying of them, which a concealed
   25· ·carry of prohibition is.


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   ·1· · · ·Q.· · Right.
   ·2· · · · · · ·And I'm trying to clarify this is a
   ·3· ·restriction on the act of concealed carry.· Correct?
   ·4· · · ·A.· · Yes.· It does apply specifically to concealed
   ·5· ·care.
   ·6· · · ·Q.· · And it is not a restriction on the act of
   ·7· ·openly carrying these weapons.· Correct?
   ·8· · · ·A.· · It does not specifically prohibit opening
   ·9· ·carrying of these weapons.
   10· · · ·Q.· · And the law --
   11· · · ·A.· · I will say, though, that, again, the
   12· ·concealability and the fact that these weapons were
   13· ·being concealed is relevant to interpreting the laws and
   14· ·their application that, you know, yes, it doesn't
   15· ·specifically prohibit open carry, but concealed carry is
   16· ·what weapon carriers were doing.
   17· · · ·Q.· · Okay.· But, again, it does not restrict the
   18· ·open carry of these weapons.· Correct?
   19· · · ·A.· · It doesn't specific prohibit it.
   20· · · ·Q.· · Okay.· So it also doesn't prohibit the
   21· ·purchase of these weapons.· Correct?
   22· · · ·A.· · No, it does not.
   23· · · ·Q.· · And it doesn't prohibit the sale of these
   24· ·weapons.· Correct?
   25· · · ·A.· · No, it does not.· Not in this law.


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   ·1· · · ·Q.· · And this law doesn't prohibit the possession
   ·2· ·of these weapons.· Correct?
   ·3· · · ·A.· · No.· This law does not.
   ·4· · · ·Q.· · Okay.· It also allows for the conceal carry of
   ·5· ·these weapons when traveling on a journey.· Is that
   ·6· ·correct?
   ·7· · · ·A.· · Yes.· That's correct.
   ·8· · · ·Q.· · Okay.· So, again, in Paragraph 28, you also
   ·9· ·mention an 1813 Louisiana law stating that it prohibited
   10· ·"Any concealed weapons such as a dirk, dagger, knife,
   11· ·pistol or any other deadly weapon."
   12· · · · · · ·Is that correct?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · And that law is listed in Footnote 37 of your
   15· ·report which directs us to Exhibit 16.
   16· · · · · · ·Is that correct?
   17· · · ·A.· · Yes.
   18· · · ·Q.· · And, again, this is a restriction on the act
   19· ·of concealed carrying of these weapons.· Right?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · So this law does not prohibit the purchase of
   22· ·these weapons.· Right?
   23· · · ·A.· · No.· That one does not specifically prohibit
   24· ·the purchase.
   25· · · ·Q.· · And that law also does not prohibit the sale


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   ·1· ·of these weapons.· Correct?
   ·2· · · ·A.· · Correct.· That law does not prohibit the sale
   ·3· ·of the specified weapons.
   ·4· · · ·Q.· · And that law also doesn't prohibit the
   ·5· ·possession of these weapons.· Correct?
   ·6· · · ·A.· · Correct.
   ·7· · · ·Q.· · And that law also does not prohibit the open
   ·8· ·carry of these weapons.· Correct?
   ·9· · · ·A.· · It does not specifically prohibit the open
   10· ·carrying of them.
   11· · · ·Q.· · Okay.· Again, in Paragraph 28, you also refer
   12· ·to an 1819 Indiana law that you state "Restricted any
   13· ·dirk, pistol, sword in cane, or any other unlawful
   14· ·weapon."
   15· · · · · · ·Is that correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · And, again, you direct us to Exhibit 17 in
   18· ·Footnote 38 to support this statement.· Right?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And, again, this law restricted the act of
   21· ·concealed carrying of these weapons.· Correct?
   22· · · ·A.· · I -- based on -- my gut response is yes,
   23· ·because I called it a restriction.· But we can always
   24· ·refer to it, if would you like, just to confirm.
   25· · · ·Q.· · Sure.· Okay.· So now we're on Exhibit 17 of


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   ·1· ·your report.· I'm scrolling down to the relevant
   ·2· ·section, kind of highlight the section here.
   ·3· · · · · · ·It states that "Any person wearing any dirk,
   ·4· ·pistol, sword in cane, or any other unlawful weapon
   ·5· ·concealed shall be deemed guilty of a misdemeanor" --
   ·6· ·and it goes on to describe the fines or any type of
   ·7· ·conviction.
   ·8· · · · · · ·Do you see that?
   ·9· · · ·A.· · I do, yeah.
   10· · · ·Q.· · So, again, this is just a restriction on the
   11· ·concealed carry of these weapons.· Correct?
   12· · · ·A.· · Yes.· It would fall under that category of
   13· ·being a concealed carry prohibition.
   14· · · ·Q.· · And this law doesn't prohibit the purchase of
   15· ·these weapons.· Correct?
   16· · · ·A.· · That's correct.
   17· · · ·Q.· · And it does not prohibit the sales or transfer
   18· ·of these weapons.· Correct?
   19· · · ·A.· · That's correct.
   20· · · ·Q.· · And it doesn't prohibit the possession of
   21· ·these weapons.· Correct?
   22· · · ·A.· · That's correct.
   23· · · ·Q.· · And it doesn't prohibit the open carry of
   24· ·these weapons.· Correct?
   25· · · ·A.· · No, it does not specifically prohibit open


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   ·1· ·carry of those weapons.
   ·2· · · ·Q.· · Okay.· And then, again, referring back to the
   ·3· ·statute, the end, it states "Provided, however, this act
   ·4· ·shall not be so construed as to affect travelers."
   ·5· · · · · · ·Is that correct?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Okay.· So am I correct in stating that you
   ·8· ·would be allowed to conceal carry these weapons if you
   ·9· ·were construed as a traveler under this law?
   10· · · ·A.· · Yes.· That's correct.
   11· · · ·Q.· · Okay.· You -- all right.· Let's see.· You also
   12· ·reference an 1821 Missouri law in Paragraph 28 of your
   13· ·report in which you state that "Restricted the carrying
   14· ·of any pistols, dirks or other such offensive weapons."
   15· · · · · · ·Is that correct?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · Okay.· And under Footnote 39 you support this
   18· ·claim by referencing Exhibit 18.· Is that correct?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And, again, this law is a restriction on the
   21· ·concealed carry of these weapons.· Is that correct?
   22· · · ·A.· · Based upon my recollection, yes.
   23· · · ·Q.· · Let's go to it then.· So I have Exhibit 18 of
   24· ·your report.· I'm scrolling down.· All right.· I'm going
   25· ·to read the relevant text here.


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   ·1· · · · · · ·It states that "From and after the passage of
   ·2· ·this act, any person or persons convicted before any
   ·3· ·magistrate of his or their wearing or carrying any
   ·4· ·pistols, dirk, or other such offensive weapons,
   ·5· ·concealed about his or their person shall forfeit and
   ·6· ·pay the sum of $50 for every such offense to be applied
   ·7· ·to the use of the literary refund.· Provided that in all
   ·8· ·cases of persons traveling, they shall not be bound by
   ·9· ·the provisions of this act."
   10· · · · · · ·Is that correct?
   11· · · ·A.· · Yes.· That's what it says.
   12· · · ·Q.· · Okay.· So, again, this is a law restricting
   13· ·the act of concealed carrying these weapons.· Correct?
   14· · · ·A.· · That is a concealed care prohibition.· Yes.
   15· · · ·Q.· · And it allows for the concealed carry of these
   16· ·weapons for "all cases of persons traveling." Correct?
   17· · · ·A.· · Yes.· That's what it says.
   18· · · ·Q.· · And this law wouldn't prohibit the purchase,
   19· ·sale, transfer, possession or open carry of any of these
   20· ·weapons.· Correct?
   21· · · ·A.· · Yes.· That's correct.
   22· · · ·Q.· · The next line you reference in your report is
   23· ·an 1838 Virginia law that you state "Regulated the
   24· ·carrying of any pistol, dirk, Bowie knife, or any other
   25· ·weapons of the like kind from the use of which the death


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   ·1· ·of any person might probably ensue."
   ·2· · · · · · ·Is that correct?
   ·3· · · ·A.· · Yes.
   ·4· · · ·Q.· · And under Footnote 40 you cite to Exhibit 19
   ·5· ·attached to your report to support this statement?
   ·6· · · ·A.· · Yes.
   ·7· · · ·Q.· · Again, this law only restricts the act of
   ·8· ·concealed carrying these weapons.· Correct?
   ·9· · · ·A.· · Yes.· Based -- yes.· Based on my recollection,
   10· ·yes.
   11· · · ·Q.· · Would you like me to pull up the specific
   12· ·statute or are you confident in your recollection?
   13· · · ·A.· · I'm confident in my recollection.
   14· · · ·Q.· · Okay.· So being a restriction on the concealed
   15· ·carry of these weapons, this law would not prohibit the
   16· ·purchase, sale, transfer, possession or open carrying
   17· ·such weapons.· Correct?
   18· · · ·A.· · Yes.· That's correct.
   19· · · ·Q.· · The next law you reference in your report is
   20· ·1840 Alabama law "Whose laws pertain to a Bowie knife or
   21· ·knife or instrument of the like kind or description by
   22· ·whatever name called dirk or any other deadly weapons,
   23· ·pistol or any other species firearm or airgun."
   24· · · · · · ·Do you recall that?
   25· · · ·A.· · Yes.


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   ·1· · · ·Q.· · Okay.· And the supporting statute is listed in
   ·2· ·Footnote 41 of your report and references Exhibit 20
   ·3· ·attached to your report.· Is that correct?
   ·4· · · ·A.· · Yes.
   ·5· · · ·Q.· · Okay.· And, again, this law is a restriction
   ·6· ·on the active carrying these weapons concealed.· Right?
   ·7· · · ·A.· · I believe so, yes.
   ·8· · · ·Q.· · Okay.· So being a restriction on the concealed
   ·9· ·carry of these weapons, the law would not prohibit the
   10· ·purchase, sale, transfer, possession or even open carry
   11· ·of these weapons.· Correct?
   12· · · ·A.· · You're correct.· That particular law did not.
   13· · · ·Q.· · All right.· And the next law you reference in
   14· ·your report is an 1846 Florida law.
   15· · · · · · ·Do you recall that?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · And this 1846 Florida law explicitly exempted
   18· ·pocket knives.· Is that correct?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And in your report you state that this law
   21· ·"Regulated the public carrying of any dirk, pistol or
   22· ·other arm or weapon, except a common pocket knife."
   23· ·Correct?
   24· · · ·A.· · Correct.
   25· · · ·Q.· · And the supporting text of the law is attached


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   ·1· ·to your report as Exhibit 12.· Is that right?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · Again, this wasn't a broad restriction on all
   ·4· ·forms of public carry.· Correct?
   ·5· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   ·6· · · · · · ·You can answer if you can.
   ·7· · · · · · ·THE WITNESS:· It -- it was like the others
   ·8· ·you've described prohibiting the concealed carry of
   ·9· ·certain weapons.· Some specifically enumerated and
   10· ·others a little more open to interpretation.
   11· · · · · · ·MR. DILLON:· Okay.· Just to make sure --
   12· ·because there was a little bit of feedback there.
   13· · · · · · ·Court Reporter, were you able to get that?
   14· · · · · · ·MS. REPORTER:· Yes.
   15· · · · · · ·MR. DILLON:· Q.· Okay.· And the exception for
   16· ·pocket knives is not the only exception that this law
   17· ·references.· Is that right?
   18· · · ·A.· · I would have to look at the law to refresh my
   19· ·memory.
   20· · · ·Q.· · Okay.· Let's do that.· Give me a minute to
   21· ·pull up the relevant portion.
   22· · · · · · ·Okay.· All right.· I'm going to scroll down to
   23· ·Exhibit 12 of your report.· Going down to Section 3 of
   24· ·the relevant statute states that "Hereafter it shall not
   25· ·be lawful for any person in the state to carry arms of


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   ·1· ·any kind whatsoever secretively, on or about their
   ·2· ·person.· And if any dirk, pistol, or other arm or weapon
   ·3· ·except a common pocket knife shall be seen or known to
   ·4· ·be secretive upon the person of anyone in the state,
   ·5· ·such person so offending shall, on conviction, be fined
   ·6· ·not exceeding $500, but not less that $5."
   ·7· · · · · · ·Do you see that?
   ·8· · · ·A.· · Yes.
   ·9· · · ·Q.· · And then scrolling down in this exhibit states
   10· ·that "Provided, however, that this law shall not be so
   11· ·construed as to prevent any person from carrying arms
   12· ·openly outside of all their clothes."
   13· · · · · · ·Do you see that portion?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · So this law explicitly exempts the carrying of
   16· ·all pocket knives and also the open carrying of any such
   17· ·weapon.· Correct?
   18· · · ·A.· · Just to clarify.· It -- as I read it, it
   19· ·explicitly permits the open carrying of all of those
   20· ·prohibited weapons which are listed or described as
   21· ·except pocket knives.· So pocket knives are, you know,
   22· ·okay to care either way.· But people are more than
   23· ·likely carrying them concealed in their products.
   24· · · · · · ·Yeah.· I do read this as an explicit
   25· ·protection for carrying of the otherwise restricted


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   ·1· ·weapons openly.
   ·2· · · ·Q.· · Okay.· And under this law it does not restrict
   ·3· ·the purchase of these knives -- or any of these weapons.
   ·4· ·Correct?
   ·5· · · ·A.· · That's correct.
   ·6· · · ·Q.· · And it also doesn't restrict the sale,
   ·7· ·transfer, possession of any of these weapons.· Is that
   ·8· ·correct?
   ·9· · · ·A.· · That's correct.
   10· · · ·Q.· · Okay.· In Paragraph 29 of your report you
   11· ·state that "Some states taxed the possession of large
   12· ·knives while others prohibited their sale."
   13· · · · · · ·Do you recall that?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · Okay.· And you state that "Alabama, North
   16· ·Carolina and Mississippi taxed the personal possession
   17· ·of certain weapons, including large knives like dirks
   18· ·and Bowie knives."
   19· · · · · · ·Is that correct?
   20· · · ·A.· · Yes.
   21· · · ·Q.· · Okay.· And to support this claim you cite a
   22· ·Footnote 33 -- or sorry -- 43 in your -- on Page 14 of
   23· ·your report, which references Exhibits 11, 21, 22, 23,
   24· ·24, 25, 26, 27, 28, and 29.
   25· · · · · · ·Is that correct?


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   ·1· · · ·A.· · Yes.
   ·2· · · ·Q.· · Okay.· And, again, I can -- just to make sure
   ·3· ·we're all on the same page here -- pulled up your
   ·4· ·report.· I'm highlighting the portion of Footnote 43.
   ·5· · · · · · ·Okay.· So all of these laws imposed taxes on
   ·6· ·certain weapons.· Is that a correct statement?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · Okay.· And non of these laws explicitly
   ·9· ·prohibited the purchase of any of them.· Correct?
   10· · · ·A.· · No.· The taxes did not specifically prohibit
   11· ·the purchase.· I will say, though, that the taxes did
   12· ·operate, to some extent, as a disincentive to acquire
   13· ·the weapons because they are being taxed.· And the rate
   14· ·of tax was fairly high, considering the relative cost of
   15· ·buying one such knife.· So it wasn't a specific
   16· ·prohibition but a disincentive.
   17· · · ·Q.· · Okay.· And non of these laws prohibited the
   18· ·sale of any weapon.· Is that correct?
   19· · · ·A.· · Yes.· That's correct.
   20· · · ·Q.· · And none of these laws that you list in
   21· ·Footnote 43 prohibited the concealed carry of any
   22· ·weapon.· Is that correct?
   23· · · ·A.· · That's correct.· Laws pertaining to carrying
   24· ·would have been located in other statutes.
   25· · · ·Q.· · Okay.· And, again, these laws did not restrict


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   ·1· ·the open carry of any weapon.· Is that correct?
   ·2· · · ·A.· · That's correct.
   ·3· · · · · · ·I'll add, though, some of the taxes -- some of
   ·4· ·the -- well, no.· Your question is:· Did it prohibit
   ·5· ·open carry?· No.· The taxes were not related to carrying
   ·6· ·of the weapons specifically.
   ·7· · · ·Q.· · Okay.· And you also state in your worth report
   ·8· ·that even some of these tax laws only put a tax on
   ·9· ·knives that actually had been worked or carried in
   10· ·public.
   11· · · · · · ·Is that correct?
   12· · · ·A.· · Yes.· And that's the point I was sort of
   13· ·thinking of or getting to.· And so some of them --
   14· ·and -- so, yes, some of them did include that.· So the
   15· ·taxes applied to these weapons if they were worn in
   16· ·public.· So weapons that were not worn or carried in
   17· ·public would not have been subject to the tax.
   18· · · ·Q.· · Okay.· Now in Paragraph 29 of your report you
   19· ·state that "Others prohibited their sale."
   20· · · · · · ·Do you recall that or do you see that here?
   21· · · ·A.· · Yes.
   22· · · ·Q.· · Okay.· But none of the laws in Footnote 33 and
   23· ·attached to your report that -- Footnote 43 references,
   24· ·none of those actually prohibited sale.· Correct?
   25· · · ·A.· · No.· Those did not pertain to sale.· Those


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   ·1· ·were taxes.
   ·2· · · ·Q.· · So what laws are you referring to that
   ·3· ·prohibited the sale of certain weapons?
   ·4· · · ·A.· · Those, I believe, I get to later on.· There
   ·5· ·was definitely a prohibition on the sale of Bowie knives
   ·6· ·in Tennessee.· So I -- I'm turning through the pages --
   ·7· ·later pages of the report.· And so the specific sales
   ·8· ·prohibitions are later.
   ·9· · · · · · ·So I started out by talking about taxes and
   10· ·then talking about different kinds of taxes, some of
   11· ·which -- some of which based on their context, indicate
   12· ·that they were designed to be prohibitive taxes.· So
   13· ·occupation taxes, for instance, so high that, you know,
   14· ·essentially shut down the sale of those weapons.
   15· · · · · · ·And then in Paragraph 32, got to discussing
   16· ·the Tennessee example of prohibiting the sale of certain
   17· ·kinds of knives.
   18· · · ·Q.· · Okay.· And that Tennessee example is one
   19· ·example of a state law prohibiting the sale of certain
   20· ·knives?
   21· · · ·A.· · Yes.· That's one.
   22· · · ·Q.· · Okay.· Are there any others that -- I'll say
   23· ·this.
   24· · · · · · ·Are there any other examples of state laws
   25· ·prohibiting the sale of knives prior to 1850?


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   ·1· · · ·A.· · I don't know off the top of my head other
   ·2· ·specific knife sale prohibitions.· There are other
   ·3· ·weapon sale prohibitions of different weapons.
   ·4· · · · · · ·But to your question about before 1850, you
   ·5· ·know, the example pre-1850 would be the prohibited
   ·6· ·occupation taxes, such that the occupation tax for
   ·7· ·engaging in the trade of selling weapons or knives was
   ·8· ·so high that it would have all but shut down the trade.
   ·9· · · · · · · So it's not specifically prohibition on the
   10· ·sale, but it functions as kind of a prohibitive tax.
   11· ·And the Florida territory 1838 tax would definitely be a
   12· ·candidate for that.
   13· · · ·Q.· · And that's a Florida territory law, not a
   14· ·Florida state law?
   15· · · ·A.· · Yes.· From -- based on what -- based on the
   16· ·work that I looked into it, yeah, it was during the
   17· ·territorial phase.
   18· · · · · · ·And I believe Alabama the 1830s also had an
   19· ·occupation tax upon the sale of Bowie knives that was
   20· ·fairly high.· But I don't remember the specific year or
   21· ·the details of that law right now.
   22· · · ·Q.· · Okay.· So in Paragraph 30 -- I have it up on
   23· ·the screen here -- you mentioned two municipalities that
   24· ·pose personal taxes on dirks and Bowie knives.
   25· · · · · · ·Is that correct?


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   ·1· · · ·A.· · I'm flipping back to Paragraph 30.
   ·2· · · ·Q.· · I have on the screen too, if that helps you.
   ·3· · · ·A.· · Yeah.· I appreciate that.· I think I'm also
   ·4· ·just a little old school and it's very helpful to have
   ·5· ·it physically in front of me.· But I'm here at
   ·6· ·Paragraph 30 again.
   ·7· · · ·Q.· · Okay.· In Paragraph 30 you mentioned two
   ·8· ·municipalities that impose personal taxes on dirks and
   ·9· ·Bowie knives.· Correct?
   10· · · ·A.· · Can you highlight the --
   11· · · ·Q.· · Sorry.· This would be the -- it's the last
   12· ·sentence in -- on Page 15 and continues on to Page 16.
   13· · · ·A.· · Oh, I see.· Okay.
   14· · · · · · ·Yes.· I talked about two Georgia
   15· ·municipalities that imposed personal taxes on the value
   16· ·of residents' dirks and Bowie knives.
   17· · · ·Q.· · And, again, these are not state laws.
   18· ·Correct?
   19· · · ·A.· · No.· Those were municipal ordinances.
   20· · · ·Q.· · Okay.· And the municipal ordinance from Jesup,
   21· ·Georgia that's attached as Exhibit 30 in your report?
   22· · · ·A.· · Okay.
   23· · · ·Q.· · That's also listed in Footnote 51 on Page 16
   24· ·of your report.
   25· · · ·A.· · Yes.· I see that.


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   ·1· · · ·Q.· · Okay.· And that law was enacted in 1870.
   ·2· ·Correct?
   ·3· · · ·A.· · I'm not -- I'm not sure.
   ·4· · · ·Q.· · Okay.· Let's see.· So Exhibit 30.· I can't see
   ·5· ·the text here.· So Exhibit 30, you see Part III -
   ·6· ·Title I - Municipal Corporations.· And then Amending
   ·7· ·Charter of Jesup.
   ·8· · · · · · ·Do you see that?
   ·9· · · ·A.· · Yes.
   10· · · ·Q.· · And this was approved in October 24 of 1870?
   11· · · ·A.· · Well, it says "Alter and amend an act
   12· ·entitled" -- yada, yada -- "approved in October 1870."
   13· · · · · · ·So -- and then the citation says 1888.· So I
   14· ·think it may be --
   15· · · ·Q.· · Okay.
   16· · · ·A.· · -- an amendment to an 1870 municipal
   17· ·ordinance.· And --
   18· · · · · · · · (Simultaneous speaking.)
   19· · · · · · ·MS. REPORTER:· I can't get both of you.
   20· · · · · · ·MR. DILLON:· Yeah.· Sorry.
   21· · · · · · ·I cut you off there.
   22· · · ·Q.· · So this was an amendment to an 1870 municipal
   23· ·ordinance.· Correct?
   24· · · ·A.· · (Witness nods head.)
   25· · · ·Q.· · And that amendment was enacted around 1888,


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   ·1· ·according to your citation?
   ·2· · · · · · ·MR. WOODS:· Objection.· The document speaks
   ·3· ·for itself.
   ·4· · · · · · ·You can answer.
   ·5· · · · · · ·THE WITNESS:· Yeah.· So it looks like the
   ·6· ·charter, which is different from an ordinance -- but it
   ·7· ·does look like the charter was issued in 1870.
   ·8· · · · · · ·And what I'm citing to is an amendment to at a
   ·9· ·charter that I think is dated 1888.
   10· · · · · · ·MR. DILLON:· Q.· Okay.· And the Cedartown
   11· ·charter is attached as Exhibit 31 to your report.
   12· · · · · · ·Is that correct?
   13· · · ·A.· · Yes.
   14· · · ·Q.· · Okay.· And the date on that was 1889.
   15· ·Correct?
   16· · · ·A.· · Based on the citation, yes.
   17· · · ·Q.· · And you didn't mention any other municipal
   18· ·taxes on certain weapons before these dates in your
   19· ·report.· Is that correct?
   20· · · ·A.· · No.· I did not mention any in this report.
   21· · · ·Q.· · Okay.· And to clarify, do the statutes that
   22· ·are being challenged in this case, do they impose any
   23· ·kind of tax on switchblades or automatically opening
   24· ·knives?
   25· · · · · · ·MR. WOODS:· Objection to the extent that it's


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   ·1· ·beyond the scope.
   ·2· · · · · · ·You can answer.
   ·3· · · · · · ·THE WITNESS:· Not that I'm aware of.
   ·4· · · · · · ·MR. DILLON:· Q.· Okay.· So in Paragraph 31 of
   ·5· ·your report you reference a number of tax regulations.
   ·6· · · · · · ·Is that right?
   ·7· · · ·A.· · Yes.
   ·8· · · ·Q.· · And these tax regulations are cited in your
   ·9· ·report and attached to your report as Exhibits 30
   10· ·through 43.· Is that right?
   11· · · ·A.· · Yes.
   12· · · ·Q.· · Okay.· And in Paragraph 32 of your report --
   13· ·let's see here -- you mentioned an 1838 Tennessee law
   14· ·that criminalized the sale of any Bowie knives or knives
   15· ·or Arkansas toothpicks or any knife or weapon that shall
   16· ·form, shape or size resemble a Bowie knife or Arkansas
   17· ·toothpick.
   18· · · · · · ·Did I read that right?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · And is that the Tennessee law that you
   21· ·referenced earlier that prohibited the sale of certain
   22· ·weapons?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Okay.· And you also clarify in Paragraph 32
   25· ·that this law was suspended during Civil War.


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   ·1· · · · · · ·Is that right?
   ·2· · · ·A.· · Yes.
   ·3· · · ·Q.· · Was the provision ever reinstated?
   ·4· · · ·A.· · I believe that it was, but I would want to go
   ·5· ·back to my records to confirm that.
   ·6· · · ·Q.· · But it's not confirmed in your report.
   ·7· ·Correct?
   ·8· · · ·A.· · No.· It's not confirmed in my report.· Like I
   ·9· ·said, I would want to go back to my notes before making
   10· ·any sort of firm statement about it.
   11· · · ·Q.· · Okay.· And you mentioned that in 1879 the
   12· ·state of Tennessee prohibited the sale of pocket pistols
   13· ·altogether.· Correct?
   14· · · ·A.· · Yes.
   15· · · ·Q.· · And as did Arkansas 1881.· Is that right?
   16· · · ·A.· · Yes.
   17· · · ·Q.· · Okay.· So the 1879 Tennessee law that's
   18· ·attached as Exhibit 46 of your report.· Right?
   19· · · ·A.· · Yes.· That's what it shows in the footnote.
   20· · · ·Q.· · Okay.· So I'm now sharing the screen.· I have
   21· ·Exhibit 46 up.· I'm scrolling down.· Let's see.
   22· · · · · · ·Can you read the section -- relevant Section 1
   23· ·here.
   24· · · ·A.· · Yes.· "Be it enacted by the General Assembly
   25· ·of the State of Tennessee, that it shall be a


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   ·1· ·misdemeanor for any person to sell, or offer to sell, or
   ·2· ·to bring in to the state for the purpose of selling,
   ·3· ·giving away, or otherwise disposing of belt or pocket
   ·4· ·pistols or revolvers, or any other kind of pistols,
   ·5· ·except Army or Navy pistol.· Provided that this act
   ·6· ·shall not be enforced against any persons now having
   ·7· ·license to sell such articles until the expiration of
   ·8· ·such present license."
   ·9· · · ·Q.· · Okay.· So this explicitly provides for an
   10· ·exception to any who attains a license to sell these
   11· ·weapons.· Is that correct?
   12· · · ·A.· · No.· That --
   13· · · · · · ·MR. WOODS:· Objection.· Document speaks for
   14· ·itself.
   15· · · · · · ·You can answer.
   16· · · · · · ·THE WITNESS:· No, that's not what it means.
   17· ·It means until the expiration of a present license.
   18· ·From what I recall, there was an appellate case about
   19· ·this.· The dealer was able to -- the question -- it
   20· ·revolved around the fact that whether or not licenses
   21· ·expire, I don't recall the specific details, so I don't
   22· ·want to speak any firmness on it.
   23· · · · · · ·But it wouldn't be -- the license that they
   24· ·are talking about, from what I understand, was something
   25· ·along of lines of an annual license.· So once -- so in


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   ·1· ·other words, people who had already obtained a license
   ·2· ·would be able to finish out their license to dispose of
   ·3· ·their current inventory.· But then the idea is that no
   ·4· ·further licenses would be issued.
   ·5· · · · · · ·MR. DILLON:· Q.· Okay.· And do you have
   ·6· ·anything attached to your report that would support that
   ·7· ·claim that no other licenses were going to be issued
   ·8· ·under this provision?
   ·9· · · ·A.· · Well, the law doesn't go into that kind of
   10· ·detail.· But I don't -- maybe in this report I didn't
   11· ·cite that case.· I would have to look at the footnotes.
   12· ·But since we were talking more about knives, you know,
   13· ·I'm looking at it and I don't see that I cited the
   14· ·appellate case.
   15· · · ·Q.· · Okay.· Again, the Arkansas law that you
   16· ·referenced in this section was enacted in 1881.
   17· · · · · · ·Is that correct?
   18· · · ·A.· · Yes.
   19· · · ·Q.· · Okay.· So of all the laws that you reference
   20· ·in your report, how many explicitly prohibited the sale
   21· ·of any kind of knife?
   22· · · ·A.· · The laws that -- the Tennessee example is the
   23· ·law that specifically prohibited the sale, giving away,
   24· ·et cetera of certain kinds of knives.
   25· · · ·Q.· · Okay.· So is that the only example of a state


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   ·1· ·law that explicitly prohibited the sale of any kind of
   ·2· ·knife in the 19th century?
   ·3· · · ·A.· · That's the only example that I found in
   ·4· ·this -- listed in this report.· But I'll add that there
   ·5· ·are examples of prohibitively high occupation taxes that
   ·6· ·we can interpret as going a long way toward reducing, if
   ·7· ·not eliminating, the trade in certain kinds of deadly
   ·8· ·weapons.
   ·9· · · ·Q.· · So, again, there is one law in the entirety of
   10· ·the 19th century that explicitly prohibits the sale of
   11· ·any kind of knife.· Correct?
   12· · · · · · ·MR. WOODS:· Objection.· Mischaracterizes
   13· ·testimony.
   14· · · · · · ·You can answer if you can.
   15· · · · · · ·THE WITNESS:· There is one in this report.                       I
   16· ·would hesitate to ever say that there is only this many
   17· ·or there is exactly that many laws from the 19th
   18· ·century.· We -- there is no way to know that based on
   19· ·the ones that have been identified so far; this is the
   20· ·one that jumps to my mind and it's the one that's in my
   21· ·report.· That doesn't mean that there wasn't some
   22· ·municipal ordinance somewhere that hasn't been found.
   23· · · · · · ·So based on the bank of laws that we have
   24· ·today and that we know about today, this is, like I
   25· ·said, the only example that jumps to my mind and it's


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   ·1· ·the only example of a specific sale-related one that's
   ·2· ·mentioned -- sale related of Bowie knives that's
   ·3· ·mentioned in my report.
   ·4· · · · · · ·MR. DILLON:· Q.· Okay.· So, again, in your
   ·5· ·report where you are putting forth examples of various
   ·6· ·restrictions on knives, you've only listed one state law
   ·7· ·in the entirety of the 19th century that explicitly
   ·8· ·prohibited the sale of any kind of knife.· Correct?
   ·9· · · · · · ·MR. WOODS:· Objection.· Asked and answered.
   10· · · · · · ·You can answer.
   11· · · · · · ·THE WITNESS:· Yeah.
   12· · · · · · ·MR. DILLON:· Q.· Okay.· And, again, in your
   13· ·report covering the various laws throughout the 19th
   14· ·century regarding knives, how many do you state
   15· ·explicitly prohibit the possession of any kind of knife?
   16· · · ·A.· · I don't believe any of them use the word
   17· ·"possession" or "applied to possession" the way that
   18· ·we're thinking of it now.
   19· · · ·Q.· · Okay.· And to clarify, just to make sure we're
   20· ·on the same page here on what we consider possession.
   21· ·Possession meaning I am legally allowed to hold and own
   22· ·and be in control of a certain object.· Correct?
   23· · · ·A.· · Yes.
   24· · · ·Q.· · Okay.· And so there were no laws in the 19th
   25· ·century that restricted or prohibited the possession of


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   ·1· ·any knife in your report.· Correct?
   ·2· · · ·A.· · In my report, correct.
   ·3· · · ·Q.· · Yeah.
   ·4· · · · · · ·Okay.· And lion's share of all the laws we
   ·5· ·went over today that are referenced in your report, they
   ·6· ·just restrict the act of concealed carrying of certain
   ·7· ·weapons.· Correct?
   ·8· · · · · · ·MR. WOODS:· Objection.· Ambiguous.
   ·9· · · · · · ·You can answer if you can.
   10· · · · · · ·THE WITNESS:· So, yes, most of the laws
   11· ·mentioned in my report are carry -- carry-type
   12· ·restrictions.· That was the primary way of regulating
   13· ·weapons in the 19th -- 19th century.
   14· · · · · · ·I would argue that it's a -- it was a more
   15· ·feasible way of regulating them than trying to enforce
   16· ·any sort of outright ban.
   17· · · · · · ·MR. DILLON:· Q.· Okay.· And with regard to the
   18· ·tax laws that you referenced in your report, were most
   19· ·of these enacted post Civil War?
   20· · · ·A.· · I'm not -- some taxes were post Civil War and
   21· ·other taxes were pre Civil War.· I don't -- the number
   22· ·in my report -- I'd have to look.· But there were taxes
   23· ·before the Civil War as well as including personal taxes
   24· ·that were sort of a disincentive to possession of those
   25· ·kinds of weapons, if not a disincentive to carrying


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   ·1· ·them.
   ·2· · · · · · ·But I don't have like a list of all the ones
   ·3· ·that I -- just the ones I cited.· There is a lot more
   ·4· ·taxes than the ones I cited in this report.· But I -- if
   ·5· ·you tell me the footnote, I can tell you what the years
   ·6· ·were of the relevant footnotes.
   ·7· · · ·Q.· · So I'm going to direct you to -- let's see --
   ·8· ·it's going to be Page 16 of your report.· Substantively,
   ·9· ·on Page -- or Paragraph 31 you're talking about
   10· ·occupational taxes and you have various footnote
   11· ·citations, which is 51 through 54 on Page 16.
   12· · · · · · ·Do you see that?
   13· · · ·A.· · Yes.
   14· · · · · · ·And Footnote 51, actually, applies to the
   15· ·preceding paragraph and it applies to personal taxes on
   16· ·the value of dirks and Bowie knives and other weapons.
   17· · · ·Q.· · And that's for the municipalities of Jesup,
   18· ·Georgia and Cedartown, George.· Correct?
   19· · · ·A.· · Yes.
   20· · · ·Q.· · Okay.· So looking at Footnotes 52 through 54,
   21· ·these are all tax regulations.· Correct?
   22· · · ·A.· · Yes.
   23· · · ·Q.· · And based off of your research, your
   24· ·experience and what you have in front of you within
   25· ·these footnotes, most of these enacted after the Civil


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   ·1· ·War?
   ·2· · · ·A.· · Yes.· Most of the --
   ·3· · · · · · ·MR. WOODS:· Objection.· Asked and answered.
   ·4· · · · · · ·You can answer.· Go ahead.
   ·5· · · · · · ·THE WITNESS:· Yes.· Most of the ones that I
   ·6· ·cite here, looking at it, just glancing at it, most of
   ·7· ·them are after 1865.
   ·8· · · · · · ·MR. DILLON:· Okay.· At this time I think I'm
   ·9· ·going to conclude my questioning, unless defense counsel
   10· ·has anything they would like to ask.
   11· · · · · · ·MR. WOODS:· Let me look at my notes.
   12· · · · · · ·Can we take a five-minute break.
   13· · · · · · ·MR. DILLON:· No problem.
   14· · · · · · · · (Recess taken 12:51 p.m. - 12:54 p.m.)
   15· · · · · · ·MR. WOODS:· I'm not going to have any
   16· ·questions.
   17· · · · · · ·MR. DILLON:· Okay.· That will conclude it.
   18· · · · · · ·Again, Dr. Rivas, thank you for your time and
   19· ·you'll get a copy of the transcript that you can review,
   20· ·as I mentioned earlier.
   21· · · · · · ·THE WITNESS:· You're welcome.
   22· · · · · · ·MR. DILLON:· But, again, thank you for your
   23· ·time and I appreciate you answering the questions.
   24· · · · · · ·MS. REPORTER:· Mr. Woods, do you want a order
   25· ·a copy?


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        Dr. Brennan Rivas                                    Rob Bonta Attorney General

   ·1· ·MR. WOODS:· Yes, please.
   ·2
   ·3· ·(Deposition concluded at 12:55 p.m.)
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   ·1· · · · · · · · · · · · · CERTIFICATE

   ·2· · · · · · I, the undersigned, a Certified Shorthand

   ·3· ·Reporter of the State of California, do hereby certify:

   ·4· · · · · · That the foregoing proceedings were taken

   ·5· ·before me at the time and place herein set forth; that

   ·6· ·any witnesses in the foregoing proceedings, prior to

   ·7· ·testifying, were duly sworn; that a record of the

   ·8· ·proceedings was made by me using machine shorthand which

   ·9· ·was thereafter transcribed under my direction; that the

   10· ·foregoing transcript is a true record of the testimony

   11· ·given.

   12· · · · · · Further, that if the foregoing pertains to the

   13· ·original transcript of a deposition in a Federal Case,

   14· ·before completion of the proceedings, review of the

   15· ·transcript [ X ] was [ ] was not requested.

   16· · · · · · I further certify I am neither financially

   17· ·interested in the action nor a relative or employee of

   18· ·any attorney or party to this action.

   19· · · · · · IN WITNESS WHEREOF, I have this date subscribed

   20· ·my name.

   21

   22· ·Dated:· 2-26-2024

   23

   24· · · · · · · · · · · · · ____________________________
   · · · · · · · · · · · · · · · KATHLEEN BACA, CSR #10267
   25


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   ·1· · · · · · ·DECLARATION UNDER PENALTY OF PERJURY
   ·2· ·Case Name: Knife Rights Inc. vs. Rob Bonta Attorney General
   ·3· ·Date of Deposition: 02/12/2024
   ·4· ·Job No.: 10134988
   ·5
   ·6· · · · · · · · ·I, DR. BRENNAN RIVAS, hereby certify
   ·7· ·under penalty of perjury under the laws of the State of
   ·8· ·________________ that the foregoing is true and correct.
   ·9· · · · · · · · ·Executed this ______ day of
   10· ·__________________, 2024, at ____________________.
   11
   12
   13· · · · · · · · · · · · ·_________________________________
   14· · · · · · · · · · · · · · · ·DR. BRENNAN RIVAS
   15
   16· ·NOTARIZATION (If Required)
   17· ·State of ________________
   18· ·County of _______________
   19· ·Subscribed and sworn to (or affirmed) before me on
   20· ·this _____ day of ____________, 20__,
   21· ·by________________________,· · proved to me on the
   22· ·basis of satisfactory evidence to be the person
   23· ·who appeared before me.
   24· ·Signature: ______________________________ (Seal)
   25


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   ·1· ·DEPOSITION ERRATA SHEET

   ·2· ·Case Name: Knife Rights Inc. vs. Rob Bonta Attorney General
   · · ·Name of Witness: Dr. Brennan Rivas
   ·3· ·Date of Deposition: 02/12/2024
   · · ·Job No.: 10134988
   ·4· ·Reason Codes:· 1. To clarify the record.
   · · · · · · · · · · 2. To conform to the facts.
   ·5· · · · · · · · · 3. To correct transcription errors.

   ·6· ·Page _____ Line ______ Reason ______

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   ·8· ·Page _____ Line ______ Reason ______

   ·9· ·From _______________________ to ________________________

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   20· ·Page _____ Line ______ Reason ______

   21· ·From _______________________ to ________________________

   22· ·_______ Subject to the above changes, I certify that the
   · · · · · · ·transcript is true and correct
   23· ·_______ No changes have been made. I certify that the
   · · · · · · ·transcript· is true and correct.
   24
   · · · · · · · · · ·_____________________________________
   25· · · · · · · · · · · · · DR. BRENNAN RIVAS


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                PLAINTIFFS' EXHIBIT AI
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           Automatic Spring Blade Knives
       With locking device and safety catch


#10         Exact    miniature      replica        of standard
            spring-blade,  no safety.  Has shackle,
            genuine horn handle, brass lined, brass
            riveted, mirror finish blade, polished
            decorative guard and bolster,  blade
            1-1/8"     long,     handle     1-5/8.

#14         Standard     spring     blade     with    push button
            release and lock, other features same
            as above. Also with simulated mother
            of pearl scales.  Blad(t..l.-7/8" long,
            handle     2-5/8.

#18         Same as above, blade 2-3/4"                 long, handle
            3-J/4 ..

#20         Same as #14,         Blade    )-J/4"     long,   handle
            4-1/2.

#22         Same as #14, Blade 4" long,                handle 5.

#28         Same as #14, Blade 5" long,                handle 6.

N.B.        These knives are called stilletoes.
            They do not have sharp edges.     The
            steel will take and hold a sharp edge
            it' desired.




                                          Latama Imported Cutlery catalog circa 1948




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